Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 1 of 540
National Comprehensive Report | BRIDGES, DWAYNE | 10/29/13 03:2...       https://clear.thomsonreuters.com/clr/a/ExportRenderer?key=HTML_8a4...
              Case 20-04009-elm Doc 68-6 Filed 09/21/21                   Entered 09/21/21 23:36:41           Page 2 of 540


              National Comprehensive Report | BRIDGES, DWAYNE | 10/29/13 03:20
              PM | Reference: CHILLIN

               Report Section Summary
                        User-Supplied Information (1)
                        Possible AKAs (4)
                        Possible Businesses Registered at Subject's Addresses (1)
                        Possible Real Property Ownership & Deed Transfers (1)
                        Possible Property Owners of Subject's Addresses (4)


               User-Supplied Information
                Name:                        BRIDGES, DWAYNE P
                DOB:                               1972
                SSN:                               -XXXX
                Address:                     628 DESTIN DR
                                             FORT WORTH, TX 76131


               Possible AKAs
                Name                              SSN                      DOB
                BRIDGS, DWAYNE                           -XXXX                      1972
                BRIDGES, DWYANE                          -XXXX
                BRIDGES, DWAYNE                          -XXXX
                BRINGES, DWAYNE                          -XXXX


               Possible Businesses Registered at Subject's Addresses
                628 DESTIN DR FORT WORTH, TX 76131

                Business Name:              JUST CHILLIN HEATING & Related Name(s):
                                            AIR CONDITIONING
                Date of Incorporation:                                 State of Incorporation:
                Year Started:               2010
                Business Address:           628 DESTIN DR              Phone:                        (682) 224-5457
                                            FORT WORTH, TX
                County:                     TARRANT
                Primary SIC:                1711                       SIC Description:          PLUMBING, HEATING,
                                                                                                 AIR-CONDITIONING, NSK
                Primary SIC:                1711 0405                  SIC Description:          WARM AIR HEATING AND
                                                                                                   AIR CONDITIONING
                                                                                                   CONTRACTOR
                Annual Sales:               $330,000                   Annual Sales Revision Date: 09/12/2013
                Square Footage:                                        Occupancy Type:
                Business Is A:              SINGLE LOCATION            Establishment Is:         US OWNED
                                            SMALL BUSINESS
                DUNS:                       92-946-5438                Employees Total:          6
                Last Update to Record:      08/25/2013



                                                                                                                      Kapitus_000002
1 of 6
                                                        KAPITUS EX. 13 - 002                                              10/29/2013 3:24 PM
National Comprehensive Report | BRIDGES, DWAYNE | 10/29/13 03:2...      https://clear.thomsonreuters.com/clr/a/ExportRenderer?key=HTML_8a4...
              Case 20-04009-elm Doc 68-6 Filed 09/21/21                 Entered 09/21/21 23:36:41             Page 3 of 540



               Possible Real Property Ownership & Deed Transfers
              628 DESTIN DR FORT WORTH, TX 76131-4255

                TAX RECORD - TARRANT County             TAX YEAR 2012
                Situs Address:             628 DESTIN DR                Mailing Address:             628 DESTIN DR
                                           FORT WORTH, TX                                            FORT WORTH, TX
                                           76131-4255                                                76131-4255
                Owner:                     BRIDGES DWAYNE               Co-Owner:
                Additional Name:           BRIDGES DWAYNE               Absentee Owner:              OWNER OCCUPIED
                Owner Relationship Type:   SINGLE MAN                   Owner Corporate Indicator:
                Owner Ownership Rights                                  Owner Phone:                 (682) 224-5457
                code:
                FIPS Code:                 TARRANT                      Municipality Name:           TARRANT COUNTY
                FIPS Sub Code:             000                          Municipality Code:
                FIPS State Code:           TEXAS                        Subdivision Name:            FOSSIL PARK ESTATES
                APN Sequence Number:       1                            Property Indicator:          SINGLE FAMILY RESIDENCE -
                                                                                                     TOWNHOUSE
                Unformatted APN:           40066118                     Land Use:                    SINGLE FAMILY RESIDENCE
                Formatted APN:             40066118                     Homestead Exemption:
                Original APN:              40066118                     Land Square Footage:         6000
                Account Number:            40066118                     Lot Number:                  68
                Acres:                     0.1377                       Block Number:                5
                Range:                                                  Legal Description:           FOSSIL PARK ESTATES BLK
                                                                                                     5 LOT 68
                Calculated Land Value:     $34,500.00                   Market Land Value:           $34,500.00
                Calculated Improvement     $88,300.00                   Market Improvement Value: $88,300.00
                Value:
                Calculated Total Value:    $122,800.00                  Market Total Value:          $122,800.00
                Assessed Land Value:       $34,500.00                   Valuation Method:
                Assessed Improvement       $88,300.00                   Total Value Calculated       ASSESSED
                Value:                                                  Indicator:
                Assessed Total Value:      $122,800.00                  Year Sold to State:
                Tax Year:                  2012                         Appraised Land Value:
                Tax Amount:                $3,740.33                    Appraised Improvement
                                                                        Value:
                Tax Code Area:             220                          Appraised Total Value:       $122,800.00
                Year Built:                2003                         Number of Buildings:         1
                Lot Area:                  7000006000                   Style/Shape:
                Building Code:                                          Number of Stories:           2.00
                Improvement Type:                                       Number of Units:
                Living Square Feet:        2234                         Construction Type:
                Total Number of Rooms:                                  Construction Quality:
                Number of Bedrooms:        3                            Exterior Wall Type:
                Number of Bathrooms:       2.00                         Roof Type:
                Full Baths:                2                            Foundation Type:
                Fireplace:                                              Heat:                        CENTRAL
                Garage Type:               TYPE UNKNOWN                 A/C Type:                    AC CENTRAL
                Sale Date:                 05/29/2010                   Deed Type:                   GRANT DEED
                Seller Name:               IRVIN AMY                    Type of Sale:                RESALE

                                                                                                                      Kapitus_000003
2 of 6
                                                       KAPITUS EX. 13 - 003                                              10/29/2013 3:24 PM
National Comprehensive Report | BRIDGES, DWAYNE | 10/29/13 03:2...   https://clear.thomsonreuters.com/clr/a/ExportRenderer?key=HTML_8a4...
              Case 20-04009-elm Doc 68-6 Filed 09/21/21              Entered 09/21/21 23:36:41              Page 4 of 540
                Sale Price:                                          Sale Code:
                Number of Parcels:                                   Document Number:            210130532
                Recording Date:            06/02/2010                Recording Page:
                Recording Book:                                      Title Company:
                Document Number:           209247570                 Mortgage Amount:
                Sale Date:                 09/15/2009                Multiple Parcel Sale:
                Sale Price:                                          Number of Parcels:
                Sale Code:                                           Recording Date:             09/16/2009
                Deed Type:                                           Recording Book:
                Type of Sale:                                        Recording Page:


               Possible Property Owners of Subject's Addresses
              628 DESTIN DR FORT WORTH, TX 76131

                TAX RECORD - TARRANT County             TAX YEAR UNKNOWN
                Situs Address:             628 DESTIN DR             Mailing Address:            100 E 15TH ST 630
                                           FORT WORTH, TX                                        FORT WORTH, TX
                                           76131-4255                                            76102-6569
                Owner:                     WEST COMM INVESTMENTS Co-Owner:
                                           LP
                Additional Name:           WEST COMM INVESTMENTS Absentee Owner:                 ABSENTEE (MAIL AND SITUS
                                           LP                                                    NOT=)
                Owner Relationship Type:                             Owner Corporate Indicator: CORPORATE OWNER
                Owner Ownership Rights                               Owner Phone:
                code:
                FIPS Code:                 TARRANT                   Municipality Name:
                FIPS Sub Code:             000                       Municipality Code:
                FIPS State Code:           TEXAS                     Subdivision Name:           FOSSIL PARK ESTATES
                APN Sequence Number:       1                         Property Indicator:         VACANT
                Unformatted APN:           14566C 5 68               Land Use:                   RESIDENTIAL LOT
                Formatted APN:             14566-C - 5- - 68         Homestead Exemption:
                Original APN:                                        Land Square Footage:        6000
                Account Number:            40066118                  Lot Number:                 68
                Acres:                     0.1380                    Block Number:               5
                Range:                                               Legal Description:          FOSSIL PARK ESTATES BLK
                                                                                                 5 LOT 68
                Calculated Land Value:     $14,580.00                Market Land Value:          $14,580.00
                Calculated Improvement                               Market Improvement Value:
                Value:
                Calculated Total Value:    $14,580.00                Market Total Value:         $14,580.00
                Assessed Land Value:                                 Valuation Method:
                Assessed Improvement                                 Total Value Calculated      MARKET
                Value:                                               Indicator:
                Assessed Total Value:                                Year Sold to State:
                Year Built:                                          Number of Buildings:
                Lot Area:                  6000                      Style/Shape:

                DEED TRANSFER - TARRANT County 09/15/2009
                Situs Address:         628 DESTIN DR                 Mailing Address:            PO BOX 3447
                                       FORT WORTH, TX                                            ARLINGTON, TX
                                       76131-4255                                                76007-3447


                                                                                                                   Kapitus_000004
3 of 6
                                                      KAPITUS EX. 13 - 004                                             10/29/2013 3:24 PM
National Comprehensive Report | BRIDGES, DWAYNE | 10/29/13 03:2...      https://clear.thomsonreuters.com/clr/a/ExportRenderer?key=HTML_8a4...
              Case 20-04009-elm Doc 68-6 Filed 09/21/21                 Entered 09/21/21 23:36:41           Page 5 of 540
                Owner:                     WILSON GERARD                Co-Owner Name:
                Owner Rights:                                           Owner Relationship:
                Property Type:             SINGLE FAMILY RESIDENCE - Land Use:                     SINGLE FAMILY RESIDENCE
                                           TOWNHOUSE
                Building Square Feet:      2854                      APN Sequence Number:          001
                Unformatted APN:           40066118                     Formatted APN:             40066118
                Original APN:              40066118                     Formatted APN - IRIS:
                FIPS Code:                 TARRANT                      FIPS State Code:           TEXAS
                Municipality:                                           Account Number:            40066118
                County:                    TARRANT                      State:
                Transaction Date:          09/15/2009                   Seller Name:               MUSER FAMILY TRUST
                Recording Date:            09/16/2009                   Sale Price:
                Document Number:           209247570                    Type of Transaction:       RESALE
                Book/Page:                                              Deed Type:                 WARRANTY DEED

                Mortgage Amount:                                        Mortgage Type:
                Mortgage Term:                                          Mortgage Deed Type:
                Mortgage Date:                                          Mortgage Due Date:
                Mortgage Assumption                                     Interest Rate:
                Amount:
                2nd Mortgage Amount:                                    2nd Mortgage Type:
                2nd Mortgage Deed Type:
                Lender Name:                                            Lender Address:
                Construction Type:      SALE IS A RE-SALE               Purchase Payment:          CASH
              8290 HICKORY ST FRISCO, TX 75034

                TAX RECORD - COLLIN County              TAX YEAR 2012
                Situs Address:             8290 HICKORY ST              Mailing Address:           5719 HILLCREST PL
                                           FRISCO, TX 75034-5501                                   MIDLAND, TX 79707-5011
                Owner:                     TWIN OAKS ENDEAVORS          Co-Owner:
                                           LLC
                Additional Name:           TWIN OAKS ENDEAVORS          Absentee Owner:            ABSENTEE (MAIL AND SITUS
                                           LLC                                                     NOT=)
                Owner Relationship Type:                                Owner Corporate Indicator: CORPORATE OWNER
                Owner Ownership Rights     CORPORATION                  Owner Phone:
                code:
                FIPS Code:                 COLLIN                       Municipality Name:         COLLIN
                FIPS Sub Code:             000                          Municipality Code:
                FIPS State Code:           TEXAS                        Subdivision Name:          HICKORY HILLS
                APN Sequence Number:       1                            Property Indicator:        DUPLEX, TRIPLEX,
                                                                                                   QUADPLEX
                Unformatted APN:           R155400202701                Land Use:                  DUPLEX
                Formatted APN:             R-1554-002-0270-1            Homestead Exemption:
                Original APN:              R155400202701                Land Square Footage:       3485
                Account Number:            1654622                      Lot Number:                27A
                Acres:                     0.0800                       Block Number:              2
                Range:                                                  Legal Description:         HICKORY HILLS (CFR), BLK
                                                                                                  2, LOT 27A
                Calculated Land Value:     $18,000.00                   Market Land Value:        $18,000.00
                Calculated Improvement     $82,808.00                   Market Improvement Value: $82,808.00
                Value:

                                                                                                                    Kapitus_000005
4 of 6
                                                      KAPITUS EX. 13 - 005                                               10/29/2013 3:24 PM
National Comprehensive Report | BRIDGES, DWAYNE | 10/29/13 03:2...   https://clear.thomsonreuters.com/clr/a/ExportRenderer?key=HTML_8a4...
              Case 20-04009-elm Doc 68-6 Filed 09/21/21              Entered 09/21/21 23:36:41            Page 6 of 540
                Calculated Total Value:    $100,808.00               Market Total Value:        $100,808.00
                Assessed Land Value:       $18,000.00                Valuation Method:
                Assessed Improvement       $82,808.00                Total Value Calculated     ASSESSED
                Value:                                               Indicator:
                Assessed Total Value:      $100,808.00               Year Sold to State:
                Tax Year:                  2012                      Appraised Land Value:
                Tax Amount:                $2,226.05                 Appraised Improvement
                                                                     Value:
                Tax Code Area:             GCN                       Appraised Total Value:     $100,808.00
                Year Built:                1995                   Number of Buildings:          1
                Lot Area:                  3485RESIDENTIAL DUPLEX Style/Shape:
                Building Code:             DUPLEX                 Number of Stories:            2.00
                Improvement Type:                                    Number of Units:
                Living Square Feet:        1640                      Construction Type:         FRAME
                Total Number of Rooms:     6                         Construction Quality:
                Number of Bedrooms:        3                         Exterior Wall Type:        BRICK
                Number of Bathrooms:       3.00                      Roof Type:                 GABLE
                Full Baths:                2                         Foundation Type:           SLAB
                Fireplace:                 YES                       Heat:                      CENTRAL
                Garage Type:               ATTACHED GARAGE           A/C Type:                  AC CENTRAL
                Sale Date:                 11/08/2007                Deed Type:                 GRANT DEED
                Seller Name:               OWNER RECORD              Type of Sale:              RESALE
                Sale Price:                                          Sale Code:
                Number of Parcels:                                   Document Number:           1200540
                Recording Date:            10/08/2008                Recording Page:
                Recording Book:                                      Title Company:
                Document Number:           1559200                   Mortgage Amount:
                Sale Date:                 11/08/2007                Multiple Parcel Sale:
                Sale Price:                                          Number of Parcels:
                Sale Code:                                           Recording Date:            11/19/2007
                Deed Type:                                           Recording Book:
                Type of Sale:                                        Recording Page:

                DEED TRANSFER - COLLIN County     11/08/2007
                Situs Address:          8290 HICKORY ST              Mailing Address:
                                        FRISCO, TX 75034-5501
                Owner:                     TWIN OAKS ENDEAVORS       Co-Owner Name:
                                           LLC
                Owner Rights:                                        Owner Relationship:        COMPANY / CORPORATION
                Absentee Owner:                                      Corporate Owner:           CORPORATE OWNER
                                                                     Partial Interest:
                Additional Owner 1:        TWIN OAKS ENDEAVORS       Additional Owner 2:
                                           LLC
                Owner 1 Relationship:                                Owner 2 Relationship:
                Ownership 1 Rights:        COMPANY / CORPORATION Ownership 2 Rights:
                Property Type:             DUPLEX, TRIPLEX,          Land Use:                  DUPLEX
                                           QUADPLEX
                Building Square Feet:      2026                      APN Sequence Number:       001
                Unformatted APN:           R155400202701             Formatted APN:             R-1554-002-0270-1
                Original APN:              R-1554-002-0270-1         Formatted APN - IRIS:      R-1554-002-0270-1-S
                FIPS Code:                 COLLIN                    FIPS State Code:           TEXAS


                                                                                                                 Kapitus_000006
5 of 6
                                                    KAPITUS EX. 13 - 006                                              10/29/2013 3:24 PM
National Comprehensive Report | BRIDGES, DWAYNE | 10/29/13 03:2...         https://clear.thomsonreuters.com/clr/a/ExportRenderer?key=HTML_8a4...
              Case 20-04009-elm Doc 68-6 Filed 09/21/21                    Entered 09/21/21 23:36:41             Page 7 of 540
                Municipality:                                             Account Number:              1654622
                County:                       COLLIN                      State:
                Transaction Date:             11/08/2007                  Seller Name:                 INGRAM PROPERTIES INC
                Recording Date:               11/19/2007                  Sale Price:
                Document Number:              1559200                     Type of Transaction:         RESALE
                Book/Page:                                                Deed Type:                   SPECIAL WARRANTY DEED

                Mortgage Amount:                                          Mortgage Type:
                Mortgage Term:                                            Mortgage Deed Type:
                Mortgage Date:                                            Mortgage Due Date:
                Mortgage Assumption                                       Interest Rate:
                Amount:
                2nd Mortgage Amount:                                      2nd Mortgage Type:
                2nd Mortgage Deed Type:
                Lender Name:                                              Lender Address:
                Construction Type:            SALE IS A RE-SALE           Purchase Payment:            CASH
                Title Company:                CAPITAL TITLE               Seller Carryback:
                Private Party Lender:                                     Foreclosure Sale:
                Construction Loan:                                        Refinance Loan:
                InterFamily Transaction:                                  Equity Loan:
                Multiple Parcel Sale:                                     Number of Parcels:


               Report section(s) with no matches

                          Possible Death Records, Possible Other SSNs Associated with Subject, Possible Other Records/Names
                          Associated with Subject's SSN, Possible Work Affiliations, Possible SSN & Current Address Fraud Alerts,
                          Possible Real-Time Vehicles, Possible Waterfront Residency, Possible Foreclosures, Possible FAA
                          Aircraft Registrations, Possible Unclaimed Assets, Possible Criminal Records, Warrants & Traffic
                          Citations, Possible Arrests, Possible Real-Time Incarceration & Arrest Records, Possible Infractions,
                          Possible UCC Filings, Possible Bankruptcies, Possible Liens & Judgments, Possible Lawsuits, Possible
                          Dockets, Possible Military Records, Possible Licenses, Possible Business Affiliations, Possible
                          Significant Shareholders, Possible Political Donors, Possible Voter Registrations, Possible Marriages,
                          Possible Divorces




                                                                                                                        Kapitus_000007
6 of 6
                                                        KAPITUS EX. 13 - 007                                                  10/29/2013 3:24 PM
       Case 20-04009-elm Doc 68-6 Filed 09/21/21        Entered 09/21/21 23:36:41   Page 8 of 540
Table of Contents
         Report Section Summary                                                            2
         User Search Terms                                                                 2
         Subject                                                                           2
         Possible Addresses Associated with Subject                                        3
         Utility Services                                                                  7
         SSN & Current Address Fraud Alerts                                                8
         Quick Analysis Flags                                                              8
         Phone Listings for Subject's Addresses                                            9
         Driver's Licenses                                                                10
         Professional & Recreational Licenses                                             10
         Voter Registrations                                                              10
         Businesses Registered at Subject's Addresses                                     10
         UCC Filings                                                                      31
         Real Property & Deed Transfers                                                   32
         Property Owners of Subject's Addresses                                           35
         Real-Time Vehicles                                                               39
         Vehicles Registered to Subject                                                   48
         Watercraft                                                                      146
         Relatives                                                                       149
         Associates                                                                      169
         Associate Analytics Chart                                                       185
         Neighbor Listings for Subject's Address                                         186
         Report section(s) with no matches                                               192




Page 1 of 192                                                                             Kapitus_000008
                                           KAPITUS EX. 13 - 008
       Case
Individual    20-04009-elm
           Report Plus Associates Doc  68-6 Filed
                                  | BRIDGES,      09/21/21
                                             DWAYNE  | 12/18/15 Entered
                                                                03:08 PM | 09/21/21   23:36:41
                                                                           Reference: N/A         Page 9 of 540


Report Section Summary
         User Search Terms (1)
         Subject (1)
         Possible Addresses Associated with Subject (33)
         Utility Services (4)
         SSN & Current Address Fraud Alerts (1)
         Quick Analysis Flags (1)
         Phone Listings for Subject's Addresses (4)
         Driver's Licenses (1)
         Professional & Recreational Licenses (1)
         Voter Registrations (1)
         Businesses Registered at Subject's Addresses (25)
         UCC Filings (1)
         Real Property & Deed Transfers (3)
         Property Owners of Subject's Addresses (4)
         Real-Time Vehicles (16)
         Vehicles Registered to Subject (41)
         Watercraft (7)
         Relatives (21)
         Associates (17)
         Associate Analytics Chart (1)
         Neighbor Listings for Subject's Address (3)


User Search Terms


  SSN:                                          XXXX


   Subject
    BRIDGES, DWAYNE
    SSN:                         XXXX - issued in LA between   AKAs:
                          1979-1980                            1) BRIDGES, DWAYNE PAUL (DOB              1972)
    Gender:               MALE                                 2) BRIDGES, DWAYNE P (            XXXX; DOB:
                                                                     1972)
                                                               3) BRIDGES, DWAYNE P
                                                               4) BRIDGES, DWAYNE P (            XXXX)
                                                               5) BRIDGES, DWYANE
                                                               6) BRIDGE, DWAYNE P
                                                               7) BRIDGS, DWAYNE
                                                               8) BRIDGES, DWAYNE (         -XXXX)
                                                               9) BRIDGES, DWAYNE P (       XXXX)
                                                               10) BRIDGES, DWAYNE PAUL (       -XXXX)
                                                               11) BRIDGES, DWYANE        -XXXX)
                                                               12) BRIDGES, DWAYNE NULL (        XXXX)
                                                               13) BRIDGES, DEWAYNE         -XXXX)


Page 2 of 192                                                                                            Kapitus_000009
                                                KAPITUS EX. 13 - 009
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A               Page 10 of 540

                                                                14) BRIDGES, DWAUYNE (              XXXX)
                                                                15) BRIDGE, DWAYNE P (             XXXX)
                                                                16) BRIDGS, DWAYNE (              XXXX)
                                                                17) BRIDGES, DWAINE (             XXXX)
                                                                18) BRINGES, DWAYNE (              XXXX)
                                                                19) DWAYNE, BRIDGE
                                                                20) DWAYNE, P BRIDGES
                                                                21) BRIDGES, DWYANE P                  XXXX)
    DOB (Age):                 1972 (43)
    Spouse Name:       DANA


                                    YES (TX; DL Number:
    Drivers License?



    Marriage(s)?                    NO                          Divorce(s)?                      NO

    Professional License(s)?        YES                         Recreational License(s)?         YES
                                                                1.) (FISH) (FLORIDA)



    Work Affiliation(s)?            NO



     Possible Addresses Associated with Subject


     Address                               Source(s)                          Reported Date(s)
     1)     628 DESTIN DRIVE               Experian Gateway                   07/03/2010 - 12/15/2015
            FORT WORTH, TX 76131           Utility Listing                    08/01/2010 - 09/20/2015
            TARRANT COUNTY                 Experian                           07/03/2010 - 08/13/2015
            Phone: (817) 980-9732          Phone Record                       05/15/2015 - 05/15/2015
            Line Type: Cellular            TransUnion Gateway                 02/01/1993 - 05/14/2014
            Phone: (817) 439-3599          Driver's Licenses                  06/28/2010 - 06/28/2010
            Line Type: Residence           Voters                             Not Available
            Phone: (682) 224-5457          Tax Roll                           Not Available
                                           Deed                               Not Available




Page 3 of 192                                                                                                  Kapitus_000010
                                                KAPITUS EX. 13 - 010
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A        Page 11 of 540




     2)     1045 GREEN RIDGE TER       Household Listing                  01/01/2014 - 06/30/2014
            SAGINAW, TX 76179-3405     Deed                               Not Available
            TARRANT COUNTY


     3)     1150 BLUE MOUND RD W       Experian                           01/23/2014 - 06/05/2014
            HASLET, TX 76052-3859
            TARRANT COUNTY


     4)     628 DESTIN DR              Utility Listing                    10/28/2013 - 03/03/2014
            FORT WORTH, TX 76131       TransUnion                         03/01/2010 - 03/01/2010
            TARRANT COUNTY             Voters                             Not Available


     5)     11238 BLUE JAY LN          Experian                           02/05/2009 - 01/06/2010
            DENHAM SPRINGS, LA         Experian Gateway                   02/05/2009 - 01/06/2010
            70726-1677
            LIVINGSTON COUNTY


     6)     8290 HICKORY ST            Experian                           11/18/2009 - 11/18/2009
            FRISCO, TX 75034-5501
            COLLIN COUNTY


     7)     1065 ADAMS DR              Experian                           01/07/2009 - 01/07/2009
            DENHAM SPRINGS, LA
            70726
            LIVINGSTON COUNTY


     8)     17210 OLIVE DR             Experian                           05/23/2007 - 04/03/2008
            LIVINGSTON, LA             Experian Gateway                   05/23/2007 - 04/03/2008
            70754-2155                 Phone Record                       02/01/2008 - 02/01/2008
            LIVINGSTON COUNTY


Page 4 of 192                                                                                         Kapitus_000011
                                             KAPITUS EX. 13 - 011
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A        Page 12 of 540

            Phone: (225) 686-3363
            Phone: (225) 686-0684


     9)     17080 LISA DR              Experian                           01/03/2007 - 05/08/2007
            LIVINGSTON, LA             Experian Gateway                   01/03/2007 - 05/08/2007
            70754-2124
            LIVINGSTON COUNTY


     10)    17650 MELANCON RD          Experian                           01/07/2005 - 03/22/2007
            LIVINGSTON, LA             Experian Gateway                   01/07/2005 - 03/22/2007
            70754-3001
            LIVINGSTON COUNTY


     11)    30260 EDEN CHURCH RD       Experian                           09/11/2004 - 02/28/2007
            DENHAM SPRINGS, LA         Experian Gateway                   09/11/2004 - 02/28/2007
            70726-7761
            LIVINGSTON COUNTY


     12)    10065 ADAM DR              Experian                           10/05/2006 - 10/05/2006
            DENHAM SPRINGS, LA
            70726-7722
            LIVINGSTON COUNTY


     13)    18273 TABONY LN            Experian                           03/31/2006 - 08/07/2006
            LIVINGSTON, LA             Experian Gateway                   03/31/2006 - 08/07/2006
            70754-3227
            LIVINGSTON COUNTY


     14)    16352 OLD HAMMOND          Experian                           04/24/1999 - 03/26/2005
            HWY TRLR 63
            BATON ROUGE, LA
            70816-1718
            EAST BATON ROUGE
            COUNTY


     15)    16352 OLD HAMMOND          Experian Gateway                   04/24/1999 - 03/26/2005
            HWY
            BATON ROUGE, LA
            70816-1718
            EAST BATON ROUGE
            COUNTY


     16)    31531 LINDER RD LOT        Experian                           11/11/2003 - 06/16/2004
            101
            DENHAM SPRINGS, LA
            70726-8504
            LIVINGSTON COUNTY



Page 5 of 192                                                                                         Kapitus_000012
                                            KAPITUS EX. 13 - 012
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A        Page 13 of 540

     17)    31531 LINDER RD            Experian Gateway                   11/11/2003 - 06/16/2004
            DENHAM SPRINGS, LA
            70726-8504
            LIVINGSTON COUNTY


     18)    28381 LA HIGHWAY 16        Experian                           01/28/2004 - 01/28/2004
            DENHAM SPRINGS, LA         Experian Gateway                   01/28/2004 - 01/28/2004
            70726-7836
            LIVINGSTON COUNTY


     19)    12525 COURSEY BLVD         Experian                           02/18/2002 - 02/18/2002
            APT 1017
            BATON ROUGE, LA
            70816-4503
            EAST BATON ROUGE
            COUNTY


     20)    9921 GREAT SMOKEY          Experian                           01/29/2002 - 01/29/2002
            AVE
            BATON ROUGE, LA
            70814-4326
            EAST BATON ROUGE
            COUNTY


     21)    9921 GREAT SMOKEY          Experian Gateway                   01/29/2002 - 01/29/2002
            AVE
            BATON ROUGE, LA
            70814-4326
            EAST BATON ROUGE
            COUNTY


     22)    3543 YORKFIELD DR APT      Experian                           11/07/2000 - 11/07/2000
            A
            BATON ROUGE, LA
            70816-3275
            EAST BATON ROUGE
            COUNTY


     23)    4131 BLOUNT RD             Experian                           02/02/1995 - 11/05/1998
            BATON ROUGE, LA            Historic Credit Bureau             01/01/1994 - 12/31/1994
            70807-2320
            EAST BATON ROUGE
            COUNTY


     24)    254 DILLON DR # B          Experian                           10/06/1998 - 10/06/1998
            DYERSBURG, TN
            38024-8674
            DYER COUNTY


Page 6 of 192                                                                                         Kapitus_000013
                                            KAPITUS EX. 13 - 013
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A         Page 14 of 540


     25)    200 CATHERINE ST           Experian                             06/03/1998 - 06/03/1998
            STARKVILLE, MS
            39759-2306
            OKTIBBEHA COUNTY


     26)    39479 HIGHWAY 42           Experian                             08/20/1997 - 10/16/1997
            PRAIRIEVILLE, LA
            70769-4612
            ASCENSION COUNTY


     27)    9477 SMITH LN TRLR 80      Experian                             01/28/1997 - 01/28/1997
            BATON ROUGE, LA 70818
            EAST BATON ROUGE
            COUNTY


     28)    916 LOUISVILLE ST #        Experian                             03/18/1994 - 01/14/1996
            TR159
            STARKVILLE, MS
            39759-3857
            OKTIBBEHA COUNTY


     29)    1000 LOUISVILLE ST         Historic Credit Bureau               01/01/1994 - 12/31/1994
            STARKVILLE, MS
            39759-3937
            OKTIBBEHA COUNTY


     30)    RR1 BOX 824                Experian                             09/21/1994 - 09/21/1994
            ACKERMAN, MS 39735
            CHOCTAW COUNTY


     31)    200 HWY 82 E UNIV HILLS    Historic Credit Bureau               01/01/1993 - 12/31/1993
            STARKVILLE, MS 39759
            OKTIBBEHA COUNTY


     32)    200 HIGH WAY 82 E          Experian                             03/06/1993 - 12/19/1993
            STARKVILLE, MS 39759
            OKTIBBEHA COUNTY


     33)    RR 1 POB 824               Historic Credit Bureau               Not Available
            ACKERMAN, MS 39735
            CHOCTAW COUNTY



     Utility Services
                                                                Driver's License (State &
       Name:                       BRIDGES, DWAYNE P
                                                                Number):
       SSN(s):                                                  Partial SSN(s):

Page 7 of 192                                                                                          Kapitus_000014
                                            KAPITUS EX. 13 - 014
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A          Page 15 of 540
       Service Address:            628 DESTIN DR                 Billing Address:             628 DESTIN DR
                                   FORT WORTH, TX                                             FORT WORTH, TX
                                   76131-4255                                                 76131-4255
       Service Address Phone:                                    Work Phone:
       Service Connect Date:       09/20/2015                    Reported Date:               09/20/2015
       Utility Service(s):         CONVENIENCE
                                                                 Driver's License (State &
       Name:                       BRIDGES, DWAYNE
                                                                 Number):
       SSN(s):                            XXXX                   Partial SSN(s):                      XXXX
       Service Address:            628 DESTIN DR                 Billing Address:             628 DESTIN DR
                                   FORT WORTH, TX                                             FORT WORTH, TX
                                   76131-4255                                                 76131-4255
       Service Address Phone:                                    Work Phone:
       Service Connect Date:       03/03/2014                    Reported Date:               12/13/2013
       Utility Service(s):         CONVENIENCE
                                                                 Driver's License (State &
       Name:                       BRIDGES, DWAYNE
                                                                 Number):
       SSN(s):                            XXXX                   Partial SSN(s):                      XXXX
       Service Address:            628 DESTIN DR                 Billing Address:             628 DESTIN DR
                                   FORT WORTH, TX                                             FORT WORTH, TX
                                   76131-4255                                                 76131-4255
       Service Address Phone:                                    Work Phone:
       Service Connect Date:       10/28/2013                    Reported Date:               10/30/2013
       Utility Service(s):         CELLULAR PHONE
                                                                 Driver's License (State &
       Name:                       BRIDGES, DWAYNE P
                                                                 Number):
       SSN(s):                            XXXX                   Partial SSN(s):                       XXXX
       Service Address:            628 DESTIN DR                 Billing Address:
                                   FORT WORTH, TX
                                   76131-4255
       Service Address Phone:                                    Work Phone:
       Service Connect Date:       08/01/2010                    Reported Date:               08/25/2010
       Utility Service(s):         OTHER


     SSN & Current Address Fraud Alerts



    ADDRESS ALERTS
    ADDRESS:
    628 DESTIN DRIVE FORT WORTH, TX 76131
    Indicator                                             Description


    ONFILE ADDRESS: NON-RESIDENTIAL                       One of the consumer's onfile addresses is a business



     Quick Analysis Flags


    POSSIBLE QUICK ANALYSIS FLAGS
    Associate with OFAC, Global Sanction or PEP listing                                                          No
    OFAC listing                                                                                                 No

Page 8 of 192                                                                                              Kapitus_000015
                                             KAPITUS EX. 13 - 015
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A        Page 16 of 540

    Global Sanctions                                                                                       No
    Residential Address Used as a Business Address                                                         No
    Prison Address on Record                                                                               No
    P.O. Box listed as Address                                                                             No
    Bankruptcy                                                                                             No
    Associate or Relative With a Residential Address Used as a Business Address                           YES
    Associate or Relative with a Prison Address on Record                                                  No
    Associate or Relative with P.O. Box listed as Address                                                 YES
    Criminal Record                                                                                        No
    Multiple SSNs                                                                                          No
    SSN Matches multiple individuals                                                                      YES
    SSN Recorded as Deceased                                                                               No
    Age Younger than SSN Issue Date                                                                        No
    Address 1ST Reported <90 Days                                                                         YES
    SSN Format is Invalid                                                                                  No
    Healthcare Sanction                                                                                    No
    Telephone Number Inconsistent with Address                                                             No
    Arrest Record                                                                                          No



     Phone Listings for Subject's Addresses
       628 DESTIN DR FORT WORTH, TX 76131
       TARRANT COUNTY

       Phone #                          Name
       (682) 224-5457                   BRIDGES, DANA


       1150 BLUE MOUND RD W HASLET, TX 76052
       TARRANT COUNTY

       Phone #                          Name
       (817) 439-3599                   BRIDGES, DEWAYNE


       628 DESTIN DR FORT WORTH, TX 76131
       TARRANT COUNTY

       Phone #                          Name
       (682) 224-5457                   BRIDGES, DANA


       18273 TABONY LN LIVINGSTON, LA 70754
       LIVINGSTON COUNTY

       Phone #                          Name
       (225) 698-3737                   BRIDGES, NICOLE
       (225) 686-9338                   BRIDGES, NICOLE
       (225) 698-3737                   BRIDGES, NICOLE
       (225) 686-9338                   BRIDGES, NICOLE




Page 9 of 192                                                                                         Kapitus_000016
                                            KAPITUS EX. 13 - 016
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A        Page 17 of 540

     Driver's Licenses
       628 DESTIN DRIVE, FORT WORTH, TX 76131
       Name:                       BRIDGES, DWAYNE PAUL SSN:
       DOB:                              1972           DOD:                                            None
       DL Number:                                                    Personal ID Number:
       Issue State:                         TX                       Report Date:                       07/06/2010

       License Type:                        DRIVER LICENSE
       Original Issue Date:
       Issue Date:                          06/28/2010               Expiration Date:




     Professional & Recreational Licenses
     RECREATIONAL LICENSES
       BRIDGES, DWAYNE PAUL                          License Issued: FLORIDA
       Name:                        BRIDGES, DWAYNE PAUL
       Maiden / Prior Names :
       Address:                     628 DESTIN DRIVE
                                    FORT WORTH, TX 76131
       Mailing Address:
       Home Phone:                  (817) 980-9732
       Work Phone:
       Other Phone:
       Permit / License Number:
       Permit / License Date:       05/22/2015
       Permit Type:
       Permit Class:                FISH




     Voter Registrations
       BRIDGES, DWAYNE PAUL              Registration Issued: TX
       Name:            BRIDGES, DWAYNE PAUL        Maiden/Prior Names:
       Address:         628 DESTIN DR               Mailing Address:                    628 DESTIN DR
                                FORT WORTH, TX 76131-                                   FORT WORTH, TX 76131-
       Phone:
       Birth Date:                  /1972                      Place of Birth:
       Age Range:
       Occupation:
       Race:                                                   Gender:


       Voter ID Number:         1192824991                     Motor Voter ID Number:


       Registration Date:       11/01/2012                     Last Vote Date:
       Party Affiliation:       NON DECLARED


     Businesses Registered at Subject's Addresses


Page 10 of 192                                                                                           Kapitus_000017
                                                 KAPITUS EX. 13 - 017
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A         Page 18 of 540

       HASLET, TX 76052
       1150 BLUE MOUND RD W, HASLET, TX 76052
       TARRANT COUNTY

       Business Name:            IDESIGNTSHIRTS, INC.       Related Name(s):
       Date of Incorporation:                               State of Incorporation:
       Year Started:             2015
       Business Address:         1150 BLUE MOUND RD         Phone:
                                 W
                                 HASLET, TX 76052
       County:                   TARRANT COUNTY
       Executive Name:           CHRISM EVANS               Executive Title:            DIRECTOR
       Line of Business:         BUSINESS SERVICES          Industry Group:             SERVICES - NON
                                                                                        PROFESSIONAL
       Primary SIC:              7389                       SIC Description:            BUSINESS SERVICES,
                                                                                        NEC, NSK
       Primary SIC:              7389 1800                  SIC Description:            DESIGN SERVICES
       Annual Sales:             $62,000-ESTIMATED          Annual Sales Revision Date: 09/16/2015
       1-Yr-Ago:                 $ NOT AVAILABLE
       3-Yr-Ago:                 $ NOT AVAILABLE
       Sales Growth:             %                          Sales Territory:            LOCAL
       Number of Accounts:                                  Net Worth:
       Employees Total:          1                          Employees Here:             1-ESTIMATED
       1-Yr-Ago:                 NOT AVAILABLE              Employment Growth:          %
       3-Yr-Ago:                 NOT AVAILABLE
       MSA Code:                 2800                       MSA Name:                   FORT
                                                                                        WORTH-ARLINGTON, TX
       Square Footage:                                      Occupancy Type:
       Bank Name:                                           Bank DUNS Number:
       Accounting Firm:
       Business Is A:            SINGLE LOCATION            Establishment Is:           US OWNED
                                 SMALL BUSINESS
       DUNS:                     04-442-1644
       Parent Company Name:                                 Parent Company DUNS
                                                            Number:
       Ultimate Company Name:                               Ultimate Company DUNS
                                                            Number:
       Headquarters Company                                 Headquarters Company
       Name:                                                DUNS Number:
       Last Update to Record:    11/15/2015



       1150 BLUE MOUND RD W, HASLET, TX 76052
       TARRANT COUNTY

       Business Name:            LONE STAR DEDICATED        Related Name(s):
                                 LOGISTICS LLC
       Date of Incorporation:                               State of Incorporation:
       Year Started:             2012
       Business Address:         1150 BLUE MOUND RD         Phone:                          (817) 306-4900
                                 W


Page 11 of 192                                                                                           Kapitus_000018
                                              KAPITUS EX. 13 - 018
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A         Page 19 of 540

                                 HASLET, TX 76052
       County:                   TARRANT COUNTY
       Executive Name:           DAVID MAGARIN              Executive Title:            MEMBER
       Line of Business:         FREIGHT                    Industry Group:             TRANSPORATION,
                                 TRANSPORTATION                                         COMMUNICATION,
                                 ARRANGEMENT                                            ELECTRIC, GAS, AND
                                                                                        SANITARY SERVICES
       Primary SIC:              4731                       SIC Description:            FREIGHT
                                                                                        TRANSPORTATION
                                                                                        ARRANGEMENT, NSK
       Primary SIC:              4731 0000                  SIC Description:            FREIGHT
                                                                                        TRANSPORTATION
                                                                                        ARRANGEMENT, NSK
       Annual Sales:             $550,000-ESTIMATED         Annual Sales Revision Date: 09/16/2015
       1-Yr-Ago:                 $ NOT AVAILABLE
       3-Yr-Ago:                 $ NOT AVAILABLE
       Sales Growth:             %                          Sales Territory:
       Number of Accounts:                                  Net Worth:
       Employees Total:          4                          Employees Here:             4-ACTUAL
       1-Yr-Ago:                 NOT AVAILABLE              Employment Growth:          %
       3-Yr-Ago:                 NOT AVAILABLE
       MSA Code:                 2800                       MSA Name:                   FORT
                                                                                        WORTH-ARLINGTON, TX
       Square Footage:                                      Occupancy Type:
       Bank Name:                                           Bank DUNS Number:
       Accounting Firm:
       Business Is A:            SINGLE LOCATION            Establishment Is:           US OWNED
                                 SMALL BUSINESS
       DUNS:                     02-729-8867
       Parent Company Name:                                 Parent Company DUNS
                                                            Number:
       Ultimate Company Name:                               Ultimate Company DUNS
                                                            Number:
       Headquarters Company                                 Headquarters Company
       Name:                                                DUNS Number:
       Last Update to Record:    11/15/2015



       1150 BLUE MOUND RD W, HASLET, TX 76052
       TARRANT COUNTY

       Business Name:            P. B. INDUSTRIES, INC.     Related Name(s):
       Date of Incorporation:    10/01/1996                 State of Incorporation:         TX
       Year Started:
       Business Address:         1150 BLUE MOUND RD         Phone:                          (817) 439-2272
                                 W
                                 HASLET, TX 76052
       County:                   TARRANT COUNTY
       Executive Name:           CHANTAL GALLOWAY           Executive Title:            TERMINAL MANAGER
       Line of Business:         LOCAL TRUCKING-WITH        Industry Group:             TRANSPORATION,
                                 STORAGE                                                COMMUNICATION,


Page 12 of 192                                                                                           Kapitus_000019
                                              KAPITUS EX. 13 - 019
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A           Page 20 of 540

                                                                                          ELECTRIC, GAS, AND
                                                                                          SANITARY SERVICES
       Primary SIC:              4214                       SIC Description:              LOCAL TRUCKING WITH
                                                                                          STORAGE, NSK
       Primary SIC:              4214 0000                  SIC Description:              LOCAL TRUCKING WITH
                                                                                          STORAGE, NSK
       Annual Sales:                                        Annual Sales Revision Date:
       1-Yr-Ago:
       3-Yr-Ago:
       Sales Growth:             %                          Sales Territory:
       Number of Accounts:                                  Net Worth:
       Employees Total:                                     Employees Here:               5-ACTUAL
       1-Yr-Ago:                                            Employment Growth:            %
       3-Yr-Ago:
       MSA Code:                 2800                       MSA Name:                     FORT
                                                                                          WORTH-ARLINGTON, TX
       Square Footage:                                      Occupancy Type:               RENTED
       Bank Name:                                           Bank DUNS Number:
       Accounting Firm:
       Business Is A:            BRANCH LOCATION            Establishment Is:             US OWNED
       DUNS:                     78-345-9329
       Parent Company Name:                                 Parent Company DUNS
                                                            Number:
       Ultimate Company Name:    P. B. INDUSTRIES INC.      Ultimate Company DUNS         16-104-7238
                                                            Number:
       Headquarters Company      P. B. INDUSTRIES INC.      Headquarters Company          16-104-7238
       Name:                                                DUNS Number:
       Last Update to Record:    11/15/2015



       1150 BLUE MOUND RD W, HASLET, TX 76052
       TARRANT COUNTY

       Business Name:            TBC PARTS AND              Related Name(s):
                                 EQUIPMENT SERVICES
       Date of Incorporation:                               State of Incorporation:
       Year Started:             2010
       Business Address:         1150 BLUE MOUND RD         Phone:                            (817) 395-2082
                                 W
                                 HASLET, TX 76052
       County:                   TARRANT COUNTY
       Executive Name:           FRANKIE BERNARD     Executive Title:                     OWNER
       Line of Business:         PARTS AND EQUIPMENT Industry Group:                      SERVICES - NON
                                 SERVICES                                                 PROFESSIONAL
       Primary SIC:              7359                       SIC Description:              EQUIPMENT RENTAL AND
                                                                                          LEASING, NEC
       Primary SIC:              7359 0000                  SIC Description:              EQUIPMENT RENTAL AND
                                                                                        LEASING, NEC, NSK
       Annual Sales:             $110,000-ESTIMATED         Annual Sales Revision Date: 09/16/2015
       1-Yr-Ago:                 $ NOT AVAILABLE
       3-Yr-Ago:                 $ NOT AVAILABLE
       Sales Growth:             %                          Sales Territory:


Page 13 of 192                                                                                             Kapitus_000020
                                              KAPITUS EX. 13 - 020
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A         Page 21 of 540
       Number of Accounts:                                  Net Worth:
       Employees Total:          2                          Employees Here:               2-ACTUAL
       1-Yr-Ago:                 2                          Employment Growth:            %
       3-Yr-Ago:                 2
       MSA Code:                 2800                       MSA Name:                     FORT
                                                                                          WORTH-ARLINGTON, TX
       Square Footage:                                      Occupancy Type:
       Bank Name:                                           Bank DUNS Number:
       Accounting Firm:
       Business Is A:            SINGLE LOCATION            Establishment Is:             US OWNED
                                 SMALL BUSINESS
       DUNS:                     01-814-4635
       Parent Company Name:                                 Parent Company DUNS
                                                            Number:
       Ultimate Company Name:                               Ultimate Company DUNS
                                                            Number:
       Headquarters Company                                 Headquarters Company
       Name:                                                DUNS Number:
       Last Update to Record:    11/15/2015



       1150 BLUE MOUND RD W, HASLET, TX 76052
       TARRANT COUNTY

       Business Name:            DECORATIVE CONCRETE Related Name(s):
                                 SUPPLY
       Date of Incorporation:                               State of Incorporation:
       Year Started:
       Business Address:         1150 BLUE MOUND RD         Phone:                         (817) 439-8884
                                 W
                                 HASLET, TX 76052
       County:                   TARRANT COUNTY
       Executive Name:           SCOTT KREIGER              Executive Title:              BRANCH MANAGER
       Line of Business:         RET LUMBER/BUILDING Industry Group:                      RETAIL TRADE
                                 MATERIALS WHOL
                                 BRICK/STONE MATERIAL
       Primary SIC:              5211                       SIC Description:              LUMBER AND OTHER
                                                                                          BUILDING MATERIALS,
                                                                                          NSK
       Primary SIC:              5211 0503                  SIC Description:              CONCRETE AND CINDER
                                                                                          BLOCK
       Secondary SIC:            5032                       SIC Description:              BRICK, STONE, AND
                                                                                          RELATED MATERIAL
       Secondary SIC:            5032 0500                  SIC Description:              CONCRETE AND CINDER
                                                                                          BUILDING PRODUCTS
       Annual Sales:                                        Annual Sales Revision Date:
       1-Yr-Ago:
       3-Yr-Ago:
       Sales Growth:             %                          Sales Territory:
       Number of Accounts:                                  Net Worth:
       Employees Total:                                     Employees Here:               1-ESTIMATED
       1-Yr-Ago:                                            Employment Growth:


Page 14 of 192                                                                                          Kapitus_000021
                                              KAPITUS EX. 13 - 021
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A         Page 22 of 540

                                                                                        %
       3-Yr-Ago:
       MSA Code:                 2800                       MSA Name:                   FORT
                                                                                        WORTH-ARLINGTON, TX
       Square Footage:                                      Occupancy Type:
       Bank Name:                                           Bank DUNS Number:
       Accounting Firm:
       Business Is A:            BRANCH LOCATION            Establishment Is:           US OWNED
       DUNS:                     05-279-1786
       Parent Company Name:                          Parent Company DUNS
                                                     Number:
       Ultimate Company Name:    DECORATIVE CONCRETE Ultimate Company DUNS              10-345-0818
                                                     Number:
                                 SUPPLY
       Headquarters Company      DECORATIVE CONCRETE Headquarters Company               10-345-0818
       Name:                                         DUNS Number:
                                 SUPPLY
       Last Update to Record:    11/08/2015



       1150 BLUE MOUND RD W, HASLET, TX 76052
       TARRANT COUNTY

       Business Name:            SIMPLE METRIC              Related Name(s):
                                 PRODUCTS, INC.
       Date of Incorporation:                               State of Incorporation:
       Year Started:             2011
       Business Address:         1150 BLUE MOUND RD         Phone:                          (817) 701-6689
                                 W
                                 HASLET, TX 76052
       County:                   TARRANT COUNTY
       Executive Name:           DANIEL J STEWART           Executive Title:            EXECUTIVE DIRECTOR
       Line of Business:         GENERAL AUTO REPAIR        Industry Group:             SERVICES - NON
                                                                                        PROFESSIONAL
       Primary SIC:              7538                       SIC Description:            GENERAL AUTOMOTIVE
                                                                                        REPAIR SHOPS, NSK
       Primary SIC:              7538 0000                  SIC Description:            GENERAL AUTOMOTIVE
                                                                                        REPAIR SHOPS, NSK
       Annual Sales:             $124,878-ESTIMATED         Annual Sales Revision Date: 10/21/2015
       1-Yr-Ago:                 $ NOT AVAILABLE
       3-Yr-Ago:                 $ NOT AVAILABLE
       Sales Growth:             %                          Sales Territory:
       Number of Accounts:                                  Net Worth:
       Employees Total:          3                          Employees Here:             3-ACTUAL
       1-Yr-Ago:                 NOT AVAILABLE              Employment Growth:          %
       3-Yr-Ago:                 NOT AVAILABLE
       MSA Code:                 2800                       MSA Name:                   FORT
                                                                                        WORTH-ARLINGTON, TX
       Square Footage:                                      Occupancy Type:
       Bank Name:                                           Bank DUNS Number:
       Accounting Firm:
       Business Is A:            SINGLE LOCATION            Establishment Is:           US OWNED


Page 15 of 192                                                                                           Kapitus_000022
                                             KAPITUS EX. 13 - 022
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A        Page 23 of 540

                                 SMALL BUSINESS
       DUNS:                     02-297-2873
       Parent Company Name:                                 Parent Company DUNS
                                                            Number:
       Ultimate Company Name:                               Ultimate Company DUNS
                                                            Number:
       Headquarters Company                                 Headquarters Company
       Name:                                                DUNS Number:
       Last Update to Record:    10/20/2015



       1150 BLUE MOUND RD W, HASLET, TX 76052
       TARRANT COUNTY

       Business Name:            RENEE RIDLEY               Related Name(s):
       Date of Incorporation:                               State of Incorporation:
       Year Started:             2008
       Business Address:         1150 BLUE MOUND RD         Phone:                        (817) 366-6534
                                 W
                                 HASLET, TX 76052
       County:                   TARRANT COUNTY
       Executive Name:           RENEE RIDLEY               Executive Title:            PRINCIPAL
       Line of Business:         BUSINESS SERVICES AT Industry Group:                   SERVICES - NON
                                 NON-COMMERCIAL SITE                                    PROFESSIONAL
       Primary SIC:              7389                       SIC Description:            BUSINESS SERVICES,
                                                                                        NEC, NSK
       Primary SIC:              7389 9999                  SIC Description:            BUSINESS SERVICES AT
                                                                                        NON-COMMERCIAL SITE
       Annual Sales:             $74,224-ESTIMATED          Annual Sales Revision Date: 10/15/2015
       1-Yr-Ago:                 $ NOT AVAILABLE
       3-Yr-Ago:                 $ NOT AVAILABLE
       Sales Growth:             %                          Sales Territory:
       Number of Accounts:                                  Net Worth:
       Employees Total:          2                          Employees Here:             2-ESTIMATED
       1-Yr-Ago:                 NOT AVAILABLE              Employment Growth:          %
       3-Yr-Ago:                 NOT AVAILABLE
       MSA Code:                 2800                       MSA Name:                   FORT
                                                                                        WORTH-ARLINGTON, TX
       Square Footage:                                      Occupancy Type:
       Bank Name:                                           Bank DUNS Number:
       Accounting Firm:
       Business Is A:            SINGLE LOCATION            Establishment Is:           US OWNED
                                 SMALL BUSINESS
       DUNS:                     02-045-6069
       Parent Company Name:                                 Parent Company DUNS
                                                            Number:
       Ultimate Company Name:                               Ultimate Company DUNS
                                                            Number:
       Headquarters Company                                 Headquarters Company
       Name:                                                DUNS Number:
       Last Update to Record:    10/14/2015




Page 16 of 192                                                                                         Kapitus_000023
                                              KAPITUS EX. 13 - 023
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
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                                                                                     N/A         Page 24 of 540


       1150 BLUE MOUND RD W, HASLET, TX 76052
       TARRANT COUNTY

       Business Name:            G M XPRESS                 Related Name(s):
       Date of Incorporation:                               State of Incorporation:
       Year Started:             2010
       Business Address:         1150 BLUE MOUND RD         Phone:                          (817) 847-7181
                                 W
                                 HASLET, TX 76052
       County:                   TARRANT COUNTY
       Executive Name:           RAMIRO GUERRA              Executive Title:            PRINCIPAL
       Line of Business:         PROFESSIONAL               Industry Group:             SERVICES -
                                 ORGANIZATION                                           PROFESSIONAL
       Primary SIC:              8621                       SIC Description:            PROFESSIONAL
                                                                                        ORGANIZATIONS
       Primary SIC:              8621 0000                  SIC Description:            PROFESSIONAL
                                                                                        ORGANIZATIONS, NSK
       Annual Sales:             $69,586-ESTIMATED          Annual Sales Revision Date: 10/13/2015
       1-Yr-Ago:                 $ NOT AVAILABLE
       3-Yr-Ago:                 $ NOT AVAILABLE
       Sales Growth:             %                          Sales Territory:
       Number of Accounts:                                  Net Worth:
       Employees Total:          2                          Employees Here:             2-ACTUAL
       1-Yr-Ago:                 NOT AVAILABLE              Employment Growth:          %
       3-Yr-Ago:                 NOT AVAILABLE
       MSA Code:                 2800                       MSA Name:                   FORT
                                                                                        WORTH-ARLINGTON, TX
       Square Footage:                                      Occupancy Type:
       Bank Name:                                           Bank DUNS Number:
       Accounting Firm:
       Business Is A:            SINGLE LOCATION            Establishment Is:           US OWNED
       DUNS:                     05-436-6655
       Parent Company Name:                                 Parent Company DUNS
                                                            Number:
       Ultimate Company Name:                               Ultimate Company DUNS
                                                            Number:
       Headquarters Company                                 Headquarters Company
       Name:                                                DUNS Number:
       Last Update to Record:    10/12/2015



       1150 BLUE MOUND RD W, HASLET, TX 76052
       TARRANT COUNTY

       Business Name:            GARLEY'S GARAGE            Related Name(s):
       Date of Incorporation:                               State of Incorporation:
       Year Started:             2013
       Business Address:         1150 BLUE MOUND RD         Phone:                          (817) 439-8113
                                 W
                                 HASLET, TX 76052
       County:

Page 17 of 192                                                                                           Kapitus_000024
                                              KAPITUS EX. 13 - 024
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A        Page 25 of 540

                                 TARRANT COUNTY
       Executive Name:           ADAM GARLEY         Executive Title:                   PRINCIPAL
       Line of Business:         GENERAL AUTO REPAIR Industry Group:                    SERVICES - NON
                                                                                        PROFESSIONAL
       Primary SIC:              7538                       SIC Description:            GENERAL AUTOMOTIVE
                                                                                        REPAIR SHOPS, NSK
       Primary SIC:              7538 0000                  SIC Description:            GENERAL AUTOMOTIVE
                                                                                        REPAIR SHOPS, NSK
       Annual Sales:             $100,000-ESTIMATED         Annual Sales Revision Date: 09/16/2015
       1-Yr-Ago:                 $ NOT AVAILABLE
       3-Yr-Ago:                 $ NOT AVAILABLE
       Sales Growth:             %                          Sales Territory:
       Number of Accounts:                                  Net Worth:
       Employees Total:          2                          Employees Here:             2-ACTUAL
       1-Yr-Ago:                 NOT AVAILABLE              Employment Growth:          %
       3-Yr-Ago:                 NOT AVAILABLE
       MSA Code:                 2800                       MSA Name:                   FORT
                                                                                        WORTH-ARLINGTON, TX
       Square Footage:                                      Occupancy Type:
       Bank Name:                                           Bank DUNS Number:
       Accounting Firm:
       Business Is A:            SINGLE LOCATION            Establishment Is:           US OWNED
                                 SMALL BUSINESS
       DUNS:                     02-588-0598
       Parent Company Name:                                 Parent Company DUNS
                                                            Number:
       Ultimate Company Name:                               Ultimate Company DUNS
                                                            Number:
       Headquarters Company                                 Headquarters Company
       Name:                                                DUNS Number:
       Last Update to Record:    10/04/2015



       1150 BLUE MOUND RD W, HASLET, TX 76052
       TARRANT COUNTY

       Business Name:            LICENSE TO CHILL           Related Name(s):
                                 HEATING AND AIR INC.
       Date of Incorporation:                               State of Incorporation:
       Year Started:             2014
       Business Address:         1150 BLUE MOUND RD         Phone:                        (817) 439-3599
                                 W
                                 HASLET, TX 76052
       County:                   TARRANT COUNTY
       Executive Name:           DWAYNE BRIDGES       Executive Title:                  PRINCIPAL
       Line of Business:         PLUMBING/HEATING/AIR Industry Group:                   CONSTRUCTION
                                 COND CONTRACTOR
       Primary SIC:              1711                       SIC Description:            PLUMBING, HEATING,
                                                                                        AIR-CONDITIONING, NSK
       Primary SIC:              1711 0103                  SIC Description:            HEATING SYSTEMS
                                                                                        REPAIR AND


Page 18 of 192                                                                                         Kapitus_000025
                                              KAPITUS EX. 13 - 025
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A        Page 26 of 540

                                                                                        MAINTENANCE
       Annual Sales:             $1,100,000-ESTIMATED       Annual Sales Revision Date: 09/16/2015
       1-Yr-Ago:                 $ NOT AVAILABLE
       3-Yr-Ago:                 $ NOT AVAILABLE
       Sales Growth:             %                          Sales Territory:            LOCAL
       Number of Accounts:                                  Net Worth:
       Employees Total:          15                         Employees Here:             15-ACTUAL
       1-Yr-Ago:                 NOT AVAILABLE              Employment Growth:          %
       3-Yr-Ago:                 NOT AVAILABLE
       MSA Code:                 2800                       MSA Name:                   FORT
                                                                                        WORTH-ARLINGTON, TX
       Square Footage:                                      Occupancy Type:
       Bank Name:                                           Bank DUNS Number:
       Accounting Firm:
       Business Is A:            SINGLE LOCATION            Establishment Is:           US OWNED
                                 SMALL BUSINESS
       DUNS:                     03-959-0332
       Parent Company Name:                                 Parent Company DUNS
                                                            Number:
       Ultimate Company Name:                               Ultimate Company DUNS
                                                            Number:
       Headquarters Company                                 Headquarters Company
       Name:                                                DUNS Number:
       Last Update to Record:    09/22/2015



       1150 BLUE MOUND RD W, HASLET, TX 76052
       TARRANT COUNTY

       Business Name:            CHRISTIAN CABLE            Related Name(s):
                                 GROUP, INC.
       Date of Incorporation:                               State of Incorporation:
       Year Started:             2001
       Business Address:         1150 BLUE MOUND RD         Phone:                        (817) 439-5107
                                 W
                                 HASLET, TX 76052
       County:                   TARRANT COUNTY
       Executive Name:           CARLITA GRIFFITH           Executive Title:            PRESIDENT
       Executive Name:           JODI SNOW                  Executive Title:            OFFICE MANAGER
       Executive Name:           GENE GRIFFITH              Executive Title:            PROJECT MANAGER
       Line of Business:         ELECTRICAL                 Industry Group:             CONSTRUCTION
                                 CONTRACTOR
       Primary SIC:              1731                       SIC Description:            ELECTRICAL WORK, NSK
       Primary SIC:              1731 0301                  SIC Description:            CABLE TELEVISION
                                                                                        INSTALLATION
       Annual Sales:             $1,200,000-ESTIMATED       Annual Sales Revision Date: 09/16/2015
       1-Yr-Ago:                 $ NOT AVAILABLE
       3-Yr-Ago:                 $ NOT AVAILABLE
       Sales Growth:             %                          Sales Territory:            LOCAL
       Number of Accounts:                                  Net Worth:
       Employees Total:          12                         Employees Here:             12-ACTUAL


Page 19 of 192                                                                                         Kapitus_000026
                                              KAPITUS EX. 13 - 026
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A        Page 27 of 540
       1-Yr-Ago:                 12                         Employment Growth:          20%
       3-Yr-Ago:                 10
       MSA Code:                 2800                       MSA Name:                   FORT
                                                                                        WORTH-ARLINGTON, TX
       Square Footage:           1600                       Occupancy Type:             RENTED
       Bank Name:                                           Bank DUNS Number:
       Accounting Firm:
       Business Is A:            SINGLE LOCATION            Establishment Is:           US OWNED
                                 SMALL BUSINESS
       DUNS:                     10-093-7866
       Parent Company Name:                                 Parent Company DUNS
                                                            Number:
       Ultimate Company Name:                               Ultimate Company DUNS
                                                            Number:
       Headquarters Company                                 Headquarters Company
       Name:                                                DUNS Number:
       Last Update to Record:    09/22/2015



       1150 BLUE MOUND RD W, HASLET, TX 76052
       TARRANT COUNTY

       Business Name:            SANDERSON ELECTRIC, Related Name(s):
                                 INC.
       Date of Incorporation:                               State of Incorporation:
       Year Started:             2010
       Business Address:         1150 BLUE MOUND RD         Phone:                        (817) 332-5552
                                 W
                                 HASLET, TX 76052
       County:                   TARRANT COUNTY
       Executive Name:           MIKE SANDERSON             Executive Title:            OWNER
       Executive Name:           SHARON SANDERSON           Executive Title:            INFORMATION
                                                                                        TECHNOLOGY MANAGER
       Line of Business:         ELECTRICAL                 Industry Group:             CONSTRUCTION
                                 CONTRACTOR
       Primary SIC:              1731                       SIC Description:            ELECTRICAL WORK, NSK
       Primary SIC:              1731 0000                  SIC Description:            ELECTRICAL WORK, NSK
       Annual Sales:             $380,000-ESTIMATED         Annual Sales Revision Date: 09/16/2015
       1-Yr-Ago:                 $ NOT AVAILABLE
       3-Yr-Ago:                 $ NOT AVAILABLE
       Sales Growth:             %                          Sales Territory:
       Number of Accounts:                                  Net Worth:
       Employees Total:          8                          Employees Here:             8-ACTUAL
       1-Yr-Ago:                 NOT AVAILABLE              Employment Growth:          %
       3-Yr-Ago:                 NOT AVAILABLE
       MSA Code:                 2800                       MSA Name:                   FORT
                                                                                        WORTH-ARLINGTON, TX
       Square Footage:                                      Occupancy Type:
       Bank Name:                                           Bank DUNS Number:
       Accounting Firm:
       Business Is A:            SINGLE LOCATION            Establishment Is:           US OWNED


Page 20 of 192                                                                                         Kapitus_000027
                                              KAPITUS EX. 13 - 027
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A        Page 28 of 540

                                 SMALL BUSINESS
       DUNS:                     05-336-6226
       Parent Company Name:                                 Parent Company DUNS
                                                            Number:
       Ultimate Company Name:                               Ultimate Company DUNS
                                                            Number:
       Headquarters Company                                 Headquarters Company
       Name:                                                DUNS Number:
       Last Update to Record:    09/15/2015



       1150 BLUE MOUND RD W, HASLET, TX 76052
       TARRANT COUNTY

       Business Name:            NEW LINE PLUMBING          Related Name(s):
                                 SERVICES LLC
       Date of Incorporation:                               State of Incorporation:
       Year Started:             2008
       Business Address:         1150 BLUE MOUND RD         Phone:                        (817) 439-5637
                                 W
                                 HASLET, TX 76052
       County:                   TARRANT COUNTY
       Executive Name:           DAVID P WORTHY             Executive Title:            PRINCIPAL
       Line of Business:         PLUMBING/HEATING/AIR Industry Group:                   CONSTRUCTION
                                 COND CONTRACTOR
       Primary SIC:              1711                       SIC Description:            PLUMBING, HEATING,
                                                                                        AIR-CONDITIONING, NSK
       Primary SIC:              1711 0200                  SIC Description:            PLUMBING CONTRACTOR
       Annual Sales:             $110,000-ESTIMATED         Annual Sales Revision Date: 07/16/2015
       1-Yr-Ago:                 $ NOT AVAILABLE
       3-Yr-Ago:                 $ NOT AVAILABLE
       Sales Growth:             %                          Sales Territory:            LOCAL
       Number of Accounts:                                  Net Worth:
       Employees Total:          1                          Employees Here:             1-ACTUAL
       1-Yr-Ago:                 1                          Employment Growth:          %
       3-Yr-Ago:                 1
       MSA Code:                 2800                       MSA Name:                   FORT
                                                                                        WORTH-ARLINGTON, TX
       Square Footage:                                      Occupancy Type:
       Bank Name:                                           Bank DUNS Number:
       Accounting Firm:
       Business Is A:            SINGLE LOCATION            Establishment Is:           US OWNED
                                 SMALL BUSINESS
       DUNS:                     01-446-1884
       Parent Company Name:                                 Parent Company DUNS
                                                            Number:
       Ultimate Company Name:                               Ultimate Company DUNS
                                                            Number:
       Headquarters Company                                 Headquarters Company
       Name:                                                DUNS Number:
       Last Update to Record:    09/13/2015




Page 21 of 192                                                                                         Kapitus_000028
                                              KAPITUS EX. 13 - 028
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A        Page 29 of 540


       1150 BLUE MOUND RD W, HASLET, TX 76052
       TARRANT COUNTY

       Business Name:            PREOWNED CARS OF           Related Name(s):
                                 HASLETT
       Date of Incorporation:                               State of Incorporation:
       Year Started:             2014
       Business Address:         1150 BLUE MOUND RD         Phone:
                                 W
                                 HASLET, TX 76052
       County:                   TARRANT COUNTY
       Executive Name:           DAVID MAGARIN              Executive Title:            PRINCIPAL
       Line of Business:         RET NEW/USED               Industry Group:             RETAIL TRADE
                                 AUTOMOBILES
       Primary SIC:              5511                       SIC Description:            NEW AND USED CAR
                                                                                        DEALERS, NSK
       Primary SIC:              5511 0000                  SIC Description:            NEW AND USED CAR
                                                                                        DEALERS, NSK
       Annual Sales:             $170,008-ESTIMATED         Annual Sales Revision Date: 09/11/2015
       1-Yr-Ago:                 $ NOT AVAILABLE
       3-Yr-Ago:                 $ NOT AVAILABLE
       Sales Growth:             %                          Sales Territory:
       Number of Accounts:                                  Net Worth:
       Employees Total:          3                          Employees Here:             3-ESTIMATED
       1-Yr-Ago:                 NOT AVAILABLE              Employment Growth:          %
       3-Yr-Ago:                 NOT AVAILABLE
       MSA Code:                 2800                       MSA Name:                   FORT
                                                                                        WORTH-ARLINGTON, TX
       Square Footage:                                      Occupancy Type:
       Bank Name:                                           Bank DUNS Number:
       Accounting Firm:
       Business Is A:            SINGLE LOCATION            Establishment Is:           US OWNED
       DUNS:                     06-780-4697
       Parent Company Name:                                 Parent Company DUNS
                                                            Number:
       Ultimate Company Name:                               Ultimate Company DUNS
                                                            Number:
       Headquarters Company                                 Headquarters Company
       Name:                                                DUNS Number:
       Last Update to Record:    09/06/2015



       1150 BLUE MOUND RD W, HASLET, TX 76052
       TARRANT COUNTY

       Business Name:            THE MANLEY DESIGN          Related Name(s):
                                 TEAM LLC
       Date of Incorporation:                               State of Incorporation:
       Year Started:             2014
       Business Address:         1150 BLUE MOUND RD         Phone:



Page 22 of 192                                                                                         Kapitus_000029
                                              KAPITUS EX. 13 - 029
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A         Page 30 of 540

                                 W
                                 HASLET, TX 76052
       County:                   TARRANT COUNTY
       Executive Name:           JENNIFER MANLEY            Executive Title:            PRINCIPAL
       Line of Business:         BUSINESS SERVICES          Industry Group:             SERVICES - NON
                                                                                        PROFESSIONAL
       Primary SIC:              7389                       SIC Description:            BUSINESS SERVICES,
                                                                                        NEC, NSK
       Primary SIC:              7389 1800                  SIC Description:            DESIGN SERVICES
       Annual Sales:             $51,000-ESTIMATED          Annual Sales Revision Date: 09/16/2015
       1-Yr-Ago:                 $ NOT AVAILABLE
       3-Yr-Ago:                 $ NOT AVAILABLE
       Sales Growth:             %                          Sales Territory:            LOCAL
       Number of Accounts:                                  Net Worth:
       Employees Total:          1                          Employees Here:             1-ESTIMATED
       1-Yr-Ago:                 NOT AVAILABLE              Employment Growth:          %
       3-Yr-Ago:                 NOT AVAILABLE
       MSA Code:                 2800                       MSA Name:                   FORT
                                                                                        WORTH-ARLINGTON, TX
       Square Footage:                                      Occupancy Type:
       Bank Name:                                           Bank DUNS Number:
       Accounting Firm:
       Business Is A:            SINGLE LOCATION            Establishment Is:           US OWNED
                                 SMALL BUSINESS
       DUNS:                     07-179-8138
       Parent Company Name:                                 Parent Company DUNS
                                                            Number:
       Ultimate Company Name:                               Ultimate Company DUNS
                                                            Number:
       Headquarters Company                                 Headquarters Company
       Name:                                                DUNS Number:
       Last Update to Record:    09/04/2015



       1150 BLUE MOUND RD W S, HASLET, TX 76052
       TARRANT COUNTY

       Business Name:            HOLLEMAN                   Related Name(s):                KONA-ICE NORTHWEST
                                 ENTERPRISES, LLC                                           DFW
       Date of Incorporation:                               State of Incorporation:
       Year Started:             2013
       Business Address:         1150 BLUE MOUND RD         Phone:                          (817) 939-9805
                                 WS
                                 HASLET, TX 76052
       County:                   TARRANT COUNTY
       Executive Name:           PAIGE HOLLEMAN             Executive Title:            MEMBER
       Executive Name:           STEVE HOLLEMAN             Executive Title:            MANAGING MEMBER
       Line of Business:         EATING PLACE               Industry Group:             RETAIL TRADE
       Primary SIC:              5812                       SIC Description:            EATING PLACES
       Primary SIC:              5812 0203                  SIC Description:            ICE CREAM STANDS OR
                                                                                        DAIRY BARS


Page 23 of 192                                                                                           Kapitus_000030
                                              KAPITUS EX. 13 - 030
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A        Page 31 of 540
       Annual Sales:             $85,000-ACTUAL             Annual Sales Revision Date: 06/06/2015
       1-Yr-Ago:                 $ NOT AVAILABLE
       3-Yr-Ago:                 $ NOT AVAILABLE
       Sales Growth:             %                          Sales Territory:
       Number of Accounts:                                  Net Worth:
       Employees Total:          2                          Employees Here:             2-ACTUAL
       1-Yr-Ago:                 NOT AVAILABLE              Employment Growth:          %
       3-Yr-Ago:                 NOT AVAILABLE
       MSA Code:                 2800                       MSA Name:                   FORT
                                                                                        WORTH-ARLINGTON, TX
       Square Footage:                                      Occupancy Type:             OWNED
       Bank Name:                                           Bank DUNS Number:
       Accounting Firm:
       Business Is A:            SINGLE LOCATION            Establishment Is:           US OWNED
                                 SMALL BUSINESS
       DUNS:                     07-876-7005
       Parent Company Name:                                 Parent Company DUNS
                                                            Number:
       Ultimate Company Name:                               Ultimate Company DUNS
                                                            Number:
       Headquarters Company                                 Headquarters Company
       Name:                                                DUNS Number:
       Last Update to Record:    08/18/2015



       1150 BLUE MOUND RD W, HASLET, TX 76052
       TARRANT COUNTY

       Business Name:            BODY AND COLORS            Related Name(s):
       Date of Incorporation:                               State of Incorporation:
       Year Started:             2005
       Business Address:         1150 BLUE MOUND RD         Phone:                        (682) 433-2625
                                 W
                                 HASLET, TX 76052
       County:                   TARRANT COUNTY
       Executive Name:           JEFFREY SOARES             Executive Title:            OWNER
       Executive Name:           DOROTHY I HILL             Executive Title:            OFFICE MANAGER
       Line of Business:         AUTO BODY                  Industry Group:             SERVICES - NON
                                 REPAIR/PAINTING                                        PROFESSIONAL
       Primary SIC:              7532                       SIC Description:            TOP AND BODY REPAIR
                                                                                        AND PAINT SHOPS
       Primary SIC:              7532 0202                  SIC Description:            PAINT SHOP,
                                                                                        AUTOMOTIVE
       Annual Sales:             $50,000-ACTUAL             Annual Sales Revision Date: 06/06/2015
       1-Yr-Ago:                 $50,000
       3-Yr-Ago:                 $50,000
       Sales Growth:             %                          Sales Territory:            LOCAL
       Number of Accounts:                                  Net Worth:
       Employees Total:          2                          Employees Here:             2-ACTUAL
       1-Yr-Ago:                 2                          Employment Growth:          %
       3-Yr-Ago:                 2


Page 24 of 192                                                                                         Kapitus_000031
                                              KAPITUS EX. 13 - 031
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A         Page 32 of 540
       MSA Code:                 2800                       MSA Name:                   FORT
                                                                                        WORTH-ARLINGTON, TX
       Square Footage:           2200                       Occupancy Type:             RENTED
       Bank Name:                                           Bank DUNS Number:
       Accounting Firm:
       Business Is A:            SINGLE LOCATION            Establishment Is:           US OWNED
                                 SMALL BUSINESS
       DUNS:                     80-079-1100
       Parent Company Name:                                 Parent Company DUNS
                                                            Number:
       Ultimate Company Name:                               Ultimate Company DUNS
                                                            Number:
       Headquarters Company                                 Headquarters Company
       Name:                                                DUNS Number:
       Last Update to Record:    08/09/2015



       1130 BLUE MOUND RD W, HASLET, TX 76052
       TARRANT COUNTY

       Business Name:            LIGHTNING OILFIELD         Related Name(s):
                                 SERVICES, INC.
       Date of Incorporation:                               State of Incorporation:
       Year Started:             2008
       Business Address:         1130 BLUE MOUND RD         Phone:                          (817) 439-4882
                                 W
                                 HASLET, TX 76052
       County:                   TARRANT COUNTY
       Executive Name:           MARK S WADDELL             Executive Title:            PRESIDENT
       Line of Business:         OIL/GAS FIELD SERVICES Industry Group:                 MINING
       Primary SIC:              1389                       SIC Description:            OIL AND GAS FIELD
                                                                                        SERVICES, NEC, NSK
       Primary SIC:              1389 9912                  SIC Description:            OIL FIELD SERVICES, NEC
       Annual Sales:             $16,000,000-ESTIMATED      Annual Sales Revision Date: 09/06/2015
       1-Yr-Ago:                 $ NOT AVAILABLE
       3-Yr-Ago:                 $ NOT AVAILABLE
       Sales Growth:             %                          Sales Territory:
       Number of Accounts:                                  Net Worth:
       Employees Total:          115                        Employees Here:             33-ESTIMATED
       1-Yr-Ago:                 NOT AVAILABLE              Employment Growth:          %
       3-Yr-Ago:                 NOT AVAILABLE
       MSA Code:                 2800                       MSA Name:                   FORT
                                                                                        WORTH-ARLINGTON, TX
       Square Footage:                                      Occupancy Type:
       Bank Name:                                           Bank DUNS Number:
       Accounting Firm:
       Business Is A:            HEADQUARTERS               Establishment Is:           US OWNED
                                 LOCATION
                                 SMALL BUSINESS
       DUNS:                     04-148-7015
       Parent Company Name:                                 Parent Company DUNS



Page 25 of 192                                                                                           Kapitus_000032
                                              KAPITUS EX. 13 - 032
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A           Page 33 of 540
                                                            Number:
       Ultimate Company Name:                               Ultimate Company DUNS         04-148-7015
                                                            Number:
       Headquarters Company                                 Headquarters Company
       Name:                                                DUNS Number:
       Last Update to Record:    08/07/2015



       4017 CLAY AVE STE C, HALTOM CITY, TX 76117
       TARRANT COUNTY

       Business Name:            MSO TECHNOLOGIES,          Related Name(s):                  XEGSYS
                                 INC.
       Date of Incorporation:                               State of Incorporation:
       Year Started:
       Business Address:         4017 CLAY AVE STE C        Phone:                            (817) 439-0385
                                 HALTOM CITY, TX 76117
       County:                   TARRANT COUNTY
       Executive Name:           MIKE NEASE                 Executive Title:              CHIEF EXECUTIVE
                                                                                          OFFICER
       Executive Name:           LARRY DEW                  Executive Title:              MANAGER
       Line of Business:         MFG MISC INDUSTRY          Industry Group:               MANUFACTURING
                                 MACHINERY
       Primary SIC:              3559                       SIC Description:              SPECIAL INDUSTRY
                                                                                          MACHINERY, NEC, NSK
       Primary SIC:              3559 9939                  SIC Description:              ELECTRONIC
                                                                                          COMPONENT MAKING
                                                                                          MACHINERY
       Annual Sales:                                        Annual Sales Revision Date:
       1-Yr-Ago:
       3-Yr-Ago:
       Sales Growth:             %                          Sales Territory:
       Number of Accounts:                                  Net Worth:
       Employees Total:          NOT AVAILABLE              Employees Here:               2-ACTUAL
       1-Yr-Ago:                 20                         Employment Growth:            %
       3-Yr-Ago:                 20
       MSA Code:                 2800                       MSA Name:                     FORT
                                                                                          WORTH-ARLINGTON, TX
       Square Footage:                                      Occupancy Type:               RENTED
       Bank Name:                                           Bank DUNS Number:
       Accounting Firm:
       Business Is A:            MANUFACTURING              Establishment Is:             US OWNED
                                 LOCATION
                                 DIVISION
       DUNS:                     16-834-5218
       Parent Company Name:                                 Parent Company DUNS
                                                            Number:
       Ultimate Company Name:    MSO TECHNOLOGIES           Ultimate Company DUNS         07-516-2276
                                                            Number:
                                 INC.
       Headquarters Company      MSO TECHNOLOGIES           Headquarters Company          07-516-2276
       Name:                                                DUNS Number:
                                 INC.
       Last Update to Record:    08/02/2015

Page 26 of 192                                                                                             Kapitus_000033
                                              KAPITUS EX. 13 - 033
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A           Page 34 of 540



       1150 BLUE MOUND RD W, HASLET, TX 76052
       TARRANT COUNTY

       Business Name:            VAREL INTERNATIONAL, Related Name(s):
                                 INC.
       Date of Incorporation:                               State of Incorporation:
       Year Started:
       Business Address:         1150 BLUE MOUND RD         Phone:                            (817) 439-1183
                                 W
                                 HASLET, TX 76052
       County:                   TARRANT COUNTY
       Executive Name:           ERIK ROBINSON              Executive Title:              OWNER
       Executive Name:           MICHAEL SMITH              Executive Title:              SALES STAFF
       Line of Business:         WHOL INDUSTRIAL            Industry Group:               WHOLESALE TRADE
                                 EQUIPMENT
       Primary SIC:              5084                       SIC Description:              INDUSTRIAL MACHINERY
                                                                                          AND EQUIPMENT
       Primary SIC:              5084 0402                  SIC Description:              DRILLING BITS
       Annual Sales:                                        Annual Sales Revision Date:
       1-Yr-Ago:
       3-Yr-Ago:
       Sales Growth:             %                          Sales Territory:
       Number of Accounts:                                  Net Worth:
       Employees Total:                                     Employees Here:               2-ACTUAL
       1-Yr-Ago:                                            Employment Growth:            %
       3-Yr-Ago:
       MSA Code:                 2800                       MSA Name:                     FORT
                                                                                          WORTH-ARLINGTON, TX
       Square Footage:                                      Occupancy Type:               RENTED
       Bank Name:                                           Bank DUNS Number:
       Accounting Firm:
       Business Is A:            BRANCH LOCATION            Establishment Is:             US OWNED
       DUNS:                     62-378-0876
       Parent Company Name:                            Parent Company DUNS
                                                       Number:
       Ultimate Company Name:    VAREL INTL ENRGY SVCS Ultimate Company DUNS              82-826-9501
                                                       Number:
                                 INC
       Headquarters Company      VAREL INTERNATIONAL        Headquarters Company          00-731-9437
       Name:                                                DUNS Number:
                                 IND LP
       Last Update to Record:    08/02/2015



       3313 HAMPDEN DR, GARLAND, TX 75043
       DALLAS COUNTY

       Business Name:            IN FENCE ME                Related Name(s):
       Date of Incorporation:                               State of Incorporation:
       Year Started:             2007
       Business Address:         3313 HAMPDEN DR            Phone:                            (817) 439-2344


Page 27 of 192                                                                                             Kapitus_000034
                                             KAPITUS EX. 13 - 034
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A        Page 35 of 540

                                 GARLAND, TX 75043
       County:                   DALLAS COUNTY
       Executive Name:           RHONDA MORRIS              Executive Title:            PRESIDENT
       Line of Business:         TRADE CONTRACTOR           Industry Group:             CONSTRUCTION
       Primary SIC:              1799                       SIC Description:            SPECIAL TRADE
                                                                                        CONTRACTORS, NEC,
                                                                                        NSK
       Primary SIC:              1799 9912                  SIC Description:            FENCE CONSTRUCTION
       Annual Sales:             $630,000-ESTIMATED         Annual Sales Revision Date: 08/12/2015
       1-Yr-Ago:                 $ NOT AVAILABLE
       3-Yr-Ago:                 $ NOT AVAILABLE
       Sales Growth:             %                          Sales Territory:            LOCAL
       Number of Accounts:                                  Net Worth:
       Employees Total:          6                          Employees Here:             6-ACTUAL
       1-Yr-Ago:                 NOT AVAILABLE              Employment Growth:          %
       3-Yr-Ago:                 NOT AVAILABLE
       MSA Code:                 1920                       MSA Name:                   DALLAS, TX
       Square Footage:                                      Occupancy Type:             RENTED
       Bank Name:                                           Bank DUNS Number:
       Accounting Firm:
       Business Is A:            SINGLE LOCATION            Establishment Is:           US OWNED
                                 SMALL BUSINESS
       DUNS:                     79-590-8164
       Parent Company Name:                                 Parent Company DUNS
                                                            Number:
       Ultimate Company Name:                               Ultimate Company DUNS
                                                            Number:
       Headquarters Company                                 Headquarters Company
       Name:                                                DUNS Number:
       Last Update to Record:    08/02/2015



       1150 BLUE MOUND RD W, HASLET, TX 76052
       TARRANT COUNTY

       Business Name:            KNUCKLEHEAD DESIGNS, Related Name(s):
                                 INC.
       Date of Incorporation:                               State of Incorporation:
       Year Started:             2013
       Business Address:         1150 BLUE MOUND RD         Phone:                        (817) 439-3470
                                 W
                                 HASLET, TX 76052
       County:                   TARRANT COUNTY
       Executive Name:           DANIEL J STEWART           Executive Title:            ADMINISTRATIVE
                                                                                        SECRETARY
       Line of Business:         BUSINESS SERVICES          Industry Group:             SERVICES - NON
                                                                                        PROFESSIONAL
       Primary SIC:              7389                       SIC Description:            BUSINESS SERVICES,
                                                                                        NEC, NSK
       Primary SIC:              7389 1800                  SIC Description:            DESIGN SERVICES
       Annual Sales:             $71,000-ESTIMATED          Annual Sales Revision Date: 08/12/2015



Page 28 of 192                                                                                         Kapitus_000035
                                              KAPITUS EX. 13 - 035
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A           Page 36 of 540
       1-Yr-Ago:                 $ NOT AVAILABLE
       3-Yr-Ago:                 $ NOT AVAILABLE
       Sales Growth:             %                          Sales Territory:              LOCAL
       Number of Accounts:                                  Net Worth:
       Employees Total:          1                          Employees Here:               1-ACTUAL
       1-Yr-Ago:                 NOT AVAILABLE              Employment Growth:            %
       3-Yr-Ago:                 NOT AVAILABLE
       MSA Code:                 2800                       MSA Name:                     FORT
                                                                                          WORTH-ARLINGTON, TX
       Square Footage:                                      Occupancy Type:
       Bank Name:                                           Bank DUNS Number:
       Accounting Firm:
       Business Is A:            SINGLE LOCATION            Establishment Is:             US OWNED
                                 SMALL BUSINESS
       DUNS:                     06-712-0558
       Parent Company Name:                                 Parent Company DUNS
                                                            Number:
       Ultimate Company Name:                               Ultimate Company DUNS
                                                            Number:
       Headquarters Company                                 Headquarters Company
       Name:                                                DUNS Number:
       Last Update to Record:    08/02/2015



       1150 BLUE MOUND RD W, HASLET, TX 76052
       TARRANT COUNTY

       Business Name:            FALCON TRANSPORT,          Related Name(s):
                                 INC.
       Date of Incorporation:                               State of Incorporation:
       Year Started:
       Business Address:         1150 BLUE MOUND RD         Phone:                            (817) 680-2757
                                 W
                                 HASLET, TX 76052
       County:                   TARRANT COUNTY
       Executive Name:           CORY WA                    Executive Title:              MANAGER
       Line of Business:         TRUCKING                   Industry Group:               TRANSPORATION,
                                 OPERATOR-NONLOCAL                                        COMMUNICATION,
                                                                                          ELECTRIC, GAS, AND
                                                                                          SANITARY SERVICES
       Primary SIC:              4213                       SIC Description:              TRUCKING, EXCEPT
                                                                                          LOCAL
       Primary SIC:              4213 9903                  SIC Description:              CONTRACT HAULERS
       Annual Sales:                                        Annual Sales Revision Date:
       1-Yr-Ago:
       3-Yr-Ago:
       Sales Growth:             %                          Sales Territory:
       Number of Accounts:                                  Net Worth:
       Employees Total:                                     Employees Here:               1-ESTIMATED
       1-Yr-Ago:                                            Employment Growth:            %
       3-Yr-Ago:
       MSA Code:                 2800                       MSA Name:                     FORT

Page 29 of 192                                                                                             Kapitus_000036
                                              KAPITUS EX. 13 - 036
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A        Page 37 of 540

                                                                                        WORTH-ARLINGTON, TX
       Square Footage:                                      Occupancy Type:
       Bank Name:                                           Bank DUNS Number:
       Accounting Firm:
       Business Is A:            BRANCH LOCATION            Establishment Is:           US OWNED
       DUNS:                     07-991-4899
       Parent Company Name:                                 Parent Company DUNS
                                                            Number:
       Ultimate Company Name:    FALCON TRANSPORT           Ultimate Company DUNS       09-303-0682
                                                            Number:
                                 INC.
       Headquarters Company      FALCON TRANSPORT           Headquarters Company        09-303-0682
       Name:                                                DUNS Number:
                                 INC.
       Last Update to Record:    07/24/2015



       1150 BLUE MOUND RD W, HASLET, TX 76052
       TARRANT COUNTY

       Business Name:            LONESTAR REPAIR AND        Related Name(s):
                                 PERFORMANCE
       Date of Incorporation:                               State of Incorporation:
       Year Started:             2014
       Business Address:         1150 BLUE MOUND RD         Phone:                        (817) 439-9637
                                 W
                                 HASLET, TX 76052
       County:                   TARRANT COUNTY
       Executive Name:           WILLIAM GOWER              Executive Title:            PRINCIPAL
       Line of Business:         REPAIR SERVICES            Industry Group:             SERVICES - NON
                                                                                        PROFESSIONAL
       Primary SIC:              7699                       SIC Description:            REPAIR SERVICES, NEC,
                                                                                        NSK
       Primary SIC:              7699 0000                  SIC Description:            REPAIR SERVICES, NEC,
                                                                                        NSK
       Annual Sales:             $52,000-ESTIMATED          Annual Sales Revision Date: 08/12/2015
       1-Yr-Ago:                 $ NOT AVAILABLE
       3-Yr-Ago:                 $ NOT AVAILABLE
       Sales Growth:             %                          Sales Territory:
       Number of Accounts:                                  Net Worth:
       Employees Total:          1                          Employees Here:             1-ESTIMATED
       1-Yr-Ago:                 NOT AVAILABLE              Employment Growth:          %
       3-Yr-Ago:                 NOT AVAILABLE
       MSA Code:                 2800                       MSA Name:                   FORT
                                                                                        WORTH-ARLINGTON, TX
       Square Footage:                                      Occupancy Type:
       Bank Name:                                           Bank DUNS Number:
       Accounting Firm:
       Business Is A:            SINGLE LOCATION            Establishment Is:           US OWNED
                                 SMALL BUSINESS
       DUNS:                     01-685-5980
       Parent Company Name:                                 Parent Company DUNS
                                                            Number:

Page 30 of 192                                                                                         Kapitus_000037
                                              KAPITUS EX. 13 - 037
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A         Page 38 of 540
       Ultimate Company Name:                               Ultimate Company DUNS
                                                            Number:
       Headquarters Company                                 Headquarters Company
       Name:                                                DUNS Number:
       Last Update to Record:    07/16/2015



       1150 BLUE MOUND RD W, HASLET, TX 76052
       TARRANT COUNTY

       Business Name:            RESULTS FITNESS            Related Name(s):
       Date of Incorporation:                               State of Incorporation:
       Year Started:             2010
       Business Address:         1150 BLUE MOUND RD         Phone:                          (817) 439-2348
                                 W
                                 HASLET, TX 76052
       County:                   TARRANT COUNTY
       Executive Name:           A TERI                     Executive Title:            PRINCIPAL
       Line of Business:         PHYSICAL FITNESS           Industry Group:             SERVICES - NON
                                 FACILITY                                               PROFESSIONAL
       Primary SIC:              7991                       SIC Description:            PHYSICAL FITNESS
                                                                                        FACILITIES
       Primary SIC:              7991 0000                  SIC Description:            PHYSICAL FITNESS
                                                                                        FACILITIES, NSK
       Annual Sales:             $150,000-ESTIMATED         Annual Sales Revision Date: 06/06/2015
       1-Yr-Ago:                 $ NOT AVAILABLE
       3-Yr-Ago:                 $ NOT AVAILABLE
       Sales Growth:             %                          Sales Territory:
       Number of Accounts:                                  Net Worth:
       Employees Total:          3                          Employees Here:             3-ESTIMATED
       1-Yr-Ago:                 NOT AVAILABLE              Employment Growth:          %
       3-Yr-Ago:                 NOT AVAILABLE
       MSA Code:                 2800                       MSA Name:                   FORT
                                                                                        WORTH-ARLINGTON, TX
       Square Footage:                                      Occupancy Type:
       Bank Name:                                           Bank DUNS Number:
       Accounting Firm:
       Business Is A:            SINGLE LOCATION            Establishment Is:           US OWNED
                                 SMALL BUSINESS
       DUNS:                     05-258-7517
       Parent Company Name:                                 Parent Company DUNS
                                                            Number:
       Ultimate Company Name:                               Ultimate Company DUNS
                                                            Number:
       Headquarters Company                                 Headquarters Company
       Name:                                                DUNS Number:
       Last Update to Record:    11/06/2014




     UCC Filings



Page 31 of 192                                                                                           Kapitus_000038
                                              KAPITUS EX. 13 - 038
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A              Page 39 of 540

       ORIGINAL FILE NUMBER:
       Original Filing Number:                                     Full Original Filing Number:
       Filing Number:                   140018884781               Full Filing Number:            140018884781
       Filing Date:                     06/13/2014                 Expiration Date:               06/13/2019
       Filing Time:                     11:31                      Film Number:
       Total Number of Filing Pages:                               Page Count:                    2
       Page Number:                                                Volume Number:
       Filing Method:                                              Filing Action:
       Filing Type:                     FINANCING STATEMENT        Filing Status:                 ACTIVE
       Filing Termination:                                         Reference Code:
       Filing Date of Cross Reference                              Cross Reference Filing
                                                                                                  549014930001
       Filing:                                                     Number:
       Contract Type:
       Filing State:                    TX

       Filing Office:                   SECRETARY OF STATE/UCC DIVISION
       Filing Office Location:          1019 BRAZOS, SUITE 505     Filing County:
                                        AUSTIN, TX 78701

       Debtor Name:                     DWAYNE BRIDGES
       Debtor Address:                  1150 BLUE MOUND RD W       Debtor Foreign City:
                                        SUITE 103
                                        HASLET, TX 76052
       Debtor Country:                  USA                        Debtor FEIN:
       Debtor Business DUNS:                                       Debtor Headquarter's DUNS:


       Debtor Name:                     JUST CHILLIN HEATING & AIR
       Debtor Address:                  1150 BLUE MOUND RD W       Debtor Foreign City:
                                        SUITE 103
                                        HASLET, TX 76052
       Debtor Country:                  USA                        Debtor FEIN:
       Debtor Business DUNS:                                       Debtor Headquarter's DUNS:


       Debtor Name:                     BRIDGES, DWAYNE
       Debtor Address:                  628 DESTIN DR              Debtor Foreign City:
                                        FORT WORTH, TX 76131
       Debtor Country:                  USA                        Debtor FEIN:
       Debtor Business DUNS:                                       Debtor Headquarter's DUNS:


       Secured Party Name:              FORA FINANCIAL ADVANCE, LLC
       Secured Party Address:           242 WEST 36TH STREET 14TH Secured Party Foreign City:
                                        FLOOR
                                        NEW YORK, NY 10018
       Secured Party Country:           USA                       Secured Party FEIN:
       Secured Party Business                                     Secured Party Headquarter's
       DUNS:                                                      DUNS:




     Real Property & Deed Transfers
    628 DESTIN DR FORT WORTH, TX 76131-4255
       DEED TRANSFER - TARRANT County 05/29/2010
       Situs Address:        628 DESTIN DR                         Mailing Address:               628 DESTIN DR

Page 32 of 192                                                                                                 Kapitus_000039
                                                 KAPITUS EX. 13 - 039
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A          Page 40 of 540

                                  FORT WORTH, TX                                            FORT WORTH, TX
                                  76131-4255                                                76131-4255
       Owner:                     BRIDGES DWAYNE               Co-Owner Name:
       Owner Rights:              SINGLE MAN                   Owner Relationship:
       Property Type:             SINGLE FAMILY                Land Use:                    SINGLE FAMILY
                                  RESIDENCE -                                               RESIDENCE
                                  TOWNHOUSE
       Building Square Feet:      2854                         APN Sequence Number:         001
       Unformatted APN:           40066118                     Formatted APN:               40066118
       Original APN:              40066118                     Formatted APN - IRIS:
       FIPS Code:                 TARRANT                      FIPS State Code:             TEXAS
       Municipality:                                           Account Number:              40066118
       County:                    TARRANT                      State:
       Transaction Date:          05/29/2010                   Seller Name:                 IRVIN AMY
       Recording Date:            06/02/2010                   Sale Price:
       Document Number:           210130532                    Type of Transaction:         RESALE
       Book/Page:                                              Deed Type:                   GRANT DEED

       Mortgage Amount:                                        Mortgage Type:
       Mortgage Term:                                          Mortgage Deed Type:
       Mortgage Date:                                          Mortgage Due Date:
       Mortgage Assumption                                     Interest Rate:
       Amount:
       2nd Mortgage Amount:                                    2nd Mortgage Type:
       2nd Mortgage Deed Type:
       Lender Name:                                            Lender Address:
       Construction Type:         SALE IS A RE-SALE            Purchase Payment:            CASH


       TAX RECORD - TARRANT County             TAX YEAR 2015
       Situs Address:             628 DESTIN DR                Mailing Address:             628 DESTIN DR
                                  FORT WORTH, TX                                            FORT WORTH, TX
                                  76131-4255                                                76131-4255

       Owner:                     BRIDGES DWAYNE               Co-Owner:
       Additional Name:           BRIDGES DWAYNE               Absentee Owner:              OWNER OCCUPIED
       Owner Relationship Type:   SINGLE MAN                   Owner Corporate Indicator:
       Owner Ownership Rights                                  Owner Phone:
       code:
       FIPS Code:                 TARRANT                      Municipality Name:           FORT WORTH
       FIPS Sub Code:             000                          Municipality Code:
       FIPS State Code:           TEXAS                        Subdivision Name:            FOSSIL PARK ESTATES
       APN Sequence Number:       1                            Property Indicator:          SINGLE FAMILY
                                                                                            RESIDENCE -
                                                                                            TOWNHOUSE
       Unformatted APN:           40066118                     Land Use:                    SINGLE FAMILY
                                                                                            RESIDENCE
       Formatted APN:             40066118                     Homestead Exemption:
       Original APN:              40066118                     Land Square Footage:         6000
       Account Number:            40066118                     Lot Number:                  68
       Acres:                     0.1377                       Block Number:                5


Page 33 of 192                                                                                          Kapitus_000040
                                             KAPITUS EX. 13 - 040
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A          Page 41 of 540
       Range:                                                  Legal Description:          FOSSIL PARK ESTATES
                                                                                           BLOCK 5 LOT 68
       Calculated Land Value:     $34,500.00                   Market Land Value:          $34,500.00
       Calculated Improvement     $112,500.00                  Market Improvement Value:   $112,500.00
       Value:
       Calculated Total Value:    $147,000.00                  Market Total Value:         $147,000.00
       Assessed Land Value:       $34,500.00                   Valuation Method:
       Assessed Improvement Value: $112,500.00                 Total Value Calculated      MARKET
                                                               Indicator:
       Assessed Total Value:      $147,000.00                  Year Sold to State:
       Tax Year:                  2015                         Appraised Land Value:       $34,500.00
       Tax Amount:                $4,798.52                    Appraised Improvement Value: $112,500.00
       Tax Code Area:             220                          Appraised Total Value:      $147,000.00
       Year Built:                2003                         Number of Buildings:        1
       Lot Area:                  7000006000                   Style/Shape:
       Building Code:                                          Number of Stories:          2.00
       Improvement Type:                                       Number of Units:
       Living Square Feet:        2234                         Construction Type:
       Total Number of Rooms:                                  Construction Quality:
       Number of Bedrooms:        3                            Exterior Wall Type:
       Number of Bathrooms:       2.00                         Roof Type:
       Full Baths:                2                            Foundation Type:
       Fireplace:                                              Heat:                       CENTRAL
       Garage Type:               TYPE UNKNOWN                 A/C Type:                   AC CENTRAL
       Sale Date:                 05/29/2010                   Deed Type:                  GRANT DEED
       Seller Name:               IRVIN AMY                    Type of Sale:               RESALE
       Sale Price:                                             Sale Code:
       Number of Parcels:                                      Document Number:            210130532
       Recording Date:            06/02/2010                   Recording Page:
       Recording Book:                                         Title Company:
       Document Number:           209247570                    Mortgage Amount:
       Sale Date:                 09/15/2009                   Multiple Parcel Sale:
       Sale Price:                                             Number of Parcels:          YY
       Sale Code:                                              Recording Date:             09/16/2009
       Deed Type:                                              Recording Book:
       Type of Sale:                                           Recording Page:


    1045 GREEN RIDGE TER SAGINAW, TX 76179-3405
       DEED TRANSFER - TARRANT County 06/04/2014
       Situs Address:        1045 GREEN RIDGE TER              Mailing Address:            628 DESTIN DR
                                  SAGINAW, TX 76179-3405                                   FORT WORTH, TX
                                                                                           76131-4255
       Owner:                     BRIDGES DWAYNE P &           Co-Owner Name:
                                  DANA M
       Owner Rights:                                           Owner Relationship:
       Property Type:             SINGLE FAMILY                Land Use:                   SINGLE FAMILY
                                  RESIDENCE -                                              RESIDENCE
                                  TOWNHOUSE
       Building Square Feet:      1541                         APN Sequence Number:        001
       Unformatted APN:           04430999                     Formatted APN:              04430999


Page 34 of 192                                                                                            Kapitus_000041
                                             KAPITUS EX. 13 - 041
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A         Page 42 of 540
       Original APN:              04430999                     Formatted APN - IRIS:
       FIPS Code:                 TARRANT                      FIPS State Code:            TEXAS
       Municipality:                                           Account Number:             4430999
       County:                    TARRANT                      State:
       Transaction Date:          06/04/2014                   Seller Name:                MOORE TIMOTHY G
       Recording Date:            06/09/2014                   Sale Price:                 $115,625.00
       Document Number:           214119299                    Type of Transaction:        SELLER CARRYBACK
       Book/Page:                                              Deed Type:                  GRANT DEED
       Consideration:             ESTIMATED                    Percent Transferred:


       Mortgage Amount:           $92,500.00                   Mortgage Type:              PRIVATE PARTY LENDER
       Mortgage Term:             30                           Mortgage Deed Type:         DEED OF TRUST
       Mortgage Date:             06/04/2014                   Mortgage Due Date:          06/01/2044
       Mortgage Assumption                                     Interest Rate:
       Amount:
       2nd Mortgage Amount:                                    2nd Mortgage Type:
       2nd Mortgage Deed Type:
       Lender Name:               MOORE TIMOTHY G              Lender Address:             302 PINE TREE RD
                                                                                           LONGVIEW, TX
                                                                                           75604-4106
       Construction Type:         SALE IS A RE-SALE            Purchase Payment:           MORTGAGE
       Title Company:                                          Seller Carryback:           YES
       Private Party Lender:      YES                          Foreclosure Sale:
       Construction Loan:                                      Refinance Loan:
       InterFamily Transaction:                                Equity Loan:
       Multiple Parcel Sale:                                   Number of Parcels:




     Property Owners of Subject's Addresses


    628 DESTIN DR FORT WORTH, TX 76131 TARRANT COUNTY


       DEED TRANSFER - TARRANT County 05/29/2010
       Situs Address:        628 DESTIN DR                     Mailing Address:            PO BOX 2926
                             FORT WORTH, TX                                                GRAPEVINE, TX
                             76131-4255                                                    76099-2926
       Owner:                     IRVIN AMY                    Co-Owner Name:
       Owner Rights:                                           Owner Relationship:
       Property Type:             SINGLE FAMILY                Land Use:                   SINGLE FAMILY
                                  RESIDENCE -                                              RESIDENCE
                                  TOWNHOUSE
       Building Square Feet:      2854                         APN Sequence Number:        001
       Unformatted APN:           40066118                     Formatted APN:              40066118
       Original APN:              40066118                     Formatted APN - IRIS:
       FIPS Code:                 TARRANT                      FIPS State Code:            TEXAS
       Municipality:                                           Account Number:             40066118
       County:                    TARRANT                      State:
       Transaction Date:          05/29/2010                   Seller Name:                WILSON GERARD
       Recording Date:            06/02/2010                   Sale Price:
       Document Number:                                        Type of Transaction:

Page 35 of 192                                                                                         Kapitus_000042
                                            KAPITUS EX. 13 - 042
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A         Page 43 of 540

                                   210130531                                                RESALE
       Book/Page:                                              Deed Type:                   GRANT DEED

       Mortgage Amount:                                        Mortgage Type:
       Mortgage Term:                                          Mortgage Deed Type:
       Mortgage Date:                                          Mortgage Due Date:
       Mortgage Assumption                                     Interest Rate:
       Amount:
       2nd Mortgage Amount:                                    2nd Mortgage Type:
       2nd Mortgage Deed Type:
       Lender Name:                                            Lender Address:
       Construction Type:          SALE IS A RE-SALE           Purchase Payment:            CASH


       Foreclosure: NOTICE OF TRUSTEE'S SALE - TARRANT County
       Situs Address:           628 DESTIN DR          Mailing Address:                     628 DESTIN DR
                                FORT WORTH, TX                                              FORT WORTH, TX
                                76131-4255                                                  76131-4255
       Defendant(s):            DAVID MUSER            Additional Owners:
       Recording Date:             02/11/2011                  Document Number:
       Document Year:              2011                        Document Book:
       Date of Default:                                        Amount of Default:
       Auction Date:               03/02/2011                  Auction Time:                10:00AM
       Total Amount Due Lender:    $137,702.00                 Auction Call Location:
       Title Company:                                          Opening Bid:
       Lender:                                                 Lender Address:
       Lender Phone:
       Trustee:                    TERRY ROSS                  Trustee Address:
       Trustee Phone:                                          Trustee Sale Number:
       County:                     TARRANT                     Estimated Tax Year:
       Formatted APN:              40066118                    Current Land Value:          $34,500.00
       Unformatted APN:            40066118                    Current Improvement Value:   $97,900.00
       IRS APN:                    40066118                    Tract/Subdivision Name:      FOSSIL PARK ESTATES
       Property Type:              SINGLE FAMILY               Block Number:                5
                                   RESIDENCE / TOWNHOUSE
       Land Use:                   SINGLE FAMILY               Lot Number:                  68
                                   RESIDENCE
       Zoning Code:                                            Section:
       Living Area Square Feet:    2234                        Township:
       Number of Bedrooms:         3                           Range:
       Number of Bathrooms:        2.00                        Map Book:
       Number of Garage Spaces:                                Map Page:
       Lot Size:                   6000                        Unit Number:
       Year Built:                 2003                        Abstracted Legal Description: FOSSIL PARK ESTATES
                                                                                            BLK 5 LOT 68
       Last Full Sale Date:        06/02/2010                  Last Full Sale Price:
       Original Loan Date:                                     Original Document Number:
       Original Loan Recording Date: 06/2006                   Original Recording Book:
       Original Loan Amount:         $146,200.00               Original Recording Page:




Page 36 of 192                                                                                           Kapitus_000043
                                              KAPITUS EX. 13 - 043
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A           Page 44 of 540

    1150 BLUE MOUND RD W HASLET, TX 76052 TARRANT COUNTY


       TAX RECORD - TARRANT County     TAX YEAR 2015
       Situs Address:        1150 BLUE MOUND RD W Mailing Address:                          5940 EDEN DR
                             HASLET, TX 76052-3859                                          FORT WORTH, TX
                                                                                            76117-6121

       Owner:                     BLUE MOUND BUSINESS          Co-Owner:
                                  PARK LLC
       Additional Name:           BLUE MOUND BUSINESS          Absentee Owner:              ABSENTEE (MAIL AND
                                  PARK LLC                                                  SITUS NOT=)
       Owner Relationship Type:                                Owner Corporate Indicator:   CORPORATE OWNER
       Owner Ownership Rights                                  Owner Phone:
       code:
       FIPS Code:                 TARRANT                      Municipality Name:           FORT WORTH
       FIPS Sub Code:             000                          Municipality Code:
       FIPS State Code:           TEXAS                        Subdivision Name:            JAMES RIGHTLY ABS 1268
       APN Sequence Number:       1                            Property Indicator:          COMMERCIAL
       Unformatted APN:           40035603                     Land Use:                    COMMERCIAL BUILDING
       Formatted APN:             40035603                     Homestead Exemption:
       Original APN:              40035603                     Land Square Footage:         1576872
       Account Number:            40035603                     Lot Number:
       Acres:                     36.2000                      Block Number:
       Range:                                                  Legal Description:           BOYD, COLEMAN SURVEY
                                                                                            ABSTRACT 212 TRACT 2A2,
                                                                                            2B1, 2D A 1129 TRS 1B1 &
                                                                                            1D1 A 1130 TR 1B1A &
                                                                                            A1268 TR 1C3A
       Subdivision Plat Book:                                  Legal Description:
       Subdivision Plat Page:                                  Legal Description:
       Original Recording Book:                                Subdivision Tract Number:    1B1A
       Original Recording Page:                                Zoning:
       Calculated Land Value:     $748,978.00                  Market Land Value:           $748,978.00
       Calculated Improvement     $1,471,022.00                Market Improvement Value:    $1,471,022.00
       Value:
       Calculated Total Value:     $2,220,000.00               Market Total Value:          $2,220,000.00
       Assessed Land Value:        $748,978.00                 Valuation Method:
       Assessed Improvement Value: $1,471,022.00               Total Value Calculated       MARKET
                                                               Indicator:
       Assessed Total Value:      $2,220,000.00                Year Sold to State:
       Tax Year:                  2015                         Appraised Land Value:        $748,978.00
       Tax Amount:                $70,524.82                   Appraised Improvement Value: $1,471,022.00
       Tax Code Area:             220                          Appraised Total Value:       $2,220,000.00
       Year Built:                2002                         Number of Buildings:         1
       Lot Area:                  1576872                      Style/Shape:
       Building Code:                                          Number of Stories:           1.00
       Improvement Type:                                       Number of Units:             56
       Living Square Feet:        119540                       Construction Type:
       Total Number of Rooms:                                  Construction Quality:
       Sale Date:                 07/05/2002                   Deed Type:                   GRANT DEED
       Seller Name:                                            Type of Sale:


Page 37 of 192                                                                                            Kapitus_000044
                                             KAPITUS EX. 13 - 044
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A         Page 45 of 540

                                  OWNER RECORD                                             RESALE
       Sale Price:                                             Sale Code:
       Number of Parcels:                                      Document Number:
       Recording Date:                                         Recording Page:             244
       Recording Book:            15847                        Title Company:
       Document Number:                                        Mortgage Amount:
       Sale Date:                                              Multiple Parcel Sale:
       Sale Price:                                             Number of Parcels:          DY
       Sale Code:                                              Recording Date:
       Deed Type:                                              Recording Book:
       Type of Sale:                                           Recording Page:


       DEED TRANSFER - TARRANT County 08/18/2015
       Situs Address:        1150 BLUE MOUND RD W              Mailing Address:            5940 EDEN DR
                             HASLET, TX 76052-3859                                         HALTOM CITY, TX
                                                                                           76117-6121
       Owner:                     BLUE MOUND BUSINESS          Co-Owner Name:
                                  PARK LLC
       Owner Rights:                                           Owner Relationship:         COMPANY /
                                                                                           CORPORATION
       Absentee Owner:                                         Corporate Owner:            CORPORATE OWNER
                                                               Partial Interest:
       Property Type:             COMMERCIAL                   Land Use:                   COMMERCIAL BUILDING
       Building Square Feet:      119540                       APN Sequence Number:        001
       Unformatted APN:           40035603                     Formatted APN:              40035603
       Original APN:              40035603                     Formatted APN - IRIS:
       FIPS Code:                 TARRANT                      FIPS State Code:            TEXAS
       Municipality:                                           Account Number:             40035603
       County:                    TARRANT                      State:
       Transaction Date:          08/18/2015                   Seller Name:
       Recording Date:            09/01/2015                   Sale Price:
       Document Number:           215198833                    Type of Transaction:        REFINANCE
       Book/Page:                                              Deed Type:                  TRUST DEED/MORTGAGE

       Mortgage Amount:                                        Mortgage Type:
       Mortgage Term:                                          Mortgage Deed Type:         DEED OF TRUST
       Mortgage Date:             08/18/2015                   Mortgage Due Date:
       Mortgage Assumption                                     Interest Rate:
       Amount:
       2nd Mortgage Amount:                                    2nd Mortgage Type:
       2nd Mortgage Deed Type:
       Lender Name:               FROST BK                     Lender Address:
                                                                                           SAN ANTONIO, TX 78296
       Construction Type:                                      Purchase Payment:
       Title Company:             OTHER                        Seller Carryback:
       Private Party Lender:                                   Foreclosure Sale:
       Construction Loan:                                      Refinance Loan:             LOAN TO VALUE IS MORE
                                                                                           THAN 50%
       InterFamily Transaction:                                Equity Loan:
       Multiple Parcel Sale:      MULTI / DETAIL PARCEL        Number of Parcels:


Page 38 of 192                                                                                         Kapitus_000045
                                             KAPITUS EX. 13 - 045
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A          Page 46 of 540

                                      SALE



     Real-Time Vehicles
       628 DESTIN DR, FORT WORTH, TX 76131                     Address Type:          Street
                                                                                      name with
                                                                                      house
                                                                                      number


       2016 TOYOTA SEQUOIA PLATINUM
       Registered Owner:  BRIDGES, Mr. DWAYNE P                Secondary Owner:       JOHNSON BRIDGES, Mr. DANA M
                          ( Individual )                                              ( Individual & Joint Owner )
       VIN:               5TDDW5G16GS127841                    Valid VIN:             Y
       Make/Model/Series: TOYOTA SEQUOIA PLATINUM              Model Year:            2016
       Full Body Style:   UTILITY 4D PLATINUM 4WD V8           Country of Origin:     United States
       Body Type:         Sport Utility Vehicle                Base Price:            $64,720
       Fuel Type:              Flexible                        Drivetrain:            All Wheel Drive
                                                               Cubic Inch             348
       Shipping Weight:        6000
                                                               Displacement:
       Long Wheel Base         122                             Front Tire Size        20R275
       Short Wheel Base        122                             Rear Tire Size         20R275
       Carburetion Type        Fuel Injection                  Air Bags/Seat Belts:   Du Frnt/Sd/Hd Air Bgs/Rr Hd Ar
                                                                                      Bgs/Act Belts
       Carburetion Barrels     Unknown
       Plate Registration State: TX                            Plate Type:            Regular
       Leased Vehicle:         No                              Plate Expiration:      09/15/2017
       Ton Rating:
       Vehicles Cylinders:     8                               Ton Rating:


       628 DESTIN DR, FORT WORTH, TX 76131                     Address Type:          Street
                                                                                      name with
                                                                                      house
                                                                                      number


       2015 CAN-AM MAVERICK 1000R X RS DPS
       Registered Owner: BRIDGES, Mr. DWAYNE P                 Secondary Owner:       , Firm name
                         ( Individual )                                               ( Individual )
       VIN:              3JBPXAP23FJ000589                     Valid VIN:             Y
                               CAN-AM MAVERICK 1000R X RS
       Make/Model/Series:                                 Model Year:                 2015
                               DPS
       Full Body Style:        MAVERICK 1000R X RS DPS    Country of Origin:          Mexico
       Body Type:              ATV                        Base Price:                 $18,799
       Fuel Type:                                              Drivetrain:
                                                               Cubic Inch             0
       Shipping Weight:        1297
                                                               Displacement:
       Long Wheel Base                                         Front Tire Size
       Short Wheel Base                                        Rear Tire Size
       Carburetion Type                                        Air Bags/Seat Belts:
       Carburetion Barrels       Unknown
       Plate Registration State: TX                            Plate Type:            Recreational / Off road

Page 39 of 192                                                                                            Kapitus_000046
                                                KAPITUS EX. 13 - 046
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A          Page 47 of 540
       Leased Vehicle:         No                              Plate Expiration:      11/18/2016
       Ton Rating:
       Vehicles Cylinders:     2                               Ton Rating:


       628 DESTIN DR, FORT WORTH, TX 76131                     Address Type:          Street
                                                                                      name with
                                                                                      house
                                                                                      number


       2014 YAMAHA TT-R110E
       Registered Owner:  BRIDGES, Mr. DWAYNE                  Secondary Owner:
                          ( Individual )
       VIN:               JYACE25Y7EA022812                    Valid VIN:             Y
       Make/Model/Series: YAMAHA TT-R110E                      Model Year:            2014
       Body Style:        DT                                   Country of Origin:     Japan
       Body Type:         Dirt Bike                            Base Price:            $2,240
       Fuel Type:                                              Drivetrain:
                                                               Cubic Inch             0
       Shipping Weight:        159
                                                               Displacement:
       Long Wheel Base                                         Front Tire Size
       Short Wheel Base                                        Rear Tire Size
       Carburetion Type                                        Air Bags/Seat Belts:
       Carburetion Barrels     Unknown
       Plate Registration State: TX                            Plate Type:            Recreational / Off road
       Leased Vehicle:         No                              Plate Expiration:      11/20/2016
       Ton Rating:
       Vehicles Cylinders:     1                               Ton Rating:


       628 DESTIN DR, FORT WORTH, TX 76131                     Address Type:          Street
                                                                                      name with
                                                                                      house
                                                                                      number


       2014 CAN-AM OUTLANDER 1000 X MR
       Registered Owner: BRIDGES, Mr. DWAYNE P                 Secondary Owner:       , Firm name
                         ( Individual )                                               ( Individual )
       VIN:              3JBLWLP16EJ001657                     Valid VIN:             Y
       Make/Model/Series:      CAN-AM OUTLANDER 1000 X MR Model Year:                 2014
       Full Body Style:        OUTLANDER 1000 X MR        Country of Origin:          Mexico
       Body Type:              ATV                        Base Price:                 $14,399
       Fuel Type:                                              Drivetrain:
                                                               Cubic Inch             0
       Shipping Weight:        759
                                                               Displacement:
       Long Wheel Base                                         Front Tire Size
       Short Wheel Base                                        Rear Tire Size
       Carburetion Type                                        Air Bags/Seat Belts:
       Carburetion Barrels       Unknown
       Plate Registration State: TX                            Plate Type:            Recreational / Off road
       Leased Vehicle:           No                            Plate Expiration:      10/24/2015
       Ton Rating:


Page 40 of 192                                                                                            Kapitus_000047
                                            KAPITUS EX. 13 - 047
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A          Page 48 of 540
       Vehicles Cylinders:     2                               Ton Rating:


       628 DESTIN DR, FORT WORTH, TX 76131                     Address Type:          Street
                                                                                      name with
                                                                                      house
                                                                                      number


       2013 SUZUKI LTF250
       Registered Owner:       BRIDGES, Mr. DWAYNE             Secondary Owner:
                               ( Individual )
       VIN:                    JSAAJ51A9D2100799               Valid VIN:             Y
       Make/Model/Series:      SUZUKI LTF250                   Model Year:            2013
       Full Body Style:        LT-F250L3 OZARK                 Country of Origin:     Japan
       Body Type:              ATV                             Base Price:            $4,499
       Fuel Type:                                              Drivetrain:
                                                               Cubic Inch             0
       Shipping Weight:        428
                                                               Displacement:
       Long Wheel Base                                         Front Tire Size
       Short Wheel Base                                        Rear Tire Size
       Carburetion Type                                        Air Bags/Seat Belts:
       Carburetion Barrels     Unknown
       Plate Registration State: TX                            Plate Type:            Recreational / Off road
       Leased Vehicle:         No                              Plate Expiration:      11/20/2016
       Ton Rating:
       Vehicles Cylinders:     1                               Ton Rating:


       628 DESTIN DR, FORT WORTH, TX 76131                     Address Type:          Street
                                                                                      name with
                                                                                      house
                                                                                      number


       2013 CHEVROLET TRAVERSE LTZ
       Registered Owner:  BRIDGES, Miss. / Ms. DANA            Secondary Owner:       BRIDGES, Mr. DWAYNE
                          ( Individual )                                              ( Individual & Joint Owner )
       VIN:               1GNKRLKD2DJ143409                    Valid VIN:             Y
       Make/Model/Series: CHEVROLET TRAVERSE LTZ               Model Year:            2013
       Full Body Style:        UTILITY 4D LTZ 2WD V6           Country of Origin:     United States
       Body Type:              Sport Utility Vehicle           Base Price:            $38,805
       Fuel Type:              Gas                             Drivetrain:            Front Wheel Drive
                                                               Cubic Inch             220
       Shipping Weight:        4658
                                                               Displacement:
       Long Wheel Base         118.9                           Front Tire Size        20R255
       Short Wheel Base        118.9                           Rear Tire Size         20R255
       Carburetion Type        Fuel Injection                  Air Bags/Seat Belts:   Du Ar Bgs Frnt Hd and Sd/Act Blts/
                                                                                      w/Ato Pss Snsr
       Carburetion Barrels       Unknown
       Plate Registration State: TX                            Plate Type:            Regular
       Leased Vehicle:           No                            Plate Expiration:      06/15/2016
       Ton Rating:             1/2
       Vehicles Cylinders:     6                               Ton Rating:            1/2


Page 41 of 192                                                                                            Kapitus_000048
                                                KAPITUS EX. 13 - 048
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A          Page 49 of 540


       628 DESTIN DR, FORT WORTH, TX 76131                     Address Type:          Street
                                                                                      name with
                                                                                      house
                                                                                      number


       2013 C S
       Registered Owner:       BRIDGES, Mr. DWAYNE             Secondary Owner:
                               ( Individual )
       VIN:                    44Z122LS2DT015705               Valid VIN:             Unknown
       Make/Model/Series:      CS                              Model Year:            2013
       Body Style:                                             Country of Origin:
       Body Type:                                              Base Price:            $
       Fuel Type:                                              Drivetrain:
                                                               Cubic Inch             0
       Shipping Weight:        0
                                                               Displacement:
       Long Wheel Base                                         Front Tire Size
       Short Wheel Base                                        Rear Tire Size
       Carburetion Type                                        Air Bags/Seat Belts:
       Carburetion Barrels     Unknown
       Plate Registration State: TX                            Plate Type:            Regular
       Leased Vehicle:         No                              Plate Expiration:      05/15/2016
       Ton Rating:
       Vehicles Cylinders:                                     Ton Rating:


       628 DESTIN DR, FORT WORTH, TX 76131                     Address Type:          Street
                                                                                      name with
                                                                                      house
                                                                                      number


       2010 CHEVROLET CAMARO SS
       Registered Owner:  BRIDGES, Miss. / Ms. DANA M          Secondary Owner:       BRIDGES, Mr. DWAYNE P
                          ( Individual )                                              ( Individual & Joint Owner )
       VIN:               2G1FK1EJ0A9121008                    Valid VIN:             Y
       Make/Model/Series: CHEVROLET CAMARO SS                  Model Year:            2010
       Full Body Style:        COUPE 2D 2SS V8                 Country of Origin:     Canada
       Body Type:              Coupe                           Base Price:            $33,430
       Fuel Type:              Gas                             Drivetrain:            Rear Wheel Drive
                                                               Cubic Inch             378
       Shipping Weight:        3913
                                                               Displacement:
       Long Wheel Base         112.3                           Front Tire Size        20R245
       Short Wheel Base        112.3                           Rear Tire Size         20R275
       Carburetion Type        Fuel Injection                  Air Bags/Seat Belts:   Du Ar Bgs Frnt Hd and Sd/Act Blts/
                                                                                      w/Ato Pss Snsr
       Carburetion Barrels     Unknown
       Plate Registration State: TX                            Plate Type:            Regular
       Leased Vehicle:         No                              Plate Expiration:      12/15/2015
       Ton Rating:
       Vehicles Cylinders:     8                               Ton Rating:




Page 42 of 192                                                                                            Kapitus_000049
                                                KAPITUS EX. 13 - 049
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A               Page 50 of 540

       628 DESTIN DR, FORT WORTH, TX 76131                     Address Type:               Street
                                                                                           name with
                                                                                           house
                                                                                           number


       2009 CHEVROLET CORVETTE
       Registered Owner: BRIDGES, Mr. DWAYNE                   Secondary Owner:            , Firm name
                         ( Individual )                                                    ( Individual )
       VIN:                    1G1YY36W995200263               Valid VIN:                  Y
       Make/Model/Series:      CHEVROLET CORVETTE              Model Year:                 2009
       Full Body Style:        CONVERTIBLE 2D (AT/6 SPD)       Country of Origin:          United States
       Body Type:              Convertible                     Base Price:                 $51,700
       Fuel Type:              Gas                             Drivetrain:                 Rear Wheel Drive
                                                               Cubic Inch                  378
       Shipping Weight:        3222
                                                               Displacement:
       Long Wheel Base         105.7                           Front Tire Size             18R245
       Short Wheel Base        105.7                           Rear Tire Size              19R285
       Carburetion Type        Fuel Injection                  Air Bags/Seat Belts:        Du Ar Bgs Frnt/Sd/Actv Blts w/Ato
                                                                                           Pass Snsr
       Carburetion Barrels     Unknown
       Plate Registration State: TX                            Plate Type:                 Regular
       Leased Vehicle:         No                              Plate Expiration:           11/15/2015
       Ton Rating:
       Vehicles Cylinders:     8                               Ton Rating:


       1150 BLUE MOUND RD W STE 201, HASLET, TX 76052          Address Type:               Street
                                                                                           name with
                                                                                           house
                                                                                           number


       2008 GMC NEW SIERRA K1500 DENALI
       Registered Owner: BRIDGES, Mr. DWAYNE             Secondary Owner:
                         ( Individual )
       VIN:                   2GTEK638781290564          Valid VIN:              Y
                              GMC NEW SIERRA K1500
       Make/Model/Series:                                Model Year:             2008
                              DENALI
       Full Body Style:       CREW CAB DENALI AWD        Country of Origin:      Canada
       Body Type:             Pickup                     Base Price:             $42,210
       Fuel Type:             Gas                        Drivetrain:             Rear Wheel Drive w/4x4
                                                         Cubic Inch              378
       Shipping Weight:       5983
                                                         Displacement:
       Long Wheel Base        167                        Front Tire Size
       Short Wheel Base       153                        Rear Tire Size
       Carburetion Type       Fuel Injection             Air Bags/Seat Belts: Du Ar Bgs
                                                                                 FrntHdSd/ActBlts/AtoPassSnsr/RrDuSdArBgs
       Carburetion Barrels    Unknown
       Plate Registration     TX                         Plate Type:             Regular
       State:
       Leased Vehicle:        No                         Plate Expiration:       02/15/2016
       Ton Rating:            3/4
       Vehicles Cylinders:    8                          Ton Rating:             3/4

Page 43 of 192                                                                                                Kapitus_000050
                                                KAPITUS EX. 13 - 050
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A          Page 51 of 540


       628 DESTIN DR, FORT WORTH, TX 76131                     Address Type:          Street
                                                                                      name with
                                                                                      house
                                                                                      number


       2007 CHEVROLET SILVERADO C1500 CREW CAB
       Registered Owner:  BRIDGES, Mr. DWAYNE P     Secondary Owner:                  BRIDGES, Miss. / Ms. DANA
                          ( Individual )                                              ( Individual & Joint Owner )
       VIN:               3GCEC13J17G540356         Valid VIN:                        Y
                          CHEVROLET SILVERADO C1500
       Make/Model/Series:                           Model Year:                       2007
                          CREW CAB
       Full Body Style:        CREW CAB LT 2WD                 Country of Origin:     Mexico
       Body Type:              Pickup                          Base Price:            $25,865
       Fuel Type:              Gas                             Drivetrain:            Rear Wheel Drive
                                                               Cubic Inch             323
       Shipping Weight:        5142
                                                               Displacement:
       Long Wheel Base         143.5                           Front Tire Size
       Short Wheel Base        143.5                           Rear Tire Size
       Carburetion Type        Fuel Injection                  Air Bags/Seat Belts:   Dual Frnt Ar Bgs/Passenger
                                                                                      Sensor/Active Belts
       Carburetion Barrels     Unknown
       Plate Registration State: TX                            Plate Type:            Regular
       Leased Vehicle:         No                              Plate Expiration:      05/15/2015
       Ton Rating:             1/2
       Vehicles Cylinders:     8                               Ton Rating:            1/2


       628 DESTIN DR, FORT WORTH, TX 76131                     Address Type:          Street
                                                                                      name with
                                                                                      house
                                                                                      number


       2006 CHEVROLET COLORADO
       Registered Owner: BRIDGES, Mr. DWAYNE                   Secondary Owner:
                               ( Individual )
       VIN:                    1GCCS196368142390               Valid VIN:             Y
       Make/Model/Series:      CHEVROLET COLORADO              Model Year:            2006
       Full Body Style:        EXTENDED CAB LT                 Country of Origin:     United States
       Body Type:              Pickup                          Base Price:            $17,705
       Fuel Type:              Gas                             Drivetrain:            Rear Wheel Drive
                                                               Cubic Inch             214
       Shipping Weight:        3468
                                                               Displacement:
       Long Wheel Base         126                             Front Tire Size
       Short Wheel Base        126                             Rear Tire Size
       Carburetion Type        Fuel Injection                  Air Bags/Seat Belts:   Dual Frnt Ar Bgs/Passenger
                                                                                      Sensor/Active Belts
       Carburetion Barrels       Unknown
       Plate Registration State: TX                            Plate Type:            Regular
       Leased Vehicle:           No                            Plate Expiration:      03/15/2016
       Ton Rating:


Page 44 of 192                                                                                              Kapitus_000051
                                                KAPITUS EX. 13 - 051
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A          Page 52 of 540
       Vehicles Cylinders:     5                               Ton Rating:


       628 DESTIN DR, FORT WORTH, TX 76131                     Address Type:          Street
                                                                                      name with
                                                                                      house
                                                                                      number


       2004 CADILLAC ESCALADE EXT
       Registered Owner:  BRIDGES, Mr. DWAYNE                  Secondary Owner:
                          ( Individual )
       VIN:               3GYEK62N34G261503                    Valid VIN:             Y
       Make/Model/Series: CADILLAC ESCALADE EXT                Model Year:            2004
       Full Body Style:   EXT 4D AWD                           Country of Origin:     Mexico
       Body Type:         Sport Utility Truck                  Base Price:            $52,390
       Fuel Type:         Gas                                  Drivetrain:            All Wheel Drive
                                                               Cubic Inch             364
       Shipping Weight:        5879
                                                               Displacement:
       Long Wheel Base         130                             Front Tire Size        17R265
       Short Wheel Base        130                             Rear Tire Size
       Carburetion Type        Fuel Injection                  Air Bags/Seat Belts:   Du Ar Bgs Frnt/Sd/Actv Blts w/Ato
                                                                                      Pass Snsr
       Carburetion Barrels     Unknown
       Plate Registration State: TX                            Plate Type:            Regular
       Leased Vehicle:         No                              Plate Expiration:      07/15/2015
       Ton Rating:             1/2
       Vehicles Cylinders:     8                               Ton Rating:            1/2


       1150 BLUE MOUND RD W STE 201, HASLET, TX 76052          Address Type:          Street
                                                                                      name with
                                                                                      house
                                                                                      number


       2002 CHEVROLET SILVERADO K1500
       Registered Owner: BRIDGES, Mr. DWAYNE                   Secondary Owner:
                         ( Individual )
       VIN:                    2GCEK19T221169866         Valid VIN:                   Y
       Make/Model/Series:      CHEVROLET SILVERADO K1500 Model Year:                  2002
       Full Body Style:        EXTENDED CAB LS 4WD       Country of Origin:
       Body Type:              Pickup                          Base Price:            $26,192
       Fuel Type:              Gas                             Drivetrain:            Rear Wheel Drive w/4x4
                                                               Cubic Inch             325
       Shipping Weight:        4910
                                                               Displacement:
       Long Wheel Base         157.5                           Front Tire Size
       Short Wheel Base        143.5                           Rear Tire Size
       Carburetion Type        Fuel Injection                  Air Bags/Seat Belts:   Du Ar Bgs Frnt/Act Blts/Pass
                                                                                      Deactivate/cutoff
       Carburetion Barrels       Unknown
       Plate Registration State: TX                            Plate Type:            Regular
       Leased Vehicle:           No                            Plate Expiration:      05/15/2016
       Ton Rating:               1/2


Page 45 of 192                                                                                            Kapitus_000052
                                                KAPITUS EX. 13 - 052
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A          Page 53 of 540
       Vehicles Cylinders:     8                               Ton Rating:            1/2


       628 DESTIN DR, FORT WORTH, TX 76131                     Address Type:          Street
                                                                                      name with
                                                                                      house
                                                                                      number


       1998 FORD RANGER
       Registered Owner:       BRIDGES, Mr. DWAYNE P           Secondary Owner:
                               ( Individual )
       VIN:                    1FTYR10U4WUC97874               Valid VIN:             Y
       Make/Model/Series:      FORD RANGER                     Model Year:            1998
       Full Body Style:        REGULAR CAB                     Country of Origin:     United States
       Body Type:              Pickup                          Base Price:            $11,385
       Fuel Type:              Gas                             Drivetrain:            Rear Wheel Drive
                                                               Cubic Inch             182
       Shipping Weight:        3030
                                                               Displacement:
       Long Wheel Base         117.5                           Front Tire Size
       Short Wheel Base        111.6                           Rear Tire Size
       Carburetion Type        Fuel Injection                  Air Bags/Seat Belts:   Dual Front Air Bag/Active Belts
       Carburetion Barrels     Unknown
       Plate Registration State: TX                            Plate Type:            Regular
       Leased Vehicle:         No                              Plate Expiration:      03/15/2016
       Ton Rating:             1/2
       Vehicles Cylinders:     6                               Ton Rating:            1/2


       4226 E MAIN ST, GRAND PRAIRIE, TX 75050                 Address Type:          Street
                                                                                      name with
                                                                                      house
                                                                                      number


       2010 NISSAN TITAN XE
       Registered Owner:  , Firm name                          Secondary Owner:       BRIDGES, Mr. DWAYNE
                          ( Individual )                                              ( Individual & Joint Owner )
       VIN:               1N6BA0EK5AN307505                    Valid VIN:             Y
       Make/Model/Series: NISSAN TITAN XE                      Model Year:            2010
       Full Body Style:        CREW CAB SE 2WD                 Country of Origin:     United States
       Body Type:              Pickup                          Base Price:            $28,870
       Fuel Type:              Flexible                        Drivetrain:            Rear Wheel Drive
                                                               Cubic Inch             342
       Shipping Weight:        5038
                                                               Displacement:
       Long Wheel Base         139.8                           Front Tire Size        18R265
       Short Wheel Base        139.8                           Rear Tire Size         18R265
       Carburetion Type        Fuel Injection                  Air Bags/Seat Belts:   Dual Frnt Ar Bgs/Passenger
                                                                                      Sensor/Active Belts
       Carburetion Barrels       Unknown
       Plate Registration State: TX                            Plate Type:            Regular
       Leased Vehicle:           No                            Plate Expiration:      06/15/2014
       Ton Rating:             1/2
       Vehicles Cylinders:     8                               Ton Rating:            1/2


Page 46 of 192                                                                                            Kapitus_000053
                                                KAPITUS EX. 13 - 053
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A        Page 54 of 540




Page 47 of 192                                                                                        Kapitus_000054
                                            KAPITUS EX. 13 - 054
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A        Page 55 of 540


Vehicles Registered to Subject
  2012 CHEVROLET CAMARO
  Registered Owner:                  CARAVEO, JOCELYN        DOB:
                                     CALZADILLAS
  Owner Type:                        REGISTRANT              Plate Registration Date:           05/06/2015
  Plate Expiration Date:             04/30/2016              Plate Renewal Date:                05/06/2015
  License Plate:                     FWP6624                 Decal Number:
  License Plate State:               TX                      Previous Plate:                    CFP0582
  Plate Type:                        PRIVATE                 Previous Plate State:              TX
                                     3120 SAPPINGTON
                                     PL
  Mailing Address:
                                     FORT WORTH, TX
                                     76116

  Year:                              20120000                Make/Model:                        CHEVROLET CAMARO
  Style:                             COUPE 2D 4P             Series:                            LT
  VIN:                               2G1FB1E31C9121359 Type:                                    PASSENGER CAR
  Number of Axles:                                           Vehicle Length:
  Vehicle Weight:                     lbs                    Color:                              BLACK



  Title History

  Title Number:                      22031342137250011       Original Title Date:               05/22/2015
  License Plate:                                             Decal Number:
  License Plate State:                                       Previous Plate:
  Plate Type:                                                Previous Plate State:
  Title Holder Name:                 CARAVEO, JOCELYN Title Holder Type:                        OWNER
                                     CALZADILLAS
  Title Transfer Date:               05/22/2015
                                     3120 SAPPINGTON
                                     PL
  Title Holder Mailing Address:
                                     FORT WORTH, TX
                                     76116



  Title Number:                      28695342086005134       Original Title Date:               03/25/2015
  License Plate:                                             Decal Number:
  License Plate State:                                       Previous Plate:
  Plate Type:                                                Previous Plate State:
  Title Holder Name:                 FRITTS, PAIGE           Title Holder Type:                 OWNER
  Title Transfer Date:               03/25/2015
                                     1570 WEYLAND DR
                                     APT 807
  Title Holder Mailing Address:
                                     NORTH RICHLAND,
                                     TX 76180




Page 48 of 192                                                                                           Kapitus_000055
                                            KAPITUS EX. 13 - 055
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A        Page 56 of 540

  Lien Holder History
                                     SANTANDER
  Lien Holder:                                               Lien Holder Type:                  LIEN HOLDER
                                     CONSUMER USA
                                     PO BOX 961288
  Lien Holder Mailing Address:       FORT WORTH, TX
                                     76161



  Previous Owner History

  Previous Owner:                    FRITTS, PAIGE           DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             06/30/2015
  License Plate:                     CFP0582                 Plate Renewal Date:                08/31/2014
  License Plate State:               TX                      Previous License Plate:            CFP0582
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     1570 WEYLAND DR
  Previous Owner Mailing Address:    NORTH RICHLAND,
                                     TX 76180-7778


                                     FRITTS, SHIRLEY
  Previous Owner:                                            DOB:
                                     PAIGE
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             06/30/2015
  License Plate:                                             Plate Renewal Date:                08/31/2014
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     2403 BUFFALO RUN
  Previous Owner Mailing Address:    BURLESON, TX
                                     76028-7893

  Previous Owner:                    FRITTS, PAIGE           DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             06/30/2014
  License Plate:                     CFP0582                 Plate Renewal Date:                07/16/2013
  License Plate State:               TX                      Previous License Plate:            DG6S945
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     1570 WEYLAND DR
  Previous Owner Mailing Address:    NORTH RICHLAND,
                                     TX 76180-7778

  Previous Owner:                    BRIDGES, DANA           DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             12/31/2013
  License Plate:                     DG6S945                 Plate Renewal Date:                01/01/2013
  License Plate State:               TX                      Previous License Plate:            DG6S945
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Previous Owner:                    BRIDGES, DWAYNE         DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             12/31/2013
  License Plate:                                             Plate Renewal Date:                01/01/2013


Page 49 of 192                                                                                         Kapitus_000056
                                            KAPITUS EX. 13 - 056
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A        Page 57 of 540
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Previous Owner:                    FRITTS, PAIGE           DOB:
  Title Transfer Date:               07/25/2013              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     1570 WEYLAND DR
  Previous Owner Mailing Address:    NORTH RICHLAND,
                                     TX 76180-7778

  Title Transfer Date:               07/25/2013              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     PO BOX 660068
  Previous Owner Mailing Address:    SACRAMENTO, CA
                                     95866-0068

  Previous Owner:                    BRIDGES, DWAYNE         DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             12/31/2012
  License Plate:                     DG6S945                 Plate Renewal Date:                01/11/2012
  License Plate State:               TX                      Previous License Plate:
  Plate Type:                        PRIVATE                 Previous License Plate State:
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Previous Owner:                    BRIDGES, DANA           DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             12/31/2012
  License Plate:                                             Plate Renewal Date:                01/11/2012
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Previous Owner:                    BRIDGES, DANA           DOB:
  Title Transfer Date:               02/17/2012              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Title Transfer Date:               02/17/2012              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:


Page 50 of 192                                                                                         Kapitus_000057
                                            KAPITUS EX. 13 - 057
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A        Page 58 of 540
  Plate Type:                                                Previous License Plate State:
                                     PO BOX 901098
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76101-2098
                                     PO BOX 901098
  Previous Owner Physical Address:   FORT WORTH, TX
                                     76101-2098

  Title Transfer Date:               02/17/2012              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     PO BOX 901098
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76101-2098
                                     5353 FANNIN ST
  Previous Owner Physical Address:   HOUSTON, TX
                                     77004-8090

  Previous Owner:                    BRIDGES, DWAYNE         DOB:
  Title Transfer Date:               02/17/2012              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Title Transfer Date:               02/17/2012              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     PO BOX 901098
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76101-2098
                                     ROBERT E MORGAN
  Previous Owner Physical Address:   3246 DR
                                     DALLAS, TX 75229

  Title Transfer Date:               02/17/2012              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     2780 N GRANDVIEW
                                     AVE
  Previous Owner Mailing Address:
                                     ODESSA, TX
                                     79762-6953
                                     5353 FANNIN ST
  Previous Owner Physical Address:   HOUSTON, TX
                                     77004-8090


  2012 TAO


Page 51 of 192                                                                                        Kapitus_000058
                                            KAPITUS EX. 13 - 058
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A        Page 59 of 540
  Registered Owner:                  BRIDGES, DWAYNE         DOB:
  Owner Type:                        REGISTRANT              Plate Registration Date:           04/03/2013
  Plate Expiration Date:             03/31/2014              Plate Renewal Date:                04/03/2013
  License Plate:                     4UN233                  Decal Number:
  License Plate State:               TX                      Previous Plate:
  Plate Type:                        MOTORCYCLE              Previous Plate State:
                                     628 DESTIN DR
  Mailing Address:                   FORT WORTH, TX
                                     76131

  Registered Owner:                  BRIDGES, DWAYNE         DOB:
  Owner Type:                        REGISTRANT              Plate Registration Date:           04/03/2013
  Plate Expiration Date:             03/31/2014              Plate Renewal Date:                04/03/2013
  License Plate:                                             Decal Number:
  License Plate State:                                       Previous Plate:
  Plate Type:                                                Previous Plate State:
                                     628 DESTIN DR
  Mailing Address:                   FORT WORTH, TX
                                     76131

  Year:                              20120000                Make/Model:                        TAO
  Style:                             MS                      Series:
  VIN:                               L9NTELKD2C1005233 Type:                                    UNKNOWN
  Number of Axles:                                           Vehicle Length:
  Vehicle Weight:                     lbs                    Color:




  Title History

  Title Number:                      22043041365130015       Original Title Date:               04/11/2013
  License Plate:                                             Decal Number:
  License Plate State:                                       Previous Plate:
  Plate Type:                                                Previous Plate State:
  Title Holder Name:                 BRIDGES, DWAYNE         Title Holder Type:                 OWNER
  Title Transfer Date:               04/11/2013
                                     628 DESTIN DR
  Title Holder Mailing Address:      FORT WORTH, TX
                                     76131



  2007 ARCA
  Registered Owner:                  BRIDGES, DWAYNE P.      DOB:
  Owner Type:                        REGISTRANT              Plate Registration Date:           03/14/2007
  Plate Expiration Date:             02/20/2011              Plate Renewal Date:                03/14/2007
  License Plate:                     OR341461                Decal Number:                      00000000
  License Plate State:               LA                      Previous Plate:
  Plate Type:                        OTHER                   Previous Plate State:
                                     17080 LISA DR
                                     LIVINGSTON, LA
  Mailing Address:


Page 52 of 192                                                                                          Kapitus_000059
                                             KAPITUS EX. 13 - 059
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A        Page 60 of 540

                                     70754

  Year:                              20070000                Make/Model:                        ARCA
  Style:                             4W                      Series:                            ORV
  VIN:                               4UF07ATV57T217876       Type:                              UNKNOWN
  Number of Axles:                                           Vehicle Length:
  Vehicle Weight:                     lbs                    Color:




  Title History

  Title Number:                                              Original Title Date:               03/14/2007
  License Plate:                                             Decal Number:
  License Plate State:                                       Previous Plate:
  Plate Type:                                                Previous Plate State:
  Title Holder Name:                 BRIDGES, DWAYNE P. Title Holder Type:                      OWNER
  Title Transfer Date:               03/14/2007
                                     17080 LISA DR
  Title Holder Mailing Address:      LIVINGSTON, LA
                                     70754



  2005 PARR
  Registered Owner:                  BRIDGES, DWAYNE         DOB:
  Owner Type:                        REGISTRANT              Plate Registration Date:           10/16/2006
  Plate Expiration Date:             10/16/2007              Plate Renewal Date:                10/16/2006
  License Plate:                     L0047988                Decal Number:                      00000000
  License Plate State:               LA                      Previous Plate:                    E0848927
  Plate Type:                                                Previous Plate State:              LA
                                     17650 MELANCON
                                     RD
  Mailing Address:
                                     LIVINGSTON, LA
                                     70754

  Year:                              20050000                Make/Model:                        PARR
  Style:                             UT                      Series:
  VIN:                               13ZLA162551007157       Type:                              UNKNOWN
  Number of Axles:                                           Vehicle Length:
  Vehicle Weight:                     lbs                    Color:




  Title History

  Title Number:                                              Original Title Date:               10/16/2006
  License Plate:                                             Decal Number:
  License Plate State:                                       Previous Plate:
  Plate Type:                                                Previous Plate State:
  Title Holder Name:                 BRIDGES, DWAYNE         Title Holder Type:                 OWNER
  Title Transfer Date:               10/16/2006


Page 53 of 192                                                                                          Kapitus_000060
                                             KAPITUS EX. 13 - 060
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A        Page 61 of 540

                                     17650 MELANCON
  Title Holder Mailing Address:      RD
                                     LIVINGSTON, LA
                                     70754



  Previous Owner History

  Previous Owner:                    BRIDGES, DWAYNE         DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             10/16/2007
  License Plate:                     L0047988                Plate Renewal Date:                10/16/2006
  License Plate State:               LA                      Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     17650 MELANCON
                                     RD
  Previous Owner Mailing Address:
                                     LIVINGSTON, LA
                                     70754-3001

  Previous Owner:                    WALLS, RONALD S.        DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             10/17/2006
  License Plate:                     E0848927                Plate Renewal Date:                10/17/2005
  License Plate State:               LA                      Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     2813 RACE ST
  Previous Owner Mailing Address:    JACKSON, LA
                                     70748-5840


  1995 KAWASAKI EN500 A6 VULCAN 500
  Registered Owner:           NICHOLSON, JERRY               DOB:
                              D.
  Owner Type:                        REGISTRANT              Plate Registration Date:           07/11/2008
  Plate Expiration Date:             06/20/2011              Plate Renewal Date:                07/11/2008
  License Plate:                     MC438172                Decal Number:                      00000000
  License Plate State:               LA                      Previous Plate:                    MC375127
  Plate Type:                        MOTORCYCLE              Previous Plate State:              LA
                                     9975 ADAM DR
  Mailing Address:                   DENHAM SPRINGS,
                                     LA 70726

  Year:                              19950000                Make/Model:                        KAWASAKI EN500 A6
                                                                                                VULCAN 500
  Style:                             MC                Series:                                  BASE
  VIN:                               JKAENVA1XSA091880 Type:                                    MOTORCYCLE
  Number of Axles:                                           Vehicle Length:
  Vehicle Weight:                     lbs                    Color:                               RED



  Title History

  Title Number:                      A9947389                Original Title Date:               07/11/2008

Page 54 of 192                                                                                          Kapitus_000061
                                             KAPITUS EX. 13 - 061
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A        Page 62 of 540
  License Plate:                                             Decal Number:
  License Plate State:                                       Previous Plate:
  Plate Type:                                                Previous Plate State:
  Title Holder Name:                 NICHOLSON, JERRY        Title Holder Type:                 OWNER
                                     D.
  Title Transfer Date:               07/11/2008
                                     9975 ADAM DR
  Title Holder Mailing Address:      DENHAM SPRINGS,
                                     LA 70726



  Title Number:                                              Original Title Date:               07/11/2008
  License Plate:                                             Decal Number:
  License Plate State:                                       Previous Plate:
  Plate Type:                                                Previous Plate State:
  Title Holder Name:                 NICHOLSON, JERRY        Title Holder Type:                 OWNER
                                     D.
  Title Transfer Date:               07/11/2008
                                     9975 ADAM DR
  Title Holder Mailing Address:      DENHAM SPRINGS,
                                     LA 70726



  Previous Owner History

  Previous Owner:                    BRIDGES, DWAYNE P. DOB:
  Title Transfer Date:               UNKNOWN            Plate Expiration Date:                  03/20/2008
  License Plate:                     MC375127                Plate Renewal Date:                04/12/2004
  License Plate State:               LA                      Previous License Plate:            MC259111
  Plate Type:                        MOTORCYCLE              Previous License Plate State:      LA
                                     31531 LINDER RD
  Previous Owner Mailing Address:    DENHAM SPRINGS,
                                     LA 70726-8504

  Previous Owner:                    BRIDGES, DWAYNE P. DOB:
  Title Transfer Date:               UNKNOWN            Plate Expiration Date:                  03/20/2008
  License Plate:                     MC375127                Plate Renewal Date:                04/12/2004
  License Plate State:               LA                      Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     31531 LINDER RD
  Previous Owner Mailing Address:    DENHAM SPRINGS,
                                     LA 70726-8504

  Previous Owner:                    BRIDGES, DWAYNE P. DOB:
  Title Transfer Date:               04/12/2004         Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     31531 LINDER RD
                                     DENHAM SPRINGS,
  Previous Owner Mailing Address:


Page 55 of 192                                                                                          Kapitus_000062
                                            KAPITUS EX. 13 - 062
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A        Page 63 of 540

                                     LA 70726-8504


  2014 CAN AM OUTLANDER X MR 1000
  Year:                       20140000                       Make/Model:                        CAN AM OUTLANDER
                                                                                                X MR 1000
  Style:                             MV                Series:                                  BASE
  VIN:                               3JBLWLP16EJ001657 Type:                                    UNKNOWN
  Number of Axles:                                           Vehicle Length:
  Vehicle Weight:                     lbs                    Color:                              YELLOW



  Title History

  Title Number:                      22034241927154753       Original Title Date:               10/24/2014
  License Plate:                                             Decal Number:
  License Plate State:                                       Previous Plate:
  Plate Type:                                                Previous Plate State:
  Title Holder Name:                 BRIDGES, DWAYNE         Title Holder Type:                 OWNER
                                     PAUL
  Title Transfer Date:               10/24/2014
                                     628 DESTIN DR
  Title Holder Mailing Address:      FORT WORTH, TX
                                     76131



  Lien Holder History
  Lien Holder:                       MODEL FIN.              Lien Holder Type:                  LIEN HOLDER
                                     PO BOX 5825
  Lien Holder Mailing Address:
                                     ORANGE, CA 92863



  1997 CHEVROLET C/K1500
  Registered Owner:                  BRIDGES, DWAYNE         DOB:
  Owner Type:                        REGISTRANT              Plate Registration Date:           02/22/2008
  Plate Expiration Date:             02/20/2012              Plate Renewal Date:                02/22/2008
  License Plate:                     X0377043                Decal Number:                      00000000
  License Plate State:               LA                      Previous Plate:                    W0324313
  Plate Type:                        PRIVATE                 Previous Plate State:              LA
                                     17210 OLIVE DR
  Mailing Address:                   LIVINGSTON, LA
                                     70754

  Year:                              19970000                Make/Model:                        CHEVROLET C/K1500
  Style:                             EXTENDED CAB 2D         Series:                            CHEYENNE
                                                                                                SILVERADO
  VIN:                               2GCEK19R5V1229468 Type:                                    PASSENGER CAR
  Number of Axles:                                           Vehicle Length:
  Vehicle Weight:                     lbs                    Color:                               GREEN



Page 56 of 192                                                                                          Kapitus_000063
                                            KAPITUS EX. 13 - 063
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A        Page 64 of 540


  Previous Owner History

  Previous Owner:                    BRIDGES, DWAYNE         DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             11/20/2009
  License Plate:                     W0324313                Plate Renewal Date:                12/13/2005
  License Plate State:               LA                      Previous License Plate:            W0393495
  Plate Type:                        PRIVATE                 Previous License Plate State:      LA
                                     17650 MELANCON
                                     RD
  Previous Owner Mailing Address:
                                     LIVINGSTON, LA
                                     70754-3001

  Previous Owner:                    BRIDGES, DWAYNE         DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             11/20/2009
  License Plate:                     W0324313                Plate Renewal Date:                12/13/2005
  License Plate State:               LA                      Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     17650 MELANCON
                                     RD
  Previous Owner Mailing Address:
                                     LIVINGSTON, LA
                                     70754-3001

  Previous Owner:                    BRIDGES, DWAYNE         DOB:
  Title Transfer Date:               12/13/2005              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     17650 MELANCON
                                     RD
  Previous Owner Mailing Address:
                                     LIVINGSTON, LA
                                     70754-3001


  2005 RDCT
  Registered Owner:                  BRIDGES, DWAYNE         DOB:
  Owner Type:                        REGISTRANT              Plate Registration Date:           02/09/2005
  Plate Expiration Date:             02/20/2009              Plate Renewal Date:                02/09/2005
  License Plate:                     OR284124                Decal Number:                      00000000
  License Plate State:               LA                      Previous Plate:
  Plate Type:                        OTHER                   Previous Plate State:
                                     28381 LA HIGHWAY
                                     16 TRLR 7
  Mailing Address:
                                     DENHAM SPRINGS,
                                     LA 70726

  Year:                              20050000          Make/Model:                              RDCT
  Style:                             4W                Series:                                  ORV
  VIN:                               LW0XCFTCX50069220 Type:                                    UNKNOWN
  Number of Axles:                                           Vehicle Length:
  Vehicle Weight:                     lbs                    Color:                              GREEN


Page 57 of 192                                                                                         Kapitus_000064
                                            KAPITUS EX. 13 - 064
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A        Page 65 of 540



  Title History

  Title Number:                      A7218308                Original Title Date:               02/09/2005
  License Plate:                                             Decal Number:
  License Plate State:                                       Previous Plate:
  Plate Type:                                                Previous Plate State:
  Title Holder Name:                 BRIDGES, DWAYNE         Title Holder Type:                 OWNER
  Title Transfer Date:               02/09/2005
                                     28381 LA HIGHWAY
                                     16 TRLR 7
  Title Holder Mailing Address:
                                     DENHAM SPRINGS,
                                     LA 70726



  1997 CHEVROLET C/K3500
  Registered Owner:                  JEFFERSON, JAMES        DOB:
  Owner Type:                        REGISTRANT              Plate Registration Date:           11/02/2012
  Plate Expiration Date:             09/30/2016              Plate Renewal Date:                05/20/2013
  License Plate:                                             Decal Number:                      00000000
  License Plate State:               LA                      Previous Plate:
  Plate Type:                                                Previous Plate State:              LA
                                     58444 ALLEN ST
  Mailing Address:                   PLAQUEMINE, LA
                                     70764

  Year:                              19970000                Make/Model:                        CHEVROLET C/K3500
  Style:                             EXTENDED CAB 2D         Series:                            CHEYENNE
                                                                                                SILVERADO
  VIN:                               1GCHC39F5VE120180 Type:                                    PASSENGER CAR
  Number of Axles:                                           Vehicle Length:
  Vehicle Weight:                     lbs                    Color:                               BLUE



  Title History

  Title Number:                      B4571482                Original Title Date:               05/20/2013
  License Plate:                                             Decal Number:
  License Plate State:                                       Previous Plate:
  Plate Type:                                                Previous Plate State:
  Title Holder Name:                 JEFFERSON, JAMES        Title Holder Type:                 OWNER
  Title Transfer Date:               05/20/2013
                                     58444 ALLEN ST
  Title Holder Mailing Address:      PLAQUEMINE, LA
                                     70764



  Title Number:                                              Original Title Date:               05/20/2013


Page 58 of 192                                                                                           Kapitus_000065
                                            KAPITUS EX. 13 - 065
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A        Page 66 of 540
  License Plate:                                             Decal Number:
  License Plate State:                                       Previous Plate:
  Plate Type:                                                Previous Plate State:
  Title Holder Name:                 JEFFERSON, JAMES        Title Holder Type:                 OWNER
  Title Transfer Date:               05/20/2013
                                     58444 ALLEN ST
  Title Holder Mailing Address:      PLAQUEMINE, LA
                                     70764



  Previous Owner History

  Previous Owner:                    MCCLAY, JAMES           DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             09/30/2016
  License Plate:                                             Plate Renewal Date:                11/02/2012
  License Plate State:               LA                      Previous License Plate:
  Plate Type:                                                Previous License Plate State:      LA
                                     59330 W W
                                     HARLEAUX ST
  Previous Owner Mailing Address:
                                     PLAQUEMINE, LA
                                     70764-2969

  Previous Owner:                    MCCLAY, JAMES           DOB:
  Title Transfer Date:               11/02/2012              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     59330 W W
                                     HARLEAUX ST
  Previous Owner Mailing Address:
                                     PLAQUEMINE, LA
                                     70764-2969


                                     JEFFERSON, JAMES
  Previous Owner:                                            DOB:
                                     R.
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             07/19/2012
  License Plate:                     NONE                    Plate Renewal Date:                07/19/2011
  License Plate State:               LA                      Previous License Plate:            B0458785
  Plate Type:                                                Previous License Plate State:      LA
                                     58444 ALLEN ST
  Previous Owner Mailing Address:    PLAQUEMINE, LA
                                     70764-3054

                                     JEFFERSON, JAMES
  Previous Owner:                                            DOB:
                                     R.
  Title Transfer Date:               07/19/2011              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     58444 ALLEN ST
  Previous Owner Mailing Address:    PLAQUEMINE, LA
                                     70764-3054


Page 59 of 192                                                                                          Kapitus_000066
                                            KAPITUS EX. 13 - 066
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A        Page 67 of 540


  Previous Owner:                    BRIDGES, DWAYNE P. DOB:
  Title Transfer Date:               UNKNOWN            Plate Expiration Date:                  09/20/2009
  License Plate:                     W0424758                Plate Renewal Date:                10/07/2005
  License Plate State:               LA                      Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     10065 ADAM DR
  Previous Owner Mailing Address:    DENHAM SPRINGS,
                                     LA 70726-7722

  Previous Owner:                    LEWIS, CLIFFORD         DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             06/20/2006
  License Plate:                     B0458785                Plate Renewal Date:                12/27/2005
  License Plate State:               LA                      Previous License Plate:            W0424758
  Plate Type:                                                Previous License Plate State:      LA
                                     2580 PLANK RD
  Previous Owner Mailing Address:    BATON ROUGE, LA
                                     70805-8049

  Previous Owner:                    LEWIS, CLIFFORD         DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             06/20/2006
  License Plate:                     B0458785                Plate Renewal Date:                12/27/2005
  License Plate State:               LA                      Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     2580 PLANK RD
  Previous Owner Mailing Address:    BATON ROUGE, LA
                                     70805-8049

  Previous Owner:                    LEWIS, CLIFFORD         DOB:
  Title Transfer Date:               12/27/2005              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     2580 PLANK RD
  Previous Owner Mailing Address:    BATON ROUGE, LA
                                     70805-8049


  2013 LAWH
  Registered Owner:                  BRIDGES, DWAYNE         DOB:
                                     PAUL
  Owner Type:                        REGISTRANT              Plate Registration Date:           06/05/2013
  Plate Expiration Date:             05/31/2016              Plate Renewal Date:                06/01/2015
  License Plate:                     119557H                 Decal Number:
  License Plate State:               TX                      Previous Plate:                    119557H
  Plate Type:                        TRAILER                 Previous Plate State:              TX
                                     628 DESTIN DR
  Mailing Address:                   FORT WORTH, TX
                                     76131

  Year:                              20130000                Make/Model:                        LAWH
  Style:                                                     Series:

Page 60 of 192                                                                                         Kapitus_000067
                                            KAPITUS EX. 13 - 067
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A        Page 68 of 540

                                     UT
  VIN:                               44Z122LS2DT015705       Type:                              UNKNOWN
  Number of Axles:                                           Vehicle Length:
  Vehicle Weight:                     lbs                    Color:                              RED



  Previous Owner History

                                     BRIDGES, DWAYNE
  Previous Owner:                                            DOB:
                                     PAUL
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             05/31/2015
  License Plate:                     119557H                 Plate Renewal Date:                06/01/2014
  License Plate State:               TX                      Previous License Plate:            119557H
  Plate Type:                        TRAILER                 Previous License Plate State:      TX
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Previous Owner:                    BRIDGES, DWAYNE         DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             05/31/2015
  License Plate:                                             Plate Renewal Date:                06/01/2014
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Previous Owner:                    BRIDGES, DWAYNE         DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             05/31/2014
  License Plate:                     119557H                 Plate Renewal Date:                06/05/2013
  License Plate State:               TX                      Previous License Plate:
  Plate Type:                        TRAILER                 Previous License Plate State:
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Previous Owner:                    BRIDGES, DWAYNE P. DOB:
  Title Transfer Date:               UNKNOWN            Plate Expiration Date:                  05/31/2014
  License Plate:                                             Plate Renewal Date:                06/05/2013
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255


  2004 NISSAN 350Z
  Registered Owner:                  GARZA, EDDIE            DOB:
                                     ALBERTO
  Owner Type:                        REGISTRANT              Plate Registration Date:           07/08/2015
  Plate Expiration Date:             06/30/2016              Plate Renewal Date:                07/08/2015


Page 61 of 192                                                                                         Kapitus_000068
                                            KAPITUS EX. 13 - 068
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A        Page 69 of 540
  License Plate:                     GCP2466                 Decal Number:
  License Plate State:               TX                      Previous Plate:                    CJF3523
  Plate Type:                        PRIVATE                 Previous Plate State:              TX
                                     8541 HAWKVIEW DR
  Mailing Address:                   FORT WORTH, TX
                                     76179

  Year:                              20040000                Make/Model:                        NISSAN 350Z
  Style:                             COUPE 2D 2P             Series:                            BASE ENTHUSIAST
                                                                                                PERFORMAN
  VIN:                               JN1AZ34E84T061718       Type:                              PASSENGER CAR
  Number of Axles:                                           Vehicle Length:
  Vehicle Weight:                     lbs                    Color:                              RED



  Title History

  Title Number:                      22031142191250152       Original Title Date:               07/15/2015
  License Plate:                                             Decal Number:
  License Plate State:                                       Previous Plate:
  Plate Type:                                                Previous Plate State:
  Title Holder Name:                 GARZA, EDDIE            Title Holder Type:                 OWNER
                                     ALBERTO
  Title Transfer Date:               07/15/2015
                                     8541 HAWKVIEW DR
  Title Holder Mailing Address:      FORT WORTH, TX
                                     76179



  Lien Holder History
                                     NORTHWEST
  Lien Holder:                       FEDERAL CREDIT          Lien Holder Type:                  LIEN HOLDER
                                     UNION
                                     PO BOX 279437
  Lien Holder Mailing Address:       SACRAMENTO, CA
                                     95827



  Previous Owner History

  Previous Owner:                    LY, BAO TUONG           DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             08/31/2015
  License Plate:                     CJF3523                 Plate Renewal Date:                09/15/2014
  License Plate State:               TX                      Previous License Plate:            CJF3523
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     7401 RANGER WAY
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76133-8932




Page 62 of 192                                                                                          Kapitus_000069
                                             KAPITUS EX. 13 - 069
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A        Page 70 of 540
  Previous Owner:                    BRIDGES, DWAYNE         DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             08/31/2015
  License Plate:                                             Plate Renewal Date:                09/01/2014
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Previous Owner:                    LY, BAO TUONG           DOB:
  Title Transfer Date:               09/22/2014              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     7401 RANGER WAY
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76133-8932

                                     BRIDGES, DWAYNE
  Previous Owner:                                            DOB:
                                     PAUL
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             08/31/2014
  License Plate:                     CJF3523                 Plate Renewal Date:                09/09/2013
  License Plate State:               TX                      Previous License Plate:            774EBX
  Plate Type:                        PRIVATE                 Previous License Plate State:      KS
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255


                                     BRIDGES, DWAYNE
  Previous Owner:                                            DOB:
                                     PAUL
  Title Transfer Date:               09/16/2013              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Previous Owner:                    BRIDGES, DWAYNE         DOB:
  Title Transfer Date:               09/16/2013              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255


  2013 CHEVROLET TRAVERSE
  Registered Owner:                  BRIDGES, DANA           DOB:
  Owner Type:                        REGISTRANT              Plate Registration Date:           06/05/2013
  Plate Expiration Date:             06/30/2016              Plate Renewal Date:                07/01/2015
  License Plate:                     CCR0739                 Decal Number:


Page 63 of 192                                                                                         Kapitus_000070
                                            KAPITUS EX. 13 - 070
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A        Page 71 of 540
  License Plate State:               TX                      Previous Plate:                     CCR0739
  Plate Type:                        PRIVATE                 Previous Plate State:               TX
                                     628 DESTIN DR
  Mailing Address:                   FORT WORTH, TX
                                     76131

  Registered Owner:                  BRIDGES, DWAYNE         DOB:
                                     PAUL
  Owner Type:                        REGISTRANT              Plate Registration Date:            06/05/2013
  Plate Expiration Date:             06/30/2016              Plate Renewal Date:                 07/01/2015
  License Plate:                                             Decal Number:
  License Plate State:                                       Previous Plate:
  Plate Type:                                                Previous Plate State:
                                     628 DESTIN DR
  Mailing Address:                   FORT WORTH, TX
                                     76131

  Year:                             20130000                Make/Model:                         CHEVROLET TRAVERSE
  Style:                            SUV 4D 7P               Series:                             LTZ
  VIN:                              1GNKRLKD2DJ143409 Type:                                     PASSENGER CAR
  Number of Axles:                                    Vehicle Length:
  Vehicle Weight:                    lbs                    Color:                              RED



  Title History

  Title Number:                      28695342291007466       Original Title Date:                10/16/2015
  License Plate:                                             Decal Number:
  License Plate State:                                       Previous Plate:
  Plate Type:                                                Previous Plate State:
  Title Holder Name:                 BRIDGES, DANA           Title Holder Type:                  OWNER
  Title Transfer Date:               10/16/2015
                                     628 DESTIN DR
  Title Holder Mailing Address:      FORT WORTH, TX
                                     76131



  Title Number:                                              Original Title Date:
  License Plate:                                             Decal Number:
  License Plate State:                                       Previous Plate:
  Plate Type:                                                Previous Plate State:
  Title Holder Name:                 BRIDGES, DWAYNE         Title Holder Type:                  OWNER
                                     PAUL
  Title Transfer Date:               10/16/2015
                                     628 DESTIN DR
  Title Holder Mailing Address:      FORT WORTH, TX
                                     76131




Page 64 of 192                                                                                           Kapitus_000071
                                             KAPITUS EX. 13 - 071
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A        Page 72 of 540

  Previous Owner History

  Previous Owner:                    BRIDGES, DANA           DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             05/31/2015
  License Plate:                     CCR0739                 Plate Renewal Date:                06/01/2014
  License Plate State:               TX                      Previous License Plate:            CCR0739
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Previous Owner:                    BRIDGES, DWAYNE         DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             05/31/2015
  License Plate:                                             Plate Renewal Date:                06/01/2014
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Previous Owner:                    BRIDGES, DANA           DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             05/31/2014
  License Plate:                     CCR0739                 Plate Renewal Date:                06/05/2013
  License Plate State:               TX                      Previous License Plate:
  Plate Type:                        PRIVATE                 Previous License Plate State:
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Previous Owner:                    BRIDGES, DWAYNE         DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             05/31/2014
  License Plate:                                             Plate Renewal Date:                06/05/2013
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Previous Owner:                    BRIDGES, DWAYNE P. DOB:
  Title Transfer Date:               UNKNOWN            Plate Expiration Date:                  05/31/2014
  License Plate:                                             Plate Renewal Date:                06/05/2013
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Previous Owner:                    BRIDGES, DANA           DOB:
  Title Transfer Date:               06/14/2013              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:


Page 65 of 192                                                                                         Kapitus_000072
                                            KAPITUS EX. 13 - 072
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A        Page 73 of 540
  Plate Type:                                                Previous License Plate State:
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Previous Owner:                    BRIDGES, DWAYNE         DOB:
  Title Transfer Date:               06/14/2013              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Title Transfer Date:               06/14/2013              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     PO BOX 674
  Previous Owner Mailing Address:    MINNEAPOLIS, MN
                                     55440-0674
                                     PO BOX 8100
  Previous Owner Physical Address:   COCKEYSVILLE, MD
                                     21030-8100

  Previous Owner:                    BRIDGES, DWAYNE P. DOB:
  Title Transfer Date:               06/14/2013              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Title Transfer Date:               06/14/2013              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     PO BOX 674
  Previous Owner Mailing Address:    MINNEAPOLIS, MN
                                     55440-0674


                                     BRIDGES, DWAYNE
  Previous Owner:                                            DOB:
                                     PAUL
  Title Transfer Date:               06/14/2013              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Title Transfer Date:               06/14/2013              Plate Expiration Date:


Page 66 of 192                                                                                        Kapitus_000073
                                            KAPITUS EX. 13 - 073
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A        Page 74 of 540
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     PO BOX 8102
  Previous Owner Mailing Address:    COCKEYSVILLE, MD
                                     21030-8102


  2007 TOYOTA TUNDRA
  Registered Owner:                  BRIDGES, DWAYNE         DOB:
                                     PAUL
  Owner Type:                        REGISTRANT              Plate Registration Date:           05/20/2013
  Plate Expiration Date:             05/31/2016              Plate Renewal Date:                07/03/2015
  License Plate:                     BZJ4881                 Decal Number:
  License Plate State:               TX                      Previous Plate:                    BZJ4881
  Plate Type:                        PRIVATE                 Previous Plate State:              TX
                                     628 DESTIN DR
  Mailing Address:                   FORT WORTH, TX
                                     76131

  Year:                              20070000                Make/Model:                        TOYOTA TUNDRA
  Style:                             DOUBLE CAB 4D 4         Series:                            SR5
  VIN:                               5TBRV54167S471143       Type:                              PASSENGER CAR
  Number of Axles:                                           Vehicle Length:
  Vehicle Weight:                     lbs                    Color:                              SILVER/STAINLESS



  Title History

  Title Number:                      22034241412120843       Original Title Date:               05/29/2013
  License Plate:                                             Decal Number:
  License Plate State:                                       Previous Plate:
  Plate Type:                                                Previous Plate State:
  Title Holder Name:                 BRIDGES, DWAYNE         Title Holder Type:                 OWNER
                                     PAUL
  Title Transfer Date:               05/29/2013
                                     628 DESTIN DR
  Title Holder Mailing Address:      FORT WORTH, TX
                                     76131



  Lien Holder History
                                     TRICOLOR AUTO
  Lien Holder:                                               Lien Holder Type:                  LIEN HOLDER
                                     GROUP LLC
                                     545 E JOHN
                                     CARPENTER FWY
  Lien Holder Mailing Address:
                                     STE 1900
                                     IRVING, TX 75062



  Previous Owner History


Page 67 of 192                                                                                          Kapitus_000074
                                            KAPITUS EX. 13 - 074
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A        Page 75 of 540


  Previous Owner:                    BRIDGES, DWAYNE         DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             05/31/2015
  License Plate:                     BZJ4881                 Plate Renewal Date:                06/04/2014
  License Plate State:               TX                      Previous License Plate:            BZJ4881
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

                                     BRIDGES, DWAYNE
  Previous Owner:                                            DOB:
                                     PAUL
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             05/31/2015
  License Plate:                                             Plate Renewal Date:                06/04/2014
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

                                     BRIDGES, DWAYNE
  Previous Owner:                                            DOB:
                                     PAUL
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             04/30/2014
  License Plate:                     BZJ4881                 Plate Renewal Date:                05/20/2013
  License Plate State:               TX                      Previous License Plate:            J83SZU
  Plate Type:                        PRIVATE                 Previous License Plate State:      FL
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Previous Owner:                    BRIDGES, DWAYNE         DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             04/30/2014
  License Plate:                                             Plate Renewal Date:                05/20/2013
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Previous Owner:                    BRIDGES, DWAYNE P. DOB:
  Title Transfer Date:               UNKNOWN            Plate Expiration Date:                  04/30/2014
  License Plate:                                             Plate Renewal Date:                05/20/2013
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Previous Owner:                    BRIDGES, DWAYNE P. DOB:
  Title Transfer Date:               05/29/2013         Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:


Page 68 of 192                                                                                         Kapitus_000075
                                            KAPITUS EX. 13 - 075
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A         Page 76 of 540
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Previous Owner:                    BRIDGES, DWAYNE         DOB:
  Title Transfer Date:               05/29/2013              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255


  2006 CHEVROLET COLORADO
  Registered Owner:                  BRIDGES, DWAYNE         DOB:
                                     PAUL
  Owner Type:                        REGISTRANT              Plate Registration Date:             06/06/2013
  Plate Expiration Date:             03/31/2016              Plate Renewal Date:                  04/29/2015
  License Plate:                     CDC4724                 Decal Number:
  License Plate State:               TX                      Previous Plate:                      CDC4724
  Plate Type:                        PRIVATE                 Previous Plate State:                TX
                                     UNKNOWN
  Mailing Address:


  Year:                             20060000               Make/Model:                          CHEVROLET COLORADO
  Style:                            EXTENDED CAB 2D        Series:                              LS Z85 LT Z85 LT ZQ8
                                                                                                W/T
  VIN:                              1GCCS196368142390 Type:                                     PASSENGER CAR
  Number of Axles:                                         Vehicle Length:
  Vehicle Weight:                    lbs                   Color:                                YELLOW



  Title History

  Title Number:                      22043241834163156       Original Title Date:                 07/25/2014
  License Plate:                                             Decal Number:
  License Plate State:                                       Previous Plate:
  Plate Type:                                                Previous Plate State:
  Title Holder Name:                 BRIDGES, DWAYNE         Title Holder Type:                   OWNER
                                     PAUL
  Title Transfer Date:               07/25/2014
                                     628 DESTIN DR
  Title Holder Mailing Address:      FORT WORTH, TX
                                     76131



  Previous Owner History




Page 69 of 192                                                                                            Kapitus_000076
                                            KAPITUS EX. 13 - 076
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A        Page 77 of 540
  Previous Owner:                    BRIDGES, DWAYNE         DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             05/31/2014
  License Plate:                     CDC4724                 Plate Renewal Date:                07/16/2014
  License Plate State:               TX                      Previous License Plate:            CDC4724
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

                                     BRIDGES, DWAYNE
  Previous Owner:                                            DOB:
                                     PAUL
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             05/31/2014
  License Plate:                                             Plate Renewal Date:                07/16/2014
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Previous Owner:                    BRIDGES, DWAYNE         DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             05/31/2014
  License Plate:                     CDC4724                 Plate Renewal Date:                06/06/2013
  License Plate State:               TX                      Previous License Plate:            BM79760
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Previous Owner:                    BRIDGES, DWAYNE P. DOB:
  Title Transfer Date:               UNKNOWN            Plate Expiration Date:                  05/31/2014
  License Plate:                                             Plate Renewal Date:                06/06/2013
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Previous Owner:                    ROMERO, MARIA           DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             01/31/2014
  License Plate:                     BM79760                 Plate Renewal Date:                02/01/2013
  License Plate State:               TX                      Previous License Plate:            BM79760
  Plate Type:                        PRIVATE           Previous License Plate State:            TX
                                     1832 OAKLAND BLVD
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76103-1528

  Previous Owner:                    ROMERO, MARIA           DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             01/31/2013
  License Plate:                     BM79760                 Plate Renewal Date:                02/09/2012
  License Plate State:               TX                      Previous License Plate:            BG76229


Page 70 of 192                                                                                         Kapitus_000077
                                            KAPITUS EX. 13 - 077
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A        Page 78 of 540
  Plate Type:                        PRIVATE           Previous License Plate State:            TX
                                     1832 OAKLAND BLVD
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76103-1528

  Previous Owner:                    ROMERO, MARIA           DOB:
  Title Transfer Date:               11/06/2012              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     1832 OAKLAND BLVD
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76103-1528

  Title Transfer Date:               11/06/2012              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     201 E ABRAM ST
  Previous Owner Mailing Address:    ARLINGTON, TX
                                     76010-1146

  Previous Owner:                    FILSAIME, STEVE D.      DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             08/31/2012
  License Plate:                     BG76229                 Plate Renewal Date:                09/08/2011
  License Plate State:               TX                      Previous License Plate:            07HZY3
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     2805 MATTHEWS DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76118-6535

  Previous Owner:                    ROMERO, MARIA           DOB:
  Title Transfer Date:               02/17/2012              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     1832 OAKLAND BLVD
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76103-1528

  Previous Owner:                    FILSAIME, STEVE D.      DOB:
  Title Transfer Date:               09/19/2011              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     2805 MATTHEWS DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76118-6535

  Title Transfer Date:               09/19/2011              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:


Page 71 of 192                                                                                           Kapitus_000078
                                            KAPITUS EX. 13 - 078
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A        Page 79 of 540

                                     PO BOX 14461
  Previous Owner Mailing Address:    ARLINGTON, TX
                                     76094-1461

  Previous Owner:                    AARON RENTS INC.        DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             08/31/2011
  License Plate:                     07HZY3                  Plate Renewal Date:                09/01/2010
  License Plate State:               TX                      Previous License Plate:            07HZY3
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     1015 COBB PLACE
                                     BLVD NW
  Previous Owner Mailing Address:
                                     KENNESAW, GA
                                     30144-3672
                                     1618 SPENCER HWY
  Previous Owner Physical Address:   SOUTH HOUSTON,
                                     TX 77587-3744

  Previous Owner:                    AARON RENTS INC.        DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             08/31/2010
  License Plate:                     07HZY3                  Plate Renewal Date:                09/01/2009
  License Plate State:               TX                      Previous License Plate:            07HZY3
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     417 20TH ST N
  Previous Owner Mailing Address:    BIRMINGHAM, AL
                                     35203-3203
                                     1618 SPENCER HWY
  Previous Owner Physical Address:   SOUTH HOUSTON,
                                     TX 77587-3744

  Previous Owner:                    AARON RENTS INC.        DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             08/31/2009
  License Plate:                     07HZY3                  Plate Renewal Date:                09/01/2008
  License Plate State:               TX                      Previous License Plate:            07HZY3
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     1015 COBB PLACE
                                     BLVD NW
  Previous Owner Mailing Address:
                                     KENNESAW, GA
                                     30144-3672
                                     1739 SW LOOP 410
  Previous Owner Physical Address:   SAN ANTONIO, TX
                                     78227-1668

  Previous Owner:                    INC.                    DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             08/31/2009
  License Plate:                                             Plate Renewal Date:                09/01/2008
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     PO BOX 1203
  Previous Owner Mailing Address:    MONTGOMERY, AL
                                     36102-1203


Page 72 of 192                                                                                           Kapitus_000079
                                            KAPITUS EX. 13 - 079
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A        Page 80 of 540

                                     1739 SW LOOP 410
  Previous Owner Physical Address:
                                     SAN ANTONIO, TX
                                     78227-1668


                                     REGIONS BANK
  Previous Owner:                                            DOB:
                                     AARON RENTS INC.
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             08/31/2009
  License Plate:                                             Plate Renewal Date:                09/01/2008
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     PO BOX 1203
  Previous Owner Mailing Address:    MONTGOMERY, AL
                                     36102-1203
                                     1739 SW LOOP 410
  Previous Owner Physical Address:   SAN ANTONIO, TX
                                     78227-1668

  Previous Owner:                    AARON RENTS INC.        DOB:
  Title Transfer Date:               06/01/2009              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     1015 COBB PLACE
                                     BLVD NW
  Previous Owner Mailing Address:
                                     KENNESAW, GA
                                     30144-3672
                                     1739 SW LOOP 410
  Previous Owner Physical Address:   SAN ANTONIO, TX
                                     78227-1668


                                     REGIONS BANK
  Previous Owner:                                            DOB:
                                     AARON RENTS INC.
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             08/31/2008
  License Plate:                     07HZY3                  Plate Renewal Date:                09/26/2007
  License Plate State:               TX                      Previous License Plate:            07HZY3
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     PO BOX 1203
  Previous Owner Mailing Address:    MONTGOMERY, AL
                                     36102-1203
                                     1739 SW LOOP 410
  Previous Owner Physical Address:   SAN ANTONIO, TX
                                     78227-1673

  Previous Owner:                    INC.                    DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             08/31/2008
  License Plate:                                             Plate Renewal Date:                09/26/2007
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     PO BOX 1203
  Previous Owner Mailing Address:    MONTGOMERY, AL
                                     36102-1203


Page 73 of 192                                                                                         Kapitus_000080
                                            KAPITUS EX. 13 - 080
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A        Page 81 of 540

                                     1739 SW LOOP 410
  Previous Owner Physical Address:
                                     SAN ANTONIO, TX
                                     78227-1673

  Previous Owner:                    INC.                    DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             08/31/2007
  License Plate:                     07HZY3                  Plate Renewal Date:                09/01/2006
  License Plate State:               TX                      Previous License Plate:            07HZY3
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     PO BOX 1203
  Previous Owner Mailing Address:    MONTGOMERY, AL
                                     36102-1203
                                     1739 SW LOOP 410
  Previous Owner Physical Address:   SAN ANTONIO, TX
                                     78227-1673


                                     REGIONS BANK
  Previous Owner:                                            DOB:
                                     AARON RENTS INC.
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             08/31/2007
  License Plate:                                             Plate Renewal Date:                09/01/2006
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     PO BOX 1203
  Previous Owner Mailing Address:    MONTGOMERY, AL
                                     36102-1203
                                     800 MAIN ST
  Previous Owner Physical Address:   LIBERTY, TX
                                     77575-3735

  Previous Owner:                    INC.                    DOB:
  Title Transfer Date:               09/17/2005              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     PO BOX 1203
  Previous Owner Mailing Address:    MONTGOMERY, AL
                                     36102-1203
                                     1739 SW LOOP 410
  Previous Owner Physical Address:   SAN ANTONIO, TX
                                     78227-1673


                                     REGIONS BANK
  Previous Owner:                                            DOB:
                                     AARON RENTS INC.
  Title Transfer Date:               09/17/2005              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     PO BOX 1203
  Previous Owner Mailing Address:    MONTGOMERY, AL
                                     36102-1203
                                     800 MAIN ST


Page 74 of 192                                                                                         Kapitus_000081
                                            KAPITUS EX. 13 - 081
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A         Page 82 of 540
  Previous Owner Physical Address:    LIBERTY, TX
                                      77575-3735


                                      REGIONS BANK
  Previous Owner:                                            DOB:
                                      AARON RENTS INC.
  Title Transfer Date:                09/17/2005             Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                      PO BOX 1203
  Previous Owner Mailing Address:     MONTGOMERY, AL
                                      36102-1203
                                      1739 SW LOOP 410
  Previous Owner Physical Address:    SAN ANTONIO, TX
                                      78227-1673


  2007 CHEVROLET SILVERADO 1500
  Registered Owner:           BRIDGES, DWAYNE                DOB:
                              PAUL
  Owner Type:                         REGISTRANT             Plate Registration Date:             04/17/2014
  Plate Expiration Date:              03/31/2016             Plate Renewal Date:                  04/01/2015
  License Plate:                      DHS4532                Decal Number:
  License Plate State:                TX                     Previous Plate:                      DHS4532
  Plate Type:                         PRIVATE                Previous Plate State:                TX
                                      628 DESTIN DR
  Mailing Address:                    FORT WORTH, TX
                                      76131

  Year:                              20070000              Make/Model:                          CHEVROLET SILVERADO
                                                                                                1500
  Style:                             CREW CAB 4D           Series:                              LS LT LTZ W/T
  VIN:                               2GCEC13CX71590618 Type:                                    PASSENGER CAR
  Number of Axles:                                         Vehicle Length:
  Vehicle Weight:                     lbs                  Color:                                RED RED



  Previous Owner History


                                      BRIDGES, DWAYNE
  Previous Owner:                                            DOB:
                                      PAUL
  Title Transfer Date:                UNKNOWN                Plate Expiration Date:               03/31/2015
  License Plate:                      DHS4532                Plate Renewal Date:                  04/17/2014
  License Plate State:                TX                     Previous License Plate:              CFP0670
  Plate Type:                         PRIVATE                Previous License Plate State:        TX
                                      628 DESTIN DR
  Previous Owner Mailing Address:     FORT WORTH, TX
                                      76131-4255

  Previous Owner:                     BRIDGES, DWAYNE P. DOB:
  Title Transfer Date:                UNKNOWN            Plate Expiration Date:                   03/31/2015


Page 75 of 192                                                                                           Kapitus_000082
                                            KAPITUS EX. 13 - 082
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A        Page 83 of 540
  License Plate:                                             Plate Renewal Date:                04/17/2014
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Previous Owner:                    SCHNEIDER, ROBERT DOB:                                           1943
  Title Transfer Date:               UNKNOWN           Plate Expiration Date:                   06/30/2014
  License Plate:                     CFP0670           Plate Renewal Date:                      07/23/2013
  License Plate State:               TX                      Previous License Plate:            X0344867
  Plate Type:                        PRIVATE                 Previous License Plate State:      LA
                                     10201 JACKSBORO
                                     HWY
  Previous Owner Mailing Address:
                                     FORT WORTH, TX
                                     76135-4705

                                     BRIDGES, DWAYNE
  Previous Owner:                                            DOB:
                                     PAUL
  Title Transfer Date:               04/28/2014              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Title Transfer Date:               04/28/2014              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     PO BOX 93192
  Previous Owner Mailing Address:    SOUTHLAKE, TX
                                     76092-1192

  Previous Owner:                    BRIDGES, DWAYNE P. DOB:
  Title Transfer Date:               04/28/2014              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Previous Owner:                    SCHNEIDER, ROBERT DOB:                                          1943
  Title Transfer Date:               08/01/2013              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     10201 JACKSBORO
                                     HWY
  Previous Owner Mailing Address:
                                     FORT WORTH, TX
                                     76135-4705

Page 76 of 192                                                                                         Kapitus_000083
                                            KAPITUS EX. 13 - 083
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A        Page 84 of 540


  Title Transfer Date:               08/01/2013              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     PO BOX 93192
  Previous Owner Mailing Address:    SOUTHLAKE, TX
                                     76092-1192


  1975 CHEVROLET CORVETTE
  Registered Owner:                  BRIDGES, DWAYNE         DOB:
                                     PAUL
  Owner Type:                        REGISTRANT              Plate Registration Date:            09/13/2011
  Plate Expiration Date:             08/31/2013              Plate Renewal Date:                 09/01/2012
  License Plate:                     CY1G278                 Decal Number:
  License Plate State:               TX                      Previous Plate:                     CY1G278
  Plate Type:                        PRIVATE                 Previous Plate State:               TX
                                     628 DESTIN DR
  Mailing Address:                   FORT WORTH, TX
                                     76131

  Registered Owner:                  BRIDGES, DWAYNE         DOB:
  Owner Type:                        REGISTRANT              Plate Registration Date:            09/13/2011
  Plate Expiration Date:             08/31/2013              Plate Renewal Date:                 09/01/2012
  License Plate:                                             Decal Number:
  License Plate State:                                       Previous Plate:
  Plate Type:                                                Previous Plate State:
                                     628 DESTIN DR
  Mailing Address:                   FORT WORTH, TX
                                     76131

  Year:                             19750000                Make/Model:                         CHEVROLET CORVETTE
  Style:                            2T                      Series:                             SPORT
  VIN:                              1Z37J5S426301           Type:                               PASSENGER CAR
  Number of Axles:                                          Vehicle Length:
  Vehicle Weight:                    lbs                    Color:                              RED



  Title History

  Title Number:                      22036740797121744       Original Title Date:                09/21/2011
  License Plate:                                             Decal Number:
  License Plate State:                                       Previous Plate:
  Plate Type:                                                Previous Plate State:
  Title Holder Name:                 BRIDGES, DWAYNE         Title Holder Type:                  OWNER
                                     PAUL
  Title Transfer Date:               09/21/2011
                                     628 DESTIN DR
  Title Holder Mailing Address:      FORT WORTH, TX
                                     76131


Page 77 of 192                                                                                           Kapitus_000084
                                            KAPITUS EX. 13 - 084
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A        Page 85 of 540



  Previous Owner History

  Previous Owner:                    BRIDGES, DWAYNE         DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             08/31/2012
  License Plate:                     CY1G278                 Plate Renewal Date:                09/13/2011
  License Plate State:               TX                      Previous License Plate:            Y52FPF
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Previous Owner:                    BRIDGES, DANA           DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             08/31/2012
  License Plate:                                             Plate Renewal Date:                09/13/2011
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Previous Owner:                    BRIDGES, DANA           DOB:
  Title Transfer Date:               09/21/2011              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Previous Owner:                    BRIDGES, DWAYNE         DOB:
  Title Transfer Date:               09/21/2011              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Previous Owner:                    GARNER, JANICE          DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             06/30/2006
  License Plate:                     Y52FPF                  Plate Renewal Date:                07/20/2005
  License Plate State:               TX                      Previous License Plate:            Y52FPF
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     PO BOX 698
  Previous Owner Mailing Address:    EDGEWOOD, TX
                                     75117-0698
                                     308 S HOUSTON ST
  Previous Owner Physical Address:   EDGEWOOD, TX
                                     75117-3102


Page 78 of 192                                                                                           Kapitus_000085
                                            KAPITUS EX. 13 - 085
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A        Page 86 of 540


  Previous Owner:                    GARNER, WILLIAM D. DOB:
  Title Transfer Date:               UNKNOWN            Plate Expiration Date:                  06/30/2006
  License Plate:                                             Plate Renewal Date:                07/20/2005
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     PO BOX 698
  Previous Owner Mailing Address:    EDGEWOOD, TX
                                     75117-0698
                                     308 S HOUSTON ST
  Previous Owner Physical Address:   EDGEWOOD, TX
                                     75117-3102

  Previous Owner:                    FETTY, HAROLD D.        DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             06/30/2006
  License Plate:                                             Plate Renewal Date:                07/20/2005
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     4141 VALLEY VIEW
                                     DR
  Previous Owner Mailing Address:
                                     LONE OAK, TX
                                     75453-5274

  Previous Owner:                    FETTY, HAROLD D.        DOB:
  Title Transfer Date:               03/30/2006              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     4141 VALLEY VIEW
                                     DR
  Previous Owner Mailing Address:
                                     LONE OAK, TX
                                     75453-5274


  2008 GMC SIERRA 1500
  Registered Owner:                  BRIDGES, DWAYNE         DOB:
                                     PAUL
  Owner Type:                        REGISTRANT              Plate Registration Date:           03/28/2014
  Plate Expiration Date:             02/28/2016              Plate Renewal Date:                03/01/2015
  License Plate:                     CZS3178                 Decal Number:
  License Plate State:               TX                      Previous Plate:                    CZS3178
  Plate Type:                        PRIVATE                 Previous Plate State:              TX
                                     628 DESTIN DR
  Mailing Address:                   FORT WORTH, TX
                                     76131

  Year:                              20080000                Make/Model:                        GMC SIERRA 1500
  Style:                             CREW CAB 4D             Series:                            DENALI
  VIN:                               2GTEK638781290564       Type:                              PASSENGER CAR
  Number of Axles:                                           Vehicle Length:
  Vehicle Weight:                     lbs                    Color:                              WHITE



Page 79 of 192                                                                                           Kapitus_000086
                                            KAPITUS EX. 13 - 086
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A        Page 87 of 540


  Title History

  Title Number:                      22020541724112641       Original Title Date:               04/09/2014
  License Plate:                                             Decal Number:
  License Plate State:                                       Previous Plate:
  Plate Type:                                                Previous Plate State:
  Title Holder Name:                 BRIDGES, DWAYNE         Title Holder Type:                 OWNER
                                     PAUL
  Title Transfer Date:               04/09/2014
                                     628 DESTIN DR
  Title Holder Mailing Address:      FORT WORTH, TX
                                     76131



  Lien Holder History
  Lien Holder:                       AUTO NOTE LLC           Lien Holder Type:                  LIEN HOLDER
                                     PO BOX 93192
  Lien Holder Mailing Address:       SOUTHLAKE, TX
                                     76092



  Previous Owner History

  Previous Owner:                    BRIDGES, DWAYNE P. DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             02/28/2015
  License Plate:                     CZS3178                 Plate Renewal Date:                03/28/2014
  License Plate State:               TX                      Previous License Plate:            52TNM7
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

                                     BRIDGES, DWAYNE
  Previous Owner:                                            DOB:
                                     PAUL
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             02/28/2015
  License Plate:                                             Plate Renewal Date:                03/28/2014
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Previous Owner:                    BRIDGES, DWAYNE P. DOB:
  Title Transfer Date:               04/09/2014              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

Page 80 of 192                                                                                           Kapitus_000087
                                             KAPITUS EX. 13 - 087
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A        Page 88 of 540


  Previous Owner:                    BELL, FOLSOM            DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             03/31/2014
  License Plate:                     52TNM7                  Plate Renewal Date:                04/01/2012
  License Plate State:               TX                      Previous License Plate:            52TNM7
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     5528 NAKOMA DR
  Previous Owner Mailing Address:    DALLAS, TX
                                     75209-5622

  Previous Owner:                    BELL, FOLSOM            DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             03/31/2012
  License Plate:                     52TNM7                  Plate Renewal Date:                05/01/2010
  License Plate State:               TX                      Previous License Plate:            52TNM7
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     5528 NAKOMA DR
  Previous Owner Mailing Address:    DALLAS, TX
                                     75209-5622

  Previous Owner:                    BELL, FOLSOM            DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             04/30/2010
  License Plate:                     52TNM7                  Plate Renewal Date:                05/01/2009
  License Plate State:               TX                      Previous License Plate:            52TNM7
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     5528 NAKOMA DR
  Previous Owner Mailing Address:    DALLAS, TX
                                     75209-5622

  Previous Owner:                    BELL, FOLSOM            DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             04/30/2009
  License Plate:                     52TNM7                  Plate Renewal Date:                05/30/2008
  License Plate State:               TX                      Previous License Plate:
  Plate Type:                        PRIVATE                 Previous License Plate State:
                                     5528 NAKOMA DR
  Previous Owner Mailing Address:    DALLAS, TX
                                     75209-5622

  Previous Owner:                    BELL, FOLSOM            DOB:
  Title Transfer Date:               06/11/2008              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     5528 NAKOMA DR
  Previous Owner Mailing Address:    DALLAS, TX
                                     75209-5622
                                     130 COUNTY ROAD
                                     104
  Previous Owner Physical Address:
                                     ROBY, TX
                                     79543-3312




Page 81 of 192                                                                                           Kapitus_000088
                                            KAPITUS EX. 13 - 088
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A         Page 89 of 540

  2007 CHEVROLET SILVERADO 1500
  Registered Owner:           BRIDGES, DANA                  DOB:
  Owner Type:                 REGISTRANT                     Plate Registration Date:            06/28/2012
  Plate Expiration Date:             05/31/2015              Plate Renewal Date:                 06/01/2014
  License Plate:                     BV82790                 Decal Number:
  License Plate State:               TX                      Previous Plate:                     BV82790
  Plate Type:                        PRIVATE                 Previous Plate State:               TX
                                     628 DESTIN DR
  Mailing Address:                   FORT WORTH, TX
                                     76131

  Registered Owner:                  BRIDGES, DWAYNE         DOB:
                                     PAUL
  Owner Type:                        REGISTRANT              Plate Registration Date:            06/28/2012
  Plate Expiration Date:             05/31/2015              Plate Renewal Date:                 06/01/2014
  License Plate:                                             Decal Number:
  License Plate State:                                       Previous Plate:
  Plate Type:                                                Previous Plate State:
                                     628 DESTIN DR
  Mailing Address:                   FORT WORTH, TX
                                     76131

  Registered Owner:                  BRIDGES, DWAYNE         DOB:
  Owner Type:                        REGISTRANT              Plate Registration Date:            06/28/2012
  Plate Expiration Date:             05/31/2015              Plate Renewal Date:                 06/01/2014
  License Plate:                                             Decal Number:
  License Plate State:                                       Previous Plate:
  Plate Type:                                                Previous Plate State:
                                     628 DESTIN DR
  Mailing Address:                   FORT WORTH, TX
                                     76131

  Year:                             20070000               Make/Model:                          CHEVROLET SILVERADO
                                                                                                1500
  Style:                            CREW CAB 4D            Series:                              LT LTZ W/T
  VIN:                              3GCEC13J17G540356 Type:                                     PASSENGER CAR
  Number of Axles:                                         Vehicle Length:
  Vehicle Weight:                    lbs                   Color:                               WHITE



  Title History

  Title Number:                      22037541086093122       Original Title Date:                07/09/2012
  License Plate:                                             Decal Number:
  License Plate State:                                       Previous Plate:
  Plate Type:                                                Previous Plate State:
  Title Holder Name:                 BRIDGES, DWAYNE         Title Holder Type:                  OWNER
                                     PAUL
  Title Transfer Date:               07/09/2012



Page 82 of 192                                                                                           Kapitus_000089
                                            KAPITUS EX. 13 - 089
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A        Page 90 of 540

                                     628 DESTIN DR
  Title Holder Mailing Address:
                                     FORT WORTH, TX
                                     76131



  Previous Owner History

  Previous Owner:                    BRIDGES, DANA           DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             05/31/2014
  License Plate:                     BV82790                 Plate Renewal Date:                06/01/2013
  License Plate State:               TX                      Previous License Plate:            BV82790
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Previous Owner:                    BRIDGES, DWAYNE P. DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             05/31/2014
  License Plate:                                             Plate Renewal Date:                06/01/2013
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Previous Owner:                    BRIDGES, DWAYNE P. DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             05/31/2013
  License Plate:                     BV82790                 Plate Renewal Date:                06/28/2012
  License Plate State:               TX                      Previous License Plate:            AM50906
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Previous Owner:                    BRIDGES, DWAYNE         DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             05/31/2013
  License Plate:                                             Plate Renewal Date:                06/28/2012
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Previous Owner:                    BRIDGES, DANA           DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             05/31/2013
  License Plate:                                             Plate Renewal Date:                06/28/2012
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255


Page 83 of 192                                                                                         Kapitus_000090
                                            KAPITUS EX. 13 - 090
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A        Page 91 of 540


  Previous Owner:                    BRIDGES, DWAYNE         DOB:
  Title Transfer Date:               07/09/2012              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Previous Owner:                    BRIDGES, DWAYNE P. DOB:
  Title Transfer Date:               07/09/2012              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Previous Owner:                    BRIDGES, DANA           DOB:
  Title Transfer Date:               07/09/2012              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Title Transfer Date:               07/09/2012              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     PO BOX 189007
  Previous Owner Mailing Address:    FORT LAUDERDALE,
                                     FL 33318-9007

  Previous Owner:                    MUNIZ, ESTELLA C.       DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             06/30/2012
  License Plate:                     AM50906                 Plate Renewal Date:                07/11/2011
  License Plate State:               TX                      Previous License Plate:            AM50906
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     3913 SELES
  Previous Owner Mailing Address:    WESLACO, TX
                                     78596-0974

  Previous Owner:                    MUNIZ, HECTOR           DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             06/30/2012
  License Plate:                                             Plate Renewal Date:                07/11/2011
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     3913 SELES
  Previous Owner Mailing Address:    WESLACO, TX
                                     78596-0974

Page 84 of 192                                                                                         Kapitus_000091
                                            KAPITUS EX. 13 - 091
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A        Page 92 of 540


  Previous Owner:                    MUNIZ, ESTELLA C.       DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             05/31/2011
  License Plate:                     AM50906                 Plate Renewal Date:                06/15/2010
  License Plate State:               TX                      Previous License Plate:            40VZP5
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     3913 SELES
  Previous Owner Mailing Address:    WESLACO, TX
                                     78596-0974

  Previous Owner:                    MUNIZ, HECTOR           DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             05/31/2011
  License Plate:                                             Plate Renewal Date:                06/15/2010
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     3913 SELES
  Previous Owner Mailing Address:    WESLACO, TX
                                     78596-0974

  Previous Owner:                    VILLA, MANUEL A.        DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             05/31/2011
  License Plate:                     40VZP5                  Plate Renewal Date:                06/01/2010
  License Plate State:               TX                      Previous License Plate:            40VZP5
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     2812 ASHLEY DR
  Previous Owner Mailing Address:    PHARR, TX
                                     78577-6909

  Previous Owner:                    MUNIZ, ESTELLA C.       DOB:
  Title Transfer Date:               06/23/2010              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     3913 SELES
  Previous Owner Mailing Address:    WESLACO, TX
                                     78596-0974

  Previous Owner:                    MUNIZ, HECTOR           DOB:
  Title Transfer Date:               06/23/2010              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     3913 SELES
  Previous Owner Mailing Address:    WESLACO, TX
                                     78596-0974

  Title Transfer Date:               06/23/2010              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     PO BOX 25120
  Previous Owner Mailing Address:    LEHIGH VALLEY, PA


Page 85 of 192                                                                                           Kapitus_000092
                                            KAPITUS EX. 13 - 092
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A        Page 93 of 540

                                     18002-5120

  Previous Owner:                    MUNIZ, ESTELLA          DOB:
  Title Transfer Date:               06/23/2010              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     3913 SELES
  Previous Owner Mailing Address:    WESLACO, TX
                                     78596-0974

  Title Transfer Date:               06/23/2010              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     PO BOX 25120
  Previous Owner Mailing Address:    LEHIGH VALLEY, PA
                                     18002-5120

  Previous Owner:                    VILLA, MANUEL A.        DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             05/31/2010
  License Plate:                     40VZP5                  Plate Renewal Date:                06/01/2009
  License Plate State:               TX                      Previous License Plate:            40VZP5
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     2812 ASHLEY DR
  Previous Owner Mailing Address:    PHARR, TX
                                     78577-6909

  Previous Owner:                    VILLA, MANUEL A.        DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             05/31/2009
  License Plate:                     40VZP5                  Plate Renewal Date:                06/01/2008
  License Plate State:               TX                      Previous License Plate:            40VZP5
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     2812 ASHLEY DR
  Previous Owner Mailing Address:    PHARR, TX
                                     78577-6909

  Title Transfer Date:               06/20/2007              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     PO BOX 8104
  Previous Owner Mailing Address:    COCKEYSVILLE, MD
                                     21030-8104

  Previous Owner:                    VILLA, MANUEL A.        DOB:
  Title Transfer Date:               06/20/2007              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     2812 ASHLEY DR
  Previous Owner Mailing Address:    PHARR, TX


Page 86 of 192                                                                                           Kapitus_000093
                                            KAPITUS EX. 13 - 093
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A          Page 94 of 540

                                     78577-6909

  Title Transfer Date:               06/20/2007              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     PO BOX 3100
  Previous Owner Mailing Address:    MIDLAND, TX
                                     79702-3100


  2004 CHEVROLET AVALANCHE
  Registered Owner:                  BRIDGES, DWAYNE P.      DOB:
  Owner Type:                        REGISTRANT              Plate Registration Date:             12/07/2007
  Plate Expiration Date:             03/31/2014              Plate Renewal Date:                  04/01/2013
  License Plate:                     42PYT5                  Decal Number:
  License Plate State:               TX                      Previous Plate:                      42PYT5
  Plate Type:                        PRIVATE                 Previous Plate State:                TX
                                     628 DESTIN DR
  Mailing Address:                   FORT WORTH, TX
                                     76131

  Registered Owner:                  BRIDGES, DWAYNE         DOB:
  Owner Type:                        REGISTRANT              Plate Registration Date:             12/07/2007
  Plate Expiration Date:             03/31/2014              Plate Renewal Date:                  04/01/2013
  License Plate:                                             Decal Number:
  License Plate State:                                       Previous Plate:
  Plate Type:                                                Previous Plate State:
                                     628 DESTIN DR
  Mailing Address:                   FORT WORTH, TX
                                     76131

  Year:                             20040000               Make/Model:                          CHEVROLET AVALANCHE
  Style:                            SUV 4D 6P              Series:                              1500
  VIN:                              3GNEK12TX4G139798 Type:                                     PASSENGER CAR
  Number of Axles:                                         Vehicle Length:
  Vehicle Weight:                    lbs                   Color:                               GRAY



  Previous Owner History

  Previous Owner:                    BRIDGES, DWAYNE         DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:               03/31/2013
  License Plate:                     42PYT5                  Plate Renewal Date:                  04/01/2012
  License Plate State:               TX                      Previous License Plate:              42PYT5
  Plate Type:                        PRIVATE                 Previous License Plate State:        TX
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Previous Owner:                    BRIDGES, DANA           DOB:


Page 87 of 192                                                                                             Kapitus_000094
                                            KAPITUS EX. 13 - 094
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A        Page 95 of 540
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             03/31/2013
  License Plate:                                             Plate Renewal Date:                04/01/2012
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Previous Owner:                    BRIDGES, DWAYNE         DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             03/31/2012
  License Plate:                     42PYT5                  Plate Renewal Date:                07/25/2011
  License Plate State:               TX                      Previous License Plate:            42PYT5
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Previous Owner:                    HARDIN, WILLIAM         DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             03/31/2012
  License Plate:                                             Plate Renewal Date:                04/06/2011
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     1800 FULLER WISER
                                     RD
  Previous Owner Mailing Address:
                                     EULESS, TX
                                     76039-4610

  Previous Owner:                    BRIDGES, DWAYNE         DOB:
  Title Transfer Date:               08/02/2011              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Previous Owner:                    BRIDGES, DANA           DOB:
  Title Transfer Date:               08/02/2011              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Previous Owner:                    HARDIN, WILLIAM         DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             03/31/2011
  License Plate:                     42PYT5                  Plate Renewal Date:                04/01/2010
  License Plate State:               TX                      Previous License Plate:            42PYT5
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     957 TURTLE CV
  Previous Owner Mailing Address:    IRVING, TX

Page 88 of 192                                                                                         Kapitus_000095
                                            KAPITUS EX. 13 - 095
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A        Page 96 of 540

                                     75060-6783

  Previous Owner:                    HARDIN, WILLIAM         DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             03/31/2010
  License Plate:                     42PYT5                  Plate Renewal Date:                04/28/2009
  License Plate State:               TX                      Previous License Plate:            42PYT5
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     957 TURTLE CV
  Previous Owner Mailing Address:    IRVING, TX
                                     75060-6783

  Previous Owner:                    HARDIN, WILLIAM         DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             02/28/2009
  License Plate:                     42PYT5                  Plate Renewal Date:                12/07/2007
  License Plate State:               TX                      Previous License Plate:            HAYQS
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     957 TURTLE CV
  Previous Owner Mailing Address:    IRVING, TX
                                     75060-6783

  Previous Owner:                    HARDIN, WILLIAM         DOB:
  Title Transfer Date:               12/18/2007              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     957 TURTLE CV
  Previous Owner Mailing Address:    IRVING, TX
                                     75060-6783

  Title Transfer Date:               12/18/2007              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     1408 E PIONEER DR
  Previous Owner Mailing Address:
                                     IRVING, TX 75061

  Previous Owner:                    HARDIN, WILLIAM         DOB:
  Title Transfer Date:               12/18/2007              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     1800 FULLER WISER
                                     RD
  Previous Owner Mailing Address:
                                     EULESS, TX
                                     76039-4610

  Title Transfer Date:               12/18/2007              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     1408 W PIONEER DR
  Previous Owner Mailing Address:    IRVING, TX


Page 89 of 192                                                                                           Kapitus_000096
                                            KAPITUS EX. 13 - 096
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A        Page 97 of 540

                                     75061-7114

                                     AKINS, CHRISTOPHER
  Previous Owner:                                            DOB:
                                     D.
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             01/31/2007
  License Plate:                     9VJP29                  Plate Renewal Date:                02/01/2006
  License Plate State:               TX                      Previous License Plate:            9VJP29
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     3305 COLBI HILL DR
  Previous Owner Mailing Address:    ARLINGTON, TX
                                     76014-2933

                                     AKINS, CHRISTOPHER
  Previous Owner:                                            DOB:
                                     D.
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             01/31/2006
  License Plate:                     9VJP29                  Plate Renewal Date:                02/01/2005
  License Plate State:               TX                      Previous License Plate:            9VJP29
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     3305 COLBI HILL DR
  Previous Owner Mailing Address:    ARLINGTON, TX
                                     76014-2933

                                     AKINS, CHRISTOPHER
  Previous Owner:                                       DOB:
                                     D.
  Title Transfer Date:               03/16/2004              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     3305 COLBI HILL DR
  Previous Owner Mailing Address:    ARLINGTON, TX
                                     76014-2933



  Year:                              00000000                Make/Model:
  Style:                                                     Series:
  VIN:                               JSAAJ51A162108351       Type:                              UNKNOWN
  Number of Axles:                                           Vehicle Length:
  Vehicle Weight:                     lbs                    Color:




  Title History

  Title Number:                                              Original Title Date:               03/13/2008
  License Plate:                                             Decal Number:
  License Plate State:                                       Previous Plate:
  Plate Type:                                                Previous Plate State:
  Title Holder Name:                 EXPERT AUTO SALES Title Holder Type:                       OWNER
  Title Transfer Date:               03/13/2008
                                     1402 FLORIDA AVE
                                     SW


Page 90 of 192                                                                                          Kapitus_000097
                                            KAPITUS EX. 13 - 097
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A        Page 98 of 540
  Title Holder Mailing Address:      DENHAM SPRINGS,
                                     LA 70726



  Title Number:                                              Original Title Date:
  License Plate:                                             Decal Number:
  License Plate State:                                       Previous Plate:
  Plate Type:                                                Previous Plate State:
  Title Holder Name:                 BRIDGES, DWAYNE P. Title Holder Type:                      OWNER
  Title Transfer Date:               03/13/2008
                                     17650 MELANCON
                                     RD
  Title Holder Mailing Address:
                                     LIVINGSTON, LA
                                     70754



  Previous Owner History

  Previous Owner:                    BRIDGES, DWAYNE P. DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             11/20/2010
  License Plate:                     OR348903                Plate Renewal Date:                12/19/2006
  License Plate State:               LA                      Previous License Plate:
  Plate Type:                        OTHER                   Previous License Plate State:
                                     17650 MELANCON
                                     RD
  Previous Owner Mailing Address:
                                     LIVINGSTON, LA
                                     70754-3001

  Previous Owner:                    BIDGES, DWAYNE P.       DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             11/20/2010
  License Plate:                                             Plate Renewal Date:                12/19/2006
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     17650 MELANCON
                                     RD
  Previous Owner Mailing Address:
                                     LIVINGSTON, LA
                                     70754-3001

  Previous Owner:                    BIDGES, DWAYNE P.       DOB:
  Title Transfer Date:               12/19/2006              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     17650 MELANCON
                                     RD
  Previous Owner Mailing Address:
                                     LIVINGSTON, LA
                                     70754-3001




Page 91 of 192                                                                                          Kapitus_000098
                                             KAPITUS EX. 13 - 098
      Case
Individual   20-04009-elm
           Report Plus AssociatesDoc  68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                               03:08 PM 09/21/21
                                                                        | Reference: 23:36:41
                                                                                     N/A         Page 99 of 540

  2002 CHEVROLET TRAILBLAZER
  Year:                    20020000          Make/Model:                                     CHEVROLET TRAILBLAZER
  Style:                   SUV 4D 5P         Series:                                         LS LT LTZ
  VIN:                     1GNDS13S722164665 Type:                                           PASSENGER CAR
  Number of Axles:                                        Vehicle Length:
  Vehicle Weight:                   lbs                   Color:                                RED



  Title History

  Title Number:                                              Original Title Date:                 12/28/2009
  License Plate:                                             Decal Number:
  License Plate State:                                       Previous Plate:
  Plate Type:                                                Previous Plate State:
  Title Holder Name:                 BRIDGES, DWAYNE         Title Holder Type:                   OWNER
  Title Transfer Date:               12/28/2009
                                     17210 OLIVE DR
  Title Holder Mailing Address:      LIVINGSTON, LA
                                     70754



  Title Number:                                              Original Title Date:
  License Plate:                                             Decal Number:
  License Plate State:                                       Previous Plate:
  Plate Type:                                                Previous Plate State:
  Title Holder Name:                 EXPERT AUTO SALES Title Holder Type:                         OWNER
  Title Transfer Date:               12/28/2009
                                     1402 FLORIDA AVE
                                     SW
  Title Holder Mailing Address:
                                     DENHAM SPRINGS,
                                     LA 70726



  Previous Owner History

  Previous Owner:                    BRIDGES, DWAYNE         DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:               11/20/2009
  License Plate:                     RBU135                  Plate Renewal Date:                  12/07/2007
  License Plate State:               LA                      Previous License Plate:              PHB851
  Plate Type:                        PRIVATE                 Previous License Plate State:        LA
                                     17210 OLIVE DR
  Previous Owner Mailing Address:    LIVINGSTON, LA
                                     70754-2155

  Previous Owner:                    HATFIELD, MICHAEL L. DOB:
  Title Transfer Date:               UNKNOWN              Plate Expiration Date:                  04/20/2008
  License Plate:                     ORZ531                  Plate Renewal Date:                  05/08/2006
  License Plate State:               LA                      Previous License Plate:
  Plate Type:                                                Previous License Plate State:



Page 92 of 192                                                                                            Kapitus_000099
                                            KAPITUS EX. 13 - 099
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 100 of 540

                                     36453 HIDDEN OAKS
  Previous Owner Mailing Address:    CT
                                     PRAIRIEVILLE, LA
                                     70769-3449

  Previous Owner:                    BRIDGES, DWAYNE         DOB:
  Title Transfer Date:               12/07/2007              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     17210 OLIVE DR
  Previous Owner Mailing Address:    LIVINGSTON, LA
                                     70754-2155

  Previous Owner:                    WELCH, JOHNNY R.        DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:              10/20/2007
  License Plate:                     KBC818                  Plate Renewal Date:                 10/12/2005
  License Plate State:               LA                      Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     5566 NEWELL ST
  Previous Owner Mailing Address:    ZACHARY, LA
                                     70791-2617


  1974 CHEVROLET CORVETTE
  Registered Owner:                  SCHWABEN, COLLEEN DOB:
                                     K.
  Owner Type:                        REGISTRANT              Plate Registration Date:            09/11/2014
  Plate Expiration Date:             03/31/2018              Plate Renewal Date:                 09/11/2014
  License Plate:                     JHVW1                   Decal Number:
  License Plate State:               TX                      Previous Plate:                     JDSD7
  Plate Type:                        ANTIQUE                 Previous Plate State:               TX
                                     30115 RAVEN LN
  Mailing Address:                   BULVERDE, TX
                                     78163

  Registered Owner:                  SCHWABEN, HEINZ R. DOB:
  Owner Type:                        REGISTRANT              Plate Registration Date:            09/11/2014
  Plate Expiration Date:             03/31/2018              Plate Renewal Date:                 09/11/2014
  License Plate:                                             Decal Number:
  License Plate State:                                       Previous Plate:
  Plate Type:                                                Previous Plate State:
                                     30115 RAVEN LN
  Mailing Address:                   BULVERDE, TX
                                     78163

  Year:                             19740000                Make/Model:                         CHEVROLET CORVETTE
  Style:                            CV                      Series:                             BASE
  VIN:                              1Z67J4S413775           Type:                               PASSENGER CAR
  Number of Axles:                                          Vehicle Length:
  Vehicle Weight:                     lbs                   Color:                              RED


Page 93 of 192                                                                                           Kapitus_000100
                                            KAPITUS EX. 13 - 100
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 101 of 540



  Title History

  Title Number:                      04600241891152832       Original Title Date:               09/18/2014
  License Plate:                                             Decal Number:
  License Plate State:                                       Previous Plate:
  Plate Type:                                                Previous Plate State:
  Title Holder Name:                 SCHWABEN, COLLEEN Title Holder Type:                       OWNER
                                     K.
  Title Transfer Date:               09/18/2014
                                     30115 RAVEN LN
  Title Holder Mailing Address:      BULVERDE, TX
                                     78163



  Title Number:                                              Original Title Date:
  License Plate:                                             Decal Number:
  License Plate State:                                       Previous Plate:
  Plate Type:                                                Previous Plate State:
  Title Holder Name:                 SCHWABEN, HEINZ R. Title Holder Type:                      OWNER
  Title Transfer Date:               09/18/2014
                                     30115 RAVEN LN
  Title Holder Mailing Address:      BULVERDE, TX
                                     78163



  Previous Owner History

  Previous Owner:                    BRIDGES, DWAYNE         DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             03/31/2018
  License Plate:                     JDSD7                   Plate Renewal Date:                06/05/2013
  License Plate State:               TX                      Previous License Plate:            HBHK8
  Plate Type:                        ANTIQUE                 Previous License Plate State:      TX
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Previous Owner:                    BRIDGES, DWAYNE         DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             03/31/2013
  License Plate:                     HBHK8                   Plate Renewal Date:                09/18/2012
  License Plate State:               TX                      Previous License Plate:            037237
  Plate Type:                        ANTIQUE                 Previous License Plate State:      MI
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Previous Owner:                    BRIDGES, DWAYNE         DOB:
  Title Transfer Date:               09/26/2012              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:


Page 94 of 192                                                                                          Kapitus_000101
                                             KAPITUS EX. 13 - 101
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 102 of 540
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255


  2009 CHEVROLET CORVETTE
  Registered Owner:                  BRIDGES, DWAYNE         DOB:
                                     PAUL
  Owner Type:                        REGISTRANT              Plate Registration Date:            12/11/2013
  Plate Expiration Date:             11/30/2014              Plate Renewal Date:                 12/11/2013
  License Plate:                     CWD6869                 Decal Number:
  License Plate State:               TX                      Previous Plate:                     6JCH830
  Plate Type:                        PRIVATE                 Previous Plate State:               CA
                                     628 DESTIN DR
  Mailing Address:                   FORT WORTH, TX
                                     76131

  Registered Owner:                  BRIDGES, DWAYNE         DOB:
  Owner Type:                        REGISTRANT              Plate Registration Date:            12/11/2013
  Plate Expiration Date:             11/30/2014              Plate Renewal Date:                 12/11/2013
  License Plate:                                             Decal Number:
  License Plate State:                                       Previous Plate:
  Plate Type:                                                Previous Plate State:
                                     628 DESTIN DR
  Mailing Address:                   FORT WORTH, TX
                                     76131

  Year:                             20090000                Make/Model:                         CHEVROLET CORVETTE
  Style:                            CONVERTIBLE 2D          Series:                             BASE
  VIN:                              1G1YY36W995200263 Type:                                     PASSENGER CAR
  Number of Axles:                                          Vehicle Length:
  Vehicle Weight:                     lbs                   Color:                              YELLOW



  Title History

  Title Number:                      22043041617134457       Original Title Date:                12/20/2013
  License Plate:                                             Decal Number:
  License Plate State:                                       Previous Plate:
  Plate Type:                                                Previous Plate State:
  Title Holder Name:                 BRIDGES, DWAYNE         Title Holder Type:                  OWNER
                                     PAUL
  Title Transfer Date:               12/20/2013
                                     628 DESTIN DR
  Title Holder Mailing Address:      FORT WORTH, TX
                                     76131



  Title Number:                                              Original Title Date:


Page 95 of 192                                                                                           Kapitus_000102
                                            KAPITUS EX. 13 - 102
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 103 of 540
  License Plate:                                             Decal Number:
  License Plate State:                                       Previous Plate:
  Plate Type:                                                Previous Plate State:
  Title Holder Name:                 BRIDGES, DWAYNE         Title Holder Type:                 OWNER
  Title Transfer Date:               12/20/2013
                                     628 DESTIN DR
  Title Holder Mailing Address:      FORT WORTH, TX
                                     76131



  Lien Holder History
                                     JPMORGAN CHASE
  Lien Holder:                                               Lien Holder Type:                  LIEN HOLDER
                                     BANK N. A
                                     PO BOX 901098
  Lien Holder Mailing Address:       FORT WORTH, TX
                                     76101
                                     PO BOX 901098
  Lien Holder Physical Address:      FORT WORTH, TX
                                     76101



  1998 TOYOTA T100
  Registered Owner:                  BRIDGES, DANA           DOB:
  Owner Type:                        REGISTRANT              Plate Registration Date:           05/17/2011
  Plate Expiration Date:             04/30/2012              Plate Renewal Date:                05/17/2011
  License Plate:                     BA17356                 Decal Number:
  License Plate State:               TX                      Previous Plate:                    88TKB9
  Plate Type:                        PRIVATE                 Previous Plate State:              TX
                                     628 DESTIN DR
  Mailing Address:                   FORT WORTH, TX
                                     76131

  Registered Owner:                  BRIDGES, DWAYNE         DOB:
  Owner Type:                        REGISTRANT              Plate Registration Date:           05/17/2011
  Plate Expiration Date:             04/30/2012              Plate Renewal Date:                05/17/2011
  License Plate:                                             Decal Number:
  License Plate State:                                       Previous Plate:
  Plate Type:                                                Previous Plate State:
                                     628 DESTIN DR
  Mailing Address:                   FORT WORTH, TX
                                     76131

  Registered Owner:                  PROGRESSIVE             DOB:
                                     CASUALTY INS
  Owner Type:                        REGISTRANT              Plate Registration Date:           05/17/2011
  Plate Expiration Date:             04/30/2012              Plate Renewal Date:                05/17/2011
  License Plate:                                             Decal Number:
  License Plate State:                                       Previous Plate:
  Plate Type:                                                Previous Plate State:



Page 96 of 192                                                                                           Kapitus_000103
                                             KAPITUS EX. 13 - 103
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 104 of 540

  Mailing Address:                   204 MARS RD
                                     WILMER, TX 75172

  Year:                              19980000                Make/Model:                        TOYOTA T100
  Style:                             XTRA CAB 2D             Series:                            BASE
  VIN:                               JT4TN12D1W0040004 Type:                                    PASSENGER CAR
  Number of Axles:                                           Vehicle Length:
  Vehicle Weight:                     lbs                    Color:




  Title History

  Title Number:                      22037540678140315       Original Title Date:               05/25/2011
  License Plate:                                             Decal Number:
  License Plate State:                                       Previous Plate:
  Plate Type:                                                Previous Plate State:
  Title Holder Name:                 BRIDGES, DWAYNE         Title Holder Type:                 OWNER
  Title Transfer Date:               05/25/2011
                                     628 DESTIN DR
  Title Holder Mailing Address:      FORT WORTH, TX
                                     76131



  Lien Holder History
  Lien Holder:                       CHOICE CARS             Lien Holder Type:                  LIEN HOLDER
                                     6055 N MAIN ST
  Lien Holder Mailing Address:       FORT WORTH, TX
                                     76179



  Previous Owner History

                                     PROGRESSIVE
  Previous Owner:                                            DOB:
                                     CASUALTY INS
  Title Transfer Date:               07/18/2012              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     204 MARS RD
  Previous Owner Mailing Address:    WILMER, TX
                                     75172-3324

  Previous Owner:                    KOUNTZ, SHAUN           DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             11/30/2010
  License Plate:                     88TKB9                  Plate Renewal Date:                12/01/2009
  License Plate State:               TX                      Previous License Plate:            88TKB9
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     6300 EAGLES REST
                                     DR
  Previous Owner Mailing Address:


Page 97 of 192                                                                                          Kapitus_000104
                                            KAPITUS EX. 13 - 104
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 105 of 540

                                     FORT WORTH, TX
                                     76179-4598

  Previous Owner:                    KOUNTZ, SHAUN           DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             11/30/2009
  License Plate:                     88TKB9                  Plate Renewal Date:                05/13/2009
  License Plate State:               TX                      Previous License Plate:            75TDJ1
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     6300 EAGLES REST
                                     DR
  Previous Owner Mailing Address:
                                     FORT WORTH, TX
                                     76179-4598

  Previous Owner:                    BROWN, SUZANNE          DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             11/30/2009
  License Plate:                     75TDJ1                  Plate Renewal Date:                12/01/2008
  License Plate State:               TX                      Previous License Plate:            75TDJ1
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     8508 WHISPERING
                                     CREEK TRL
  Previous Owner Mailing Address:
                                     FORT WORTH, TX
                                     76134-4978

  Previous Owner:                    BROWN, MARTIN           DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             11/30/2009
  License Plate:                                             Plate Renewal Date:                12/01/2008
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     8508 WHISPERING
                                     CREEK TRL
  Previous Owner Mailing Address:
                                     FORT WORTH, TX
                                     76134-4978

  Previous Owner:                    BROWN, SUZANNE K. DOB:
  Title Transfer Date:               UNKNOWN           Plate Expiration Date:                   11/30/2009
  License Plate:                                             Plate Renewal Date:                12/01/2008
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     8508 WHISPERING
                                     CREEK TRL
  Previous Owner Mailing Address:
                                     FORT WORTH, TX
                                     76134-4978

  Title Transfer Date:               05/21/2009              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     PO BOX 660986
  Previous Owner Mailing Address:    SACRAMENTO, CA
                                     95866-0986



Page 98 of 192                                                                                         Kapitus_000105
                                            KAPITUS EX. 13 - 105
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 106 of 540
  Previous Owner:                    KOUNTZ, SHAUN           DOB:
  Title Transfer Date:               05/21/2009              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     6300 EAGLES REST
                                     DR
  Previous Owner Mailing Address:
                                     FORT WORTH, TX
                                     76179-4598

  Previous Owner:                    BROWN, MARTIN           DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             11/30/2007
  License Plate:                     75TDJ1                  Plate Renewal Date:                12/01/2006
  License Plate State:               TX                      Previous License Plate:            75TDJ1
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     8508 WHISPERING
                                     CREEK TRL
  Previous Owner Mailing Address:
                                     FORT WORTH, TX
                                     76134-4978

  Previous Owner:                    BROWN, SUZANNE          DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             11/30/2007
  License Plate:                                             Plate Renewal Date:                12/01/2006
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     8508 WHISPERING
                                     CREEK TRL
  Previous Owner Mailing Address:
                                     FORT WORTH, TX
                                     76134-4978

  Previous Owner:                    BROWN, MARTIN           DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             11/30/2006
  License Plate:                     75TDJ1                  Plate Renewal Date:                12/01/2005
  License Plate State:               TX                      Previous License Plate:            1CDB86
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     8508 WHISPERING
                                     CREEK TRL
  Previous Owner Mailing Address:
                                     FORT WORTH, TX
                                     76134-4978

  Previous Owner:                    BROWN, SUZANNE          DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             11/30/2006
  License Plate:                                             Plate Renewal Date:                12/01/2005
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     8508 WHISPERING
                                     CREEK TRL
  Previous Owner Mailing Address:
                                     FORT WORTH, TX
                                     76134-4978

  Previous Owner:                    BROWN, MARTIN           DOB:


Page 99 of 192                                                                                           Kapitus_000106
                                            KAPITUS EX. 13 - 106
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 107 of 540
  Title Transfer Date:               04/30/1998              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     8508 WHISPERING
                                     CREEK TRL
  Previous Owner Mailing Address:
                                     FORT WORTH, TX
                                     76134-4978

  Previous Owner:                    BROWN, SUZANNE K. DOB:
  Title Transfer Date:               04/30/1998        Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     8508 WHISPERING
                                     CREEK TRL
  Previous Owner Mailing Address:
                                     FORT WORTH, TX
                                     76134-4978

  Previous Owner:                    BROWN, SUZANNE          DOB:
  Title Transfer Date:               04/30/1998              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     8508 WHISPERING
                                     CREEK TRL
  Previous Owner Mailing Address:
                                     FORT WORTH, TX
                                     76134-4978

  Title Transfer Date:               04/30/1998              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     PO BOX 2227
  Previous Owner Mailing Address:    GRAPEVINE, TX
                                     76099-2227

  Title Transfer Date:               04/30/1998              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     PO BOX 2227
  Previous Owner Mailing Address:    GRAPEVINE, TX
                                     76099-2227

  Title Transfer Date:               04/30/1998              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     PO BOX 2227
  Previous Owner Mailing Address:    GRAPEVINE, TX
                                     76099-2227




Page 100 of 192                                                                                        Kapitus_000107
                                            KAPITUS EX. 13 - 107
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 108 of 540

  2010 NISSAN TITAN
  Registered Owner:                  BRIDGES, DWAYNE P. DOB:
  Owner Type:                        REGISTRANT         Plate Registration Date:                07/16/2010
  Plate Expiration Date:             06/30/2014              Plate Renewal Date:                07/01/2013
  License Plate:                     AM72578                 Decal Number:
  License Plate State:               TX                      Previous Plate:                    AM72578
  Plate Type:                        PRIVATE                 Previous Plate State:              TX
                                     628 DESTIN DR
  Mailing Address:                   FORT WORTH, TX
                                     76131

  Registered Owner:                  INSURANCE CO. OF        DOB:
                                     TEXAS
  Owner Type:                        REGISTRANT              Plate Registration Date:           07/16/2010
  Plate Expiration Date:             06/30/2014              Plate Renewal Date:                07/01/2013
  License Plate:                                             Decal Number:
  License Plate State:                                       Previous Plate:
  Plate Type:                                                Previous Plate State:
                                     4226 E MAIN ST
  Mailing Address:                   GRAND PRAIRIE, TX
                                     75050

  Registered Owner:                  STATE FARM COUNTY DOB:
                                     MUTUAL
  Owner Type:                        REGISTRANT              Plate Registration Date:           07/16/2010
  Plate Expiration Date:             06/30/2014              Plate Renewal Date:                07/01/2013
  License Plate:                                             Decal Number:
  License Plate State:                                       Previous Plate:
  Plate Type:                                                Previous Plate State:
                                     4226 E MAIN ST
  Mailing Address:                   GRAND PRAIRIE, TX
                                     75050

  Registered Owner:                  BRIDGES, DWAYNE         DOB:
  Owner Type:                        REGISTRANT              Plate Registration Date:           07/16/2010
  Plate Expiration Date:             06/30/2014              Plate Renewal Date:                07/01/2013
  License Plate:                                             Decal Number:
  License Plate State:                                       Previous Plate:
  Plate Type:                                                Previous Plate State:
                                     628 DESTIN DR
  Mailing Address:                   FORT WORTH, TX
                                     76131

  Year:                              20100000          Make/Model:                              NISSAN TITAN
  Style:                             CREW CAB 4D       Series:                                  LE SE XE
  VIN:                               1N6BA0EK5AN307505 Type:                                    PASSENGER CAR
  Number of Axles:                                           Vehicle Length:
  Vehicle Weight:                     lbs                    Color:                              RED




Page 101 of 192                                                                                        Kapitus_000108
                                            KAPITUS EX. 13 - 108
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 109 of 540


  Title History

  Title Number:                      29727041637091841       Original Title Date:               12/31/2013
  License Plate:                                             Decal Number:
  License Plate State:                                       Previous Plate:
  Plate Type:                                                Previous Plate State:
  Title Holder Name:                 INSURANCE CO. OF        Title Holder Type:                 OWNER
                                     TEXAS
  Title Transfer Date:               12/31/2013
                                     4226 E MAIN ST
  Title Holder Mailing Address:      GRAND PRAIRIE, TX
                                     75050



  Title Number:                                              Original Title Date:
  License Plate:                                             Decal Number:
  License Plate State:                                       Previous Plate:
  Plate Type:                                                Previous Plate State:
  Title Holder Name:                 STATE FARM COUNTY Title Holder Type:                       OWNER
                                     MUTUAL
  Title Transfer Date:               12/31/2013
                                     4226 E MAIN ST
  Title Holder Mailing Address:      GRAND PRAIRIE, TX
                                     75050



  Previous Owner History

  Previous Owner:                    BRIDGES, DWAYNE         DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             06/30/2013
  License Plate:                     AM72578                 Plate Renewal Date:                07/27/2012
  License Plate State:               TX                      Previous License Plate:            AM72578
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Previous Owner:                    BRIDGES, DWAYNE         DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             06/30/2012
  License Plate:                     AM72578                 Plate Renewal Date:                07/01/2011
  License Plate State:               TX                      Previous License Plate:            AM72578
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Previous Owner:                    BRIDGES, DWAYNE         DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             06/30/2011



Page 102 of 192                                                                                         Kapitus_000109
                                             KAPITUS EX. 13 - 109
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 110 of 540
  License Plate:                     AM72578                 Plate Renewal Date:                07/16/2010
  License Plate State:               TX                      Previous License Plate:
  Plate Type:                        PRIVATE                 Previous License Plate State:
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Previous Owner:                    BRIDGES, DANA           DOB:
  Title Transfer Date:               08/02/2010              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Title Transfer Date:               08/02/2010              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     PO BOX 25120
  Previous Owner Mailing Address:    LEHIGH VALLEY, PA
                                     18002-5120

  Title Transfer Date:               08/02/2010              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     PO BOX 25120
  Previous Owner Mailing Address:    LEHIGH VALLEY, PA
                                     18002-5120

  Previous Owner:                    BRIDGES, DWAYNE         DOB:
  Title Transfer Date:               08/02/2010              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Title Transfer Date:               08/02/2010              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     PO BOX 25120
  Previous Owner Mailing Address:    LEHIGH VALLEY, PA
                                     18002-5120


  1995 PONTIAC GRAND AM
  Registered Owner:                  EXPERT AUTO SALES DOB:
                                     & SERVICE
  Owner Type:                        REGISTRANT        Plate Registration Date:                 10/28/2005

Page 103 of 192                                                                                        Kapitus_000110
                                            KAPITUS EX. 13 - 110
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 111 of 540
  Plate Expiration Date:             09/20/2007              Plate Renewal Date:                10/28/2005
  License Plate:                     OGD346                  Decal Number:                      00000000
  License Plate State:               LA                      Previous Plate:                    NONE
  Plate Type:                        PRIVATE                 Previous Plate State:              LA
                                     1402 FLORIDA AVE
                                     SW
  Mailing Address:
                                     DENHAM SPRINGS,
                                     LA 70726

  Registered Owner:                  EXPERT AUTO SALES DOB:
                                     AND SERVICE
  Owner Type:                        REGISTRANT              Plate Registration Date:           10/28/2005
  Plate Expiration Date:             09/20/2007              Plate Renewal Date:                10/28/2005
  License Plate:                                             Decal Number:
  License Plate State:                                       Previous Plate:
  Plate Type:                                                Previous Plate State:
                                     1402 FLORIDA AVE
                                     SW
  Mailing Address:
                                     DENHAM SPRINGS,
                                     LA 70726

  Year:                              19950000                Make/Model:                        PONTIAC GRAND AM
  Style:                             COUPE 2D UNS            Series:                            SE
  VIN:                               1G2NE15D9SM589395 Type:                                    PASSENGER CAR
  Number of Axles:                                           Vehicle Length:
  Vehicle Weight:                     lbs                    Color:                               GREEN



  Title History

  Title Number:                      A7749830                Original Title Date:               10/28/2005
  License Plate:                                             Decal Number:
  License Plate State:                                       Previous Plate:
  Plate Type:                                                Previous Plate State:
  Title Holder Name:                 BRIDGES, DWAYNE P. Title Holder Type:                      OWNER
  Title Transfer Date:               10/28/2005
                                     10065 ADAM DR
  Title Holder Mailing Address:      DENHAM SPRINGS,
                                     LA 70726



  Title Number:                                              Original Title Date:
  License Plate:                                             Decal Number:
  License Plate State:                                       Previous Plate:
  Plate Type:                                                Previous Plate State:
  Title Holder Name:                 EXPERT AUTO SALES Title Holder Type:                       OWNER
                                     & SERVICE
  Title Transfer Date:               10/28/2005
                                     1402 FLORIDA AVE



Page 104 of 192                                                                                         Kapitus_000111
                                            KAPITUS EX. 13 - 111
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 112 of 540
  Title Holder Mailing Address:      SW
                                     DENHAM SPRINGS,
                                     LA 70726



  Title Number:                                              Original Title Date:
  License Plate:                                             Decal Number:
  License Plate State:                                       Previous Plate:
  Plate Type:                                                Previous Plate State:
  Title Holder Name:                 EXPERT AUTO SALES Title Holder Type:                       OWNER
                                     AND SERVICE
  Title Transfer Date:               10/28/2005
                                     1402 FLORIDA AVE
                                     SW
  Title Holder Mailing Address:
                                     DENHAM SPRINGS,
                                     LA 70726



  Previous Owner History

                                     EXPERT AUTO SALES
  Previous Owner:                                      DOB:
                                     AND SERVICE
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             09/20/2007
  License Plate:                     OGD346                  Plate Renewal Date:                10/28/2005
  License Plate State:               LA                      Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     1402 FLORIDA AVE
                                     SW
  Previous Owner Mailing Address:
                                     DENHAM SPRINGS,
                                     LA 70726-4640


                                     EXPERT AUTO SALES
  Previous Owner:                                      DOB:
                                     & SERVICE
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             09/20/2007
  License Plate:                                             Plate Renewal Date:                10/28/2005
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     1402 FLORIDA AVE
                                     SW
  Previous Owner Mailing Address:
                                     DENHAM SPRINGS,
                                     LA 70726-4640

  Previous Owner:                    BRIDGES, DWAYNE P. DOB:
  Title Transfer Date:               UNKNOWN            Plate Expiration Date:                  09/20/2007
  License Plate:                                             Plate Renewal Date:                10/28/2005
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     10065 ADAM DR
  Previous Owner Mailing Address:    DENHAM SPRINGS,
                                     LA 70726-7722



Page 105 of 192                                                                                         Kapitus_000112
                                            KAPITUS EX. 13 - 112
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 113 of 540

  2004 HOND
  Registered Owner:                  PENA, RICHARD           DOB:
  Owner Type:                        REGISTRANT              Plate Registration Date:           01/07/2008
  Plate Expiration Date:             12/20/2010              Plate Renewal Date:                01/07/2008
  License Plate:                     MC400327                Decal Number:                      00000000
  License Plate State:               LA                      Previous Plate:                    MC408842
  Plate Type:                        MOTORCYCLE              Previous Plate State:              LA
                                     1580 HARBOR DR
  Mailing Address:                   UNIT 214
                                     SLIDELL, LA 70458

  Year:                              20040000                Make/Model:                        HOND
  Style:                             MC                      Series:
  VIN:                               JH2RC50364K010409       Type:                              UNKNOWN
  Number of Axles:                                           Vehicle Length:
  Vehicle Weight:                     lbs                    Color:                              SILVER/STAINLESS



  Title History

  Title Number:                                              Original Title Date:               10/03/2008
  License Plate:                                             Decal Number:
  License Plate State:                                       Previous Plate:
  Plate Type:                                                Previous Plate State:
  Title Holder Name:                 A 1 WRECKER             Title Holder Type:                 OWNER
                                     SERVICE
  Title Transfer Date:               10/03/2008
                                     38403 HIGHWAY
                                     DEPARTMENT RD
  Title Holder Mailing Address:
                                     PEARL RIVER, LA
                                     70452



  Title Number:                                              Original Title Date:
  License Plate:                                             Decal Number:
  License Plate State:                                       Previous Plate:
  Plate Type:                                                Previous Plate State:
  Title Holder Name:                 A 1 WRECKER             Title Holder Type:                 OWNER
                                     SERVICE
  Title Transfer Date:               10/03/2008
                                     PO BOX 1233
  Title Holder Mailing Address:      PEARL RIVER, LA
                                     70452



  Previous Owner History

  Previous Owner:                    BRIDGES, DWAYNE         DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             05/20/2010


Page 106 of 192                                                                                         Kapitus_000113
                                            KAPITUS EX. 13 - 113
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 114 of 540
  License Plate:                     MC408842                Plate Renewal Date:                06/29/2007
  License Plate State:               LA                      Previous License Plate:            NONE
  Plate Type:                        MOTORCYCLE              Previous License Plate State:      LA
                                     17210 OLIVE DR
  Previous Owner Mailing Address:    LIVINGSTON, LA
                                     70754-2155

  Previous Owner:                    LOVE, JAMES CODY        DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             12/20/2008
  License Plate:                     MC342240                Plate Renewal Date:                01/24/2005
  License Plate State:               LA                      Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     590 HIGHWAY 772 E
  Previous Owner Mailing Address:
                                     JENA, LA 71342-3820


                                     PROGRESSIVE INS
  Previous Owner:                                            DOB:
                                     CO.
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             10/13/2007
  License Plate:                     NONE                    Plate Renewal Date:                10/13/2006
  License Plate State:               LA                      Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     PO BOX 70
  Previous Owner Mailing Address:    LIVINGSTON, LA
                                     70754-0070
  Previous Owner Physical Address:


                                     PROGRESSIVE
  Previous Owner:                                            DOB:
                                     CASUALTY INS CO.
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             10/13/2007
  License Plate:                                             Plate Renewal Date:                10/13/2006
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     29000 S FROST RD
  Previous Owner Mailing Address:    LIVINGSTON, LA
                                     70754-2619

  Previous Owner:                    BRIDGES, DWAYNE         DOB:
  Title Transfer Date:               06/29/2007              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     17210 OLIVE DR
  Previous Owner Mailing Address:    LIVINGSTON, LA
                                     70754-2155


  2004 DODGE RAM 1500
  Registered Owner:                  BRIDGES, DWAYNE         DOB:
                                     PAUL
  Owner Type:                        REGISTRANT              Plate Registration Date:           08/05/2013
  Plate Expiration Date:             07/31/2016              Plate Renewal Date:                08/01/2015
  License Plate:                     CFS1376                 Decal Number:


Page 107 of 192                                                                                        Kapitus_000114
                                            KAPITUS EX. 13 - 114
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 115 of 540
  License Plate State:               TX                      Previous Plate:                    CFS1376
  Plate Type:                        PRIVATE                 Previous Plate State:              TX
                                     628 DESTIN DR
  Mailing Address:                   FORT WORTH, TX
                                     76131

  Year:                              20040000                Make/Model:                        DODGE RAM 1500
  Style:                             QUAD CAB 4D             Series:                            LARAMIE SLT ST
  VIN:                               1D7HA18D34S678013 Type:                                    PASSENGER CAR
  Number of Axles:                                           Vehicle Length:
  Vehicle Weight:                     lbs                    Color:                              BLUE



  Title History

  Title Number:                      22037441489124402       Original Title Date:               08/12/2013
  License Plate:                                             Decal Number:
  License Plate State:                                       Previous Plate:
  Plate Type:                                                Previous Plate State:
  Title Holder Name:                 BRIDGES, DWAYNE         Title Holder Type:                 OWNER
                                     PAUL
  Title Transfer Date:               08/12/2013
                                     628 DESTIN DR
  Title Holder Mailing Address:      FORT WORTH, TX
                                     76131



  Previous Owner History

  Previous Owner:                    BRIDGES, DWAYNE         DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             07/31/2015
  License Plate:                     CFS1376                 Plate Renewal Date:                08/01/2014
  License Plate State:               TX                      Previous License Plate:            CFS1376
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255


                                     BRIDGES, DWAYNE
  Previous Owner:                                            DOB:
                                     PAUL
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             07/31/2015
  License Plate:                                             Plate Renewal Date:                08/01/2014
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Previous Owner:                    BRIDGES, DWAYNE         DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             07/31/2014


Page 108 of 192                                                                                         Kapitus_000115
                                            KAPITUS EX. 13 - 115
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 116 of 540
  License Plate:                     CFS1376                 Plate Renewal Date:                08/05/2013
  License Plate State:               TX                      Previous License Plate:            BF80370
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Previous Owner:                    MENDOZA, JUAN R.        DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             10/31/2013
  License Plate:                     BF80370                 Plate Renewal Date:                11/14/2012
  License Plate State:               TX                      Previous License Plate:            BF80370
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     508 MITCH ST
  Previous Owner Mailing Address:    SAGINAW, TX
                                     76179-1377

  Previous Owner:                    MENDOZA, JUAN           DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             10/31/2013
  License Plate:                                             Plate Renewal Date:                11/14/2012
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     508 MITCH ST
  Previous Owner Mailing Address:    SAGINAW, TX
                                     76179-1377

  Previous Owner:                    BRIDGES, DWAYNE         DOB:
  Title Transfer Date:               08/12/2013              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Previous Owner:                    MENDOZA, JUAN R.        DOB:
  Title Transfer Date:               06/10/2013              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     508 MITCH ST
  Previous Owner Mailing Address:    SAGINAW, TX
                                     76179-1377

  Title Transfer Date:               06/10/2013              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     PO BOX 977
  Previous Owner Mailing Address:    ROANOKE, TX
                                     76262-0977

  Previous Owner:                    MENDOZA, JUAN           DOB:


Page 109 of 192                                                                                        Kapitus_000116
                                            KAPITUS EX. 13 - 116
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 117 of 540
  Title Transfer Date:               06/10/2013              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     508 MITCH ST
  Previous Owner Mailing Address:    SAGINAW, TX
                                     76179-1377

  Previous Owner:                    MENDOZA, JUAN R.        DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             10/31/2012
  License Plate:                     BF80370                 Plate Renewal Date:                11/01/2011
  License Plate State:               TX                      Previous License Plate:            69GJX1
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     508 MITCH ST
  Previous Owner Mailing Address:    SAGINAW, TX
                                     76179-1377

  Previous Owner:                    MENDOZA, JUAN           DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             10/31/2012
  License Plate:                                             Plate Renewal Date:                11/01/2011
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     508 MITCH ST
  Previous Owner Mailing Address:    SAGINAW, TX
                                     76179-1377

  Previous Owner:                    MENDOZA, JUAN R.        DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             10/31/2011
  License Plate:                     69GJX1                  Plate Renewal Date:                11/16/2010
  License Plate State:               TX                      Previous License Plate:            69GJX1
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     508 MITCH ST
  Previous Owner Mailing Address:    SAGINAW, TX
                                     76179-1377

  Previous Owner:                    MENDOZA, JUAN R.        DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             10/31/2010
  License Plate:                     69GJX1                  Plate Renewal Date:                11/23/2009
  License Plate State:               TX                      Previous License Plate:            69GJX1
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     508 MITCH ST
  Previous Owner Mailing Address:    SAGINAW, TX
                                     76179-1377

  Previous Owner:                    MENDOZA, JUAN R.        DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             05/31/2009
  License Plate:                     69GJX1                  Plate Renewal Date:                06/20/2008
  License Plate State:               TX                      Previous License Plate:            69GJX1
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     508 MITCH ST
  Previous Owner Mailing Address:    SAGINAW, TX

Page 110 of 192                                                                                          Kapitus_000117
                                            KAPITUS EX. 13 - 117
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 118 of 540

                                     76179-1377

  Previous Owner:                    MENDOZA, JUAN R.        DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             04/30/2008
  License Plate:                     69GJX1                  Plate Renewal Date:                05/01/2007
  License Plate State:               TX                      Previous License Plate:            69GJX1
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     508 MITCH ST
  Previous Owner Mailing Address:    SAGINAW, TX
                                     76179-1377

  Previous Owner:                    MENDOZA, JUAN R.        DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             04/30/2007
  License Plate:                     69GJX1                  Plate Renewal Date:                05/01/2006
  License Plate State:               TX                      Previous License Plate:            69GJX1
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     508 MITCH ST
  Previous Owner Mailing Address:    SAGINAW, TX
                                     76179-1377

  Previous Owner:                    MENDOZA, JUAN R.        DOB:
  Title Transfer Date:               06/03/2004              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     508 MITCH ST
  Previous Owner Mailing Address:    SAGINAW, TX
                                     76179-1377

  Previous Owner:                    MENDOZA, JUAN           DOB:
  Title Transfer Date:               06/03/2004              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     508 MITCH ST
  Previous Owner Mailing Address:    SAGINAW, TX
                                     76179-1377

  Title Transfer Date:               06/03/2004              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     PO BOX 977
  Previous Owner Mailing Address:    ROANOKE, TX
                                     76262-0977

  Title Transfer Date:               06/03/2004              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     PO BOX 977
  Previous Owner Mailing Address:    ROANOKE, TX


Page 111 of 192                                                                                          Kapitus_000118
                                            KAPITUS EX. 13 - 118
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 119 of 540

                                     76262-0977

  Title Transfer Date:               06/03/2004              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     PO BOX 977
  Previous Owner Mailing Address:    ROANOKE, TX
                                     76262-0977

  Title Transfer Date:               06/03/2004              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     PO BOX 977
  Previous Owner Mailing Address:    ROANOKE, TX
                                     76262-0977


  1998 FORD RANGER
  Registered Owner:                  BRIDGES, DWAYNE         DOB:
                                     PAUL
  Owner Type:                        REGISTRANT              Plate Registration Date:           10/28/2011
  Plate Expiration Date:             03/31/2016              Plate Renewal Date:                04/29/2015
  License Plate:                     BK20056                 Decal Number:
  License Plate State:               TX                      Previous Plate:                    BK20056
  Plate Type:                        PRIVATE                 Previous Plate State:              TX
                                     UNKNOWN
  Mailing Address:


  Year:                              19980000                Make/Model:                        FORD RANGER
  Style:                             REGULAR CAB 2D          Series:                            SPLASH XL XLT
  VIN:                               1FTYR10U4WUC97874 Type:                                    PASSENGER CAR
  Number of Axles:                                     Vehicle Length:
  Vehicle Weight:                     lbs                    Color:                              WHITE



  Previous Owner History

  Previous Owner:                    BRIDGES, DWAYNE P. DOB:
  Title Transfer Date:               UNKNOWN            Plate Expiration Date:                  10/31/2014
  License Plate:                     BK20056                 Plate Renewal Date:                11/01/2013
  License Plate State:               TX                      Previous License Plate:            BK20056
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Previous Owner:                    BRIDGES, DWAYNE         DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             10/31/2013
  License Plate:                     BK20056                 Plate Renewal Date:                11/14/2012
  License Plate State:               TX                      Previous License Plate:            BK20056

Page 112 of 192                                                                                          Kapitus_000119
                                            KAPITUS EX. 13 - 119
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 120 of 540
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

                                     BRIDGES, DWAYNE
  Previous Owner:                                            DOB:
                                     PAUL
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             10/31/2013
  License Plate:                                             Plate Renewal Date:                11/14/2012
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Previous Owner:                    BRIDGES, DWAYNE P. DOB:
  Title Transfer Date:               UNKNOWN            Plate Expiration Date:                  09/30/2012
  License Plate:                     BK20056                 Plate Renewal Date:                10/28/2011
  License Plate State:               TX                      Previous License Plate:            2TRKT
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Previous Owner:                    BRIDGES, DWAYNE         DOB:
  Title Transfer Date:               11/09/2011              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255


                                     BRIDGES, DWAYNE
  Previous Owner:                                            DOB:
                                     PAUL
  Title Transfer Date:               11/09/2011              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Previous Owner:                    BRIDGES, DWAYNE P. DOB:
  Title Transfer Date:               11/09/2011         Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255



Page 113 of 192                                                                                         Kapitus_000120
                                            KAPITUS EX. 13 - 120
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 121 of 540
  Previous Owner:                    DEAN, JAMES T.          DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             09/30/2011
  License Plate:                     2TRKT                   Plate Renewal Date:                10/01/2010
  License Plate State:               TX                      Previous License Plate:            2TRKT
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     3413 COLER
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76109

  Previous Owner:                    DEAN, JAMES T.          DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             09/30/2010
  License Plate:                     2TRKT                   Plate Renewal Date:                10/01/2009
  License Plate State:               TX                      Previous License Plate:            2TRKT
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     3413 COLER
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76109

  Previous Owner:                    DEAN, JAMES T.          DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             09/30/2009
  License Plate:                     2TRKT                   Plate Renewal Date:                10/01/2008
  License Plate State:               TX                      Previous License Plate:            2TRKT
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     3413 COLER
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76109

  Previous Owner:                    DEAN, JAMES T.          DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             09/30/2008
  License Plate:                     2TRKT                   Plate Renewal Date:                10/01/2007
  License Plate State:               TX                      Previous License Plate:            2TRKT
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     3413 COLER
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76109

  Previous Owner:                    DEAN, JAMES T.          DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             09/30/2007
  License Plate:                     2TRKT                   Plate Renewal Date:                10/01/2006
  License Plate State:               TX                      Previous License Plate:            2TRKT
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     3413 COLER
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76109

  Previous Owner:                    DEAN, JAMES T.          DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             09/30/2006
  License Plate:                     2TRKT                   Plate Renewal Date:                10/01/2005
  License Plate State:               TX                      Previous License Plate:            1VFK61



Page 114 of 192                                                                                         Kapitus_000121
                                             KAPITUS EX. 13 - 121
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 122 of 540
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     3413 COLER
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76109

  Previous Owner:                    DEAN, JAMES T.          DOB:
  Title Transfer Date:               03/26/2002              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     3413 COLER
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76109

  Title Transfer Date:               03/26/2002              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     PO BOX 105614
  Previous Owner Mailing Address:    ATLANTA, GA
                                     30348-5614

  Title Transfer Date:               03/26/2002              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     PO BOX 105614
  Previous Owner Mailing Address:    ATLANTA, GA
                                     30348-5614


  2016 TOYOTA SEQUOIA
  Registered Owner:                  BRIDGES, DANA           DOB:
  Owner Type:                        REGISTRANT              Plate Registration Date:           10/22/2015
  Plate Expiration Date:             09/30/2017              Plate Renewal Date:                10/22/2015
  License Plate:                     GLY4567                 Decal Number:
  License Plate State:               TX                      Previous Plate:
  Plate Type:                        PRIVATE                 Previous Plate State:
                                     628 DESTIN DR
  Mailing Address:                   FORT WORTH, TX
                                     76131

  Registered Owner:                  BRIDGES, DWAYNE         DOB:
                                     PAUL
  Owner Type:                        REGISTRANT              Plate Registration Date:           10/22/2015
  Plate Expiration Date:             09/30/2017              Plate Renewal Date:                10/22/2015
  License Plate:                                             Decal Number:
  License Plate State:                                       Previous Plate:
  Plate Type:                                                Previous Plate State:
                                     628 DESTIN DR
  Mailing Address:                   FORT WORTH, TX
                                     76131


Page 115 of 192                                                                                        Kapitus_000122
                                             KAPITUS EX. 13 - 122
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 123 of 540


  Year:                              20160000                Make/Model:                        TOYOTA SEQUOIA
  Style:                             SUV 4D 7P               Series:                            PLATINUM
  VIN:                               5TDDW5G16GS127841 Type:                                    PASSENGER CAR
  Number of Axles:                                           Vehicle Length:
  Vehicle Weight:                     lbs                    Color:                              WHITE



  Title History

  Title Number:                      22031342298250076       Original Title Date:               10/30/2015
  License Plate:                                             Decal Number:
  License Plate State:                                       Previous Plate:
  Plate Type:                                                Previous Plate State:
  Title Holder Name:                 BRIDGES, DANA           Title Holder Type:                 OWNER
  Title Transfer Date:               10/30/2015
                                     628 DESTIN DR
  Title Holder Mailing Address:      FORT WORTH, TX
                                     76131



  Title Number:                                              Original Title Date:
  License Plate:                                             Decal Number:
  License Plate State:                                       Previous Plate:
  Plate Type:                                                Previous Plate State:
  Title Holder Name:                 BRIDGES, DWAYNE         Title Holder Type:                 OWNER
                                     PAUL
  Title Transfer Date:               10/30/2015
                                     628 DESTIN DR
  Title Holder Mailing Address:      FORT WORTH, TX
                                     76131



  Lien Holder History
                                     TOYOTA MOTOR C.
  Lien Holder:                                               Lien Holder Type:                  LIEN HOLDER
                                     REDIT CORP.
                                     PO BOX 105386
  Lien Holder Mailing Address:
                                     ATLANTA, GA 30348



  2004 CADILLAC ESCALADE EXT
  Registered Owner:                  BRIDGES, DWAYNE         DOB:
  Owner Type:                        REGISTRANT              Plate Registration Date:           08/29/2013
  Plate Expiration Date:             07/31/2015              Plate Renewal Date:                06/26/2014
  License Plate:                     CFG8256                 Decal Number:
  License Plate State:               TX                      Previous Plate:                    CFG8256
  Plate Type:                        PRIVATE                 Previous Plate State:              TX
                                     628 DESTIN DR
                                     FORT WORTH, TX
  Mailing Address:


Page 116 of 192                                                                                          Kapitus_000123
                                             KAPITUS EX. 13 - 123
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 124 of 540

                                     76131

  Year:                              20040000                Make/Model:                        CADILLAC ESCALADE
                                                                                                EXT
  Style:                             SUV 4D 5P               Series:                            BASE
  VIN:                               3GYEK62N34G261503 Type:                                    PASSENGER CAR
  Number of Axles:                                           Vehicle Length:
  Vehicle Weight:                     lbs                    Color:                              SILVER/STAINLESS



  Title History

  Title Number:                      22037641814103528       Original Title Date:               07/09/2014
  License Plate:                                             Decal Number:
  License Plate State:                                       Previous Plate:
  Plate Type:                                                Previous Plate State:
  Title Holder Name:                 BRIDGES, DWAYNE         Title Holder Type:                 OWNER
  Title Transfer Date:               07/09/2014
                                     628 DESTIN DR
  Title Holder Mailing Address:      FORT WORTH, TX
                                     76131



  Previous Owner History

                                     RAMOS ESQUIVEL,
  Previous Owner:                                            DOB:
                                     JORGE HECTOR
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             07/31/2014
  License Plate:                     CFG8256                 Plate Renewal Date:                08/29/2013
  License Plate State:               TX                      Previous License Plate:            CTD170
  Plate Type:                        PRIVATE                 Previous License Plate State:      SC
                                     4250 SATURN RD
  Previous Owner Mailing Address:    GARLAND, TX
                                     75041-5302


                                     RAMOS ESQUIVEL,
  Previous Owner:                                            DOB:
                                     JORGE HECTOR
  Title Transfer Date:               09/09/2013              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     4250 SATURN RD
  Previous Owner Mailing Address:    GARLAND, TX
                                     75041-5302


  2006 CHEVROLET SILVERADO 1500
  Registered Owner:           BRIDGES, DWAYNE                DOB:
                              PAUL
  Owner Type:                 REGISTRANT                     Plate Registration Date:           04/30/2014
  Plate Expiration Date:             09/30/2016              Plate Renewal Date:                10/01/2015


Page 117 of 192                                                                                          Kapitus_000124
                                             KAPITUS EX. 13 - 124
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 125 of 540
  License Plate:                     DHT2183                 Decal Number:
  License Plate State:               TX                      Previous Plate:                      DHT2183
  Plate Type:                        PRIVATE                 Previous Plate State:                TX
                                     1150 BLUE MOUND
  Mailing Address:                   RD W STE 103
                                     HASLET, TX 76052

  Year:                             20060000                Make/Model:                         CHEVROLET SILVERADO
                                                                                                1500
  Style:                            EXTENDED CAB 4D         Series:                             LS LT W/T
  VIN:                              2GCEK19B961324197 Type:                                     PASSENGER CAR
  Number of Axles:                                          Vehicle Length:
  Vehicle Weight:                    lbs                    Color:                               WHITE



  Previous Owner History

                                     BRIDGES, DWAYNE
  Previous Owner:                                            DOB:
                                     PAUL
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:               09/30/2015
  License Plate:                     DHT2183                 Plate Renewal Date:                  10/01/2014
  License Plate State:               TX                      Previous License Plate:              DHT2183
  Plate Type:                        PRIVATE                 Previous License Plate State:        TX
                                     1150 BLUE MOUND
                                     RD W
  Previous Owner Mailing Address:
                                     HASLET, TX
                                     76052-3877


                                     BRIDGES, DWAYNE
  Previous Owner:                                            DOB:
                                     PAUL
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:               09/30/2014
  License Plate:                     DHT2183                 Plate Renewal Date:                  04/30/2014
  License Plate State:               TX                      Previous License Plate:              AA95080
  Plate Type:                        PRIVATE                 Previous License Plate State:        TX
                                     1150 BLUE MOUND
                                     RD W
  Previous Owner Mailing Address:
                                     HASLET, TX
                                     76052-3877

  Previous Owner:                    BARRINGTON, ROYCE DOB:
  Title Transfer Date:               UNKNOWN           Plate Expiration Date:                     09/30/2014
  License Plate:                     AA95080           Plate Renewal Date:                        10/04/2013
  License Plate State:               TX                Previous License Plate:                    AA95080
  Plate Type:                        PRIVATE           Previous License Plate State:              TX
                                     1717 COUNTY ROAD
                                     3555
  Previous Owner Mailing Address:
                                     PARADISE, TX
                                     76073-4604




Page 118 of 192                                                                                             Kapitus_000125
                                            KAPITUS EX. 13 - 125
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 126 of 540
  Previous Owner:                    BRIDGES, DWAYNE         DOB:
                                     PAUL
  Title Transfer Date:               05/09/2014              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     1150 BLUE MOUND
                                     RD W
  Previous Owner Mailing Address:
                                     HASLET, TX
                                     76052-3877

  Previous Owner:                    BARRINGTON, ROYCE DOB:
  Title Transfer Date:               UNKNOWN           Plate Expiration Date:                   08/31/2013
  License Plate:                     AA95080                 Plate Renewal Date:                09/12/2012
  License Plate State:               TX                      Previous License Plate:            AA95080
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     1717 COUNTY ROAD
                                     3555
  Previous Owner Mailing Address:
                                     PARADISE, TX
                                     76073-4604

  Previous Owner:                    BARRINGTON, ROYCE DOB:
  Title Transfer Date:               08/26/2013              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     1717 COUNTY ROAD
                                     3555
  Previous Owner Mailing Address:
                                     PARADISE, TX
                                     76073-4604

  Title Transfer Date:               08/26/2013              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     3201 DENTON HWY
  Previous Owner Mailing Address:    HALTOM CITY, TX
                                     76117-3716

  Previous Owner:                    BARRINGTON, ROYCE DOB:
  Title Transfer Date:               12/28/2012        Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     1717 COUNTY ROAD
                                     3555
  Previous Owner Mailing Address:
                                     PARADISE, TX
                                     76073-4604

  Title Transfer Date:               12/28/2012              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:


Page 119 of 192                                                                                        Kapitus_000126
                                            KAPITUS EX. 13 - 126
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 127 of 540

                                     100 N SAGINAW
  Previous Owner Mailing Address:    BLVD
                                     SAGINAW, TX
                                     76179-1332

  Previous Owner:                    BARRINGTON, ROYCE DOB:
  Title Transfer Date:               UNKNOWN           Plate Expiration Date:                   07/31/2012
  License Plate:                     AA95080           Plate Renewal Date:                      08/12/2011
  License Plate State:               TX                      Previous License Plate:            AA95080
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     1717 COUNTY ROAD
                                     3555
  Previous Owner Mailing Address:
                                     PARADISE, TX
                                     76073-4604

  Previous Owner:                    BARRINGTON, ROYCE DOB:
  Title Transfer Date:               UNKNOWN           Plate Expiration Date:                   07/31/2011
  License Plate:                     AA95080           Plate Renewal Date:                      08/09/2010
  License Plate State:               TX                      Previous License Plate:            AA95080
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     1717 COUNTY ROAD
                                     3555
  Previous Owner Mailing Address:
                                     PARADISE, TX
                                     76073-4604

  Previous Owner:                    BARRINGTON, ROYCE DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             07/31/2010
  License Plate:                     AA95080                 Plate Renewal Date:                08/06/2009
  License Plate State:               TX                      Previous License Plate:            03 T 0031L
  Plate Type:                        PRIVATE                 Previous License Plate State:      WY
                                     1717 COUNTY ROAD
                                     3555
  Previous Owner Mailing Address:
                                     PARADISE, TX
                                     76073-4604

  Previous Owner:                    BARRINGTON, ROYCE DOB:
  Title Transfer Date:               08/17/2009        Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     1717 COUNTY ROAD
                                     3555
  Previous Owner Mailing Address:
                                     PARADISE, TX
                                     76073-4604

  Title Transfer Date:               08/17/2009              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     107 S HIGHWAY 287
  Previous Owner Mailing Address:    DECATUR, TX


Page 120 of 192                                                                                        Kapitus_000127
                                            KAPITUS EX. 13 - 127
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 128 of 540

                                     76234-1641

                                     KIMARK SYSTEMS
  Previous Owner:                                            DOB:
                                     INC.
  Title Transfer Date:               08/17/2006              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     2007 108TH ST
  Previous Owner Mailing Address:    GRAND PRAIRIE, TX
                                     75050-1420


  2001 DODGE RAM 1500
  Registered Owner:                  JOHNSON, THOMAS         DOB:
  Owner Type:                        REGISTRANT              Plate Registration Date:           10/01/2009
  Plate Expiration Date:             03/31/2015              Plate Renewal Date:                04/11/2014
  License Plate:                     1123BF                  Decal Number:
  License Plate State:               TX                      Previous Plate:                    1123BF
  Plate Type:                        PRIVATE                 Previous Plate State:              TX
                                     505 COLE AVE
  Mailing Address:
                                     SAGINAW, TX 76179

  Year:                              20010000                Make/Model:                        DODGE RAM 1500
  Style:                             QUAD CAB 4D             Series:                            LARAMIE SLT ST
  VIN:                               3B7HC13Z71M285157 Type:                                    PASSENGER CAR
  Number of Axles:                                     Vehicle Length:
  Vehicle Weight:                     lbs                    Color:                              SILVER/STAINLESS



  Previous Owner History

  Previous Owner:                    JOHNSON, THOMAS         DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             12/31/2013
  License Plate:                     1123BF                  Plate Renewal Date:                01/15/2013
  License Plate State:               TX                      Previous License Plate:            1123BF
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     505 COLE AVE
  Previous Owner Mailing Address:    SAGINAW, TX
                                     76179-1130

  Previous Owner:                    JOHNSON, THOMAS         DOB:
  Title Transfer Date:               01/25/2013              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     505 COLE AVE
  Previous Owner Mailing Address:    SAGINAW, TX
                                     76179-1130

  Previous Owner:                    BRIDGES, DWAYNE         DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             12/31/2012

Page 121 of 192                                                                                          Kapitus_000128
                                            KAPITUS EX. 13 - 128
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 129 of 540
  License Plate:                     1123BF                  Plate Renewal Date:                07/27/2012
  License Plate State:               TX                      Previous License Plate:            1123BF
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Previous Owner:                    COMBS, MICHAEL          DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             12/31/2012
  License Plate:                                             Plate Renewal Date:                01/27/2012
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     833 NEWPORT RD
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76120-2827

  Previous Owner:                    BRIDGES, DWAYNE         DOB:
  Title Transfer Date:               08/06/2012              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Previous Owner:                    COMBS, MICHAEL          DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             09/30/2011
  License Plate:                     1123BF                  Plate Renewal Date:                10/01/2010
  License Plate State:               TX                      Previous License Plate:            1123BF
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     833 NEWPORT RD
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76120-2827

  Previous Owner:                    COMBS, MICHAEL          DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             09/30/2010
  License Plate:                     1123BF                  Plate Renewal Date:                10/01/2009
  License Plate State:               TX                      Previous License Plate:            7VZD01
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     833 NEWPORT RD
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76120-2827

  Previous Owner:                    COMBS, MICHAEL          DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             09/30/2009
  License Plate:                     7VZD01                  Plate Renewal Date:                10/01/2008
  License Plate State:               TX                      Previous License Plate:            7VZD01
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     833 NEWPORT RD
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76120-2827

Page 122 of 192                                                                                          Kapitus_000129
                                            KAPITUS EX. 13 - 129
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 130 of 540


  Previous Owner:                    COMBS, MICHAEL          DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             09/30/2007
  License Plate:                     7VZD01                  Plate Renewal Date:                10/01/2006
  License Plate State:               TX                      Previous License Plate:            7VZD01
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     833 NEWPORT RD
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76120-2827

  Previous Owner:                    COMBS, MICHAEL          DOB:
  Title Transfer Date:               11/10/2000              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     833 NEWPORT RD
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76120-2827

  Title Transfer Date:               11/10/2000              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     PO BOX 201147
  Previous Owner Mailing Address:    ARLINGTON, TX
                                     76006-1147

  Title Transfer Date:               11/10/2000              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     PO BOX 201147
  Previous Owner Mailing Address:    ARLINGTON, TX
                                     76006-1147

  Title Transfer Date:               11/10/2000              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     PO BOX 201147
  Previous Owner Mailing Address:    ARLINGTON, TX
                                     76006-1147


  1998 FORD RANGER
  Registered Owner:                  FUENTES, SARAH          DOB:
  Owner Type:                        REGISTRANT              Plate Registration Date:           09/07/2012
  Plate Expiration Date:             10/31/2016              Plate Renewal Date:                11/18/2015
  License Plate:                     BY34613                 Decal Number:
  License Plate State:               TX                      Previous Plate:                    BY34613
  Plate Type:                        PRIVATE                 Previous Plate State:              TX
                                     527 VALLEY SPRING
                                     DR


Page 123 of 192                                                                                        Kapitus_000130
                                            KAPITUS EX. 13 - 130
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 131 of 540
  Mailing Address:                   ARLINGTON, TX
                                     76018

  Year:                              19980000                Make/Model:                        FORD RANGER
  Style:                             SUPERCAB 2D             Series:                            SPLASH XL XLT
  VIN:                               1FTYR14U1WPB48976 Type:                                    PASSENGER CAR
  Number of Axles:                                           Vehicle Length:
  Vehicle Weight:                     lbs                    Color:                              BLACK



  Title History

  Title Number:                      05749241157085841       Original Title Date:               09/19/2012
  License Plate:                                             Decal Number:
  License Plate State:                                       Previous Plate:
  Plate Type:                                                Previous Plate State:
  Title Holder Name:                 FUENTES, SARAH          Title Holder Type:                 OWNER
  Title Transfer Date:               09/19/2012
                                     527 VALLEY SPRING
                                     DR
  Title Holder Mailing Address:
                                     ARLINGTON, TX
                                     76018



  Previous Owner History

  Previous Owner:                    FUENTES, SARAH          DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             08/31/2015
  License Plate:                     BY34613                 Plate Renewal Date:                09/01/2014
  License Plate State:               TX                      Previous License Plate:            BY34613
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     708 FOXFORD TRL
  Previous Owner Mailing Address:    ARLINGTON, TX
                                     76014-3205

  Previous Owner:                    FUENTES, SARAH          DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             08/31/2014
  License Plate:                     BY34613                 Plate Renewal Date:                09/01/2013
  License Plate State:               TX                      Previous License Plate:            BY34613
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     708 FOXFORD TRL
  Previous Owner Mailing Address:    ARLINGTON, TX
                                     76014-3205

  Previous Owner:                    FUENTES, SARAH          DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             08/31/2013
  License Plate:                     BY34613                 Plate Renewal Date:                09/07/2012
  License Plate State:               TX                      Previous License Plate:            BV08928
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX



Page 124 of 192                                                                                          Kapitus_000131
                                            KAPITUS EX. 13 - 131
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 132 of 540

                                     708 FOXFORD TRL
  Previous Owner Mailing Address:
                                     ARLINGTON, TX
                                     76014-3205

  Previous Owner:                    BRIDGES, DWAYNE         DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             04/30/2013
  License Plate:                     BV08928                 Plate Renewal Date:                05/29/2012
  License Plate State:               TX                      Previous License Plate:            21LHG4
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Previous Owner:                    BRIDGES, DWAYNE P. DOB:
  Title Transfer Date:               UNKNOWN            Plate Expiration Date:                  04/30/2013
  License Plate:                                             Plate Renewal Date:                05/29/2012
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Previous Owner:                    FUENTES, SARAH          DOB:
  Title Transfer Date:               09/19/2012              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     708 FOXFORD TRL
  Previous Owner Mailing Address:    ARLINGTON, TX
                                     76014-3205

  Previous Owner:                    BRIDGES, DWAYNE P. DOB:
  Title Transfer Date:               06/07/2012         Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Previous Owner:                    BRIDGES, DANA           DOB:
  Title Transfer Date:               06/07/2012              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Previous Owner:                    BROCKELMAN, JAMES DOB:
  Title Transfer Date:               07/14/2011        Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:


Page 125 of 192                                                                                        Kapitus_000132
                                            KAPITUS EX. 13 - 132
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 133 of 540
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     4604 BRADLEY LN
  Previous Owner Mailing Address:    ARLINGTON, TX
                                     76017-3106

  Title Transfer Date:               07/14/2011              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     PO BOX 682026
  Previous Owner Mailing Address:    FRANKLIN, TN
                                     37068-2026

  Previous Owner:                    BROCKELMAN, JAMES DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             05/31/2008
  License Plate:                     21LHG4                  Plate Renewal Date:                07/20/2007
  License Plate State:               TX                      Previous License Plate:            21LHG4
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     4604 BRADLEY LN
  Previous Owner Mailing Address:    ARLINGTON, TX
                                     76017-3106

  Previous Owner:                    BROCKELMAN, JAMES DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             05/31/2007
  License Plate:                     21LHG4                  Plate Renewal Date:                06/21/2006
  License Plate State:               TX                      Previous License Plate:            1YTD17
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     1108 NW 2ND ST
  Previous Owner Mailing Address:    ANDREWS, TX
                                     79714-3516

  Previous Owner:                    BROCKELMAN, JAMES DOB:
  Title Transfer Date:               05/05/2001              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     731 LEFTYS CIR
  Previous Owner Mailing Address:    GRAFORD, TX
                                     76449-3138

  Title Transfer Date:               05/05/2001              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     PO BOX 682026
  Previous Owner Mailing Address:    FRANKLIN, TN
                                     37068-2026


  2005 WAGL
  Registered Owner:                  BRIDGES, DWAYNE P. DOB:
  Owner Type:                        REGISTRANT         Plate Registration Date:                11/30/2006

Page 126 of 192                                                                                          Kapitus_000133
                                            KAPITUS EX. 13 - 133
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 134 of 540
  Plate Expiration Date:             10/20/2010              Plate Renewal Date:                11/30/2006
  License Plate:                     OR329415                Decal Number:                      00000000
  License Plate State:               LA                      Previous Plate:
  Plate Type:                        OTHER                   Previous Plate State:
                                     17080 LISA DR
  Mailing Address:                   LIVINGSTON, LA
                                     70754

  Year:                              20050000                Make/Model:                        WAGL
  Style:                             4W                      Series:                            ORV
  VIN:                               LZXSSBL254083364        Type:                              UNKNOWN
  Number of Axles:                                           Vehicle Length:
  Vehicle Weight:                     lbs                    Color:




  Title History

  Title Number:                                              Original Title Date:               11/30/2006
  License Plate:                                             Decal Number:
  License Plate State:                                       Previous Plate:
  Plate Type:                                                Previous Plate State:
  Title Holder Name:                 BRIDGES, DWAYNE P. Title Holder Type:                      OWNER
  Title Transfer Date:               11/30/2006
                                     17080 LISA DR
  Title Holder Mailing Address:      LIVINGSTON, LA
                                     70754



  2006 ARCA
  Year:                              20060000                Make/Model:                        ARCA
  Style:                             4W                      Series:                            ORV
  VIN:                               4UF06ATV96T253359       Type:                              UNKNOWN
  Number of Axles:                                           Vehicle Length:
  Vehicle Weight:                     lbs                    Color:




  Title History

  Title Number:                                              Original Title Date:               07/16/2007
  License Plate:                                             Decal Number:
  License Plate State:                                       Previous Plate:
  Plate Type:                                                Previous Plate State:
  Title Holder Name:                 BIDGES, DWAYNE P.       Title Holder Type:                 OWNER
  Title Transfer Date:               07/16/2007
                                     17080 LISA DR
  Title Holder Mailing Address:      LIVINGSTON, LA
                                     70754




Page 127 of 192                                                                                         Kapitus_000134
                                            KAPITUS EX. 13 - 134
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 135 of 540
  Title Number:                                              Original Title Date:
  License Plate:                                             Decal Number:
  License Plate State:                                       Previous Plate:
  Plate Type:                                                Previous Plate State:
  Title Holder Name:                 ACADIAN USED CARS Title Holder Type:                       OWNER
  Title Transfer Date:               07/16/2007
                                     13503 FLORIDA
                                     BLVD
  Title Holder Mailing Address:
                                     BATON ROUGE, LA
                                     70819



  Title Number:                                              Original Title Date:
  License Plate:                                             Decal Number:
  License Plate State:                                       Previous Plate:
  Plate Type:                                                Previous Plate State:
  Title Holder Name:                 BRIDGES, DWAYNE P. Title Holder Type:                      OWNER
  Title Transfer Date:               07/16/2007
                                     17080 LISA DR
  Title Holder Mailing Address:      LIVINGSTON, LA
                                     70754



  Previous Owner History

  Previous Owner:                    BIDGES, DWAYNE P.       DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             10/20/2010
  License Plate:                     OR328648                Plate Renewal Date:                11/21/2006
  License Plate State:               LA                      Previous License Plate:
  Plate Type:                        OTHER                   Previous License Plate State:
                                     17650 MELANCON
                                     RD
  Previous Owner Mailing Address:
                                     LIVINGSTON, LA
                                     70754-3001

  Previous Owner:                    BRIDGES, DWAYNE P. DOB:
  Title Transfer Date:               UNKNOWN            Plate Expiration Date:                  10/20/2010
  License Plate:                                             Plate Renewal Date:                11/21/2006
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     17650 MELANCON
                                     RD
  Previous Owner Mailing Address:
                                     LIVINGSTON, LA
                                     70754-3001


  1992 DODGE STEALTH
  Registered Owner:                  BRIDGES, DWAYNE         DOB:
  Owner Type:                        REGISTRANT              Plate Registration Date:           11/15/2007
  Plate Expiration Date:             10/20/2009              Plate Renewal Date:                11/15/2007
  License Plate:                     RBU017                  Decal Number:                      00000000

Page 128 of 192                                                                                         Kapitus_000135
                                            KAPITUS EX. 13 - 135
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 136 of 540
  License Plate State:               LA                      Previous Plate:                    NWJ751
  Plate Type:                        PRIVATE                 Previous Plate State:              LA
                                     17210 OLIVE ST
  Mailing Address:                   DENHAM SPRINGS,
                                     LA 70726

  Year:                              19920000                Make/Model:                        DODGE STEALTH
  Style:                             HATCHBACK 2D            Series:                            BASE
  VIN:                               JB3XD44S8NY009917 Type:                                    PASSENGER CAR
  Number of Axles:                                           Vehicle Length:
  Vehicle Weight:                     lbs                    Color:




  Title History

  Title Number:                      K4316938                Original Title Date:               11/15/2007
  License Plate:                                             Decal Number:
  License Plate State:                                       Previous Plate:
  Plate Type:                                                Previous Plate State:
  Title Holder Name:                 BRIDGES, DWAYNE         Title Holder Type:                 OWNER
  Title Transfer Date:               11/15/2007
                                     17210 OLIVE ST
  Title Holder Mailing Address:      DENHAM SPRINGS,
                                     LA 70726



  Title Number:                                              Original Title Date:               11/15/2007
  License Plate:                                             Decal Number:
  License Plate State:                                       Previous Plate:
  Plate Type:                                                Previous Plate State:
  Title Holder Name:                 BRIDGES, DWAYNE         Title Holder Type:                 OWNER
  Title Transfer Date:               11/15/2007
                                     17210 OLIVE ST
  Title Holder Mailing Address:      DENHAM SPRINGS,
                                     LA 70726



  Previous Owner History

  Previous Owner:                    MIGUES, DANELLE A.      DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             06/20/2007
  License Plate:                     NWJ751                  Plate Renewal Date:                07/29/2005
  License Plate State:               LA                      Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     6211 LUMEA ST
  Previous Owner Mailing Address:    NEW IBERIA, LA
                                     70560-7968


  2002 CHEVROLET S10
  Registered Owner:                                          DOB:


Page 129 of 192                                                                                          Kapitus_000136
                                            KAPITUS EX. 13 - 136
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 137 of 540

                                     TREJO, JESUS
                                     MARTINEZ
  Owner Type:                        REGISTRANT              Plate Registration Date:           08/14/2015
  Plate Expiration Date:             07/31/2016              Plate Renewal Date:                08/14/2015
  License Plate:                     GBR5797                 Decal Number:
  License Plate State:               TX                      Previous Plate:                    CJG3142
  Plate Type:                        PRIVATE                 Previous Plate State:              TX
                                     301 MODENE ST
                                     TRLR 51
  Mailing Address:
                                     SEAGOVILLE, TX
                                     75159

  Registered Owner:                  JOHNSON, JENNA M. DOB:
  Owner Type:                        REGISTRANT              Plate Registration Date:           08/07/2013
  Plate Expiration Date:             07/31/2015              Plate Renewal Date:                01/06/2015
  License Plate:                     CJG3142                 Decal Number:
  License Plate State:               TX                      Previous Plate:                    CJG3142
  Plate Type:                        PRIVATE                 Previous Plate State:              TX
                                     4833 LOCKE AVE
                                     APT 201
  Mailing Address:
                                     FORT WORTH, TX
                                     76107

  Year:                              20020000                Make/Model:                        CHEVROLET S10
  Style:                             EXTENDED CAB 2D         Series:                            BASE LS LS XTREME
  VIN:                               1GCCS19W728112500 Type:                                    PASSENGER CAR
  Number of Axles:                                           Vehicle Length:
  Vehicle Weight:                     lbs                    Color:                              WHITE



  Title History

  Title Number:                      22034242228134916       Original Title Date:               08/21/2015
  License Plate:                                             Decal Number:
  License Plate State:                                       Previous Plate:
  Plate Type:                                                Previous Plate State:
  Title Holder Name:                 TREJO, JESUS            Title Holder Type:                 OWNER
                                     MARTINEZ
  Title Transfer Date:               08/21/2015
                                     301 MODENE ST
                                     TRLR 51
  Title Holder Mailing Address:
                                     SEAGOVILLE, TX
                                     75159



  Title Number:                      22000842008083358       Original Title Date:               01/13/2015
  License Plate:                                             Decal Number:
  License Plate State:                                       Previous Plate:
  Plate Type:                                                Previous Plate State:
  Title Holder Name:                                         Title Holder Type:


Page 130 of 192                                                                                          Kapitus_000137
                                             KAPITUS EX. 13 - 137
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 138 of 540

                                     JOHNSON, JENNA M.                                          OWNER
  Title Transfer Date:               01/13/2015
                                     4833 LOCKE AVE
                                     APT 201
  Title Holder Mailing Address:
                                     FORT WORTH, TX
                                     76107



  Lien Holder History
                                     ALL PRO. MOTORS
  Lien Holder:                                               Lien Holder Type:                  LIEN HOLDER
                                     AND FINANCING
                                     5959 E BELKNAP ST
  Lien Holder Mailing Address:       HALTOM CITY, TX
                                     76117



  Previous Owner History

                                     ANDERSON,
  Previous Owner:                                            DOB:
                                     ELIZABETH M.
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             07/31/2015
  License Plate:                     CJG3142                 Plate Renewal Date:                08/01/2014
  License Plate State:               TX                      Previous License Plate:            CJG3142
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     2018 GRACE AVE
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76111-2814

  Previous Owner:                    JOHNSON, JENNA M. DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             07/31/2015
  License Plate:                                             Plate Renewal Date:                08/01/2014
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     2018 GRACE AVE
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76111-2814

                                     ANDERSON,
  Previous Owner:                                            DOB:
                                     ELIZABETH M.
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             07/31/2014
  License Plate:                     CJG3142                 Plate Renewal Date:                08/07/2013
  License Plate State:               TX                      Previous License Plate:            BV89887
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     2018 GRACE AVE
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76111-2814

  Previous Owner:                    JOHNSON, JENNA M. DOB:
  Title Transfer Date:               UNKNOWN           Plate Expiration Date:                   07/31/2014
  License Plate:                                             Plate Renewal Date:                08/07/2013


Page 131 of 192                                                                                         Kapitus_000138
                                             KAPITUS EX. 13 - 138
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 139 of 540
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     2018 GRACE AVE
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76111-2814

                                     ANDERSON,
  Previous Owner:                                            DOB:
                                     ELIZABETH M.
  Title Transfer Date:               08/15/2013              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     2018 GRACE AVE
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76111-2814

  Previous Owner:                    JOHNSON, JENNA M. DOB:
  Title Transfer Date:               08/15/2013        Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     2018 GRACE AVE
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76111-2814

  Title Transfer Date:               08/15/2013              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     5959 E BELKNAP ST
  Previous Owner Mailing Address:    HALTOM CITY, TX
                                     76117-4104

  Previous Owner:                    BRIDGES, DWAYNE         DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             04/30/2013
  License Plate:                     BV89887                 Plate Renewal Date:                05/18/2012
  License Plate State:               TX                      Previous License Plate:            8352AF
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Previous Owner:                    BRIDGES, DWAYNE         DOB:
  Title Transfer Date:               05/31/2012              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Title Transfer Date:               05/31/2012              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:


Page 132 of 192                                                                                          Kapitus_000139
                                            KAPITUS EX. 13 - 139
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 140 of 540
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     5959 E BELKNAP ST
  Previous Owner Mailing Address:    HALTOM CITY, TX
                                     76117-4104

  Previous Owner:                    CANNON, LARRY           DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             06/30/2011
  License Plate:                     8352AF                  Plate Renewal Date:                07/16/2010
  License Plate State:               TX                      Previous License Plate:            8352AF
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     207 HARTSDALE DR
  Previous Owner Mailing Address:    DALLAS, TX
                                     75211-2855

  Previous Owner:                    CANNON, LARRY           DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             06/30/2010
  License Plate:                     8352AF                  Plate Renewal Date:                07/24/2009
  License Plate State:               TX                      Previous License Plate:            6XSS99
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     207 HARTSDALE DR
  Previous Owner Mailing Address:    DALLAS, TX
                                     75211-2855

  Previous Owner:                    CANNON, LARRY D.        DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             06/30/2009
  License Plate:                     6XSS99                  Plate Renewal Date:                07/01/2008
  License Plate State:               TX                      Previous License Plate:            6XSS99
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     207 HARTSDALE DR
  Previous Owner Mailing Address:    DALLAS, TX
                                     75211-2855

  Previous Owner:                    CANNON, LARRY           DOB:
  Title Transfer Date:               07/15/2008              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     207 HARTSDALE DR
  Previous Owner Mailing Address:    DALLAS, TX
                                     75211-2855

  Previous Owner:                    CANNON, LARRY D.        DOB:
  Title Transfer Date:               07/15/2008              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     207 HARTSDALE DR
  Previous Owner Mailing Address:    DALLAS, TX
                                     75211-2855




Page 133 of 192                                                                                          Kapitus_000140
                                            KAPITUS EX. 13 - 140
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 141 of 540
  Title Transfer Date:               07/15/2008              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     130 HISTORIC TOWN
                                     SQ
  Previous Owner Mailing Address:
                                     LANCASTER, TX
                                     75146-3200

  Title Transfer Date:               07/15/2008              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     130 HISTORIC TOWN
                                     SQ
  Previous Owner Mailing Address:
                                     LANCASTER, TX
                                     75146-3200

  Previous Owner:                    CANNON, LARRY           DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             06/30/2007
  License Plate:                     6XSS99                  Plate Renewal Date:                07/01/2006
  License Plate State:               TX                      Previous License Plate:            6XSS99
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     207 HARTSDALE DR
  Previous Owner Mailing Address:    DALLAS, TX
                                     75211-2855

  Previous Owner:                    CANNON, LARRY           DOB:
  Title Transfer Date:               08/19/2002              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     207 HARTSDALE DR
  Previous Owner Mailing Address:    DALLAS, TX
                                     75211-2855

  Title Transfer Date:               08/19/2002              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     910 W
                                     MOCKINGBIRD LN
  Previous Owner Mailing Address:
                                     DALLAS, TX
                                     75247-5122


  2010 CHEVROLET CAMARO
  Registered Owner:                  BRIDGES, DANA           DOB:
                                     MICHELLE
  Owner Type:                        REGISTRANT              Plate Registration Date:           01/29/2015
  Plate Expiration Date:             12/31/2015              Plate Renewal Date:                01/29/2015
  License Plate:                     FKK2155                 Decal Number:
  License Plate State:               TX                      Previous Plate:                    VAE871


Page 134 of 192                                                                                          Kapitus_000141
                                            KAPITUS EX. 13 - 141
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 142 of 540
  Plate Type:                        PRIVATE                 Previous Plate State:              NV
                                     628 DESTIN DR
  Mailing Address:                   FORT WORTH, TX
                                     76131

  Registered Owner:                  BRIDGES, DWAYNE         DOB:
                                     PAUL
  Owner Type:                        REGISTRANT              Plate Registration Date:           01/29/2015
  Plate Expiration Date:             12/31/2015              Plate Renewal Date:                01/29/2015
  License Plate:                                             Decal Number:
  License Plate State:                                       Previous Plate:
  Plate Type:                                                Previous Plate State:
                                     628 DESTIN DR
  Mailing Address:                   FORT WORTH, TX
                                     76131

  Year:                              20100000                Make/Model:                        CHEVROLET CAMARO
  Style:                             COUPE 2D 4P             Series:                            SS
  VIN:                               2G1FK1EJ0A9121008       Type:                              PASSENGER CAR
  Number of Axles:                                           Vehicle Length:
  Vehicle Weight:                     lbs                    Color:                              YELLOW



  Title History

  Title Number:                      22039842031153257       Original Title Date:               02/05/2015
  License Plate:                                             Decal Number:
  License Plate State:                                       Previous Plate:
  Plate Type:                                                Previous Plate State:
  Title Holder Name:                 BRIDGES, DANA           Title Holder Type:                 OWNER
                                     MICHELLE
  Title Transfer Date:               02/05/2015
                                     628 DESTIN DR
  Title Holder Mailing Address:      FORT WORTH, TX
                                     76131



  Title Number:                                              Original Title Date:
  License Plate:                                             Decal Number:
  License Plate State:                                       Previous Plate:
  Plate Type:                                                Previous Plate State:
  Title Holder Name:                 BRIDGES, DWAYNE         Title Holder Type:                 OWNER
                                     PAUL
  Title Transfer Date:               02/05/2015
                                     628 DESTIN DR
  Title Holder Mailing Address:      FORT WORTH, TX
                                     76131




Page 135 of 192                                                                                         Kapitus_000142
                                             KAPITUS EX. 13 - 142
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 143 of 540

  Lien Holder History
  Lien Holder:                       ALLOY FINANCIAL         Lien Holder Type:                   LIEN HOLDER
                                     PO BOX 8102
  Lien Holder Mailing Address:       COCKEYSVILLE, MD
                                     21030



  2002 CHEVROLET SILVERADO 1500
  Registered Owner:           BRIDGES, DWAYNE                DOB:
                              PAUL
  Owner Type:                 REGISTRANT                     Plate Registration Date:            06/13/2012
  Plate Expiration Date:      05/31/2016                     Plate Renewal Date:                 06/23/2015
  License Plate:              BV09354                        Decal Number:
  License Plate State:        TX                             Previous Plate:                     BV09354
  Plate Type:                 PRIVATE                        Previous Plate State:               TX
                                     628 DESTIN DR
  Mailing Address:                   FORT WORTH, TX
                                     76131

  Year:                             20020000                Make/Model:                         CHEVROLET SILVERADO
                                                                                                1500
  Style:                            EXTENDED CAB 4D         Series:                             BASE LS LT
  VIN:                              2GCEK19T221169866 Type:                                     PASSENGER CAR
  Number of Axles:                                          Vehicle Length:
  Vehicle Weight:                    lbs                    Color:                              WHITE



  Title History

  Title Number:                      22000641071095035       Original Title Date:                06/22/2012
  License Plate:                                             Decal Number:
  License Plate State:                                       Previous Plate:
  Plate Type:                                                Previous Plate State:
  Title Holder Name:                 BRIDGES, DWAYNE         Title Holder Type:                  OWNER
                                     PAUL
  Title Transfer Date:               06/22/2012
                                     628 DESTIN DR
  Title Holder Mailing Address:      FORT WORTH, TX
                                     76131



  Previous Owner History

  Previous Owner:                    BRIDGES, DWAYNE         DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:              05/31/2015
  License Plate:                     BV09354                 Plate Renewal Date:                 06/01/2014
  License Plate State:               TX                      Previous License Plate:             BV09354
  Plate Type:                        PRIVATE                 Previous License Plate State:       TX
                                     628 DESTIN DR


Page 136 of 192                                                                                          Kapitus_000143
                                             KAPITUS EX. 13 - 143
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 144 of 540
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Previous Owner:                    BRIDGES, DWAYNE P. DOB:
  Title Transfer Date:               UNKNOWN            Plate Expiration Date:                  05/31/2014
  License Plate:                     BV09354                 Plate Renewal Date:                06/01/2013
  License Plate State:               TX                      Previous License Plate:            BV09354
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Previous Owner:                    BRIDGES, DWAYNE         DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             05/31/2014
  License Plate:                                             Plate Renewal Date:                06/01/2013
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Previous Owner:                    BRIDGES, DWAYNE P. DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             05/31/2013
  License Plate:                     BV09354                 Plate Renewal Date:                06/13/2012
  License Plate State:               TX                      Previous License Plate:            AX07589
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Previous Owner:                    BRIDGES, DWAYNE         DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             05/31/2013
  License Plate:                                             Plate Renewal Date:                06/13/2012
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Previous Owner:                    BRIDGES, DWAYNE P. DOB:
  Title Transfer Date:               06/22/2012         Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

  Previous Owner:                    BRIDGES, DWAYNE         DOB:
  Title Transfer Date:               06/22/2012              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:


Page 137 of 192                                                                                        Kapitus_000144
                                            KAPITUS EX. 13 - 144
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 145 of 540
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     628 DESTIN DR
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76131-4255

                                     LAY, JOSHUA
  Previous Owner:                                            DOB:
                                     RICHARD
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             09/30/2011
  License Plate:                     AX07589                 Plate Renewal Date:                03/08/2011
  License Plate State:               TX                      Previous License Plate:            03ZNV8
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     2555 VIA FIRENZE
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76109-5542

  Previous Owner:                    CLAYTON, GINGER         DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             09/30/2011
  License Plate:                     03ZNV8                  Plate Renewal Date:                10/08/2010
  License Plate State:               TX                      Previous License Plate:            03ZNV8
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     802 LINCOLN ST
  Previous Owner Mailing Address:    NEWCASTLE, TX
                                     76372
                                     802 LINCOLN ST
  Previous Owner Physical Address:   NEWCASTLE, TX
                                     76372

  Previous Owner:                    CLAYTON, TRAVIS         DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             09/30/2011
  License Plate:                                             Plate Renewal Date:                10/08/2010
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     802 LINCOLN ST
  Previous Owner Mailing Address:    NEWCASTLE, TX
                                     76372
                                     802 LINCOLN ST
  Previous Owner Physical Address:   NEWCASTLE, TX
                                     76372

                                     LAY, JOSHUA
  Previous Owner:                                            DOB:
                                     RICHARD
  Title Transfer Date:               03/18/2011              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     2555 VIA FIRENZE
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76109-5542

  Title Transfer Date:               03/18/2011              Plate Expiration Date:


Page 138 of 192                                                                                          Kapitus_000145
                                            KAPITUS EX. 13 - 145
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 146 of 540
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     5050 E I 20 SERVICE
                                     RD S
  Previous Owner Mailing Address:
                                     WILLOW PARK, TX
                                     76087-3218

  Previous Owner:                    CLAYTON, GINGER         DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             09/30/2010
  License Plate:                     03ZNV8                  Plate Renewal Date:                10/09/2009
  License Plate State:               TX                      Previous License Plate:            03ZNV8
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     802 LINCOLN ST
  Previous Owner Mailing Address:    NEWCASTLE, TX
                                     76372
                                     802 LINCOLN ST
  Previous Owner Physical Address:   NEWCASTLE, TX
                                     76372

  Previous Owner:                    CLAYTON, TRAVIS         DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             09/30/2010
  License Plate:                                             Plate Renewal Date:                10/09/2009
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     802 LINCOLN ST
  Previous Owner Mailing Address:    NEWCASTLE, TX
                                     76372
                                     802 LINCOLN ST
  Previous Owner Physical Address:   NEWCASTLE, TX
                                     76372

  Previous Owner:                    CLAYTON, GINGER         DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             09/30/2009
  License Plate:                     03ZNV8                  Plate Renewal Date:                10/01/2008
  License Plate State:               TX                      Previous License Plate:            5SXP47
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     802 LINCOLN ST
  Previous Owner Mailing Address:    NEWCASTLE, TX
                                     76372
                                     802 LINCOLN ST
  Previous Owner Physical Address:   NEWCASTLE, TX
                                     76372

  Previous Owner:                    CLAYTON, TRAVIS         DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             09/30/2009
  License Plate:                                             Plate Renewal Date:                10/01/2008
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     802 LINCOLN ST
  Previous Owner Mailing Address:    NEWCASTLE, TX


Page 139 of 192                                                                                          Kapitus_000146
                                            KAPITUS EX. 13 - 146
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 147 of 540

                                     76372
                                     802 LINCOLN ST
  Previous Owner Physical Address:   NEWCASTLE, TX
                                     76372

  Previous Owner:                    CLAYTON, GINGER         DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             09/30/2008
  License Plate:                     5SXP47                  Plate Renewal Date:                10/01/2007
  License Plate State:               TX                      Previous License Plate:            5SXP47
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     802 LINCOLN ST
  Previous Owner Mailing Address:    NEWCASTLE, TX
                                     76372

  Previous Owner:                    CLAYTON, TRAVIS         DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             09/30/2008
  License Plate:                                             Plate Renewal Date:                10/01/2007
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     802 LINCOLN ST
  Previous Owner Mailing Address:    NEWCASTLE, TX
                                     76372

  Previous Owner:                    CLAYTON, GINGER         DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             09/30/2007
  License Plate:                     5SXP47                  Plate Renewal Date:                10/12/2006
  License Plate State:               TX                      Previous License Plate:            5SXP47
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     802 LINCOLN ST
  Previous Owner Mailing Address:    NEWCASTLE, TX
                                     76372

  Previous Owner:                    CLAYTON, TRAVIS         DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             09/30/2007
  License Plate:                                             Plate Renewal Date:                10/12/2006
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     802 LINCOLN ST
  Previous Owner Mailing Address:    NEWCASTLE, TX
                                     76372

                                     BANC. ONE TEXAS
  Previous Owner:                                            DOB:
                                     LEASING CORP.
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             09/30/2006
  License Plate:                     5SXP47                  Plate Renewal Date:                10/01/2005
  License Plate State:               TX                      Previous License Plate:            5SXP47
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     PO BOX 37264
  Previous Owner Mailing Address:    LOUISVILLE, KY
                                     40233-7264


Page 140 of 192                                                                                          Kapitus_000147
                                             KAPITUS EX. 13 - 147
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 148 of 540


  Previous Owner:                    CLAYTON, GINGER         DOB:
  Title Transfer Date:               03/13/2006              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     802 LINCOLN ST
  Previous Owner Mailing Address:    NEWCASTLE, TX
                                     76372

  Title Transfer Date:               03/13/2006              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     PO BOX 150099
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76108-0099

  Title Transfer Date:               03/13/2006              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     PO BOX 150099
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76108-0099

  Title Transfer Date:               03/13/2006              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     PO BOX 150099
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76108-0099

  Title Transfer Date:               03/13/2006              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     PO BOX 150099
  Previous Owner Mailing Address:    FORT WORTH, TX
                                     76108-0099

  Previous Owner:                    CLAYTON, TRAVIS         DOB:
  Title Transfer Date:               03/13/2006              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     802 LINCOLN ST
  Previous Owner Mailing Address:    NEWCASTLE, TX
                                     76372

                                     BANC. ONE TEXAS
  Previous Owner:                                            DOB:
                                     LEASING CORP.


Page 141 of 192                                                                                        Kapitus_000148
                                             KAPITUS EX. 13 - 148
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 149 of 540
  Title Transfer Date:               11/10/2001              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     PO BOX 37264
  Previous Owner Mailing Address:    LOUISVILLE, KY
                                     40233-7264

  Title Transfer Date:               11/10/2001              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     PO BOX 37264
  Previous Owner Mailing Address:    LOUISVILLE, KY
                                     40233-7264


  1999 DODGE DAKOTA
  Registered Owner:                  BRIDGES, DWAYNE         DOB:
  Owner Type:                        REGISTRANT              Plate Registration Date:           07/13/2012
  Plate Expiration Date:             09/30/2013              Plate Renewal Date:                06/05/2013
  License Plate:                     BK29793                 Decal Number:
  License Plate State:               TX                      Previous Plate:                    BK29793
  Plate Type:                        PRIVATE                 Previous Plate State:              TX
                                     628 DESTIN DR
  Mailing Address:                   FORT WORTH, TX
                                     76131

  Year:                              19990000                Make/Model:                        DODGE DAKOTA
  Style:                             CLUB CAB 2D             Series:                            R/T SPORT 5.9L
  VIN:                               1B7GL22Z2XS129238       Type:                              PASSENGER CAR
  Number of Axles:                                           Vehicle Length:
  Vehicle Weight:                     lbs                    Color:                              RED



  Title History

  Title Number:                      22037041428103847       Original Title Date:               06/12/2013
  License Plate:                                             Decal Number:
  License Plate State:                                       Previous Plate:
  Plate Type:                                                Previous Plate State:
  Title Holder Name:                 BRIDGES, DWAYNE         Title Holder Type:                 OWNER
  Title Transfer Date:               06/12/2013
                                     628 DESTIN DR
  Title Holder Mailing Address:      FORT WORTH, TX
                                     76131



  Previous Owner History

  Previous Owner:                    MCLARRY, ZACHARY DOB:
  Title Transfer Date:               UNKNOWN          Plate Expiration Date:                    09/30/2013

Page 142 of 192                                                                                         Kapitus_000149
                                            KAPITUS EX. 13 - 149
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 150 of 540
  License Plate:                     BK29793                 Plate Renewal Date:                10/18/2012
  License Plate State:               TX                      Previous License Plate:            BK29793
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     1225 COUNTY ROAD
                                     1021
  Previous Owner Mailing Address:
                                     BURLESON, TX
                                     76028-7885


                                     MCLARRY, ZACHARY
  Previous Owner:                                     DOB:
                                     D.
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             09/30/2012
  License Plate:                     BK29793                 Plate Renewal Date:                07/13/2012
  License Plate State:               TX                      Previous License Plate:            02FNL8
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     1225 COUNTY ROAD
                                     1021
  Previous Owner Mailing Address:
                                     BURLESON, TX
                                     76028-7885

  Previous Owner:                    BRUTON, JEFF L.         DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             09/30/2012
  License Plate:                     02FNL8                  Plate Renewal Date:                10/19/2011
  License Plate State:               TX                      Previous License Plate:            02FNL8
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     852 BEAVER CREEK
                                     DR
  Previous Owner Mailing Address:
                                     BURLESON, TX
                                     76028-7366

  Previous Owner:                    MCLARRY, ZACHARY DOB:
  Title Transfer Date:               07/25/2012              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     1225 COUNTY ROAD
                                     1021
  Previous Owner Mailing Address:
                                     BURLESON, TX
                                     76028-7885


                                     MCLARRY, ZACHARY
  Previous Owner:                                     DOB:
                                     D.
  Title Transfer Date:               07/25/2012       Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     1225 COUNTY ROAD
                                     1021
  Previous Owner Mailing Address:
                                     BURLESON, TX
                                     76028-7885

  Previous Owner:                    BRUTON, JEFF L.         DOB:


Page 143 of 192                                                                                        Kapitus_000150
                                            KAPITUS EX. 13 - 150
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 151 of 540
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             09/30/2011
  License Plate:                     02FNL8                  Plate Renewal Date:                10/01/2010
  License Plate State:               TX                      Previous License Plate:            02FNL8
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     852 BEAVER CREEK
                                     DR
  Previous Owner Mailing Address:
                                     BURLESON, TX
                                     76028-7366

  Previous Owner:                    BRUTON, JEFF L.         DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             09/30/2010
  License Plate:                     02FNL8                  Plate Renewal Date:                10/01/2009
  License Plate State:               TX                      Previous License Plate:            02FNL8
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     852 BEAVER CREEK
                                     DR
  Previous Owner Mailing Address:
                                     BURLESON, TX
                                     76028-7366

  Previous Owner:                    BRUTON, JEFF L.         DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             09/30/2009
  License Plate:                     02FNL8                  Plate Renewal Date:                10/01/2008
  License Plate State:               TX                      Previous License Plate:            02FNL8
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     852 BEAVER CREEK
                                     DR
  Previous Owner Mailing Address:
                                     BURLESON, TX
                                     76028-7366

  Previous Owner:                    LEVENS, JOE             DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             09/30/2008
  License Plate:                     57HDH5                  Plate Renewal Date:                10/01/2007
  License Plate State:               TX                      Previous License Plate:            6KZX08
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     2109 N RIVERSIDE
                                     DR
  Previous Owner Mailing Address:
                                     FORT WORTH, TX
                                     76111-2804

  Previous Owner:                    LEVENS, BETTY           DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             09/30/2008
  License Plate:                                             Plate Renewal Date:                10/01/2007
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     2109 N RIVERSIDE
                                     DR
  Previous Owner Mailing Address:
                                     FORT WORTH, TX
                                     76111-2804

  Previous Owner:                    BRUTON, JEFF L.         DOB:


Page 144 of 192                                                                                        Kapitus_000151
                                            KAPITUS EX. 13 - 151
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 152 of 540
  Title Transfer Date:               06/06/2008              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     852 BEAVER CREEK
                                     DR
  Previous Owner Mailing Address:
                                     BURLESON, TX
                                     76028-7366

  Previous Owner:                    LEVENS, BETTY           DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             09/30/2007
  License Plate:                     6KZX08                  Plate Renewal Date:                10/01/2006
  License Plate State:               TX                      Previous License Plate:            6KZX08
  Plate Type:                        PRIVATE                 Previous License Plate State:      TX
                                     2109 N RIVERSIDE
                                     DR
  Previous Owner Mailing Address:
                                     FORT WORTH, TX
                                     76111-2804

  Previous Owner:                    LEVENS, JOE             DOB:
  Title Transfer Date:               UNKNOWN                 Plate Expiration Date:             09/30/2007
  License Plate:                                             Plate Renewal Date:                10/01/2006
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     2109 N RIVERSIDE
                                     DR
  Previous Owner Mailing Address:
                                     FORT WORTH, TX
                                     76111-2804

  Previous Owner:                    LEVENS, BETTY           DOB:
  Title Transfer Date:               11/13/2001              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     2109 N RIVERSIDE
                                     DR
  Previous Owner Mailing Address:
                                     FORT WORTH, TX
                                     76111-2804

  Previous Owner:                    LEVENS, JOE             DOB:
  Title Transfer Date:               11/13/2001              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     2109 N RIVERSIDE
                                     DR
  Previous Owner Mailing Address:
                                     FORT WORTH, TX
                                     76111-2804

  Title Transfer Date:               11/13/2001              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:

Page 145 of 192                                                                                        Kapitus_000152
                                            KAPITUS EX. 13 - 152
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 153 of 540

                                     PO BOX 105704
  Previous Owner Mailing Address:    ATLANTA, GA
                                     30348-5704

  Title Transfer Date:               11/13/2001              Plate Expiration Date:
  License Plate:                                             Plate Renewal Date:
  License Plate State:                                       Previous License Plate:
  Plate Type:                                                Previous License Plate State:
                                     6302 FAIRVIEW RD
  Previous Owner Mailing Address:    CHARLOTTE, NC
                                     28210-2264



Watercraft
STATE WATERCRAFT VESSELS


  4326BZ - TX
  Owner:                    DWAYNE BRIDGES
  Address:                  628 DESTIN DR
                            FORT WORTH, TX 76131

  Vessel Number:            4326BZ                     Registration Date:         07/31/2015
  Registration State:       TX                         Hull Number:               RGFS0499B797
  Propulsion Type:          STERN                      Hull Material:             FIBERGLASS
  Fuel Type:                GAS                        Vessel Service Type:       PLEASURE
  Make:                     MONTEREY                   Vessel Build Year:         1997
  Registered Length:        27


  8118BR - TX
  Owner:                    DWAYNE BRIDGES
  Address:                  628 DESTIN DR
                            FORT WORTH, TX 76131

  Vessel Number:            8118BR                     Registration Date:         09/30/2014
  Registration State:       TX                         Hull Number:               ZZN22631C404
  Propulsion Type:          PWC                        Hull Material:             FIBERGLASS
  Fuel Type:                GAS                        Vessel Service Type:       PLEASURE
  Make:                     BOMBARDIER                 Vessel Build Year:         2004
  Registered Length:        11


  6843BS - TX
  Owner:                    DWAYNE BRIDGES
  Address:                  628 DESTIN DR
                            FORT WORTH, TX 76131

  Vessel Number:            6843BS                     Registration Date:         09/30/2014
  Registration State:       TX                         Hull Number:               ZZN43811C404
  Propulsion Type:          PWC                        Hull Material:             FIBERGLASS
  Fuel Type:                GAS                        Vessel Service Type:       PLEASURE


Page 146 of 192                                                                                        Kapitus_000153
                                            KAPITUS EX. 13 - 153
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 154 of 540
  Make:                     BOMBARDIER                 Vessel Build Year:        2004
  Registered Length:        10


  8271HB - TX
  Owner:                    DWAYNE BRIDGES
  Address:                  628 DESTIN DR
                            FORT WORTH, TX 76131

  Vessel Number:            8271HB                     Registration Date:        07/31/2014
  Registration State:       TX                         Hull Number:              STRA43KPE393
  Propulsion Type:          OUTBOARD                   Hull Material:            ALUMINUM
  Fuel Type:                GAS                        Vessel Service Type:      PLEASURE
  Make:                     FISHER 240                 Vessel Build Year:        1993
  Registered Length:        24


  9315BL - TX
  Owner:                    DWAYNE BRIDGES
  Address:                  628 DESTIN DR
                            FORT WORTH, TX 76131

  Vessel Number:            9315BL                     Registration Date:        06/30/2014
  Registration State:       TX                         Hull Number:              BNZ4S126H091
  Propulsion Type:          OUTBOARD                   Hull Material:            FIBERGLASS
  Fuel Type:                GAS                        Vessel Service Type:      PLEASURE
  Make:                     STRATOS                    Vessel Build Year:        1991
  Registered Length:        17


  4326BZ - TX
  Owner:                    DWAYNE BRIDGES
  Address:                  628 DESTIN DR
                            FORT WORTH, TX 76131

  Vessel Number:            4326BZ                     Registration Date:        07/31/2013
  Registration State:       TX                         Hull Number:              RGFS0499B797
  Propulsion Type:          STERN                      Hull Material:            FIBERGLASS
  Fuel Type:                GAS                        Vessel Service Type:      PLEASURE
  Make:                     MONTEREY                   Vessel Build Year:        1997
  Registered Length:        27


  9315BL - TX
  Owner:                    DWAYNE BRIDGES
  Address:                  628 DESTIN DR
                            FORT WORTH, TX 76131

  Vessel Number:            9315BL                     Registration Date:        04/07/2013
  Registration State:       TX                         Hull Number:              BNZ4S126H091
  Propulsion Type:          OUTBOARD                   Hull Material:            FIBERGLASS
  Fuel Type:                GAS                        Vessel Service Type:      PLEASURE
  Make:                     STRATOS                    Vessel Build Year:        1991

Page 147 of 192                                                                                        Kapitus_000154
                                            KAPITUS EX. 13 - 154
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 155 of 540
  Registered Length:        17




Page 148 of 192                                                                                        Kapitus_000155
                                            KAPITUS EX. 13 - 155
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 156 of 540


Relatives
  BRIDGES, DANA
  Relative of:     BRIDGES, DWAYNE                      Degree of Separation:               1
  SSN:                                                  DOB:                                     1984



  * Match with one of the subject’s addresses
  Date Range                     Address                                             Phone #
  01/01/2004 - 03/31/2014        *
                                 17210 OLIVE DR
                                 LIVINGSTON LA 70754
                                 LIVINGSTON COUNTY




  BRIDGES, TERESA
  Relative of:  BRIDGES, DWAYNE                         Degree of Separation:               1
  SSN:                      -XXXX - issued in LA in 1984 DOB:                                    1977

  Possible AKA:    BRIDGES, TERESA F                    SSN:                         DOB:
  Possible AKA:    BENNETT, TERESA                      SSN:                         DOB:
  Possible AKA:    BRIDGES, TERESA F                    SSN:                         DOB:        1977
  Possible AKA:    BENNETT, TERESA F                    SSN:                         DOB:        1967
  Possible AKA:    BENNETT, TERESA F                    SSN:                         DOB:        1977
  Possible AKA:    BENNET, TERESA                       SSN:         -XXXX           DOB:        1977
  Possible AKA:    TERESA, BRIDGES                      SSN:                         DOB:
  Possible AKA:    BENNET, TERESA                       SSN:                         DOB:


  * Match with one of the subject’s addresses
  Date Range                     Address                                             Phone #
  01/01/2004 - 08/19/2015        28740 RED OAK RD                                    (225) 686-9608
                                 LIVINGSTON LA 70754
                                 LIVINGSTON COUNTY


  01/01/1988 - 05/31/2013        26250 CLYDE BLOUNT RD                               265-9260
                                 LIVINGSTON LA 70754
                                 LIVINGSTON COUNTY


  03/19/2013 - 03/19/2013        195 RUE SAINT JAMES
                                 VACHERIE LA 70090
                                 ST JOHN THE BAPTIST COUNTY


  07/12/2005 - 07/19/2005        17655 MELANCON RD
                                 LIVINGSTON LA 70754
                                 LIVINGSTON COUNTY


  05/20/1998 - 06/23/2003        613 S MONTGOMERY ST


Page 149 of 192                                                                                         Kapitus_000156
                                             KAPITUS EX. 13 - 156
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 157 of 540

                                 STARKVILLE MS 39759
                                 OKTIBBEHA COUNTY


  05/01/1999 - 01/23/2003        174 RUE SAINT JAMES                                 265-9260
                                 VACHERIE LA 70090
                                 ST JOHN THE BAPTIST COUNTY

  02/26/1997 - 01/23/2003        PO BOX 109                                          265-9260
                                 ACKERMAN MS 39735
                                 CHOCTAW COUNTY


  08/08/2002 - 08/08/2002        23600 JOE MAY RD
                                 DENHAM SPRINGS LA 70726
                                 LIVINGSTON COUNTY

  03/31/2002 - 03/31/2002        12533 COURSEY BLVD
                                 BATON ROUGE LA 70816
                                 EAST BATON ROUGE COUNTY


  01/17/2000 - 01/17/2000        *
                                 4131 BLOUNT RD
                                 BATON ROUGE LA 70807
                                 EAST BATON ROUGE COUNTY


  04/01/1998 - 07/11/1999        613 S MONTGOMERY ST 24                              265-9260
                                 STARKVILLE MS 39759
                                 OKTIBBEHA COUNTY

  02/26/1997 - 06/12/1997        109
                                 ACKERMAN MS 39735
                                 CHOCTAW COUNTY




  BRIDGES, DANA
  Relative of:     BRIDGES, DWAYNE                      Degree of Separation:               1
  SSN:                      -XXXX - issued in TN in 1974 DOB:                                   /1973

  Possible AKA:    JOHNSON, DANA M                      SSN:         -XXXX           DOB:
  Possible AKA:    JOHNSON, DANA M                      SSN:                         DOB:
  Possible AKA:    JOHN, D                              SSN:         -XXXX           DOB:
  Possible AKA:    BRIDGES, DANA M                      SSN:                         DOB:
  Possible AKA:    JOHN, D                              SSN:                         DOB:
  Possible AKA:    BRIDGES, DANA JO                     SSN:                         DOB:
  Possible AKA:    JOHNSON, D                           SSN:                         DOB:
  Possible AKA:    JOHNSON, D                           SSN:         -XXXX           DOB:
  Possible AKA:    JOYHNSON, DANA                       SSN:         -XXXX           DOB:        1973
  Possible AKA:    JOYHNSON, DANA                       SSN:                         DOB:
  Possible AKA:    ANTHONY, MARK                        SSN:                         DOB:


Page 150 of 192                                                                                         Kapitus_000157
                                              KAPITUS EX. 13 - 157
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 158 of 540
  Possible AKA:    JOHNSON, DANA                       SSN:                          DOB:
  Possible AKA:    BRIDGES, DANA MICHELLE              SSN:                          DOB:        1973


  * Match with one of the subject’s addresses
  Date Range                   Address                                               Phone #
  09/16/2010 - 11/05/2015      *
                               628 DESTIN DR
                               FORT WORTH TX 76131
                               TARRANT COUNTY

  05/14/2014 - 05/14/2014      628 BRIDGES
                               FORT WORTH TX 76131
                               TARRANT COUNTY

  12/29/2001 - 11/19/2013      4620 MISTY RIDGE DR
                               FORT WORTH TX 76137
                               TARRANT COUNTY


  08/14/2008 - 12/26/2012      *
                               17210 OLIVE DR
                               LIVINGSTON LA 70754
                               LIVINGSTON COUNTY


  01/01/2001 - 03/31/2011      9221 GREAT SMOKEY AVE
                               BATON ROUGE LA 70814
                               EAST BATON ROUGE COUNTY


  01/02/2007 - 07/16/2008      *
                               18273 TABONY LN
                               LIVINGSTON LA 70754
                               LIVINGSTON COUNTY

  02/18/2005 - 02/28/2007      *
                               10065 ADAM DR
                               DENHAM SPRINGS LA 70726
                               LIVINGSTON COUNTY


  05/08/2005 - 10/26/2006      *
                               30260 EDEN CHURCH RD
                               DENHAM SPRINGS LA 70726
                               LIVINGSTON COUNTY

  03/26/2005 - 03/26/2005      12529 COURSEY BLVD APT 1140
                               BATON ROUGE LA 70816
                               EAST BATON ROUGE COUNTY

  03/06/2005 - 03/06/2005      1709 DOVE LOOP RD APT 1408
                               GRAPEVINE TX 76051


Page 151 of 192                                                                                         Kapitus_000158
                                            KAPITUS EX. 13 - 158
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 159 of 540

                               TARRANT COUNTY

  02/17/2004 - 08/11/2004      *
                               31531 LINDER RD LOT 101
                               DENHAM SPRINGS LA 70726
                               LIVINGSTON COUNTY

  04/01/2003 - 04/01/2003      12525 COURSEY BL                                      (225) 755-2003
                               BATON ROUGE LA 70816                                  (225) 291-0134
                               EAST BATON ROUGE COUNTY

  02/02/1998 - 01/23/2003      310 SYCAMORE DR                                       275-6482
                               GREENVILLE SC 29607
                               GREENVILLE COUNTY


  06/30/1999 - 01/23/2003      12400 JEFFERSON HW 2215                               275-6482
                               BATON ROUGE LA 70816
                               EAST BATON ROUGE COUNTY

  03/01/2001 - 03/01/2001      3543 YORKFIELD DR
                               BATON ROUGE LA 70816
                               EAST BATON ROUGE COUNTY

  09/01/2000 - 09/01/2000      12400 JEFFERSON HW
                               BATON ROUGE LA 70816
                               EAST BATON ROUGE COUNTY

  11/01/1999 - 11/01/1999      16352 OLD HAMMOND HW                                  275-6482
                               BATON ROUGE LA 70816
                               EAST BATON ROUGE COUNTY

  04/24/1999 - 10/07/1999      *
                               16352 OLD HAMMOND HWY TRLR 63
                               BATON ROUGE LA 70816
                               EAST BATON ROUGE COUNTY


  05/12/1998 - 05/12/1998      *
                               200 CATHERINE ST
                               STARKVILLE MS 39759
                               OKTIBBEHA COUNTY


  10/13/1996 - 03/04/1998      12254 LA MARGIE AVE APT 149
                               BATON ROUGE LA 70815
                               EAST BATON ROUGE COUNTY


  05/30/1997 - 05/30/1997      47 POPLAR VALLEY LN
                               TRAVELERS REST SC 29690
                               GREENVILLE COUNTY



Page 152 of 192                                                                                        Kapitus_000159
                                            KAPITUS EX. 13 - 159
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 160 of 540

  05/03/1997 - 05/03/1997      417 POPLAR VLY
                               TRAVELERS REST NJ 07714



  01/01/1996 - 12/31/1996      12529 COURSEY BLVD
                               BATON ROUGE LA 70816
                               EAST BATON ROUGE COUNTY


  01/05/1996 - 01/20/1996      12254 LAMARGY
                               BATON ROUGE LA 70815
                               EAST BATON ROUGE COUNTY

  01/01/1993 - 12/31/1993      12254 LA MARGIE AVE
                               BATON ROUGE LA 70815
                               EAST BATON ROUGE COUNTY


  Not available                1045 GREEN RIDGE TER
                               SAGINAW TX 76179
                               TARRANT COUNTY




  BRIDGES, BARBARA A
  Relative of: BRIDGES, DWAYNE                         Degree of Separation:                1
                     XXXX - issued in OK
  SSN:                                                 DOB:                                      1954
               between 1969-1970

  Possible AKA:    BRIDGES, BARBARA                    SSN:         XXXX             DOB:
  Possible AKA:    BRIDGES, BARBARA E                  SSN:                          DOB:        1942
  Possible AKA:    BRIDGES, BARBARA                    SSN:                          DOB:
  Possible AKA:    BRIDGES, BARBARA                    SSN:         XXXX             DOB:        1954
  Possible AKA:    BRIDGES, BARBARA                    SSN:                          DOB:        1950
  Possible AKA:    ANN, BARBARA                        SSN:                          DOB:
  Possible AKA:    BARBARA, BRIDGES                    SSN:                          DOB:
  Possible AKA:    BRIDGES, BARBARA                    SSN:                          DOB:        1954
  Possible AKA:    BARBARA, DESIGNS INC                SSN:                          DOB:
  Possible AKA:    BARBARA, ANN BRIDGES                SSN:                          DOB:
  Possible AKA:    BRIDGES, BARBARA ANN                SSN:         XXXX             DOB:        1954
  Possible AKA:    BRIDGES, BARBARA ANN                SSN:                          DOB:
  Possible AKA:    BRIDGES, BARBARA ANN                SSN:                          DOB:        1954


  * Match with one of the subject’s addresses
  Date Range                   Address                                               Phone #
  01/01/1994 - 06/02/2015      16318 WILLOWPARK DR                                   (832) 928-0864
                               TOMBALL TX 77377                                      (832) 928-0201
                               HARRIS COUNTY                                         (832) 717-5910

  01/01/2005 - 05/20/2015      901 CHATEAU CT                                        (817) 847-9716
                               COLLEYVILLE TX 76034


Page 153 of 192                                                                                         Kapitus_000160
                                            KAPITUS EX. 13 - 160
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 161 of 540

                               TARRANT COUNTY

  01/01/2010 - 09/15/2012      9724 FLATIRON ST
                               FORT WORTH TX 76244
                               TARRANT COUNTY

  03/26/2009 - 03/26/2009      *
                               1150 BLUE MOUND RD W
                               HASLET TX 76052
                               TARRANT COUNTY

  01/01/1994 - 06/12/2006      4233 FAIRWAY CROSSING DR                              255-3138
                               FORT WORTH TX 76137                                   (817) 847-8064
                               TARRANT COUNTY

  09/30/2005 - 09/30/2005      4233 FAIR WAY APT CROSS
                               NAVAL AIR STATION JRB TX 76127
                               TARRANT COUNTY

  01/01/1989 - 01/23/2003      2102 CLUB RD
                               DUNCAN OK 73533
                               STEPHENS COUNTY

  01/01/1993 - 01/23/2003      420 FOWLER
                               DUNCAN OK 73533
                               STEPHENS COUNTY

  03/27/1998 - 12/30/2001      4233 FAIR WAY CROSSIN
                               FORT WORTH TX 76137
                               TARRANT COUNTY

  10/24/1994 - 12/12/1994      4233 FAIRFAX ST
                               FORT WORTH TX 76116
                               TARRANT COUNTY


  08/01/1986 - 05/01/1993      2118 WESTBRIAR RD
                               DUNCAN OK 73533
                               STEPHENS COUNTY

  01/01/1992 - 12/31/1992      PO BOX 1321
                               DUNCAN OK 73534
                               STEPHENS COUNTY


  Not available                3001 SURREY WOOD
                               DUNCAN OK 73533
                               STEPHENS COUNTY

  Not available                16318 WILLOWPARK DR
                               TOMBALL TX 77377


Page 154 of 192                                                                                        Kapitus_000161
                                            KAPITUS EX. 13 - 161
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A        Page 162 of 540



  Not available
                               FORT WORTH TX 76134
                               TARRANT COUNTY

  Not available
                                   TX 76100



  Not available
                                   OK



  Not available                2102 N COUNTRY CLUB RD
                               DUNCAN OK 73533
                               STEPHENS COUNTY




  BRIDGES, KELLY J
  Relative of:                 BRIDGES, DWAYNE                    Degree of Separation:                 1
                                      XXXX - issued in LA between
  SSN:                                                            DOB:                                         1941
                               1957-1959
  Death Date:                           2007                       ** ALERT ** A death claim for this SSN was filed in
                                                                   02/07/2007

  Possible AKA:    BRIDGES, KELLY                      SSN:                          DOB:


  * Match with one of the subject’s addresses
  Date Range                   Address                                               Phone #
  12/02/2003 - 12/04/2006      1955 NW CALIFORNIA RD                                 (225) 774-0371
                               BROOKHAVEN MS 39601                                   (601) 823-9234
                               LINCOLN COUNTY

  06/07/1994 - 01/23/2003      3434 WINGFIELD AV                                     774-0371
                               BAKER LA 70714
                               EAST BATON ROUGE COUNTY


  07/01/1985 - 01/23/2003      6203 MOLINO                                           774-0371
                               BAKER LA 70714
                               EAST BATON ROUGE COUNTY


  07/08/1993 - 01/23/2003      *                                                     774-0371
                               4131 BLOUNT
                               BATON ROUGE LA 70807
                               EAST BATON ROUGE COUNTY


  Not available


Page 155 of 192                                                                                             Kapitus_000162
                                               KAPITUS EX. 13 - 162
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 163 of 540

                                   MS




  BRIDGES, NICOLE
  Relative of:  BRIDGES, DWAYNE                  Degree of Separation:                      1
  SSN:               XXXX - issued in LA in 1989 DOB:                                            1974

  Possible AKA:    BRIDGES, NICOLE D                   SSN:                          DOB:
  Possible AKA:    BRIDGES, N                          SSN:                          DOB:
  Possible AKA:    BRIDGES, N                          SSN:         XXXX             DOB         1974
  Possible AKA:    BRIDGES, NICOLE D                   SSN:                          DOB:        1974
  Possible AKA:    MARTIN, NICOLE                      SSN:                          DOB:        1954
  Possible AKA:    SCOTT, NICOLE D                     SSN:                          DOB:
  Possible AKA:    BOURG, NIKKI D                      SSN:                          DOB:
  Possible AKA:    MARTIN, NICOLE                      SSN:                          DOB:
  Possible AKA:    BOURGEOIS, NIKKI D                  SSN:                          DOB:
  Possible AKA:    NICOLE, BRIDGES                     SSN:                          DOB:


  * Match with one of the subject’s addresses
  Date Range                   Address                                               Phone #
  01/01/2003 - 08/31/2015      *                                                     (225) 698-3737
                               18273 TABONY LN                                       (225) 686-9338
                               LIVINGSTON LA 70754
                               LIVINGSTON COUNTY

  07/25/2006 - 09/12/2006      18273 TALBANY LN
                               LIVINGSTON LA 70754
                               LIVINGSTON COUNTY

  01/13/2002 - 09/11/2004      *                                                     (225) 686-9338
                               17650 MELANCON RD
                               LIVINGSTON LA 70754
                               LIVINGSTON COUNTY

  04/22/1998 - 01/23/2003      2507 MCHUGH RD
                               BAKER LA 70714
                               EAST BATON ROUGE COUNTY


  07/29/1995 - 01/23/2003      *
                               4131 BLOUNT RD
                               BATON ROUGE LA 70807
                               EAST BATON ROUGE COUNTY


  08/01/2000 - 01/23/2003      1011 PATRICIA ST
                               BAKER LA 70714
                               EAST BATON ROUGE COUNTY


Page 156 of 192                                                                                         Kapitus_000163
                                            KAPITUS EX. 13 - 163
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 164 of 540


  01/01/1995 - 01/23/2003      15430 TOM DREHR RD
                               PRIDE LA 70770
                               EAST BATON ROUGE COUNTY

  01/01/1995 - 11/13/2000      14607 FOREST GROVE AVE APT D
                               BATON ROUGE LA 70818
                               EAST BATON ROUGE COUNTY

  10/01/1997 - 11/05/1997      4711 CHURCH ST # A
                               ZACHARY LA 70791
                               EAST BATON ROUGE COUNTY


  09/20/1994 - 09/20/1994      9477 LANSDOWNE RD TRLR 80
                               BATON ROUGE LA 70818
                               EAST BATON ROUGE COUNTY

  Not available                BELLFORT DR
                               BATON ROUGE LA 70815
                               EAST BATON ROUGE COUNTY

  Not available                FOREST GROVE AVE
                               BATON ROUGE LA 70818
                               EAST BATON ROUGE COUNTY


  Not available                OLD HAMMOND HWY
                               BATON ROUGE LA 70816
                               EAST BATON ROUGE COUNTY


  Not available                MCHUGH RD
                               BAKER LA 70714
                               EAST BATON ROUGE COUNTY




  BRIDGES, JASON K
  Relative of:  BRIDGES, DWAYNE                        Degree of Separation:                1
                          XXXX - issued in LA between
  SSN:                                                DOB:                                       1972
                   1973-1974

  Possible AKA:    BRIDGES, JASON                      SSN:                          DOB:


  * Match with one of the subject’s addresses
  Date Range                   Address                                               Phone #
  01/01/2015 - 06/30/2015                                                            (225) 771-8724
                               BATON ROUGE LA 70807
                               EAST BATON ROUGE


  01/01/1996 - 04/30/2014      1955 NW CALIFORNIA RD                                 (601) 823-9234


Page 157 of 192                                                                                         Kapitus_000164
                                            KAPITUS EX. 13 - 164
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 165 of 540

                               BROOKHAVEN MS 39601
                               LINCOLN COUNTY


  01/01/1993 - 01/23/2003      3434 WINGFIELD AV                                     774-0371
                               BAKER LA 70714
                               EAST BATON ROUGE COUNTY

  01/01/1993 - 01/23/2003      *                                                     774-0371
                               4131 BLOUNT RD
                               BATON ROUGE LA 70807
                               EAST BATON ROUGE COUNTY


  11/13/2000 - 11/13/2000      PO BOX 299                                            774-0371
                               BROOKHAVEN MS 39602
                               LINCOLN COUNTY


  02/23/1991 - 12/31/1992      6203 MOLINO DR
                               BAKER LA 70714
                               EAST BATON ROUGE COUNTY


  Not available                WINGFIELD AVE
                               BAKER LA 70714
                               EAST BATON ROUGE COUNTY


  Not available                POB 299
                               BROOKHAVEN MS 39601
                               LINCOLN COUNTY




  BRIDGES, FAYE
  Relative of:     BRIDGES, DWAYNE                     Degree of Separation:               1
  SSN:                                                 DOB:




  * Match with one of the subject’s addresses
  Date Range                   Address                                               Phone #
  01/08/2005 - 01/08/2005      195 RUE SAINT JAMES
                               VACHERIE LA 70090
                               ST JOHN THE BAPTIST COUNTY


  10/01/1999 - 01/23/2003      *
                               4131 BLOUNT RD
                               BATON ROUGE LA 70807
                               EAST BATON ROUGE COUNTY

  05/01/2001 - 01/23/2003      4620 MISTY RIDGE DR
                               FORT WORTH TX 76137
                               TARRANT COUNTY

Page 158 of 192                                                                                        Kapitus_000165
                                            KAPITUS EX. 13 - 165
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 166 of 540


  04/12/2002 - 04/12/2002      5510 LABY LN
                               BAKER LA 70714
                               EAST BATON ROUGE COUNTY




  BRIDGES, NELLIE
  Relative of:                 BRIDGES, DWAYNE                    Degree of Separation:                1
                                      XXXX - issued in LA between
  SSN:                                                            DOB:                                       1921
                               1934-1951
  Death Date:                       2008                          ** ALERT ** A death claim for this SSN was filed in
                                                                  11/20/2008

  Possible AKA:    BRIDGES, NELLIE D                   SSN:         XXXX             DOB:         1921
  Possible AKA:    BRIDGES, NELIE D                    SSN:                          DOB:
  Possible AKA:    BRIDGES, NELLIE D                   SSN:                          DOB:


  * Match with one of the subject’s addresses
  Date Range                   Address                                               Phone #
  02/01/2008 - 02/01/2008      189 RUE SAINT JAMES                                   (225) 265-4307
                               VACHERIE LA 70090
                               ST JOHN THE BAPTIST COUNTY

  11/17/2003 - 01/08/2005      195 RUE SAINT JAMES
                               VACHERIE LA 70090
                               ST JOHN THE BAPTIST COUNTY

  01/20/2002 - 03/26/2004      5510 LAVEY LN 89                                      (225) 774-7480
                               BAKER LA 70714
                               EAST BATON ROUGE COUNTY

  11/19/2003 - 11/19/2003      189 RUF SAINT JAMES
                               VACHERIE LA 70090
                               ST JOHN THE BAPTIST COUNTY


  06/18/1994 - 01/23/2003      3434 WINGFIELD AV                                     775-2584
                               BAKER LA 70714
                               EAST BATON ROUGE COUNTY


  03/03/1990 - 01/23/2003      *                                                     775-2584
                               4131 BLOUNT RD
                               BATON ROUGE LA 70807
                               EAST BATON ROUGE COUNTY


  02/01/2001 - 01/23/2003      4620 MISTY RIDGE DR                                   775-2584
                               FORT WORTH TX 76137
                               TARRANT COUNTY



Page 159 of 192                                                                                           Kapitus_000166
                                            KAPITUS EX. 13 - 166
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 167 of 540

  04/12/2002 - 04/12/2002       5510 LABY LN
                                BAKER LA 70714
                                EAST BATON ROUGE COUNTY

  02/14/2002 - 02/14/2002       5510 LADY LN
                                LOUISIANA LA 70414



  07/01/1994 - 07/01/1994       4173 BLOUNT RD                                       775-2584
                                BATON ROUGE LA 70807
                                EAST BATON ROUGE COUNTY




  BRIDGES, PAUL L
  Relative of:  BRIDGES, DWAYNE                        Degree of Separation:                1
  SSN:                      XXXX - issued in LA in 1965 DOB:                                     1948

  Possible AKA:    BRIDGES, PAUL                       SSN:                          DOB:
  Possible AKA:    BRIDGES, PAUL                       SSN:         XXXX             DOB:
  Possible AKA:    BRIDGES, PAUL NULL                  SSN:         XXXX             DOB:        1948
  Possible AKA:    BRIDGES, PAUL NULL                  SSN:                          DOB:
  Possible AKA:    PAUL, BRIDGES                       SSN:                          DOB:


  * Match with one of the subject’s addresses
  Date Range                    Address                                              Phone #
  09/12/2014 - 03/31/2015       1045 GREEN RIDGE TER                                 (225) 686-0621
                                SAGINAW TX 76179
                                TARRANT COUNTY

  01/01/1996 - 03/11/2015       17655 MELANCON RD                                    (225) 686-0621
                                LIVINGSTON LA 70754                                  265-9260
                                LIVINGSTON COUNTY

  11/26/2007 - 11/24/2008       *
                                10065 ADAM DR
                                DENHAM SPRINGS LA 70726
                                LIVINGSTON COUNTY


  11/16/2003 - 11/16/2003       RR 7 618
                                BATON ROUGE LA 70807
                                EAST BATON ROUGE COUNTY


  07/18/2001 - 01/24/2003       RR 1 109                                             265-9260
                                ACKERMAN MS 39735
                                CHOCTAW COUNTY


  05/22/1998 - 01/24/2003       613 MONTGOMERY ST 24                                 265-9260
                                STARKVILLE MS 39759


Page 160 of 192                                                                                         Kapitus_000167
                                            KAPITUS EX. 13 - 167
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 168 of 540

                               OKTIBBEHA COUNTY

  06/20/1998 - 01/24/2003      *                                                     265-9260
                               4131 BLOUNT RD
                               BATON ROUGE LA 70807
                               EAST BATON ROUGE COUNTY


  11/13/2000 - 01/23/2003      RR 1 82X                                              265-9260
                               ACKERMAN MS 39735
                               CHOCTAW COUNTY


  04/10/1999 - 01/23/2003      174 RUE SAINT JAMES                                   265-9260
                               VACHERIE LA 70090
                               ST JOHN THE BAPTIST COUNTY


  08/06/2002 - 08/08/2002      23600 JOE MAY RD
                               DENHAM SPRINGS LA 70726
                               LIVINGSTON COUNTY

  08/06/2002 - 08/06/2002      1426 DELPLAZA DR APT B
                               BATON ROUGE LA 70815
                               EAST BATON ROUGE COUNTY

  07/18/2001 - 07/18/2001      RR 1 BOX 109
                               ACKERMAN MS 39735
                               CHOCTAW COUNTY

  11/13/2000 - 07/13/2001      RR 1 BOX 82X                                          265-9260
                               ACKERMAN MS 39735
                               CHOCTAW COUNTY

  07/13/2001 - 07/13/2001      RR 7 BOX 618
                               BATON ROUGE LA 70807
                               EAST BATON ROUGE COUNTY


  01/09/2001 - 01/09/2001      PO BOX 1336
                               ACKERMAN MS 39735
                               CHOCTAW COUNTY


  01/09/2001 - 01/09/2001      1336
                               ACKERMAN MS 39735
                               CHOCTAW COUNTY

  11/13/2000 - 11/13/2000      166 B RUE JAMES ST                                    265-9260
                               VACHERIE LA 70090
                               ST JOHN THE BAPTIST COUNTY


  08/12/1999 - 04/07/2000      111 E CHURCH ST
                               ACKERMAN MS 39735


Page 161 of 192                                                                                        Kapitus_000168
                                            KAPITUS EX. 13 - 168
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 169 of 540

                               CHOCTAW COUNTY

  12/15/1989 - 12/18/1996      RR1 BOX 82X
                               ACKERMAN MS 39735
                               CHOCTAW COUNTY

  12/15/1989 - 12/18/1996      82X RR1
                               ACKERMAN MS 39735
                               CHOCTAW COUNTY

  01/01/1995 - 12/31/1995      MS HY 15
                               ACKERMAN MS 39735
                               CHOCTAW COUNTY

  08/14/1995 - 08/14/1995      MS HWY 15 W
                               ACKERMAN MS 39735
                               CHOCTAW COUNTY

  01/01/1991 - 12/31/1991      RR 1 POB 228A
                               ROSELAND LA 70456
                               TANGIPAHOA COUNTY

  01/01/1988 - 12/31/1988      14530 MS HIGHWAY 15
                               ACKERMAN MS 39735
                               CHOCTAW COUNTY

  Not available                FISHERMANS LNDG
                               BATON ROUGE LA 70821
                               EAST BATON ROUGE COUNTY

  Not available                RR07 BOX 618
                               BATON ROUGE LA 70807
                               EAST BATON ROUGE COUNTY


  Not available                618 RR 7 BOX
                               BATON ROUGE LA 70807
                               EAST BATON ROUGE COUNTY

  Not available                RUE SAINT JAMES
                               VACHERIE LA 70090
                               SAINT JAMES COUNTY

  Not available                RR 1 POB 828
                               ACKERMAN MS 39735
                               CHOCTAW COUNTY




  BRIDGES, BRYAN K.


Page 162 of 192                                                                                        Kapitus_000169
                                            KAPITUS EX. 13 - 169
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 170 of 540
  Relative of:     BRIDGES, DWAYNE                    Degree of Separation:                 1
                          XXXX - issued in LA between
  SSN:                                                DOB:                                       1973
                   1979-1980

  Possible AKA:    BRIDGES, BRYAN K                    SSN:         XXXX             DOB:        1973
  Possible AKA:    BRIDGES, BRYAN K                    SSN:                          DOB:
  Possible AKA:    BRIDGES, B                          SSN:                          DOB:
  Possible AKA:    BRIDGES, BRYAN                      SSN:                          DOB:
  Possible AKA:    BRIDGES, B                          SSN:                          DOB:        1973
  Possible AKA:    BRIDGES, BRYAN K                    SSN:                          DOB:        1973
  Possible AKA:    BRYAN, BRIDGES                      SSN:         XXXX             DOB:        1973
  Possible AKA:    BRYAN, BRIDGES                      SSN:                          DOB:
  Possible AKA:    BRIDGES, BRIAN K                    SSN:                          DOB:
  Possible AKA:    BRIDGES, BYRON                      SSN:                          DOB:
  Possible AKA:    BYRON, BRIDGES PA                   SSN:                          DOB:
  Possible AKA:    BYRON, K BRIDGES                    SSN:                          DOB:


  * Match with one of the subject’s addresses
  Date Range                   Address                                               Phone #
  01/01/2003 - 08/31/2015      *                                                     (225) 698-3737
                               18273 TABONY LN
                               LIVINGSTON LA 70754
                               LIVINGSTON COUNTY

  07/25/2006 - 09/12/2006      18273 TALBANY LN
                               LIVINGSTON LA 70754
                               LIVINGSTON COUNTY

  03/10/2005 - 05/19/2005      17650 MELEMON
                               LIVINGSTON LA 70754
                               LIVINGSTON COUNTY


  02/06/2002 - 02/10/2005      *
                               17650 MELANCON RD
                               LIVINGSTON LA 70754
                               LIVINGSTON COUNTY


  01/24/2003 - 01/24/2003      RR 1 82X                                              658-9250
                               ACKERMAN MS 39735
                               CHOCTAW COUNTY

  04/22/1998 - 01/23/2003      2507 MCHUGH RD                                        658-9250
                               BAKER LA 70714
                               EAST BATON ROUGE COUNTY


  01/01/1995 - 01/23/2003      9477 LANSDOWNE RD 80                                  658-9250
                               BATON ROUGE LA 70818
                               EAST BATON ROUGE COUNTY



Page 163 of 192                                                                                         Kapitus_000170
                                            KAPITUS EX. 13 - 170
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 171 of 540

  06/03/1998 - 01/23/2003      4613 GREENWOOD LN                                     658-9250
                               BAKER LA 70714
                               EAST BATON ROUGE COUNTY


  10/05/1999 - 01/23/2003      1011 PATRICIA ST                                      658-9250
                               BAKER LA 70714
                               EAST BATON ROUGE COUNTY


  07/13/1995 - 01/23/2003      15430 TOM DREHR RD                                    658-9250
                               PRIDE LA 70770
                               EAST BATON ROUGE COUNTY

  07/18/2001 - 01/23/2003      PO BOX 3                                              658-9250
                               ACKERMAN MS 39735
                               CHOCTAW COUNTY


  01/16/2003 - 01/16/2003      17650 17650 MELANCON
                               LIVINGSTON LA 70754
                               LIVINGSTON COUNTY


  01/18/2002 - 01/18/2002      5613 GROOM RD
                               BAKER LA 70714
                               EAST BATON ROUGE COUNTY


  11/05/1997 - 07/18/2001      4711 CHURCH ST # A                                    658-9250
                               ZACHARY LA 70791
                               EAST BATON ROUGE COUNTY


  07/18/2001 - 07/18/2001      14607 FOREST GROVE AV                                 658-9250
                               BATON ROUGE LA 70818
                               EAST BATON ROUGE COUNTY

  07/17/2001 - 07/17/2001      15090 PRIDE PRT
                               PRIDE LA 70770
                               EAST BATON ROUGE COUNTY


  07/13/2001 - 07/13/2001      RR 1 BOX 82X
                               ACKERMAN MS 39735
                               CHOCTAW COUNTY


  11/07/1998 - 04/16/2001      15090 PRIDE PORT HUDSON RD
                               PRIDE LA 70770
                               EAST BATON ROUGE COUNTY


  11/13/2000 - 11/13/2000      15040 PRIDE PORT HUDSON RD                            658-9250
                               PRIDE LA 70770
                               EAST BATON ROUGE COUNTY


  10/24/1995 - 11/07/1997      14607 FOREST GROVE AVE APT D



Page 164 of 192                                                                                        Kapitus_000171
                                            KAPITUS EX. 13 - 171
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 172 of 540

                               BATON ROUGE LA 70818
                               EAST BATON ROUGE COUNTY


  10/18/1997 - 10/18/1997      20A RR3
                               ACKERMAN MS 39735
                               CHOCTAW COUNTY

  10/18/1997 - 10/18/1997      RR3 BOX 20
                               ACKERMAN MS 39735
                               CHOCTAW COUNTY

  01/01/1995 - 12/31/1995      14607 FOREST GR D
                               BATON ROUGE LA 70818
                               EAST BATON ROUGE COUNTY




  BRIDGES, DANA
  Relative of:     BRIDGES, DWAYNE                     Degree of Separation:               1
  SSN:                                                 DOB:




  * Match with one of the subject’s addresses
  Date Range                   Address                                               Phone #
  04/06/2010 - 04/06/2010      *
                               11238 BLUE JAY LN
                               DENHAM SPRINGS LA 70726
                               LIVINGSTON COUNTY




  BRIDGS, M D
  Relative of:     BRIDGS, DWAYNE                      Degree of Separation:               1
  SSN:                                                 DOB:




  * Match with one of the subject’s addresses
  Date Range                   Address                                               Phone #
  03/17/2010 - 04/08/2010      *                                                     (682) 224-5457
                               628 DESTIN DR
                               FORT WORTH TX 76131
                               TARRANT COUNTY




  BRIDGES, DWAYNE P
  Relative of: BRIDGES, DWAYNE                         Degree of Separation:               1
  SSN:                                                 DOB:


Page 165 of 192                                                                                        Kapitus_000172
                                            KAPITUS EX. 13 - 172
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 173 of 540



  * Match with one of the subject’s addresses
  Date Range                   Address                                               Phone #
  01/01/2014 - 02/28/2014      1150 BLUE MOUND RD W STE 103                          (817) 439-3599
                               HASLET TX 76052
                               TARRANT COUNTY


  09/14/2012 - 09/17/2012      1150 BLUE MOUND RD W 103                              (817) 439-3599
                               HASLET TX 76052
                               TARRANT COUNTY


  09/14/2012 - 09/17/2012      *                                                     (817) 821-6608
                               1150 BLUE MOUND RD W
                               HASLET TX 76052
                               TARRANT COUNTY


  Not available                *
                               628 DESTIN DR
                               FORT WORTH TX 76131
                               TARRANT COUNTY

  Not available
                                 76131
                               TARRANT COUNTY




  BRIDGES, NEWBORN FEMALE
  Relative of: BRIDGES, DWAYNE                         Degree of Separation:               1
  SSN:                                                 DOB:




  * Match with one of the subject’s addresses
  Date Range                   Address                                               Phone #
  07/03/2014 - 07/03/2014      *                                                     (682) 224-5457
                               628 DESTIN DR
                               FORT WORTH TX 76131
                               TARRANT COUNTY




  BRIDGES, BRANDI
  Relative of: BRIDGES, DWAYNE                         Degree of Separation:               1
  SSN:                                                 DOB:




  * Match with one of the subject’s addresses

Page 166 of 192                                                                                        Kapitus_000173
                                            KAPITUS EX. 13 - 173
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 174 of 540
  Date Range                   Address                                               Phone #
  06/28/2014 - 11/15/2015      *                                                     (225) 698-3737
                               18273 TABONY LN
                               LIVINGSTON LA 70754
                               LIVINGSTON COUNTY




  BRIDGES, DWAYNE
  Relative of: BRIDGES, DWAYNE                    Degree of Separation:                     1
                      XXXX - issued in LA between
  SSN:                                            DOB:                                           1972
               1979-1980

  Possible AKA:    BRIDGES, DWAYNE P                   SSN:                          DOB:
  Possible AKA:    BRIDGS, DWAYNE P                    SSN:                          DOB:
  Possible AKA:    BRIDGS, DWAYNE                      SSN:                          DOB:
  Possible AKA:    BRIDGES, DWYANE                     SSN:                          DOB:
  Possible AKA:    BRIDGES, DWAYNE P                   SSN:         XXXX             DOB:        1972
  Possible AKA:    BRIDGS, DWAYNE                      SSN:                          DOB:        1972
  Possible AKA:    BRIDGES, DWAYNE PAUL                SSN:                          DOB:        1972


  * Match with one of the subject’s addresses
  Date Range                   Address                                               Phone #
  01/01/1991 - 09/20/2015      *                                                     (682) 224-5457
                               628 DESTIN DR
                               FORT WORTH TX 76131
                               TARRANT COUNTY

  01/01/2014 - 06/30/2014      *
                               1045 GREEN RIDGE TER
                               SAGINAW TX 76179
                               TARRANT COUNTY


  01/01/2001 - 11/30/2013      9221 GREAT SMOKEY AV                                  285-3809
                               BATON ROUGE LA 70814
                               EAST BATON ROUGE COUNTY


  12/04/2007 - 12/04/2007      *                                                     285-3809
                               17210 OLIVE DR
                               LIVINGSTON LA 70754
                               LIVINGSTON COUNTY


  08/07/2006 - 08/07/2006      *                                                     (225) 686-0684
                               17650 MELANCON RD
                               LIVINGSTON LA 70754
                               LIVINGSTON COUNTY


  06/01/1998 - 01/23/2003      254 DILLON DR B                                       (225) 686-0684


Page 167 of 192                                                                                         Kapitus_000174
                                            KAPITUS EX. 13 - 174
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 175 of 540

                               DYERSBURG TN 38024                                    285-3809
                               DYER COUNTY


  07/18/2001 - 01/23/2003      *                                                     (225) 686-0684
                               39479 HIGHWAY 42                                      285-3809
                               PRAIRIEVILLE LA 70769
                               ASCENSION COUNTY

  11/13/2000 - 01/23/2003      310 SYCAMORE DR                                       285-3809
                               GREENVILLE SC 29607
                               GREENVILLE COUNTY


  09/01/1998 - 01/23/2003      *                                                     (225) 686-0684
                               4131 BLOUNT RD                                        285-3809
                               BATON ROUGE LA 70807
                               EAST BATON ROUGE COUNTY

  07/18/2001 - 01/23/2003      PO BOX 1                                              (225) 686-0684
                               ACKERMAN MS 39735                                     285-3809
                               CHOCTAW COUNTY


  12/01/1999 - 08/01/2001      16352 OLD HAMMOND HW                                  285-3809
                               BATON ROUGE LA 70816
                               EAST BATON ROUGE COUNTY


  05/01/1998 - 05/01/1998      *                                                     285-3809
                               200 CATHERINE ST
                               STARKVILLE MS 39759
                               OKTIBBEHA COUNTY

  Not available
                                 76131
                               TARRANT COUNTY




  BRIDGES, CAMERON DAKOTA
  Relative of: BRIDGES, DWAYNE                   Degree of Separation:                     1
  SSN:               XXXX - issued in TN in 1974 DOB:                                            1987



  * Match with one of the subject’s addresses
  Date Range                   Address                                               Phone #
  01/16/2014 - 01/16/2014      *                                                     (682) 224-5457
                               628 DESTIN DR
                               FORT WORTH TX 76131
                               TARRANT COUNTY



Page 168 of 192                                                                                         Kapitus_000175
                                            KAPITUS EX. 13 - 175
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 176 of 540



  BRIDGES, VALERIE
  Relative of:  BRIDGES, DWAYNE                        Degree of Separation:               1
  SSN:                                                 DOB:                                      1995



  * Match with one of the subject’s addresses
  Date Range                   Address                                               Phone #
  01/01/2003 - 06/30/2015      *                                                     (225) 698-3737
                               18273 TABONY LN
                               LIVINGSTON LA 70754
                               LIVINGSTON COUNTY




  BRIDGES, VALERIE
  Relative of:  BRIDGES, DWAYNE                        Degree of Separation:               1
  SSN:                                                 DOB:                                      1995



  * Match with one of the subject’s addresses
  Date Range                   Address                                               Phone #
  01/01/2003 - 06/30/2015      *                                                     (225) 698-3737
                               18273 TABONY LN
                               LIVINGSTON LA 70754
                               LIVINGSTON COUNTY




  BRIDGES, ASHLYN FAITH
  Relative of:  BRIDGES, DWAYNE                        Degree of Separation:               1
  SSN:                                                 DOB:




  * Match with one of the subject’s addresses
  Date Range                   Address                                               Phone #
  03/30/2015 - 03/30/2015      *                                                     (682) 224-5457
                               628 DESTIN DR
                               FORT WORTH TX 76131
                               TARRANT COUNTY



Associates


  628 DESTIN DRIVE FORT WORTH, TX 76131
  TARRANT COUNTY


Page 169 of 192                                                                                         Kapitus_000176
                                            KAPITUS EX. 13 - 176
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 177 of 540


  1. BRIDGS, M D
  SSN:


  Date Range                         Address                                         Phone #
  03/17/2010 - 04/08/2010            628 DESTIN DR                                   (682) 224-5457
                                     FORT WORTH, TX 76131
                                     TARRANT COUNTY



  2. IRVIN, AMY
  SSN:


  Date Range                         Address                                         Phone #
  07/06/2010 - 07/09/2010            628 DESTIN DR
                                     FORT WORTH, TX 76131
                                     TARRANT COUNTY

  Not available                      PO BOX 2926
                                     GRAPEVINE, TX 76099
                                     TARRANT COUNTY



  3. WEST, CODY CHRISTOPHER
  SSN:
  DOB (Age):                    1989 (26)

  Date Range                         Address                                         Phone #
  12/30/2010 - 12/30/2010            628 DESTIN DR
                                     FORT WORTH, TX 76131
                                     TARRANT COUNTY



  4. GREEN, BRAD S
  SSN:
  DOB (Age):                    1960 (55)

  Date Range                         Address                                         Phone #
  05/01/2013 - 06/12/2013            628 DESTIN DR
                                     FORT WORTH, TX 76131
                                     TARRANT COUNTY



  5. JOHNSON, BETTY
  SSN:                           XXXX - issued in TN in 1963
  DOB (Age):                    1947 (68)

  Date Range                         Address                                         Phone #
  08/04/2010 - 05/12/2015            628 DESTIN DR
                                     FORT WORTH, TX 76131


Page 170 of 192                                                                                        Kapitus_000177
                                            KAPITUS EX. 13 - 177
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 178 of 540

                                       TARRANT COUNTY

  02/13/2013 - 11/10/2014              9705 FOX HILL DR                              (225) 667-4735
                                       FORT WORTH, TX 76131                          (225) 328-9842
                                       TARRANT COUNTY

  07/09/2013 - 07/09/2013              5521 PALMER BLVD
                                       SARASOTA, FL 34232
                                       SARASOTA COUNTY

  01/01/2002 - 05/31/2013              10065 ADAM DR                                 (225) 667-4735
                                       PORT VINCENT, LA 70726
                                       LIVINGSTON COUNTY


  03/26/2005 - 03/26/2005              16352 OLD HAMMOND HWY TRLR 63
                                       BATON ROUGE, LA 70816
                                       EAST BATON ROUGE COUNTY

  01/01/1994 - 01/23/2003              12254 LA MARGIE AV 149                        272-4647
                                       BATON ROUGE, LA 70815
                                       EAST BATON ROUGE COUNTY

  01/01/1991 - 12/31/1991              16352 OLD HAMMOND HWY TRLR 289
                                       BATON ROUGE, LA 70816
                                       EAST BATON ROUGE COUNTY

  Not available                        LA MARGIE AVE
                                       BATON ROUGE, LA 70815
                                       EAST BATON ROUGE COUNTY



  6. JOHNSON, BETTY JO
  SSN:
  DOB (Age):                      1947 (68)

  Date Range                           Address                                       Phone #
  08/04/2010 - 02/06/2013              628 DESTIN DR
                                       FORT WORTH, TX 76131
                                       TARRANT COUNTY



  7. MUSER, DAVID L
  SSN:                      497-86-XXXX - issued in MO between 1983-1984
  DOB (Age):                     /1983 (32)

  Date Range                           Address                                       Phone #
  07/14/2014 - 04/06/2015              4501 MANCHESTER AVE D
                                       SAINT LOUIS, MO 63110
                                       SAINT LOUIS CITY COUNTY



Page 171 of 192                                                                                        Kapitus_000178
                                              KAPITUS EX. 13 - 178
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 179 of 540

  02/24/2015 - 02/24/2015            6045 FYLER AVE
                                     SAINT LOUIS, MO 63139
                                     SAINT LOUIS CITY COUNTY

  06/05/2012 - 08/14/2014            4501D MANCHESTER AVE
                                     SAINT LOUIS, MO 63110
                                     SAINT LOUIS CITY COUNTY


  06/05/2012 - 08/14/2014            5617 EICHELBERGER ST
                                     SAINT LOUIS, MO 63109
                                     SAINT LOUIS CITY COUNTY

  02/21/2011 - 07/10/2013            1814 MOONSTONE DR
                                     SAINT LOUIS, MO 63146
                                     SAINT LOUIS COUNTY


  02/21/2011 - 07/18/2012            8701 PARMER LN                                  (817) 232-8493
                                     AUSTIN, TX 78729
                                     WILLIAMSON COUNTY


  06/01/2012 - 06/04/2012            4584 ARTHUR ST
                                     GARY, IN 46408
                                     LAKE COUNTY


  01/01/2000 - 05/05/2012            13003 TIGER LILY CT
                                     SAINT LOUIS, MO 63146
                                     SAINT LOUIS COUNTY


  11/01/2009 - 03/16/2012            263 COUNTRY MEADOW DR
                                     MANSFIELD, TX 76063
                                     TARRANT COUNTY

  02/01/2012 - 02/01/2012            8701 PARMER LN 14212
                                     AUSTIN, TX 78729



  02/21/2011 - 02/01/2012            4936 SIGMOND DR
                                     ARLINGTON, TX 76017
                                     TARRANT COUNTY


  07/27/2010 - 10/17/2011            8055 RALEIGH CT
                                     FORT WORTH, TX 76123
                                     TARRANT COUNTY


  02/15/2011 - 02/15/2011            PO BOX 2926
                                     GRAPEVINE, TX 76099
                                     TARRANT COUNTY


  11/21/2009 - 02/13/2010            PO BOX 1720



Page 172 of 192                                                                                        Kapitus_000179
                                            KAPITUS EX. 13 - 179
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 180 of 540

                                     MANSFIELD, TX 76063
                                     TARRANT COUNTY


  05/25/2009 - 05/25/2009            6950 CHASE RIDGE TRL APT 1126
                                     FORT WORTH, TX 76137
                                     TARRANT COUNTY

  06/11/2004 - 03/25/2009            628 DESTIN DR                                   (817) 232-8493
                                     FORT WORTH, TX 76131
                                     TARRANT COUNTY


  03/25/2004 - 03/25/2004            1435 SUMMERPOINT LN
                                     FENTON, MO 63026
                                     SAINT LOUIS COUNTY

  02/27/2001 - 03/23/2003            2554 RIDGEVIEW DR
                                     HIGH RIDGE, MO 63049
                                     JEFFERSON COUNTY


  Not available                      15715 MANCHESTER RD
                                     ELLISVILLE, MO 63011
                                     SAINT LOUIS COUNTY



  8. MUSER, TODD C
  SSN:                           XXXX - issued in MO between 1989-1990
  DOB (Age):                    1988 (27)

  Date Range                         Address                                         Phone #
  01/01/2000 - 08/01/2015            13003 TIGER LILY CT
                                     SAINT LOUIS, MO 63146
                                     SAINT LOUIS COUNTY


  06/20/2013 - 07/10/2013            5617 EICHELBERGER ST
                                     SAINT LOUIS, MO 63109
                                     SAINT LOUIS CITY COUNTY

  06/01/2013 - 06/25/2013            5716 EICHELBERGER ST
                                     SAINT LOUIS, MO 63109
                                     SAINT LOUIS CITY COUNTY

  01/14/2013 - 02/20/2013            1814 MOONSTONE DR
                                     SAINT LOUIS, MO 63146
                                     SAINT LOUIS COUNTY

  04/26/2011 - 04/26/2011            1600 MANCHESTER RD
                                     BALLWIN, MO 63011
                                     SAINT LOUIS COUNTY

  08/13/2008 - 04/30/2009            628 DESTIN DR

Page 173 of 192                                                                                        Kapitus_000180
                                            KAPITUS EX. 13 - 180
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 181 of 540

                                     FORT WORTH, TX 76131
                                     TARRANT COUNTY


  Not available                                                                      (314) 724-3766
                                     BALLWIN, MO 63011
                                     ST LOUIS

  Not available                      3003 TIGER LILY CT
                                     ST LOUIS, MO 63146
                                     SAINT LOUIS COUNTY



  9. HUMPHREY, CANDI
  SSN:                          XXXX - issued in LA in 1983
  DOB (Age):                   1983 (32)

  Date Range                         Address                                         Phone #
  01/01/2014 - 10/31/2014                                                            (225) 243-5531
                                     DENHAM SPGS, LA 70726                           (225) 665-9544
                                     LIVINGSTON

  01/08/2013 - 01/08/2013            628 DESTIN DR
                                     FORT WORTH, TX 76131
                                     TARRANT COUNTY

  01/01/2003 - 01/31/2012            8700 SHAREE
                                     DENHAM SPRINGS, LA 70726
                                     LIVINGSTON COUNTY

  04/28/2001 - 04/18/2009            139 COUNTRY LN
                                     MINDEN, LA 71055
                                     WEBSTER COUNTY


  10/05/2004 - 10/05/2004            25710 CUYHANGA DR
                                     DENHAM SPRINGS, LA 70726
                                     LIVINGSTON COUNTY

  12/11/2001 - 11/16/2003            412 HEIFER RUN
                                     PEARL RIVER, LA 70452
                                     SAINT TAMMANY COUNTY

  03/13/2003 - 03/13/2003            8802 CALIENTE AVE
                                     DENHAM SPRINGS, LA 70726
                                     LIVINGSTON COUNTY

  08/03/2002 - 08/03/2002            814 HAMMOND MANOR DR APT B
                                     BATON ROUGE, LA 70816
                                     EAST BATON ROUGE COUNTY

  Not available                                                                      (225) 347-4949

Page 174 of 192                                                                                        Kapitus_000181
                                            KAPITUS EX. 13 - 181
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 182 of 540

                                     DENHAM SPRINGS, LA 70706                        (225) 243-5531
                                     LIVINGSTON



  10. COSTA, ROBERT W
  SSN:                           XXXX - issued in CO in 1990
  DOB (Age):                    1986 (29)

  Date Range                         Address                                         Phone #
  01/01/2014 - 11/15/2015            2101 PLAMERA LN                                 (817) 378-4098
                                     FORT WORTH, TX 76131
                                     TARRANT COUNTY


  01/01/2014 - 05/06/2014            420 BRANDING IRON TRL
                                     FORT WORTH, TX 76131
                                     TARRANT COUNTY

  01/01/2011 - 01/31/2014            8845 SOY SEED TRL
                                     FORT WORTH, TX 76179
                                     TARRANT COUNTY

  03/01/2011 - 05/03/2011            3501 MEARES DR 124
                                     FORT WORTH, TX 76137
                                     TARRANT COUNTY

  01/20/2011 - 01/20/2011            3501 MEARES DR APT 124
                                     FT WORTH, TX 76137
                                     TARRANT COUNTY

  01/27/2010 - 07/23/2010            7340 CASCADE CT 1114
                                     FORT WORTH, TX 76137
                                     TARRANT COUNTY

  10/28/2009 - 02/01/2010            8705 HORNBEAM DR
                                     FORT WORTH, TX 76123
                                     TARRANT COUNTY


  01/27/2010 - 01/27/2010            3000 CAMBRIDGE CT
                                     BARTLESVILLE, OK 74006
                                     WASHINGTON COUNTY


  08/28/2001 - 07/24/2009            628 DESTIN DR
                                     FT WORTH, TX 76131
                                     TARRANT COUNTY


  01/05/2009 - 06/16/2009            4701 INDIAN MOUND CT APT 2201
                                     FORT WORTH, TX 76132
                                     TARRANT COUNTY


  10/04/2007 - 10/03/2008            817 CATHY DR

Page 175 of 192                                                                                        Kapitus_000182
                                            KAPITUS EX. 13 - 182
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 183 of 540

                                     BURLESON, TX 76028
                                     JOHNSON COUNTY


  09/01/2007 - 06/04/2008            22940 E ROXBURY DR UNIT F
                                     AURORA, CO 80016
                                     ARAPAHOE COUNTY

  04/19/2004 - 12/14/2007            1407 BYRON AVE
                                     ODESSA, TX 79761
                                     ECTOR COUNTY

  07/27/2007 - 07/27/2007            PO BOX 1145
                                     ODESSA, TX 79760
                                     ECTOR COUNTY

  06/09/2007 - 06/29/2007            2 JUEGO CT
                                     SANTA FE, NM 87508
                                     SANTA FE COUNTY


  03/09/2006 - 04/27/2007            1012 CALLE DON ROBERTO
                                     SANTA FE, NM 87507
                                     SANTA FE COUNTY

  07/13/2006 - 04/05/2007            5601 BELL ST APT 1223
                                     AMARILLO, TX 79109
                                     RANDALL COUNTY

  02/27/2007 - 02/27/2007            1012 CALLE DO ROBEREO
                                     SANTA FE, NM 87507
                                     SANTA FE COUNTY

  06/08/2006 - 10/27/2006            4200 W JEMEZ RD STE 301
                                     LOS ALAMOS, NM 87544
                                     LOS ALAMOS COUNTY

  12/08/2005 - 02/23/2006            203 W VALENCIA DR APT B
                                     AMARILLO, TX 79118
                                     RANDALL COUNTY


  09/22/2004 - 09/22/2004            11101 3300 SAGE RD
                                     HOUSTON, TX 77056
                                     HARRIS COUNTY

  01/11/2004 - 02/12/2004            241 SMITH ST
                                     SHERIDAN, WY 82801
                                     SHERIDAN COUNTY


  10/11/2003 - 10/13/2003            11901 BLUE SKY DR
                                     OKLAHOMA CITY, OK 73162



Page 176 of 192                                                                                        Kapitus_000183
                                            KAPITUS EX. 13 - 183
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 184 of 540

                                     OKLAHOMA COUNTY

  07/24/2001 - 06/10/2003            6808 ZAPATA LN
                                     AMARILLO, TX 79109
                                     RANDALL COUNTY

  09/02/2002 - 09/02/2002            PO BOX 682
                                     SARATOGA, WY 82331
                                     CARBON COUNTY

  09/22/2000 - 10/01/2000            3105 INTERSTATE 35
                                     AUSTIN, TX 78741
                                     TRAVIS COUNTY



  11. SPARKS, GREGORY
  SSN:                           XXXX - issued in CO between 1969-1970
  DOB (Age):                    1955 (60)

  Date Range                         Address                                         Phone #
  11/21/2015 - 11/21/2015            2290 SKYVIEW LN APT 3110
                                     COLORADO SPRINGS, CO 80904
                                     EL PASO COUNTY

  03/31/2007 - 01/22/2015            6901 TULANE DR
                                     AUSTIN, TX 78723
                                     TRAVIS COUNTY

  06/01/2012 - 08/25/2014            628 DESTIN DR
                                     FORT WORTH, TX 76131
                                     TARRANT COUNTY

  10/13/2011 - 08/03/2014            9511 ABERDEEN WAY
                                     AUSTIN, TX 78753
                                     TRAVIS COUNTY

  04/15/2014 - 04/15/2014            9511 B ABERDEEN WAY
                                     AUSTIN, TX 78753
                                     TRAVIS COUNTY


  06/19/2010 - 03/03/2013            6807 SYRACUSE CV                                634-3309
                                     AUSTIN, TX 78723
                                     TRAVIS COUNTY

  01/01/2009 - 10/31/2012            2201 E 22ND ST
                                     AUSTIN, TX 78722
                                     TRAVIS COUNTY

  08/22/2012 - 08/22/2012            6807 SURACUSE COVE
                                     AUSTIN, TX 78723

Page 177 of 192                                                                                        Kapitus_000184
                                            KAPITUS EX. 13 - 184
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 185 of 540

                                     TRAVIS COUNTY

  10/01/2011 - 10/13/2011            TX NONE TX 78723
                                      ,



  12/14/2009 - 10/07/2011            5702 EXETER DR
                                     AUSTIN, TX 78723
                                     TRAVIS COUNTY

  06/01/2010 - 07/04/2010            123 PIERCE DR                                   634-3309
                                     COLORADO SPRINGS, CO 80906
                                     EL PASO COUNTY


  06/01/2010 - 06/01/2010            1710 LORRAINE ST                                634-3309
                                     COLORADO SPRINGS, CO 80905
                                     EL PASO COUNTY

  02/07/2009 - 03/09/2009            5706 SANDHURST CIR
                                     AUSTIN, TX 78723
                                     TRAVIS COUNTY

  08/01/2007 - 09/24/2007            6901 TRENDAL LN
                                     AUSTIN, TX 78744
                                     TRAVIS COUNTY

  08/22/2006 - 12/09/2006            7442 BANBERRY DR                                634-3309
                                     COLORADO SPRINGS, CO 80925
                                     EL PASO COUNTY

  01/01/1995 - 12/09/2005            116 23RD ST                                     634-3309
                                     COLORADO SPRINGS, CO 80904
                                     EL PASO COUNTY


  01/01/1994 - 01/24/2003            919 19TH ST 16                                  634-3309
                                     COLORADO SPRINGS, CO 80904
                                     EL PASO COUNTY

  01/01/2000 - 01/24/2003            4234 CHARLESTON DR                              634-3309
                                     COLORADO SPRINGS, CO 80916
                                     EL PASO COUNTY

  12/05/1992 - 01/23/2003            PO BOX 19191                                    634-3309
                                     AUSTIN, TX 78760
                                     TRAVIS COUNTY

  07/08/2002 - 08/16/2002            331 ELLERS GRV
                                     COLO SPGS, CO 80916
                                     EL PASO COUNTY



Page 178 of 192                                                                                        Kapitus_000185
                                            KAPITUS EX. 13 - 185
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 186 of 540


  04/23/2002 - 04/23/2002            5145 HARRINGTON DR
                                     COLORADO SPRINGS, CO 80911
                                     EL PASO COUNTY

  12/05/1992 - 02/17/1998            19191
                                     AUSTIN, TX 78760
                                     TRAVIS COUNTY

  03/12/1991 - 04/01/1995            2475 HANCOCK EXPY APT 306
                                     COLORADO SPRINGS, CO 80910
                                     EL PASO COUNTY


  01/01/1993 - 12/31/1993            POB
                                     AUSTIN, TX 78760
                                     TRAVIS COUNTY

  01/01/1993 - 12/31/1993            1717 ALLEGHANY DR
                                     AUSTIN, TX 78741
                                     TRAVIS COUNTY

  01/01/1992 - 12/31/1992            1717 BOX 19191
                                     INDUSTRY, TX 78944
                                     AUSTIN COUNTY


  01/01/1989 - 12/31/1989            112 BONFOY AVE APT 19
                                     COLO SPGS, CO 80909
                                     EL PASO COUNTY


  Not available                                                                      (512) 241-1751
                                     AUSTIN, TX 78759
                                     TRAVIS


  Not available                      116 N TWENTY THIRD ST
                                     COLORADO SPRINGS, CO 80904
                                     EL PASO COUNTY


  Not available                      1309 SOUTHPORT DR
                                     AUSTIN, TX 78704
                                     TRAVIS COUNTY

  Not available                      320 E BOULDER ST
                                     COLORADO SPRINGS, CO 80903
                                     EL PASO COUNTY



  12. SPARKS, GREG
  SSN:


  Date Range                         Address                                         Phone #

Page 179 of 192                                                                                        Kapitus_000186
                                            KAPITUS EX. 13 - 186
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 187 of 540

  06/01/2012 - 06/20/2012            628 DESTIN DR
                                     FORT WORTH, TX 76131
                                     TARRANT COUNTY



  13. CHIPMAN, JESSICA N
  SSN:                           XXXX - issued in MO between 1991-1992
  DOB (Age):                    1984 (31)

  Date Range                         Address                                         Phone #
  02/24/2015 - 02/24/2015            6045 FYLER AVE
                                     SAINT LOUIS, MO 63139
                                     SAINT LOUIS CITY COUNTY

  09/28/2011 - 05/17/2014            1918 OKLAHOMA AVE
                                     DAVENPORT, IA 52804
                                     SCOTT COUNTY

  06/01/2012 - 07/10/2013            1814 MOONSTONE DR
                                     SAINT LOUIS, MO 63146
                                     SAINT LOUIS COUNTY

  01/01/1984 - 12/01/2012            1435 SUMMERPOINT LN                             (563) 424-2815
                                     FENTON, MO 63026                                (636) 861-3843
                                     SAINT LOUIS COUNTY

  01/01/2012 - 01/31/2012            7040 CHASE RIDGE TRL APT 10
                                     FORT WORTH, TX 76137
                                     TARRANT COUNTY

  12/22/2011 - 12/22/2011            8701 W PARMER LN APT 6128
                                     AUSTIN, TX 78729
                                     WILLIAMSON COUNTY

  09/16/2011 - 09/16/2011            4936 SIGMOND DR APT 1212
                                     ARLINGTON, TX 76017
                                     TARRANT COUNTY

  02/15/2011 - 02/15/2011            PO BOX 2926
                                     GRAPEVINE, TX 76099
                                     TARRANT COUNTY


  04/03/2010 - 10/18/2010            263 COUNTRY MEADOW DR
                                     MANSFIELD, TX 76063
                                     TARRANT COUNTY

  11/06/2009 - 10/04/2010            6410 MIRANDA DR
                                     FORT WORTH, TX 76131
                                     TARRANT COUNTY



Page 180 of 192                                                                                        Kapitus_000187
                                            KAPITUS EX. 13 - 187
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 188 of 540

  07/29/2010 - 08/12/2010            8055 RALEIGH CT
                                     FORT WORTH, TX 76123
                                     TARRANT COUNTY

  04/19/2006 - 02/01/2010            6950 CHASE RIDGE TR 1126
                                     FORT WORTH, TX 76137
                                     TARRANT COUNTY


  11/21/2009 - 01/29/2010            1720
                                     MANSFIELD, TX 76063
                                     TARRANT COUNTY

  11/21/2009 - 01/29/2010            PO BOX 1720
                                     MANSFIELD, TX 76063
                                     TARRANT COUNTY


  06/29/2004 - 02/01/2009            628 DESTIN DR
                                     FORT WORTH, TX 76131
                                     TARRANT COUNTY


  12/01/2008 - 12/01/2008            7040 CHASE RIDGE TR 1024
                                     FORT WORTH, TX 76137
                                     TARRANT COUNTY


  03/18/2004 - 07/12/2005            13003 TIGER LILY CT
                                     SAINT LOUIS, MO 63146
                                     SAINT LOUIS COUNTY



  14. HUMPHREY, CANDI
  SSN:                           XXXX - issued in LA in 1983
  DOB (Age):                   1983 (32)

  Date Range                         Address                                         Phone #
  01/01/2014 - 10/31/2014                                                            (225) 243-5531
                                     DENHAM SPGS, LA 70726                           (225) 665-9544
                                     LIVINGSTON


  01/29/2008 - 01/05/2014            8700 SHAREE PL
                                     DENHAM SPRINGS, LA 70726
                                     LIVINGSTON COUNTY

  01/08/2013 - 01/08/2013            628 DESTIN DR
                                     FORT WORTH, TX 76131
                                     TARRANT COUNTY


  04/28/2001 - 04/18/2009            139 COUNTRY LN
                                     MINDEN, LA 71055
                                     WEBSTER COUNTY



Page 181 of 192                                                                                        Kapitus_000188
                                            KAPITUS EX. 13 - 188
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 189 of 540

  10/05/2004 - 10/05/2004            25710 CUYHANGA DR
                                     DENHAM SPRINGS, LA 70726
                                     LIVINGSTON COUNTY

  12/11/2001 - 11/16/2003            412 HEIFER RUN
                                     PEARL RIVER, LA 70452
                                     SAINT TAMMANY COUNTY


  03/13/2003 - 03/13/2003            8802 CALIENTE AVE
                                     DENHAM SPRINGS, LA 70726
                                     LIVINGSTON COUNTY

  08/03/2002 - 08/03/2002            814 HAMMOND MANOR DR APT B
                                     BATON ROUGE, LA 70816
                                     EAST BATON ROUGE COUNTY


  Not available                                                                      (225) 243-5531
                                     DENHAM SPRINGS, LA 70706                        (225) 347-4949
                                     LIVINGSTON




  1150 BLUE MOUND RD W HASLET, TX 76052
  TARRANT COUNTY


  1. SOARES, JEFF
  SSN:


  Date Range                         Address                                         Phone #
  05/21/2014 - 06/01/2014            1150 W BLUE MOUND RD
                                     HASLET, TX 76052
                                     TARRANT COUNTY



  2. MEDFORD, CHASE
  SSN:                           XXXX - issued in TX between 1989-1990
  DOB (Age):                    1983 (32)

  Date Range                         Address                                         Phone #
  01/01/2008 - 10/02/2014            9028 TATE AVE                                   (817) 337-4631
                                     FORT WORTH, TX 76244                            (817) 681-6437
                                     TARRANT COUNTY


  05/16/2014 - 05/16/2014            1150 BLUE MOUND RD W
                                     HASLET, TX 76052
                                     TARRANT COUNTY

  10/23/2013 - 10/23/2013            PO BOX 2757
                                     FORT WORTH, TX 76244


Page 182 of 192                                                                                        Kapitus_000189
                                            KAPITUS EX. 13 - 189
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 190 of 540

                                     TARRANT COUNTY

  06/09/2009 - 06/11/2010            9028 TATE AVE                                   (817) 337-4631
                                     KELLER, TX 76248
                                     TARRANT COUNTY


  05/25/2007 - 03/06/2009            436 MARSHA ST
                                     KELLER, TX 76248
                                     TARRANT COUNTY

  09/01/2006 - 06/26/2007            8299 SMALL BLOCK RD APT 1331
                                     NORTHLAKE, TX 76262
                                     DENTON COUNTY

  01/06/2003 - 05/18/2007            2812 CECIL DR
                                     RICHLAND HILLS, TX 76118
                                     TARRANT COUNTY

  09/24/2006 - 09/24/2006            5299 SMALLBLOCK RD APT 1331
                                     ROANOKE, TX 76262
                                     DENTON COUNTY

  06/08/2006 - 06/08/2006            268 EUREKA
                                     FORT WORTH, TX 76118
                                     TARRANT COUNTY

  07/06/2004 - 07/06/2004            3709 POPPLEWELL ST
                                     RICHLAND HILLS, TX 76118
                                     TARRANT COUNTY

  01/04/2004 - 01/13/2004            1207 JENKINS AVE APT 206
                                     NORMAN, OK 73019
                                     CLEVELAND COUNTY


  07/13/2001 - 01/24/2003            7429 DEAVER DR
                                     NORTH RICHLAND HILLS, TX 76180
                                     TARRANT COUNTY

  Not available                      7428 DEAVER DR
                                     FORT WORTH, TX 76180
                                     TARRANT COUNTY



  3. SMITH, TERRY L
  SSN:                           XXXX - issued in OK in 1973
  DOB (Age):                    1964 (51)

  Date Range                         Address                                         Phone #
  01/01/1978 - 04/18/2015            6257 ADONIA DR                                  514-0870
                                     FORT WORTH, TX 76131                            626-4499

Page 183 of 192                                                                                        Kapitus_000190
                                            KAPITUS EX. 13 - 190
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 191 of 540

                                     TARRANT COUNTY

  04/09/2014 - 02/08/2015            1150 W BLUE MOUND RD 803
                                     HASLET, TX 76052
                                     TARRANT COUNTY

  01/01/2014 - 02/28/2014                                                            (316) 765-7509
                                     WICHITA, KS 67202
                                     SEDGWICK COUNTY

  06/29/1993 - 03/16/2011            953 E PADDINGTON DR                             514-0870
                                     SAGINAW, TX 76131                               626-4499
                                     TARRANT COUNTY

  10/01/1999 - 09/20/2004            496 COYOTE TR                                   514-0870
                                     RHOME, TX 76078                                 626-4499
                                     WISE COUNTY                                     (940) 626-4894

  01/01/1996 - 01/23/2003            5741 HANSON DR                                  514-0870
                                     WATAUGA, TX 76148                               626-4499
                                     TARRANT COUNTY

  04/03/1995 - 01/23/2003            339 FREEDOM WA                                  514-0870
                                     FORT WORTH, TX 76244                            626-4499
                                     TARRANT COUNTY

  08/19/1993 - 07/18/2001            202 W ROCKWOOD BLVD                             626-4499
                                     MULVANE, KS 67110
                                     SEDGWICK COUNTY

  07/17/2001 - 07/17/2001            1726 E WATERMAN ST                              626-4499
                                     WICHITA, KS 67211
                                     SEDGWICK COUNTY


  10/03/1992 - 07/13/2001            312 SHADY LANE DR                               626-4499
                                     FORT WORTH, TX 76112
                                     TARRANT COUNTY

  01/01/1996 - 11/13/2000            6747 W PAR                                      788-1937
                                     WICHITA, KS 67212                               626-4499
                                     SEDGWICK COUNTY

  12/02/1998 - 12/02/1998            5641 HANSEN DR
                                     WATAUGA, TX 76148
                                     TARRANT COUNTY

  01/01/1995 - 12/31/1995            339 FREEDOM WAY
                                     KELLER, TX 76248
                                     TARRANT COUNTY



Page 184 of 192                                                                                        Kapitus_000191
                                            KAPITUS EX. 13 - 191
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 192 of 540


  01/01/1993 - 03/20/1994            2816 35TH ST
                                     LUBBOCK, TX 79413
                                     LUBBOCK COUNTY

  12/31/1989 - 02/11/1994            1706 E PINION RD
                                     DERBY, KS 67037
                                     SEDGWICK COUNTY

  01/01/1993 - 12/31/1993            719 W 29TH SOUTH 102
                                     DERBY, KS 67037
                                     SEDGWICK COUNTY


  06/22/1991 - 09/08/1992            2228 S OLIVER ST APT 310
                                     WICHITA, KS 67218
                                     SEDGWICK COUNTY

  Not available                      1150 BLUE MOUND RD W STE 803                    (682) 429-0707
                                     HASLET, TX 76052
                                     TARRANT COUNTY

  Not available                                                                      (817) 201-7888
                                     FORT WORTH, TX 76105                            (817) 201-7886
                                     TARRANT




Associate Analytics Chart


                             GLOBAL                     ARREST   CRIMINAL
ASSOCIATION                             OFAC?                             BANKRUPTCY?
                             SANCTIONS?                 RECORDS? RECORDS?
RELATIVES
Bennett, Teresa F            NO            NO           NO            NO            NO
Bridges, Ashlyn Faith        NO            NO           NO            NO            NO
Bridges, Barbara E           NO            NO           NO            NO            NO
Bridges, Brandi              NO            NO           NO            NO            NO
Bridges, Bryan K             NO            NO           NO            NO            NO
Bridges, Cameron Dakota      NO            NO           YES           NO            NO
Bridges, Dana                NO            NO           NO            NO            NO
Bridges, Dana                NO            NO           NO            NO            NO
Bridges, Dana Michelle       NO            NO           NO            NO            NO
Bridges, Dwayne              NO            NO           NO            NO            NO
Bridges, Dwayne P            NO            NO           NO            NO            NO
Bridges, Faye                NO            NO           NO            NO            NO
Bridges, Jason               NO            NO           NO            NO            NO
Bridges, Kelly               NO            NO           NO            NO            NO
Bridges, Nellie              NO            NO           NO            NO            NO
Bridges, Newborn Female      NO            NO           NO            NO            NO
Bridges, Nicole D            NO            NO           NO            NO            NO


Page 185 of 192                                                                                        Kapitus_000192
                                            KAPITUS EX. 13 - 192
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 193 of 540

Bridges, Paul L              NO            NO           NO            NO            NO
Bridges, Valerie             NO            NO           NO            NO            NO
Bridges, Valerie             NO            NO           NO            NO            NO
Bridgs, M D                  NO            NO           NO            NO            NO
ASSOCIATES
Billeudeau, Cindy            NO            NO           NO            NO            NO
Billeudeau, Cindy            NO            NO           NO            NO            NO
Boren, John                  NO            NO           NO            NO            NO
Boren, John                  NO            NO           NO            NO            NO
Boren, John                  NO            NO           NO            NO            NO
Chase, Medford R             NO            NO           NO            YES           YES
Green, Brad S                NO            NO           NO            YES           NO
Irvin, Amy                   NO            NO           NO            NO            NO
Johnson, Betty               NO            NO           NO            NO            NO
Johnson, Betty               NO            NO           NO            NO            NO
Little, Teresa               NO            NO           NO            NO            YES
Smith, Terry                 NO            NO           NO            NO            YES
Soares, Jeff                 NO            NO           NO            NO            NO
Sparks, Greg                 NO            NO           NO            NO            NO
Sparks, Greg                 NO            NO           NO            NO            NO
West, Cody Christopher       NO            NO           NO            NO            NO



Neighbor Listings for Subject's Address


  628 DESTIN DRIVE FORT WORTH, TX 76131 TARRANT COUNTY


  Name                               Street Address                                  Phone Number


  WICKLER, JOANN A                   601 DESTIN DR                                   (817) 232-4927
  WICKLER, BARBARA A                 601 DESTIN DR
  TRIEU, JEANNY                      613 DESTIN DR
  FROST, CELINDA                     613 DESTIN DR
  TRIEU, JEANNY                      613 DESTIN DR
  REED, TYISHA                       613 DESTIN DR                                   (903) 675-6844
  WASHINGTON, GERALD E               613 DESTIN DR
  TRIEU, MONTHA MEN                  613 DESTIN DR
  FROST, CHAD                        613 DESTIN DR                                   (817) 439-0568
  REED, RODNEY                       613 DESTIN DR
  WINN, CLAYTON                      613 DESTIN DR
  REED, RODNEY BERNARD               613 DESTIN DR
  SOUVANNA, ARICK A                  613 DESTIN DR
  TRIEU, JULIE                       613 DESTIN DR
  RYAN, KELLY BURTON                 613 DESTIN DR
  KRAMER, AUDRA                      613 DESTIN DR
  SHERMAK, NATALIE J                 613 DESTIN DR
  DENNIS, MARILYN JOHNSON            613 DESTIN DR
  BURROW, SHANE                      613 DESTIN DR
  DICKEY, ALICIA                     613 DESTIN DR

Page 186 of 192                                                                                        Kapitus_000193
                                            KAPITUS EX. 13 - 193
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 194 of 540

  WINN, MARIA                        613 DESTIN DR
  SHERMAK, SHAWN E                   613 DESTIN DR
  TAYLOR, MICHELLE                   613 DESTIN DR
  JORDAN, HAROLD                     624 DESTIN DR
  HELM, AMY JACQUELINE               624 DESTIN DR                                   (817) 306-6164
  HELM, CHARLES K                    624 DESTIN DR                                   (817) 306-6164
  DAVIS, SHELLY MARIE                629 DESTIN DR
  BROOKS, BRENT                      629 DESTIN DR
  STEVENS, DEANNA S                  629 DESTIN DR                                   (817) 232-4423
  MILLER, ALEX                       629 DESTIN DR
  DAVIS, DONNA L                     629 DESTIN DR
  DAVIS, SHELLEY                     629 DESTIN DR
  BROOKS, JENNIFER                   629 DESTIN DR
  STEVENS, JASON                     629 DESTIN DR                                   (817) 232-4423
  STEVENS, BRANDON                   629 DESTIN DR
  STEVENS, JASON L                   629 DESTIN DR                                   (817) 232-4423
  ALFORD, KRISTIN M                  600 DESTIN DR
  ALFORD, KRISTIN M                  600 DESTIN DR
  COCHRAN, DEE                       600 DESTIN DR                                   (817) 862-7999
  COCHRAN, DEE                       600 DESTIN DR                                   (817) 862-7999
  ADAMS, BRIDGETTE                   625 DESTIN DR
  MOON, BRIAN K                      625 DESTIN DR                                   (817) 244-8543
  BROWN, BRIDGETTE                   625 DESTIN DR
  STANFORD, SHELLY E                 625 DESTIN DR                                   (817) 847-7943
  HARN, SUSAN                        625 DESTIN DR
  BRUCE, SHARIE                      625 DESTIN DR                                   (817) 306-8239
  HARN, TREY LEE                     625 DESTIN DR
  BARNES, JASON LEE                  625 DESTIN DR
  JACKSON, MATTHEW PAUL              625 DESTIN DR
  MOON, MICHELLE R                   625 DESTIN DR
  BEAM, TERRY                        625 DESTIN DR
  LIRA, CALVIN                       625 DESTIN DR
  REYNOLDS, JOSHUA L                 625 DESTIN DR
  BEAM, KERI                         625 DESTIN DR
  BROWN, TORREY K                    625 DESTIN DR
  BARNES, JASON                      625 DESTIN DR
  WESTMORELAND, ROYCE                625 DESTIN DR                                   (817) 847-5125
  ADAMS, BRIDGETTE TERES             625 DESTIN DR                                   629-5936
  TUCKER, KENDALL                    608 DESTIN DR
  DIELEMAN, DEREK                    608 DESTIN DR                                   (940) 380-1447
  TUCKER, KENDALL                    608 DESTIN DR
  WRIGHT, LISA                       608 DESTIN DR
  NOFZIGER, CAREY L                  608 DESTIN DR
  DIELEMAN, DEREK                    608 DESTIN DR
  KAMTAM, RANJANI P          608 DESTIN DR
  TUCKER, KENDALL            608 DESTIN DR
  BIRMINGHAM, AMBER-NICOLE K 612 DESTIN DRIVE
  WINN, MARIA                        613 DESTIN DR PAYS # RENT
  ALFORD, KRISTIN M                  600 DESTIN DR                                   (817) 232-8955



Page 187 of 192                                                                                        Kapitus_000194
                                            KAPITUS EX. 13 - 194
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 195 of 540

  ALFORD, SCOTT                      600 DESTIN DR                                   (817) 232-9577
  BOYDSTON, CYNTHIA                  600 DESTIN DR
  BOYDSTON, CINDY C                  600 DESTIN DR                                   (817) 992-0606
  COCHRAN, MERLIE A                  600 DESTIN DR                                   (972) 527-2112
  BOYDSTON, MEIKEL D                 600 DESTIN DR                                   (817) 992-0606
  COCHRAN, DELORCE                   600 DESTIN DR
  ALFORD, KRISTIN                    600 DESTIN DR
  BOYDSTON, CINDY C                  600 DESTIN DR
  GOOCH, TRACY                       632 DESTIN DR
  BENTON, TERRENCE GARTH             632 DESTIN DR
  BENTON, TRACY M                    632 DESTIN DR                                   (817) 306-9474
  BENTON, AMY                        632 DESTIN DR                                   (817) 306-9474
  GOOCH, STEVEN E                    632 DESTIN DR                                   (817) 306-9474
  SUPPLEE, MISTY                     548 DESTIN DR                                   (717) 762-5641
  SUPPLEE, RONALD E                  548 DESTIN DR                                   (717) 375-0055
  SUPPLEE, RONALD E JR.              548 DESTIN DR                                   (817) 232-5081
  SUPPLEEJR, RONALD                  548 DESTIN DR
  SUPPLEE, MISTY                     548 DESTIN DR
  DEFILIO, ANDREW TYLER              548 DESTIN DR
  TOWNER, CODY                       616 DESTIN DR
  TOWNER, KRISTINA                   616 DESTIN DR
  HOWARD, BRIDGETT                   620 DESTIN DR LIVES WITH FAMIL
  STRANGE, RANDY L                   621 DESTIN DR                                   (817) 306-5516
  MICHAEL, MCCOURTIE                 621 DESTIN DR
  STRANGE, CARLA S                   621 DESTIN DR                                   (972) 642-4432
  GRIMWOOD, BRIAN L                  621 DESTIN DR
  WHITECOTTON, JERRY A               621 DESTIN DR
  PAUR, RANDEE L                     621 DESTIN DR                                   (817) 306-5516
  WHITECOTTON, GERALDINE A           621 DESTIN DR
  GRIMWOOD, STEPHANIE                621 DESTIN DR
  WICKLER, JOANN A                   601 DESTIN DR                                   (817) 232-4947
  WICKLER, DANNY G                   601 DESTIN DR                                   (817) 232-4927
  WICKLER, JO A                      601 DESTIN DR                                   (817) 232-4927
  STEWART, JANET L                   601 DESTIN DR
  POPE, OTHEL                        601 DESTIN DR
  POPE, BERTHA                       601 DESTIN DR                                   834-6091
  POPE, O I                          601 DESTIN DR
  BEESON, LOREEN J                   612 DESTIN DR
  BEESON, LOREEN J                   612 DESTIN DR
  STOKES, KATHERYN JANNETTA          612 DESTIN DR
  STOKES, KATHERINE RENEE            612 DESTIN DR
  STOKES, JACK E                     612 DESTIN DR
  BIRMINGHAM, JOHN                   612 DESTIN DR                                   646-5178
  STOKES, MACK B                     612 DESTIN DR                                   220-8082
  BIRMINGHAM, AMBER                  612 DESTIN DR                                   (972) 641-9999
  WALKER, KATHERINE R                612 DESTIN DR
  GLASER, KIMBERLY ANN               612 DESTIN DR
  JOHNSON, CHERYL                    616 DESTIN DR
  JOHNSON, RITA DARLENE              616 DESTIN DR



Page 188 of 192                                                                                        Kapitus_000195
                                            KAPITUS EX. 13 - 195
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 196 of 540

  PAYNE, ALICIA DAWN                 616 DESTIN DR
  TOWNER, CODY H                     616 DESTIN DR
  MODGLING, SHAWNEE                  616 DESTIN DR
  MOORE, KRISTINA M                  616 DESTIN DR
  PITTS, STEVEN                      616 DESTIN DR                                   (817) 306-6242
  PAYNE, AMANDA                      616 DESTIN DR
  HALCOMB, RANDALL L                 616 DESTIN DR
  JONES, CRYSTAL                     604 DESTIN DR
  BANGURA, OSMUNDA M                 604 DESTIN DR                                   (817) 306-0097
  SAMPSON, FRANKLIN G                604 DESTIN DR                                   (918) 250-5551
  JONES, SEDRICK                     604 DESTIN DR                                   (817) 492-8240
  GRIM, GEORGE G                     604 DESTIN DR
  GALLOWAY, JOSEPH D                 604 DESTIN DR
  BANGURA, OSMONDA                   604 DESTIN DR
  HILL, HORRY L                      MR 632 DESTIN DR
  POOR, SEAN A                       617 DESTIN DR                                   (817) 377-1888
  POOR, EATHEN                       617 DESTIN DR
  MCCLURKAN, RYAN                    617 DESTIN DR
  CLOUD, BRYANT J                    609 DESTIN DR
  SPEARS, GEORGE E                   620 DESTIN DR
  LEVINER, RACHAEL L                 620 DESTIN DR                                   (972) 303-3895
  OLSON, HEATHER A                   620 DESTIN DR
  SPEARS, JULIE                      620 DESTIN DR
  WILLIAMS, DALE R                   620 DESTIN DR                                   (817) 232-9241
  SPEARS, JULIANNE                   620 DESTIN DR
  WILLIAMS, DEBORAH L                620 DESTIN DR                                   (817) 232-9241
  WILLIAMS, STACIE D                 620 DESTIN DR
  SPEARS, RAYMOND                    620 DESTIN DR
  WILLIAMS, KARENA A                 620 DESTIN DR
  SPEARS, CLARA W                    620 DESTIN DR
  MARRERO, ANDREANA                  620 DESTIN DR
  SPEARS, DORIS                      620 DESTIN DR
  POOR, BREANNA                      617 DESTIN DR
  CAPP, CHRISTINA L                  617 DESTIN DR
  POOR, SEAN A                       617 DESTIN DR
  MCCLURKAN, PHILLIP A               617 DESTIN DR                                   823-5876
  MCCLURKAN, CHRISTINA L             617 DESTIN DR                                   223-4442
  WOLF, NICHOLAS DONALD              617 DESTIN DR
  POOR, MICHAEL L                    617 DESTIN DR
  WOLF, NICHOLAS DONALD              617 DESTIN DR
  POOR, DEBORH                       617 DESTIN DR
  REEVES, KATHERINE W                544 DESTIN DR
  LOONEY, FREDDIE ANN                544 DESTIN DR                                   588-3365
  WRIGHT, GWENDOLYN S                544 DESTIN DR                                   568-8527
  WRIGHT, CLYDE                      544 DESTIN DR                                   568-8527
  REEVES, KATIE                      544 DESTIN DR
  REEVES, KIM                        544 DESTIN DR
  ABNEY, JOHN                        544 DESTIN DR
  GUY, CASSANDRA                     544 DESTIN DR



Page 189 of 192                                                                                        Kapitus_000196
                                            KAPITUS EX. 13 - 196
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 197 of 540

  GUY, DEREK                         544 DESTIN DR
  REEVES, GEORGANN S                 544 DESTIN DR
  WRIGHT, CASSANDRA                  544 DESTIN DR                                   568-8527
  SMITH, GWENDOLYN DOLORES           544 DESTIN DR
  GUY, CASSANDRA LYNN                544 DESTIN DR
  DELLEMAN, CAREY                    608 DESTIN DR
  GAUDIN, ROBERT                     609 DESTIN DR
  CATES, LYNN                        609 DESTIN DR                                   945-0265
  BALL, SHARON                       609 DESTIN DR                                   (325) 676-0044
  ALLMON, JASON                      609 DESTIN DR
  SANDERS, BRIAN E                   609 DESTIN DR                                   (817) 847-0879
  BALL, KEVIN M                      609 DESTIN DR
  SAPAUGH, CAITLIN                   609 DESTIN DR
  CALVERT, DEBRA                     609 DESTIN DR
  BALL, SARAH                        609 DESTIN DR
  CLOUD, BRYANT                      609 DESTIN DR
  BALL, KEVIN M                      609 DESTIN DR
  SANDERS, ANGELA R                  609 DESTIN DR
  PEET, AMANDA K                     609 DESTIN DR                                   623-9242
  ALLMON, JACLYN                     609 DESTIN DR
  CATES, MICHAEL RAY                 609 DESTIN DR
  PATTON, ROBERT                     609 DESTIN DR
  PERKINS, ANITA L                   604 DESTIN DR


  1045 GREEN RIDGE TER SAGINAW, TX 76179 TARRANT COUNTY


  Name                               Street Address                                  Phone Number


  RENFRO, CODY D                     1069 GREEN RIDGE TER
  GRAMMER, CHRISTINE L               1040 GREEN RIDGE TER
  JONES, JEREMIAH                    1053 GREEN RIDGE TER
  HULME, WILLIAM K                   831 WHITE ROCK ST
  FINLEY, JUSTIN                     831 WHITE ROCK ST
  HOWARD, GINA                       831 WHITE ROCK ST
  TAYLOR, KEVIN J                    1032 GREEN RIDGE TERRA CE                       (817) 232-0056
  MORALES, DEANA                     822 WHITE ROCK ST
  ADAMS, RONALD L II.                1041 GREEN RIDGE TER
  TAYLOR, STEPHANIE D                1041 GREEN RIDGE TER
  VALENTINE, KHARY                   826 WHITE ROCK ST
  GALINDO, GUADALUPE                 1037 GREEN RIDGE TER
  PARAMO, IDALID                     1037 GREEN RIDGE TER
  RODRIGUEZ, GLENN R SR.             1049 GREEN RIDGE TER
  RODRIGUEZ, GLENN R                 1049 GREEN RIDGE TER                            294-7018
  DHAKAL, DEVENDRA                   830 WHITE ROCK ST
  HARPER, BOBBIE                     1065 GREEN RIDGE TE                             (682) 286-0695
  ROBERTS, TERRY E                   1045 GREEN RIDGE TER
  BRIDGES, PAUL L                    1045 GREEN RIDGE TER                            (817) 744-7126
  BRIDGES, SHELLY J                  1045 GREEN RIDGE TER                            (817) 744-7126
  BRIDGES, PAUL                      1045 GREEN RIDGE TER                            (817) 744-7126


Page 190 of 192                                                                                        Kapitus_000197
                                            KAPITUS EX. 13 - 197
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 198 of 540

  CAMPBELL, DAVID W                  1045 GREEN RIDGE TER
  BRIDGES, DWAYNE P                  1045 GREEN RIDGE TER                            (817) 744-7126
  GUEVARA, CARLOS                    1048 GREEN RIDGE TER
  GUEVARA, CARLOS                    1048 GREEN RIDGE TER                            (817) 945-1363
  GUEVARA, OLIVIA ISABEL             1048 GREEN RIDGE TER                            (817) 945-1363
  GUEVARA, CARLOS                    1048 GREEN RIDGE TER                            (817) 945-1363
  REA, PATRICIA G                    1044 GREEN RIDGE TER
  HERNANDEZ, ALICIA G                1044 GREEN RIDGE TER
  MYERS, JAMES                       1052 GREEN RIDGE TE                             847-0041
  MYERS, JOY G                       1052 GREEN RIDGE TE                             (817) 306-6143
  CAMPBELL, DAVID W                  1045 GREEN RIDGE TER                            (817) 238-8280
  STIERWALT, ELIZABETH G             1036 GREEN RIDGE TE
  STIERWALT, LISA                    1036 GREEN RIDGE TE                             (817) 847-8918
  STIERWALT, DAVID MARSHALL          1036 GREEN RIDGE TE
  STIERWALT, DAVID                   1036 GREEN RIDGE TE                             (817) 847-8918
  STIERWALT, KRISTOPHER              1036 GREEN RIDGE TE
  STIERWALT, DAVID MARSHALL          1036 GREEN RIDGE TE                             (817) 847-8918
  FORTUNE, JODY E                    839 WHITE ROCK ST
  WEBB, SHAYLA                       823 WHITE ROCK ST
  GALINDO, GUADALUPE                 1037 GREEN RIDGE TER
  GADDY, STACY                       1040 GREEN RIDGE TER
  JONES, DEANNA M                    1053 GREEN RIDGE TER
  GRACE, AMANDA                      1057 GREEN RIDGE TER
  HIGHFILL, AMANDA                   1057 GREEN RIDGE TER
  HIGHFILL, MELANIE M                1057 GREEN RIDGE TER                            (817) 847-0313
  HIGHFILL, PHILLIP G                1057 GREEN RIDGE TER
  HIGHFILL, JOEY                     1057 GREEN RIDGE TER
  SOLIS, CYNTHIA                     1033 GREEN RIDGE TE                             (817) 232-1944
  MARTINEZ, GILBERTO                 1033 GREEN RIDGE TE                             (817) 847-6781
  SOLIS, CYNTHIA S                   1033 GREEN RIDGE TE
  HULME, KAYLA                       834 WHITE ROCK ST
  EDWARDS, ANGIE M                   834 WHITE ROCK ST
  BRENNAN, MARY S                    834 WHITE ROCK ST
  EAGER, ANNA                        835 WHITE ROCK ST                               (682) 224-3191
  TAYLOR, KEVIN J                    1032 GREEN RIDGE TER                            232-8918
  TAYLOR, CAROLYN D                  1032 GREEN RIDGE TER
  TAYLOR, SUE                        1032 GREEN RIDGE TER
  TAYLOR, SUE                        1032 GREEN RIDGE TER                            (817) 232-0056
  ADAMS, RONALD L II.                1041 GREEN RIDGE TER
  MYERS, JAMES                       1052 GREEN RIDGE TER                            (817) 306-6143
  MYERS, JENNIFER E                  1052 GREEN RIDGE TER                            (817) 306-6143


  1150 BLUE MOUND RD W HASLET, TX 76052 TARRANT COUNTY


  Name                               Street Address                                  Phone Number


  HAYS, JEREMY S                     1128 BLUE MOUND RD W STE 100
  GILLETTE, SCOTT R                  1150 BLUE MOUND RD W STE 707
  CANAL, JOSHUA P                    1150 BLUE MOUND RD W STE 603


Page 191 of 192                                                                                        Kapitus_000198
                                            KAPITUS EX. 13 - 198
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 12/18/15Entered
                                                                03:08 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A            Page 199 of 540

  CANAL, KATRINA M                     1150 BLUE MOUND RD W STE 603
  CANAL, KATIE                         1150 BLUE MOUND RD W STE 603
  DARLING, CHASSIDY MARIE
  DARLING, CHASSIDY MARIE              1150 BLUE MOUND RD W STE 103
  CURTISS, TREVOR A                    1150 BLUE MOUND RD W STE 501                       (817) 439-3852
  SMITH, TERRY L                       1150 BLUE MOUND RD W STE 803
  GRIFFITH, CARLITA C                  1150 BLUE MOUND RD W STE 301
  GOODFELLOW, PEGGY                    1130 BLUE MOUND RD W STE 306
  COBB, GREGORY C                      1130 BLUE MOUND RD W STE 206
  FOWLER, WILLIAM                      1130 BLUE MOUND RD W STE 100
  FOWLER, WILLIAM                      1130 BLUE MOUND RD W STE 100
  BRIDGES, DWAYNE P                    1150 BLUE MOUND RD W
  WADDELL, MARK S JR.                  1150 BLUE MOUND RD W


Report section(s) with no matches
          Death Records, Work Affiliations, Other SSNs Associated with Subject, Other Records/Names Associated with
          Subject's SSN, Canadian White Pages, Email Addresses, Marriage Records, Divorce Records, Military Records,
          Political Donors, Licensed Drivers at Subject's Addresses, Global Sanctions, OFAC Infractions, Criminal Records,
          Warrants, and Traffic Citations, Arrest Records, Executive Affiliations, D&B Market Identifier Records, Significant
          Shareholders, Liens & Judgments, Bankruptcy Records, Lawsuit Records, Docket Records, Corporate Filings,
          Waterfront Residency, Real Property Pre-Foreclosure Records, Vehicle Registered at Subject's Addresses, FAA
          Aircraft Registrations, Unclaimed Assets




Page 192 of 192                                                                                                 Kapitus_000199
                                               KAPITUS EX. 13 - 199
     Case 20-04009-elm Doc 68-6 Filed 09/21/21          Entered 09/21/21 23:36:41   Page 200 of 540
Table of Contents
         Report Section Summary                                                             2
         User Search Terms                                                                  2
         Subject                                                                            2
         Possible Addresses Associated with Subject                                         2
         Phone Numbers Associated with Subject                                              6
         Quick Analysis Flags                                                               6
         Phone Listings for Subject's Addresses                                             7
         Businesses Registered at Subject's Addresses                                       7
         Property Owners of Subject's Addresses                                            32
         Real-Time Vehicles                                                                36
         Relatives                                                                         47
         Associates                                                                        67
         Associate Analytics Chart                                                         83
         Neighbor Listings for Subject's Address                                           85
         Report section(s) with no matches                                                 91




Page 1 of 91                                                                               Kapitus_000200
                                           KAPITUS EX. 13 - 200
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 201 of 540


Report Section Summary
         User Search Terms (1)
         Subject (1)
         Possible Addresses Associated with Subject (28)
         Phone Numbers Associated with Subject (1)
         Quick Analysis Flags (1)
         Phone Listings for Subject's Addresses (4)
         Businesses Registered at Subject's Addresses (29)
         Property Owners of Subject's Addresses (4)
         Real-Time Vehicles (16)
         Relatives (23)
         Associates (27)
         Associate Analytics Chart (1)
         Neighbor Listings for Subject's Address (3)


User Search Terms


  SSN:                                          XXXX


   Subject
    BRIDGES, DWAYNE
    SSN:                         XXXX - issued in LA between   AKAs:
                          1979-1980                            1) BRIDGES, DWAYNE PAUL (DOB:     1972)
    Gender:               MALE                                 2) BRIDGES, DWAYNE P (     XXXX; DOB:
                                                                     1972)
                                                               3) BRIDGES, DWAYNE P
                                                               4) BRIDGES, DWYANE
                                                               5) BRIDGES, DWAYNE NULL
                                                               6) BRIDGE, DWAYNE P
                                                               7) BRIDGES, DEWAYNE
                                                               8) BRIDGS, DWAYNE
    DOB:                         1972
    Spouse Name:          DANA

    Drivers License?                    NO

    Marriage(s)?                        NO                     Divorce(s)?                 NO

    Professional License(s)?            NO                     Recreational License(s)?    NO



    Work Affiliation(s)?                NO



     Possible Addresses Associated with Subject


Page 2 of 91                                                                                           Kapitus_000201
                                                KAPITUS EX. 13 - 201
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 202 of 540


     Address                            Source(s)                         Reported Date(s)
     1)        628 DESTIN DR            Vehicle                           04/04/2016 - 04/04/2016
               FORT WORTH, TX 76131     Experian                          07/03/2010 - 11/03/2015
               TARRANT COUNTY           Utility Listing                   10/28/2013 - 09/20/2015
                                        Phone Record                      05/15/2015 - 05/15/2015
                                        Driver's Licenses                 06/28/2010 - 06/28/2010
                                        TransUnion                        03/01/2010 - 03/01/2010
                                        Voters                            Not Available
                                        Tax Roll                          Not Available
                                        Deed                              Not Available




     2)        1150 BLUE MOUND RD W     Experian                          01/23/2014 - 10/22/2015
               HASLET, TX 76052-3859
               TARRANT COUNTY


     3)        1045 GREEN RIDGE TER     Household Listing                 01/01/2014 - 06/30/2014
               SAGINAW, TX 76179-3405   Deed                              Not Available
               TARRANT COUNTY


     4)        11238 BLUE JAY LN        Experian                          02/05/2009 - 01/06/2010
               DENHAM SPRINGS, LA
               70726-1677
               LIVINGSTON COUNTY


     5)        8290 HICKORY ST          Experian                          11/18/2009 - 11/18/2009
               FRISCO, TX 75034-5501
               COLLIN COUNTY


     6)        1065 ADAMS DR            Experian                          01/07/2009 - 01/07/2009
               DENHAM SPRINGS, LA


Page 3 of 91                                                                                           Kapitus_000202
                                             KAPITUS EX. 13 - 202
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 203 of 540

               70726
               LIVINGSTON COUNTY


     7)        17210 OLIVE DR          Experian                           05/23/2007 - 04/03/2008
               LIVINGSTON, LA          Phone Record                       02/01/2008 - 02/01/2008
               70754-2155
               LIVINGSTON COUNTY


     8)        17080 LISA DR           Experian                           01/03/2007 - 05/08/2007
               LIVINGSTON, LA
               70754-2124
               LIVINGSTON COUNTY


     9)        17650 MELANCON RD       Experian                           01/07/2005 - 03/22/2007
               LIVINGSTON, LA
               70754-3001
               LIVINGSTON COUNTY


     10)       30260 EDEN CHURCH RD    Experian                           09/11/2004 - 02/28/2007
               DENHAM SPRINGS, LA
               70726-7761
               LIVINGSTON COUNTY


     11)       10065 ADAM DR           Experian                           10/05/2006 - 10/05/2006
               DENHAM SPRINGS, LA
               70726-7722
               LIVINGSTON COUNTY


     12)       18273 TABONY LN         Experian                           03/31/2006 - 08/07/2006
               LIVINGSTON, LA
               70754-3227
               LIVINGSTON COUNTY


     13)       16352 OLD HAMMOND       Experian                           04/24/1999 - 03/26/2005
               HWY TRLR 63
               BATON ROUGE, LA
               70816-1718
               EAST BATON ROUGE
               COUNTY


     14)       31531 LINDER RD LOT     Experian                           11/11/2003 - 06/16/2004
               101
               DENHAM SPRINGS, LA
               70726-8504
               LIVINGSTON COUNTY


     15)       28381 LA HIGHWAY 16     Experian                           01/28/2004 - 01/28/2004
               DENHAM SPRINGS, LA

Page 4 of 91                                                                                           Kapitus_000203
                                            KAPITUS EX. 13 - 203
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 204 of 540

               70726-7836
               LIVINGSTON COUNTY


     16)       12525 COURSEY BLVD      Experian                           02/18/2002 - 02/18/2002
               APT 1017
               BATON ROUGE, LA
               70816-4503
               EAST BATON ROUGE
               COUNTY


     17)       9921 GREAT SMOKEY       Experian                           01/29/2002 - 01/29/2002
               AVE
               BATON ROUGE, LA
               70814-4326
               EAST BATON ROUGE
               COUNTY


     18)       3543 YORKFIELD DR APT   Experian                           11/07/2000 - 11/07/2000
               A
               BATON ROUGE, LA
               70816-3275
               EAST BATON ROUGE
               COUNTY


     19)       4131 BLOUNT RD          Experian                           02/02/1995 - 11/05/1998
               BATON ROUGE, LA         Historic Credit Bureau             01/01/1994 - 12/31/1994
               70807-2320
               EAST BATON ROUGE
               COUNTY


     20)       254 DILLON DR # B       Experian                           10/06/1998 - 10/06/1998
               DYERSBURG, TN
               38024-8674
               DYER COUNTY


     21)       200 CATHERINE ST        Experian                           06/03/1998 - 06/03/1998
               STARKVILLE, MS
               39759-2306
               OKTIBBEHA COUNTY


     22)       39479 HIGHWAY 42        Experian                           08/20/1997 - 10/16/1997
               PRAIRIEVILLE, LA
               70769-4612
               ASCENSION COUNTY


     23)       9477 SMITH LN TRLR 80   Experian                           01/28/1997 - 01/28/1997
               BATON ROUGE, LA 70818



Page 5 of 91                                                                                           Kapitus_000204
                                            KAPITUS EX. 13 - 204
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 205 of 540

               EAST BATON ROUGE
               COUNTY


     24)       916 LOUISVILLE ST #         Experian                       03/18/1994 - 01/14/1996
               TR159
               STARKVILLE, MS
               39759-3857
               OKTIBBEHA COUNTY


     25)       1000 LOUISVILLE ST          Historic Credit Bureau         01/01/1994 - 12/31/1994
               STARKVILLE, MS
               39759-3937
               OKTIBBEHA COUNTY


     26)       RR1 BOX 824                 Experian                       09/21/1994 - 09/21/1994
               ACKERMAN, MS 39735          Historic Credit Bureau         Not Available
               CHOCTAW COUNTY


     27)       200 HWY 82 E UNIV HILLS     Historic Credit Bureau         01/01/1993 - 12/31/1993
               STARKVILLE, MS 39759
               OKTIBBEHA COUNTY


     28)       200 HIGH WAY 82 E           Experian                       03/06/1993 - 12/19/1993
               STARKVILLE, MS 39759
               OKTIBBEHA COUNTY



     Phone Numbers Associated with Subject
    Phone Number                     Source


    (225) 686-0684                   Phone Record
    (225) 686-3363                   Phone Record
    (682) 224-5457                   Phone Record, Experian, TransUnion


     Quick Analysis Flags


    POSSIBLE QUICK ANALYSIS FLAGS
    Associate with OFAC, Global Sanction or PEP listing                                                     No
    OFAC listing                                                                                            No
    Global Sanctions                                                                                        No
    Residential Address Used as a Business Address                                                         YES
    Prison Address on Record                                                                                No
    P.O. Box listed as Address                                                                              No
    Bankruptcy                                                                                              No
    Associate or Relative With a Residential Address Used as a Business Address                            YES
    Associate or Relative with a Prison Address on Record                                                   No
    Associate or Relative with P.O. Box listed as Address                                                  YES
    Criminal Record                                                                                         No


Page 6 of 91                                                                                           Kapitus_000205
                                                KAPITUS EX. 13 - 205
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 206 of 540

    Multiple SSNs                                                                                           No
    SSN Matches multiple individuals                                                                       YES
    Recorded as Deceased                                                                                    No
    Age Younger than SSN Issue Date                                                                         No
    Address 1ST Reported <90 Days                                                                           No
    SSN Format is Invalid                                                                                   No
    Healthcare Sanction                                                                                     No
    Telephone Number Inconsistent with Address                                                              No
    Arrest Record                                                                                           No



     Phone Listings for Subject's Addresses
       17210 OLIVE DR LIVINGSTON, LA 70754
       LIVINGSTON COUNTY

       Phone #                          Name
       (225) 755-2003                   BRIDGES, DANA
       (225) 291-0134                   BRIDGES, DANA


       1150 BLUE MOUND RD W HASLET, TX 76052
       TARRANT COUNTY

       Phone #                          Name
       (817) 439-3599                   BRIDGES, DEWAYNE


       628 DESTIN DR FORT WORTH, TX 76131
       TARRANT COUNTY

       Phone #                          Name
       (682) 224-5457                   BRIDGES, ASHLYN FAITH
       (682) 224-5457                   BRIDGES, DWAYNE


       18273 TABONY LN LIVINGSTON, LA 70754
       LIVINGSTON COUNTY

       Phone #                          Name
       (225) 698-3737                   BRIDGES, DANA
       (225) 686-9338                   BRIDGES, NICOLE
       (225) 698-3737                   BRIDGES, NICOLE
       (225) 686-9338                   BRIDGES, NICOLE



     Businesses Registered at Subject's Addresses
       HASLET, TX 76052
       1150 BLUE MOUND RD W S, HASLET, TX 76052
       TARRANT COUNTY

       Business Name:            HOLLEMAN                    Related Name(s):              KONA-ICE NORTHWEST
                                 ENTERPRISES, LLC                                          DFW

Page 7 of 91                                                                                           Kapitus_000206
                                            KAPITUS EX. 13 - 206
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 207 of 540
       Date of Incorporation:                                State of Incorporation:
       Year Started:             2013
       Business Address:         1150 BLUE MOUND RD          Phone:                         (817) 939-9805
                                 WS
                                 HASLET, TX 76052
       County:                   TARRANT COUNTY
       Executive Name:           PAIGE HOLLEMAN              Executive Title:           MEMBER
       Executive Name:           STEVE HOLLEMAN              Executive Title:           MANAGING MEMBER
       Line of Business:         EATING PLACE                Industry Group:            RETAIL TRADE
       Primary SIC:              5812                        SIC Description:           EATING PLACES
       Primary SIC:              5812 0203                   SIC Description:            ICE CREAM STANDS OR
                                                                                         DAIRY BARS
       Annual Sales:             $85,000-ACTUAL              Annual Sales Revision Date: 06/06/2015
       1-Yr-Ago:                 $ NOT AVAILABLE
       3-Yr-Ago:                 $ NOT AVAILABLE
       Sales Growth:             %                           Sales Territory:
       Number of Accounts:                                   Net Worth:
       Employees Total:          2                           Employees Here:            2-ACTUAL
       1-Yr-Ago:                 NOT AVAILABLE               Employment Growth:         %
       3-Yr-Ago:                 NOT AVAILABLE
       MSA Code:                 2800                        MSA Name:                  FORT
                                                                                        WORTH-ARLINGTON, TX
       Square Footage:                                       Occupancy Type:            OWNED
       Bank Name:                                            Bank DUNS Number:
       Accounting Firm:
       Business Is A:            SINGLE LOCATION             Establishment Is:          US OWNED
                                 SMALL BUSINESS
       DUNS:                     07-876-7005
       Parent Company Name:                                  Parent Company DUNS
                                                             Number:
       Ultimate Company Name:                                Ultimate Company DUNS
                                                             Number:
       Headquarters Company                                  Headquarters Company
       Name:                                                 DUNS Number:
       Last Update to Record:    05/08/2016



       1150 BLUE MOUND RD W, HASLET, TX 76052
       TARRANT COUNTY

       Business Name:            RESULTS FITNESS             Related Name(s):
       Date of Incorporation:                                State of Incorporation:
       Year Started:             2010
       Business Address:         1150 BLUE MOUND RD          Phone:                         (817) 439-2348
                                 W
                                 HASLET, TX 76052
       County:                   TARRANT COUNTY
       Executive Name:           A TERI                      Executive Title:           PRINCIPAL
       Line of Business:         PHYSICAL FITNESS            Industry Group:            SERVICES - NON
                                 FACILITY                                               PROFESSIONAL
       Primary SIC:              7991                        SIC Description:           PHYSICAL FITNESS


Page 8 of 91                                                                                             Kapitus_000207
                                              KAPITUS EX. 13 - 207
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 208 of 540

                                                                                        FACILITIES
       Primary SIC:              7991 0000                   SIC Description:           PHYSICAL FITNESS
                                                                                        FACILITIES, NSK
       Annual Sales:             $150,000-ESTIMATED          Annual Sales Revision Date: 06/06/2015
       1-Yr-Ago:                 $ NOT AVAILABLE
       3-Yr-Ago:                 $ NOT AVAILABLE
       Sales Growth:             %                           Sales Territory:
       Number of Accounts:                                   Net Worth:
       Employees Total:          3                           Employees Here:            3-ESTIMATED
       1-Yr-Ago:                 NOT AVAILABLE               Employment Growth:         %
       3-Yr-Ago:                 NOT AVAILABLE
       MSA Code:                 2800                        MSA Name:                  FORT
                                                                                        WORTH-ARLINGTON, TX
       Square Footage:                                       Occupancy Type:
       Bank Name:                                            Bank DUNS Number:
       Accounting Firm:
       Business Is A:            SINGLE LOCATION             Establishment Is:          US OWNED
                                 SMALL BUSINESS
       DUNS:                     05-258-7517
       Parent Company Name:                                  Parent Company DUNS
                                                             Number:
       Ultimate Company Name:                                Ultimate Company DUNS
                                                             Number:
       Headquarters Company                                  Headquarters Company
       Name:                                                 DUNS Number:
       Last Update to Record:    05/08/2016



       1150 BLUE MOUND RD W, HASLET, TX 76052
       TARRANT COUNTY

       Business Name:            SANDERSON ELECTRIC, Related Name(s):
                                 INC.
       Date of Incorporation:                                State of Incorporation:
       Year Started:             2010
       Business Address:         1150 BLUE MOUND RD          Phone:                        (817) 332-5552
                                 W
                                 HASLET, TX 76052
       County:                   TARRANT COUNTY
       Executive Name:           MIKE SANDERSON              Executive Title:           OWNER
       Line of Business:         ELECTRICAL                  Industry Group:            CONSTRUCTION
                                 CONTRACTOR
       Primary SIC:              1731                        SIC Description:            ELECTRICAL WORK, NSK
       Primary SIC:              1731 0000                   SIC Description:            ELECTRICAL WORK, NSK
       Annual Sales:             $498,388-ESTIMATED          Annual Sales Revision Date: 12/10/2015
       1-Yr-Ago:                 $ NOT AVAILABLE
       3-Yr-Ago:                 $ NOT AVAILABLE
       Sales Growth:             %                           Sales Territory:
       Number of Accounts:                                   Net Worth:
       Employees Total:          8                           Employees Here:            8-ACTUAL
       1-Yr-Ago:                 NOT AVAILABLE               Employment Growth:         %


Page 9 of 91                                                                                            Kapitus_000208
                                              KAPITUS EX. 13 - 208
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 209 of 540
       3-Yr-Ago:                 NOT AVAILABLE
       MSA Code:                 2800                        MSA Name:                  FORT
                                                                                        WORTH-ARLINGTON, TX
       Square Footage:                                       Occupancy Type:
       Bank Name:                                            Bank DUNS Number:
       Accounting Firm:
       Business Is A:            SINGLE LOCATION             Establishment Is:          US OWNED
                                 SMALL BUSINESS
       DUNS:                     05-336-6226
       Parent Company Name:                                  Parent Company DUNS
                                                             Number:
       Ultimate Company Name:                                Ultimate Company DUNS
                                                             Number:
       Headquarters Company                                  Headquarters Company
       Name:                                                 DUNS Number:
       Last Update to Record:    05/01/2016



       1150 BLUE MOUND RD W, HASLET, TX 76052
       TARRANT COUNTY

       Business Name:            CHRISTIAN CABLE             Related Name(s):
                                 GROUP, INC.
       Date of Incorporation:                                State of Incorporation:
       Year Started:             2001
       Business Address:         1150 BLUE MOUND RD          Phone:                        (817) 439-5107
                                 W
                                 HASLET, TX 76052
       County:                   TARRANT COUNTY
       Executive Name:           CARLITA GRIFFITH            Executive Title:           PRESIDENT
       Executive Name:           GENE GRIFFITH               Executive Title:           PROJECT MANAGER
       Executive Name:           JEFF DICKENS                Executive Title:           PROJECT MANAGER
       Line of Business:         ELECTRICAL                  Industry Group:            CONSTRUCTION
                                 CONTRACTOR
       Primary SIC:              1731                        SIC Description:           ELECTRICAL WORK, NSK
       Primary SIC:              1731 0301                   SIC Description:           CABLE TELEVISION
                                                                                        INSTALLATION
       Annual Sales:             $1,200,000-ESTIMATED        Annual Sales Revision Date: 09/16/2015
       1-Yr-Ago:                 $ NOT AVAILABLE
       3-Yr-Ago:                 $ NOT AVAILABLE
       Sales Growth:             %                           Sales Territory:           LOCAL
       Number of Accounts:                                   Net Worth:
       Employees Total:          12                          Employees Here:            12-ACTUAL
       1-Yr-Ago:                 12                          Employment Growth:         20%
       3-Yr-Ago:                 10
       MSA Code:                 2800                        MSA Name:                  FORT
                                                                                        WORTH-ARLINGTON, TX
       Square Footage:           1600                        Occupancy Type:            RENTED
       Bank Name:                                            Bank DUNS Number:
       Accounting Firm:
       Business Is A:            SINGLE LOCATION             Establishment Is:          US OWNED


Page 10 of 91                                                                                           Kapitus_000209
                                              KAPITUS EX. 13 - 209
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 210 of 540

                                 SMALL BUSINESS
       DUNS:                     10-093-7866
       Parent Company Name:                                  Parent Company DUNS
                                                             Number:
       Ultimate Company Name:                                Ultimate Company DUNS
                                                             Number:
       Headquarters Company                                  Headquarters Company
       Name:                                                 DUNS Number:
       Last Update to Record:    05/01/2016



       1150 BLUE MOUND RD W, HASLET, TX 76052
       TARRANT COUNTY

       Business Name:            G M XPRESS                  Related Name(s):
       Date of Incorporation:                                State of Incorporation:
       Year Started:             2010
       Business Address:         1150 BLUE MOUND RD          Phone:                        (817) 847-7181
                                 W
                                 HASLET, TX 76052
       County:                   TARRANT COUNTY
       Executive Name:           RAMIRO GUERRA               Executive Title:           PRINCIPAL
       Line of Business:         PROFESSIONAL                Industry Group:            SERVICES -
                                 ORGANIZATION                                           PROFESSIONAL
       Primary SIC:              8621                        SIC Description:           PROFESSIONAL
                                                                                        ORGANIZATIONS
       Primary SIC:              8621 0000                   SIC Description:           PROFESSIONAL
                                                                                        ORGANIZATIONS, NSK
       Annual Sales:             $76,545-ESTIMATED           Annual Sales Revision Date: 01/05/2016
       1-Yr-Ago:                 $ NOT AVAILABLE
       3-Yr-Ago:                 $ NOT AVAILABLE
       Sales Growth:             %                           Sales Territory:
       Number of Accounts:                                   Net Worth:
       Employees Total:          2                           Employees Here:            2-ACTUAL
       1-Yr-Ago:                 NOT AVAILABLE               Employment Growth:         %
       3-Yr-Ago:                 NOT AVAILABLE
       MSA Code:                 2800                        MSA Name:                  FORT
                                                                                        WORTH-ARLINGTON, TX
       Square Footage:                                       Occupancy Type:
       Bank Name:                                            Bank DUNS Number:
       Accounting Firm:
       Business Is A:            SINGLE LOCATION             Establishment Is:          US OWNED
       DUNS:                     05-436-6655
       Parent Company Name:                                  Parent Company DUNS
                                                             Number:
       Ultimate Company Name:                                Ultimate Company DUNS
                                                             Number:
       Headquarters Company                                  Headquarters Company
       Name:                                                 DUNS Number:
       Last Update to Record:    05/01/2016




Page 11 of 91                                                                                           Kapitus_000210
                                              KAPITUS EX. 13 - 210
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 211 of 540
       1150 BLUE MOUND RD W, HASLET, TX 76052
       TARRANT COUNTY

       Business Name:            SIMPLE METRIC               Related Name(s):
                                 PRODUCTS, INC.
       Date of Incorporation:                                State of Incorporation:
       Year Started:             2011
       Business Address:         1150 BLUE MOUND RD          Phone:                        (817) 701-6689
                                 W
                                 HASLET, TX 76052
       County:                   TARRANT COUNTY
       Executive Name:           DANIEL J STEWART            Executive Title:           EXECUTIVE DIRECTOR
       Line of Business:         GENERAL AUTO REPAIR         Industry Group:            SERVICES - NON
                                                                                        PROFESSIONAL
       Primary SIC:              7538                        SIC Description:           GENERAL AUTOMOTIVE
                                                                                        REPAIR SHOPS, NSK
       Primary SIC:              7538 0000                   SIC Description:           GENERAL AUTOMOTIVE
                                                                                        REPAIR SHOPS, NSK
       Annual Sales:             $123,175-ESTIMATED          Annual Sales Revision Date: 04/28/2016
       1-Yr-Ago:                 $ NOT AVAILABLE
       3-Yr-Ago:                 $ NOT AVAILABLE
       Sales Growth:             %                           Sales Territory:
       Number of Accounts:                                   Net Worth:
       Employees Total:          3                           Employees Here:            3-ACTUAL
       1-Yr-Ago:                 NOT AVAILABLE               Employment Growth:         %
       3-Yr-Ago:                 NOT AVAILABLE
       MSA Code:                 2800                        MSA Name:                  FORT
                                                                                        WORTH-ARLINGTON, TX
       Square Footage:                                       Occupancy Type:
       Bank Name:                                            Bank DUNS Number:
       Accounting Firm:
       Business Is A:            SINGLE LOCATION             Establishment Is:          US OWNED
                                 SMALL BUSINESS
       DUNS:                     02-297-2873
       Parent Company Name:                                  Parent Company DUNS
                                                             Number:
       Ultimate Company Name:                                Ultimate Company DUNS
                                                             Number:
       Headquarters Company                                  Headquarters Company
       Name:                                                 DUNS Number:
       Last Update to Record:    04/27/2016



       1150 BLUE MOUND RD W, HASLET, TX 76052
       TARRANT COUNTY

       Business Name:            P. B. INDUSTRIES, INC.      Related Name(s):
       Date of Incorporation:    10/01/1996                  State of Incorporation:       TX
       Year Started:
       Business Address:         1150 BLUE MOUND RD          Phone:                        (817) 439-2272
                                 W



Page 12 of 91                                                                                           Kapitus_000211
                                              KAPITUS EX. 13 - 211
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A          Page 212 of 540

                                 HASLET, TX 76052
       County:                   TARRANT COUNTY
       Executive Name:           CHANTAL GALLOWAY            Executive Title:              TERMINAL MANAGER
       Line of Business:         LOCAL TRUCKING-WITH         Industry Group:               TRANSPORATION,
                                 STORAGE                                                   COMMUNICATION,
                                                                                           ELECTRIC, GAS, AND
                                                                                           SANITARY SERVICES
       Primary SIC:              4214                        SIC Description:              LOCAL TRUCKING WITH
                                                                                           STORAGE, NSK
       Primary SIC:              4214 0000                   SIC Description:              LOCAL TRUCKING WITH
                                                                                           STORAGE, NSK
       Annual Sales:                                         Annual Sales Revision Date:
       1-Yr-Ago:
       3-Yr-Ago:
       Sales Growth:             %                           Sales Territory:
       Number of Accounts:                                   Net Worth:
       Employees Total:                                      Employees Here:               5-ACTUAL
       1-Yr-Ago:                                             Employment Growth:            %
       3-Yr-Ago:
       MSA Code:                 2800                        MSA Name:                     FORT
                                                                                           WORTH-ARLINGTON, TX
       Square Footage:                                       Occupancy Type:               RENTED
       Bank Name:                                            Bank DUNS Number:
       Accounting Firm:
       Business Is A:            BRANCH LOCATION             Establishment Is:             US OWNED
       DUNS:                     78-345-9329
       Parent Company Name:                                  Parent Company DUNS
                                                             Number:
       Ultimate Company Name:    P. B. INDUSTRIES INC.       Ultimate Company DUNS         16-104-7238
                                                             Number:
       Headquarters Company      P. B. INDUSTRIES INC.       Headquarters Company          16-104-7238
       Name:                                                 DUNS Number:
       Last Update to Record:    04/17/2016



       1150 BLUE MOUND RD W, HASLET, TX 76052
       TARRANT COUNTY

       Business Name:            LICENSE TO CHILL            Related Name(s):
                                 HEATING AND AIR INC.
       Date of Incorporation:                                State of Incorporation:
       Year Started:             2014
       Business Address:         1150 BLUE MOUND RD          Phone:                            (817) 439-3599
                                 W
                                 HASLET, TX 76052
       County:                   TARRANT COUNTY
       Executive Name:           DWAYNE BRIDGES       Executive Title:                     PRINCIPAL
       Line of Business:         PLUMBING/HEATING/AIR Industry Group:                      CONSTRUCTION
                                 COND CONTRACTOR
       Primary SIC:              1711                        SIC Description:              PLUMBING, HEATING,
                                                                                           AIR-CONDITIONING, NSK
       Primary SIC:              1711 0103                   SIC Description:              HEATING SYSTEMS

Page 13 of 91                                                                                               Kapitus_000212
                                              KAPITUS EX. 13 - 212
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 213 of 540

                                                                                         REPAIR AND
                                                                                         MAINTENANCE
       Annual Sales:             $1,100,000-ESTIMATED        Annual Sales Revision Date: 09/16/2015
       1-Yr-Ago:                 $ NOT AVAILABLE
       3-Yr-Ago:                 $ NOT AVAILABLE
       Sales Growth:             %                           Sales Territory:           LOCAL
       Number of Accounts:                                   Net Worth:
       Employees Total:          15                          Employees Here:            15-ACTUAL
       1-Yr-Ago:                 NOT AVAILABLE               Employment Growth:         %
       3-Yr-Ago:                 NOT AVAILABLE
       MSA Code:                 2800                        MSA Name:                  FORT
                                                                                        WORTH-ARLINGTON, TX
       Square Footage:                                       Occupancy Type:
       Bank Name:                                            Bank DUNS Number:
       Accounting Firm:
       Business Is A:            SINGLE LOCATION             Establishment Is:          US OWNED
                                 SMALL BUSINESS
       DUNS:                     03-959-0332
       Parent Company Name:                                  Parent Company DUNS
                                                             Number:
       Ultimate Company Name:                                Ultimate Company DUNS
                                                             Number:
       Headquarters Company                                  Headquarters Company
       Name:                                                 DUNS Number:
       Last Update to Record:    04/17/2016



       1150 BLUE MOUND RD W, HASLET, TX 76052
       TARRANT COUNTY

       Business Name:            TBC PARTS AND               Related Name(s):
                                 EQUIPMENT SERVICES
       Date of Incorporation:                                State of Incorporation:
       Year Started:             2010
       Business Address:         1150 BLUE MOUND RD          Phone:                         (817) 395-2082
                                 W
                                 HASLET, TX 76052
       County:                   TARRANT COUNTY
       Executive Name:           FRANKIE BERNARD     Executive Title:                   OWNER
       Line of Business:         PARTS AND EQUIPMENT Industry Group:                    SERVICES - NON
                                 SERVICES                                               PROFESSIONAL
       Primary SIC:              7359                        SIC Description:            EQUIPMENT RENTAL AND
                                                                                         LEASING, NEC
       Primary SIC:              7359 0000                   SIC Description:            EQUIPMENT RENTAL AND
                                                                                         LEASING, NEC, NSK
       Annual Sales:             $110,000-ESTIMATED          Annual Sales Revision Date: 09/16/2015
       1-Yr-Ago:                 $ NOT AVAILABLE
       3-Yr-Ago:                 $ NOT AVAILABLE
       Sales Growth:             %                           Sales Territory:
       Number of Accounts:                                   Net Worth:
       Employees Total:          2                           Employees Here:            2-ACTUAL


Page 14 of 91                                                                                            Kapitus_000213
                                              KAPITUS EX. 13 - 213
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 214 of 540
       1-Yr-Ago:                 2                           Employment Growth:         %
       3-Yr-Ago:                 2
       MSA Code:                 2800                        MSA Name:                  FORT
                                                                                        WORTH-ARLINGTON, TX
       Square Footage:                                       Occupancy Type:
       Bank Name:                                            Bank DUNS Number:
       Accounting Firm:
       Business Is A:            SINGLE LOCATION             Establishment Is:          US OWNED
                                 SMALL BUSINESS
       DUNS:                     01-814-4635
       Parent Company Name:                                  Parent Company DUNS
                                                             Number:
       Ultimate Company Name:                                Ultimate Company DUNS
                                                             Number:
       Headquarters Company                                  Headquarters Company
       Name:                                                 DUNS Number:
       Last Update to Record:    04/17/2016



       1150 BLUE MOUND RD W, HASLET, TX 76052
       TARRANT COUNTY

       Business Name:            RENEE RIDLEY                Related Name(s):
       Date of Incorporation:                                State of Incorporation:
       Year Started:             2008
       Business Address:         1150 BLUE MOUND RD          Phone:                         (817) 366-6534
                                 W
                                 HASLET, TX 76052
       County:                   TARRANT COUNTY
       Executive Name:           RENEE RIDLEY                Executive Title:           PRINCIPAL
       Line of Business:         BUSINESS SERVICES AT Industry Group:                   SERVICES - NON
                                 NON-COMMERCIAL SITE                                    PROFESSIONAL
       Primary SIC:              7389                        SIC Description:            BUSINESS SERVICES,
                                                                                         NEC, NSK
       Primary SIC:              7389 9999                   SIC Description:            BUSINESS SERVICES AT
                                                                                         NON-COMMERCIAL SITE
       Annual Sales:             $74,093-ESTIMATED           Annual Sales Revision Date: 04/14/2016
       1-Yr-Ago:                 $ NOT AVAILABLE
       3-Yr-Ago:                 $ NOT AVAILABLE
       Sales Growth:             %                           Sales Territory:
       Number of Accounts:                                   Net Worth:
       Employees Total:          2                           Employees Here:            2-ESTIMATED
       1-Yr-Ago:                 NOT AVAILABLE               Employment Growth:         %
       3-Yr-Ago:                 NOT AVAILABLE
       MSA Code:                 2800                        MSA Name:                  FORT
                                                                                        WORTH-ARLINGTON, TX
       Square Footage:                                       Occupancy Type:
       Bank Name:                                            Bank DUNS Number:
       Accounting Firm:
       Business Is A:            SINGLE LOCATION             Establishment Is:          US OWNED
                                 SMALL BUSINESS


Page 15 of 91                                                                                            Kapitus_000214
                                              KAPITUS EX. 13 - 214
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 215 of 540
       DUNS:                     02-045-6069
       Parent Company Name:                                  Parent Company DUNS
                                                             Number:
       Ultimate Company Name:                                Ultimate Company DUNS
                                                             Number:
       Headquarters Company                                  Headquarters Company
       Name:                                                 DUNS Number:
       Last Update to Record:    04/13/2016



       1150 BLUE MOUND RD W, HASLET, TX 76052
       TARRANT COUNTY

       Business Name:            NEW LINE PLUMBING           Related Name(s):
                                 SERVICES LLC
       Date of Incorporation:                                State of Incorporation:
       Year Started:             2008
       Business Address:         1150 BLUE MOUND RD          Phone:                         (817) 439-5637
                                 W
                                 HASLET, TX 76052
       County:                   TARRANT COUNTY
       Executive Name:           DAVID P WORTHY              Executive Title:           PRINCIPAL
       Line of Business:         PLUMBING/HEATING/AIR Industry Group:                   CONSTRUCTION
                                 COND CONTRACTOR
       Primary SIC:              1711                        SIC Description:           PLUMBING, HEATING,
                                                                                        AIR-CONDITIONING, NSK
       Primary SIC:              1711 0200                   SIC Description:           PLUMBING CONTRACTOR
       Annual Sales:             $110,000-ESTIMATED          Annual Sales Revision Date: 07/16/2015
       1-Yr-Ago:                 $ NOT AVAILABLE
       3-Yr-Ago:                 $ NOT AVAILABLE
       Sales Growth:             %                           Sales Territory:           LOCAL
       Number of Accounts:                                   Net Worth:
       Employees Total:          1                           Employees Here:            1-ACTUAL
       1-Yr-Ago:                 1                           Employment Growth:         %
       3-Yr-Ago:                 1
       MSA Code:                 2800                        MSA Name:                  FORT
                                                                                        WORTH-ARLINGTON, TX
       Square Footage:                                       Occupancy Type:
       Bank Name:                                            Bank DUNS Number:
       Accounting Firm:
       Business Is A:            SINGLE LOCATION             Establishment Is:          US OWNED
                                 SMALL BUSINESS
       DUNS:                     01-446-1884
       Parent Company Name:                                  Parent Company DUNS
                                                             Number:
       Ultimate Company Name:                                Ultimate Company DUNS
                                                             Number:
       Headquarters Company                                  Headquarters Company
       Name:                                                 DUNS Number:
       Last Update to Record:    04/10/2016




Page 16 of 91                                                                                            Kapitus_000215
                                              KAPITUS EX. 13 - 215
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 216 of 540
       1150 BLUE MOUND RD W, HASLET, TX 76052
       TARRANT COUNTY

       Business Name:            PREOWNED CARS OF            Related Name(s):
                                 HASLETT
       Date of Incorporation:                                State of Incorporation:
       Year Started:             2014
       Business Address:         1150 BLUE MOUND RD          Phone:
                                 W
                                 HASLET, TX 76052
       County:                   TARRANT COUNTY
       Executive Name:           DAVID MAGARIN               Executive Title:           PRINCIPAL
       Line of Business:         RET NEW/USED                Industry Group:            RETAIL TRADE
                                 AUTOMOBILES
       Primary SIC:              5511                        SIC Description:           NEW AND USED CAR
                                                                                        DEALERS, NSK
       Primary SIC:              5511 0000                   SIC Description:           NEW AND USED CAR
                                                                                        DEALERS, NSK
       Annual Sales:             $170,008-ESTIMATED          Annual Sales Revision Date: 09/11/2015
       1-Yr-Ago:                 $ NOT AVAILABLE
       3-Yr-Ago:                 $ NOT AVAILABLE
       Sales Growth:             %                           Sales Territory:
       Number of Accounts:                                   Net Worth:
       Employees Total:          3                           Employees Here:            3-ESTIMATED
       1-Yr-Ago:                 NOT AVAILABLE               Employment Growth:         %
       3-Yr-Ago:                 NOT AVAILABLE
       MSA Code:                 2800                        MSA Name:                  FORT
                                                                                        WORTH-ARLINGTON, TX
       Square Footage:                                       Occupancy Type:
       Bank Name:                                            Bank DUNS Number:
       Accounting Firm:
       Business Is A:            SINGLE LOCATION             Establishment Is:          US OWNED
       DUNS:                     06-780-4697
       Parent Company Name:                                  Parent Company DUNS
                                                             Number:
       Ultimate Company Name:                                Ultimate Company DUNS
                                                             Number:
       Headquarters Company                                  Headquarters Company
       Name:                                                 DUNS Number:
       Last Update to Record:    04/10/2016



       1150 BLUE MOUND RD W, HASLET, TX 76052
       TARRANT COUNTY

       Business Name:            THE MANLEY DESIGN           Related Name(s):
                                 TEAM LLC
       Date of Incorporation:                                State of Incorporation:
       Year Started:             2014
       Business Address:         1150 BLUE MOUND RD          Phone:
                                 W



Page 17 of 91                                                                                          Kapitus_000216
                                              KAPITUS EX. 13 - 216
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 217 of 540

                                 HASLET, TX 76052
       County:                   TARRANT COUNTY
       Executive Name:           JENNIFER MANLEY             Executive Title:           PRINCIPAL
       Line of Business:         BUSINESS SERVICES           Industry Group:            SERVICES - NON
                                                                                        PROFESSIONAL
       Primary SIC:              7389                        SIC Description:           BUSINESS SERVICES,
                                                                                        NEC, NSK
       Primary SIC:              7389 1800                   SIC Description:           DESIGN SERVICES
       Annual Sales:             $51,000-ESTIMATED           Annual Sales Revision Date: 09/16/2015
       1-Yr-Ago:                 $ NOT AVAILABLE
       3-Yr-Ago:                 $ NOT AVAILABLE
       Sales Growth:             %                           Sales Territory:           LOCAL
       Number of Accounts:                                   Net Worth:
       Employees Total:          1                           Employees Here:            1-ESTIMATED
       1-Yr-Ago:                 NOT AVAILABLE               Employment Growth:         %
       3-Yr-Ago:                 NOT AVAILABLE
       MSA Code:                 2800                        MSA Name:                  FORT
                                                                                        WORTH-ARLINGTON, TX
       Square Footage:                                       Occupancy Type:
       Bank Name:                                            Bank DUNS Number:
       Accounting Firm:
       Business Is A:            SINGLE LOCATION             Establishment Is:          US OWNED
                                 SMALL BUSINESS
       DUNS:                     07-179-8138
       Parent Company Name:                                  Parent Company DUNS
                                                             Number:
       Ultimate Company Name:                                Ultimate Company DUNS
                                                             Number:
       Headquarters Company                                  Headquarters Company
       Name:                                                 DUNS Number:
       Last Update to Record:    04/10/2016



       1150 BLUE MOUND RD W, HASLET, TX 76052
       TARRANT COUNTY

       Business Name:            GARLEY'S GARAGE             Related Name(s):
       Date of Incorporation:                                State of Incorporation:
       Year Started:             2013
       Business Address:         1150 BLUE MOUND RD          Phone:                        (817) 439-8113
                                 W
                                 HASLET, TX 76052
       County:                   TARRANT COUNTY
       Executive Name:           ADAM GARLEY         Executive Title:                   PRINCIPAL
       Line of Business:         GENERAL AUTO REPAIR Industry Group:                    SERVICES - NON
                                                                                        PROFESSIONAL
       Primary SIC:              7538                        SIC Description:           GENERAL AUTOMOTIVE
                                                                                         REPAIR SHOPS, NSK
       Primary SIC:              7538 0000                   SIC Description:            GENERAL AUTOMOTIVE
                                                                                         REPAIR SHOPS, NSK
       Annual Sales:             $108,710-ESTIMATED          Annual Sales Revision Date: 04/06/2016



Page 18 of 91                                                                                           Kapitus_000217
                                              KAPITUS EX. 13 - 217
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 218 of 540
       1-Yr-Ago:                 $ NOT AVAILABLE
       3-Yr-Ago:                 $ NOT AVAILABLE
       Sales Growth:             %                           Sales Territory:
       Number of Accounts:                                   Net Worth:
       Employees Total:          2                           Employees Here:            2-ACTUAL
       1-Yr-Ago:                 NOT AVAILABLE               Employment Growth:         %
       3-Yr-Ago:                 NOT AVAILABLE
       MSA Code:                 2800                        MSA Name:                  FORT
                                                                                        WORTH-ARLINGTON, TX
       Square Footage:                                       Occupancy Type:
       Bank Name:                                            Bank DUNS Number:
       Accounting Firm:
       Business Is A:            SINGLE LOCATION             Establishment Is:          US OWNED
                                 SMALL BUSINESS
       DUNS:                     02-588-0598
       Parent Company Name:                                  Parent Company DUNS
                                                             Number:
       Ultimate Company Name:                                Ultimate Company DUNS
                                                             Number:
       Headquarters Company                                  Headquarters Company
       Name:                                                 DUNS Number:
       Last Update to Record:    04/05/2016



       1150 BLUE MOUND RD W, HASLET, TX 76052
       TARRANT COUNTY

       Business Name:            IDESIGNTSHIRTS, INC.        Related Name(s):
       Date of Incorporation:                                State of Incorporation:
       Year Started:             2015
       Business Address:         1150 BLUE MOUND RD          Phone:
                                 W
                                 HASLET, TX 76052
       County:                   TARRANT COUNTY
       Executive Name:           CHRISM EVANS                Executive Title:           DIRECTOR
       Line of Business:         BUSINESS SERVICES           Industry Group:            SERVICES - NON
                                                                                        PROFESSIONAL
       Primary SIC:              7389                        SIC Description:           BUSINESS SERVICES,
                                                                                         NEC, NSK
       Primary SIC:              7389 1800                   SIC Description:            DESIGN SERVICES
       Annual Sales:             $44,814-ESTIMATED           Annual Sales Revision Date: 02/20/2016
       1-Yr-Ago:                 $ NOT AVAILABLE
       3-Yr-Ago:                 $ NOT AVAILABLE
       Sales Growth:             %                           Sales Territory:           LOCAL
       Number of Accounts:                                   Net Worth:
       Employees Total:          1                           Employees Here:            1-ESTIMATED
       1-Yr-Ago:                 NOT AVAILABLE               Employment Growth:         %
       3-Yr-Ago:                 NOT AVAILABLE
       MSA Code:                 2800                        MSA Name:                  FORT
                                                                                        WORTH-ARLINGTON, TX
       Square Footage:                                       Occupancy Type:



Page 19 of 91                                                                                          Kapitus_000218
                                              KAPITUS EX. 13 - 218
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 219 of 540
       Bank Name:                                            Bank DUNS Number:
       Accounting Firm:
       Business Is A:            SINGLE LOCATION             Establishment Is:          US OWNED
                                 SMALL BUSINESS
       DUNS:                     04-442-1644
       Parent Company Name:                                  Parent Company DUNS
                                                             Number:
       Ultimate Company Name:                                Ultimate Company DUNS
                                                             Number:
       Headquarters Company                                  Headquarters Company
       Name:                                                 DUNS Number:
       Last Update to Record:    04/03/2016



       1150 BLUE MOUND RD W, HASLET, TX 76052
       TARRANT COUNTY

       Business Name:            NORTH TEXAS SCREW           Related Name(s):
                                 COMPRESSORS, LLC
       Date of Incorporation:                                State of Incorporation:
       Year Started:             2014
       Business Address:         1150 BLUE MOUND RD          Phone:                        (817) 239-8685
                                 W
                                 HASLET, TX 76052
       County:                   TARRANT COUNTY
       Executive Name:           CHRIS CALVERT               Executive Title:           PRESIDENT
       Line of Business:         REPAIR SERVICES             Industry Group:            SERVICES - NON
                                                                                        PROFESSIONAL
       Primary SIC:              7699                        SIC Description:           REPAIR SERVICES, NEC,
                                                                                        NSK
       Primary SIC:              7699 0501                   SIC Description:           COMPRESSOR REPAIR
       Annual Sales:             $112,449-ESTIMATED          Annual Sales Revision Date: 03/10/2016
       1-Yr-Ago:                 $ NOT AVAILABLE
       3-Yr-Ago:                 $ NOT AVAILABLE
       Sales Growth:             %                           Sales Territory:
       Number of Accounts:                                   Net Worth:
       Employees Total:          2                           Employees Here:            2-ACTUAL
       1-Yr-Ago:                 NOT AVAILABLE               Employment Growth:         %
       3-Yr-Ago:                 NOT AVAILABLE
       MSA Code:                 2800                        MSA Name:                  FORT
                                                                                        WORTH-ARLINGTON, TX
       Square Footage:                                       Occupancy Type:
       Bank Name:                                            Bank DUNS Number:
       Accounting Firm:
       Business Is A:            SINGLE LOCATION             Establishment Is:          US OWNED
                                 SMALL BUSINESS
       DUNS:                     04-471-6742
       Parent Company Name:                                  Parent Company DUNS
                                                             Number:
       Ultimate Company Name:                                Ultimate Company DUNS
                                                             Number:
       Headquarters Company                                  Headquarters Company


Page 20 of 91                                                                                           Kapitus_000219
                                              KAPITUS EX. 13 - 219
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A         Page 220 of 540
       Name:                                                 DUNS Number:
       Last Update to Record:    04/03/2016



       1150 BLUE MOUND RD W, HASLET, TX 76052
       TARRANT COUNTY

       Business Name:            DECORATIVE CONCRETE Related Name(s):
                                 SUPPLY
       Date of Incorporation:                                State of Incorporation:
       Year Started:
       Business Address:         1150 BLUE MOUND RD          Phone:                          (817) 439-8884
                                 W
                                 HASLET, TX 76052
       County:                   TARRANT COUNTY
       Executive Name:           SCOTT KREIGER               Executive Title:              BRANCH MANAGER
       Line of Business:         RET LUMBER/BUILDING         Industry Group:               RETAIL TRADE
                                 MATERIALS WHOL
                                 BRICK/STONE MATERIAL
       Primary SIC:              5211                        SIC Description:              LUMBER AND OTHER
                                                                                           BUILDING MATERIALS,
                                                                                           NSK
       Primary SIC:              5211 0503                   SIC Description:              CONCRETE AND CINDER
                                                                                           BLOCK
       Secondary SIC:            5032                        SIC Description:              BRICK, STONE, AND
                                                                                           RELATED MATERIAL
       Secondary SIC:            5032 0500                   SIC Description:              CONCRETE AND CINDER
                                                                                           BUILDING PRODUCTS
       Annual Sales:                                         Annual Sales Revision Date:
       1-Yr-Ago:
       3-Yr-Ago:
       Sales Growth:             %                           Sales Territory:
       Number of Accounts:                                   Net Worth:
       Employees Total:                                      Employees Here:               1-ESTIMATED
       1-Yr-Ago:                                             Employment Growth:            %
       3-Yr-Ago:
       MSA Code:                 2800                        MSA Name:                     FORT
                                                                                           WORTH-ARLINGTON, TX
       Square Footage:                                       Occupancy Type:
       Bank Name:                                            Bank DUNS Number:
       Accounting Firm:
       Business Is A:            BRANCH LOCATION             Establishment Is:             US OWNED
       DUNS:                     05-279-1786
       Parent Company Name:                          Parent Company DUNS
                                                     Number:
       Ultimate Company Name:    DECORATIVE CONCRETE Ultimate Company DUNS                 10-345-0818
                                                     Number:
                                 SUPPLY
       Headquarters Company      DECORATIVE CONCRETE Headquarters Company                  10-345-0818
       Name:                                         DUNS Number:
                                 SUPPLY
       Last Update to Record:    03/27/2016



Page 21 of 91                                                                                             Kapitus_000220
                                              KAPITUS EX. 13 - 220
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 221 of 540


       1150 BLUE MOUND RD W, HASLET, TX 76052
       TARRANT COUNTY

       Business Name:            BODY AND COLORS             Related Name(s):
       Date of Incorporation:                                State of Incorporation:
       Year Started:             2005
       Business Address:         1150 BLUE MOUND RD          Phone:                         (682) 433-2625
                                 W
                                 HASLET, TX 76052
       County:                   TARRANT COUNTY
       Executive Name:           JEFFREY SOARES              Executive Title:           OWNER
       Executive Name:           DOROTHY I HILL              Executive Title:           OFFICE MANAGER
       Line of Business:         AUTO BODY                   Industry Group:            SERVICES - NON
                                 REPAIR/PAINTING                                        PROFESSIONAL
       Primary SIC:              7532                        SIC Description:           TOP AND BODY REPAIR
                                                                                        AND PAINT SHOPS
       Primary SIC:              7532 0202                   SIC Description:           PAINT SHOP,
                                                                                        AUTOMOTIVE
       Annual Sales:             $50,000-ACTUAL              Annual Sales Revision Date: 06/06/2015
       1-Yr-Ago:                 $50,000
       3-Yr-Ago:                 $50,000
       Sales Growth:             %                           Sales Territory:           LOCAL
       Number of Accounts:                                   Net Worth:
       Employees Total:          2                           Employees Here:            2-ACTUAL
       1-Yr-Ago:                 2                           Employment Growth:         %
       3-Yr-Ago:                 2
       MSA Code:                 2800                        MSA Name:                  FORT
                                                                                        WORTH-ARLINGTON, TX
       Square Footage:           2200                        Occupancy Type:            RENTED
       Bank Name:                                            Bank DUNS Number:
       Accounting Firm:
       Business Is A:            SINGLE LOCATION             Establishment Is:          US OWNED
                                 SMALL BUSINESS
       DUNS:                     80-079-1100
       Parent Company Name:                                  Parent Company DUNS
                                                             Number:
       Ultimate Company Name:                                Ultimate Company DUNS
                                                             Number:
       Headquarters Company                                  Headquarters Company
       Name:                                                 DUNS Number:
       Last Update to Record:    03/27/2016



       4017 CLAY AVE STE C, HALTOM CITY, TX 76117
       TARRANT COUNTY

       Business Name:            MSO TECHNOLOGIES,           Related Name(s):               XEGSYS
                                 INC.
       Date of Incorporation:                                State of Incorporation:
       Year Started:
       Business Address:                                     Phone:

Page 22 of 91                                                                                            Kapitus_000221
                                              KAPITUS EX. 13 - 221
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A        Page 222 of 540

                                 4017 CLAY AVE STE C                                         (817) 439-0385
                                 HALTOM CITY, TX 76117
       County:                   TARRANT COUNTY
       Executive Name:           MIKE NEASE                  Executive Title:              CHIEF EXECUTIVE
                                                                                           OFFICER
       Executive Name:           LARRY DEW                   Executive Title:              MANAGER
       Line of Business:         MFG MISC INDUSTRY           Industry Group:               MANUFACTURING
                                 MACHINERY
       Primary SIC:              3559                        SIC Description:              SPECIAL INDUSTRY
                                                                                           MACHINERY, NEC, NSK
       Primary SIC:              3559 9939                   SIC Description:              ELECTRONIC
                                                                                           COMPONENT MAKING
                                                                                           MACHINERY
       Annual Sales:                                         Annual Sales Revision Date:
       1-Yr-Ago:
       3-Yr-Ago:
       Sales Growth:             %                           Sales Territory:
       Number of Accounts:                                   Net Worth:
       Employees Total:          NOT AVAILABLE               Employees Here:               2-ACTUAL
       1-Yr-Ago:                 20                          Employment Growth:            %
       3-Yr-Ago:                 20
       MSA Code:                 2800                        MSA Name:                     FORT
                                                                                           WORTH-ARLINGTON, TX
       Square Footage:                                       Occupancy Type:               RENTED
       Bank Name:                                            Bank DUNS Number:
       Accounting Firm:
       Business Is A:            MANUFACTURING               Establishment Is:             US OWNED
                                 LOCATION
                                 DIVISION
       DUNS:                     16-834-5218
       Parent Company Name:                                  Parent Company DUNS
                                                             Number:
       Ultimate Company Name:    MSO TECHNOLOGIES            Ultimate Company DUNS         07-516-2276
                                                             Number:
                                 INC.
       Headquarters Company      MSO TECHNOLOGIES            Headquarters Company          07-516-2276
       Name:                                                 DUNS Number:
                                 INC.
       Last Update to Record:    03/27/2016



       1150 BLUE MOUND RD W, HASLET, TX 76052
       TARRANT COUNTY

       Business Name:            VAREL INTERNATIONAL, Related Name(s):
                                 INC.
       Date of Incorporation:                                State of Incorporation:
       Year Started:
       Business Address:         1150 BLUE MOUND RD          Phone:                          (817) 439-1183
                                 W
                                 HASLET, TX 76052
       County:                   TARRANT COUNTY
       Executive Name:           ERIK ROBINSON               Executive Title:              OWNER

Page 23 of 91                                                                                             Kapitus_000222
                                              KAPITUS EX. 13 - 222
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A        Page 223 of 540
       Line of Business:         WHOL INDUSTRIAL             Industry Group:               WHOLESALE TRADE
                                 EQUIPMENT
       Primary SIC:              5084                        SIC Description:              INDUSTRIAL MACHINERY
                                                                                           AND EQUIPMENT
       Primary SIC:              5084 0402                   SIC Description:              DRILLING BITS
       Annual Sales:                                         Annual Sales Revision Date:
       1-Yr-Ago:
       3-Yr-Ago:
       Sales Growth:             %                           Sales Territory:
       Number of Accounts:                                   Net Worth:
       Employees Total:                                      Employees Here:               2-ACTUAL
       1-Yr-Ago:                                             Employment Growth:            %
       3-Yr-Ago:
       MSA Code:                 2800                        MSA Name:                     FORT
                                                                                           WORTH-ARLINGTON, TX
       Square Footage:                                       Occupancy Type:               RENTED
       Bank Name:                                            Bank DUNS Number:
       Accounting Firm:
       Business Is A:            BRANCH LOCATION             Establishment Is:             US OWNED
       DUNS:                     62-378-0876
       Parent Company Name:                            Parent Company DUNS
                                                       Number:
       Ultimate Company Name:    VAREL INTL ENRGY SVCS Ultimate Company DUNS               82-826-9501
                                                       Number:
                                 INC
       Headquarters Company      VAREL INTERNATIONAL         Headquarters Company          00-731-9437
       Name:                                                 DUNS Number:
                                 IND LP
       Last Update to Record:    03/27/2016



       1150 BLUE MOUND RD W, HASLET, TX 76052
       TARRANT COUNTY

       Business Name:            LONE STAR DEDICATED         Related Name(s):
                                 LOGISTICS LLC
       Date of Incorporation:                                State of Incorporation:
       Year Started:             2012
       Business Address:         1150 BLUE MOUND RD          Phone:                          (817) 306-4900
                                 W
                                 HASLET, TX 76052
       County:                   TARRANT COUNTY
       Executive Name:           DAVID MAGARIN               Executive Title:              MEMBER
       Line of Business:         FREIGHT                     Industry Group:               TRANSPORATION,
                                 TRANSPORTATION                                            COMMUNICATION,
                                 ARRANGEMENT                                               ELECTRIC, GAS, AND
                                                                                           SANITARY SERVICES
       Primary SIC:              4731                        SIC Description:              FREIGHT
                                                                                           TRANSPORTATION
                                                                                           ARRANGEMENT, NSK
       Primary SIC:              4731 0000                   SIC Description:              FREIGHT
                                                                                           TRANSPORTATION
                                                                                           ARRANGEMENT, NSK


Page 24 of 91                                                                                             Kapitus_000223
                                              KAPITUS EX. 13 - 223
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 224 of 540
       Annual Sales:             $823,006-ESTIMATED          Annual Sales Revision Date: 03/15/2016
       1-Yr-Ago:                 $ NOT AVAILABLE
       3-Yr-Ago:                 $ NOT AVAILABLE
       Sales Growth:             %                           Sales Territory:
       Number of Accounts:                                   Net Worth:
       Employees Total:          4                           Employees Here:            4-ACTUAL
       1-Yr-Ago:                 NOT AVAILABLE               Employment Growth:         %
       3-Yr-Ago:                 NOT AVAILABLE
       MSA Code:                 2800                        MSA Name:                  FORT
                                                                                        WORTH-ARLINGTON, TX
       Square Footage:                                       Occupancy Type:
       Bank Name:                                            Bank DUNS Number:
       Accounting Firm:
       Business Is A:            SINGLE LOCATION             Establishment Is:          US OWNED
                                 SMALL BUSINESS
       DUNS:                     02-729-8867
       Parent Company Name:                                  Parent Company DUNS
                                                             Number:
       Ultimate Company Name:                                Ultimate Company DUNS
                                                             Number:
       Headquarters Company                                  Headquarters Company
       Name:                                                 DUNS Number:
       Last Update to Record:    03/14/2016



       1150 BLUE MOUND RD W, HASLET, TX 76052
       TARRANT COUNTY

       Business Name:            FIRE RETARDANT        Related Name(s):
                                 COATINGS OF TEXAS LLC
       Date of Incorporation:                                State of Incorporation:
       Year Started:             2011
       Business Address:         1150 BLUE MOUND RD          Phone:                        (817) 710-5233
                                 W
                                 HASLET, TX 76052
       County:                   TARRANT COUNTY
       Executive Name:           DAVID PAULO                 Executive Title:           PRINCIPAL
       Line of Business:         RESIDENTIAL                 Industry Group:            CONSTRUCTION
                                 CONSTRUCTION
       Primary SIC:              1522                        SIC Description:           RESIDENTIAL
                                                                                         CONSTRUCTION, NEC
       Primary SIC:              1522 0100                   SIC Description:            HOTEL/MOTEL AND
                                                                                         MULTI-FAMILY HOME
                                                                                         CONSTRUCTION
       Annual Sales:             $282,099-ESTIMATED          Annual Sales Revision Date: 02/13/2016
       1-Yr-Ago:                 $ NOT AVAILABLE
       3-Yr-Ago:                 $ NOT AVAILABLE
       Sales Growth:             %                           Sales Territory:
       Number of Accounts:                                   Net Worth:
       Employees Total:          2                           Employees Here:            2-ESTIMATED
       1-Yr-Ago:                 NOT AVAILABLE               Employment Growth:         %


Page 25 of 91                                                                                           Kapitus_000224
                                              KAPITUS EX. 13 - 224
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 225 of 540
       3-Yr-Ago:                 NOT AVAILABLE
       MSA Code:                 2800                        MSA Name:                  FORT
                                                                                        WORTH-ARLINGTON, TX
       Square Footage:                                       Occupancy Type:
       Bank Name:                                            Bank DUNS Number:
       Accounting Firm:
       Business Is A:            SINGLE LOCATION             Establishment Is:          US OWNED
                                 SMALL BUSINESS
       DUNS:                     02-911-4281
       Parent Company Name:                                  Parent Company DUNS
                                                             Number:
       Ultimate Company Name:                                Ultimate Company DUNS
                                                             Number:
       Headquarters Company                                  Headquarters Company
       Name:                                                 DUNS Number:
       Last Update to Record:    02/12/2016



       3313 HAMPDEN DR, GARLAND, TX 75043
       DALLAS COUNTY

       Business Name:            IN FENCE ME                 Related Name(s):
       Date of Incorporation:                                State of Incorporation:
       Year Started:             2007
       Business Address:         3313 HAMPDEN DR             Phone:
                                 GARLAND, TX 75043
       County:                   DALLAS COUNTY
       Executive Name:           RHONDA MORRIS               Executive Title:           PRESIDENT
       Line of Business:         TRADE CONTRACTOR            Industry Group:            CONSTRUCTION
       Primary SIC:              1799                        SIC Description:           SPECIAL TRADE
                                                                                        CONTRACTORS, NEC,
                                                                                        NSK
       Primary SIC:              1799 9912                   SIC Description:           FENCE CONSTRUCTION
       Annual Sales:             $480,116-ESTIMATED          Annual Sales Revision Date: 10/29/2015
       1-Yr-Ago:                 $ NOT AVAILABLE
       3-Yr-Ago:                 $ NOT AVAILABLE
       Sales Growth:             %                           Sales Territory:           LOCAL
       Number of Accounts:                                   Net Worth:
       Employees Total:          6                           Employees Here:            6-ACTUAL
       1-Yr-Ago:                 NOT AVAILABLE               Employment Growth:         %
       3-Yr-Ago:                 NOT AVAILABLE
       MSA Code:                 1920                        MSA Name:                  DALLAS, TX
       Square Footage:                                       Occupancy Type:            RENTED
       Bank Name:                                            Bank DUNS Number:
       Accounting Firm:
       Business Is A:            SINGLE LOCATION             Establishment Is:          US OWNED
                                 SMALL BUSINESS
       DUNS:                     79-590-8164
       Parent Company Name:                                  Parent Company DUNS
                                                             Number:
       Ultimate Company Name:                                Ultimate Company DUNS
                                                             Number:


Page 26 of 91                                                                                          Kapitus_000225
                                              KAPITUS EX. 13 - 225
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 226 of 540
       Headquarters Company                                  Headquarters Company
       Name:                                                 DUNS Number:
       Last Update to Record:    01/31/2016



       1150 BLUE MOUND RD W, HASLET, TX 76052
       TARRANT COUNTY

       Business Name:            LONESTAR REPAIR AND         Related Name(s):
                                 PERFORMANCE
       Date of Incorporation:                                State of Incorporation:
       Year Started:             2014
       Business Address:         1150 BLUE MOUND RD          Phone:                         (817) 439-9637
                                 W
                                 HASLET, TX 76052
       County:                   TARRANT COUNTY
       Executive Name:           WILLIAM GOWER               Executive Title:           PRINCIPAL
       Line of Business:         REPAIR SERVICES             Industry Group:            SERVICES - NON
                                                                                        PROFESSIONAL
       Primary SIC:              7699                        SIC Description:           REPAIR SERVICES, NEC,
                                                                                        NSK
       Primary SIC:              7699 0000                   SIC Description:           REPAIR SERVICES, NEC,
                                                                                        NSK
       Annual Sales:             $61,739-ESTIMATED           Annual Sales Revision Date: 01/26/2016
       1-Yr-Ago:                 $ NOT AVAILABLE
       3-Yr-Ago:                 $ NOT AVAILABLE
       Sales Growth:             %                           Sales Territory:
       Number of Accounts:                                   Net Worth:
       Employees Total:          1                           Employees Here:            1-ESTIMATED
       1-Yr-Ago:                 NOT AVAILABLE               Employment Growth:         %
       3-Yr-Ago:                 NOT AVAILABLE
       MSA Code:                 2800                        MSA Name:                  FORT
                                                                                        WORTH-ARLINGTON, TX
       Square Footage:                                       Occupancy Type:
       Bank Name:                                            Bank DUNS Number:
       Accounting Firm:
       Business Is A:            SINGLE LOCATION             Establishment Is:          US OWNED
                                 SMALL BUSINESS
       DUNS:                     01-685-5980
       Parent Company Name:                                  Parent Company DUNS
                                                             Number:
       Ultimate Company Name:                                Ultimate Company DUNS
                                                             Number:
       Headquarters Company                                  Headquarters Company
       Name:                                                 DUNS Number:
       Last Update to Record:    01/25/2016



       1150 BLUE MOUND RD W, HASLET, TX 76052
       TARRANT COUNTY

       Business Name:            KNUCKLEHEAD DESIGNS, Related Name(s):

Page 27 of 91                                                                                            Kapitus_000226
                                              KAPITUS EX. 13 - 226
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 227 of 540

                                 INC.
       Date of Incorporation:                                State of Incorporation:
       Year Started:             2013
       Business Address:         1150 BLUE MOUND RD          Phone:                        (817) 439-3470
                                 W
                                 HASLET, TX 76052
       County:                   TARRANT COUNTY
       Executive Name:           DANIEL J STEWART            Executive Title:           ADMINISTRATIVE
                                                                                        SECRETARY
       Line of Business:         BUSINESS SERVICES           Industry Group:            SERVICES - NON
                                                                                        PROFESSIONAL
       Primary SIC:              7389                        SIC Description:           BUSINESS SERVICES,
                                                                                        NEC, NSK
       Primary SIC:              7389 1800                   SIC Description:           DESIGN SERVICES
       Annual Sales:             $61,338-ESTIMATED           Annual Sales Revision Date: 10/31/2015
       1-Yr-Ago:                 $ NOT AVAILABLE
       3-Yr-Ago:                 $ NOT AVAILABLE
       Sales Growth:             %                           Sales Territory:           LOCAL
       Number of Accounts:                                   Net Worth:
       Employees Total:          1                           Employees Here:            1-ACTUAL
       1-Yr-Ago:                 NOT AVAILABLE               Employment Growth:         %
       3-Yr-Ago:                 NOT AVAILABLE
       MSA Code:                 2800                        MSA Name:                  FORT
                                                                                        WORTH-ARLINGTON, TX
       Square Footage:                                       Occupancy Type:
       Bank Name:                                            Bank DUNS Number:
       Accounting Firm:
       Business Is A:            SINGLE LOCATION             Establishment Is:          US OWNED
                                 SMALL BUSINESS
       DUNS:                     06-712-0558
       Parent Company Name:                                  Parent Company DUNS
                                                             Number:
       Ultimate Company Name:                                Ultimate Company DUNS
                                                             Number:
       Headquarters Company                                  Headquarters Company
       Name:                                                 DUNS Number:
       Last Update to Record:    01/24/2016



       1150 BLUE MOUND RD W, HASLET, TX 76052
       TARRANT COUNTY

       Business Name:            HOT ROD PERFORMANCE Related Name(s):
                                 AUTOMOTIVE
       Date of Incorporation:                                State of Incorporation:
       Year Started:             2014
       Business Address:         1150 BLUE MOUND RD          Phone:
                                 W
                                 HASLET, TX 76052
       County:                   TARRANT COUNTY
       Executive Name:           JASON POYNTER               Executive Title:           EXECUTIVE DIRECTOR


Page 28 of 91                                                                                           Kapitus_000227
                                              KAPITUS EX. 13 - 227
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 228 of 540
       Line of Business:         AUTOMOTIVE REPAIR           Industry Group:            SERVICES - NON
                                                                                        PROFESSIONAL
       Primary SIC:              7539                        SIC Description:           AUTOMOTIVE REPAIR
                                                                                        SHOPS, NEC
       Primary SIC:              7539 0000                   SIC Description:           AUTOMOTIVE REPAIR
                                                                                        SHOPS, NEC, NSK
       Annual Sales:             $35,447-ESTIMATED           Annual Sales Revision Date: 01/12/2016
       1-Yr-Ago:                 $ NOT AVAILABLE
       3-Yr-Ago:                 $ NOT AVAILABLE
       Sales Growth:             %                           Sales Territory:
       Number of Accounts:                                   Net Worth:
       Employees Total:          1                           Employees Here:            1-ESTIMATED
       1-Yr-Ago:                 NOT AVAILABLE               Employment Growth:         %
       3-Yr-Ago:                 NOT AVAILABLE
       MSA Code:                 2800                        MSA Name:                  FORT
                                                                                        WORTH-ARLINGTON, TX
       Square Footage:                                       Occupancy Type:
       Bank Name:                                            Bank DUNS Number:
       Accounting Firm:
       Business Is A:            SINGLE LOCATION             Establishment Is:          US OWNED
                                 SMALL BUSINESS
       DUNS:                     07-364-3501
       Parent Company Name:                                  Parent Company DUNS
                                                             Number:
       Ultimate Company Name:                                Ultimate Company DUNS
                                                             Number:
       Headquarters Company                                  Headquarters Company
       Name:                                                 DUNS Number:
       Last Update to Record:    01/17/2016



       1150 BLUE MOUND RD W, HASLET, TX 76052
       TARRANT COUNTY

       Business Name:            BARE KNUCKLES DIESEL Related Name(s):
                                 PERFORMANCE
       Date of Incorporation:                                State of Incorporation:
       Year Started:             2015
       Business Address:         1150 BLUE MOUND RD          Phone:                        (817) 721-7376
                                 W
                                 HASLET, TX 76052
       County:                   TARRANT COUNTY
       Executive Name:           CODY GILBERT                Executive Title:           PRINCIPAL
       Line of Business:         GENERAL AUTO REPAIR Industry Group:                    SERVICES - NON
                                                                                        PROFESSIONAL
       Primary SIC:              7538                        SIC Description:           GENERAL AUTOMOTIVE
                                                                                        REPAIR SHOPS, NSK
       Primary SIC:              7538 0000                   SIC Description:           GENERAL AUTOMOTIVE
                                                                                         REPAIR SHOPS, NSK
       Annual Sales:             $28,249-ESTIMATED           Annual Sales Revision Date: 01/16/2016
       1-Yr-Ago:                 $ NOT AVAILABLE


Page 29 of 91                                                                                           Kapitus_000228
                                              KAPITUS EX. 13 - 228
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 229 of 540
       3-Yr-Ago:                 $ NOT AVAILABLE
       Sales Growth:             %                           Sales Territory:           LOCAL
       Number of Accounts:                                   Net Worth:
       Employees Total:          1                           Employees Here:            1-ESTIMATED
       1-Yr-Ago:                 NOT AVAILABLE               Employment Growth:         %
       3-Yr-Ago:                 NOT AVAILABLE
       MSA Code:                 2800                        MSA Name:                  FORT
                                                                                        WORTH-ARLINGTON, TX
       Square Footage:                                       Occupancy Type:
       Bank Name:                                            Bank DUNS Number:
       Accounting Firm:
       Business Is A:            SINGLE LOCATION             Establishment Is:          US OWNED
                                 SMALL BUSINESS
       DUNS:                     08-603-9972
       Parent Company Name:                                  Parent Company DUNS
                                                             Number:
       Ultimate Company Name:                                Ultimate Company DUNS
                                                             Number:
       Headquarters Company                                  Headquarters Company
       Name:                                                 DUNS Number:
       Last Update to Record:    01/07/2016



       1130 BLUE MOUND RD W, HASLET, TX 76052
       TARRANT COUNTY

       Business Name:            LIGHTNING OILFIELD          Related Name(s):
                                 SERVICES, INC.
       Date of Incorporation:                                State of Incorporation:
       Year Started:             2008
       Business Address:         1130 BLUE MOUND RD          Phone:                        (817) 439-5558
                                 W
                                 HASLET, TX 76052
       County:                   TARRANT COUNTY
       Executive Name:           MARK S WADDELL              Executive Title:           PRESIDENT
       Line of Business:         OIL/GAS FIELD SERVICES Industry Group:                 MINING
       Primary SIC:              1389                   SIC Description:                OIL AND GAS FIELD
                                                                                        SERVICES, NEC, NSK
       Primary SIC:              1389 9912                   SIC Description:            OIL FIELD SERVICES, NEC
       Annual Sales:             $16,000,000-ESTIMATED       Annual Sales Revision Date: 09/06/2015
       1-Yr-Ago:                 $ NOT AVAILABLE
       3-Yr-Ago:                 $ NOT AVAILABLE
       Sales Growth:             %                           Sales Territory:           U.S.
       Number of Accounts:                                   Net Worth:
       Employees Total:          115                         Employees Here:            32-ESTIMATED
       1-Yr-Ago:                 NOT AVAILABLE               Employment Growth:         %
       3-Yr-Ago:                 NOT AVAILABLE
       MSA Code:                 2800                        MSA Name:                  FORT
                                                                                        WORTH-ARLINGTON, TX
       Square Footage:                                       Occupancy Type:
       Bank Name:                                            Bank DUNS Number:



Page 30 of 91                                                                                           Kapitus_000229
                                              KAPITUS EX. 13 - 229
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A         Page 230 of 540
       Accounting Firm:
       Business Is A:            HEADQUARTERS                Establishment Is:             US OWNED
                                 LOCATION
                                 SMALL BUSINESS
       DUNS:                     04-148-7015
       Parent Company Name:                                  Parent Company DUNS
                                                             Number:
       Ultimate Company Name:                                Ultimate Company DUNS         04-148-7015
                                                             Number:
       Headquarters Company                                  Headquarters Company
       Name:                                                 DUNS Number:
       Last Update to Record:    10/06/2015



       1150 BLUE MOUND RD W, HASLET, TX 76052
       TARRANT COUNTY

       Business Name:            FALCON TRANSPORT,           Related Name(s):
                                 INC.
       Date of Incorporation:                                State of Incorporation:
       Year Started:
       Business Address:         1150 BLUE MOUND RD          Phone:                          (817) 680-2757
                                 W
                                 HASLET, TX 76052
       County:                   TARRANT COUNTY
       Executive Name:           CORY WA                     Executive Title:              MANAGER
       Line of Business:         TRUCKING                    Industry Group:               TRANSPORATION,
                                 OPERATOR-NONLOCAL                                         COMMUNICATION,
                                                                                           ELECTRIC, GAS, AND
                                                                                           SANITARY SERVICES
       Primary SIC:              4213                        SIC Description:              TRUCKING, EXCEPT
                                                                                           LOCAL
       Primary SIC:              4213 9903                   SIC Description:              CONTRACT HAULERS
       Annual Sales:                                         Annual Sales Revision Date:
       1-Yr-Ago:
       3-Yr-Ago:
       Sales Growth:             %                           Sales Territory:
       Number of Accounts:                                   Net Worth:
       Employees Total:                                      Employees Here:               1-ESTIMATED
       1-Yr-Ago:                                             Employment Growth:            %
       3-Yr-Ago:
       MSA Code:                 2800                        MSA Name:                     FORT
                                                                                           WORTH-ARLINGTON, TX
       Square Footage:                                       Occupancy Type:
       Bank Name:                                            Bank DUNS Number:
       Accounting Firm:
       Business Is A:            BRANCH LOCATION             Establishment Is:             US OWNED
       DUNS:                     07-991-4899
       Parent Company Name:                                  Parent Company DUNS
                                                             Number:
       Ultimate Company Name:    FALCON TRANSPORT            Ultimate Company DUNS         09-303-0682
                                                             Number:
                                 INC.


Page 31 of 91                                                                                             Kapitus_000230
                                              KAPITUS EX. 13 - 230
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A           Page 231 of 540
       Headquarters Company       FALCON TRANSPORT           Headquarters Company           09-303-0682
       Name:                                                 DUNS Number:
                                  INC.
       Last Update to Record:     07/24/2015




     Property Owners of Subject's Addresses


    628 DESTIN DR FORT WORTH, TX 76131 TARRANT COUNTY


       TAX RECORD - TARRANT County     TAX YEAR UNKNOWN
       Situs Address:        628 DESTIN DR          Mailing Address:                           100 E 15TH ST 630
                             FORT WORTH, TX                                                    FORT WORTH, TX
                             76131-4255                                                        76102-6569

       Owner:                        WEST COMM                 Co-Owner:
                                     INVESTMENTS LP
       Additional Name:              WEST COMM                 Absentee Owner:                 ABSENTEE (MAIL AND
                                     INVESTMENTS LP                                            SITUS NOT=)
       Owner Relationship Type:                                Owner Corporate Indicator:      CORPORATE OWNER
       Owner Ownership Rights                                  Owner Phone:
       code:
       FIPS Code:                    TARRANT                   Municipality Name:
       FIPS Sub Code:                000                       Municipality Code:
       FIPS State Code:              TEXAS                     Subdivision Name:               FOSSIL PARK ESTATES
       APN Sequence Number:          1                         Property Indicator:             VACANT
       Unformatted APN:              14566C 5 68               Land Use:                       RESIDENTIAL LOT
       Formatted APN:                14566-C - 5- - 68         Homestead Exemption:
       Original APN:                                           Land Square Footage:            6000
       Account Number:               40066118                  Lot Number:                     68
       Acres:                        0.1380                    Block Number:                   5
       Range:                                                  Legal Description:              FOSSIL PARK ESTATES
                                                                                               BLK 5 LOT 68
       Calculated Land Value:        $14,580.00                Market Land Value:              $14,580.00
       Calculated Improvement                                  Market Improvement Value:
       Value:
       Calculated Total Value:       $14,580.00                Market Total Value:             $14,580.00
       Assessed Land Value:                                    Valuation Method:
       Assessed Improvement Value:                             Total Value Calculated          MARKET
                                                               Indicator:
       Assessed Total Value:                                   Year Sold to State:
       Year Built:                                             Number of Buildings:
       Lot Area:                     6000                      Style/Shape:


       DEED TRANSFER - TARRANT County 06/04/2014
       Situs Address:        1045 GREEN RIDGE TER              Mailing Address:                628 DESTIN DR
                             SAGINAW, TX 76179-3405                                            FORT WORTH, TX
                                                                                               76131-4255
       Owner:                        BRIDGES DWAYNE P &        Co-Owner Name:
                                     DANA M


Page 32 of 91                                                                                               Kapitus_000231
                                                KAPITUS EX. 13 - 231
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A          Page 232 of 540
       Owner Rights:                                            Owner Relationship:
       Property Type:              SINGLE FAMILY                Land Use:                    SINGLE FAMILY
                                   RESIDENCE -                                               RESIDENCE
                                   TOWNHOUSE
       Building Square Feet:       1541                         APN Sequence Number:         001
       Unformatted APN:            04430999                     Formatted APN:               04430999
       Original APN:               04430999                     Formatted APN - IRIS:
       FIPS Code:                  TARRANT                      FIPS State Code:             TEXAS
       Municipality:                                            Account Number:              4430999
       County:                     TARRANT                      State:
       Transaction Date:           06/04/2014                   Seller Name:                 MOORE TIMOTHY G
       Recording Date:             06/09/2014                   Sale Price:                  $115,625.00
       Document Number:            214119299                    Type of Transaction:         SELLER CARRYBACK
       Book/Page:                                               Deed Type:                   GRANT DEED
       Consideration:              ESTIMATED                    Percent Transferred:


       Mortgage Amount:            $92,500.00                   Mortgage Type:               PRIVATE PARTY LENDER
       Mortgage Term:              30                           Mortgage Deed Type:          DEED OF TRUST
       Mortgage Date:              06/04/2014                   Mortgage Due Date:           06/01/2044
       Mortgage Assumption                                      Interest Rate:
       Amount:
       2nd Mortgage Amount:                                     2nd Mortgage Type:
       2nd Mortgage Deed Type:
       Lender Name:                MOORE TIMOTHY G              Lender Address:              302 PINE TREE RD
                                                                                             LONGVIEW, TX
                                                                                             75604-4106
       Construction Type:          SALE IS A RE-SALE            Purchase Payment:            MORTGAGE
       Title Company:                                           Seller Carryback:            YES
       Private Party Lender:       YES                          Foreclosure Sale:
       Construction Loan:                                       Refinance Loan:
       InterFamily Transaction:                                 Equity Loan:
       Multiple Parcel Sale:                                    Number of Parcels:




    1150 BLUE MOUND RD W HASLET, TX 76052 TARRANT COUNTY


       TAX RECORD - TARRANT County              TAX YEAR 2015
       Situs Address:              1150 BLUE MOUND RD W         Mailing Address:             5940 EDEN DR
                                   HASLET, TX 76052-3859                                     FORT WORTH, TX
                                                                                             76117-6121

       Owner:                      BLUE MOUND BUSINESS          Co-Owner:
                                   PARK LLC
       Additional Name:            BLUE MOUND BUSINESS          Absentee Owner:              ABSENTEE (MAIL AND
                                   PARK LLC                                                  SITUS NOT=)
       Owner Relationship Type:                                 Owner Corporate Indicator:   CORPORATE OWNER
       Owner Ownership Rights                                   Owner Phone:
       code:
       FIPS Code:                  TARRANT                      Municipality Name:           FORT WORTH
       FIPS Sub Code:              000                          Municipality Code:



Page 33 of 91                                                                                             Kapitus_000232
                                            KAPITUS EX. 13 - 232
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A         Page 233 of 540
       FIPS State Code:            TEXAS                       Subdivision Name:            JAMES RIGHTLY ABS 1268
       APN Sequence Number:        1                           Property Indicator:          COMMERCIAL
       Unformatted APN:            40035603                    Land Use:                    COMMERCIAL BUILDING
       Formatted APN:              40035603                    Homestead Exemption:
       Original APN:               40035603                    Land Square Footage:         1576872
       Account Number:             40035603                    Lot Number:
       Acres:                      36.2000                     Block Number:
       Range:                                                  Legal Description:           BOYD, COLEMAN SURVEY
                                                                                            ABSTRACT 212 TRACT 2A2,
                                                                                            2B1, 2D A 1129 TRS 1B1 &
                                                                                            1D1 A 1130 TR 1B1A &
                                                                                            A1268 TR 1C3A
       Subdivision Plat Book:                                  Legal Description:
       Subdivision Plat Page:                                  Legal Description:
       Original Recording Book:                                Subdivision Tract Number:    1B1A
       Original Recording Page:                                Zoning:
       Calculated Land Value:      $748,978.00                 Market Land Value:           $748,978.00
       Calculated Improvement      $1,471,022.00               Market Improvement Value:    $1,471,022.00
       Value:
       Calculated Total Value:     $2,220,000.00               Market Total Value:          $2,220,000.00
       Assessed Land Value:        $748,978.00                 Valuation Method:
       Assessed Improvement Value: $1,471,022.00               Total Value Calculated       MARKET
                                                               Indicator:
       Assessed Total Value:       $2,220,000.00               Year Sold to State:
       Tax Year:                   2015                        Appraised Land Value:        $748,978.00
       Tax Amount:                 $70,524.82                  Appraised Improvement Value: $1,471,022.00
       Tax Code Area:              220                         Appraised Total Value:       $2,220,000.00
       Year Built:                 2002                        Number of Buildings:         1
       Lot Area:                   1576872                     Style/Shape:
       Building Code:                                          Number of Stories:           1.00
       Improvement Type:                                       Number of Units:             56
       Living Square Feet:         119540                      Construction Type:
       Total Number of Rooms:                                  Construction Quality:
       Sale Date:                  07/05/2002                  Deed Type:                   GRANT DEED
       Seller Name:                OWNER RECORD                Type of Sale:                RESALE
       Sale Price:                                             Sale Code:
       Number of Parcels:                                      Document Number:
       Recording Date:                                         Recording Page:              244
       Recording Book:             15847                       Title Company:
       Document Number:                                        Mortgage Amount:
       Sale Date:                                              Multiple Parcel Sale:
       Sale Price:                                             Number of Parcels:           DY
       Sale Code:                                              Recording Date:
       Deed Type:                                              Recording Book:
       Type of Sale:                                           Recording Page:


       DEED TRANSFER - TARRANT County           08/18/2015
       Situs Address:              1150 BLUE MOUND RD W        Mailing Address:             5940 EDEN DR
                                   HASLET, TX 76052-3859                                    HALTOM CITY, TX
                                                                                            76117-6121


Page 34 of 91                                                                                             Kapitus_000233
                                              KAPITUS EX. 13 - 233
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 234 of 540
       Owner:                      BLUE MOUND BUSINESS         Co-Owner Name:
                                   PARK LLC
       Owner Rights:                                           Owner Relationship:          COMPANY /
                                                                                            CORPORATION
       Absentee Owner:                                         Corporate Owner:             CORPORATE OWNER
                                                               Partial Interest:
       Property Type:              COMMERCIAL                  Land Use:                    COMMERCIAL BUILDING
       Building Square Feet:       119540                      APN Sequence Number:         001
       Unformatted APN:            40035603                    Formatted APN:               40035603
       Original APN:               40035603                    Formatted APN - IRIS:
       FIPS Code:                  TARRANT                     FIPS State Code:             TEXAS
       Municipality:                                           Account Number:              40035603
       County:                     TARRANT                     State:
       Transaction Date:           08/18/2015                  Seller Name:
       Recording Date:             09/01/2015                  Sale Price:
       Document Number:            215198833                   Type of Transaction:         REFINANCE
       Book/Page:                                              Deed Type:                   TRUST DEED/MORTGAGE

       Mortgage Amount:                                        Mortgage Type:
       Mortgage Term:                                          Mortgage Deed Type:          DEED OF TRUST
       Mortgage Date:              08/18/2015                  Mortgage Due Date:
       Mortgage Assumption                                     Interest Rate:
       Amount:
       2nd Mortgage Amount:                                    2nd Mortgage Type:
       2nd Mortgage Deed Type:
       Lender Name:                FROST BK                    Lender Address:
                                                                                            SAN ANTONIO, TX 78296
       Construction Type:                                      Purchase Payment:
       Title Company:              OTHER                       Seller Carryback:
       Private Party Lender:                                   Foreclosure Sale:
       Construction Loan:                                      Refinance Loan:              LOAN TO VALUE IS MORE
                                                                                            THAN 50%
       InterFamily Transaction:                                Equity Loan:
       Multiple Parcel Sale:       MULTI / DETAIL PARCEL       Number of Parcels:
                                   SALE




Page 35 of 91                                                                                           Kapitus_000234
                                              KAPITUS EX. 13 - 234
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A         Page 235 of 540


Real-Time Vehicles
  628 DESTIN DR, FORT WORTH, TX 76131                        Address Type:           Street name
                                                                                     with house
                                                                                     number


  2016 CAN-AM OUTLANDER 650 X MR
  Registered Owner:  BRIDGES, Mr. DWAYNE P                   Secondary Owner:        DENTON AREA TEACHERS CU
                     (Individual)                                                    (Business & Lien Holder)
  VIN:               3JBLWAJ28GJ000339                       Valid VIN:              Y
  Make/Model/Series: CAN-AM OUTLANDER 650 X MR               Model Year:             2016
  Full Body Style:   OUTLANDER 650 X MR                      Country of Origin:      Mexico
  Body Type:         ATV                                     Base Price:             $10,599
  Fuel Type:                                                 Drivetrain:
  Shipping Weight:         874                               Cubic Inch Displacement: 0
  Long Wheel Base                                            Front Tire Size
  Short Wheel Base                                           Rear Tire Size
  Carburetion Type                                           Air Bags/Seat Belts:
  Carburetion Barrels      Unknown
  Plate Registration State: TX                               Plate Type:             Recreational / Off road
  Leased Vehicle:          No                                Plate Expiration:       12/09/2016
  Ton Rating:
  Vehicles Cylinders:      2                                 Ton Rating:




  Stock Vehicle Image




  628 DESTIN DR, FORT WORTH, TX 76131                        Address Type:           Street name
                                                                                     with house
                                                                                     number


  2016 TOYOTA TUNDRA CREWMAX 1794
  Registered Owner: BRIDGES, Mr. DWAYNE P                    Secondary Owner:        SUNTRUST BANK
                           (Individual)                                              (Business & Lien Holder)
  VIN:                     5TFAW5F13GX511395         Valid VIN:                      Y
  Make/Model/Series:       TOYOTA TUNDRA CREWMAX 1794Model Year:                     2016
  Full Body Style:         PLATINUM CREWMAX 4WD      Country of Origin:              United States


Page 36 of 91                                                                                             Kapitus_000235
                                            KAPITUS EX. 13 - 235
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 236 of 540
  Body Type:               PICKUP                            Base Price:              $49,080
  Fuel Type:               Flexible                          Drivetrain:              Rear Wheel Drive w/4x4
  Shipping Weight:         5960                              Cubic Inch Displacement: 348
  Long Wheel Base          145.7                             Front Tire Size         18R275
  Short Wheel Base         145.7                             Rear Tire Size          18R275
  Carburetion Type         Fuel Injection                    Air Bags/Seat Belts:    Du Frnt/Sd/Hd Air Bgs/Rr Hd Ar
                                                                                     Bgs/Act Belts
  Carburetion Barrels      Unknown
  Plate Registration State: TX                               Plate Type:             Regular
  Leased Vehicle:          No                                Plate Expiration:       12/15/2017
  Ton Rating:              1/2
  Vehicles Cylinders:      8                                 Ton Rating:             1/2




  Stock Vehicle Image




  628 DESTIN DR, FORT WORTH, TX 76131                        Address Type:           Street name
                                                                                     with house
                                                                                     number


  2016 TOYOTA SEQUOIA PLATINUM
  Registered Owner: BRIDGES, Mr. DWAYNE P                    Secondary Owner:        JOHNSON BRIDGES, Mr. DANA M
                    (Individual)                                                     (Individual & Joint Owner)
  VIN:              5TDDW5G16GS127841                        Valid VIN:              Y
  Make/Model/Series:       TOYOTA SEQUOIA PLATINUM           Model Year:              2016
  Full Body Style:         UTILITY 4D PLATINUM 4WD V8        Country of Origin:       United States
  Body Type:               SPORT UTILITY VEHICLE             Base Price:              $64,720
  Fuel Type:               Flexible                          Drivetrain:              All Wheel Drive
  Shipping Weight:         6000                              Cubic Inch Displacement: 348
  Long Wheel Base          122                               Front Tire Size         20R275
  Short Wheel Base         122                               Rear Tire Size          20R275
  Carburetion Type         Fuel Injection                    Air Bags/Seat Belts:    Du Frnt/Sd/Hd Air Bgs/Rr Hd Ar
                                                                                     Bgs/Act Belts
  Carburetion Barrels      Unknown
  Plate Registration State: TX                               Plate Type:             Regular
  Leased Vehicle:          No                                Plate Expiration:       09/15/2017
  Ton Rating:
  Vehicles Cylinders:      8                                 Ton Rating:


Page 37 of 91                                                                                            Kapitus_000236
                                            KAPITUS EX. 13 - 236
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 237 of 540


  628 DESTIN DR, FORT WORTH, TX 76131                        Address Type:           Street name
                                                                                     with house
                                                                                     number


  2015 CAN-AM MAVERICK 1000R X RS DPS
  Registered Owner:  BRIDGES, Mr. DWAYNE P                   Secondary Owner:        SHEFFIELD FINANCIAL
                     (Individual)                                                    (Business & Lien Holder)
  VIN:               3JBPXAP23FJ000589                       Valid VIN:              Y
                     CAN-AM MAVERICK 1000R X RS
  Make/Model/Series:                                         Model Year:             2015
                     DPS
  Full Body Style:         MAVERICK 1000R X RS DPS           Country of Origin:      Mexico
  Body Type:               ATV                               Base Price:             $18,799
  Fuel Type:                                                 Drivetrain:
  Shipping Weight:         1297                              Cubic Inch Displacement: 0
  Long Wheel Base                                            Front Tire Size
  Short Wheel Base                                           Rear Tire Size
  Carburetion Type                                           Air Bags/Seat Belts:
  Carburetion Barrels      Unknown
  Plate Registration State: TX                               Plate Type:             Recreational / Off road
  Leased Vehicle:          No                                Plate Expiration:       11/18/2016
  Ton Rating:
  Vehicles Cylinders:      2                                 Ton Rating:


  628 DESTIN DR, FORT WORTH, TX 76131                        Address Type:           Street name
                                                                                     with house
                                                                                     number


  2014 CAN-AM OUTLANDER 1000 X MR
  Registered Owner: BRIDGES, Mr. DWAYNE P                    Secondary Owner:        MODEL FINANCE
                    (Individual)                                                     (Business & Lien Holder)
  VIN:                     3JBLWLP16EJ001657          Valid VIN:                     Y
  Make/Model/Series:       CAN-AM OUTLANDER 1000 X MR Model Year:                    2014
  Full Body Style:         OUTLANDER 1000 X MR        Country of Origin:             Mexico
  Body Type:               ATV                               Base Price:             $14,399
  Fuel Type:                                                 Drivetrain:
  Shipping Weight:         759                               Cubic Inch Displacement: 0
  Long Wheel Base                                            Front Tire Size
  Short Wheel Base                                           Rear Tire Size
  Carburetion Type                                           Air Bags/Seat Belts:
  Carburetion Barrels      Unknown
  Plate Registration State: TX                               Plate Type:             Recreational / Off road
  Leased Vehicle:          No                                Plate Expiration:       10/24/2015
  Ton Rating:
  Vehicles Cylinders:      2                                 Ton Rating:


  628 DESTIN DR, FORT WORTH, TX 76131                        Address Type:           Street name
                                                                                     with house
                                                                                     number


Page 38 of 91                                                                                             Kapitus_000237
                                            KAPITUS EX. 13 - 237
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 238 of 540


  2014 YAMAHA TT-R110E
  Registered Owner:  BRIDGES, Mr. DWAYNE                     Secondary Owner:
                           (Individual)
  VIN:                     JYACE25Y7EA022812                 Valid VIN:              Y
  Make/Model/Series:       YAMAHA TT-R110E                   Model Year:             2014
  Body Style:              DT                                Country of Origin:      Japan
  Body Type:               DIRT BIKE                         Base Price:             $2,240
  Fuel Type:                                                 Drivetrain:
  Shipping Weight:         159                               Cubic Inch Displacement: 0
  Long Wheel Base                                            Front Tire Size
  Short Wheel Base                                           Rear Tire Size
  Carburetion Type                                           Air Bags/Seat Belts:
  Carburetion Barrels      Unknown
  Plate Registration State: TX                               Plate Type:             Recreational / Off road
  Leased Vehicle:          No                                Plate Expiration:       11/20/2016
  Ton Rating:
  Vehicles Cylinders:      1                                 Ton Rating:


  628 DESTIN DR, FORT WORTH, TX 76131                        Address Type:           Street name
                                                                                     with house
                                                                                     number


  2013 SUZUKI LTF250
  Registered Owner:        BRIDGES, Mr. DWAYNE               Secondary Owner:
                           (Individual)
  VIN:                     JSAAJ51A9D2100799                 Valid VIN:              Y
  Make/Model/Series:       SUZUKI LTF250                     Model Year:             2013
  Full Body Style:         LT-F250L3 OZARK                   Country of Origin:      Japan
  Body Type:               ATV                               Base Price:             $4,499
  Fuel Type:                                                 Drivetrain:
  Shipping Weight:         428                               Cubic Inch Displacement: 0
  Long Wheel Base                                            Front Tire Size
  Short Wheel Base                                           Rear Tire Size
  Carburetion Type                                           Air Bags/Seat Belts:
  Carburetion Barrels      Unknown
  Plate Registration State: TX                               Plate Type:             Recreational / Off road
  Leased Vehicle:          No                                Plate Expiration:       11/20/2016
  Ton Rating:
  Vehicles Cylinders:      1                                 Ton Rating:


  628 DESTIN DR, FORT WORTH, TX 76131                        Address Type:           Street name
                                                                                     with house
                                                                                     number


  2013 C S
  Registered Owner:        BRIDGES, Mr. DWAYNE               Secondary Owner:
                           (Individual)
  VIN:                     44Z122LS2DT015705                 Valid VIN:              Unknown


Page 39 of 91                                                                                             Kapitus_000238
                                             KAPITUS EX. 13 - 238
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 239 of 540
  Make/Model/Series:       CS                                Model Year:             2013
  Body Style:                                                Country of Origin:
  Body Type:                                                 Base Price:             $
  Fuel Type:                                                 Drivetrain:
  Shipping Weight:         0                                 Cubic Inch Displacement: 0
  Long Wheel Base                                            Front Tire Size
  Short Wheel Base                                           Rear Tire Size
  Carburetion Type                                           Air Bags/Seat Belts:
  Carburetion Barrels      Unknown
  Plate Registration State: TX                               Plate Type:             Regular
  Leased Vehicle:          No                                Plate Expiration:       05/15/2016
  Ton Rating:
  Vehicles Cylinders:                                        Ton Rating:




  Stock Vehicle Image




  628 DESTIN DR, FORT WORTH, TX 76131                        Address Type:           Street name
                                                                                     with house
                                                                                     number


  2010 CHEVROLET CAMARO SS
  Registered Owner: BRIDGES, Mr. DWAYNE P                    Secondary Owner:        BRIDGES, Miss. / Ms. DANA M
                    (Individual)                                                     (Individual & Joint Owner)
  VIN:                     2G1FK1EJ0A9121008                 Valid VIN:              Y
  Make/Model/Series:       CHEVROLET CAMARO SS               Model Year:             2010
  Full Body Style:         COUPE 2D 2SS V8                   Country of Origin:      Canada
  Body Type:               COUPE                             Base Price:             $33,430
  Fuel Type:               Gas                               Drivetrain:             Rear Wheel Drive
  Shipping Weight:         3913                              Cubic Inch Displacement: 378
  Long Wheel Base          112.3                             Front Tire Size          20R245
  Short Wheel Base         112.3                             Rear Tire Size          20R275
  Carburetion Type         Fuel Injection                    Air Bags/Seat Belts:    Du Ar Bgs Frnt Hd and Sd/Act Blts/
                                                                                     w/Ato Pss Snsr
  Carburetion Barrels       Unknown
  Plate Registration State: TX                               Plate Type:             Regular
  Leased Vehicle:           No                               Plate Expiration:       12/15/2016
  Ton Rating:


Page 40 of 91                                                                                            Kapitus_000239
                                            KAPITUS EX. 13 - 239
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 240 of 540
  Vehicles Cylinders:    8                                   Ton Rating:




  Stock Vehicle Image




  628 DESTIN DR, FORT WORTH, TX 76131                        Address Type:           Street name
                                                                                     with house
                                                                                     number


  2009 CHEVROLET CORVETTE
  Registered Owner: BRIDGES, Mr. DWAYNE                      Secondary Owner:        JPMORGAN CHASE
                    (Individual)                                                     (Business & Lien Holder)
  VIN:                   1G1YY36W995200263                   Valid VIN:              Y
  Make/Model/Series:     CHEVROLET CORVETTE                  Model Year:             2009
  Full Body Style:       CONVERTIBLE 2D (AT/6 SPD)           Country of Origin:      United States
  Body Type:             CONVERTIBLE                         Base Price:             $51,700
  Fuel Type:             Gas                                 Drivetrain:             Rear Wheel Drive
  Shipping Weight:       3222                                Cubic Inch Displacement: 378
  Long Wheel Base        105.7                               Front Tire Size          18R245
  Short Wheel Base       105.7                               Rear Tire Size          19R285
  Carburetion Type       Fuel Injection                      Air Bags/Seat Belts:    Du Ar Bgs Frnt/Sd/Actv Blts w/Ato
                                                                                     Pass Snsr
  Carburetion Barrels       Unknown
  Plate Registration State: TX                               Plate Type:             Regular
  Leased Vehicle:        No                                  Plate Expiration:       11/15/2016
  Ton Rating:
  Vehicles Cylinders:    8                                   Ton Rating:




  Stock Vehicle Image




Page 41 of 91                                                                                            Kapitus_000240
                                            KAPITUS EX. 13 - 240
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 241 of 540




  628 DESTIN DR, FORT WORTH, TX 76131                        Address Type:           Street name
                                                                                     with house
                                                                                     number


  2008 HONDA CIVIC EXL
  Registered Owner:   BRIDGES, Mr. DWAYNE P                  Secondary Owner:        GREGS RV SERVICE
                      (Individual)                                                   (Business & Lien Holder)
  VIN:                2HGFG12958H503605                      Valid VIN:              Y
  Make/Model/Series:       HONDA CIVIC EXL                   Model Year:             2008
  Full Body Style:         COUPE 2D EX                       Country of Origin:      Canada
  Body Type:               COUPE                             Base Price:             $20,710
  Fuel Type:               Gas                               Drivetrain:             Front Wheel Drive
  Shipping Weight:         2769                              Cubic Inch Displacement: 110
  Long Wheel Base          104.3                             Front Tire Size          16R205
  Short Wheel Base         104.3                             Rear Tire Size
  Carburetion Type         Fuel Injection                    Air Bags/Seat Belts:    Du Frnt/Sd/Hd Air Bgs/Rr Hd Ar
                                                                                     Bgs/Act Belts
  Carburetion Barrels      Unknown
  Plate Registration State: TX                               Plate Type:             Regular
  Leased Vehicle:          No                                Plate Expiration:       04/15/2017
  Ton Rating:
  Vehicles Cylinders:      4                                 Ton Rating:




  Stock Vehicle Image




Page 42 of 91                                                                                            Kapitus_000241
                                             KAPITUS EX. 13 - 241
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A          Page 242 of 540

  628 DESTIN DR, FORT WORTH, TX 76131                        Address Type:               Street name
                                                                                         with house
                                                                                         number


  2008 GMC NEW SIERRA K1500 DENALI
  Registered Owner: BRIDGES, Mr. DWAYNE P               Secondary Owner:
                    (Individual)
  VIN:              2GTEK638781290564                   Valid VIN:             Y
                        GMC NEW SIERRA K1500
  Make/Model/Series:                                    Model Year:            2008
                        DENALI
  Full Body Style:      CREW CAB DENALI AWD             Country of Origin:     Canada
  Body Type:            PICKUP                          Base Price:            $42,210
  Fuel Type:            Gas                             Drivetrain:            Rear Wheel Drive w/4x4
                                                        Cubic Inch             378
  Shipping Weight:      5983
                                                        Displacement:
  Long Wheel Base       167                             Front Tire Size
  Short Wheel Base      153                             Rear Tire Size
  Carburetion Type      Fuel Injection                  Air Bags/Seat Belts:   Du Ar Bgs
                                                                               FrntHdSd/ActBlts/AtoPassSnsr/RrDuSdArBgs
  Carburetion Barrels   Unknown
  Plate Registration    TX                              Plate Type:            Regular
  State:
  Leased Vehicle:       No                              Plate Expiration:      02/15/2017
  Ton Rating:           3/4
  Vehicles Cylinders:   8                               Ton Rating:            3/4




  Stock Vehicle Image




  628 DESTIN DR, FORT WORTH, TX 76131                        Address Type:               Street name
                                                                                         with house
                                                                                         number


  2007 CHEVROLET SILVERADO C1500 CREW CAB
  Registered Owner:  BRIDGES, Miss. / Ms. DANA               Secondary Owner:            BRIDGES, Mr. DWAYNE P
                     (Individual)                                                        (Individual & Joint Owner)
  VIN:                      3GCEC13J17G540356                Valid VIN:                  Y
                            CHEVROLET SILVERADO C1500
  Make/Model/Series:                                         Model Year:

Page 43 of 91                                                                                                Kapitus_000242
                                            KAPITUS EX. 13 - 242
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 243 of 540

                           CREW CAB                                                  2007
  Full Body Style:         CREW CAB LT 2WD                   Country of Origin:      Mexico
  Body Type:               PICKUP                            Base Price:             $25,865
  Fuel Type:               Gas                               Drivetrain:             Rear Wheel Drive
  Shipping Weight:         5142                              Cubic Inch Displacement: 323
  Long Wheel Base          143.5                             Front Tire Size
  Short Wheel Base         143.5                             Rear Tire Size
  Carburetion Type         Fuel Injection                    Air Bags/Seat Belts:    Dual Frnt Ar Bgs/Passenger
                                                                                     Sensor/Active Belts
  Carburetion Barrels      Unknown
  Plate Registration State: TX                               Plate Type:             Regular
  Leased Vehicle:          No                                Plate Expiration:       12/15/2016
  Ton Rating:              1/2
  Vehicles Cylinders:      8                                 Ton Rating:             1/2




  Stock Vehicle Image




  628 DESTIN DR, FORT WORTH, TX 76131                        Address Type:           Street name
                                                                                     with house
                                                                                     number


  2006 CHEVROLET COLORADO
  Registered Owner: BRIDGES, Mr. DWAYNE                      Secondary Owner:
                    (Individual)
  VIN:              1GCCS196368142390                        Valid VIN:              Y
  Make/Model/Series:       CHEVROLET COLORADO                Model Year:             2006
  Full Body Style:         EXTENDED CAB LT                   Country of Origin:      United States
  Body Type:               PICKUP                            Base Price:             $17,705
  Fuel Type:               Gas                               Drivetrain:              Rear Wheel Drive
  Shipping Weight:         3468                              Cubic Inch Displacement: 214
  Long Wheel Base          126                               Front Tire Size
  Short Wheel Base         126                               Rear Tire Size
  Carburetion Type         Fuel Injection                    Air Bags/Seat Belts:    Dual Frnt Ar Bgs/Passenger
                                                                                     Sensor/Active Belts
  Carburetion Barrels      Unknown
  Plate Registration State: TX                               Plate Type:             Regular
  Leased Vehicle:          No                                Plate Expiration:       03/15/2017

Page 44 of 91                                                                                              Kapitus_000243
                                            KAPITUS EX. 13 - 243
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 244 of 540
  Ton Rating:
  Vehicles Cylinders:    5                                   Ton Rating:




Page 45 of 91                                                                                          Kapitus_000244
                                            KAPITUS EX. 13 - 244
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 245 of 540



  Stock Vehicle Image




  1150 BLUE MOUND RD W STE 201, HASLET, TX 76052             Address Type:           Street name
                                                                                     with house
                                                                                     number


  2002 CHEVROLET SILVERADO K1500
  Registered Owner:  BRIDGES, Mr. DWAYNE                     Secondary Owner:
                     (Individual)
  VIN:                     2GCEK19T221169866                 Valid VIN:              Y
  Make/Model/Series:       CHEVROLET SILVERADO K1500         Model Year:             2002
  Full Body Style:         EXTENDED CAB LS 4WD               Country of Origin:
  Body Type:               PICKUP                            Base Price:             $26,192
  Fuel Type:               Gas                               Drivetrain:             Rear Wheel Drive w/4x4
  Shipping Weight:         4910                              Cubic Inch Displacement: 325
  Long Wheel Base          157.5                             Front Tire Size
  Short Wheel Base         143.5                             Rear Tire Size
  Carburetion Type         Fuel Injection                    Air Bags/Seat Belts:    Du Ar Bgs Frnt/Act Blts/Pass
                                                                                     Deactivate/cutoff
  Carburetion Barrels      Unknown
  Plate Registration State: TX                               Plate Type:             Regular
  Leased Vehicle:          No                                Plate Expiration:       05/15/2016
  Ton Rating:              1/2
  Vehicles Cylinders:      8                                 Ton Rating:             1/2


  628 DESTIN DR, FORT WORTH, TX 76131                        Address Type:           Street name
                                                                                     with house
                                                                                     number


  1998 FORD RANGER
  Registered Owner:        BRIDGES, Mr. DWAYNE P             Secondary Owner:
                           (Individual)
  VIN:                     1FTYR10U4WUC97874                 Valid VIN:              Y
  Make/Model/Series:       FORD RANGER                       Model Year:             1998
  Full Body Style:         REGULAR CAB                       Country of Origin:      United States
  Body Type:               PICKUP                            Base Price:             $11,385


Page 46 of 91                                                                                            Kapitus_000245
                                            KAPITUS EX. 13 - 245
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A             Page 246 of 540
  Fuel Type:                Gas                                    Drivetrain:              Rear Wheel Drive
  Shipping Weight:          3030                                   Cubic Inch Displacement: 182
  Long Wheel Base           117.5                                  Front Tire Size
  Short Wheel Base          111.6                                  Rear Tire Size
  Carburetion Type          Fuel Injection                         Air Bags/Seat Belts:    Dual Front Air Bag/Active Belts
  Carburetion Barrels       Unknown
  Plate Registration State: TX                                     Plate Type:             Regular
  Leased Vehicle:           No                                     Plate Expiration:       03/15/2017
  Ton Rating:               1/2
  Vehicles Cylinders:       6                                      Ton Rating:             1/2



Relatives
  BRIDGES, ASHLYN FAITH
  Relative of:  BRIDGES, DWAYNE                             Degree of Separation:                1
  SSN:                                                      DOB:




  * Match with one of the subject’s addresses
  Date Range                        Address                                                Phone #
  03/30/2015 - 03/30/2015           *                                                      (682) 224-5457
                                    628 DESTIN DR
                                    FORT WORTH TX 76131
                                    TARRANT COUNTY




  BRIDGES, DANA
  Relative of:       BRIDGES, DWAYNE                        Degree of Separation:                1
  SSN:                                                      DOB:                                        1984



  * Match with one of the subject’s addresses
  Date Range                        Address                                                Phone #
  01/01/2004 - 03/31/2014           *
                                    17210 OLIVE DR
                                    LIVINGSTON LA 70754
                                    LIVINGSTON COUNTY




  BRIDGES, NELIE D
  Relative of:                      BRIDGES, DWAYNE                      Degree of Separation:                 1
                                           XXXX - issued in LA between
  SSN:                                                                 DOB:                                       1921
                                    1934-1951
  Death Date:                       11/20/2008                         ** ALERT ** A death claim for this SSN was filed in
                                                                       11/20/2008



Page 47 of 91                                                                                                      Kapitus_000246
                                                 KAPITUS EX. 13 - 246
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 247 of 540


  * Match with one of the subject’s addresses
  Date Range                    Address                                              Phone #
  01/01/1988 - 12/31/1988       *                                                    775-2584
                                4131 BLOUNT
                                BATON ROUGE LA 70807
                                EAST BATON ROUGE COUNTY


  Not available                 3434 WINGFIELD
                                BAKER LA 70714
                                EAST BATON ROUGE COUNTY

  Not available                 4173 BLOUNT
                                BATON ROUGE LA 70807
                                EAST BATON ROUGE COUNTY

  Not available                 RR 7 POB 618
                                BATON ROUGE LA 70807
                                EAST BATON ROUGE COUNTY




  BRIDGES, TERESA
  Relative of:  BRIDGES, DWAYNE                        Degree of Separation:                1
  SSN:                      XXXX - issued in LA in 1984 DOB:                                     1977

  Possible AKA:    BRIDGES, TERESA F                   SSN:                          DOB:
  Possible AKA:    BENNETT, TERESA                     SSN:                          DOB:
  Possible AKA:    BRIDGES, TERESA F                   SSN:                          DOB:        1977
  Possible AKA:    BENNETT, TERESA F                   SSN:                          DOB:        1967
  Possible AKA:    BENNETT, TERESA F                   SSN:                          DOB:        1977
  Possible AKA:    BENNET, TERESA                      SSN:         XXXX             DOB:        1977
  Possible AKA:    TERESA, BRIDGES                     SSN:                          DOB:
  Possible AKA:    BENNET, TERESA                      SSN:                          DOB:


  * Match with one of the subject’s addresses
  Date Range                    Address                                              Phone #
  01/01/2004 - 08/19/2015       28740 RED OAK RD
                                LIVINGSTON LA 70754
                                LIVINGSTON COUNTY

  01/01/1988 - 05/31/2013       26250 CLYDE BLOUNT RD
                                LIVINGSTON LA 70754
                                LIVINGSTON COUNTY


  03/19/2013 - 03/19/2013       195 RUE SAINT JAMES
                                VACHERIE LA 70090
                                ST JOHN THE BAPTIST COUNTY



Page 48 of 91                                                                                           Kapitus_000247
                                            KAPITUS EX. 13 - 247
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 248 of 540

  07/12/2005 - 07/19/2005      17655 MELANCON RD
                               LIVINGSTON LA 70754
                               LIVINGSTON COUNTY

  04/01/1998 - 06/23/2003      613 S MONTGOMERY ST 24
                               STARKVILLE MS 39759
                               OKTIBBEHA COUNTY


  01/23/2003 - 01/23/2003      613 MONTGOMERY ST 24                                  265-9260
                               STARKVILLE MS 39759



  05/01/1999 - 01/23/2003      174 RUE SAINT JAMES
                               VACHERIE LA 70090
                               ST JOHN THE BAPTIST COUNTY


  02/26/1997 - 01/23/2003      PO BOX 109
                               ACKERMAN MS 39735
                               CHOCTAW COUNTY


  08/08/2002 - 08/08/2002      23600 JOE MAY RD
                               DENHAM SPRINGS LA 70726
                               LIVINGSTON COUNTY


  03/31/2002 - 03/31/2002      12533 COURSEY BLVD
                               BATON ROUGE LA 70816
                               EAST BATON ROUGE COUNTY


  01/17/2000 - 01/17/2000      *
                               4131 BLOUNT RD
                               BATON ROUGE LA 70807
                               EAST BATON ROUGE COUNTY

  02/26/1997 - 06/12/1997      109
                               ACKERMAN MS 39735
                               CHOCTAW COUNTY




  BRIDGES, DANA
  Relative of:     BRIDGES, DWAYNE                  Degree of Separation:                   1
  SSN:                  XXXX - issued in TN in 1974 DOB:                                         1973

  Possible AKA:    JOHNSON, DANA M                     SSN:         XXXX             DOB:
  Possible AKA:    JOHNSON, DANA M                     SSN:                          DOB:
  Possible AKA:    JOHN, D                             SSN:         XXXX             DOB:
  Possible AKA:    JOHN, D                             SSN:                          DOB:
  Possible AKA:    JOHNSON, D                          SSN:                          DOB:
  Possible AKA:    BRIDGES, DANA M                     SSN:                          DOB:


Page 49 of 91                                                                                           Kapitus_000248
                                            KAPITUS EX. 13 - 248
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 249 of 540
  Possible AKA:    BRIDGES, DANA JO                    SSN:                          DOB:
  Possible AKA:    JOHNSON, D                          SSN:         XXXX             DOB:
  Possible AKA:    JOHNSON, DANA                       SSN:                          DOB:
  Possible AKA:    BRIDGES, DANA M                     SSN:         XXXX             DOB:        1973
  Possible AKA:    JOYHNSON, DANA                      SSN:                          DOB:
  Possible AKA:    ANTHONY, MARK                       SSN:                          DOB:
  Possible AKA:    BRIDGES, DANA MICHELLE              SSN:                          DOB:        1973


  * Match with one of the subject’s addresses
  Date Range                   Address                                               Phone #
  01/01/2003 - 01/31/2016      *
                               18273 TABONY LN
                               LIVINGSTON LA 70754
                               LIVINGSTON COUNTY

  04/24/1999 - 12/31/2015      *                                                     (225) 366-6862
                               16352 OLD HAMMOND HWY TRLR 63
                               BATON ROUGE LA 70816
                               EAST BATON ROUGE COUNTY

  09/16/2010 - 11/24/2015      *
                               628 DESTIN DR
                               FORT WORTH TX 76131
                               TARRANT COUNTY

  08/14/2008 - 10/02/2015      *
                               17210 OLIVE DR
                               LIVINGSTON LA 70754
                               LIVINGSTON COUNTY


  01/01/2001 - 10/02/2015      9221 GREAT SMOKEY AV
                               BATON ROUGE LA 70814
                               EAST BATON ROUGE COUNTY

  05/14/2014 - 05/14/2014      628 BRIDGES
                               FORT WORTH TX 76131
                               TARRANT COUNTY


  12/29/2001 - 11/19/2013      4620 MISTY RIDGE DR
                               FORT WORTH TX 76137
                               TARRANT COUNTY

  02/18/2005 - 02/28/2007      *
                               10065 ADAM DR
                               DENHAM SPRINGS LA 70726
                               LIVINGSTON COUNTY


  05/08/2005 - 10/26/2006      *

Page 50 of 91                                                                                           Kapitus_000249
                                            KAPITUS EX. 13 - 249
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 250 of 540

                               30260 EDEN CHURCH RD
                               DENHAM SPRINGS LA 70726
                               LIVINGSTON COUNTY

  01/01/1996 - 03/26/2005      12529 COURSEY BLVD APT 1140
                               BATON ROUGE LA 70816
                               EAST BATON ROUGE COUNTY


  03/06/2005 - 03/06/2005      1709 DOVE LOOP RD APT 1408
                               GRAPEVINE TX 76051
                               TARRANT COUNTY

  02/17/2004 - 08/11/2004      *
                               31531 LINDER RD LOT 101
                               DENHAM SPRINGS LA 70726
                               LIVINGSTON COUNTY


  04/01/2003 - 05/24/2003      12525 COURSEY BL                                      275-6482
                               BATON ROUGE LA 70816



  04/01/2003 - 04/01/2003      12525 COURSEY BL                                      (225) 755-2003
                               BATON ROUGE LA 70816
                               EAST BATON ROUGE COUNTY


  06/30/1999 - 01/23/2003      12400 JEFFERSON HWY APT 2215                          275-6482
                               BATON ROUGE LA 70816
                               EAST BATON ROUGE COUNTY


  02/02/1998 - 01/23/2003      310 SYCAMORE DR
                               GREENVILLE SC 29607
                               GREENVILLE COUNTY

  03/01/2001 - 03/01/2001      3543 YORKFIELD DR
                               BATON ROUGE LA 70816
                               EAST BATON ROUGE COUNTY


  05/12/1998 - 05/12/1998      *
                               200 CATHERINE ST
                               STARKVILLE MS 39759
                               OKTIBBEHA COUNTY

  01/01/1993 - 03/04/1998      12254 LA MARGIE AVE APT 149
                               BATON ROUGE LA 70815
                               EAST BATON ROUGE COUNTY


  05/30/1997 - 05/30/1997      47 POPLAR VALLEY LN
                               TRAVELERS REST SC 29690
                               GREENVILLE COUNTY


Page 51 of 91                                                                                          Kapitus_000250
                                            KAPITUS EX. 13 - 250
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 251 of 540


  05/03/1997 - 05/03/1997      417 POPLAR VLY
                               TRAVELERS REST SC 07714



  01/05/1996 - 01/20/1996      12254 LAMARGY
                               BATON ROUGE LA 70815



  Not available                *
                               1045 GREEN RIDGE TER
                               SAGINAW TX 76179
                               TARRANT COUNTY




  BRIDGES, BARBARA A
  Relative of: BRIDGES, DWAYNE                         Degree of Separation:                1
                     XXXX - issued in OK
  SSN:                                                 DOB:                                      1954
               between 1969-1970

  Possible AKA:    BRIDGES, BARBARA                    SSN:         XXXX             DOB:
  Possible AKA:    BRIDGES, BARBARA E                  SSN:                          DOB:        1942
  Possible AKA:    BRIDGES, BARBARA                    SSN:                          DOB:
  Possible AKA:    BRIDGES, BARBARA                    SSN:         XXXX             DOB:        1954
  Possible AKA:    BRIDGES, BARBARA                    SSN:                          DOB:        1950
  Possible AKA:    ANN, BARBARA                        SSN:                          DOB:
  Possible AKA:    BARBARA, BRIDGES                    SSN:                          DOB:
  Possible AKA:    BRIDGES, BARBARA                    SSN:                          DOB:        1954
  Possible AKA:    BARBARA, ANN BRIDGES                SSN:                          DOB:
  Possible AKA:    BRIDGES, BARBARA ANN                SSN          XXXX             DOB:        1954
  Possible AKA:    BRIDGES, BARBARA ANN                SSN:                          DOB:
  Possible AKA:    BRIDGES, BARBARA ANN                SSN:                          DOB:        1954


  * Match with one of the subject’s addresses
  Date Range                   Address                                               Phone #
  01/01/2005 - 09/30/2015      901 CHATEAU CT
                               COLLEYVILLE TX 76034
                               TARRANT COUNTY

  01/01/2010 - 09/30/2015      9724 FLATIRON ST
                               FORT WORTH TX 76244
                               TARRANT COUNTY


  01/01/1994 - 06/02/2015      16318 WILLOWPARK DR
                               TOMBALL TX 77377
                               HARRIS COUNTY

  03/26/2009 - 03/26/2009      *

Page 52 of 91                                                                                           Kapitus_000251
                                            KAPITUS EX. 13 - 251
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 252 of 540

                               1150 BLUE MOUND RD W
                               HASLET TX 76052
                               TARRANT COUNTY

  01/01/1994 - 06/12/2006      4233 FAIRWAY CROSSING
                               FORT WORTH TX 76137
                               TARRANT COUNTY


  09/30/2005 - 09/30/2005      4233 FAIR WAY APT CROSS
                               NAVAL AIR STATION JRB TX 76127



  01/01/1989 - 01/23/2003      2102 W CLUB
                               DUNCAN OK 73533
                               STEPHENS COUNTY


  01/01/1993 - 01/23/2003      420 FOWLER DR
                               DUNCAN OK 73533
                               STEPHENS COUNTY


  03/27/1998 - 12/30/2001      4233 FAIR WAY CROSSIN
                               FORT WORTH TX 76137



  10/24/1994 - 12/12/1994      4233 FAIRFAX ST
                               FORT WORTH TX 76116
                               TARRANT COUNTY


  08/01/1986 - 05/01/1993      2118 WESTBRIAR RD
                               DUNCAN OK 73533
                               STEPHENS COUNTY

  01/01/1992 - 12/31/1992      PO BOX 1321
                               DUNCAN OK 73534
                               STEPHENS COUNTY


  Not available                2102 N COUNTRY CLUB RD
                               DUNCAN OK 73533
                               STEPHENS COUNTY


  Not available                3001 SURREY WOOD
                               DUNCAN OK 73533
                               STEPHENS COUNTY




  BRIDGES, KELLY J
  Relative of:                 BRIDGES, DWAYNE                       Degree of Separation:           1
                                       XXXX - issued in LA between


Page 53 of 91                                                                                            Kapitus_000252
                                            KAPITUS EX. 13 - 252
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A        Page 253 of 540
  SSN:                          1957-1959                          DOB:                                       1941
  Death Date:                   02/07/2007                         ** ALERT ** A death claim for this SSN was filed in
                                                                   02/07/2007

  Possible AKA:    BRIDGES, KELLY                      SSN:                          DOB:


  * Match with one of the subject’s addresses
  Date Range                    Address                                              Phone #
  12/02/2003 - 12/04/2006       1955 NW CALIFORNIA RD
                                BROOKHAVEN MS 39601
                                LINCOLN COUNTY

  07/01/1985 - 01/23/2003       6203 MOLINO DR
                                BAKER LA 70714
                                EAST BATON ROUGE COUNTY

  07/08/1993 - 01/23/2003       *
                                4131 BLOUNT
                                BATON ROUGE LA 70807
                                EAST BATON ROUGE COUNTY

  06/07/1994 - 01/23/2003       3434 WINGFIELD
                                BAKER LA 70714
                                EAST BATON ROUGE COUNTY




  BRIDGES, NICOLE
  Relative of:  BRIDGES, DWAYNE                        Degree of Separation:                1
  SSN:                      XXXX - issued in LA in 1989 DOB:                                      1974

  Possible AKA:    BRIDGES, NICOLE D                   SSN:                          DOB:
  Possible AKA:    BRIDGES, N                          SSN:                          DOB:
  Possible AKA:    BRIDGES, N                          SSN:         XXXX             DOB          1974
  Possible AKA:    BRIDGES, NICOLE D                   SSN:                          DOB:         1974
  Possible AKA:    MARTIN, NICOLE                      SSN:                          DOB:         1954
  Possible AKA:    SCOTT, NICOLE D                     SSN:                          DOB:
  Possible AKA:    BOURG, NIKKI D                      SSN:                          DOB:
  Possible AKA:    MARTIN, NICOLE                      SSN:                          DOB:
  Possible AKA:    BOURGEOIS, NIKKI D                  SSN:                          DOB:
  Possible AKA:    NICOLE, BRIDGES                     SSN:                          DOB:


  * Match with one of the subject’s addresses
  Date Range                    Address                                              Phone #
  01/01/2003 - 01/31/2016       *
                                18273 TABONY LN
                                LIVINGSTON LA 70754
                                LIVINGSTON COUNTY


Page 54 of 91                                                                                              Kapitus_000253
                                             KAPITUS EX. 13 - 253
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 254 of 540


  07/25/2006 - 09/12/2006      18273 TALBANY LN
                               LIVINGSTON LA 70754
                               LIVINGSTON COUNTY

  01/13/2002 - 09/11/2004      *
                               17650 MELANCON RD
                               LIVINGSTON LA 70754
                               LIVINGSTON COUNTY

  01/01/1995 - 01/23/2003      14607 FOREST GROVE AVE APT D
                               BATON ROUGE LA 70818
                               EAST BATON ROUGE COUNTY


  10/01/1997 - 01/23/2003      4711 CHURCH ST # A
                               ZACHARY LA 70791
                               EAST BATON ROUGE COUNTY

  04/22/1998 - 01/23/2003      2507 MCHUGH RD
                               BAKER LA 70714
                               EAST BATON ROUGE COUNTY

  01/01/1995 - 01/23/2003      15430 TOM DREHR RD
                               PRIDE LA 70770
                               EAST BATON ROUGE COUNTY

  07/29/1995 - 01/23/2003      *
                               4131 BLOUNT RD
                               BATON ROUGE LA 70807
                               EAST BATON ROUGE COUNTY


  08/01/2000 - 01/23/2003      1011 PATRICIA ST
                               BAKER LA 70714
                               EAST BATON ROUGE COUNTY

  11/13/2000 - 11/13/2000      14607 FOREST
                               BATON ROUGE LA 70818
                               EAST BATON ROUGE COUNTY


  09/20/1994 - 09/20/1994      9477 LANSDOWNE RD TRLR 80
                               BATON ROUGE LA 70818
                               EAST BATON ROUGE COUNTY

  Not available                OLD HAMMOND HWY
                               BATON ROUGE LA 70816
                               EAST BATON ROUGE COUNTY

  Not available                BELLFORT DR
                               BATON ROUGE LA 70815


Page 55 of 91                                                                                          Kapitus_000254
                                            KAPITUS EX. 13 - 254
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 255 of 540

                               EAST BATON ROUGE COUNTY




  BRIDGES, JASON K
  Relative of:  BRIDGES, DWAYNE                    Degree of Separation:                    1
                       XXXX - issued in LA between
  SSN:                                             DOB:                                          1972
                1973-1974

  Possible AKA:    BRIDGES, JASON                      SSN:                          DOB:


  * Match with one of the subject’s addresses
  Date Range                   Address                                               Phone #
  01/01/1993 - 06/30/2015      *                                                     (225) 771-8724
                               4131 BLOUNT RD
                               BATON ROUGE LA 70807
                               EAST BATON ROUGE COUNTY


  01/01/1996 - 03/31/2015      1955 CALIFORNIA RD NW                                 (601) 823-9234
                               BROOKHAVEN MS 39601
                               LINCOLN

  01/01/1996 - 04/30/2014      1955 NW CALIFORNIA RD                                 774-0371
                               BROOKHAVEN MS 39601
                               LINCOLN COUNTY

  01/01/1993 - 01/23/2003      3434 WINGFIELD AV
                               BAKER LA 70714
                               EAST BATON ROUGE COUNTY

  11/13/2000 - 11/13/2000      PO BOX 299
                               BROOKHAVEN MS 39602
                               LINCOLN COUNTY

  02/23/1991 - 12/31/1992      6203 MOLINO DR
                               BAKER LA 70714
                               EAST BATON ROUGE COUNTY




  BRIDGES, FAYE
  Relative of:     BRIDGES, DWAYNE                     Degree of Separation:                1
  SSN:                                                 DOB:




  * Match with one of the subject’s addresses
  Date Range                   Address                                               Phone #
  01/08/2005 - 01/08/2005      195 RUE SAINT JAMES


Page 56 of 91                                                                                           Kapitus_000255
                                            KAPITUS EX. 13 - 255
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A        Page 256 of 540

                               VACHERIE LA 70090
                               ST JOHN THE BAPTIST COUNTY


  05/01/2001 - 01/23/2003      4620 MISTY RIDGE DR
                               FORT WORTH TX 76137
                               TARRANT COUNTY

  10/01/1999 - 01/23/2003      *
                               4131 BLOUNT RD
                               BATON ROUGE LA 70807
                               EAST BATON ROUGE COUNTY

  04/12/2002 - 04/12/2002      5510 LABY LN
                               BAKER LA 70714
                               EAST BATON ROUGE COUNTY




  BRIDGES, NELLIE
  Relative of:                 BRIDGES, DWAYNE                    Degree of Separation:                  1
                                      XXXX - issued in LA between
  SSN:                                                            DOB:                                         1921
                               1934-1951
  Death Date:                  11/20/2008                          ** ALERT ** A death claim for this SSN was filed in
                                                                   11/20/2008

  Possible AKA:    BRIDGES, NELLIE D                   SSN:         XXXX             DOB:         1921
  Possible AKA:    BRIDGES, NELIE D                    SSN:                          DOB:
  Possible AKA:    BRIDGES, NELLIE D                   SSN:         XXXX             DOB:
  Possible AKA:    BRIDGES, NELLIE D                   SSN:                          DOB:


  * Match with one of the subject’s addresses
  Date Range                   Address                                               Phone #
  11/19/2003 - 02/01/2008      189 RUF SAINT JAMES
                               VACHERIE LA 70090
                               ST JOHN THE BAPTIST COUNTY


  11/17/2003 - 01/08/2005      195 RUE SAINT JAMES
                               VACHERIE LA 70090
                               ST JOHN THE BAPTIST COUNTY


  01/20/2002 - 03/26/2004      5510 LAVEY LN TRLR 89                                 (225) 774-7480
                               BAKER LA 70714
                               EAST BATON ROUGE COUNTY


  02/01/2001 - 01/23/2003      4620 MISTY RIDGE DR                                   775-2584
                               FORT WORTH TX 76137
                               TARRANT COUNTY


  06/18/1994 - 01/23/2003      3434 WINGFIELD AV


Page 57 of 91                                                                                                Kapitus_000256
                                            KAPITUS EX. 13 - 256
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 257 of 540

                                BAKER LA 70714
                                EAST BATON ROUGE COUNTY


  03/03/1990 - 01/23/2003       *
                                4131 BLOUNT RD
                                BATON ROUGE LA 70807
                                EAST BATON ROUGE COUNTY

  07/01/1994 - 01/23/2003       4173 BLOUNT RD                                       775-2584
                                BATON ROUGE LA 70807
                                EAST BATON ROUGE COUNTY


  04/12/2002 - 04/12/2002       5510 LABY LN
                                BAKER LA 70714
                                EAST BATON ROUGE COUNTY


  02/14/2002 - 02/14/2002       5510 LADY LN
                                LOUISIANA LA 70414




  BRIDGES, PAUL L
  Relative of:  BRIDGES, DWAYNE                        Degree of Separation:                1
  SSN:                      XXXX - issued in LA in 1965 DOB:                                     1948

  Possible AKA:    BRIDGES, PAUL                       SSN:                          DOB:
  Possible AKA:    BRIDGES, PAUL                       SSN:         XXXX             DOB:
  Possible AKA:    BRIDGES, PAUL NULL                  SSN:         XXXX             DOB:        1948
  Possible AKA:    BRIDGES, PAUL NULL                  SSN:                          DOB:
  Possible AKA:    PAUL, BRIDGES                       SSN:                          DOB:


  * Match with one of the subject’s addresses
  Date Range                    Address                                              Phone #
  09/12/2014 - 04/01/2016       1045 GREEN RIDGE TER
                                SAGINAW TX 76179
                                TARRANT COUNTY

  01/01/1996 - 08/01/2015       17655 MELANCON RD
                                LIVINGSTON LA 70754
                                LIVINGSTON COUNTY


  11/26/2007 - 11/24/2008       *
                                10065 ADAM DR
                                DENHAM SPRINGS LA 70726
                                LIVINGSTON COUNTY

  05/22/1998 - 01/24/2003       613 S MONTGOMERY ST 24                               265-9260
                                STARKVILLE MS 39759

Page 58 of 91                                                                                           Kapitus_000257
                                            KAPITUS EX. 13 - 257
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 258 of 540

                               OKTIBBEHA COUNTY

  06/20/1998 - 01/24/2003      *
                               4131 BLOUNT RD
                               BATON ROUGE LA 70807
                               EAST BATON ROUGE COUNTY

  07/18/2001 - 01/24/2003      RR 1 109                                              265-9260
                               ACKERMAN MS 39735
                               CHOCTAW COUNTY

  11/13/2000 - 01/23/2003      166 B RUE JAMES ST                                    265-9260
                               VACHERIE LA 70090



  04/10/1999 - 01/23/2003      174 RUE SAINT JAMES
                               VACHERIE LA 70090
                               ST JOHN THE BAPTIST COUNTY

  01/01/1988 - 01/23/2003      14530 MS HIGHWAY 15
                               ACKERMAN MS 39735
                               CHOCTAW COUNTY

  08/06/2002 - 08/08/2002      23600 JOE MAY RD
                               DENHAM SPRINGS LA 70726
                               LIVINGSTON COUNTY

  08/06/2002 - 08/06/2002      1426 DELPLAZA DR APT B
                               BATON ROUGE LA 70815
                               EAST BATON ROUGE COUNTY

  07/18/2001 - 07/18/2001      RR 1 BOX 109
                               ACKERMAN MS 39735
                               CHOCTAW COUNTY


  12/15/1989 - 07/13/2001      RR1 BOX 82X
                               ACKERMAN MS 39735
                               CHOCTAW COUNTY


  08/12/1999 - 01/09/2001      111 E CHURCH ST
                               ACKERMAN MS 39735
                               CHOCTAW COUNTY

  01/09/2001 - 01/09/2001      PO BOX 1336
                               ACKERMAN MS 39735
                               CHOCTAW COUNTY


  01/09/2001 - 01/09/2001      1336
                               ACKERMAN MS 39735


Page 59 of 91                                                                                          Kapitus_000258
                                            KAPITUS EX. 13 - 258
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 259 of 540

                               CHOCTAW COUNTY

  11/13/2000 - 11/13/2000      166 B RUE JAMES ST                                    265-9260
                               VACHERIE LA 70090
                               ST JOHN THE BAPTIST COUNTY


  08/12/1999 - 04/07/2000      111 E CHURCH ST
                               ACKERMAN MS 39735
                               CHOCTAW COUNTY

  12/15/1989 - 12/18/1996      82X RR1
                               ACKERMAN MS 39735
                               CHOCTAW COUNTY

  01/01/1995 - 12/31/1995      MS HY 15
                               ACKERMAN MS 39735
                               CHOCTAW COUNTY

  08/14/1995 - 08/14/1995      MS HWY 15 W
                               ACKERMAN MS 39735
                               CHOCTAW COUNTY

  01/01/1991 - 12/31/1991      RR 1 POB 228A
                               ROSELAND LA 70456
                               TANGIPAHOA COUNTY

  Not available                618 RR 7 BOX
                               BATON ROUGE LA 70807
                               EAST BATON ROUGE COUNTY

  Not available                FISHERMANS LNDG
                               BATON ROUGE LA 70821
                               EAST BATON ROUGE COUNTY




  BRIDGES, BRYAN K.
  Relative of: BRIDGES, DWAYNE                  Degree of Separation:                       1
                    XXXX - issued in LA between
  SSN:                                                 DOB:                                      1973
                   1979-1980

  Possible AKA:    BRIDGES, BRYAN K                    SSN:         XXXX             DOB:        1973
  Possible AKA:    BRIDGES, BRYAN K                    SSN:                          DOB:
  Possible AKA:    BRIDGES, B                          SSN:                          DOB:
  Possible AKA:    BRIDGES, BRYAN                      SSN:                          DOB:
  Possible AKA:    BRIDGES, B                          SSN:                          DOB:        1973
  Possible AKA:    BRIDGES, BRYAN K                    SSN:                          DOB:        1973
  Possible AKA:    BRYAN, BRIDGES                      SSN:                          DOB:
  Possible AKA:    BRIDGES, BRIAN K                    SSN:                          DOB:



Page 60 of 91                                                                                           Kapitus_000259
                                            KAPITUS EX. 13 - 259
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 260 of 540
  Possible AKA:    BRIDGES, BYRON                      SSN:                          DOB:


  * Match with one of the subject’s addresses
  Date Range                   Address                                               Phone #
  01/01/2003 - 01/31/2016      *                                                     (225) 698-3737
                               18273 TABONY LN
                               LIVINGSTON LA 70754
                               LIVINGSTON COUNTY


  07/25/2006 - 09/12/2006      18273 TALBANY LN
                               LIVINGSTON LA 70754
                               LIVINGSTON COUNTY

  03/10/2005 - 05/19/2005      17650 MELEMON
                               LIVINGSTON LA 70754
                               LIVINGSTON COUNTY


  02/06/2002 - 02/10/2005      *
                               17650 MELANCON RD
                               LIVINGSTON LA 70754
                               LIVINGSTON COUNTY

  01/24/2003 - 01/24/2003      RR 1 82X                                              658-9250
                               ACKERMAN MS 39735
                               CHOCTAW COUNTY

  01/01/1995 - 01/23/2003      14607 FOREST GROVE AVE APT D                          658-9250
                               BATON ROUGE LA 70818
                               EAST BATON ROUGE COUNTY

  01/01/1995 - 01/23/2003      9477 LANSDOWNE RD TRLR 80                             658-9250
                               BATON ROUGE LA 70818
                               EAST BATON ROUGE COUNTY

  11/05/1997 - 01/23/2003      4711 CHURCH ST # A                                    658-9250
                               ZACHARY LA 70791
                               EAST BATON ROUGE COUNTY

  06/03/1998 - 01/23/2003      4613 GREENWOOD LN
                               BAKER LA 70714
                               EAST BATON ROUGE COUNTY

  11/13/2000 - 01/23/2003      15040 PRIDE PORT HUDSON RD                            658-9250
                               PRIDE LA 70770
                               EAST BATON ROUGE COUNTY

  04/22/1998 - 01/23/2003      2507 MCHUGH RD
                               BAKER LA 70714
                               EAST BATON ROUGE COUNTY


Page 61 of 91                                                                                          Kapitus_000260
                                            KAPITUS EX. 13 - 260
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 261 of 540


  07/13/1995 - 01/23/2003      15430 TOM DREHR RD
                               PRIDE LA 70770
                               EAST BATON ROUGE COUNTY

  10/05/1999 - 01/23/2003      1011 PATRICIA ST
                               BAKER LA 70714
                               EAST BATON ROUGE COUNTY

  10/18/1997 - 01/23/2003      RR3 BOX 20                                            658-9250
                               ACKERMAN MS 39735
                               CHOCTAW COUNTY


  01/16/2003 - 01/16/2003      17650 17650 MELANCON
                               LIVINGSTON LA 70754
                               LIVINGSTON COUNTY

  01/18/2002 - 01/18/2002      5613 GROOM RD
                               BAKER LA 70714
                               EAST BATON ROUGE COUNTY

  07/18/2001 - 07/18/2001      PO BOX 3                                              658-9250
                               ACKERMAN MS 39735
                               CHOCTAW COUNTY


  07/17/2001 - 07/17/2001      15090 PRIDE PRT
                               PRIDE LA 70770
                               EAST BATON ROUGE COUNTY


  07/13/2001 - 07/13/2001      RR 1 BOX 82X
                               ACKERMAN MS 39735
                               CHOCTAW COUNTY

  11/07/1998 - 04/16/2001      15090 PRIDE PORT HUDSON RD
                               PRIDE LA 70770
                               EAST BATON ROUGE COUNTY


  10/18/1997 - 10/18/1997      20A RR3
                               ACKERMAN MS 39735
                               CHOCTAW COUNTY

  10/18/1997 - 10/18/1997      RR3 BOX 20
                               ACKERMAN MS 39735
                               CHOCTAW COUNTY




  BRIDGES, DANA
  Relative of:     BRIDGES, DWAYNE                     Degree of Separation:               1


Page 62 of 91                                                                                          Kapitus_000261
                                            KAPITUS EX. 13 - 261
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 262 of 540
  SSN:                                                 DOB:




  * Match with one of the subject’s addresses
  Date Range                   Address                                               Phone #
  04/06/2010 - 04/06/2010      *
                               11238 BLUE JAY LN
                               DENHAM SPRINGS LA 70726
                               LIVINGSTON COUNTY




  BRIDGS, M D
  Relative of:     BRIDGS, DWAYNE                      Degree of Separation:               1
  SSN:                                                 DOB:




  * Match with one of the subject’s addresses
  Date Range                   Address                                               Phone #
  03/17/2010 - 04/08/2010      *                                                     (682) 224-5457
                               628 DESTIN DR
                               FORT WORTH TX 76131
                               TARRANT COUNTY




  BRIDGES, DWAYNE P
  Relative of: BRIDGES, DWAYNE                         Degree of Separation:               1
  SSN:                                                 DOB:




  * Match with one of the subject’s addresses
  Date Range                   Address                                               Phone #
  09/14/2012 - 02/28/2014      1150 BLUE MOUND RD W STE 103                          (817) 439-3599
                               HASLET TX 76052
                               TARRANT COUNTY

  Not available                *
                               628 DESTIN DR
                               FORT WORTH TX 76131
                               TARRANT COUNTY




  BRIDGES, NEWBORN FEMALE
  Relative of: BRIDGES, DWAYNE                         Degree of Separation:               1
  SSN:                                                 DOB:



Page 63 of 91                                                                                          Kapitus_000262
                                            KAPITUS EX. 13 - 262
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 263 of 540



  * Match with one of the subject’s addresses
  Date Range                   Address                                               Phone #
  07/03/2014 - 07/03/2014      *                                                     (682) 224-5457
                               628 DESTIN DR
                               FORT WORTH TX 76131
                               TARRANT COUNTY




  BRIDGES, BRANDI
  Relative of: BRIDGES, DWAYNE                         Degree of Separation:                1
  SSN:                                                 DOB:




  * Match with one of the subject’s addresses
  Date Range                   Address                                               Phone #
  06/28/2014 - 11/15/2015      *                                                     (225) 698-3737
                               18273 TABONY LN
                               LIVINGSTON LA 70754
                               LIVINGSTON COUNTY




  BRIDGES, DWAYNE PAUL
  Relative of: BRIDGES, DWAYNE                    Degree of Separation:                     1
                      XXXX - issued in LA between
  SSN:                                            DOB:                                           1972
               1979-1980

  Possible AKA:    BRIDGS, DWAYNE P                    SSN:                          DOB:        1972
  Possible AKA:    BRIDGS, DWAYNE P                    SSN:                          DOB:
  Possible AKA:    BRIDGES, DWAYNE P                   SSN:                          DOB:
  Possible AKA:    BRIDGES, DUANE                      SSN:                          DOB:
  Possible AKA:    BRIDGES, DWAYNE                     SSN:                          DOB:
  Possible AKA:    BRIDGES, DWAYNE P                   SSN:         XXXX             DOB:        1972
  Possible AKA:    BRIDGS, DWAYNE                      SSN:                          DOB:
  Possible AKA:    BRIDGES, DWYANE                     SSN:                          DOB:
  Possible AKA:    BRIDGS, DWAYNE                      SSN:                          DOB         1972


  * Match with one of the subject’s addresses
  Date Range                   Address                                               Phone #
  01/01/1991 - 10/31/2015      *
                               628 DESTIN DR
                               FORT WORTH TX 76131
                               TARRANT COUNTY

  01/01/2014 - 06/30/2014

Page 64 of 91                                                                                           Kapitus_000263
                                            KAPITUS EX. 13 - 263
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 264 of 540

                               *
                               1045 GREEN RIDGE TER
                               SAGINAW TX 76179
                               TARRANT COUNTY

  01/01/2001 - 11/30/2013      9221 GREAT SMOKEY AV
                               BATON ROUGE LA 70814
                               EAST BATON ROUGE COUNTY


  11/17/2007 - 12/04/2007      *                                                     285-3809
                               17210 OLIVE DR
                               LIVINGSTON LA 70754
                               LIVINGSTON COUNTY

  07/24/2006 - 08/07/2006      *                                                     (225) 686-0684
                               17650 MELANCON RD
                               LIVINGSTON LA 70754
                               LIVINGSTON COUNTY

  06/01/1998 - 01/23/2003      254 DILLON DR B                                       285-3809
                               DYERSBURG TN 38024
                               DYER COUNTY


  11/13/2000 - 01/23/2003      310 SYCAMORE DR                                       (225) 686-0684
                               GREENVILLE SC 29607
                               GREENVILLE COUNTY


  12/01/1999 - 01/23/2003      16352 OLD HAMMOND HW
                               BATON ROUGE LA 70816
                               EAST BATON ROUGE COUNTY


  05/01/1998 - 01/23/2003      *                                                     285-3809
                               200 CATHERINE ST
                               STARKVILLE MS 39759
                               OKTIBBEHA COUNTY


  09/01/1998 - 01/23/2003      *                                                     (225) 686-0684
                               4131 BLOUNT RD
                               BATON ROUGE LA 70807
                               EAST BATON ROUGE COUNTY


  07/18/2001 - 01/23/2003      *
                               39479 HIGHWAY 42
                               PRAIRIEVILLE LA 70769
                               ASCENSION COUNTY


  07/18/2001 - 01/23/2003      PO BOX 1                                              (225) 686-0684
                               ACKERMAN MS 39735

Page 65 of 91                                                                                          Kapitus_000264
                                            KAPITUS EX. 13 - 264
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 265 of 540

                               CHOCTAW COUNTY




  BRIDGES, CAMERON DAKOTA
  Relative of: BRIDGES, DWAYNE                   Degree of Separation:                     1
  SSN:               XXXX - issued in TN in 1974 DOB:                                            1987



  * Match with one of the subject’s addresses
  Date Range                   Address                                               Phone #
  01/16/2014 - 01/16/2014      *                                                     (682) 224-5457
                               628 DESTIN DR
                               FORT WORTH TX 76131
                               TARRANT COUNTY




  BRIDGES, VALERIE
  Relative of:  BRIDGES, DWAYNE                        Degree of Separation:               1
  SSN:                                                 DOB:                                      1995



  * Match with one of the subject’s addresses
  Date Range                   Address                                               Phone #
  01/01/2003 - 10/31/2015      *
                               18273 TABONY LN
                               LIVINGSTON LA 70754
                               LIVINGSTON COUNTY




  BRIDGES, VALERIE
  Relative of:  BRIDGES, DWAYNE                        Degree of Separation:               1
  SSN:                                                 DOB:                                      1995



  * Match with one of the subject’s addresses
  Date Range                   Address                                               Phone #
  01/01/2003 - 10/31/2015      *                                                     (225) 698-3737
                               18273 TABONY LN
                               LIVINGSTON LA 70754
                               LIVINGSTON COUNTY




  BRIDGES, ASHLYN FAITH


Page 66 of 91                                                                                           Kapitus_000265
                                            KAPITUS EX. 13 - 265
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 266 of 540
  Relative of:     BRIDGES, DWAYNE                     Degree of Separation:               1
  SSN:                                                 DOB:




  * Match with one of the subject’s addresses
  Date Range                   Address                                               Phone #
  03/30/2015 - 03/30/2015      *                                                     (682) 224-5457
                               628 DESTIN DR
                               FORT WORTH TX 76131
                               TARRANT COUNTY



Associates


  628 DESTIN DR FORT WORTH, TX 76131
  TARRANT COUNTY


  1. HUMPHREY, TRAVIS
  SSN:


  Date Range                         Address                                         Phone #
  09/20/2015 - 09/20/2015            628 DESTIN DR
                                     FORT WORTH, TX 76131
                                     TARRANT COUNTY



  2. BRIDGS, M D
  SSN:


  Date Range                         Address                                         Phone #
  03/17/2010 - 04/08/2010            628 DESTIN DR                                   (682) 224-5457
                                     FORT WORTH, TX 76131
                                     TARRANT COUNTY



  3. LEE, MARCIA EDITH
  SSN:                           XXXX - issued in MA between 1979-1980
  DOB (Age):                    1974 (41)

  Date Range                         Address                                         Phone #
  01/01/1996 - 10/02/2015            1289 N BAYSHORE DR
                                     VALPARAISO, FL 32580
                                     OKALOOSA COUNTY

  09/07/2015 - 09/07/2015            628 DESTIN DR
                                     FORT WORTH, TX 76131
                                     TARRANT COUNTY

  06/30/1996 - 12/15/2014            52 YACHT CLUB DR

Page 67 of 91                                                                                          Kapitus_000266
                                            KAPITUS EX. 13 - 266
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 267 of 540

                                     FT WALTON BEACH, FL 32548
                                     OKALOOSA COUNTY


  03/06/2002 - 07/01/2011            411 GOVERNMENT AV
                                     VALPARAISO, FL 32580
                                     OKALOOSA COUNTY

  04/04/1998 - 05/29/2009            54 YATE CLUB DR
                                     FT WALTON BCH, FL 32548
                                     OKALOOSA COUNTY

  01/01/1994 - 01/23/2003            2704 NW 52ND ST APT T2
                                     LAWTON, OK 73505
                                     COMANCHE COUNTY

  03/10/1997 - 01/23/2003            100 8TH AVE APT 2
                                     SHALIMAR, FL 32579
                                     OKALOOSA COUNTY


  12/01/1998 - 01/23/2003            402 ROGERS ST D
                                     FORT WALTON BEACH, FL 32548
                                     OKALOOSA COUNTY

  05/20/1998 - 01/23/2003            33 NE LAURIE DR
                                     FORT WALTON BEACH, FL 32548
                                     OKALOOSA COUNTY

  07/24/1999 - 02/13/2001            54 YACHT DR
                                     FORTWALTONBEACH, FL 32548
                                     OKALOOSA COUNTY

  07/12/1997 - 02/02/1998            33 NE LORI DR
                                     FT WALTON BCN, FL 32548



  06/28/1996 - 11/24/1997            2347 NEBRASKA AVE
                                     METAIRIE, LA 70003
                                     JEFFERSON COUNTY



  4. GREEN, BRAD S
  SSN:
  DOB (Age):                    1960 (56)

  Date Range                         Address                                         Phone #
  05/01/2013 - 06/12/2013            628 DESTIN DR
                                     FORT WORTH, TX 76131
                                     TARRANT COUNTY




Page 68 of 91                                                                                          Kapitus_000267
                                            KAPITUS EX. 13 - 267
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 268 of 540

  5. IRVIN, AMY
  SSN:


  Date Range                         Address                                         Phone #
  07/06/2010 - 07/09/2010            628 DESTIN DR
                                     FORT WORTH, TX 76131
                                     TARRANT COUNTY

  Not available                      PO BOX 2926
                                     GRAPEVINE, TX 76099
                                     TARRANT COUNTY



  6. HUMPHREY, TRAVIS
  SSN:
  DOB (Age):                   /1973 (42)

  Date Range                         Address                                         Phone #
  09/07/2015 - 09/07/2015            628 DESTIN DR
                                     FORT WORTH, TX 76131
                                     TARRANT COUNTY



  7. HUMPHREY, CANDI
  SSN:                           XXXX - issued in LA in 1983
  DOB (Age):                   1983 (33)

  Date Range                         Address                                         Phone #
  11/06/2015 - 11/06/2015            14049 TANGLEBRUSH TRL
                                     HASLET, TX 76052
                                     TARRANT COUNTY

  01/01/2003 - 06/29/2015            8700 SHAREE PL
                                     DENHAM SPRINGS, LA 70726
                                     LIVINGSTON COUNTY


  03/13/2003 - 10/31/2014            8802 CALIENTE AVE                               (225) 665-9544
                                     DENHAM SPRINGS, LA 70726
                                     LIVINGSTON COUNTY

  01/08/2013 - 01/08/2013            628 DESTIN DR
                                     FORT WORTH, TX 76131
                                     TARRANT COUNTY

  04/28/2001 - 04/18/2009            139 COUNTRY LN
                                     MINDEN, LA 71055
                                     WEBSTER COUNTY

  10/05/2004 - 10/05/2004            25710 CUYHANGA DR
                                     DENHAM SPRINGS, LA 70726

Page 69 of 91                                                                                          Kapitus_000268
                                            KAPITUS EX. 13 - 268
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 269 of 540

                                     LIVINGSTON COUNTY

  12/11/2001 - 11/16/2003            412 HEIFER RUN
                                     PEARL RIVER, LA 70452
                                     SAINT TAMMANY COUNTY

  08/03/2002 - 08/03/2002            814 HAMMOND MANOR DR APT B
                                     BATON ROUGE, LA 70816
                                     EAST BATON ROUGE COUNTY



  8. JOHNSON, BETTY
  SSN:                           XXXX - issued in TN in 1963
  DOB (Age):                    1947 (68)

  Date Range                         Address                                         Phone #
  08/04/2010 - 05/12/2015            628 DESTIN DR
                                     FORT WORTH, TX 76131
                                     TARRANT COUNTY

  02/13/2013 - 11/10/2014            9705 FOX HILL DR
                                     FORT WORTH, TX 76131
                                     TARRANT COUNTY

  07/09/2013 - 07/09/2013            5521 PALMER BLVD
                                     SARASOTA, FL 34232
                                     SARASOTA COUNTY

  01/01/2002 - 05/31/2013            10065 ADAM DR                                   (225) 667-4735
                                     DENHAM SPRINGS, LA 70726
                                     LIVINGSTON COUNTY

  03/26/2005 - 03/26/2005            16352 OLD HAMMOND HWY TRLR 63
                                     BATON ROUGE, LA 70816
                                     EAST BATON ROUGE COUNTY

  01/01/1994 - 01/23/2003            12254 LA MARGIE APT 149
                                     BATON ROUGE, LA 70815
                                     EAST BATON ROUGE COUNTY


  01/01/1991 - 12/31/1991            16352 OLD HAMMOND HWY TRLR 289
                                     BATON ROUGE, LA 70816
                                     EAST BATON ROUGE COUNTY



  9. HUMPHREY, TRAVIS
  SSN:
  DOB (Age):                    1973 (42)

  Date Range                         Address                                         Phone #

Page 70 of 91                                                                                          Kapitus_000269
                                            KAPITUS EX. 13 - 269
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 270 of 540

  09/07/2015 - 09/07/2015            628 DESTIN DR
                                     FORT WORTH, TX 76131
                                     TARRANT COUNTY



  10. HUMPHREY, CANDI
  SSN:                          XXXX - issued in LA in 1983
  DOB (Age):                   1983 (33)

  Date Range                         Address                                         Phone #
  11/06/2015 - 11/06/2015            14049 TANGLEBRUSH TRL
                                     HASLET, TX 76052
                                     TARRANT COUNTY

  01/01/2003 - 06/29/2015            8700 SHAREE PL
                                     DENHAM SPRINGS, LA 70726
                                     LIVINGSTON COUNTY

  03/13/2003 - 10/31/2014            8802 CALIENTE AVE                               (225) 665-9544
                                     DENHAM SPRINGS, LA 70726
                                     LIVINGSTON COUNTY

  01/08/2013 - 01/08/2013            628 DESTIN DR
                                     FORT WORTH, TX 76131
                                     TARRANT COUNTY

  04/28/2001 - 04/18/2009            139 COUNTRY LN
                                     MINDEN, LA 71055
                                     WEBSTER COUNTY

  10/05/2004 - 10/05/2004            25710 CUYHANGA DR
                                     DENHAM SPRINGS, LA 70726
                                     LIVINGSTON COUNTY

  12/11/2001 - 11/16/2003            412 HEIFER RUN
                                     PEARL RIVER, LA 70452
                                     SAINT TAMMANY COUNTY

  08/03/2002 - 08/03/2002            814 HAMMOND MANOR DR APT B
                                     BATON ROUGE, LA 70816
                                     EAST BATON ROUGE COUNTY



  11. SPARKS, GREGORY
  SSN:                           XXXX - issued in CO between 1969-1970
  DOB (Age):                    1955 (61)

  Date Range                         Address                                         Phone #
  11/21/2015 - 11/21/2015            2290 SKYVIEW LN APT 3110
                                     COLORADO SPRINGS, CO 80904

Page 71 of 91                                                                                          Kapitus_000270
                                            KAPITUS EX. 13 - 270
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 271 of 540

                                     EL PASO COUNTY

  03/31/2007 - 10/02/2015            6901 TULANE DR
                                     AUSTIN, TX 78723
                                     TRAVIS COUNTY

  06/01/2012 - 08/25/2014            628 DESTIN DR
                                     FORT WORTH, TX 76131
                                     TARRANT COUNTY

  10/13/2011 - 08/03/2014            9511 ABERDEEN WA
                                     AUSTIN, TX 78753
                                     TRAVIS COUNTY

  04/15/2014 - 04/15/2014            9511 B ABERDEEN WAY
                                     AUSTIN, TX 78753
                                     TRAVIS COUNTY

  06/19/2010 - 03/03/2013            6807 SURACUSE COVE
                                     AUSTIN, TX 78723
                                     TRAVIS COUNTY

  12/05/1992 - 10/31/2012            2201 E 22ND ST                                  (512) 241-1751
                                     AUSTIN, TX 78722
                                     TRAVIS COUNTY

  12/05/1992 - 10/26/2011            19191
                                     AUSTIN, TX 78760
                                     TRAVIS COUNTY

  12/14/2009 - 10/07/2011            5702 EXETER DR
                                     AUSTIN, TX 78723
                                     TRAVIS COUNTY


  06/01/2010 - 06/01/2010            123 PIERCE DR                                   634-3309
                                     COLORADO SPRINGS, CO 80906
                                     EL PASO COUNTY

  06/01/2010 - 06/01/2010            1710 LORRAINE ST                                634-3309
                                     COLORADO SPRINGS, CO 80905
                                     EL PASO COUNTY

  02/07/2009 - 03/09/2009            5706 SANDHURST CIR
                                     AUSTIN, TX 78723
                                     TRAVIS COUNTY

  08/01/2007 - 09/24/2007            6901 TRENDAL LN
                                     AUSTIN, TX 78744
                                     TRAVIS COUNTY



Page 72 of 91                                                                                          Kapitus_000271
                                            KAPITUS EX. 13 - 271
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 272 of 540


  08/01/2006 - 12/09/2006            7442 BANBERRY DR
                                     COLORADO SPRINGS, CO 80925
                                     EL PASO COUNTY

  01/01/1995 - 12/09/2005            116 N 23RD ST
                                     COLORADO SPRINGS, CO 80904
                                     EL PASO COUNTY

  07/08/2002 - 08/16/2002            331 ELLERS GRV
                                     COLO SPGS, CO 80916
                                     EL PASO COUNTY


  04/23/2002 - 04/23/2002            5145 HARRINGTON DR
                                     COLORADO SPRINGS, CO 80911
                                     EL PASO COUNTY

  01/01/1994 - 11/13/2000            919 N 19TH ST APT 16                            634-3309
                                     COLORADO SPRINGS, CO 80904
                                     EL PASO COUNTY

  01/01/2000 - 02/05/2000            4234 CHARLESTON DR
                                     COLORADO SPRINGS, CO 80916
                                     EL PASO COUNTY


  12/05/1992 - 02/17/1998            PO BOX 19191
                                     AUSTIN, TX 78760
                                     TRAVIS COUNTY


  03/12/1991 - 04/01/1995            2475 HANCOCK EXPY APT 306
                                     COLORADO SPRINGS, CO 80910
                                     EL PASO COUNTY


  01/01/1993 - 12/31/1993            1717 ALLEGHANY DR
                                     AUSTIN, TX 78741
                                     TRAVIS COUNTY


  01/01/1993 - 12/31/1993            POB
                                     AUSTIN, TX 78760
                                     TRAVIS COUNTY

  01/01/1992 - 12/31/1992            1717 BOX 19191
                                     INDUSTRY, TX 78944
                                     AUSTIN COUNTY


  01/01/1989 - 12/31/1989            112 BONFOY AVE APT 19
                                     COLO SPGS, CO 80909
                                     EL PASO COUNTY




Page 73 of 91                                                                                          Kapitus_000272
                                            KAPITUS EX. 13 - 272
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 273 of 540

  Not available                      320 E BOULDER ST
                                     COLORADO SPRINGS, CO 80903
                                     EL PASO COUNTY

  Not available                      116 N TWENTY THIRD ST
                                     COLORADO SPRINGS, CO 80904
                                     EL PASO COUNTY


  Not available                      1309 SOUTHPORT DR
                                     AUSTIN, TX 78704
                                     TRAVIS COUNTY



  12. JASON, MARTINEZ
  SSN:
  DOB (Age):                    1989 (26)

  Date Range                         Address                                         Phone #
  01/01/2015 - 12/31/2015            628 DESTIN DR
                                     FORT WORTH, TX 76131
                                     TARRANT COUNTY



  13. MARTINEZ, JASON
  SSN:
  DOB (Age):                    1989 (26)

  Date Range                         Address                                         Phone #
  01/01/2015 - 12/31/2015            628 DESTIN DR
                                     FORT WORTH, TX 76131
                                     TARRANT COUNTY




  1150 BLUE MOUND RD W HASLET, TX 76052
  TARRANT COUNTY


  1. SOARES, JEFF
  SSN:


  Date Range                         Address                                         Phone #
  05/21/2014 - 06/01/2014            1150 BLUE MOUND RD W
                                     HASLET, TX 76052
                                     TARRANT COUNTY



  2. BOREN, JOHN
  SSN:




Page 74 of 91                                                                                          Kapitus_000273
                                            KAPITUS EX. 13 - 273
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 274 of 540
  Date Range                         Address                                         Phone #
  02/02/2014 - 07/26/2015            1150 BLUE MOUND RD
                                     HASLET, TX 76052
                                     TARRANT COUNTY

  09/21/2014 - 09/21/2014            1150 BLUE MOUND RD 601
                                     HASLET, TX 76052




  3. BOREN, JOHN
  SSN:


  Date Range                         Address                                         Phone #
  05/16/2015 - 05/16/2015            1150 BLUE MOUND RD
                                     HASLET, TX 76052
                                     TARRANT COUNTY



  4. CURTISS, JESSIE
  SSN:                           XXXX - issued in ID in 1975
  DOB (Age):                    1974 (41)

  Date Range                         Address                                         Phone #
  02/12/2016 - 02/12/2016            1111 EAGLE DR                                   (817) 439-3852
                                     MOREHEAD, KY 40351
                                     ROWAN COUNTY

  09/04/2014 - 02/10/2016            29342 PARMA RD                                  (208) 722-7862
                                     PARMA, ID 83660
                                     CANYON COUNTY

  09/20/2015 - 11/17/2015            13861 RACEWAY DR APT 314
                                     NORTHLAKE, TX 76262
                                     TARRANT COUNTY

  11/17/2006 - 10/02/2015            28768 DIXIE RD
                                     PARMA, ID 83660
                                     PAYETTE COUNTY


  01/01/1995 - 11/25/2014            203 E TUCKER AV
                                     PARMA, ID 83660
                                     CANYON COUNTY

  10/24/2014 - 10/28/2014            1150 BLUE MOUND RD 501
                                     HASLET, TX 76052
                                     TARRANT COUNTY

  01/01/2010 - 12/05/2013            12768 TAYLOR FRANCES LN
                                     HASLET, TX 76052

Page 75 of 91                                                                                          Kapitus_000274
                                            KAPITUS EX. 13 - 274
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 275 of 540

                                     TARRANT COUNTY

  11/19/2005 - 12/29/2006            PO BOX 273
                                     PARMA, ID 83660
                                     CANYON COUNTY

  11/19/2005 - 12/29/2006            273
                                     PARMA, ID 83660
                                     CANYON COUNTY

  07/10/1995 - 10/20/2006            509 N 5TH ST
                                     PARMA, ID 83660
                                     CANYON COUNTY

  09/22/2004 - 10/07/2004            206 E TUCKER AV
                                     PARMA, ID 83660
                                     CANYON COUNTY

  Not available                      28732 DIXIE RD
                                     PARMA, ID 83660
                                     PAYETTE COUNTY



  5. CURETON, CHRISTOPHER
  SSN:                           XXXX - issued in TX in 1991
  DOB (Age):                    1979 (36)

  Date Range                         Address                                         Phone #
  04/17/2015 - 08/25/2015            2650 CEDAR SPRINGS RD
                                     DALLAS, TX 75201
                                     DALLAS COUNTY

  01/01/2013 - 08/25/2015            101 ARROWLAKE RD.
                                     WIMBERLEY, TX 78676
                                     HAYS COUNTY

  04/22/2015 - 08/15/2015            1150 BLUE MOUND RD 503
                                     HASLET, TX 76052
                                     TARRANT COUNTY


  05/20/2010 - 04/24/2015            7805 S BALLANTRAE DR                            (214) 476-9737
                                     MCKINNEY, TX 75070
                                     COLLIN COUNTY

  04/16/2015 - 04/16/2015            2650 CEDAR SPRINGS RD 7741
                                     DALLAS, TX 75201
                                     DALLAS COUNTY


  01/01/2012 - 02/28/2015            1479 TREBLED WATERS TRL
                                     DRIFTWOOD, TX 78619

Page 76 of 91                                                                                          Kapitus_000275
                                            KAPITUS EX. 13 - 275
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 276 of 540

                                     HAYS COUNTY

  01/01/2014 - 04/22/2014            7 HUNTINGWOOD RETREAT
                                     SAVANNAH, GA 31411
                                     CHATHAM COUNTY

  04/02/2014 - 04/07/2014            6701 STATE HIGHWAY 195
                                     KILLEEN, TX 76542
                                     BELL COUNTY

  09/20/2002 - 02/29/2012            16250 KNOLL TRAIL DR STE 201
                                     DALLAS, TX 75248
                                     DALLAS COUNTY

  11/22/2011 - 01/30/2012            4136 BRUNSWICK DR
                                     DALLAS, TX 75220
                                     DALLAS COUNTY

  02/23/2006 - 10/13/2011            3905 POTOMAC AV
                                     FORT WORTH, TX 76107
                                     TARRANT COUNTY

  06/14/2011 - 06/14/2011            6 CUTHBERT LN
                                     SAVANNAH, GA 31411
                                     CHATHAM COUNTY

  07/17/2009 - 10/07/2010            2610 CRAZYHORSE PA                              (512) 925-2102
                                     AUSTIN, TX 78734
                                     TRAVIS COUNTY

  06/09/2010 - 09/06/2010            6216 CALLOWAY DR
                                     MCKINNEY, TX 75070
                                     COLLIN COUNTY


  06/01/2010 - 07/04/2010            2610 CRAZYHORSE PA                              (713) 222-6310
                                     AUSTIN, TX 78734



  05/06/2010 - 05/06/2010            280 UNIVERSITY BLVD
                                     ROUND ROCK, TX 78665
                                     WILLIAMSON COUNTY

  09/20/2002 - 10/23/2009            16250 DALLAS PKWY STE 201                       (214) 476-9736
                                     DALLAS, TX 75248
                                     DALLAS COUNTY

  01/26/1995 - 04/05/2009            9846 GOODING DRIVE
                                     DALLAS, TX 75220
                                     DALLAS COUNTY



Page 77 of 91                                                                                          Kapitus_000276
                                            KAPITUS EX. 13 - 276
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 277 of 540


  08/26/2003 - 08/16/2006            1107 SHADY OAKS CIR
                                     MCKINNEY, TX 75070
                                     COLLIN COUNTY

  02/01/2006 - 02/01/2006            3324 MCKINNEY AVE
                                     DALLAS, TX 75204
                                     DALLAS COUNTY

  02/28/2005 - 09/19/2005            5445 CARUTH HAVEN LN APT 414
                                     DALLAS, TX 75225
                                     DALLAS COUNTY


  08/25/2005 - 08/25/2005            222 W 4TH ST APT 401
                                     FORT WORTH, TX 76102
                                     TARRANT COUNTY

  01/10/2005 - 01/10/2005            1609 FIFE HILLS DR
                                     MCKINNEY, TX 75070
                                     COLLIN COUNTY

  12/20/2002 - 04/09/2004            705 MAIN ST STE 604                             (713) 222-6310
                                     HOUSTON, TX 77002
                                     HARRIS COUNTY


  02/11/2001 - 07/13/2002            15301 DALLAS PKWY STE 730
                                     ADDISON, TX 75001
                                     DALLAS COUNTY


  08/30/2001 - 08/30/2001            1600 ANN BRANDEN BLVD APT 413
                                     NORMAN, OK 73071
                                     CLEVELAND COUNTY


  Not available                      101 ARROWLAKE RD
                                     WIMBERLEY, TX 78676




  6. CURETON, CHRISTOPHER
  SSN:


  Date Range                         Address                                         Phone #
  01/01/2015 - 06/30/2015            1150 BLUE MOUND RD
                                     HASLET, TX 76052
                                     TARRANT COUNTY



  7. WRIGHT, ANTHONY
  SSN:



Page 78 of 91                                                                                          Kapitus_000277
                                            KAPITUS EX. 13 - 277
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 278 of 540


  Date Range                         Address                                         Phone #
  10/02/2015 - 10/02/2015            1150 BLUE MOUND RD 203
                                     HASLET, TX 76052
                                     TARRANT COUNTY



  8. CANAL, JOSHUA
  SSN:


  Date Range                         Address                                         Phone #
  09/29/2014 - 09/29/2014            1150 BLUE MOUND RD 603
                                     HASLET, TX 76052
                                     TARRANT COUNTY



  9. BOREN, JOHN
  SSN:


  Date Range                         Address                                         Phone #
  05/16/2015 - 07/17/2015            1150 BLUE MOUND RD W
                                     HASLET, TX 76052
                                     TARRANT COUNTY



  10. BOREN, JOHN
  SSN:


  Date Range                         Address                                         Phone #
  05/16/2015 - 07/17/2015            1150 BLUE MOUND RD
                                     HASLET, TX 76052
                                     TARRANT COUNTY



  11. MANLEY, JENNIFER
  SSN:


  Date Range                         Address                                         Phone #
  11/16/2014 - 11/16/2014            1150 BLUE MOUND
                                     HASLET, TX 76052
                                     TARRANT COUNTY



  12. MEDFORD, CHASE
  SSN:                           XXXX - issued in TX between 1989-1990
  DOB (Age):                    1983 (32)

  Date Range                         Address                                         Phone #
  01/01/2008 - 04/30/2016            9028 TATE AVE
                                     FORT WORTH, TX 76244


Page 79 of 91                                                                                          Kapitus_000278
                                            KAPITUS EX. 13 - 278
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 279 of 540

                                     TARRANT COUNTY

  01/01/2015 - 12/31/2015            9836 SALEM WAY UNIT A                           (817) 337-4631
                                     WACO, TX 76708
                                     MCLENNAN COUNTY


  05/16/2014 - 05/16/2014            1150 BLUE MOUND RD W
                                     HASLET, TX 76052
                                     TARRANT COUNTY

  10/23/2013 - 10/23/2013            PO BOX 2757
                                     FORT WORTH, TX 76244
                                     TARRANT COUNTY

  05/25/2007 - 03/06/2009            436 MARSHA ST
                                     KELLER, TX 76248
                                     TARRANT COUNTY

  01/12/2009 - 01/12/2009            436 MARSHALL LN
                                     KELLER, TX 76248



  09/01/2006 - 06/26/2007            8299 SMALL BLOCK RD APT 1331
                                     NORTHLAKE, TX 76262
                                     DENTON COUNTY

  01/06/2003 - 05/18/2007            2812 CECIL DR
                                     RICHLAND HILLS, TX 76118
                                     TARRANT COUNTY

  09/24/2006 - 09/24/2006            5299 SMALLBLOCK RD APT 1331
                                     ROANOKE, TX 76262
                                     DENTON COUNTY


  06/08/2006 - 06/08/2006            268 EUREKA
                                     FORT WORTH, TX 76118
                                     TARRANT COUNTY

  07/06/2004 - 07/06/2004            3709 POPPLEWELL ST
                                     RICHLAND HILLS, TX 76118
                                     TARRANT COUNTY

  01/04/2004 - 01/13/2004            1207 JENKINS AVE APT 206
                                     NORMAN, OK 73019
                                     CLEVELAND COUNTY

  07/13/2001 - 01/24/2003            7429 DEAVER DR
                                     NORTH RICHLAND HILLS, TX 76180
                                     TARRANT COUNTY



Page 80 of 91                                                                                          Kapitus_000279
                                            KAPITUS EX. 13 - 279
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 280 of 540


  Not available                      7428 DEAVER DR
                                     FORT WORTH, TX 76180
                                     TARRANT COUNTY



  13. CURETON, CHRISTOPHER
  SSN:


  Date Range                         Address                                         Phone #
  06/20/2015 - 06/20/2015            1150 BLUE MOUND RD W                            (817) 439-8324
                                     HASLET, TX 76052
                                     TARRANT COUNTY




  1045 GREEN RIDGE TER SAGINAW, TX 76179
  TARRANT COUNTY


  1. ROBERTS, THERESA
  SSN:                           XXXX - issued in TX in 1973
  DOB (Age):                    1962 (53)

  Date Range                         Address                                         Phone #
  01/01/2015 - 06/30/2015            709 CENTURY DR
                                     MOORE, OK 73160
                                     CLEVELAND COUNTY

  03/31/2014 - 06/02/2015            PO BOX 263
                                     DURANT, OK 74702
                                     BRYAN COUNTY

  01/01/2007 - 05/31/2015            1045 GREEN RIDGE TER
                                     SAGINAW, TX 76179
                                     TARRANT COUNTY

  02/01/2013 - 02/01/2013            805 N WOOD ST
                                     NEWCASTLE, WY 82701
                                     WESTON COUNTY

  07/16/2009 - 10/12/2012            101 W 10TH ST STE 126                           (405) 395-7873
                                     SHAWNEE, OK 74801
                                     POTTAWATOMIE COUNTY

  08/25/2009 - 08/25/2009            9800 HIGHWAY 177
                                     SHAWNEE, OK 74804
                                     POTTAWATOMIE COUNTY

  08/20/1998 - 01/02/2009            100 SUMMER OAKS DR


Page 81 of 91                                                                                          Kapitus_000280
                                            KAPITUS EX. 13 - 280
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 281 of 540

                                     MCLOUD, OK 74851
                                     POTTAWATOMIE COUNTY


  09/01/2008 - 09/01/2008            120 NE 21ST ST                                  (405) 912-4755
                                     MOORE, OK 73160
                                     CLEVELAND COUNTY

  01/21/2003 - 12/14/2007            33709 45TH ST
                                     SHAWNEE, OK 74804
                                     POTTAWATOMIE COUNTY

  03/17/2006 - 10/04/2007            9200 SE 29TH ST TRLR 95
                                     OKLAHOMA CITY, OK 73130
                                     OKLAHOMA COUNTY

  02/20/2006 - 12/08/2006            6391 NW 63RD ST APT 368                         (580) 695-2666
                                     OKLAHOMA CITY, OK 73132
                                     OKLAHOMA COUNTY


  04/08/2006 - 04/08/2006            1624 KIMBERLY RD APT 76
                                     AMARILLO, TX 79111
                                     POTTER COUNTY

  03/31/2006 - 03/31/2006            1325 WHITE OAK RD
                                     MOORE, OK 73160
                                     CLEVELAND COUNTY

  11/03/2005 - 11/03/2005            1225 WHITEOAK RD
                                     OKLAHOMA CITY, OK 73160
                                     CLEVELAND COUNTY

  06/26/2004 - 06/26/2004            921 NE 12TH ST APT 63
                                     MOORE, OK 73160
                                     CLEVELAND COUNTY

  04/18/2001 - 04/18/2001            100 100 SUMMER OAKS
                                     MCCLOUD, OK 74857
                                     CLEVELAND COUNTY


  01/01/1991 - 05/13/1999            3333 W NORTHSIDE DR LOT 12
                                     CLINTON, MS 39056
                                     HINDS COUNTY

  03/18/1997 - 04/22/1998            807 CITY AVE APT 109
                                     MOORE, OK 73160
                                     CLEVELAND COUNTY


  10/09/1997 - 01/14/1998            319 W MAIN ST APT 2
                                     PURCELL, OK 73080



Page 82 of 91                                                                                          Kapitus_000281
                                            KAPITUS EX. 13 - 281
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 282 of 540

                                     MCCLAIN COUNTY

  01/01/1996 - 12/31/1996            RR1 BOX 127B
                                     WAYNE, OK 73095
                                     MCCLAIN COUNTY

  04/22/1996 - 04/22/1996            127B RR1
                                     WAYNE, OK 73095
                                     MCCLAIN COUNTY

  01/01/1994 - 01/13/1995            2704 SW 30TH ST
                                     OKLAHOMA CITY, OK 73119
                                     OKLAHOMA COUNTY

  03/05/1993 - 07/11/1994            176 ARBOR HILL DR
                                     JACKSON, MS 39204
                                     HINDS COUNTY

  Not available                      1602 S LIPSCOMB ST
                                     AMARILLO, TX 79102
                                     POTTER COUNTY

  Not available                      2729 SE 93RD ST
                                     MOORE, OK 73160
                                     CLEVELAND COUNTY

  Not available                      1617 KIMBERLY RD
                                     AMARILLO, TX 79111
                                     POTTER COUNTY




Associate Analytics Chart


                             GLOBAL                     ARREST   CRIMINAL
ASSOCIATION                             OFAC?                             BANKRUPTCY?
                             SANCTIONS?                 RECORDS? RECORDS?
RELATIVES
Bennett, Teresa F            NO            NO           NO            NO            NO
Bridges, Ashlyn Faith        NO            NO           NO            NO            NO
Bridges, Ashlyn Faith        NO            NO           NO            NO            NO
Bridges, Barbara A           NO            NO           NO            NO            NO
Bridges, Brandi              NO            NO           NO            NO            NO
Bridges, Bryan K             NO            NO           NO            NO            NO
Bridges, Cameron Dakota      NO            NO           YES           NO            NO
Bridges, Dana                NO            NO           NO            NO            NO
Bridges, Dana                NO            NO           NO            NO            NO
Bridges, Dana                NO            NO           NO            NO            NO
Bridges, Dwayne              NO            NO           NO            NO            NO
Bridges, Faye                NO            NO           NO            NO            NO


Page 83 of 91                                                                                          Kapitus_000282
                                            KAPITUS EX. 13 - 282
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 283 of 540

Bridges, Jason               NO            NO           NO            NO            NO
Bridges, Kelly               NO            NO           NO            NO            NO
Bridges, Nelie D             NO            NO           NO            NO            NO
Bridges, Nellie              NO            NO           NO            NO            NO
Bridges, Newborn Female      NO            NO           NO            NO            NO
Bridges, Nicole D            NO            NO           NO            NO            NO
Bridges, Paul L              NO            NO           NO            NO            NO
Bridges, Valerie             NO            NO           NO            NO            NO
Bridges, Valerie             NO            NO           NO            NO            NO
Bridgs, Dwayne P             NO            NO           NO            NO            NO
Bridgs, M D                  NO            NO           NO            NO            NO
ASSOCIATES
Boren, John                  NO            NO           NO            NO            NO
Boren, John                  NO            NO           NO            NO            NO
Boren, John                  NO            NO           NO            NO            NO
Boren, John                  NO            NO           NO            NO            NO
Bridges, Ashlyn Faith        NO            NO           NO            NO            NO
Bridges, Ashlyn Faith        NO            NO           NO            NO            NO
Canal, Josh                  NO            NO           NO            NO            NO
Canal, Joshua                NO            NO           NO            NO            NO
Cureton, Christopher         NO            NO           NO            NO            NO
Cureton, Christopher         NO            NO           NO            NO            NO
Cureton, Christopher         NO            NO           NO            NO            NO
Curtiss, J                   NO            NO           NO            NO            YES
Curtiss, Trevor              NO            NO           NO            NO            YES
Garley, Adam M               NO            NO           NO            YES           NO
Gower, William               NO            NO           YES           NO            NO
Green, Brad S                NO            NO           NO            YES           NO
Humphrey, Candy              NO            NO           NO            NO            NO
Humphrey, Candy              NO            NO           NO            NO            NO
Humphrey, Travis             NO            NO           NO            NO            NO
Humphrey, Travis             NO            NO           NO            NO            NO
Humphrey, Travis             NO            NO           NO            NO            NO
Irvin, Amy                   NO            NO           NO            NO            NO
Jason, Martinez              NO            NO           NO            NO            NO
Johnson, Betty               NO            NO           NO            NO            NO
Lee, Marcia E                NO            NO           NO            NO            YES
Little, Teresa               NO            NO           NO            NO            YES
Manley, Jennifer             NO            NO           NO            NO            NO
Martinez, Jason              NO            NO           NO            NO            NO
Medford, Chase               NO            NO           NO            YES           YES
Smith, Kristen               NO            NO           NO            NO            YES
Soares, Jeff                 NO            NO           NO            NO            NO
Soares, Jeff                 NO            NO           YES           YES           NO
Sparks, Greg                 NO            NO           NO            NO            NO
Wright, Anthony              NO            NO           NO            NO            NO




Page 84 of 91                                                                                          Kapitus_000283
                                            KAPITUS EX. 13 - 283
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 284 of 540


Neighbor Listings for Subject's Address


  628 DESTIN DR FORT WORTH, TX 76131 TARRANT COUNTY


  Name                               Street Address                                  Phone Number


  VANCLEAVE, MIRANDA                 9521 FOX HILL DR
  VANCLEAVE, HEIDI J                 9521 FOX HILL DR                                (817) 268-0819
  VANCLEAVE, HOWARD L                9521 FOX HILL DR                                (817) 268-0819
  STEVENSON, KRISTINA                9521 FOX HILL DR                                (682) 286-9145
  STEVENSON, DUSTIN J                9521 FOX HILL DR                                284-7108
  STEVENSON, CLAYTON                 9521 FOX HILL DR
  VANCLEAVE, MIRANDA L               9521 FOX HILL DR
  VANCLEAVE, HOWARD L                9521 FOX HILL DR
  FROST, C S                         613 DESTIN DR                                   (817) 297-4242
  TRIEU, JEANNY                      613 DESTIN DR
  TRIEU, MONTHA MEN                  613 DESTIN DR
  FROST, CHAD                        613 DESTIN DR                                   (817) 439-0568
  WINN, CLAYTON                      613 DESTIN DR
  REED, RODNEY BERNARD               613 DESTIN DR
  SOUVANNA, ARICK A                  613 DESTIN DR
  TRIEU, JULIE                       613 DESTIN DR
  RYAN, KELLY BURTON                 613 DESTIN DR
  KRAMER, AUDRA                      613 DESTIN DR
  DICKEY, ALICIA                     613 DESTIN DR
  WINN, MARIA                        613 DESTIN DR
  DICKEY, ALICIA                     613 DESTIN DR
  SMITH, MIRANDA LEA                 625 CRANBROOK DR
  SMITH, DANIEL S                    625 CRANBROOK DR                                (817) 232-3119
  STORY, TANGI M                     625 CRANBROOK DR                                (817) 545-2928
  CASEBIER, CAITLIN PAIGE            9600 FOX HILL DR
  CASEBIER, CHRISTIAN                9600 FOX HILL DR
  STEVENS, DEANNA S                  629 DESTIN DR                                   596-9835
  MILLER, ALEX                       629 DESTIN DR                                   (817) 337-3031
  BROOKS, JENNIFER                   629 DESTIN DR                                   (409) 983-1530
  DAVIS, SHELLEY                     629 DESTIN DR
  BROOKS, JENNIFER CHRISTINA         629 DESTIN DR
  STEVENS, JASON L                   629 DESTIN DR                                   825-6586
  STEVENS, JASON L                   629 DESTIN DR                                   (817) 514-1747
  SNETHEN, ANGELA F                  624 CRANBROOK DR                                (972) 820-7546
  VANKIRK, STEPHANIE                 624 CRANBROOK DR                                (940) 322-9993
  JOHNSON, JOHN A                    624 CRANBROOK DR                                (817) 514-2496
  HELM, GEOFFREY HUNTER              624 DESTIN DRIVE
  JORDAN, HAROLD J                   624 DESTIN DRIVE
  HELM, AMY JACQUELINE               624 DESTIN DRIVE                                (682) 708-5292
  HELM, KEVIN                        624 DESTIN DRIVE                                (817) 306-6164
  BENTON, TRACY M                    632 DESTIN DR                                   263-7733
  JEFFRESS, MICHAEL                  632 DESTIN DR                                   (817) 656-7303

Page 85 of 91                                                                                          Kapitus_000284
                                            KAPITUS EX. 13 - 284
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 285 of 540

  GOOCH, STEVEN E                    632 DESTIN DR
  FRANK, JULIE M                     632 DESTIN DR                                   (817) 561-7687
  JEFFRESS, JULIE MARIE              632 DESTIN DR
  FRENCH, MORGAN MORIAH              9609 FOX HILL DRIVE
  NAGLE, CASSANDRA ALICIA            9609 FOX HILL DRIVE
  OKON, RIOS RECAREDO                9609 FOX HILL DRIVE
  FRENCH, MORIAH                     9609 FOX HILL DRIVE
  YATES, HILLARY A                   9609 FOX HILL DRIVE
  YATES, MICHAEL                     9609 FOX HILL DRIVE                             (817) 306-0349
  OKON-RIOS, RECAREDO                9609 FOX HILL DRIVE
  FRENCH, MARIAH                     9609 FOX HILL DRIVE
  PEARCE, TAYONNA I                  9601 FOX HILL DR                                (817) 306-6236
  PEARCE, CORY L                     9601 FOX HILL DR                                (817) 306-6236
  WILLIAMS, DALE R                   620 DESTIN DR                                   (817) 232-9241
  SPEARS, JULIANNE                   620 DESTIN DR
  WILLIAMS, DEBORAH L                620 DESTIN DR                                   (817) 232-9241
  SPEARS, RAYMOND                    620 DESTIN DR
  SPEARS, CLARA W                    620 DESTIN DR
  MARRERO, ANDREANA                  620 DESTIN DR
  MARRERO, ANDREANA                  620 DESTIN DR
  SPEARS, DORIS                      620 DESTIN DR
  MARRERO, ANDREANA M                620 DESTIN DR
  BODKIN, CHAD                       9600 FOX HILL DR
  CASEBIER, CHRISTIAN PAUL           9600 FOX HILL DR
  MUENCH, STACI ANN                  9600 FOX HILL DR
  BODKIN, CHAD MICHAEL               9600 FOX HILL DR                                (817) 847-1215
  BODKIN, JENNIFER K                 9600 FOX HILL DR
  TOWNER, CODY                       616 DESTIN DR
  TOWNER, KRISTINA                   616 DESTIN DR
  TOWNER, CODY                       616 DESTIN DR
  MOORE, KRISTINA M                  616 DESTIN DR
  PITTS, STEVEN                      616 DESTIN DR
  HALCOMB, RANDALL                   616 DESTIN DR
  FEGE, BRIAN C                      9513 FOX HILL DR                                322-5537
  DRYSDALE, SMITH AMY                9605 FOX HILL DR                                (817) 306-1550
  SMITH, JASON M                     9605 FOX HILL DR                                (817) 306-1550
  BEESON, LOREEN J                   612 DESTIN DR
  BEESON, LOREEN J                   612 DESTIN DR
  BEESON, LOREEN J                   612 DESTIN DR
  BEESON, LOREEN J                   612 DESTIN DR
  STOKES, KATHERYN JANNETTA          612 DESTIN DR
  STOKES, KATHERINE RENEE            612 DESTIN DR
  STOKES, JACK E                     612 DESTIN DR
  BIRMINGHAM, JOHN                   612 DESTIN DR                                   646-5178
  STOKES, MACK B                     612 DESTIN DR                                   220-8082
  WILLIAMS, AMBER K                  612 DESTIN DR                                   (972) 641-9999
  GLASER, KIMBERLY                   612 DESTIN DR                                   (402) 438-8624
  WALKER, KATHERINE R                612 DESTIN DR
  GLASER, KIMBERLY                   612 DESTIN DR



Page 86 of 91                                                                                          Kapitus_000285
                                            KAPITUS EX. 13 - 285
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 286 of 540

  KELLY, WEST                        640 CRANBROOK DRIVE
  WEST, CHARLES D                    640 CRANBROOK DRIVE
  LAFERNEY, RICK L                   640 CRANBROOK DRIVE
  HUNT, SCOTT                        640 CRANBROOK DRIVE
  CONTRERAS, CINDY                   640 CRANBROOK DRIVE                             (817) 847-7599
  GRIFFITH, JIMMY S                  640 CRANBROOK DRIVE
  TAYLOR, BETTY H                    640 CRANBROOK DRIVE
  CHERRY, JAMES L                    640 CRANBROOK DRIVE
  GRIFFITH, TRESHELLE                640 CRANBROOK DRIVE
  GRIFFITH, JIMMY S                  640 CRANBROOK DRIVE
  BUERKLE, SEAN                      9520 FOX HILL DR
  BUERKLE, GAIL A                    9520 FOX HILL DR
  BUERKLE, LEE A                     9520 FOX HILL DR                                326-2193
  BUERKLE, LOUIS A                   9520 FOX HILL DR                                (513) 722-3444
  BUERKLE, CHRISTOPHER               9520 FOX HILL DR
  BUERKLE, SEAN                      9520 FOX HILL DR
  ADAMS, MARSHA B                    9516 FOX HILL DR                                (817) 847-9533
  DIVELEY, PAUL R                    9516 FOX HILL DR                                (432) 694-6398
  POOR, SEAN A                       617 DESTIN DR                                   (817) 656-4919
  MCCLURKAN, PHILLIP A               617 DESTIN DR                                   (504) 218-7065
  MCCLURKAN, CHRISTINA L             617 DESTIN DR                                   223-4442
  POOR, MICHAEL L                    617 DESTIN DR
  POOR, DEBORH                       617 DESTIN DR
  POOR, EATHEN                       617 DESTIN DR
  DISQUE, DANA                       9517 FOX HILL DR
  LARGENT, TINA M                    9517 FOX HILL DR                                (817) 232-3714
  LARGENT, DAVID W                   9517 FOX HILL DR                                (817) 281-5865
  LARGENT, TINA MARIE                9517 FOX HILL DR                                (817) 232-3714
  LARGENT, ZACKERY                   9517 FOX HILL DR                                (817) 232-3714
  LARGENT, TRISHA                    9517 FOX HILL DR                                (817) 232-3714
  LARGENT, TRISHA                    9517 FOX HILL DR                                (817) 232-3714
  WYRICK, RONALD                     9601 FOX HILL DR
  WYRICK, RONALD                     9601 FOX HILL DR
  KORN, TAYONNA I                    9601 FOX HILL DR                                (817) 306-6236
  ELIN, JAYME                        621 DESTIN DR
  ELIN, JAYME                        621 DESTIN DR                                   (682) 312-7062
  STRANGE, RANDY L                   621 DESTIN DR                                   (972) 642-4432
  STRANGE, CARLA S                   621 DESTIN DR                                   (972) 642-4432
  GRIMWOOD, BRIAN L                  621 DESTIN DR                                   (702) 646-4379
  PAUR, RANDEE L                     621 DESTIN DR                                   (214) 361-1245
  ELIN, ASHLEY                       621 DESTIN DR                                   (951) 769-6595
  WHITECOTTON, GERALDINE A           621 DESTIN DR
  GRIMWOOD, STEPHANIE                621 DESTIN DR                                   344-0126
  ELIN, JONATHAN A                   621 DESTIN DR                                   (682) 312-7062
  GRIMWOOD, LISA L                   621 DESTIN DR
  GRIMWOOD, MICHAEL J                621 DESTIN DR
  JIMENEZ, LOURDES R                 9613 FOX HILL DR
  OWENS, MILTON C                    9613 FOX HILL DR
  WALKER, CONSTANCE R                9613 FOX HILL DR



Page 87 of 91                                                                                          Kapitus_000286
                                            KAPITUS EX. 13 - 286
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 287 of 540

  OWENS, ELIZABETH N                 9613 FOX HILL DR                                (817) 306-7492
  OWENS, LOURDES                     9613 FOX HILL DR
  REYES, DILLARD                     9613 FOX HILL DR
  VAN, KRISTIAN                      9604 FOX HILL DR
  VANSTRYDONK, KRISTIAN              9604 FOX HILL DR
  VANSTRYDONK, ALBERT V              9604 FOX HILL DR
  VANSTRYDONK, KRISTIAN              9604 FOX HILL DR
  ROUNTREE, RICHARD                  9604 FOX HILL DR                                (817) 847-6396
  ROUNTREE, SHARON J                 9604 FOX HILL DR                                (817) 847-6396
  DELAHOUSSAYE, ELIJAH JR.           9512 FOX HILL DR
  DELAHOUSSAYE, ELIJAH JR.           9512 FOX HILL DR
  DELAHOUSSAYE, DESTINY              9512 FOX HILL DR
  POWELL, BRENAYE                    9512 FOX HILL DR
  ESCAMILLA, ANTHONY O               9512 FOX HILL DR                                (817) 292-4741
  REED, CHRISTOPHER                  9512 FOX HILL DR
  ESCAMILLA, MARIA                   9512 FOX HILL DR
  DELAHOUSSAYE, ROYAL                9512 FOX HILL DR                                (817) 232-5462
  HOOPER, JOSEPH                     9512 FOX HILL DR
  ESCAMILLA, MARIA                   9512 FOX HILL DR
  MCGINTY, ALLISON G                 9525 FOX HILL DR                                (972) 313-2031
  ROEST, DEBBI D                     9525 FOX HILL DR                                (817) 557-6815
  ROEST, ROBERT                      9525 FOX HILL DR                                680-1653
  SELF, JOSHUA                       9525 FOX HILL DR                                (940) 387-3647
  SELF, JOSHUA S                     9525 FOX HILL DR
  MCGINTY, ALLISON GAYLE             9525 FOX HILL DR
  HARPER, ANDREW                     636 CRANBROOK DR
  MOUNCE, JOHN W                     636 CRANBROOK DR
  STONE, JESSICA                     636 CRANBROOK DR                                799-7875
  TURNEY, SHEILA                     636 CRANBROOK DR
  LOVE, GARRETT PAYNE                636 CRANBROOK DR
  LOVE, KAYCEY                       636 CRANBROOK DR
  LOVE, TARRON                       636 CRANBROOK DR
  MCALPINE, JOSHUA M                 636 CRANBROOK DR
  HARPER, JON                        636 CRANBROOK DR
  ROBERTS, KIZMET                    636 CRANBROOK DR
  HARPER, ANDREW                     636 CRANBROOK DR
  MCALPINE, ANNE                     636 CRANBROOK DR
  ROBERTS, KIZMET                    636 CRANBROOK DR
  MOUNCE, JOHN W                     636 CRANBROOK DR
  BARNES, JASON                      625 DESTIN DR
  MOON, BRIAN K                      625 DESTIN DR
  BRUCE, SHARIE                      625 DESTIN DR                                   (817) 306-8239
  BARNES, JASON LEE                  625 DESTIN DR
  JACKSON, MATTHEW PAUL              625 DESTIN DR
  MOON, MICHELLE R                   625 DESTIN DR
  BROWN, TORREY K                    625 DESTIN DR                                   927-9687
  BARNES, JASON                      625 DESTIN DR
  PHIPPS, SHAOOON                    9608 FOX HILL DR
  LAVELLE, SHANNON N                 9608 FOX HILL DR                                (817) 847-6153



Page 88 of 91                                                                                          Kapitus_000287
                                            KAPITUS EX. 13 - 287
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 288 of 540

  PHIPPS, RONALD                     9608 FOX HILL DR


  1150 BLUE MOUND RD W HASLET, TX 76052 TARRANT COUNTY


  Name                               Street Address                                  Phone Number


  BAKER, JOSHUA                      1128 BLUE MOUND RD W STE 100
  GARLOCK, CHRISTY                   1128 BLUE MOUND RD W STE 100
  HAYS, JEREMY S                     1128 BLUE MOUND RD W STE 100
  READDY, EARL                       1150 BLUE MOUND RD W STE 824
  GILLETTE, SCOTT R                  1150 BLUE MOUND RD W STE 707
  MAGARIN, DAVID E                   1150 BLUE MOUND RD W STE 814
  CANAL, JOSHUA P                    1150 BLUE MOUND RD W STE 603
  CANAL, KATRINA M                   1150 BLUE MOUND RD W STE 603
  CANAL, KATIE                       1150 BLUE MOUND RD W STE 603
  WADDELL, MARK S JR.                1150 BLUE MOUND RD W STE 815
  WADDELL, MARK S JR.                1150 BLUE MOUND RD W STE 815
  DARLING, CHASSIDY MARIE            1150 BLUE MOUND RD W STE 103
  CURTISS, TREVOR A                  1150 BLUE MOUND RD W STE 501                    (817) 439-3852
  COOK, DAVID C                      1150 BLUE MOUND RD W STE 805
  GILBERT, CODY WADE                 1150 BLUE MOUND RD W STE 504
  GRIFFITH, CARLITA C                1150 BLUE MOUND RD W STE 301
  DUPREE, JACOB S                    1130 BLUE MOUND RD W STE 102
  COOK, DAVID C                      1150 BLUE MOUND RD W STE 503
  KIERNAN, DEBRA                     1150 BLUE MOUND RD W STE 503
  KIERNAN, DEBRA                     1150 BLUE MOUND RD W STE 503
  COOK, MICHAEL                      1150 BLUE MOUND RD W STE 503
  MAGARIN, DAVID E                   1150 BLUE MOUND RD W STE 816
  BRIDGES, DWAYNE P
  DARLING, CHASSIDY MARIE
  JIMENEZ, LUIS                      1130 BLUE MOUND RD W STE 404
  JOHNSON, CHAD CHRISTOPHER          1130 BLUE MOUND RD W STE 304
  SMITH, KRISTEN                     1150 BLUE MOUND RD W STE 803
  HICKS, MICHEAL                     1130 BLUE MOUND RD W                            (682) 841-1883
  SAMS, CHARLOTTE M                  1130 BLUE MOUND RD W
  JIMENEZ, LUIS                      1130 BLUE MOUND RD W
  FOWLER, WILLIAM                    1130 BLUE MOUND RD W                            (940) 482-3045
  COTTON, RODNEY S                   1130 BLUE MOUND RD W
  FOWLER, WILLIAM                    1130 BLUE MOUND RD W                            (940) 482-3045
  HICKS, MICHEAL                     1130 BLUE MOUND RD W
  RIDLEY, RENEE C                    1150 BLUE MOUND RD W STE 706
  DAVIDSON, AMBER                    1130 BLUE MOUND RD W STE 406
  GOODFELLOW, PEGGY                  1130 BLUE MOUND RD W STE 306
  COBB, GREGORY C                    1130 BLUE MOUND RD W STE 206
  SPARKS, GREG DURAN                 1150 BLUE MOUND RD APT 201
  SPARKS, GREG DURAN                 1150 BLUE MOUND RD APT 201
  SPARKS, GREG                       1150 BLUE MOUND RD APT 201
  COX, NANCY A                       1130 BLUE MOUND RD W STE 100
  FOWLER, NANCY A                    1130 BLUE MOUND RD W STE 100


Page 89 of 91                                                                                          Kapitus_000288
                                            KAPITUS EX. 13 - 288
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A       Page 289 of 540

  FOWLER, WILLIAM                    1130 BLUE MOUND RD W STE 100
  FENCE, ME IN                       1150 BLUE MOUND RD W STE 604
  JANECKA, JOHN E                    1150 BLUE MOUND RD W STE 604
  FENCE, ME IN                       1150 BLUE MOUND RD W STE 604


  1045 GREEN RIDGE TER SAGINAW, TX 76179 TARRANT COUNTY


  Name                               Street Address                                  Phone Number


  RENFRO, CODY D                     1069 GREEN RIDGE TER
  GRAMMER, CHRISTINE L               1040 GREEN RIDGE TE
  JONES, JEREMIAH                    1053 GREEN RIDGE TER                            (817) 594-7810
  JONES, JEREMIAH                    1053 GREEN RIDGE TER                            (817) 594-7810
  JONES, JEREMIAH                    1053 GREEN RIDGE TER
  HULME, WILLIAM K                   831 WHITE ROCK ST
  FINLEY, JUSTIN                     831 WHITE ROCK ST
  HOWARD, GINA                       831 WHITE ROCK ST
  TAYLOR, KEVIN J                    1032 GREEN RIDGE TER                            (817) 232-0056
  MORALES, DEANA                     822 WHITE ROCK ST
  ADAMS, RONALD L II.                1041 GREEN RIDGE TER
  TAYLOR, STEPHANIE D                1041 GREEN RIDGE TER
  ADAMS, STEPHINE                    1041 GREEN RIDGE TER
  VALENTINE, KHARY                   826 WHITE ROCK ST
  GALINDO, GUADALUPE                 1037 GREEN RIDGE TER
  PARAMO, IDALID                     1037 GREEN RIDGE TER
  RODRIGUEZ, GLENN R SR.             1049 GREEN RIDGE TER
  RODRIGUEZ, GLENN R                 1049 GREEN RIDGE TER                            294-7018
  BURROWS, PAMELA S                  1060 GREEN RIDGE TER                            (817) 847-0823
  DHAKAL, DEVENDRA                   830 WHITE ROCK ST
  MALLOY, BOBBIE J                   1065 GREEN RIDGE TE                             (682) 286-0695
  ROBERTS, TERRY E                   1045 GREEN RIDGE TER
  BRIDGES, PAUL L                    1045 GREEN RIDGE TER                            (817) 744-7126
  BRIDGES, SHELLY J                  1045 GREEN RIDGE TER                            (817) 744-7126
  BRIDGES, PAUL                      1045 GREEN RIDGE TER                            (817) 744-7126
  NEWSOM, SHANNON E                  1045 GREEN RIDGE TER                            (405) 964-7905
  MAY, LEE A                         1045 GREEN RIDGE TER
  BRIDGES, SHELLY                    1045 GREEN RIDGE TER                            (817) 236-0180
  CAMPBELL, DAVID W                  1045 GREEN RIDGE TER
  BRIDGES, DWAYNE P                  1045 GREEN RIDGE TER                            (817) 744-7126
  GUEVARA, CARLOS                    1048 GREEN RIDGE TER
  SERRANO, RANESSA L                 1048 GREEN RIDGE TER                            (682) 224-4174
  HILGENDORF, JANA R                 1048 GREEN RIDGE TER
  GUEVARA, CARLOS                    1048 GREEN RIDGE TER                            (817) 420-9557
  GUEVARA, OLIVIA                    1048 GREEN RIDGE TER                            (817) 420-9557
  GUEVARA, CARLOS                    1048 GREEN RIDGE TER                            (817) 945-1363
  REA, PATRICIA G                    1044 GREEN RIDGE TER
  REA, RYAN T                        1044 GREEN RIDGE TER                            847-5784
  REA, ROY M IV.                     1044 GREEN RIDGE TER                            847-5784
  HERNANDEZ, ALICIA                  1044 GREEN RIDGE TER


Page 90 of 91                                                                                          Kapitus_000289
                                            KAPITUS EX. 13 - 289
      Case
Individual   20-04009-elm
           Report              Doc
                  Plus Associates     68-6 Filed
                                  | BRIDGES,     09/21/21
                                             DWAYNE  | 06/09/16Entered
                                                                12:35 PM09/21/21
                                                                         | Reference:23:36:41
                                                                                      N/A           Page 290 of 540

  MYERS, JAMES D                        1052 GREEN RIDGE TERT                            (817) 306-6143
  MYERS, JOY G                          1052 GREEN RIDGE TERT                            (817) 306-6143
  CAMPBELL, DAVID W                     1045 GREEN RIDGE TER                             (817) 238-8280
  STIERWALT, ELIZABETH G                1036 GREEN RIDGE TE
  STIERWALT, LISA                       1036 GREEN RIDGE TE                              (817) 847-8918
  STIERWALT, DAVID MARSHALL             1036 GREEN RIDGE TE
  STIERWALT, DAVID                      1036 GREEN RIDGE TE                              (817) 847-8918
  STIERWALT, KRISTOPHER                 1036 GREEN RIDGE TE
  STIERWALT, DAVID MARSHALL             1036 GREEN RIDGE TE                              (817) 847-8918
  FORTUNE, JODY E                       839 WHITE ROCK ST
  WEBB, SHAYLA                          823 WHITE ROCK ST
  GALINDO, GUADALUPE                    1037 GREEN RIDGE TER
  GADDY, STACY                          1040 GREEN RIDGE TER
  JONES, DEANNA M                       1053 GREEN RIDGE TER
  RODRIGUEZ, CYNTHIA                    1033 GREEN RIDGE TE                              (817) 232-1944
  MARTINEZ, GILBERTO                    1033 GREEN RIDGE TE                              (817) 847-6781
  SOLIS, CYNTHIA S                      1033 GREEN RIDGE TE
  HULME, KAYLA                          834 WHITE ROCK ST
  EDWARDS, ANGIE M                      834 WHITE ROCK ST
  BRENNAN, MARY S                       834 WHITE ROCK ST
  EAGER, ANNA                           835 WHITE ROCK ST                                (682) 224-3191
  TAYLOR, KEVIN J                       1032 GREEN RIDGE TER                             (817) 232-0056
  TAYLOR, CAROLYN D                     1032 GREEN RIDGE TER
  TAYLOR, SUE                           1032 GREEN RIDGE TER
  TAYLOR, SUE                           1032 GREEN RIDGE TER                             (817) 232-0056
  ADAMS, RONALD L II.                   1041 GREEN RIDGE TER
  MYERS, JAMES D                        1052 GREEN RIDGE TER                             (817) 306-6143
  MYERS, JENNIFER E                     1052 GREEN RIDGE TER                             (817) 306-6143


Report section(s) with no matches
           Death Records, Work Affiliations, Utility Services, SSN & Current Address Fraud Alerts, Other SSNs Associated with
           Subject, Other Records/Names Associated with Subject's SSN, Canadian White Pages, Email Addresses, Driver's
           Licenses, Marriage Records, Divorce Records, Professional & Recreational Licenses, Military Records, Political
           Donors, Voter Registrations, Licensed Drivers at Subject's Addresses, Global Sanctions, OFAC Infractions, Criminal
           Records, Warrants, and Traffic Citations, Arrest Records, Executive Affiliations, D&B Market Identifier Records,
           Significant Shareholders, Liens & Judgments, Bankruptcy Records, Lawsuit Records, Docket Records, Corporate
           Filings, UCC Filings, Real Property & Deed Transfers, Waterfront Residency, Real Property Pre-Foreclosure
           Records, Vehicle Registered at Subject's Addresses, Vehicles Registered to Subject, Watercraft, FAA Aircraft
           Registrations, Unclaimed Assets




Page 91 of 91                                                                                                 Kapitus_000290
                                               KAPITUS EX. 13 - 290
Business Report | JUST CHILLIN HEATING & AIR CONDITIONING ...         https://clear.thomsonreuters.com/clr/a/ExportRenderer?key=HTML_8a4...
            Case 20-04009-elm Doc 68-6 Filed 09/21/21                Entered 09/21/21 23:36:41          Page 291 of 540


             Business Report | JUST CHILLIN HEATING & AIR CONDITIONING |
             10/29/13 03:29 PM | Reference: CHILLIN

             Report Section Summary
                      User-Supplied Information (1)
                      Possible Dun & Bradstreet Records (1)
                      Possible Licenses (1)
                      Possible Watercraft (4)
                      Other Businesses Linked to the Business Addresses (1)


             User-Supplied Information
               Business:                      JUST CHILLIN HEATING & AIR CONDITIONING
               Address:                       628 DESTIN DR
                                              FORT WORTH, TX 76131


             Possible Dun & Bradstreet Records

               Source: Dun & Bradstreet Detail
               Business Name: JUST CHILLIN HEATING & AIR CONDITIONING


               Last Updated to Record: 08/25/2013
               Year Started: 2010
               Duns ID: 92-946-5438


               Business Address:
               628 DESTIN DR
               FORT WORTH, TX 76131
               County: TARRANT
               Phone: (682) 224-5457



               Business Details:


               Metropolitan Statistical Area: 2800 - FORT WORTH-ARLINGTON, TX

               Line of Business: PLUMBING/HEATING/AIR COND CONTRACTOR
               Industry Group: CONSTRUCTION
               Established Manufacturing Indicator: SINGLE LOCATION
               Small Business: SMALL BUSINESS
               Foreign Owned: US OWNED


               Primary SIC: PLUMBING, HEATING, AIR-CONDITIONING, NSK
               Employees Here: 6
               Annual Sales: $330,000
               Annual Sales Revision Date: 09/12/2013

               Primary SIC: 1711


                                                                                                                  Kapitus_000291
1 of 6
                                                      KAPITUS EX. 13 - 291                                             10/29/2013 3:36 PM
Business Report | JUST CHILLIN HEATING & AIR CONDITIONING ...   https://clear.thomsonreuters.com/clr/a/ExportRenderer?key=HTML_8a4...
            Case 20-04009-elm Doc 68-6 Filed 09/21/21           Entered 09/21/21 23:36:41         Page 292 of 540

               Primary SIC Desc: PLUMBING, HEATING, AIR-CONDITIONING, NSK
               Primary SIC: 1711 - 0405
               Primary SIC Desc: WARM AIR HEATING AND AIR CONDITIONING CONTRACTOR


               Other DUNS: 92-946-5438

               Data by Dun & Bradsreet COPYRIGHT © 2013 DUN & BRADSTREET, INC.



             Possible Licenses

                Source: Licenses Detail


                        BRIDGES, DWAYNE P
                Name:
                        BRIDGES, DWAYNE P


               Address:
               1150 BLUE MOUND RD W
               HASLET, TX 76052
               County: TARRANT



               EMPLOYER INFORMATION


                Employer: JUST CHILLIN HEATING & AIR CONDITIONING



               LICENSING INFORMATION


                Licensing Agency: TX DEPARTMENT OF REGISTRATION AND LICENSING


               LICENSES AND CERTIFICATIONS


                License Number: 31831
                License Expire Date: 07/28/2014
                License Type: A/C CONTRACTOR


               LICENSE CLASS INFORMATION



                License State: TX



               HISTORY INFORMATION


                Date of Change: 08/05/2013



                                                                                                            Kapitus_000292
2 of 6
                                                  KAPITUS EX. 13 - 292                                           10/29/2013 3:36 PM
Business Report | JUST CHILLIN HEATING & AIR CONDITIONING ...   https://clear.thomsonreuters.com/clr/a/ExportRenderer?key=HTML_8a4...
            Case 20-04009-elm Doc 68-6 Filed 09/21/21           Entered 09/21/21 23:36:41         Page 293 of 540

               Previous Address:
               628 DESTIN DR
               FORT WORTH, TX 76131
               TARRANT County


                Previous County: TARRANT
               Previous Phone: (682) 224-5457




             Possible Watercraft

               Source: State Watercraft Detail

               OWNERSHIP INFORMATION


               Owner Name: DWAYNE BRIDGES

               Address
               628 DESTIN DR
               FORT WORTH, TX 76131


               County: TARRANT

               REGISTRATION INFORMATION
               Vessel Number: 8105AS
               Registration State: TX
               Registration Date: 07/08/2010
               Hull Number: MAU00706I596


               WATERCRAFT INFORMATION
               Propulsion Type: OUTBOARD
               Hull Material: ALUMINUM
               Fuel Type: GAS
               Service Type: PLEASURE
               Make: CREST
               Registered Length: 25
               Vessel Build Year: 1996



               Source: State Watercraft Detail

               OWNERSHIP INFORMATION

               Owner Name: DWAYNE BRIDGES


               Address
               628 DESTIN DR
               FORT WORTH, TX 76131

                                                                                                            Kapitus_000293
3 of 6
                                                 KAPITUS EX. 13 - 293                                            10/29/2013 3:36 PM
Business Report | JUST CHILLIN HEATING & AIR CONDITIONING ...   https://clear.thomsonreuters.com/clr/a/ExportRenderer?key=HTML_8a4...
            Case 20-04009-elm Doc 68-6 Filed 09/21/21           Entered 09/21/21 23:36:41         Page 294 of 540


               County: TARRANT


               REGISTRATION INFORMATION
               Vessel Number: 9315BL
               Registration State: TX
               Registration Date: 08/04/2011
               Hull Number: BNZ4S126H091


               WATERCRAFT INFORMATION
               Propulsion Type: OUTBOARD
               Hull Material: FIBERGLASS
               Fuel Type: GAS
               Service Type: PLEASURE
               Make: STRATOS
               Registered Length: 17
               Vessel Build Year: 1991



               Source: State Watercraft Detail


               OWNERSHIP INFORMATION

               Owner Name: DWAYNE BRIDGES


               Address
               628 DESTIN DR
               FORT WORTH, TX 76131


               County: TARRANT


               REGISTRATION INFORMATION
               Vessel Number: 8105AS
               Registration State: TX
               Registration Date: 01/08/2012
               Hull Number: MAU00706I596


               WATERCRAFT INFORMATION
               Propulsion Type: OUTBOARD
               Hull Material: ALUMINUM
               Fuel Type: GAS
               Service Type: PLEASURE
               Make: CREST
               Registered Length: 25
               Vessel Build Year: 1996



               Source: State Watercraft Detail



                                                                                                            Kapitus_000294
4 of 6
                                                 KAPITUS EX. 13 - 294                                            10/29/2013 3:36 PM
Business Report | JUST CHILLIN HEATING & AIR CONDITIONING ...         https://clear.thomsonreuters.com/clr/a/ExportRenderer?key=HTML_8a4...
            Case 20-04009-elm Doc 68-6 Filed 09/21/21             Entered 09/21/21 23:36:41             Page 295 of 540

               OWNERSHIP INFORMATION

               Owner Name: DWAYNE BRIDGES


               Address
               628 DESTIN DR
               FORT WORTH, TX 76131


               County: TARRANT

               REGISTRATION INFORMATION
               Vessel Number: 9315BL
               Registration State: TX
               Registration Date: 04/07/2013
               Hull Number: BNZ4S126H091

               WATERCRAFT INFORMATION
               Propulsion Type: OUTBOARD
               Hull Material: FIBERGLASS
               Fuel Type: GAS
               Service Type: PLEASURE
               Make: STRATOS
               Registered Length: 17
               Vessel Build Year: 1991



             Other Businesses Linked to the Business Addresses

               Source: Dun & Bradstreet Detail
               Business Name: JUST CHILLIN HEATING & AIR CONDITIONING


               Last Updated to Record: 08/25/2013
               Year Started: 2010
               Duns ID: 92-946-5438


               Business Address:
               628 DESTIN DR
               FORT WORTH, TX 76131
               County: TARRANT
               Phone: (682) 224-5457



               Business Details:


               Metropolitan Statistical Area: 2800 - FORT WORTH-ARLINGTON, TX

               Line of Business: PLUMBING/HEATING/AIR COND CONTRACTOR
               Industry Group: CONSTRUCTION
               Established Manufacturing Indicator: SINGLE LOCATION
               Small Business: SMALL BUSINESS

                                                                                                                  Kapitus_000295
5 of 6
                                                    KAPITUS EX. 13 - 295                                               10/29/2013 3:36 PM
Business Report | JUST CHILLIN HEATING & AIR CONDITIONING ...        https://clear.thomsonreuters.com/clr/a/ExportRenderer?key=HTML_8a4...
            Case 20-04009-elm Doc 68-6 Filed 09/21/21               Entered 09/21/21 23:36:41             Page 296 of 540

               Foreign Owned: US OWNED

               Primary SIC: PLUMBING, HEATING, AIR-CONDITIONING, NSK
               Employees Here: 6
               Annual Sales: $330,000
               Annual Sales Revision Date: 09/12/2013

               Primary SIC: 1711
               Primary SIC Desc: PLUMBING, HEATING, AIR-CONDITIONING, NSK
               Primary SIC: 1711 - 0405
               Primary SIC Desc: WARM AIR HEATING AND AIR CONDITIONING CONTRACTOR

               Other DUNS: 92-946-5438


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             Report section(s) with no matches

                      Possible Corporate Record Filings, Possible Fictitious Business Names (DBA), Possible Employer ID
                      Numbers, Possible Bankruptcies, Possible Liens & Judgments, Possible UCC Filings, Possible
                      Infractions, Possible Lawsuits, Possible Real Property Ownership & Deed Transfers




                                                                                                                  Kapitus_000296
6 of 6
                                                   KAPITUS EX. 13 - 296                                                   10/29/2013 3:36 PM
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 297 of 540
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 298 of 540




                                                                                          Kapitus_000298
                              KAPITUS EX. 13 - 298
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 299 of 540




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                              KAPITUS EX. 13 - 299
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 300 of 540




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                              KAPITUS EX. 13 - 300
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 301 of 540




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                              KAPITUS EX. 13 - 301
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 302 of 540




                                                                                          Kapitus_000302
                              KAPITUS EX. 13 - 302
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 303 of 540




                                                                               Kapitus_000303
                              KAPITUS EX. 13 - 303
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 304 of 540




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                              KAPITUS EX. 13 - 304
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 305 of 540




                                                                               Kapitus_000305
                              KAPITUS EX. 13 - 305
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 306 of 540




                                                                               Kapitus_000306
                              KAPITUS EX. 13 - 306
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 307 of 540




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                              KAPITUS EX. 13 - 307
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 308 of 540




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                              KAPITUS EX. 13 - 308
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 309 of 540




                                                                               Kapitus_000309
                              KAPITUS EX. 13 - 309
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 310 of 540




                                                                               Kapitus_000310
                              KAPITUS EX. 13 - 310
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 311 of 540




                                                                               Kapitus_000311
                              KAPITUS EX. 13 - 311
Case 20-04009-elm Doc 68-6 Filed 09/21/21                                              Entered 09/21/21 23:36:41                                  Page 312 of 540




  Credit Profile Report
  bridges,dwayne 439377894;CA-628 Destin Dr/76131;VER FY;VERIFY-Y2/RM/J2;

  Applicant

  10/29/2013-02:38:11 PM CT

  Personal Information
  Best Name                                                  Other Name(s)                                              Spouse Name
  DWAYNE BRIDGES                                             *BRIDGE DWAYNE                                             DANA
                                                             *Does not match inquiry
  Best Social Security number                                Other Social Security number(s)                            Date of Birth
          7894                                                                                                                   1972
  Best Address                                               Other Address(es)
  628 DESTIN DR                                              *11238 BLUE JAY LN                                         *17210 OLIVE DR
  FORT WORTH, TX 76131-4255                                  DENHAM SPRINGS, LA 70726-1677                              LIVINGSTON, LA 70754-2155
  Single-family dwelling                                     Single-family dwelling                                     Single-family dwelling
  Reported 9 time(s) from 07/03/2010 to 09/20/2013           Reported 1 time(s) from 02/05/2009 to 01/06/2010           Reported 1 time(s) from 05/23/2007 to 04/03/2008
  Last subscriber 2244970 by Update                           Last subscriber 1367380 by Update                          Last subscriber 3990772 by Update
                                                             *Does not match inquiry                                    *Does not match inquiry
                                                             *17080 LISA DR                                             *17650 MELANCON RD
                                                             LIVINGSTON, LA 70754-2124                                  LIVINGSTON, LA 70754-3001
                                                             Single-family dwelling                                     Single-family dwelling
                                                             Reported 01/03/2007 to 05/08/2007                          Reported 1 time(s) from 01/07/2005 to 03/22/2007
                                                              Last subscriber 9981147 by Update                          Last subscriber 1367380 by Update
                                                             *Does not match inquiry                                    *Does not match inquiry
                                                             *30260 EDEN CHURCH RD                                      *18273 TABONY LN
                                                             DENHAM SPRINGS, LA 70726-7761                              LIVINGSTON, LA 70754-3227
                                                             Single-family dwelling                                     Single-family dwelling
                                                             Reported 09/11/2004 to 02/28/2007                          Reported 03/31/2006 to 08/07/2006
                                                              Last subscriber 9981147 by Update                          Last subscriber 3990772 by Update
                                                             *Does not match inquiry                                    *Does not match inquiry
                                                             *16352 OLD HAMMOND HWY TRLR 63                             *31531 LINDER RD LOT 101
                                                             BATON ROUGE, LA 70816-1718                                 DENHAM SPRINGS, LA 70726-8504
                                                             Multi-family dwelling                                      Multi-family dwelling
                                                             Reported 04/24/1999 to 03/26/2005                          Reported 11/11/2003 to 06/16/2004
                                                              Last subscriber 3980530 by Update                          Last subscriber 1984222 by Update
                                                             *Does not match inquiry                                    *Does not match inquiry
                                                             *28381 LA HIGHWAY 16                                       *9921 GREAT SMOKEY AVE
                                                             DENHAM SPRINGS, LA 70726-7836                              BATON ROUGE, LA 70814-4326
                                                             Multi-family dwelling                                      Single-family dwelling
                                                             Reported 01/28/2004                                        Reported 01/29/2002
                                                              Last subscriber 0940029 by Update                          Last subscriber 8600165 by Update
                                                             *Does not match inquiry                                    *Does not match inquiry


  Best Employer                                              Other Employer
  JUST CHILLING HEATIN                                       JUST CHILLIN HEATING
  628 DESTIN DRIVE                                           Reported 12/2011 to 05/2013 by Inquiry
  FORT WORTH, TX 76131
  Reported 07/2012 by Update

  Messages
  Informational Messages
  Type                           Message
                                 0335 F 08TOO MANY INQUIRIES LAST 12 MONTHS

  Fraud Shield Summary
  Indicator(s):                                                                            Inquiry Address:                             On-file Address:
  INQUIRY ADDRESS: NON-RESIDENTIAL                                                         Type:Trade Contractor/Special Trade
   Input SSN issued: 1978 - 1980                                                           TRADE CONTRACTOR-SPECIAL
   From 07/01/2013 Inquiry Count for SSN=6                                                 TRADE ON FACS+ FILE
   From 07/01/2013 Inquiry Count for Address=5                                             JUST CHILLIN HEATING-AIR COND
                                                                                           628 DESTIN DR
                                                                                           FORT WORTH TX 76131
                                                                                           (817) 000-1111

  Profile Summary
                                                 Disputed Accounts:        0               Delinquency Counter:              30              60             90+         Derog
                                                                                           (Past 7 years)
                                                                                                                                 0           0                0            99
  Public Records:            0                   Past Due Amount:          $6,593          Total Inquiries:             37              Satisfactory Accts:        14
  Installment Bal:           $109,425            Monthly Pay:              $2,733          Inquiries (last 6 mo):       13              Now Delinq/Derog:          16
  Real Estate Bal:           N/A                 Real Estate Pay:          N/A             Total Tradelines:            30              Was Delinq/Derog:          0
  Revolving Bal:             $1,233              Revolving Avail:          52%             Paid Accounts:               4               Oldest Tradeline:          03/2006
  *000

  Score Summary
  Risk Model                               Score     Code    Score Factor Description
  Experian/Fair, Isaac Risk Model          556       38      Serious delinquency and public record or collection filed
  V2                                                 14      Length of time accts have been established
  (Score range: 300 - 850)                           18      Number of accounts wi h delinquency
                                                     20      Time since derogatory public record or collection is too short
                                                                     Page 1 of 9                                                                                  Kapitus_000312
                                                                KAPITUS   EX. 13 - 312
Case 20-04009-elm Doc 68-6 Filed 09/21/21                                        Entered 09/21/21 23:36:41                            Page 313 of 540



  Creditors
  Installment Accounts
  TRICOLOR AUTO GROUP LL / 1826150 / FA - Automobile Financing Company
          Open                   Original                Status                  Past            Last Paid                    Balance             Current
          Date                   Amount                   Date                   Due               Date                        Date               Balance
       04/29/2013                $25,326                 09/2013                                05/21/2013                09/30/2013
  Account             Paid/zero balance                                                      Account #:            7601
  Condition:
  Payment Status:     Current                                                                Responsibility:      Individual
  Account Type:       AUT Auto Loan                                                          Account Terms:       45 Month
  Payment History:            Jan Feb Mar Apr May Jun Jul Aug Sep Oct               Nov Dec Delinquency                   30            60   90+          Derog
  (Up to 25 months)                                                                         Counter:
                      2013                     C     -   -      C   C   B                    (Past 7 years)               0             0     0             0
                      2012                                                                   Worst Delinquency:
                                                                                             Worst Delinq Date:
                                                                                             Months Reviewed:        6

  CHASE / 4112850 / BB - All Banks -- Non-Specific
          Open                   Original                Status                  Past            Last Paid                    Balance             Current
          Date                   Amount                   Date                   Due               Date                        Date               Balance
       12/22/2011                $22,298                 06/2013                                06/03/2013                06/29/2013
  Account             Paid/zero balance                                                      Account #:                        5950
  Condition:
  Payment Status:     Current                                                                Responsibility:      Joint Account
  Account Type:       AUT Auto Loan                                                          Account Terms:       72 Month
  Payment History:            Jan Feb Mar Apr May Jun Jul Aug Sep Oct               Nov Dec Delinquency                   30            60   90+          Derog
  (Up to 25 months)                                                                         Counter:
                      2013 C       C     C     C     C   B                                   (Past 7 years)               0             0     0             0
                      2012 C       C     C     C     C   C      C   C   C    C      C    C   Worst Delinquency:
                                                                                             Worst Delinq Date:
                                                                                             Months Reviewed:        18

  AARON SALES & LEASE OW / 1367380 / HR - Furniture Rentals
          Open                   Original                Status                  Past            Last Paid                    Balance             Current
          Date                   Amount                   Date                   Due               Date                        Date               Balance
       12/31/2008                 $2,467                 01/2010                                12/21/2009                01/04/2010
  Account             Paid/zero balance                                                      Account #:                    054R
  Condition:
  Payment Status:     Current                                                                Responsibility:      Individual
  Account Type:       Lease                                                                  Account Terms:       13 Month
  Payment History:            Jan Feb Mar Apr May Jun Jul Aug Sep Oct               Nov Dec Delinquency                   30            60   90+          Derog
  (Up to 25 months)                                                                         Counter:
                      2010 B                                                                 (Past 7 years)               0             0     0             0
                      2009                                                                   Worst Delinquency:
                                                                                             Worst Delinq Date:
                                                                                             Months Reviewed:        1

  AARON SALES & LEASE OW / 1367380 / HR - Furniture Rentals
          Open                   Original                Status                  Past            Last Paid                    Balance             Current
          Date                   Amount                   Date                   Due               Date                        Date               Balance
       03/06/2006                 $3,024                 01/2007                                11/17/2006                01/16/2007
  Account             Paid/zero balance                                                      Account #:                  0615
  Condition:
  Payment Status:     Current                                                                Responsibility:      Individual
  Account Type:       Lease                                                                  Account Terms:       24 Month
  Payment History:            Jan Feb Mar Apr May Jun Jul Aug Sep Oct               Nov Dec Delinquency                   30            60   90+          Derog
  (Up to 25 months)                                                                         Counter:
                      2007 B                                                                 (Past 7 years)               0             0     0             0
                      2006                                                                   Worst Delinquency:
                                                                                             Worst Delinq Date:
                                                                                             Months Reviewed:        1

  PREFERRED CREDIT INC / 6903305 / FZ - Finance Companies -- Non-Specific
          Open                    Status                     Past           Last Paid            Scheduled                    Balance             Current
          Date                     Date                      Due              Date                Payment                      Date               Balance
       11/16/2010                10/2013                                    09/16/2013               $75                  10/02/2013               $151




                                                              Page 2 of 9                                                                    Kapitus_000313
                                                         KAPITUS   EX. 13 - 313
Case 20-04009-elm Doc 68-6 Filed 09/21/21                                          Entered 09/21/21 23:36:41                                  Page 314 of 540



  Account             Open                                                                       Account #:                 5312
  Condition:
  Payment Status:     Current                                                                    Responsibility:         Joint Account
  Account Type:       Installment Sales Contract                                                 Account Terms:          36 Month
  Payment History:           Jan Feb Mar Apr May Jun Jul Aug Sep Oct                 Nov Dec Delinquency                          30           60    90+       Derog
  (Up to 25 months)                                                                          Counter:
                      2013 C      C     C   C       C       C   C   C     C    C                 (Past 7 years)                   0            0      0          0
                      2012 C      C     C   C       C       C   C   C     C    C     C     C     Worst Delinquency:
                      2011                                                     C     C     C     Worst Delinq Date:
                                                                                                 Months Reviewed:           32

  ALLY FINANCIAL / 1918788 / FA - Automobile Financing Company
        Open                 Original              Status               Past             Last Paid            Scheduled                  Balance           Current
        Date                 Amount                 Date                Due                Date                Payment                    Date             Balance
     05/27/2013              $39,878            10/2013                                  09/11/2013               $717                  10/01/2013         $38,874
  Account             Open                                                                       Account #:                            6792
  Condition:
  Payment Status:     Current                                                                    Responsibility:         Joint Account
  Account Type:       AUT Auto Loan                                                              Account Terms:          75 Month
  Payment History:           Jan Feb Mar Apr May Jun Jul Aug Sep Oct                 Nov Dec Delinquency                          30           60    90+       Derog
  (Up to 25 months)                                                                          Counter:
                      2013                                  C   C   C     C    C                 (Past 7 years)                   0            0      0          0
                      2012                                                                       Worst Delinquency:
                                                                                                 Worst Delinq Date:
                                                                                                 Months Reviewed:           5

  SANTANDER CONSUMER USA / 0507170 / FP - Personal Loan Companies
        Open                 Original              Status               Past             Last Paid            Scheduled                  Balance           Current
        Date                 Amount                 Date                Due                Date                Payment                    Date             Balance
     07/07/2010              $21,903            09/2013                                  09/07/2013               $499                  09/30/2013         $13,198
  Account             Open                                                                       Account #:                                   1000
  Condition:
  Payment Status:     Current                                                                    Responsibility:         Individual
  Account Type:       AUT Auto Loan                                                              Account Terms:          72 Month
  Payment History:           Jan Feb Mar Apr May Jun Jul Aug Sep Oct                 Nov Dec Delinquency                          30           60    90+       Derog
  (Up to 25 months)                                                                          Counter:
                      2013 C      C     C   C       C       C   C   C     C                      (Past 7 years)                   0            0      0          0
                      2012 C      C     C   C       C       C   C   C     C    -     C     C     Worst Delinquency:
                      2011                                                C    C     C     C     Worst Delinq Date:
                                                                                                 Months Reviewed:           39

  TRICOLOR AUTO GROUP LL / 1826150 / FA - Automobile Financing Company
        Open                 Original              Status               Past             Last Paid            Scheduled                  Balance           Current
        Date                 Amount                 Date                Due                Date                Payment                    Date             Balance
     04/29/2013              $25,326            09/2013                                  09/16/2013               $838                  09/30/2013         $24,945
  Account             Open                                                                       Account #:               7601
  Condition:
  Payment Status:     Current                                                                    Responsibility:         Individual
  Account Type:       AUT Auto Loan                                                              Account Terms:          45 Month
  Payment History:           Jan Feb Mar Apr May Jun Jul Aug Sep Oct                 Nov Dec Delinquency                          30           60    90+       Derog
  (Up to 25 months)                                                                          Counter:
                      2013                                                C                      (Past 7 years)                   0            0      0          0
                      2012                                                                       Worst Delinquency:
                                                                                                 Worst Delinq Date:
                                                                                                 Months Reviewed:           1

  AFS ACCEPTANCE LLC / 1007709 / FA - Automobile Financing Company
        Open                 Original              Status               Past             Last Paid            Scheduled                  Balance           Current
        Date                 Amount                 Date                Due                Date                Payment                    Date             Balance
     06/20/2012              $17,200            07/2013                                  07/22/2013               $529                  07/31/2013         $14,604
  Account             Open                                                                       Account #:                      1771
  Condition:
  Payment Status:     Current                                                                    Responsibility:         Signer
  Account Type:       AUT Auto Loan                                                              Account Terms:          54 Month
  Payment History:           Jan Feb Mar Apr May Jun Jul Aug Sep Oct                 Nov Dec Delinquency                          30           60    90+       Derog
  (Up to 25 months)                                                                          Counter:
                      2013 C      C     C   C       C       C   C                                (Past 7 years)                   0            0      0          0
                      2012                                  C   C   C     C    C     C     C     Worst Delinquency:
                                                                                                 Worst Delinq Date:
                                                                                                 Months Reviewed:           14

  *NORTHERN LEASING SYSTE / 6902147 / PC - Equipment Leasing
                                                                 Page 3 of 9                                                                         Kapitus_000314
                                                            KAPITUS   EX. 13 - 314
Case 20-04009-elm Doc 68-6 Filed 09/21/21                                               Entered 09/21/21 23:36:41                              Page 315 of 540



         Open                  Original         Charge Off                Status               Past                Last Paid                 Balance           Current
         Date                  Amount            Amount                    Date                Due                   Date                     Date             Balance
      01/04/2007               $3,595               $2,635                10/2007                                  05/01/2007               10/30/2007         $3,008
  Account                                                                                             Account #:                3002
  Condition:
  Payment Status:      Unpaid balance reported as loss                                                Responsibility:      Individual
  Account Type:        Lease                                                                          Account Terms:       48 Month
  Payment History:             Jan Feb Mar Apr May Jun Jul Aug Sep Oct                     Nov Dec Delinquency                       30            60    90+          Derog
  (Up to 25 months)                                                                                Counter:
                       2007                                                         9                 (Past 7 years)                 0             0      0             1
                       2006                                                                           Worst Delinquency:
                                                                                                      Worst Delinq Date:
                                                                                                      Months Reviewed:          1
  Early termination/balance owing

  *CREDIT SYSTEMS INTL IN / 3980971 / YC - Other Collection Agencies
          Open                      Original                 Status                     Past              Last Paid                      Balance              Current
          Date                      Amount                    Date                      Due                 Date                          Date                Balance
       07/23/2010                     $51                07/2010                        $51                                          10/16/2013                $51
  Account                                                                                             Account #:                     5045
  Condition:
  Payment Status:      Seriously past due                                                             Responsibility:      Individual
  Account Type:        Collection Department/Agency/Attorney                                          Account Terms:       1 Month
  Payment History:             Jan Feb Mar Apr May Jun Jul Aug Sep Oct                     Nov Dec Delinquency                       30            60    90+          Derog
  (Up to 25 months)                                                                                Counter:
                       2013 9        9      9   9    9       9   9    9      9      9                 (Past 7 years)                 0             0      0             40
                       2012 9        9      9   9    9       9   9    9      9      9      9   9      Worst Delinquency:        Collections
                       2011                                                         9      9   9      Worst Delinq Date:        09/01/2011
                                                                                                      Months Reviewed:          40
  Original creditor: MEDICAL PAYMENT DATA

  *CREDIT SYSTEMS INTL IN / 3980971 / YC - Other Collection Agencies
          Open                      Original                 Status                     Past              Last Paid                      Balance              Current
          Date                      Amount                    Date                      Due                 Date                          Date                Balance
       07/23/2010                    $127                07/2010                        $127                                         10/16/2013                $127
  Account                                                                                             Account #:                     3485
  Condition:
  Payment Status:      Seriously past due                                                             Responsibility:      Individual
  Account Type:        Collection Department/Agency/Attorney                                          Account Terms:       1 Month
  Payment History:             Jan Feb Mar Apr May Jun Jul Aug Sep Oct                     Nov Dec Delinquency                       30            60    90+          Derog
  (Up to 25 months)                                                                                Counter:
                       2013 9        9      9   9    9       9   9    9      9      9                 (Past 7 years)                 0             0      0             40
                       2012 9        9      9   9    9       9   9    9      9      9      9   9      Worst Delinquency:        Collections
                       2011                                                         9      9   9      Worst Delinq Date:        09/01/2011
                                                                                                      Months Reviewed:          40
  Original creditor: MEDICAL PAYMENT DATA

  *CREDIT SYSTEMS INTL IN / 3980971 / YC - Other Collection Agencies
          Open                      Original                 Status                     Past              Last Paid                      Balance              Current
          Date                      Amount                    Date                      Due                 Date                          Date                Balance
       06/07/2013                     $28                06/2013                        $28                                          10/16/2013                $28
  Account                                                                                             Account #:                     3692
  Condition:
  Payment Status:      Seriously past due                                                             Responsibility:      Individual
  Account Type:        Collection Department/Agency/Attorney                                          Account Terms:       1 Month
  Payment History:             Jan Feb Mar Apr May Jun Jul Aug Sep Oct                     Nov Dec Delinquency                       30            60    90+          Derog
  (Up to 25 months)                                                                                Counter:
                       2013                                  9   9    9      9      9                 (Past 7 years)                 0             0      0             5
                       2012                                                                           Worst Delinquency:
                                                                                                      Worst Delinq Date:
                                                                                                      Months Reviewed:          5
  Original creditor: MEDICAL PAYMENT DATA

  *CREDIT SYSTEMS INTL IN / 3980971 / YC - Other Collection Agencies
          Open                      Original                 Status                     Past              Last Paid                      Balance              Current
          Date                      Amount                    Date                      Due                 Date                          Date                Balance
       08/05/2013                    $244                08/2013                        $244                                         10/16/2013                $244




                                                                  Page 4 of 9                                                                            Kapitus_000315
                                                             KAPITUS   EX. 13 - 315
Case 20-04009-elm Doc 68-6 Filed 09/21/21                                      Entered 09/21/21 23:36:41                         Page 316 of 540



  Account                                                                                  Account #:                  2335
  Condition:
  Payment Status:     Seriously past due                                                   Responsibility:      Individual
  Account Type:       Collection Department/Agency/Attorney                                Account Terms:       1 Month
  Payment History:           Jan Feb Mar Apr May Jun Jul Aug Sep Oct              Nov Dec Delinquency                  30             60   90+          Derog
  (Up to 25 months)                                                                       Counter:
                      2013                                         9   9   9               (Past 7 years)              0              0     0             3
                      2012                                                                 Worst Delinquency:
                                                                                           Worst Delinq Date:
                                                                                           Months Reviewed:        3
  Original creditor: MEDICAL PAYMENT DATA

  *RS CLARK AND ASSOCIATE / 1982627 / YC - Other Collection Agencies
          Open                  Original                Status                 Past            Last Paid                   Balance              Current
          Date                  Amount                   Date                  Due               Date                       Date                Balance
       12/13/2012                $5,941                 03/2013                               09/30/2013               10/01/2013               $5,841
  Account                                                                                  Account #:                          1127
  Condition:
  Payment Status:     Seriously past due                                                   Responsibility:      Individual
  Account Type:       Collection Department/Agency/Attorney                                Account Terms:       1 Month
  Payment History:           Jan Feb Mar Apr May Jun Jul Aug Sep Oct              Nov Dec Delinquency                  30             60   90+          Derog
  (Up to 25 months)                                                                       Counter:
                      2013               9    9    9    9    9     9   -   9               (Past 7 years)              0              0     0             7
                      2012                                                                 Worst Delinquency:
                                                                                           Worst Delinq Date:
                                                                                           Months Reviewed:        8
  Original creditor: MEDICAL PAYMENT DATA

  *EDWARD SLOAN & ASSOCAC / 1897070 / YC - Other Collection Agencies
          Open                  Original                Status                 Past            Last Paid                   Balance              Current
          Date                  Amount                   Date                  Due               Date                       Date                Balance
       09/24/2012                  $50                  11/2012                                                        05/07/2013                $50
  Account                                                                                  Account #:             4890
  Condition:
  Payment Status:     Seriously past due                                                   Responsibility:      Individual
  Account Type:       Collection Department/Agency/Attorney                                Account Terms:       1 Month
  Payment History:           Jan Feb Mar Apr May Jun Jul Aug Sep Oct              Nov Dec Delinquency                  30             60   90+          Derog
  (Up to 25 months)                                                                       Counter:
                      2013 -      9      -    9    9                                       (Past 7 years)              0              0     0             5
                      2012                                                        9   9    Worst Delinquency:
                                                                                           Worst Delinq Date:
                                                                                           Months Reviewed:        7
  Original creditor: MEDICAL PAYMENT DATA

  *NPAS SOLUTIONS LLC / 1946749 / YC - Other Collection Agencies
          Open                  Original                Status                 Past            Last Paid                   Balance              Current
          Date                  Amount                   Date                  Due               Date                       Date                Balance
       12/27/2012                $3,979                 04/2013            $3,979                                      04/01/2013               $3,979
  Account                                                                                  Account #:                   6889
  Condition:
  Payment Status:     Seriously past due                                                   Responsibility:      Individual
  Account Type:       Collection Department/Agency/Attorney                                Account Terms:       1 Month
  Payment History:           Jan Feb Mar Apr May Jun Jul Aug Sep Oct              Nov Dec Delinquency                  30             60   90+          Derog
  (Up to 25 months)                                                                       Counter:
                      2013                    9                                            (Past 7 years)              0              0     0             1
                      2012                                                                 Worst Delinquency:
                                                                                           Worst Delinq Date:
                                                                                           Months Reviewed:        1
  Original creditor: MEDICAL PAYMENT DATA

  *EOS CCA / 1112430 / YC - Other Collection Agencies
          Open                  Original                Status                 Past            Last Paid                   Balance              Current
          Date                  Amount                   Date                  Due               Date                       Date                Balance
       08/13/2012                 $308                  10/2012                $506                                    12/21/2012                $506




                                                             Page 5 of 9                                                                   Kapitus_000316
                                                        KAPITUS   EX. 13 - 316
Case 20-04009-elm Doc 68-6 Filed 09/21/21                                    Entered 09/21/21 23:36:41                          Page 317 of 540



  Account                                                                                 Account #:              0985
  Condition:
  Payment Status:      Seriously past due                                                 Responsibility:      Individual
  Account Type:        Collection Department/Agency/Attorney                              Account Terms:       1 Month
  Payment History:            Jan Feb Mar Apr May Jun Jul Aug Sep Oct           Nov Dec Delinquency                    30            60   90+          Derog
  (Up to 25 months)                                                                     Counter:
                       2012                                              9      9   9   (Past 7 years)                 0             0     0             3
                       2011                                                               Worst Delinquency:
                                                                                          Worst Delinq Date:
                                                                                          Months Reviewed:        3
  Original creditor: AT T MOBILITY

  *EDWARD SLOAN & ASSOCAC / 1897070 / YC - Other Collection Agencies
          Open                       Original         Status                 Past              Last Paid                   Balance             Current
          Date                       Amount            Date                  Due                 Date                       Date               Balance
       09/24/2012                     $509           11/2012                                                           11/07/2012               $509
  Account                                                                                 Account #:             4136
  Condition:
  Payment Status:      Seriously past due                                                 Responsibility:      Individual
  Account Type:        Collection Department/Agency/Attorney                              Account Terms:       1 Month
  Payment History:            Jan Feb Mar Apr May Jun Jul Aug Sep Oct           Nov Dec Delinquency                    30            60   90+          Derog
  (Up to 25 months)                                                                     Counter:
                       2012                                                     9       (Past 7 years)                 0             0     0             1
                       2011                                                               Worst Delinquency:
                                                                                          Worst Delinq Date:
                                                                                          Months Reviewed:        1
  Original creditor: MEDICAL PAYMENT DATA

  *EDWARD SLOAN & ASSOCAC / 1897070 / YC - Other Collection Agencies
          Open                       Original         Status                 Past              Last Paid                   Balance             Current
          Date                       Amount            Date                  Due                 Date                       Date               Balance
       09/24/2012                     $944           11/2012                                                           11/07/2012               $944
  Account                                                                                 Account #:             2744
  Condition:
  Payment Status:      Seriously past due                                                 Responsibility:      Individual
  Account Type:        Collection Department/Agency/Attorney                              Account Terms:       1 Month
  Payment History:            Jan Feb Mar Apr May Jun Jul Aug Sep Oct           Nov Dec Delinquency                    30            60   90+          Derog
  (Up to 25 months)                                                                     Counter:
                       2012                                                     9       (Past 7 years)                 0             0     0             1
                       2011                                                               Worst Delinquency:
                                                                                          Worst Delinq Date:
                                                                                          Months Reviewed:        1
  Original creditor: MEDICAL PAYMENT DATA

  *CENTRAL FINL CONTROL / 3980220 / YC - Other Collection Agencies
          Open                       Original         Status                 Past              Last Paid                   Balance             Current
          Date                       Amount            Date                  Due                 Date                       Date               Balance
       12/31/2009                     $708           06/2010                                                           03/23/2011               $708
  Account                                                                                 Account #:                   2550
  Condition:
  Payment Status:      Seriously past due                                                 Responsibility:      Individual
  Account Type:        Collection Department/Agency/Attorney                              Account Terms:       1 Month
  Payment History:            Jan Feb Mar Apr May Jun Jul Aug Sep Oct           Nov Dec Delinquency                    30            60   90+          Derog
  (Up to 25 months)                                                                     Counter:
                       2011 -         -      9                                             (Past 7 years)              0             0     0             3
                       2010                           9    -   9     -   -      -    -    Worst Delinquency:
                                                                                          Worst Delinq Date:
                                                                                          Months Reviewed:        10
  Original creditor: MEDICAL PAYMENT DATA

  *UNITED REVENUE CORP / 0980096 / YC - Other Collection Agencies
          Open                       Original         Status                 Past              Last Paid                   Balance             Current
          Date                       Amount            Date                  Due                 Date                       Date               Balance
       06/30/2010                     $614           09/2010                 $614                                      09/13/2010               $614




                                                           Page 6 of 9                                                                    Kapitus_000317
                                                      KAPITUS   EX. 13 - 317
Case 20-04009-elm Doc 68-6 Filed 09/21/21                                 Entered 09/21/21 23:36:41                         Page 318 of 540



  Account                                                                             Account #:              3096
  Condition:
  Payment Status:     Seriously past due                                              Responsibility:      Individual
  Account Type:       Collection Department/Agency/Attorney                           Account Terms:       Unknown
  Payment History:           Jan Feb Mar Apr May Jun Jul Aug Sep Oct         Nov Dec Delinquency                   30            60          90+          Derog
  (Up to 25 months)                                                                  Counter:
                      2010                                            9               (Past 7 years)               0             0            0             1
                      2009                                                            Worst Delinquency:
                                                                                      Worst Delinq Date:
                                                                                      Months Reviewed:        1
  Original creditor: MEDICAL PAYMENT DATA

  *UNITED REVENUE CORP / 0980096 / YC - Other Collection Agencies
          Open                     Original             Status            Past            Last Paid                    Balance                    Current
          Date                     Amount                Date             Due               Date                        Date                      Balance
       01/12/2010                   $443                04/2010           $443                                     04/02/2010                      $443
  Account                                                                             Account #:              4016
  Condition:
  Payment Status:     Seriously past due                                              Responsibility:      Individual
  Account Type:       Collection Department/Agency/Attorney                           Account Terms:       Unknown
  Payment History:           Jan Feb Mar Apr May Jun Jul Aug Sep Oct         Nov Dec Delinquency                   30            60          90+          Derog
  (Up to 25 months)                                                                  Counter:
                      2010                      9                                     (Past 7 years)               0             0            0             1
                      2009                                                            Worst Delinquency:
                                                                                      Worst Delinq Date:
                                                                                      Months Reviewed:        1
  Original creditor: MEDICAL PAYMENT DATA

  *CREDIT MANAGEMENT LP / 3980798 / YC - Other Collection Agencies
          Open                     Original             Status            Past            Last Paid                    Balance                    Current
          Date                     Amount                Date             Due               Date                        Date                      Balance
       12/20/2009                   $403                02/2010           $403                                     02/26/2010                      $403
  Account                                                                             Account #:                  7896
  Condition:
  Payment Status:     Seriously past due                                              Responsibility:      Individual
  Account Type:       Collection Department/Agency/Attorney                           Account Terms:       1 Month
  Payment History:           Jan Feb Mar Apr May Jun Jul Aug Sep Oct         Nov Dec Delinquency                   30            60          90+          Derog
  (Up to 25 months)                                                                  Counter:
                      2010          9                                                 (Past 7 years)               0             0            0             1
                      2009                                                            Worst Delinquency:
                                                                                      Worst Delinq Date:
                                                                                      Months Reviewed:        1
  Original creditor: CHARTER COMMUNICATIONS

  *CSD COLLECTIONS / 1984222 / YZ - Collections -- Non-Specific
          Open                     Original             Status            Past            Last Paid                    Balance                    Current
          Date                     Amount                Date             Due               Date                        Date                      Balance
       11/25/2008                   $198                01/2009           $198                                     01/05/2009                      $198
  Account                                                                             Account #:                                      4315
  Condition:
  Payment Status:     Seriously past due                                              Responsibility:      Individual
  Account Type:       Collection Department/Agency/Attorney                           Account Terms:       1 Month
  Payment History:           Jan Feb Mar Apr May Jun Jul Aug Sep Oct         Nov Dec Delinquency                   30            60          90+          Derog
  (Up to 25 months)                                                                  Counter:
                      2009 9                                                          (Past 7 years)               0             0            0             1
                      2008                                                            Worst Delinquency:
                                                                                      Worst Delinq Date:
                                                                                      Months Reviewed:        1
  Original creditor: DIX E ELECTRIC CORP


  Revolving Accounts
  CREDIT ONE BANK / 3278143 / BC - Bank Credit Cards
       Open               Credit               High          Status       Past       Last Paid          Scheduled            Balance                Current
       Date               Limit               Balance         Date        Due          Date              Payment              Date                  Balance
    07/16/2012            $500                 $497         10/2013                  10/20/2013             $25             10/24/2013               $376




                                                             Page 7 of 9                                                                     Kapitus_000318
                                                        KAPITUS   EX. 13 - 318
Case 20-04009-elm Doc 68-6 Filed 09/21/21                                        Entered 09/21/21 23:36:41                            Page 319 of 540



  Account             Open                                                                   Account #:                               9646
  Condition:
  Payment Status:     Current                                                                Responsibility:      Individual
  Account Type:       Credit Card, Terms REV                                                 Account Terms:       Revolving
  Payment History:           Jan Feb Mar Apr May Jun Jul Aug Sep Oct                Nov Dec Delinquency                   30            60       90+         Derog
  (Up to 25 months)                                                                         Counter:
                      2013 C      C        C     C     C   C    C    C   C   C               (Past 7 years)               0             0         0             0
                      2012                                      C    C   C   C      C   C    Worst Delinquency:
                                                                                             Worst Delinq Date:
                                                                                             Months Reviewed:        16

  CAP ONE / 1270246 / BC - Bank Credit Cards
       Open              Credit                 High            Status           Past       Last Paid          Scheduled               Balance          Current
       Date              Limit                 Balance           Date            Due          Date              Payment                 Date            Balance
    11/23/2011           $701                   $714           10/2013                      10/18/2013             $25             10/20/2013            $107
  Account             Open                                                                   Account #:                        9213
  Condition:
  Payment Status:     Current                                                                Responsibility:      Individual
  Account Type:       Credit Card, Terms REV                                                 Account Terms:       Revolving
  Payment History:           Jan Feb Mar Apr May Jun Jul Aug Sep Oct                Nov Dec Delinquency                   30            60       90+         Derog
  (Up to 25 months)                                                                         Counter:
                      2013 C      C        C     C     C   C    C    0   0   C               (Past 7 years)               0             0         0             0
                      2012 C      C        C     C     C   C    C    C   C   C      C   C    Worst Delinquency:
                      2011                                                              C    Worst Delinq Date:
                                                                                             Months Reviewed:        23

  GECRB/AMER EAGLE / 1600040 / CG - General Clothing Store
          Open                    Credit                   Status                Past            Last Paid                    Balance                 Current
          Date                    Limit                     Date                 Due               Date                        Date                   Balance
       08/25/2013                 $400                     10/2013                                                        10/20/2013                    $0
  Account             Open                                                                   Account #:                        9283
  Condition:
  Payment Status:     Current                                                                Responsibility:      Individual
  Account Type:       Revolving Charge Account                                               Account Terms:       Revolving
  Payment History:           Jan Feb Mar Apr May Jun Jul Aug Sep Oct                Nov Dec Delinquency                   30            60       90+         Derog
  (Up to 25 months)                                                                         Counter:
                      2013                                           0   0   0               (Past 7 years)               0             0         0             0
                      2012                                                                   Worst Delinquency:
                                                                                             Worst Delinq Date:
                                                                                             Months Reviewed:        3

  WEBBANK/FINGERHUT / 2244970 / ND - Credit Card - Dept. Store
          Open                    Credit                   Status                Past            Last Paid                    Balance                 Current
          Date                    Limit                     Date                 Due               Date                        Date                   Balance
       11/24/2012                 $250                     10/2013                                                        10/15/2013                    $0
  Account             Open                                                                   Account #:                               0207
  Condition:
  Payment Status:     Current                                                                Responsibility:      Individual
  Account Type:       Revolving Charge Account                                               Account Terms:       Revolving
  Payment History:           Jan Feb Mar Apr May Jun Jul Aug Sep Oct                Nov Dec Delinquency                   30            60       90+         Derog
  (Up to 25 months)                                                                         Counter:
                      2013                                               0   0               (Past 7 years)               0             0         0             0
                      2012                                                                   Worst Delinquency:
                                                                                             Worst Delinq Date:
                                                                                             Months Reviewed:        2

  GECRB/TOYS / 1950807 / DV - Variety Stores
       Open              Credit                 High            Status           Past       Last Paid          Scheduled               Balance          Current
       Date              Limit                 Balance           Date            Due          Date              Payment                 Date            Balance
    09/22/2013           $750                   $750           10/2013                                             $25             10/13/2013            $750
  Account             Open                                                                   Account #:                        0109
  Condition:
  Payment Status:     Current                                                                Responsibility:      Individual
  Account Type:       Revolving Charge Account                                               Account Terms:       Revolving
  Payment History:           Jan Feb Mar Apr May Jun Jul Aug Sep Oct                Nov Dec Delinquency                   30            60       90+         Derog
  (Up to 25 months)                                                                         Counter:
                      2013                                                   C               (Past 7 years)               0             0         0             0
                      2012                                                                   Worst Delinquency:
                                                                                             Worst Delinq Date:
                                                                                             Months Reviewed:        1


  Inquiries
                                                                Page 8 of 9                                                                      Kapitus_000319
                                                           KAPITUS   EX. 13 - 319
Case 20-04009-elm Doc 68-6 Filed 09/21/21                                  Entered 09/21/21 23:36:41                  Page 320 of 540



  Date           Subscriber                                                    Amount   Type                          Terms
  09/30/2013     CBNA/BBY/2145203/All Banks -- Non-Specific                    UNK      Unknown - Credit Extension,   N/A
                                                                                        Review, Or Collection
  09/29/2013     CBNA/THD/1002549/Bank Credit Cards                            UNK      Unknown - Credit Extension,   N/A
                                                                                        Review, Or Collection
  09/26/2013     TIMEPAYMENT CORP LLC/1639850/Sales Financing Company          UNK      Unknown - Credit Extension,   N/A
                                                                                        Review, Or Collection
  09/26/2013     FIRST VISION FINANCIAL/6903835/Equipment Leasing              UNK      Unknown - Credit Extension,   N/A
                                                                                        Review, Or Collection
  09/22/2013     THD/CBNA/3178962/Bank Credit Cards                            UNK      Unknown - Credit Extension,   N/A
                                                                                        Review, Or Collection
  07/17/2013     NORTHERN LEASING SYSTE/6902147/Equipment Leasing              UNK      Unknown - Credit Extension,   N/A
                                                                                        Review, Or Collection
  05/25/2013     CAPITAL ONE AUTO FIN/1254780/Automobile Financing Company     UNK      Unknown - Credit Extension,   N/A
                                                                                        Review, Or Collection
  05/25/2013     ALPHERA FINANCIAL SERV/1650800/Automobile Financing Company   UNK      Unknown - Credit Extension,   N/A
                                                                                        Review, Or Collection
  05/25/2013     DRIVE FINANCIAL/2614080/Automobile Financing Company          UNK      Unknown - Credit Extension,   N/A
                                                                                        Review, Or Collection
  05/25/2013     BANKSTON CHEV FT WORTH/7963526/Automobile Dealers, New        UNK      Auto Loan                     N/A
  05/22/2013     STRATEGIC FUNDING SOUR/1650360/Bulk Purchase Finance          UNK      Unknown - Credit Extension,   N/A
                                                                                        Review, Or Collection
  04/29/2013     CREDCO/3903978/Auto Reseller                                  UNK      Auto Loan                     N/A
  04/22/2013     700 CREDIT/SATURN FORT/1455520/Automobile Dealers, Used       UNK      Auto Loan                     N/A
  03/26/2013     700 CREDIT/SATURN FORT/1455520/Automobile Dealers, Used       UNK      Auto Loan                     N/A
  02/13/2013     FORA FINANCIAL BUSINES/1988968/Personal Loan Companies        UNK      Unknown - Credit Extension,   N/A
                                                                                        Review, Or Collection
  12/10/2012     NORTHERN LEASING SYSTE/6902147/Equipment Leasing              UNK      Unknown - Credit Extension,   N/A
                                                                                        Review, Or Collection
  11/27/2012     CHASE/1864500/All Banks -- Non-Specific                       UNK      Unknown - Credit Extension,   N/A
                                                                                        Review, Or Collection
  10/30/2012     ROADLOANS.COM/1937812/Automobile Financing Company            UNK      Unknown - Credit Extension,   N/A
                                                                                        Review, Or Collection
  10/09/2012     AT&T SERVICES/1940891/Telephone Companies                     UNK      Unknown - Credit Extension,   N/A
                                                                                        Review, Or Collection
  09/25/2012     ROADLOANS.COM/1937812/Automobile Financing Company            UNK      Unknown - Credit Extension,   N/A
                                                                                        Review, Or Collection
  07/25/2012     NORTHERN LEASING SYSTE/1924758/Equipment Leasing              UNK      Collection                    N/A
                                                                                        Department/Agency/Attorney
  07/09/2012     CREDIT ONE BANK/3278143/Bank Credit Cards                     UNK      Unknown - Credit Extension,   N/A
                                                                                        Review, Or Collection
  06/19/2012     AFS ACCEPTANCE LLC/1007708/Automobile Financing Company       UNK      Unknown - Credit Extension,   N/A
                                                                                        Review, Or Collection
  05/07/2012     AFS ACCEPTANCE LLC/1007708/Automobile Financing Company       UNK      Unknown - Credit Extension,   N/A
                                                                                        Review, Or Collection
  04/27/2012     AFS ACCEPTANCE LLC/1007708/Automobile Financing Company       UNK      Unknown - Credit Extension,   N/A
                                                                                        Review, Or Collection
  04/24/2012     GATEWAY ONE LENDING &/1654670/Automobile Financing Company    UNK      Unknown - Credit Extension,   N/A
                                                                                        Review, Or Collection
  04/24/2012     ALLY FINANCIAL/1639000/Automobile Financing Company           UNK      Auto Loan                     N/A
  04/24/2012     NOWCOM/TEXAS AUTO OUTL/1934246/Automobile Dealers, Used       UNK      Auto Loan                     N/A
  04/23/2012     CONSUMER PORTFOLIO SVC/1624220/Automobile Financing           UNK      Unknown - Credit Extension,   N/A
                 Company                                                                Review, Or Collection
  04/23/2012     GATEWAY ONE LENDING &/1654670/Automobile Financing Company    UNK      Unknown - Credit Extension,   N/A
                                                                                        Review, Or Collection
  04/23/2012     CREDCO/3903978/Auto Reseller                                  UNK      Auto Loan                     N/A
  04/14/2012     ALL PRO MOTORS AND FIN/9960266/Automobile Dealers, Used       UNK      Unknown - Credit Extension,   N/A
                                                                                        Review, Or Collection
  12/26/2011     CHASE/1255740/Bank Credit Cards                               UNK      Unknown - Credit Extension,   N/A
                                                                                        Review, Or Collection
  12/21/2011     BANKSTON CHEV FT WORTH/7963526/Automobile Dealers, New        UNK      Auto Loan                     N/A
  12/21/2011     CAPITAL ONE AUTO FIN/1254780/Automobile Financing Company     UNK      Unknown - Credit Extension,   N/A
                                                                                        Review, Or Collection
  12/21/2011     CHASE/3113360/All Banks -- Non-Specific                       UNK      Unknown - Credit Extension,   N/A
                                                                                        Review, Or Collection
  11/13/2011     CAP ONE/1214383/Bank Credit Cards                             UNK      Unknown - Credit Extension,   N/A
                                                                                        Review, Or Collection
  END -- Experian Credit Profile Report


  Consumer Assistance
  EXPERIAN
  701 EXPERIAN PARKWAY
  PO BOX 2002
  ALLEN, TX 75013
  (888) 397-3742
  www.experian.com/reportaccess

                                                            Page 9 of 9                                                       Kapitus_000320
                                                       KAPITUS   EX. 13 - 320
Case 20-04009-elm Doc 68-6 Filed 09/21/21                                          Entered 09/21/21 23:36:41    Page 321 of 540



  Bridges,Dwayne 439377894;CA-628 Destin Dr/Fortworth TX 76131;VER FY;T-99......;VERIFY-Y2/J2;H-Y;

  PAGE 1 DATE 11-06-2013                           TIME 11:09:48                  V301        TTX8
    DWAYNE BRIDGES                                                     SS:                    7894   E: JUST CHILLING HEATIN
    628 DESTIN DR                                                      DOB:                   72     628 DESTIN DRIVE
    FORT WORTH TX 761314255                                            SP: DANA                      FORT WORTH, TX 76131
    RPTD: 7-10 TO 9-13 U 9X                                                                          RPTD: 7-12 U
    LAST SUB: 2244970
                                                                                                     E: JUST CHILLIN HEATING
  *11238 BLUE JAY LN                                                                                  00000
   DENHAM SPRINGS LA 707261677                                                                       RPTD: 12-11 TO 11-13 I
   RPTD: 2-09 TO 1-10 U 1X
   LAST SUB: 1367380                                                                                 E: SELF EMPLOYED
                                                                                                     RPTD: 4-12 I
  *17210 OLIVE DR
   LIVINGSTON LA 707542155                                                                           E: A-US AIR
   RPTD: 5-07 TO 4-08 U 1X                                                                           RPTD: 7-10 I
   LAST SUB: 3990772
  *17080 LISA DR
   LIVINGSTON LA 707542124
   RPTD: 1-07 TO 5-07 U
   LAST SUB: 9981147
  *17650 MELANCON RD
   LIVINGSTON LA 707543001
   RPTD: 1-05 TO 3-07 U 1X
   LAST SUB: 1367380
  *30260 EDEN CHURCH RD
   DENHAM SPRINGS LA 707267761
   RPTD: 9-04 TO 2-07 U
   LAST SUB: 9981147
  *18273 TABONY LN
   LIVINGSTON LA 707543227
   RPTD: 3-06 TO 8-06 U
   LAST SUB: 3990772
  *16352 OLD HAMMOND HWY TRLR 63
   BATON ROUGE LA 708161718
   RPTD: 4-99 TO 3-05 U
   LAST SUB: 3980530
  *31531 LINDER RD LOT 101
   DENHAM SPRINGS LA 707268504
   RPTD: 11-03 TO 6-04 U
   LAST SUB: 1984222
  *28381 LA HIGHWAY 16
   DENHAM SPRINGS LA 707267836
   RPTD: 1-04 U
   LAST SUB: 0940029
  *9921 GREAT SMOKEY AVE
   BATON ROUGE LA 708144326
                                                               Page 1 of 5                                              Kapitus_000321
                                                          KAPITUS   EX. 13 - 321
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 322 of 540



   RPTD: 1-02 U
   LAST SUB: 8600165
  *BRIDGE DWAYNE
   ---------------------------- FRAUD SHIELD SUMMARY ----------------------------
   INPUT SSN ISSUED 1978-1980                 INQ: TRADE CONTRACTOR-SPECIAL TRADE
   FROM 8-01-13 INQ COUNT FOR SSN=6                JUST CHILLIN HEATING-AIR COND
   FROM 8-01-13 INQ COUNT FOR ADDRESS=5            628 DESTIN DR
                                                   FORT WORTH TX 76131
                                                   817.000.1111
   ------------------------------ PROFILE SUMMARY -------------------------------
                                                                  CNT 00/00/00/99
   PUBLIC RECORDS-------0 PAST DUE AMT----$6,593 INQUIRIES--39 SATIS ACCTS--14
   INST/OTH BAL--$108,400 SCH/EST PAY-----$2,733 INQS/6 MO--13 NOW DEL/DRG--16
   R ESTATE BAL-------N/A R ESTATE PAY-------N/A TRADELINE--30 WAS DEL/DRG---0
   TOT REV BAL-----$1,233 TOT REV AVAIL------59% PAID ACCT---5 OLD TRADE--3-06
   ------------------------------- SCORE SUMMARY --------------------------------
   FICO RISK SCORE 2                    =   559    SCORE FACTORS: 38, 14, 20, 18
   ----------------------------------- TRADES -----------------------------------
   SUBSCRIBER                 OPEN    AMT-TYP1    AMT-TYP2 ACCTCOND   PYMT STATUS
   SUB#   KOB TYP TRM ECOA BALDATE     BALANCE   PYMT LEVEL MOS REV PYMT HISTORY
   ACCOUNT #               LAST PD   MONTH PAY    PAST DUE MAXIMUM     BY MONTH
  *NORTHERN LEASING SYSTE     1-07    $3,595-O      $2,635-C                 CHARGOFF
   6902147 PC LEA 48    1 10-30-07    $3,008         10-07        ( 1) L
   1473002                    5-07
   ** EARLY TERMINATION/BALANCE OWING **
  *RS CLARK AND ASSOCIATE    12-12    $5,941-O                              COLLACCT
   1982627 YC COL   1   1 10-30-13    $5,741           2-13       ( 9) GG-GGGGGG
   30631001531127            10-13
   ORIGINAL CREDITOR: MEDICAL PAYMENT DATA
  *CREDIT SYSTEMS INTL IN     7-10      $127-O                              COLLACCT
   3980971 YC COL   1   1 10-16-13      $127           7-10       (40) GGGGGGGGGGGGG
   104323485                                           $127     9-11/G GGGGGGGGGGGG
   ORIGINAL CREDITOR: MEDICAL PAYMENT DATA
  *CREDIT SYSTEMS INTL IN     7-10       $51-O                              COLLACCT
   3980971 YC COL   1   1 10-16-13       $51           7-10       (40) GGGGGGGGGGGGG
   104325045                                            $51     9-11/G GGGGGGGGGGGG
   ORIGINAL CREDITOR: MEDICAL PAYMENT DATA
  *CREDIT SYSTEMS INTL IN     6-13       $28-O                               COLLACCT
   3980971 YC COL   1   1 10-16-13       $28           6-13       ( 5) GGGGG
   108363692                                            $28
   ORIGINAL CREDITOR: MEDICAL PAYMENT DATA
  *CREDIT SYSTEMS INTL IN     8-13      $244-O                               COLLACCT
   3980971 YC COL   1   1 10-16-13      $244           8-13       ( 3) GGG
   108692335                                           $244
   ORIGINAL CREDITOR: MEDICAL PAYMENT DATA
  *EDWARD SLOAN & ASSOCAC      9-12         $50-O                           COLLACCT
   1897070 YC COL   1   1   5-07-13         $50      11-12        ( 7) GG-G-GG
                                   Page 2 of 5                                 Kapitus_000322
                              KAPITUS   EX. 13 - 322
Case 20-04009-elm Doc 68-6 Filed 09/21/21    Entered 09/21/21 23:36:41   Page 323 of 540



   734890
   ORIGINAL CREDITOR: MEDICAL PAYMENT DATA
  *NPAS SOLUTIONS LLC        12-12    $3,979-O                                COLLACCT
   1946749 YC COL   1   1 4-01-13     $3,979           4-13        ( 1) G
   2000386889                                        $3,979
   ORIGINAL CREDITOR: MEDICAL PAYMENT DATA
  *EOS CCA                    8-12          $308-O                            COLLACCT
   1112430 YC COL   1   1 12-21-12          $506      10-12        ( 3) GGG
   6470985                                             $506
   ORIGINAL CREDITOR: AT T MOBILITY
  *EDWARD SLOAN & ASSOCAC     9-12      $509-O                                COLLACCT
   1897070 YC COL   1   1 11-07-12      $509          11-12        ( 1) G
   734136
   ORIGINAL CREDITOR: MEDICAL PAYMENT DATA
  *EDWARD SLOAN & ASSOCAC     9-12      $944-O                                COLLACCT
   1897070 YC COL   1   1 11-07-12      $944          11-12        ( 1) G
   732744
   ORIGINAL CREDITOR: MEDICAL PAYMENT DATA
  *CENTRAL FINL CONTROL      12-09      $708-O                               COLLACCT
   3980220 YC COL   1   1 3-23-11       $708            6-10       (10) G------G-G
   980312550
   ORIGINAL CREDITOR: MEDICAL PAYMENT DATA
  *UNITED REVENUE CORP        6-10      $614-O                                COLLACCT
   0980096 YC COL UNK   1 9-13-10       $614            9-10       ( 1) G
   5103096                                              $614
   ORIGINAL CREDITOR: MEDICAL PAYMENT DATA
  *UNITED REVENUE CORP        1-10      $443-O                                COLLACCT
   0980096 YC COL UNK   1 4-02-10       $443            4-10       ( 1) G
   4964016                                              $443
   ORIGINAL CREDITOR: MEDICAL PAYMENT DATA
  *CREDIT MANAGEMENT LP      12-09      $403-O                                COLLACCT
   3980798 YC COL   1   1 2-26-10       $403            2-10       ( 1) G
   42357896                                             $403
   ORIGINAL CREDITOR: CHARTER COMMUNICATIONS
  *CSD COLLECTIONS           11-08      $198-O                                COLLACCT
   1984222 YZ COL   1   1 1-05-09       $198            1-09       ( 1) G
   CSD08330028901014315                                 $198
   ORIGINAL CREDITOR: DIXIE ELECTRIC CORP
  *CREDIT ONE BANK            7-12      $500-L       $497-H      CLOSED      CURR ACCT
   3278143 BC CRC REV   1 10-31-13      $376        10-13          (16) BCCCCCCCCCCCC
   4447962209619646          10-13       $25                             CCC
   ** ACCOUNT CLOSED AT CREDIT GRANTOR'S REQUEST **
   TRICOLOR AUTO GROUP LL       4-13   $25,326-O                   PAID     CURR ACCT
   1826150 FA AUT 45-B 1     9-30-13                    9-13       ( 6) BCC--C
   17601                        5-13
   CHASE                       12-11   $22,298-O                   PAID     CURR ACCT
   4112850 BB AUT   72   2   6-29-13                    6-13       (18) BCCCCCCCCCCCC
                                    Page 3 of 5                                 Kapitus_000323
                               KAPITUS   EX. 13 - 323
Case 20-04009-elm Doc 68-6 Filed 09/21/21    Entered 09/21/21 23:36:41   Page 324 of 540



   528430645950                 6-13                                      CCCCC
   AARON SALES & LEASE OW      12-08    $2,467-O                   PAID      CURR ACCT
   1367380 HR LEA 13    1    1-04-10                    1-10       ( 1) B
   C06105054R                  12-09
   AARON SALES & LEASE OW       3-06    $3,024-O                   PAID      CURR ACCT
   1367380 HR LEA 24    1    1-16-07                    1-07       ( 1) B
   C0610615                    11-06
   PREFERRED CREDIT INC      11-10           UNK                   OPEN     CURR ACCT
   6903305 FZ ISC 36    2 11-04-13           $75      11-13        (33) CCCCCCCCCCCCC
   1095312                   10-13           $75                         CCCCCCCCCCCC
   ALLY FINANCIAL              5-13    $39,878-O                   OPEN     CURR ACCT
   1918788 FA AUT   75   2 11-01-13    $38,472        11-13        ( 6) CCCCCC
   005920706792               10-13       $717
   SANTANDER CONSUMER USA     7-10     $21,903-O                   OPEN     CURR ACCT
   0507170 FP AUT 72    1 10-31-13     $12,751        10-13        (40) CCCCCCCCCCCC-
   30000157766161000         10-13        $499                           CCCCCCCCCCCC
   CAP ONE                    11-11         $701-L     $714-H      OPEN     CURR ACCT
   1270246 BC CRC REV    1 10-20-13         $107      10-13        (23) C00CCCCCCCCCC
   517805879213               10-13          $25                         CCCCCCCCCC
   GECRB/AMER EAGLE            8-13         $400-L                 OPEN     CURR ACCT
   1600040 CG CHG REV    1 10-20-13           $0      10-13        ( 3) 000
   604410059283                              UNK
   WEBBANK/FINGERHUT          11-12         $250-L                 OPEN      CURR ACCT
   2244970 ND CHG REV    1 10-15-13           $0      10-13        ( 2) 00
   6276452009330207                          UNK
   GECRB/TOYS                  9-13         $750-L     $750-H      OPEN      CURR ACCT
   1950807 DV CHG REV    1 10-13-13         $750      10-13        ( 1) C
   604586100109                              $25
   TRICOLOR AUTO GROUP LL       4-13   $25,326-O                   OPEN      CURR ACCT
   1826150 FA AUT 45-B 1     9-30-13   $24,945          9-13       ( 1) C
   17601                        9-13      $838
   AFS ACCEPTANCE LLC           6-12   $17,200-O                   OPEN     CURR ACCT
   1007709 FA AUT 54     7   7-31-13   $14,604          7-13       (14) CCCCCCCCCCCCC
   130121771                    7-13      $529                           C
   --------------------------------- INQUIRIES ----------------------------------
   TD RETAIL CARD SERVICE 11-02-13 6209700 BC
   STRATEGIC FUNDING SOUR 10-29-13 1650360 FU
   CBNA/BBY                9-30-13 2145203 BB
   CBNA/THD                9-29-13 1002549 BC
   TIMEPAYMENT CORP LLC    9-26-13 1639850 FF
   FIRST VISION FINANCIAL 9-26-13 6903835 PC
   THD/CBNA                9-22-13 3178962 BC
   NORTHERN LEASING SYSTE 7-17-13 6902147 PC
   ALPHERA FINANCIAL SERV 5-25-13 1650800 FA
   DRIVE FINANCIAL         5-25-13 2614080 FA
   CAPITAL ONE AUTO FIN    5-25-13 1254780 FA
   BANKSTON CHEV FT WORTH 5-25-13 7963526 AN          UNK AUT
                                    Page 4 of 5                                   Kapitus_000324
                               KAPITUS   EX. 13 - 324
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41    Page 325 of 540



   STRATEGIC FUNDING SOUR    5-22-13   1650360   FU
   CREDCO                    4-29-13   3903978   ZA          AUT
   700 CREDIT/SATURN FORT    4-22-13   1455520   AU          AUT
   700 CREDIT/SATURN FORT    3-26-13   1455520   AU          AUT
   FORA FINANCIAL BUSINES    2-13-13   1988968   FP
   NORTHERN LEASING SYSTE   12-10-12   6902147   PC
   CHASE                    11-27-12   1864500   BB
   ROADLOANS.COM            10-30-12   1937812   FA
   AT&T SERVICES            10-09-12   1940891   UT
   ROADLOANS.COM             9-25-12   1937812   FA
   NORTHERN LEASING SYSTE    7-25-12   1924758   PC          COL
   CREDIT ONE BANK           7-09-12   3278143   BC
   AFS ACCEPTANCE LLC        6-19-12   1007708   FA
   AFS ACCEPTANCE LLC        5-07-12   1007708   FA
   AFS ACCEPTANCE LLC        4-27-12   1007708   FA
   ALLY FINANCIAL            4-24-12   1639000   FA          AUT
   NOWCOM/TEXAS AUTO OUTL    4-24-12   1934246   AU      UNK AUT
   GATEWAY ONE LENDING &     4-24-12   1654670   FA
   GATEWAY ONE LENDING &     4-23-12   1654670   FA
   CREDCO                    4-23-12   3903978   ZA          AUT
   CONSUMER PORTFOLIO SVC    4-23-12   1624220   FA
   ALL PRO MOTORS AND FIN    4-14-12   9960266   AU
   CHASE                    12-26-11   1255740   BC
   BANKSTON CHEV FT WORTH   12-21-11   7963526   AN      UNK AUT
   CHASE                    12-21-11   3113360   BB
   CAPITAL ONE AUTO FIN     12-21-11   1254780   FA
   CAP ONE                  11-13-11   1214383   BC
   --------------------------------- MESSAGES -----------------------------------
    MSG 335: F 08TOO MANY INQUIRIES LAST 12 MONTHS
   CONSUMER ASSISTANCE CONTACT: EXPERIAN
   701 EXPERIAN PARKWAY, PO BOX 2002, ALLEN, TX 75013     888.397.3742
   END -- EXPERIAN




                                    Page 5 of 5                                 Kapitus_000325
                               KAPITUS   EX. 13 - 325
Case 20-04009-elm Doc 68-6 Filed 09/21/21                                    Entered 09/21/21 23:36:41   Page 326 of 540



  Bridges,Dwayne 439377894;CA-628 Destin Dr/76131;VERIFY;VER FY-Y2/J2;H-Y;

  PAGE 1 DATE 10-21-2015                         TIME 15:57:21               V901   TTX8
   DWAYNE P BRIDGES                                                 SS:             7894    E: JUST CHILLIN HEATING
   628 DESTIN DR                                                    DOB:            72       00000
   FORT WORTH TX 761314255                                          SP: DANA                RPTD: 12-11 TO 2-15 U
   RPTD: 7-10 TO 10-15 U 21X
   LAST SUB: 3276502                                                                        E: JUST CHILLING HEATIN
                                                                                            628 DESTIN DRIVE
  *11238 BLUE JAY LN                                                                        FORT WORTH, TX 76131
   DENHAM SPRINGS LA 707261677                                                              RPTD: 7-12 TO 12-14 U
   RPTD: 2-09 TO 1-10 U 1X
   LAST SUB: 1367380                                                                        E: SELF
                                                                                            RPTD: 11-14 I
  *17210 OLIVE DR
   LIVINGSTON LA 707542155                                                                  E: SELF EMPLOYED
   RPTD: 5-07 TO 4-08 U                                                                     RPTD: 4-12 I
   LAST SUB: 3990772
  *17080 LISA DR
   LIVINGSTON LA 707542124
   RPTD: 1-07 TO 5-07 U
   LAST SUB: 9981147
  *17650 MELANCON RD
   LIVINGSTON LA 707543001
   RPTD: 1-05 TO 3-07 U 1X
   LAST SUB: 1367380
  *30260 EDEN CHURCH RD
   DENHAM SPRINGS LA 707267761
   RPTD: 9-04 TO 2-07 U
   LAST SUB: 9981147
  *18273 TABONY LN
   LIVINGSTON LA 707543227
   RPTD: 3-06 TO 8-06 U
   LAST SUB: 3990772
  *16352 OLD HAMMOND HWY TRLR 63
   BATON ROUGE LA 708161718
   RPTD: 4-99 TO 3-05 U
   LAST SUB: 3980530
  *31531 LINDER RD LOT 101
   DENHAM SPRINGS LA 707268504
   RPTD: 11-03 TO 6-04 U
   LAST SUB: 1984222
  *28381 LA HIGHWAY 16
   DENHAM SPRINGS LA 707267836
   RPTD: 1-04 U
   LAST SUB: 0940029
  *9921 GREAT SMOKEY AVE
   BATON ROUGE LA 708144326
                                                            Page 1 of 7                                         Kapitus_000326
                                                       KAPITUS   EX. 13 - 326
Case 20-04009-elm Doc 68-6 Filed 09/21/21    Entered 09/21/21 23:36:41    Page 327 of 540



   RPTD: 1-02 U
   LAST SUB: 8600165
  *BRIDGE DWAYNE
   ---------------------------- FRAUD SHIELD SUMMARY ----------------------------
   INPUT SSN ISSUED 1978-1980                 INQ: TRADE CONTRACTOR-SPECIAL TRADE
   MORE THAN 3 INQUIRIES IN THE LAST 30 DAYS       JUST CHILLIN HEATING & AIR
   FROM 7-01-15 INQ COUNT FOR SSN=19               628 DESTIN DR
   FROM 7-01-15 INQ COUNT FOR ADDRESS=24           FORT WORTH TX 76131
                                                   682.224.5457
   ------------------------------ PROFILE SUMMARY -------------------------------
                                                                  CNT 00/00/00/03
   PUBLIC RECORDS-------0 PAST DUE AMT--------$0 INQUIRIES--87 SATIS ACCTS--38
   INST/OTH BAL--$108,847 SCH/EST PAY-----$4,702 INQS/6 MO--37 NOW DEL/DRG---0
   R ESTATE BAL-------N/A R ESTATE PAY-------N/A TRADELINE--41 WAS DEL/DRG---3
   TOT REV BAL-----$5,680 TOT REV AVAIL------87% PAID ACCT--12 OLD TRADE--3-06
   ------------------------------- SCORE SUMMARY --------------------------------
   FICO RISK SCORE 2                    =   632    SCORE FACTORS: 40, 14, 20, 08
   ----------------------------------- TRADES -----------------------------------
   SUBSCRIBER                 OPEN    AMT-TYP1    AMT-TYP2 ACCTCOND   PYMT STATUS
   SUB#   KOB TYP TRM ECOA BALDATE     BALANCE   PYMT LEVEL MOS REV PYMT HISTORY
   ACCOUNT #               LAST PD   MONTH PAY    PAST DUE MAXIMUM     BY MONTH
  *SYNCB/JCP                 11-14      $1,000-L        $332-H CRCDLOST     CURR ACCT
   3321860 DC CHG REV   1 7-28-15                       7-15       (10) BCCCCCCCCC
   600889538252               6-15
   ** CREDIT CARD LOST OR STOLEN **
  *FNCL CORP OF AMERICA       8-14      $353-O                     PAID      COLLACCT
   0987696 YC COL   1   2 1-21-15                       1-15       ( 4) B--G
   31191436                  12-14
   ORIGINAL CREDITOR: MEDICAL PAYMENT DATA
  *FNCL CORP OF AMERICA       6-14      $502-O                     PAID      COLLACCT
   0987696 YC COL   1   2 1-21-15                       1-15       ( 6) B----G
   30826647                  12-14
   ORIGINAL CREDITOR: MEDICAL PAYMENT DATA
  *FNCL CORP OF AMERICA       9-14      $886-O                     PAID        COLLACCT
   0987696 YC COL   1   2 1-21-15                       1-15       ( 3) B-G
   31444224                  12-14
   ORIGINAL CREDITOR: MEDICAL PAYMENT DATA
   CONNS CREDIT CORP           12-13   $12,999-O                   PAID     CURR ACCT
   0377035 DC SEC 32     1   6-05-15                    6-15       (21) B00CCCCCCCCCC
   432744330                    6-15                                     CCCCCCCC
   PREFERRED CREDIT INC      11-10           UNK                   PAID     CURR ACCT
   6903305 FZ ISC 36    2 12-04-13                    12-13        (34) BCCCCCCCCCCCC
   1095312                   11-13                                       CCCCCCCCCCCC
   SANTANDER CONSUMER USA     7-10     $21,903-O                   PAID     CURR ACCT
   0507170 FP AUT 72    1 11-30-13                    11-13        (41) BCCCCCCCCCCCC
   30000157766161000         11-13                                       -CCCCCCCCCCC
  *CREDIT ONE BANK NA           7-12        $500-L
                                    Page 2 of 7
                                                        $497-H     PAID         Kapitus_000327
                                                                              CURR ACCT
                               KAPITUS   EX. 13 - 327
Case 20-04009-elm Doc 68-6 Filed 09/21/21     Entered 09/21/21 23:36:41    Page 328 of 540



   3278143 BC CRC REV   1 11-21-13                  11-13           (17) BCCCCCCCCCCCC
   4447962209619646          11-13                                        CCCC
   ** ACCOUNT CLOSED AT CREDIT GRANTOR'S REQUEST **
   TRICOLOR AUTO GROUP LL       4-13   $25,326-O                    PAID     CURR ACCT
   1826150 FA AUT 45-B 1     9-30-13                     9-13       ( 6) BCC--C
   17601                        5-13
   CHASE                       12-11   $22,298-O                    PAID     CURR ACCT
   4112850 BB AUT   72   2   6-29-13                     6-13       (18) BCCCCCCCCCCCC
   528430645950                 6-13                                      CCCCC
   AARON SALES & LEASE OW      12-08     $2,467-O                   PAID       CURR ACCT
   1367380 HR LEA 13    1    1-04-10                     1-10       ( 1) B
   C06105054R                  12-09
   AARON SALES & LEASE OW       3-06     $3,024-O                   PAID       CURR ACCT
   1367380 HR LEA 24    1    1-16-07                     1-07       ( 1) B
   C0610615                    11-06
   DISCOVER FIN SVCS LLC      10-15      $1,300-L                   OPEN       CURR ACCT
   3276502 BC CRC REV    1 10-19-15          $0        10-15        ( 1) 0
   601100146141                             UNK
   MERRICK BANK               12-14      $1,400-L       $448-H      OPEN     CURR ACCT
   0206610 BC CRC REV    1 10-15-15          $0        10-15        (11) 0000CCCCCC0
   4120614096158295            6-15         $35
   CHASE CARD                  9-15         $500-L                  OPEN       CURR ACCT
   3182310 BC CRC REV    1 10-15-15           $0       10-15        ( 1) 0
   464018211298                              UNK
   SYNCB/ROOMS TO GO           9-15      $2,000-L     $1,998-H      OPEN       CURR ACCT
   1234900 BC CHG REV    1 10-14-15      $1,998        10-15        ( 1) C
   601919123429                             $59
   MIDAMERICA/MILESTONE/G     3-15          $300-L       $75-H      OPEN     CURR ACCT
   1933961 FU CRC REV   1 10-14-15            $0       10-15        ( 8) 000000CC
   5410510000336991           4-15           $35
   SYNCB/TOYSRUS               9-13      $1,200-L       $799-H      OPEN     CURR ACCT
   1950807 DV CHG REV    1 10-13-15          $0        10-15        (25) 000CCCCCCCCCC
   604586100109                5-15         $25                           000000000CCC
   CAPITAL ONE BANK USA N    11-14          $750-L      $488-H      OPEN     CURR ACCT
   1270246 BC CRC REV   1 10-12-15            $0       10-15        (11) 0000CCCCCCC
   517805814377               7-15           $25
   CAPITAL ONE BANK USA N    11-14          $750-L      $532-H      OPEN     CURR ACCT
   1270246 BC CRC REV   1 10-12-15            $0       10-15        (11) 0CCCCCCCCCC
   517805772646               9-15            $2
   BARCLAYS BANK DELAWARE     9-15       $2,500-L                   OPEN       CURR ACCT
   1223850 BC CRC REV   1 10-10-15           $0        10-15        ( 2) 00
   000248244008238                          UNK
   HCCREDIT/FEB                7-15    $10,000-L                    OPEN     CURR ACCT
   1939029 BC CRC REV    1 10-07-15         $0         10-15        ( 3) 000
   7143770                                 UNK
   WORLDS FOREMOST BANK N      11-14     $6,000-L     $4,078-H      OPEN       CURR ACCT
                                       Page 3 of 7                                Kapitus_000328
                               KAPITUS EX. 13 - 328
Case 20-04009-elm Doc 68-6 Filed 09/21/21    Entered 09/21/21 23:36:41   Page 329 of 540



   2218590 BC CRC REV    1 10-07-15           $0      10-15        (11) 0CCCCCCCCC0
   4300230191368812           10-15          $24
   FIRST PREMIER BANK         12-13         $800-L     $712-H      OPEN     CURR ACCT
   1210189 BC CRC REV    1 10-06-15          $14      10-15        (22) CCCCCCCCCCCCC
   5178006458379791            9-15          $14                         00CCCCCCC
   CCS/FIRST SAVINGS BANK     6-15      $1,500-L        $75-H      OPEN      CURR ACCT
   2218120 BC CRC REV   1 10-02-15          $0        10-15        ( 4) 00CC
   5433601190553033           7-15         $30
   ALLY FINANCIAL             12-14    $24,061-O                   OPEN     CURR ACCT
   1918788 FA AUT   72   2 10-01-15    $22,292        10-15        (10) CCCCCCCCCC
   005921416061                9-15       $477
   ALLY FINANCIAL              5-13    $39,878-O                   OPEN     CURR ACCT
   1918788 FA AUT   75   2 10-01-15    $28,371        10-15        (29) CCCCCCCCCCCCC
   005920706792                9-15       $717                           CCCCCCCCCCCC
   CONNS CREDIT CORP            6-15   $15,589-O                   OPEN      CURR ACCT
   0377035 DC SEC 32     1   9-30-15   $13,987          9-15       ( 4) CCCC
   432744331                    9-15      $487
   AFS ACCEPTANCE LLC           6-12   $17,200-O                   OPEN     CURR ACCT
   1007709 FA AUT 54     7   9-30-15    $6,778          9-15       (40) CCCCCCCCCC-CC
   130121771                    9-15      $529                           CCCCCCCCCCCC
   TRICOLOR AUTO GROUP LL       4-13   $25,326-O                   OPEN     CURR ACCT
   1826150 FA AUT 45-B 1     9-30-15   $11,854          9-15       (25) CCCCCCCCCCCCC
   17601                        9-15      $838                           CCCCCCCCCCCC
   MODEL FINANCE COMPANY       10-14   $14,000-O                   OPEN     CURR ACCT
   3521759 FP REC 48     1   9-30-15   $11,615          9-15       (12) CCCCCCCCCCCC
   31041509                     9-15      $411
   CHASE                       11-13   $32,106-O                   OPEN     CURR ACCT
   4112850 BB AUT   72   1   9-30-15   $13,950          9-15       (23) CCCCCCCCCCCCC
   528430966962                 7-15      $752                           CCCCCCCCCC
   FSB BLAZE                    6-15    $1,500-L         $75-H     OPEN      CURR ACCT
   4146150 BC CRC REV    1   9-28-15        $0          9-15       ( 4) 00CC
   5182130005590140             7-15       $30
   FIRST PREMIER BANK           2-15        $400-L      $372-H     OPEN     CURR ACCT
   1210189 BC CRC REV    1   9-27-15          $0        9-15       ( 8) 000CCCCC
   5178006525044394             6-15         $30
   SYNCB/CONNS                  9-15    $2,000-L                   OPEN      CURR ACCT
   1232870 BC CHG REV    1   9-25-15        $0          9-15       ( 1) 0
   603459063543                            UNK
   CCS/FIRST NATIONAL BAN       6-15    $1,500-L     $1,293-H      OPEN      CURR ACCT
   1211670 BC CRC REV   1    9-23-15        $0         9-15        ( 4) 0CCC
   4239801106760941             7-15       $69
   CAPITAL ONE BANK USA N      11-11        $701-L      $714-H     OPEN     CURR ACCT
   1270246 BC CRC REV   1    9-20-15         $22        9-15       (46) C0CC0CCCCCCCC
   517805948727                 9-15         $22                         CCCCCCCCCCC0
   COMENITY BANK/GNDRMTMC      11-14    $8,700-L     $7,500-H      OPEN     CURR ACCT
   1360490 BC CRC REV   1    9-20-15    $3,646         9-15        (11) CC0CCCCCCCC
                                    Page 4 of 7                                 Kapitus_000329
                               KAPITUS   EX. 13 - 329
Case 20-04009-elm Doc 68-6 Filed 09/21/21    Entered 09/21/21 23:36:41   Page 330 of 540



   520130002826                 9-15         $37
   SYNCB/AMER EAGLE             8-13        $600-L      $674-H     OPEN     CURR ACCT
   1600040 CG CHG REV    1   9-17-15          $0        9-15       (26) 0C0CCCCCCCCCC
   604410059283                 8-15         $25                         00CCC0CC0000
   SYNCB/JCP                   11-14   $1,000-L         $332-H     OPEN     CURR ACCT
   3321860 DC CHG REV    1   9-15-15       $0           9-15       (11) 000CCCCCCCC
   600889538927                 6-15      UNK
   WEBBANK/FINGERHUT           11-12        $450-L      $496-H     OPEN     CURR ACCT
   2244970 ND CHG REV    1   5-15-15          $0        5-15       (21) 0CCC---------
   6369921024319955             4-15         $29                         -0000-00
   --------------------------------- INQUIRIES ----------------------------------
   CBCINNOVIS             10-21-15 1389030 BB             I/L
   BUSINESS FINANCIAL SER 10-21-15 1392086 FZ
   JPM CHASE              10-21-15 1864500 BB
   FLASH ADVANCE          10-21-15 1978615 FW
   2DOLLAR CAPITAL LLC    10-21-15 1989431 FZ             P/S
   PEARL CAPITAL BUSINESS 10-21-15 2441920 FW             BUS
   EXPERIAN BUSINESS CRED 10-21-15 4301099 ZC         UNK BUS
   EXPERIAN BUSINESS CRED 10-21-15 4301099 ZC         UNK BUS
   EXPERIAN BUSINESS CRED 10-16-15 4301099 ZC         UNK BUS
   US BANK CONSOLIDATED   10-08-15 2141255 BB
   SONIC-FORT WORTH T INC 10-03-15 1868230 AN
   CBNA/BBY                9-29-15 2145203 BB
   SYNCB                   9-26-15 1223465 FF
   SYNCB                   9-24-15 1223465 FF
   CBNA                    9-20-15 1240750 BC
   CHASE CARD              9-11-15 1203600 BC
   CHASE CARD              9-10-15 1203600 BC
   CHASE CARD              8-20-15 1203600 BC
   BK OF AMER              8-20-15 1217350 BC
   CBNA/SEARS              8-09-15 1351440 DC
   CAP ONE NA              8-04-15 1103317 BC
   SYNCB                   7-17-15 1223465 FF
   SUNTRUST                7-13-15 1151880 BB
   CERTIFIED CREDIT REPOR 5-27-15 1972664 FR              R/E
   CHASE CARD              5-19-15 1203600 BC
   CBNA/SEARS              5-17-15 1351440 DC
   CBNA                    5-17-15 3178962 ZR
   1ST MERCHANT FUNDING L 5-14-15 1124276 FW
   DISCOVER FINANCIAL SER 5-09-15 1224590 BC
   PEARL CAPITAL BUSINESS 5-08-15 2441920 FW              BUS
   YELLOWSTONE CAPITAL     5-07-15 1894700 WP
   DIAMOND FUNDING GROUP   5-07-15 2142340 FW
   CHASE MTG               5-04-15 1001278 FM         UNK R/E
   CHASE CARD              5-01-15 1203600 BC
   CHASE CARD              4-27-15 1203600 BC
   CAP ONE NA              4-16-15 1103317 BC
   CHASE CARD              4-06-15 1203600 BC
   SYNCB                   2-02-15 1223465 FF
                                    Page 5 of 7                                 Kapitus_000330
                               KAPITUS   EX. 13 - 330
Case 20-04009-elm Doc 68-6 Filed 09/21/21     Entered 09/21/21 23:36:41   Page 331 of 540



   SPRINGLEAF FINANCIAL S    2-01-15   2544770   FP
   CBNA/BBY                  1-27-15   2145203   BB
   ONEMAIN FINANCIAL         1-25-15   1565540   FP
   JPM CHASE                 1-06-15   1864500   BB
   CARFINANCE.COM           12-22-14   1917258   FA
   GATEWAY ONE LENDING &    12-22-14   1654670   FA
   CAPITAL ONE AUTO FIN     12-22-14   1254780   FA
   700 CREDIT/MAC CHURCHI   12-22-14   2283430   AU        UNK AUT
   MOBILITY CREDIT UNION    12-22-14   1600065   FC
   SANTANDER CONSUMER USA   12-22-14   1912477   FZ
   SANTANDER CONSUMER USA   12-13-14   1912477   FZ
   NOWCOM/WESTLAKE FINANC   12-13-14   1620920   FA        UNK AUT
   CAPITAL ONE AUTO FIN     12-13-14   1254780   FA
   ACRANET/KNIGHT CAPITAL   12-08-14   1114635   FZ        UNK R/E
   NTB/CBNA                 12-02-14   1326480   AT
   ELAN FINANCIAL SERVICE   11-24-14   3139290   BB
   CBNA/SEARS               11-20-14   1351440   DC
   CBNA/BBY                 11-17-14   2145203   BB
   CAP ONE NA               11-14-14   1103317   BC
   TOTAL MERCHANT SERVICE   11-11-14   8909214   WP            LBP
   TOTAL MERCHANT SERVICE   11-10-14   8909214   WP            LBP
   CBNA/THD                 11-09-14   1002549   BC
   SPRINGLEAF FINANCIAL S   11-09-14   2544770   FP
   JPM CHASE                11-04-14   1864500   BB
   MODEL FINANCE COMPANY    10-09-14   3521759   FP
   FNB OMAHA                 9-24-14   0203000   BC
   CBNA                      9-14-14   3178962   ZR
   AMEX                      7-15-14   1234990   BC
   CAPITAL ONE AUTO FIN      7-10-14   1254780   FA
   SANTANDER CONSUMER USA    7-10-14   1912477   FZ
   CHASE CARD                6-04-14   0107550   WP
   EQUIFAX                   5-14-14   1988511   FR        UNK R/C
   CAP ONE NA                3-17-14   1103317   BC
   FORA FINANCIAL ADVANCE    3-14-14   1925459   FZ
   JPM CHASE                 3-03-14   1864500   BB
   MARLIN                    2-21-14   7993929   PC
   CHASE CARD                2-14-14   1255740   BC
   POWER PAY LLC             1-23-14   5903130   WP
   MSCG                      1-22-14   1198489   FZ
   FORA FINANCIAL BUSINES    1-21-14   1988968   FP
   SPRINGLEAF FINANCIAL S    1-03-14   2544770   FP
   CBNA                     12-21-13   3178962   ZR
   CAP ONE                  12-20-13   1214383   BC
   CHASE MTG                12-09-13   1881739   FM            R/E
   KOHLS/CAPONE             11-16-13   1926637   DC
   SANTANDER CONSUMER USA   11-15-13   1912477   FZ
   CAPITAL ONE AUTO FIN     11-15-13   1254780   FA
   TD RETAIL CARD SERVICE   11-02-13   6209700   BC
   STRATEGIC FUNDING SOUR   10-29-13   1650360   FU
   CONSUMER ASSISTANCE CONTACT:    EXPERIAN
                                    Page 6 of 7                                  Kapitus_000331
                               KAPITUS   EX. 13 - 331
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41    Page 332 of 540



   701 EXPERIAN PARKWAY, PO BOX 2002, ALLEN, TX 75013     888.397.3742
   END -- EXPERIAN




                                   Page 7 of 7                                  Kapitus_000332
                              KAPITUS   EX. 13 - 332
Case 20-04009-elm Doc 68-6 Filed 09/21/21                                    Entered 09/21/21 23:36:41   Page 333 of 540



  Bridges,Dwayne 439377894;CA-628 Destin Dr/76131;VERIFY;VER FY-Y2/J2;H-Y;

  PAGE 1 DATE 12-11-2015                         TIME 16:12:56               V601   TTX8
   DWAYNE BRIDGES                                                   SS:             7894    E: JUST CHILLIN HEATING
   628 DESTIN DR                                                    DOB:            72       00000
   FORT WORTH TX 761314255                                          SP: DANA                RPTD: 12-11 TO 12-15 U
   RPTD: 7-10 TO 12-15 U 25X
   LAST SUB: 3758795                                                                        E: JUST CHILLING HEATIN
                                                                                            628 DESTIN DRIVE
  *11238 BLUE JAY LN                                                                        FORT WORTH, TX 76131
   DENHAM SPRINGS LA 707261677                                                              RPTD: 7-12 TO 12-14 U
   RPTD: 2-09 TO 1-10 U 1X
   LAST SUB: 1367380                                                                        E: SELF
                                                                                            RPTD: 11-14 I
  *17210 OLIVE DR
   LIVINGSTON LA 707542155                                                                  E: SELF EMPLOYED
   RPTD: 5-07 TO 4-08 U                                                                     RPTD: 4-12 I
   LAST SUB: 3990772
  *17080 LISA DR
   LIVINGSTON LA 707542124
   RPTD: 1-07 TO 5-07 U
   LAST SUB: 9981147
  *17650 MELANCON RD
   LIVINGSTON LA 707543001
   RPTD: 1-05 TO 3-07 U 1X
   LAST SUB: 1367380
  *30260 EDEN CHURCH RD
   DENHAM SPRINGS LA 707267761
   RPTD: 9-04 TO 2-07 U
   LAST SUB: 9981147
  *18273 TABONY LN
   LIVINGSTON LA 707543227
   RPTD: 3-06 TO 8-06 U
   LAST SUB: 3990772
  *16352 OLD HAMMOND HWY TRLR 63
   BATON ROUGE LA 708161718
   RPTD: 4-99 TO 3-05 U
   LAST SUB: 3980530
  *31531 LINDER RD LOT 101
   DENHAM SPRINGS LA 707268504
   RPTD: 11-03 TO 6-04 U
   LAST SUB: 1984222
  *28381 LA HIGHWAY 16
   DENHAM SPRINGS LA 707267836
   RPTD: 1-04 U
   LAST SUB: 0940029
  *9921 GREAT SMOKEY AVE
   BATON ROUGE LA 708144326
                                                            Page 1 of 7                                         Kapitus_000333
                                                       KAPITUS   EX. 13 - 333
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41    Page 334 of 540



   RPTD: 1-02 U
   LAST SUB: 8600165
  *BRIDGE DWAYNE
   ---------------------------- FRAUD SHIELD SUMMARY ----------------------------
   INPUT SSN ISSUED 1978-1980                 INQ: TRADE CONTRACTOR-SPECIAL TRADE
   MORE THAN 3 INQUIRIES IN THE LAST 30 DAYS       JUST CHILLIN HEATING & AIR
   FROM 9-01-15 INQ COUNT FOR SSN=30               628 DESTIN DR
   FROM 9-01-15 INQ COUNT FOR ADDRESS=38           FORT WORTH TX 76131
                                                   682.224.5457
   ------------------------------ PROFILE SUMMARY -------------------------------
                                                                  CNT 00/00/00/03
   PUBLIC RECORDS-------0 PAST DUE AMT--------$0 INQUIRIES-101 SATIS ACCTS--42
   INST/OTH BAL--$246,212 SCH/EST PAY-----$7,507 INQS/6 MO--42 NOW DEL/DRG---0
   R ESTATE BAL-------N/A R ESTATE PAY-------N/A TRADELINE--45 WAS DEL/DRG---3
   TOT REV BAL-----$6,328 TOT REV AVAIL------86% PAID ACCT--13 OLD TRADE--3-06
   ------------------------------- SCORE SUMMARY --------------------------------
   FICO RISK SCORE 2                    =   629    SCORE FACTORS: 40, 14, 20, 08
   ----------------------------------- TRADES -----------------------------------
   SUBSCRIBER                 OPEN    AMT-TYP1    AMT-TYP2 ACCTCOND   PYMT STATUS
   SUB#   KOB TYP TRM ECOA BALDATE     BALANCE   PYMT LEVEL MOS REV PYMT HISTORY
   ACCOUNT #               LAST PD   MONTH PAY    PAST DUE MAXIMUM     BY MONTH
  *SYNCB/JCP                 11-14      $1,000-L       $332-H CRCDLOST     CURR ACCT
   3321860 DC CHG REV   1 7-28-15                      7-15       (10) BCCCCCCCCC
   600889538252               6-15
   ** CREDIT CARD LOST OR STOLEN **
  *FNCL CORP OF AMERICA       8-14      $353-O                    PAID      COLLACCT
   0987696 YC COL   1   2 1-21-15                      1-15       ( 4) B--G
   31191436                  12-14
   ORIGINAL CREDITOR: MEDICAL PAYMENT DATA
  *FNCL CORP OF AMERICA       6-14      $502-O                    PAID      COLLACCT
   0987696 YC COL   1   2 1-21-15                      1-15       ( 6) B----G
   30826647                  12-14
   ORIGINAL CREDITOR: MEDICAL PAYMENT DATA
  *FNCL CORP OF AMERICA       9-14      $886-O                    PAID        COLLACCT
   0987696 YC COL   1   2 1-21-15                      1-15       ( 3) B-G
   31444224                  12-14
   ORIGINAL CREDITOR: MEDICAL PAYMENT DATA
   ALLY FINANCIAL              5-13    $39,878-O                  PAID     CURR ACCT
   1918788 FA AUT   75   2 11-02-15                  11-15        (30) BCCCCCCCCCCCC
   005920706792               10-15                                     CCCCCCCCCCCC
   CONNS CREDIT CORP           12-13   $12,999-O                  PAID     CURR ACCT
   0377035 DC SEC 32     1   6-05-15                   6-15       (24) B00000CCCCCCC
   432744330                    6-15                                    CCCCCCCCCCC
   PREFERRED CREDIT INC      11-10          UNK                   PAID     CURR ACCT
   6903305 FZ ISC 36    2 12-04-13                   12-13        (34) BCCCCCCCCCCCC
   1095312                   11-13                                      CCCCCCCCCCCC
   SANTANDER CONSUMER USA       7-10   $21,903-O
                                    Page 2 of 7
                                                                  PAID         Kapitus_000334
                                                                             CURR ACCT
                               KAPITUS   EX. 13 - 334
Case 20-04009-elm Doc 68-6 Filed 09/21/21     Entered 09/21/21 23:36:41    Page 335 of 540



   0507170 FP AUT 72     1 11-30-13                    11-13        (41) BCCCCCCCCCCCC
   30000157766161000          11-13                                       -CCCCCCCCCCC
  *CREDIT ONE BANK NA         7-12      $500-L       $497-H         PAID     CURR ACCT
   3278143 BC CRC REV   1 11-21-13                  11-13           (17) BCCCCCCCCCCCC
   4447962209619646          11-13                                        CCCC
   ** ACCOUNT CLOSED AT CREDIT GRANTOR'S REQUEST **
   TRICOLOR AUTO GROUP LL       4-13   $25,326-O                    PAID     CURR ACCT
   1826150 FA AUT 45-B 1     9-30-13                     9-13       ( 6) BCC--C
   17601                        5-13
   CHASE                       12-11   $22,298-O                    PAID     CURR ACCT
   4112850 BB AUT   72   2   6-29-13                     6-13       (18) BCCCCCCCCCCCC
   528430645950                 6-13                                      CCCCC
   AARON SALES & LEASE OW      12-08     $2,467-O                   PAID       CURR ACCT
   1367380 HR LEA 13    1    1-04-10                     1-10       ( 1) B
   C06105054R                  12-09
   AARON SALES & LEASE OW       3-06     $3,024-O                   PAID       CURR ACCT
   1367380 HR LEA 24    1    1-16-07                     1-07       ( 1) B
   C0610615                    11-06
   BARCLAYS BANK DELAWARE     9-15       $2,500-L     $1,751-H      OPEN      CURR ACCT
   1223850 BC CRC REV   1 12-10-15           $0        12-15        ( 4) 0000
   000248244008238           12-15          UNK
   HCCREDIT/FEB                7-15    $10,000-L                    OPEN     CURR ACCT
   1939029 BC CRC REV    1 12-07-15         $0         12-15        ( 5) 00000
   7143770                                 UNK
   WORLDS FOREMOST BANK N    11-14       $6,000-L     $5,000-H      OPEN     CURR ACCT
   2218590 BC CRC REV   1 12-07-15       $2,712        12-15        (13) CCCCCCCCCCCC0
   4300230191368812          11-15          $54
   FIRST PREMIER BANK         12-13         $800-L      $712-H      OPEN     CURR ACCT
   1210189 BC CRC REV    1 12-06-15          $14       12-15        (24) CCCCCCCCCCCCC
   5178006458379791           12-15          $14                          CC00CCCCCCC
   CCS/FIRST SAVINGS BANK     6-15       $1,500-L        $75-H      OPEN     CURR ACCT
   2218120 BC CRC REV   1 12-03-15           $0        12-15        ( 6) 0000CC
   5433601190553033           7-15          $30
   CONNS CREDIT CORP           6-15    $15,589-O                    OPEN     CURR ACCT
   0377035 DC SEC 32     1 11-30-15    $13,013         11-15        ( 6) CCCCCC
   432744331                  11-15       $487
   AFS ACCEPTANCE LLC          6-12    $17,200-O                    OPEN     CURR ACCT
   1007709 FA AUT 54     7 11-30-15     $5,980         11-15        (42) CCCCCCCCCCCC-
   130121771                  11-15       $529                            CCCCCCCCCCCC
   SUNTRUST BK TAMPA BAY      11-15    $63,684-O                    OPEN       CURR ACCT
   1199418 BB AUT 72     1 11-30-15    $63,935         11-15        ( 1) C
   65600006565913495                    $1,031
   TRICOLOR AUTO GROUP LL    4-13      $25,326-O                    OPEN     CURR ACCT
   1826150 FA AUT 45-B 1 11-30-15      $10,617         11-15        (27) CCCCCCCCCCCCC
   17601                    11-15         $838                            CCCCCCCCCCCC
   ALLY FINANCIAL              12-14   $24,061-O                    OPEN       CURR ACCT
                                       Page 3 of 7                                Kapitus_000335
                               KAPITUS EX. 13 - 335
Case 20-04009-elm Doc 68-6 Filed 09/21/21    Entered 09/21/21 23:36:41   Page 336 of 540



   1918788 FA AUT   72   2 11-30-15   $21,780         11-15        (12) CCCCCCCCCCCC
   005921416061               11-15      $477
   MODEL FINANCE COMPANY      10-14   $14,000-O                    OPEN     CURR ACCT
   3521759 FP REC 48     1 11-30-15   $11,139         11-15        (14) CCCCCCCCCCCCC
   31041509                   11-15      $411                            C
   TOYOTA MOTOR CREDIT CO    10-15    $79,296-O                    OPEN      CURR ACCT
   3604010 FA AUT 72    7 11-30-15    $77,371         11-15        ( 2) CC
   70400867643190001         11-15     $1,279
   DATCU                      11-15   $10,305-O                    OPEN      CURR ACCT
   3758795 FC REC   72   1 11-30-15   $10,305         11-15        ( 1) C
   5111170001                            $173
   CHASE                      11-13   $32,106-O                    OPEN     CURR ACCT
   4112850 BB AUT   72   1 11-30-15   $12,371         11-15        (25) CCCCCCCCCCCCC
   528430966962               11-15      $752                            CCCCCCCCCCCC
   FIRST PREMIER BANK          2-15         $400-L     $372-H      OPEN     CURR ACCT
   1210189 BC CRC REV    1 11-27-15           $0      11-15        (10) 00000CCCCC
   5178006525044394            6-15          $30
   FSB BLAZE                   6-15    $1,500-L        $374-H      OPEN     CURR ACCT
   4146150 BC CRC REV    1 11-27-15      $374         11-15        ( 6) C000CC
   5182130005590140            7-15       $30
   CHASE CARD                  9-15         $500-L     $434-H      OPEN      CURR ACCT
   3182310 BC CRC REV    1 11-26-15           $0      11-15        ( 2) 0C
   464018211298               11-15          $25
   CCS/FIRST NATIONAL BAN     6-15     $1,500-L      $1,293-H      OPEN     CURR ACCT
   1211670 BC CRC REV   1 11-23-15         $0         11-15        ( 6) 000CCC
   4239801106760941           7-15        $69
   CAPITAL ONE BANK USA N    11-11          $701-L     $714-H      OPEN     CURR ACCT
   1270246 BC CRC REV   1 11-20-15           $44      11-15        (48) CCC0CC0CCCCCC
   517805948727              11-15           $25                         CCCCCCCCCCCC
   COMENITY BANK/GNDRMTMC    11-14     $8,700-L      $7,500-H      OPEN     CURR ACCT
   1360490 BC CRC REV   1 11-20-15         $0         11-15        (13) 0CCC0CCCCCCCC
   520130002826              11-15        $37
   DISCOVER FIN SVCS LLC      10-15    $1,300-L                    OPEN      CURR ACCT
   3276502 BC CRC REV    1 11-19-15        $0         11-15        ( 2) 00
   601100146141                           UNK
   SYNCB/CONNS                 9-15    $2,000-L        $627-H      OPEN     CURR ACCT
   1232870 BC CHG REV    1 11-18-15      $609         11-15        ( 3) CC0
   603459063543               11-15       $18
   SYNCB/AMER EAGLE            8-13         $600-L     $674-H      OPEN     CURR ACCT
   1600040 CG CHG REV    1 11-17-15         $474      11-15        (28) C0CC0CCCCCCCC
   604410059283                8-15          $25                         CC00CCC0CC00
   MERRICK BANK               12-14    $1,400-L        $448-H      OPEN     CURR ACCT
   0206610 BC CRC REV    1 11-15-15        $0         11-15        (12) 00000CCCCCC0
   4120614096158295            6-15       $35
   SYNCB/ROOMS TO GO           9-15    $2,000-L      $2,023-H      OPEN      CURR ACCT
   1234900 BC CHG REV    1 11-15-15    $2,023         11-15        ( 2) CC
                                   Page 4 of 7                                  Kapitus_000336
                              KAPITUS   EX. 13 - 336
Case 20-04009-elm Doc 68-6 Filed 09/21/21    Entered 09/21/21 23:36:41   Page 337 of 540



   601919123429                              $84
   SYNCB/JCP                  11-14     $1,000-L       $332-H      OPEN     CURR ACCT
   3321860 DC CHG REV    1 11-15-15         $0        11-15        (13) 00000CCCCCCCC
   600889538927                6-15        UNK
   MIDAMERICA/MILESTONE/G     3-15          $300-L      $75-H      OPEN     CURR ACCT
   1933961 FU CRC REV   1 11-14-15            $0      11-15        ( 9) 0000000CC
   5410510000336991           4-15           $35
   CAPITAL ONE BANK USA N    11-14          $750-L     $532-H      OPEN     CURR ACCT
   1270246 BC CRC REV   1 11-12-15           $39      11-15        (12) C0CCCCCCCCCC
   517805772646               9-15           $25
   CAPITAL ONE BANK USA N    11-14          $750-L     $488-H      OPEN     CURR ACCT
   1270246 BC CRC REV   1 11-12-15           $39      11-15        (12) C0000CCCCCCC
   517805814377               7-15           $25
   SYNCB/TOYSRUS               9-13     $1,200-L       $799-H      OPEN     CURR ACCT
   1950807 DV CHG REV    1 11-12-15         $0        11-15        (26) 0000CCCCCCCCC
   604586100109                5-15        $25                           C000000000CC
   AVANT INC                   8-15    $20,000-O                   OPEN      CURR ACCT
   2104507 FP UNS   36   1 10-31-15    $19,701        10-15        ( 2) CC
   938595                     10-15       $915
   WEBBANK/FINGERHUT           11-12        $450-L      $496-H     OPEN     CURR ACCT
   2244970 ND CHG REV    1   5-15-15          $0        5-15       (21) 0CCC---------
   6369921024319955             4-15         $29                         -0000-00
   --------------------------------- INQUIRIES ----------------------------------
   MICROBILT              12-11-15 1000936 ZF             UNS
   SWIFT CAPITAL          12-11-15 1203610 FZ
   FNB OMAHA              12-10-15 0203040 BC
   CASH CENTRAL           12-09-15 1024662 PM
   BK OF AMER             12-08-15 1217350 BC
   CHASE MTG              12-07-15 1001275 FM         UNK R/E
   EMS/QUICKEN LOANS      12-07-15 1919673 FM         UNK R/E
   CHASE CARD             12-07-15 1203600 BC
   MODEL FINANCE COMPANY 11-10-15 3521759 FP
   ONEMAIN FINANCIAL      11-06-15 1565540 FP
   SONIC-FORT WORTH T INC 11-03-15 1868230 AN
   MYBUSINESSLOAN.COM/DEA 11-02-15 1152832 FZ             BUS
   CBNA                   10-29-15 3178962 ZR
   CHASE CARD             10-22-15 1203600 BC
   CAN CAPITAL MERC SRV,I 10-22-15 1571570 FZ             LBP
   MICROBILT              10-22-15 1000936 ZF             UNS
   SWIFT CAPITAL          10-22-15 1203610 FZ
   EXPERIAN BUSINESS CRED 10-22-15 4301099 ZC         UNK BUS
   STRATEGIC FUNDING SOUR 10-21-15 1650360 FU
   CBCINNOVIS             10-21-15 1389030 BB             I/L
   PEARL CAPITAL BUSINESS 10-21-15 2441920 FW             BUS
   FLASH ADVANCE          10-21-15 1978615 FW
   2DOLLAR CAPITAL LLC    10-21-15 1989431 FZ             P/S
   BUSINESS FINANCIAL SER 10-21-15 1392086 FZ
   EXPERIAN BUSINESS CRED 10-21-15 4301099 ZC         UNK BUS
                                    Page 5 of 7                                 Kapitus_000337
                               KAPITUS   EX. 13 - 337
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 338 of 540



   EXPERIAN BUSINESS CRED   10-21-15   4301099   ZC      UNK BUS
   JPM CHASE                10-21-15   1864500   BB
   EXPERIAN BUSINESS CRED   10-16-15   4301099   ZC      UNK BUS
   US BANK CONSOLIDATED     10-08-15   2141255   BB
   SONIC-FORT WORTH T INC   10-03-15   1868230   AN
   CBNA/BBY                  9-29-15   2145203   BB
   SYNCB                     9-26-15   1223465   FF
   SYNCB                     9-24-15   1223465   FF
   CBNA                      9-20-15   1240750   BC
   CHASE CARD                9-11-15   1203600   BC
   CHASE CARD                9-10-15   1203600   BC
   BK OF AMER                8-20-15   1217350   BC
   CHASE CARD                8-20-15   1203600   BC
   CBNA/SEARS                8-09-15   1351440   DC
   CAP ONE NA                8-04-15   1103317   BC
   SYNCB                     7-17-15   1223465   FF
   SUNTRUST                  7-13-15   1151880   BB
   CERTIFIED CREDIT REPOR    5-27-15   1972664   FR          R/E
   CHASE CARD                5-19-15   1203600   BC
   CBNA                      5-17-15   3178962   ZR
   CBNA/SEARS                5-17-15   1351440   DC
   1ST MERCHANT FUNDING L    5-14-15   1124276   FW
   DISCOVER FINANCIAL SER    5-09-15   1224590   BC
   PEARL CAPITAL BUSINESS    5-08-15   2441920   FW          BUS
   DIAMOND FUNDING GROUP     5-07-15   2142340   FW
   YELLOWSTONE CAPITAL       5-07-15   1894700   WP
   CHASE MTG                 5-04-15   1001278   FM      UNK R/E
   CHASE CARD                5-01-15   1203600   BC
   CHASE CARD                4-27-15   1203600   BC
   CAP ONE NA                4-16-15   1103317   BC
   CHASE CARD                4-06-15   1203600   BC
   SYNCB                     2-02-15   1223465   FF
   SPRINGLEAF FINANCIAL S    2-01-15   2544770   FP
   CBNA/BBY                  1-27-15   2145203   BB
   ONEMAIN FINANCIAL         1-25-15   1565540   FP
   JPM CHASE                 1-06-15   1864500   BB
   GATEWAY ONE LENDING &    12-22-14   1654670   FA
   700 CREDIT/MAC CHURCHI   12-22-14   2283430   AU      UNK AUT
   MOBILITY CREDIT UNION    12-22-14   1600065   FC
   SANTANDER CONSUMER USA   12-22-14   1912477   FZ
   CARFINANCE.COM           12-22-14   1917258   FA
   CAPITAL ONE AUTO FIN     12-22-14   1254780   FA
   NOWCOM/WESTLAKE FINANC   12-13-14   1620920   FA      UNK AUT
   CAPITAL ONE AUTO FIN     12-13-14   1254780   FA
   SANTANDER CONSUMER USA   12-13-14   1912477   FZ
   ACRANET/KNIGHT CAPITAL   12-08-14   1114635   FZ      UNK R/E
   NTB/CBNA                 12-02-14   1326480   AT
   ELAN FINANCIAL SERVICE   11-24-14   3139290   BB
   CBNA/SEARS               11-20-14   1351440   DC
   CBNA/BBY                 11-17-14   2145203   BB
                                    Page 6 of 7                                Kapitus_000338
                               KAPITUS   EX. 13 - 338
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41    Page 339 of 540



   CAP ONE NA               11-14-14   1103317   BC
   TOTAL MERCHANT SERVICE   11-11-14   8909214   WP          LBP
   TOTAL MERCHANT SERVICE   11-10-14   8909214   WP          LBP
   CBNA/THD                 11-09-14   1002549   BC
   SPRINGLEAF FINANCIAL S   11-09-14   2544770   FP
   JPM CHASE                11-04-14   1864500   BB
   MODEL FINANCE COMPANY    10-09-14   3521759   FP
   FNB OMAHA                 9-24-14   0203000   BC
   CBNA                      9-14-14   3178962   ZR
   AMEX                      7-15-14   1234990   BC
   SANTANDER CONSUMER USA    7-10-14   1912477   FZ
   CAPITAL ONE AUTO FIN      7-10-14   1254780   FA
   CHASE CARD                6-04-14   0107550   WP
   EQUIFAX                   5-14-14   1988511   FR      UNK R/C
   CAP ONE NA                3-17-14   1103317   BC
   FORA FINANCIAL ADVANCE    3-14-14   1925459   FZ
   JPM CHASE                 3-03-14   1864500   BB
   MARLIN                    2-21-14   7993929   PC
   CHASE CARD                2-14-14   1255740   BC
   POWER PAY LLC             1-23-14   5903130   WP
   MSCG                      1-22-14   1198489   FZ
   FORA FINANCIAL BUSINES    1-21-14   1988968   FP
   SPRINGLEAF FINANCIAL S    1-03-14   2544770   FP
   CBNA                     12-21-13   3178962   ZR
   CAP ONE                  12-20-13   1214383   BC
   CHASE MTG                12-09-13   1881739   FM          R/E
   CONSUMER ASSISTANCE CONTACT: EXPERIAN
   701 EXPERIAN PARKWAY, PO BOX 2002, ALLEN, TX 75013     888.397.3742
   END -- EXPERIAN




                                    Page 7 of 7                                 Kapitus_000339
                               KAPITUS   EX. 13 - 339
Case 20-04009-elm Doc 68-6 Filed 09/21/21                                         Entered 09/21/21 23:36:41   Page 340 of 540



  Bridges,Dwayne 439377894;CA-628 Destin Dr/76131;VERIFY;T-5J......;VERIFY-Y2/J2;H-Y;

  PAGE 1 DATE               6-09-2016              TIME 11:36:32                 V701   TTX8
   DWAYNE P BRIDGES                                                    SS:              7894     E: JUST CHILLIN HEATING
  *1150 BLUE MOUND RD W                                                DOB:             72        00000
   HASLET TX 760523859                                                 SP: DANA                  RPTD: 12-11 TO 2-16 U
   RPTD: 1-14 TO 4-16 U 1X
   LAST SUB: 1229200                                                                             E: JUST CHILLING HEATIN
                                                                                                 628 DESTIN DRIVE
    628 DESTIN DR                                                                                FORT WORTH, TX 76131
    FORT WORTH TX 761314255                                                                      RPTD: 7-12 TO 12-14 U
    RPTD: 7-10 TO 1-16 U 28X
    LAST SUB: 3182310                                                                            E: SELF
                                                                                                 RPTD: 11-14 I
  *11238 BLUE JAY LN
   DENHAM SPRINGS LA 707261677                                                                   E: SELF EMPLOYED
   RPTD: 2-09 TO 1-10 U 1X                                                                       RPTD: 4-12 I
   LAST SUB: 1367380
  *17210 OLIVE DR
   LIVINGSTON LA 707542155
   RPTD: 5-07 TO 4-08 U
   LAST SUB: 3990772
  *17080 LISA DR
   LIVINGSTON LA 707542124
   RPTD: 1-07 TO 5-07 U
   LAST SUB: 9981147
  *17650 MELANCON RD
   LIVINGSTON LA 707543001
   RPTD: 1-05 TO 3-07 U 1X
   LAST SUB: 1367380
  *30260 EDEN CHURCH RD
   DENHAM SPRINGS LA 707267761
   RPTD: 9-04 TO 2-07 U
   LAST SUB: 9981147
  *18273 TABONY LN
   LIVINGSTON LA 707543227
   RPTD: 3-06 TO 8-06 U
   LAST SUB: 3990772
  *16352 OLD HAMMOND HWY TRLR 63
   BATON ROUGE LA 708161718
   RPTD: 4-99 TO 3-05 U
   LAST SUB: 3980530
  *31531 LINDER RD LOT 101
   DENHAM SPRINGS LA 707268504
   RPTD: 11-03 TO 6-04 U
   LAST SUB: 1984222
  *28381 LA HIGHWAY 16
   DENHAM SPRINGS LA 707267836
                                                               Page 1 of 7                                           Kapitus_000340
                                                          KAPITUS   EX. 13 - 340
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 341 of 540



   RPTD: 1-04 U
   LAST SUB: 0940029
  *BRIDGE DWAYNE
   ------------------------------ PROFILE SUMMARY -------------------------------
                                                                  CNT 00/00/00/01
   PUBLIC RECORDS-------0 PAST DUE AMT--------$0 INQUIRIES-116 SATIS ACCTS--46
   INST/OTH BAL--$243,527 SCH/EST PAY-----$8,895 INQS/6 MO--36 NOW DEL/DRG---0
   R ESTATE BAL-------N/A R ESTATE PAY-------N/A TRADELINE--47 WAS DEL/DRG---1
   TOT REV BAL----$40,620 TOT REV AVAIL------28% PAID ACCT--13 OLD TRADE--3-06
   ------------------------------- SCORE SUMMARY --------------------------------
   FICO RISK SCORE 2                    =   609    SCORE FACTORS: 39, 10, 14, 08
   ----------------------------------- TRADES -----------------------------------
   SUBSCRIBER                 OPEN    AMT-TYP1    AMT-TYP2 ACCTCOND   PYMT STATUS
   SUB#   KOB TYP TRM ECOA BALDATE     BALANCE   PYMT LEVEL MOS REV PYMT HISTORY
   ACCOUNT #               LAST PD   MONTH PAY    PAST DUE MAXIMUM     BY MONTH
  *SYNCB/JCP                 11-14      $1,000-L       $332-H CRCDLOST     CURR ACCT
   3321860 DC CHG REV   1 7-28-15                      7-15       (10) BCCCCCCCCC
   600889538252               6-15
   ** CREDIT CARD LOST OR STOLEN **
  *AMEX                       7-14   $47,076-L    $2,456-C        PAID       CHARGOFF
   1229200 BC CRC   1   1 5-13-16                   5-16          ( 1) L
   3499921427988083
   ** ACCOUNT CLOSED AT CREDIT GRANTOR'S REQUEST **
   SUNTRUST BK TAMPA BAY       11-15   $63,684-O                  PAID     CURR ACCT
   1199418 BB AUT 72     1   5-17-16                   5-16       ( 7) BCCCCCC
   65600006565913495            5-16
  *SYNCB/AMER EAGLE           8-13      $600-L         $674-H     PAID     CURR ACCT
   1600040 CG CHG REV   1 4-13-16                      4-16       (33) B00CC0CC0CCCC
   604410059283              12-15                                      CCCCCC00CCCC
   ** ACCOUNT CLOSED AT CONSUMER'S REQUEST **
   ALLY FINANCIAL              5-13    $39,878-O                  PAID     CURR ACCT
   1918788 FA AUT   75   2 11-02-15                  11-15        (30) BCCCCCCCCCCCC
   005920706792               10-15                                     CCCCCCCCCCCC
   CONNS CREDIT CORP           12-13   $12,999-O                  PAID     CURR ACCT
   0377035 DC SEC 32     1   6-05-15                   6-15       (24) B000000CCCCCC
   432744330                    6-15                                    CCCCCCCCCCC
   PREFERRED CREDIT INC      11-10          UNK                   PAID     CURR ACCT
   6903305 FZ ISC 36    2 12-04-13                   12-13        (34) BCCCCCCCCCCCC
   1095312                   11-13                                      CCCCCCCCCCCC
   SANTANDER CONSUMER USA     7-10     $21,903-O                  PAID     CURR ACCT
   0507170 FP AUT 72    1 11-30-13                   11-13        (41) BCCCCCCCCCCCC
   30000157766161000         11-13                                      -CCCCCCCCCCC
  *CREDIT ONE BANK NA         7-12      $500-L       $497-H       PAID     CURR ACCT
   3278143 BC CRC REV   1 11-21-13                  11-13         (17) BCCCCCCCCCCCC
   4447962209619646          11-13                                      CCCC
   ** ACCOUNT CLOSED AT CREDIT GRANTOR'S REQUEST **

                                    Page 2 of 7                                Kapitus_000341
                               KAPITUS   EX. 13 - 341
Case 20-04009-elm Doc 68-6 Filed 09/21/21     Entered 09/21/21 23:36:41    Page 342 of 540



   TRICOLOR AUTO GROUP LL       4-13   $25,326-O                    PAID     CURR ACCT
   1826150 FA AUT 45-B 1     9-30-13                     9-13       ( 6) BCC--C
   17601                        5-13
   CHASE                       12-11   $22,298-O                    PAID     CURR ACCT
   4112850 BB AUT   72   2   6-29-13                     6-13       (18) BCCCCCCCCCCCC
   528430645950                 6-13                                      CCCCC
   AARON SALES & LEASE OW      12-08     $2,467-O                   PAID       CURR ACCT
   1367380 HR LEA 13    1    1-04-10                     1-10       ( 1) B
   C06105054R                  12-09
   AARON SALES & LEASE OW       3-06     $3,024-O                   PAID       CURR ACCT
   1367380 HR LEA 24    1    1-16-07                     1-07       ( 1) B
   C0610615                    11-06
   HCCREDIT/FEB                 7-15   $10,000-L                    OPEN     CURR ACCT
   1939029 BC CRC REV    1   6-06-16        $0           6-16       (11) 00000000000
   7143770                                 UNK
   WORLDS FOREMOST BANK N      11-14   $10,000-L      $9,951-H      OPEN     CURR ACCT
   2218590 BC CRC REV   1    6-06-16    $9,739          6-16        (19) CCCCCCCCCCCCC
   4300230191368812             6-16      $195                            CCCCC0
   FIRST PREMIER BANK          12-13        $800-L       $871-H     OPEN     CURR ACCT
   1210189 BC CRC REV    1   6-05-16        $664         6-16       (30) CCCCCCCCCCCCC
   5178006615932326             6-16         $47                          CCCCCCCC00CC
   CCS/FIRST SAVINGS BANK       6-15     $1,750-L     $1,801-H      OPEN     CURR ACCT
   2218120 BC CRC REV   1    6-03-16     $1,556         6-16        (12) CCCCC00000CC
   5433601190553033             6-16        $63
   CONNS CREDIT CORP            6-15   $15,589-O                    OPEN     CURR ACCT
   0377035 DC SEC 32     1   5-31-16   $10,090           5-16       (12) CCCCCCCCCCCC
   432744331                    5-16      $487
   AFS ACCEPTANCE LLC           6-12   $17,200-O                    OPEN     CURR ACCT
   1007709 FA AUT 54     2   5-31-16    $3,409           5-16       (48) CCCCCCCCCCCCC
   130121771                    5-16      $529                            CCCCC-CCCCCC
   SUNTRUST BK TAMPA BAY       12-15   $72,173-O                    OPEN     CURR ACCT
   1199418 BB AUT 72     1   5-31-16   $66,971           5-16       ( 6) CCCCCC
   65600006565962112            5-16    $1,204
   ALLY FINANCIAL              12-14   $24,061-O                    OPEN     CURR ACCT
   1918788 FA AUT   72   2   5-31-16   $20,218           5-16       (18) CCCCCCCCCCCCC
   005921416061                 5-16      $477                            CCCCC
   MODEL FINANCE COMPANY       10-14   $14,000-O                    OPEN     CURR ACCT
   3521759 FP REC 48     1   5-31-16    $9,615           5-16       (20) CCCCCCCCCCCCC
   31041509                     5-16      $411                            CCCCCCC
   TOYOTA MOTOR CREDIT CO      10-15   $79,296-O                    OPEN     CURR ACCT
   3604010 FA AUT 72    7    5-31-16   $72,618           5-16       ( 8) CCCCCCCC
   70400867643190001            5-16    $1,279
   DATCU                       11-15   $10,305-O                    OPEN     CURR ACCT
   3758795 FC REC   72   1   5-31-16    $9,415           5-16       ( 7) CCCCCCC
   5111170001                   5-16      $173
   CHASE                       11-13   $32,106-O                    OPEN       CURR ACCT
                                       Page 3 of 7                                Kapitus_000342
                               KAPITUS EX. 13 - 342
Case 20-04009-elm Doc 68-6 Filed 09/21/21    Entered 09/21/21 23:36:41   Page 343 of 540



   4112850 BB AUT   72   1   5-31-16   $8,477           5-16       (31) CCCCCCCCCCCCC
   528430966962                 4-16     $752                            CCCCCCCCCCCC
   FSB BLAZE                    6-15   $1,500-L       $1,434-H     OPEN     CURR ACCT
   4146150 BC CRC REV    1   5-29-16   $1,320           5-16       (12) CCCCCCC000CC
   5182130005590140             5-16      $53
   FIRST PREMIER BANK           2-15        $400-L      $453-H     OPEN      CURR ACCT
   1210189 BC CRC REV    1   5-27-16          $8        5-16       (16) CCC00000000CC
   5178006525044394             5-16          $8                         CCC
   CCS/FIRST NATIONAL BAN       6-15   $1,750-L       $1,653-H     OPEN     CURR ACCT
   1211670 BC CRC REV   1    5-24-16   $1,573           5-16       (12) CCCCC0000CCC
   4239801106760941             5-16      $63
   COMENITY BANK/GNDRMTMC      11-14   $8,700-L      $10,049-H     OPEN     CURR ACCT
   1360490 BC CRC REV   1    5-21-16   $9,861           5-16       (19) CCCCCCCCCC0CC
   520130002826                 5-16     $309                            CCCCCC
   CAPITAL ONE BANK USA N      11-11        $701-L      $714-H     OPEN     CURR ACCT
   1270246 BC CRC REV   1    5-20-16        $104        5-16       (54) CCCCCCCCC0CC0
   517805948727                 5-16         $25                         CCCCCCCCCCCC
   DISCOVER FIN SVCS LLC       10-15   $1,300-L       $1,219-H     OPEN     CURR ACCT
   3276502 BC CRC REV    1   5-19-16       $0           5-16       ( 8) 0CCCCC00
   601100146141                 5-16      $35
   SYNCB/CONNS                  9-15   $2,000-L         $627-H     OPEN     CURR ACCT
   1232870 BC CHG REV    1   5-18-16       $0           5-16       ( 9) 0000CCCC0
   603459063543                12-15      $36
   SYNCB/JCP                   11-14   $1,000-L       $1,015-H     OPEN     CURR ACCT
   3321860 DC CHG REV    1   5-16-16     $964           5-16       (19) CCCC0000000CC
   600889538927                 5-16      $35                            CCCCCC
   MERRICK BANK                12-14   $1,400-L       $1,415-H     OPEN     CURR ACCT
   0206610 BC CRC REV    1   5-15-16   $1,393           5-16       (18) CCCCCC00000CC
   4120614096158295             5-16      $48                            CCCC0
   CHASE CARD                   9-15        $500-L      $619-H     OPEN     CURR ACCT
   3182310 BC FSC REV    1   5-15-16        $494        5-16       ( 8) CCCCCCCC
   464018211298                 4-16         $25
   CHASE CARD                  12-15   $5,000-L       $5,032-H     OPEN     CURR ACCT
   3182310 BC FSC REV    1   5-15-16   $4,859           5-16       ( 5) CCCCC
   438854004883                 5-16     $114
   MIDAMERICA/MILESTONE/G       3-15        $300-L      $377-H     OPEN     CURR ACCT
   1933961 FU CRC REV   1    5-14-16        $264        5-16       (15) CCCC000000000
   5410510000336991             5-16         $35                         CC
   SYNCB/ROOMS TO GO            9-15   $2,000-L       $2,023-H     OPEN     CURR ACCT
   1234900 BC CHG REV    1   5-13-16   $1,444           5-16       ( 8) CCCCCCCC
   601919123429                 5-16      $59
   SYNCB/TOYSRUS                9-13   $1,200-L         $799-H     OPEN     CURR ACCT
   1950807 DV CHG REV    1   5-13-16     $433           5-16       (33) CCCCC00000CCC
   604586100109                 5-16      $35                            CCCCCCC00000
   CAPITAL ONE BANK USA N      11-14   $1,750-L       $1,647-H     OPEN     CURR ACCT
   1270246 BC CRC REV   1    5-12-16   $1,595           5-16       (18) CCCCC0C0000CC
                                    Page 4 of 7                                 Kapitus_000343
                               KAPITUS   EX. 13 - 343
Case 20-04009-elm Doc 68-6 Filed 09/21/21    Entered 09/21/21 23:36:41   Page 344 of 540



   517805814377                 5-16         $50                          CCCCC
   CAPITAL ONE BANK USA N      11-14    $1,750-L     $2,033-H      OPEN     CURR ACCT
   1270246 BC CRC REV   1    5-12-16    $1,741         5-16        (18) CCCCC0C0CCCCC
   517805772646                 5-16       $54                           CCCCC
   MID AMERICA BANK & TRU       3-16        $300-L      $296-H     OPEN     CURR ACCT
   1866470 BB CRC REV   1    5-11-16        $243        5-16       ( 3) CCC
   4057310301261811             5-16         $37
   BARCLAYS BANK DELAWARE       9-15    $2,500-L     $2,524-H      OPEN     CURR ACCT
   1223850 BC CRC REV   1    5-09-16    $2,365         5-16        ( 9) CCCCCC000
   000248244003345              5-16       $90
   TRICOLOR AUTO GROUP LL       4-13   $25,326-O                   OPEN     CURR ACCT
   1826150 FA AUT 45-B 1     4-30-16    $7,081          4-16       (32) CCCCCCCCCCCCC
   17601                        4-16      $838                           CCCCCCCCCCCC
   AVANT INC                    8-15   $20,000-O                   OPEN     CURR ACCT
   2104507 FP UNS   36   1   4-30-16   $17,495          4-16       ( 8) CCCCCCCC
   938595                       4-16      $915
   SHEFFIELD FINANCIAL CO      11-15   $19,480-O                   OPEN     CURR ACCT
   2580932 FP SEC 60    1    4-30-16   $18,138          4-16       ( 6) CCCCCC
   1164109804                   4-16      $385
   WEBBANK/FINGERHUT           11-12        $450-L      $496-H     OPEN     CURR ACCT
   2244970 ND CHG REV    1   5-15-15          $0        5-15       (21) 0CCC---------
   6369921024319955             4-15         $29                         -0000-00
   --------------------------------- INQUIRIES ----------------------------------
   TIMEPAYMENT CORP        6-08-16 1639850 FF
   QUICK BRIDGE FUNDING    6-08-16 1981538 FZ
   BUSINESS FINANCIAL SER 6-08-16 1392086 FZ
   UNIVERSAL CREDIT SERVI 6-07-16 1912884 ZF              BUS
   EXPERIAN BUSINESS CRED 4-18-16 4301099 ZC          UNK BUS
   EXPANSION CAPITAL GROU 4-18-16 2360900 FZ
   QUICK BRIDGE FUNDING    4-18-16 1981538 FZ
   YELLOWSTONE CAPITAL     4-18-16 1894700 WP
   CREDIBLY                4-14-16 1620122 FU
   SNAP ADVANCES           4-14-16 2226080 WP
   YELLOWSTONE CAPITAL     4-13-16 1894700 WP
   SYNCB                   3-06-16 1223465 FF
   TOTAL/MID AMERICA BANK 2-26-16 2356385 BB
   YELLOWSTONE CAPITAL     2-11-16 1894700 WP
   EXPERIAN BUSINESS CRED 2-02-16 4301099 ZC          UNK BUS
   SPRINGLEAF FIN SRVCS - 2-02-16 2432480 FP
   WFB BD CRE              1-26-16 3120008 BB
   BK OF AMER              1-08-16 1217350 BC
   SYNCB                   1-07-16 1223465 FF
   SNAP ADVANCES          12-29-15 2226080 WP
   CREST HILL CAPITAL LLC 12-29-15 1500260 FU         UNK UNS
   CAP ONE NA             12-29-15 1103317 BC
   FORWARD FINANCING LLC 12-29-15 1989431 FZ              P/S
   EXPERIAN BUSINESS CRED 12-29-15 4301099 ZC         UNK BUS
   EXPERIAN BUSINESS CRED 12-29-15 4301099 ZC         UNK BUS
                                    Page 5 of 7                                   Kapitus_000344
                               KAPITUS   EX. 13 - 344
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 345 of 540



   SUNTRUST                 12-22-15   1151880   BB
   CBNA                     12-12-15   3178962   ZR
   MICROBILT                12-11-15   1000936   ZF          UNS
   CBC / SWIFT CAPITAL      12-11-15   1203610   FZ
   STRATEGIC FUNDING SOUR   12-11-15   1650360   FU
   FNB OMAHA                12-10-15   0203040   BC
   CASH CENTRAL             12-09-15   1024662   PM
   BK OF AMER               12-08-15   1217350   BC
   EMS/QUICKEN LOANS        12-07-15   1919673   FM      UNK R/E
   CHASE CARD               12-07-15   1203600   BC
   CHASE MTG                12-07-15   1001275   FM      UNK R/E
   MODEL FINANCE COMPANY    11-10-15   3521759   FP
   ONEMAIN FINANCIAL        11-06-15   1565540   FP
   SONIC-FORT WORTH T INC   11-03-15   1868230   AN
   MYBUSINESSLOAN.COM/DEA   11-02-15   1152832   FZ          BUS
   CBNA                     10-29-15   3178962   ZR
   EXPERIAN BUSINESS CRED   10-22-15   4301099   ZC      UNK BUS
   CBC / SWIFT CAPITAL      10-22-15   1203610   FZ
   CAN CAPITAL MERC SRV,I   10-22-15   1571570   FZ          LBP
   CHASE CARD               10-22-15   1203600   BC
   MICROBILT                10-22-15   1000936   ZF          UNS
   EXPERIAN BUSINESS CRED   10-21-15   4301099   ZC      UNK BUS
   EXPERIAN BUSINESS CRED   10-21-15   4301099   ZC      UNK BUS
   BUSINESS FINANCIAL SER   10-21-15   1392086   FZ
   PEARL CAPITAL BUSINESS   10-21-15   2441920   FW          BUS
   FORWARD FINANCING LLC    10-21-15   1989431   FZ          P/S
   JPM CHASE                10-21-15   1864500   BB
   CBCINNOVIS               10-21-15   1389030   BB          I/L
   STRATEGIC FUNDING SOUR   10-21-15   1650360   FU
   FLASH ADVANCE            10-21-15   1978615   FW
   EXPERIAN BUSINESS CRED   10-16-15   4301099   ZC      UNK BUS
   US BANK CONSOLIDATED     10-08-15   2141255   BB
   SONIC-FORT WORTH T INC   10-03-15   1868230   AN
   CBNA/BBY                  9-29-15   2145203   BB
   SYNCB                     9-26-15   1223465   FF
   SYNCB                     9-24-15   1223465   FF
   CBNA                      9-20-15   1240750   BC
   CHASE CARD                9-11-15   1203600   BC
   CHASE CARD                9-10-15   1203600   BC
   CHASE CARD                8-20-15   1203600   BC
   BK OF AMER                8-20-15   1217350   BC
   CBNA/SEARS                8-09-15   1351440   DC
   CAP ONE NA                8-04-15   1103317   BC
   SYNCB                     7-17-15   1223465   FF
   SUNTRUST                  7-13-15   1151880   BB
   CERTIFIED CREDIT REPOR    5-27-15   1972664   FR          R/E
   CHASE CARD                5-19-15   1203600   BC
   CBNA                      5-17-15   3178962   ZR
   CBNA/SEARS                5-17-15   1351440   DC
   1ST MERCHANT FUNDING L    5-14-15   1124276   FW
                                    Page 6 of 7                                Kapitus_000345
                               KAPITUS   EX. 13 - 345
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41    Page 346 of 540



   DISCOVER FINANCIAL SER    5-09-15   1224590   BC
   PEARL CAPITAL BUSINESS    5-08-15   2441920   FW          BUS
   DIAMOND FUNDING GROUP     5-07-15   2142340   FW
   YELLOWSTONE CAPITAL       5-07-15   1894700   WP
   CHASE MTG                 5-04-15   1001278   FM      UNK R/E
   CHASE CARD                5-01-15   1203600   BC
   CHASE CARD                4-27-15   1203600   BC
   CAP ONE NA                4-16-15   1103317   BC
   CHASE CARD                4-06-15   1203600   BC
   SYNCB                     2-02-15   1223465   FF
   SPRINGLEAF FINANCIAL S    2-01-15   2544770   FP
   CBNA/BBY                  1-27-15   2145203   BB
   ONEMAIN FINANCIAL         1-25-15   1565540   FP
   JPM CHASE                 1-06-15   1864500   BB
   SANTANDER CONSUMER USA   12-22-14   1912477   FZ
   GATEWAY ONE LENDING &    12-22-14   1654670   FA
   CARFINANCE.COM           12-22-14   1917258   FA
   700 CREDIT/MAC CHURCHI   12-22-14   2283430   AU      UNK AUT
   CAPITAL ONE AUTO FIN     12-22-14   1254780   FA
   MOBILITY CREDIT UNION    12-22-14   1600065   FC
   NOWCOM/WESTLAKE FINANC   12-13-14   1620920   FA      UNK AUT
   SANTANDER CONSUMER USA   12-13-14   1912477   FZ
   CAPITAL ONE AUTO FIN     12-13-14   1254780   FA
   ACRANET/KNIGHT CAPITAL   12-08-14   1114635   FZ      UNK R/E
   NTB/CBNA                 12-02-14   1326480   AT
   ELAN FINANCIAL SERVICE   11-24-14   3139290   BB
   CBNA/SEARS               11-20-14   1351440   DC
   CBNA/BBY                 11-17-14   2145203   BB
   CAP ONE NA               11-14-14   1103317   BC
   TOTAL MERCHANT SERVICE   11-11-14   8909214   WP          LBP
   TOTAL MERCHANT SERVICE   11-10-14   8909214   WP          LBP
   CBNA/THD                 11-09-14   1002549   BC
   SPRINGLEAF FINANCIAL S   11-09-14   2544770   FP
   JPM CHASE                11-04-14   1864500   BB
   MODEL FINANCE COMPANY    10-09-14   3521759   FP
   FNB OMAHA                 9-24-14   0203000   BC
   CBNA                      9-14-14   3178962   ZR
   AMEX                      7-15-14   1234990   BC
   CAPITAL ONE AUTO FIN      7-10-14   1254780   FA
   SANTANDER CONSUMER USA    7-10-14   1912477   FZ
   CHASE CARD                6-04-14   0107550   WP
   CONSUMER ASSISTANCE CONTACT: EXPERIAN
   701 EXPERIAN PARKWAY, PO BOX 2002, ALLEN, TX 75013     888.397.3742
   END -- EXPERIAN




                                    Page 7 of 7                                 Kapitus_000346
                               KAPITUS   EX. 13 - 346
    Case 20-04009-elm Doc 68-6 Filed 09/21/21
                                                      Entered 09/21/21 23:36:41         Page 347 of 540




                                 Franchise Tax Account Status
                                           A of 01/31/2020 20 49 17



 This page is valid for most business transactions but is not sufficient for filings with the Secretary of State



                          TEXAS BEST HEATING AND AIR, LLC
         Texas Taxpayer Number 32066484968
                  Mailing Address 924 LYNCH BEND RD SPRINGTOWN, TX 76082-2916
 Right to Transact Business in ACTIVE
                         Texas
               State of Formation TX
 Effective SOS Registration Date 03/09/2018
         Texas SOS File Number 0802957678
         Registered Agent Name TRAVIS HUMPHREY
Registered Office Street Address 924 LYNCH BEND DR SPRINGTOWN, TX 76082




                                                                                                  Kapitus_000347
                                         KAPITUS EX. 13 - 347
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 348 of 540




                                                                               Kapitus_000348
                              KAPITUS EX. 13 - 348
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 349 of 540
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 350 of 540




                                                                              Kapitus_000350
                              KAPITUS EX. 13 - 350
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 351 of 540




                                                                              Kapitus_000351
                              KAPITUS EX. 13 - 351
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 352 of 540




                                                                              Kapitus_000352
                              KAPITUS EX. 13 - 352
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 353 of 540




                                                                              Kapitus_000353
                              KAPITUS EX. 13 - 353
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 354 of 540




                                                                              Kapitus_000354
                              KAPITUS EX. 13 - 354
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 355 of 540
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 356 of 540




                                                                              Kapitus_000356
                              KAPITUS EX. 13 - 356
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 357 of 540




                                                                              Kapitus_000357
                              KAPITUS EX. 13 - 357
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 358 of 540




                                                                              Kapitus_000358
                              KAPITUS EX. 13 - 358
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 359 of 540




                                                                              Kapitus_000359
                              KAPITUS EX. 13 - 359
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 360 of 540




                                                                              Kapitus_000360
                              KAPITUS EX. 13 - 360
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 361 of 540




                                                                              Kapitus_000361
                              KAPITUS EX. 13 - 361
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 362 of 540




                                                                              Kapitus_000362
                              KAPITUS EX. 13 - 362
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 363 of 540




                                                                              Kapitus_000363
                              KAPITUS EX. 13 - 363
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 364 of 540




                                                                              Kapitus_000364
                              KAPITUS EX. 13 - 364
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 365 of 540




                                                                              Kapitus_000365
                              KAPITUS EX. 13 - 365
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 366 of 540
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 367 of 540




                                                                              Kapitus_000367
                              KAPITUS EX. 13 - 367
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 368 of 540




                                                                              Kapitus_000368
                              KAPITUS EX. 13 - 368
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 369 of 540




                                                                              Kapitus_000369
                              KAPITUS EX. 13 - 369
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 370 of 540




                                                                              Kapitus_000370
                              KAPITUS EX. 13 - 370
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 371 of 540




                                                                              Kapitus_000371
                              KAPITUS EX. 13 - 371
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 372 of 540




                                                                              Kapitus_000372
                              KAPITUS EX. 13 - 372
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 373 of 540




                                                                              Kapitus_000373
                              KAPITUS EX. 13 - 373
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 374 of 540




                                                                              Kapitus_000374
                              KAPITUS EX. 13 - 374
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 375 of 540




                                                                              Kapitus_000375
                              KAPITUS EX. 13 - 375
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 376 of 540




                                                                              Kapitus_000376
                              KAPITUS EX. 13 - 376
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 377 of 540




                                                                              Kapitus_000377
                              KAPITUS EX. 13 - 377
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 378 of 540




                                                                              Kapitus_000378
                              KAPITUS EX. 13 - 378
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 379 of 540




                                                                              Kapitus_000379
                              KAPITUS EX. 13 - 379
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 380 of 540




                                                                              Kapitus_000380
                              KAPITUS EX. 13 - 380
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 381 of 540




                                                                              Kapitus_000381
                              KAPITUS EX. 13 - 381
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 382 of 540




                                                                              Kapitus_000382
                              KAPITUS EX. 13 - 382
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 383 of 540




                                                                              Kapitus_000383
                              KAPITUS EX. 13 - 383
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 384 of 540




                                                                              Kapitus_000384
                              KAPITUS EX. 13 - 384
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 385 of 540




                                                                              Kapitus_000385
                              KAPITUS EX. 13 - 385
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 386 of 540




                                                                              Kapitus_000386
                              KAPITUS EX. 13 - 386
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 387 of 540
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 388 of 540




                                                                              Kapitus_000388
                              KAPITUS EX. 13 - 388
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 389 of 540




                                                                              Kapitus_000389
                              KAPITUS EX. 13 - 389
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 390 of 540




                                                                              Kapitus_000390
                              KAPITUS EX. 13 - 390
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 391 of 540




                                                                              Kapitus_000391
                              KAPITUS EX. 13 - 391
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 392 of 540




                                                                              Kapitus_000392
                              KAPITUS EX. 13 - 392
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 393 of 540
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 394 of 540




                                                                              Kapitus_000394
                              KAPITUS EX. 13 - 394
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 395 of 540
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 396 of 540
            Case 20-04009-elm Doc 68-6 Filed 09/21/21                                         Entered 09/21/21 23:36:41                          Page 397 of 540




                                                                        Ph. + (516) 707-9131
                                                         Contract ID# 839042 Sales Partner: TVT Capital LLC.

                                    REVENUE BASED FACTORING (RBF/ACH) AGREEMENT
Agreement dated December 18 2015 between TVT Capital (“FUNDER”) and the merchant listed below (“the Merchant”).
                   (Month) (Day)      (Year)
                                                                            MERCHANT INFORMATION

Merchant’s Legal Name: LICENSE TO CHILL HEATING AND AIR INC
D/B/A: Just Chillin Heating & Air                                                         State of Incorporation / Organization: TX
Type of entity: ( X ) Corporation ( ) Limited Liability Company ( ) Limited Partnership ( ) Limited Liability Partnership ( ) Sole Proprietor
Physical Address: 1150 Blue Mound Rd W Ste 103                                City: Haslet                                  State: TX                     Zip: 76052-3877
Mailing Address:                                                              City:                                         State:                        Zip:
Date business started (mm/yy): 07/10                                          Federal ID# XX-XXXXXXX
                                                            PURCHASE AND SALE OF FUTURE RECEIVABLES

 Merchant hereby sells, assigns and transfers to Funder, as the lead purchaser for itself and co-investors [making Funder on behalf of itself and all co-investors (collectively the
 Funders), the absolute owner] in consideration of the funds provided (“Purchase Price”) specified below, all of Merchant’s future receipts, accounts, contract rights and other
 obligations arising from or relating to the payment of monies from Merchant’s customers’ and/or other third party payors (collectively the “Receipts” defined as all payments made by
 cash, check, electronic transfer or other form of monetary payment in the ordinary course of the merchant’s business), until such time as the “Receipts Purchased Amount” has been
 delivered by Merchant to FUNDER The Receipts Purchased Amount shall be paid to FUNDER by the Merchant irrevocably authorizing only one depositing account acceptable to
 FUNDER (the “Account”) to remit the percentage specified below (the “Specified Percentage”) of the Merchant’s Receipts, until such time as FUNDER receives payment in full of the
 Receipts Purchased Amount In consideration of servicing the account, the Merchant hereby authorizes FUNDER to ACH Debit the “Specified Daily Amount” from the merchant’s
 bank account as the base payment credited against the Specified Percentage due It is the Merchants responsibility to provide bank statements for any and all bank accounts held by the
 Merchant to reconcile the daily payments made against the Specified Percentage permitting FUNDER to debit or credit the difference to the merchant so that payment equals the
 Specified Percentage Failure to provide all of their bank statements in a timely manner or missing a month shall forfeit all rights to future reconciliations FUNDER may, upon
 Merchant’s request, adjust the amount of any payment due under this Agreement at FUNDER’s sole discretion and as it deems appropriate in servicing this Agreement Merchant
 understands that it is responsible for ensuring that funds adequate to cover amount to be debited by FUNDER remains in the account Merchant will be held responsible for any fees
 incurred by FUNDER resulting from a rejected ACH attempt or an event of default (See Appendix A) FUNDER is not responsible for any overdrafts or rejected transactions in the
 Merchants account which may result from FUNDER’ scheduled ACH debit under the terms of this agreement Notwithstanding anything to the contrary in this Agreement or any other
 agreement between FUNDER and Merchant, upon the violation of any provision contained in Section 1 11 of the MERCHANT AGREEMENT TERMS AND CONDITIONS or the
 occurrence of an Event of Default under Section 3 of the MERCHANT AGREEMENT TERMS AND CONDITIONS, the Specified Percentage shall equal 100% A list of all fees
 applicable under this agreement is contained in Appendix A


 Purchase Price: $75,000.00       Specified Percentage: 15%       Specific Daily Amount: $649.00       Receipts Purchased Amount: $103,500.00

 THE TERMS, DEFINITIONS, CONDITIONS AND INFORMATION SET FORTH ON PAGE 2, THE “MERCHANT SECURITY AGREEMENT” AND
 “ADMINISTRATIVE FORM HEREOF ARE HEREBY INCORPORATED IN AND MADE A PART OF THIS MERCHANT AGREEMENT.

 FOR THE MERCHANT (#1)
 By Dwayne Bridges                                                                                                                                           Sign Here
                   (Print Name and Title)                                                                   (Signature)
 FOR THE MERCHANT (#2)
 By                                                                                                                                                          Sign Here
                   (Print Name and Title)                                                                   (Signature)
 OWNER/GUARANTOR #1
 By Dwayne Bridges                                                                                                                                           Sign Here
                   (Print Name)                                                                             (Signature)
 OWNER/GUARANTOR #2
 By                                                                                                                                                          Sign Here
                   (Print Name)                                                                             (Signature)
 TVT Capital
 By                                                                     _    Sales Associate Name:
                (Company Officer)                                                                                         (Signature)

 To the extent set forth herein, each of the parties is obligated upon his, her or its execution of the Agreement to all terms of the Agreement, including the Additional Terms set forth

 02-02-15                                                            Colonial Funding Network as Servicing Agent

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                                                                      KAPITUS EX. 13 - 397
           Case 20-04009-elm Doc 68-6 Filed 09/21/21                                         Entered 09/21/21 23:36:41                           Page 398 of 540
below Each of above-signed Merchant and Owner(s) represents that he or she is authorized to sign this Agreement for Merchant, legally binding said Merchant to repay this obligation
and that the information provided herein and in all of FUNDER documents, forms and recorded interviews is true, accurate and complete in all respects If any such information is false
or misleading, Merchant shall be deemed in material breach of all agreements between Merchant and FUNDER and FUNDER shall be entitled to all remedies available under law
Merchant and each of the above-signed Owners authorizes FUNDER, its agents and representatives and any credit reporting agency engaged by FUNDER, to (i) investigate any
references given or any other statements or data obtained from or about Merchant or any of its Owners for the purpose of this Agreement, and (ii) obtain credit report at any time now or
for so long as Merchant and/or Owners(s) continue to have any obligation owed to FUNDER
ANY MISREPRESENTATION MADE BY MERCHANT OR OWNER IN CONNECTION WITH THIS AGREEMENT MAY CONSTITUTE A SEPARATE
CAUSE OF ACTION FOR FRAUD OR INTENTIONAL FRAUDULENT INDUCEMENT TO OBTAIN FINANCING.




02-02-15                                                             Colonial Funding Network as Servicing Agent

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                                                                     KAPITUS EX. 13 - 398
              Case 20-04009-elm Doc 68-6 Filed  09/21/21 Entered 09/21/21 23:36:41
                                             MERCHANT AGREEMENT TERMS AND CONDITIONS
                                                                                                                                                                                                         Page 399 of 540
I. TERMS OF ENROLLMENT IN PROGRAM                                                     remedies by lawsuit In any such lawsuit, in which FUNDER shall recover                composition of it or its debts; (d) the sending of notice of termination by
1 1 Merchant Deposit Agreement. Merchant shall execute an agreement (the              judgment against Merchant, Merchant shall be liable for all of FUNDER’s costs         Guarantor; (e) Merchant shall transport, move, interrupt, suspend, dissolve or
“Merchant Deposit Agreement”) acceptable to FUNDER, with a Bank                       of lawsuit, including but not limited to all reasonable attorneys’ fees and court     terminate its business; (f) Merchant shall transfer or sell all or substantially all of
acceptable to FUNDER, to obtain electronic fund transfer services Merchant            costs                                                                                 its assets; (h) Merchant shall make or send notice of any intended bulk sale or
shall provide FUNDER and/or it’s authorized agent with all of the information,        Protection 7 Merchant shall, upon execution of this Agreement, deliver to             transfer by Merchant; (i) Merchant shall use multiple depository accounts
authorizations necessary for verifying Merchant’s receivables, receipts and           FUNDER an executed assignment of lease of Merchant’s premises in favor of             without the prior written consent of FUNDER; (j) Merchant shall change its
deposits into the account Merchant shall authorize FUNDER and/or it’s agent to        FUNDER Upon breach of any provision in this paragraph 1 12, FUNDER may                depositing account without the prior written consent of FUNDER; (k) Merchant
deduct the amounts owed to FUNDER for the Receipts as specified herein from           exercise its rights under such assignment of lease                                    shall perform any act that reduces the value of any Collateral granted under this
settlement amounts which would otherwise be due to Merchant by permitting             Protection 8 FUNDER may debit Merchant’s depository accounts wherever                 Agreement; or (l) Merchant shall default under any of the terms, covenants and
FUNDER to withdraw the specific daily amount credited against the specified           situated by means of ACH debit or facsimile signature on a computer-generated         conditions of any other agreement with FUNDER
percentages by ACH debit of the Merchant account The authorization shall be           check drawn on Merchant’s bank account or otherwise                                    3 2 Remedies. In case any Event of Default occurs and is not waived pursuant
irrevocable without the written consent of FUNDER                                     1 12 Protection of Information. Merchant and each person signing this                 to Section 4 4 1 hereof, FUNDER on its own and on behalf of the Funders may
1 2 Term of Agreement. This Agreement shall have an indefinite term that              Agreement on behalf of Merchant and/or as Owner, in respect of himself or             proceed to protect and enforce its rights or remedies by suit in equity or by
shall last either until all the Merchant’s obligations to FUNDER are fully            herself personally, authorizes FUNDER to disclose information concerning              action at law, or both, whether for the specific performance of any covenant,
satisfied This shall include but not be limited to any renewals, outstanding fees     Merchant’s and each Owner’s credit standing (including credit bureau reports          agreement or other provision contained herein, or to enforce the discharge of
or costs                                                                              that FUNDER obtains) and business conduct only to agents, affiliates,                 Merchant’s obligations hereunder (including the Personal Guarantee) or any
1 3 Future Purchases. FUNDER reserves the right to rescind the offer to make          subsidiaries, and credit reporting bureaus Merchant and each Owner hereby             other legal or equitable right or remedy All rights, powers and remedies of
any purchase payments hereunder, in its sole discretion                               waives to the maximum extent permitted by law any claim for damages against           FUNDER in connection with this Agreement may be exercised at any time by
1 4 Financial Condition. Merchant and Guarantor(s) authorize FUNDER                   FUNDER or any of its affiliates and the Funders relating to any (i) investigation     FUNDER after the occurrence of an Event of Default, are cumulative and not
and its agents to investigate their financial responsibility and history, and         undertaken by or on behalf of FUNDER as permitted by this Agreement or (ii)           exclusive, and shall be in addition to any other rights, powers or remedies
will provide to FUNDER any bank or financial statements, tax returns, etc.,           disclosure of information as permitted by this Agreement                              provided by law or equity
as FUNDER deems necessary prior to or at any time after execution of this             1 13 Confidentiality Merchant understands and agrees that the terms and               3 3 Costs Merchant shall pay to FUNDER all reasonable costs associated with
Agreement. A photocopy of this authorization will be deemed as acceptable             conditions of the products and services offered by FUNDER, including this             (a) a breach by Merchant of the Covenants in this Agreement and the
for release of financial information. FUNDER is authorized to update such             Agreement and any other FUNDER documentations (collectively, “Confidential            enforcement thereof, and (b) the enforcement of FUNDER’s remedies set forth
information and financial profiles from time to time as it deems                      Information”) are proprietary and confidential information of FUNDER                  in Section 4 2 above, including but not limited to court costs and attorneys’ fees
appropriate.                                                                          Accordingly unless disclosure is required by law or court order, Merchant shall       3 4 Required Notifications. Merchant is required to give FUNDER written
1 5 Transactional History. Merchant authorizes their bank to provide                  not disclose Confidential Information of FUNDER to any person other than an           notice within 24 hours of any filing under Title 11 of the United States Code.
FUNDER with Merchant’s banking or processing history to determine                     attorney, accountant, financial advisor or employee of Merchant who needs to          Merchant is required to give FUNDER seven days’ written notice prior to
qualification or continuation in this program                                         know such information for the purpose of advising Merchant (“Advisor”),               the closing of any sale of all or substantially all of the Merchant’s assets or
1 6 Indemnification Merchant and Guarantor(s) jointly and severally                   provided such Advisor uses such information solely for the purpose of advising        stock.
indemnify and hold harmless Processor/Bank, its officers, directors and               Merchant and first agrees in writing to be bound by the terms of this Section         IV. MISCELLANEOUS
shareholders against all losses, damages, claims, liabilities and expenses            1 13                                                                                  4 1 Modifications; Agreements. No modification, amendment, waiver or
(including reasonable attorney’s fees) incurred by Processor resulting from (a)       1 14 Publicity Merchant and each Owner only authorizes FUNDER to use its,             consent of any provision of this Agreement shall be effective unless the same
claims asserted by FUNDER for monies owed to FUNDER from Merchant and                 his or her name in a listing of clients and in advertising and marketing materials    shall be in writing and signed by FUNDER
(b) actions taken by Processor in reliance upon information or instructions           with their express written consent                                                    4 2 Assignment. Merchant acknowledges and understands that FUNDER is
provided by FUNDER                                                                    1 15 D/B/A’s Merchant hereby acknowledges and agrees that FUNDER may                  acting on its own behalf and as the administrator and lead investor for a group of
1 7 No Liability. In no event will FUNDER(or any of the Funders) be liable            be using “doing business as” or “d/b/a” names in connection with various              independent participants a list of which can be provided to Merchant after
for any claims asserted by Merchant under any legal theory for lost profits, lost     matters relating to the transaction between FUNDER and Merchant, including            funding and upon written notice to FUNDER FUNDER may assign, transfer or
revenues, lost business opportunities, exemplary, punitive, special, incidental,      the filing of UCC-1 financing statements and other notices or filings                 sell its rights to receive the Purchased Amount or delegate its duties hereunder,
indirect or consequential damages, each of which is waived by Merchant and            II. REPRESENTATIONS, WARRANTIES AND COVENANTS Merchant                                either in whole or in part
Guarantor(s)                                                                          represents, warrants and covenants that as of this date and during the term of this   4 3 Notices All notices, requests, consent, demands and other communications
1 8 Reliance on Terms. Section 1 1, 1 7, 1 8 and 2 5 of this Agreement are            Agreement:                                                                            hereunder shall be delivered by certified mail, return receipt requested, to the
agreed to for the benefit of Merchant, FUNDER and Processor, and                      2 1 Financial Condition and Financial Information Its bank and financial              respective parties to this Agreement at the addresses set forth in this Agreement
notwithstanding the fact that Processor is not a party of this Agreement,             statements, copies of which have been furnished to FUNDER, and future                 and shall become effective only upon receipt
Processor may rely upon their terms and raise them as a defense in any action         statements which will be furnished hereafter at the discretion of FUNDER, fairly      4 4 Waiver Remedies No failure on the part of FUNDER to exercise, and no
1 9 Sale of Receipts. Merchant and FUNDER agree that the Purchase Price               represent the financial condition of Merchant at such dates, and since those dates    delay in exercising, any right under this Agreement shall operate as a waiver
under this Agreement is in exchange for the Purchased Amount and that such            there has been no material adverse changes, financial or otherwise, in such           thereof, nor shall any single or partial exercise of any right under this Agreement
Purchase Price is not intended to be, nor shall it be construed as a loan from        condition, operation or ownership of Merchant Merchant has a continuing,              preclude any other or further exercise thereof or the exercise of any other right
FUNDER to Merchant Merchant agrees that the Purchase Price is in exchange             affirmative obligation to advise FUNDER of any material adverse change in its         The remedies provided hereunder are cumulative and not exclusive of any
for the sale of future Receipts pursuant to this Agreement equals the fair market     financial condition, operation or ownership FUNDER may request statements at          remedies provided by law or equity
value of such Receipts FUNDER has purchased and shall own all the Receipts            any time during the performance of this Agreement and the Merchant shall              4 5 Binding Effect; Governing Law, Venue and Jurisdiction. This Agreement
described in this Agreement up to the full Purchased Amount as the Receipts are       provide them to FUNDER within 5 business days Merchant’s failure to do so is          shall be binding upon and inure to the benefit of Merchant, FUNDER (and it’s
created Payments made to FUNDER in respect to the full amount of the                  a material breach of this Agreement                                                   Participants) and their respective successors and assigns, FUNDER’s Participants
Receipts shall be conditioned upon Merchant’s sale of products and services and       2 2 Governmental Approvals. Merchant is in compliance and shall comply                shall be third party beneficiaries of all such agreements except that Merchant
the payment therefore by Merchant’s customers in the manner provided in               with all laws and has valid permits, authorizations and licenses to own, operate      shall not have the right to assign its rights hereunder or any interest herein
Section 1 1 In no event shall the aggregate of all amounts be deemed as interest      and lease its properties and to conduct the business in which it is presently         without the prior written consent of FUNDER which consent may be withheld in
hereunder and charged or collected hereunder exceed the highest rate                  engaged                                                                               FUNDER’s sole discretion FUNDER reserves the rights to assign this
permissible at law In the event that a court determines that FUNDER has               2 3 Authorization. Merchant, and the person(s) signing this Agreement on              Agreement with or without prior written notice to Merchant This Agreement
charged or received interest hereunder in excess of the highest applicable rate,      behalf of Merchant, have full power and authority to incur and perform the            shall be governed by and construed in accordance with the laws of the State of
the rate in effect hereunder shall automatically be reduced to the maximum rate       obligations under this Agreement, all of which have been duly authorized              New York, without regards to any applicable principals of conflicts of law Any
permitted by applicable law and FUNDER shall promptly refund to Merchant              2 4 Insurance Merchant will maintain business-interruption insurance naming           suit, action or proceeding arising hereunder, or the interpretation, performance or
any interest received by FUNDER in excess of the maximum lawful rate, it              FUNDER as loss payee and additional insured in amounts and against risks as           breach hereof, shall, if FUNDER so elects, be instituted in any court sitting in
being intended that Merchant not pay or contract to pay, and that FUNDER not          are satisfactory to FUNDER and shall provide FUNDER proof of such insurance           New York, (the “Acceptable Forums”) Merchant agrees that the Acceptable
receive or contract to receive, directly or indirectly in any manner whatsoever,      upon request                                                                          Forums are convenient to it, and submits to the jurisdiction of the Acceptable
interest in excess of that which may be paid by Merchant under applicable law         2 5 Intentionally omitted                                                             Forums and waives any and all objections to jurisdiction or venue Should such
1 10 Power of Attorney Merchant irrevocably appoints FUNDER as its agent              2 6 Change of Name or Location Merchant will not conduct Merchant’s                   proceeding be initiated in any other forum, Merchant waives any right to oppose
and attorney-in-fact with full authority to take any action or execute any            businesses under any name other than as disclosed to the Processor and                any motion or application made by FUNDER to transfer such proceeding to an
instrument or document to settle all obligations due to FUNDER from                   FUNDER or change any of its places of business                                        Acceptable Forum
Processor/Bank, or in the case of a violation by Merchant of Section 1 12 or the      2 7 Daily Batch Out. Merchant will batch out receipts with the Processor on a         4 6 Survival of Representation, etc. All representations, warranties and
occurrence of an Event of Default under Section 4 hereof, from Merchant, under        daily basis                                                                           covenants herein shall survive the execution and delivery of this Agreement and
this Agreement, including without limitation (i) to obtain and adjust insurance;      2 8 Estoppel Certificate. Merchant will at any time, and from time to time,           shall continue in full force until all obligations under this Agreement shall have
(ii) to collect monies due or to become due under or in respect of any of the         upon at least one (1) day’s prior notice from FUNDER to Merchant, execute,            been satisfied in full and this Agreement shall have terminated
Collateral; (iii) to receive, endorse and collect any checks, notes, drafts,          acknowledge and deliver to FUNDER and/or to any other person, person firm or          4 7 Severability. In case any of the provisions in this Agreement is found to be
instruments, documents or chattel paper in connection with clause (i) or clause       corporation specified by FUNDER, a statement certifying that this Agreement is        invalid, illegal or unenforceable in any respect, the validity, legality and
(ii) above; (iv) to sign Merchant’s name on any invoice, bill of lading, or           unmodified and in full force and effect (or, if there have been modifications, that   enforceability of any other provision contained herein shall not in any way be
assignment directing customers or account debtors to make payment directly to         the same is in full force and effect as modified and stating the modifications) and   affected or impaired
FUNDER; and (v) to file any claims or take any action or institute any                stating the dates which the Purchased Amount or any portion thereof has been          4 8 Entire Agreement. Any provision hereof prohibited by law shall be
proceeding which FUNDER may deem necessary for the collection of any of the           repaid                                                                                ineffective only to the extent of such prohibition without invalidating the
unpaid Purchased Amount from the Collateral, or otherwise to enforce its rights       2 9 No Bankruptcy or Insolvency. As of the date of this Agreement, Merchant           remaining provisions hereof. This Agreement and Security Agreement hereto
with respect to payment of the Purchased Amount                                       represents that it is not insolvent and does not contemplate and has not filed any    embody the entire agreement between Merchant and FUNDER and supersede all
1 11 Protections Against Default. The following Protections 1 through 7 may           petition for bankruptcy protection under Title 11 of the United States Code and       prior agreements and understandings relating to the subject matter hereof
be invoked by FUNDER, immediately and without notice to Merchant in the               there has been no involuntary petition brought or pending against Merchant            4 9 JURY TRIAL WAIVER. THE PARTIES HERETO WAIVE TRIAL BY
event (a) Merchant changes its arrangements with Processor/Bank in any way            Merchant further warrants that it does not anticipate filing any such bankruptcy      JURY IN ANY COURT IN ANY SUIT, ACTION OR PROCEEDING ON
that is adverse to FUNDER; (b) Merchant changes the deposit account through           petition and it does not anticipate that an involuntary petition will be filed        ANY MATTER ARISING IN CONNECTION WITH OR IN ANY WAY
which the Receipts are settled , or permits any event to occur that could cause       against it In the event that the Merchant files for bankruptcy protection or is       RELATED TO THE TRANSACTIONS OF WHICH THIS AGREEMENT
diversion of any of Merchant’s transactions to another account; (c) Merchant          placed under an involuntary filing Protections 2 and 3 are immediately invoked        IS A PART OR THE ENFORCEMENT HEREOF. THE PARTIES
interrupts the operation of this business (other than adverse weather, natural        2 10 Additional Financing Merchant shall not enter into any arrangement,              HERETO ACKNOWLEDGE THAT EACH MAKES THIS WAIVER
disasters or acts of God) transfers, moves, sells, disposes, transfers or otherwise   agreement or commitment for any additional financing, whether in the                  KNOWINGLY, WILLINGLY AND VOLUNTARILY AND WITHOUT
conveys its business or assets without (i) the express prior written consent of       form of a purchase of receivables or a loan to the business with any party            DURESS, AND ONLY AFTER EXTENSIVE CONSIDERATION OF THE
FUNDER, and (ii) the written agreement of any purchaser or transferee to the          other than FUNDER without their written permission.                                   RAMIFICATIONS OF THIS WAIVER WITH THEIR ATTORNEYS.
assumption of all of Merchant’s obligations under this Agreement pursuant to          2 11 Unencumbered Receipts. Merchant has good, complete and marketable                4 10 CLASS ACTION WAIVER. THE PARTIES HERETO WAIVE ANY
documentation satisfactory to FUNDER; or (d) Merchant takes any action, fails         title to all Receipts, free and clear of any and all liabilities, liens, claims,      RIGHT TO ASSERT ANY CLAIMS AGAINST THE OTHER PARTY AS
to take any action, or offers any incentive—economic or otherwise—the result          changes, restrictions, conditions, options, rights, mortgages, security interests,    A REPRESENTATIVE OR MEMBER IN ANY CLASS OR
of which will be to induce any customer or customers to pay for Merchant’s            equities, pledges and encumbrances of any kind or nature whatsoever or any            REPRESENTATIVE ACTION, EXCEPT WHERE SUCH WAIVER IS
services with any means other than checks that are settled through Processor          other rights or interests that may be inconsistent with the transactions              PROHIBITED BY LAW AGAINST PUBLIC POLICY. TO THE EXTENT
These protections are in addition to any other remedies available to FUNDER at        contemplated with, or adverse to the interests of FUNDER                              EITHER PARTY IS PERMITTED BY LAW OR COURT OF LAW TO
law, in equity or otherwise pursuant to this Agreement                                2 12 Business Purpose. Merchant is a valid business in good standing under the        PROCEED WITH A CLASS OR REPRESENTATIVE ACTION AGAINST
Protection 1 The full uncollected Purchase Amount plus all fees due under this        laws of the jurisdictions in which it is organized and/or operates, and Merchant      THE OTHER, THE PARTIES HEREBY AGREE THAT: (1) THE
Agreement and the attached Security Agreement become due and payable in full          is entering into this Agreement for business purposes and not as a consumer for       PREVAILING PARTY SHALL NOT BE ENTITLED TO RECOVER
immediately                                                                           personal, family or household purposes                                                ATTORNEYS’ FEES OR COSTS ASSOCIATED WITH PURSUING THE
Protection 2 FUNDER may enforce the provisions of the Personal Guarantee of           2 13 Default Under Other Contracts Merchant’s execution of and/or                     CLASS OR REPRESENTATIVE ACTION (NOT WITHSTANDING ANY
Performance against the Guarantor                                                     performance under this Agreement will not cause or create an event of default by      OTHER PROVISION IN THIS AGREEMENT); AND (2) THE PARTY
Protection 3 Merchant shall, upon execution of this Agreement, deliver to             Merchant under any contract with another person or entity                             WHO INITIATES OR PARTICIPATES AS A MEMBER OF THE CLASS
FUNDER an executed confession of judgment in favor of FUNDER in the                   III. EVENTS OF DEFAULT AND REMEDIES                                                   WILL NOT SUBMIT A CLAIM OR OTHERWISE PARTICIPATE IN
amount of the Purchase Amount stated in the Agreement Upon breach of any              3 1 Events of Default The occurrence of any of the following events shall             ANY RECOVERY SECURED THROUGH THE CLASS OR
provision in this paragraph 1 11, FUNDER may enter that confession of                 constitute an “Event of Default” hereunder: (a) Merchant shall violate any term       REPRESENTATIVE ACTION.
judgment as a judgment with the Clerk of the Court and execute thereon                or covenant in this Agreement; (b) Any representation or warranty by Merchant         4 11 Facsimile Acceptance. Facsimile signatures shall be deemed acceptable
Protection 4 FUNDER may enforce its security interest in the Collateral               in this Agreement shall prove to have been incorrect, false or misleading in any      for all purposes
identified in Article III hereof                                                      material respect when made; (c) Merchant shall admit in writing its inability to                                                         Initials: ______________
Protection 5 The entire Purchase Amount shall become immediately refundable           pay its debts, or shall make a general assignment for the benefit of creditors; or
to FUNDER from Merchant                                                               any proceeding shall be instituted by or against Merchant seeking to adjudicate it
Protection 6 FUNDER may proceed to protect and enforce its rights and                 a bankrupt or insolvent, or seeking reorganization, arrangement, adjustment, or

02-02-15                                                                                       Colonial Funding Network as Servicing Agent

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                                                                                               KAPITUS EX. 13 - 399
           Case 20-04009-elm Doc 68-6 Filed 09/21/21                                   Entered 09/21/21 23:36:41                        Page 400 of 540


                                                 TVT Capital - SECURITY AGREEMENT AND GUARANTY

Merchant’s Legal Name: LICENSE TO CHILL HEATING AND AIR INC                              D/B/A: Just Chillin Heating & Air (ACH)
Physical Address: 1150 Blue Mound Rd W Ste 103                                City: Haslet                      State: TX                   Zip: 76052-3877
Federal ID# XX-XXXXXXX
                                                                       SECURITY AGREEMENT

Security Interest. To secure Merchant’s payment and performance obligations to FUNDER, as the lead purchaser for itself and its affiliates or the Funders , a list of which
may be provided to the Merchant upon written notice after the funding of the purchase closes under the Merchant Agreement (the “Factoring Agreement”), Merchant hereby
grants to FUNDER a security interest in (a) all accounts, chattel paper, documents, equipment, general intangibles, instruments, and inventory, as those terms are defined in
Article 9 of the Uniform Commercial Code (the “UCC”), now or hereafter owned or acquired by Merchant; and (b) all proceeds, as that term is defined in Article 9 of the
UCC (a and b collectively, the “Collateral”).

Cross-Collateral. To secure Guarantor’s payment and performance obligations to FUNDER (and its the Funders) under this Security Agreement and Guaranty (the
“Agreement”), Guarantor hereby grants FUNDER, for itself and its participants, a security interest in _ (the “Additional Collateral”). Guarantor understands that FUNDER
will have a security interest in the aforesaid Additional Collateral upon execution of this Agreement.

Merchant and Guarantor each acknowledge and agree that any security interest granted to FUNDER under any other agreement between Merchant or Guarantor and
FUNDER (the “Cross-Collateral”) will secure the obligations hereunder and under the Merchant Agreement.

Merchant and Guarantor each agrees to execute any documents or take any action in connection with this Agreement as FUNDER deems necessary to perfect or maintain
FUNDER’s first priority security interest in the Collateral, the Additional Collateral and the Cross-Collateral, including the execution of any account control agreements.
Merchant and Guarantor each hereby authorizes FUNDER to file any financing statements deemed necessary by FUNDER to perfect or maintain FUNDER’s security
interest, which financing statement may contain notification that Merchant and Guarantor have granted a negative pledge to FUNDER with respect to the Collateral, the
Additional Collateral and the Cross-Collateral, and that any subsequent lienor may be tortiously interfering with FUNDER’s rights. Merchant and Guarantor shall be liable
for and FUNDER may charge and collect all costs and expenses, including but not limited to attorney’s fees, which may be incurred by FUNDER in protecting, preserving
and enforcing FUNDER’s security interest and rights.

Negative Pledge. Merchant and Guarantor each agrees not to create, incur, assume, or permit to exist, directly or indirectly, any lien on or with respect to any of the
Collateral , the Additional Collateral or the Cross-Collateral, as applicable.

Consent to Enter Premises and Assign Lease. FUNDER shall have the right to cure Merchant’s default in the payment of rent on the following terms. In the event
Merchant is served with papers in an action against Merchant for nonpayment of rent or for summary eviction, FUNDER may execute its rights and remedies under the
Assignment of Lease. Merchant also agrees that FUNDER may enter into an agreement with Merchant’s landlord giving FUNDER the right: (a) to enter Merchant’s
premises and to take possession of the fixtures and equipment therein for the purpose of protecting and preserving same; and (b) to assign Merchant’s lease to another
qualified Merchant capable of operating a business comparable to Merchant’s at such premises.

Remedies. Upon any Event of Default, FUNDER may pursue any remedy available at law (including those available under the provisions of the UCC), or in equity to
collect, enforce, or satisfy any obligations then owing, whether by acceleration or otherwise.

                                                                               GUARANTY

Personal Guaranty of Performance. The undersigned Guarantor(s) hereby guarantees to FUNDER, and its affiliates or the Funders, Merchant’s performance of all of the
representations, warranties, covenants made by Merchant in this Agreement and the Merchant Agreement, as each agreement may be renewed, amended, extended or
otherwise modified (the “Guaranteed Obligations”). Guarantor’s obligations are due (i) at the time of any breach by Merchant of any representation, warranty, or covenant
made by Merchant in this Agreement and the Merchant Agreement, and (ii) at the time Merchant admits its inability to pay its debts, or makes a general assignment for the
benefit of creditors, or any proceeding shall be instituted by or against Merchant seeking to adjudicate it bankrupt or insolvent, or seeking reorganization, arrangement,
adjustment, or composition of it or its debts.

Guarantor Waivers. In the event that Merchant fails to make a payment or perform any obligation when due under the Merchant Agreement, FUNDER may enforce its
rights under this Agreement without first seeking to obtain payment from Merchant, any other guarantor, or any Collateral, Additional Collateral or Cross-Collateral
FUNDER may hold pursuant to this Agreement or any other guaranty.

FUNDER does not have to notify Guarantor of any of the following events and Guarantor will not be released from its obligations under this Agreement if it is not notified
of: (i) Merchant’s failure to pay timely any amount owed under the Merchant Agreement; (ii) any adverse change in Merchant’s financial condition or business; (iii) any sale
or other disposition of any collateral securing the Guaranteed Obligations or any other guarantee of the Guaranteed Obligations; (iv) FUNDER’s acceptance of this
Agreement ; and (v) any renewal, extension or other modification of the Merchant Agreement or Merchant’s other obligations to FUNDER. In addition, FUNDER may take
any of the following actions without releasing Guarantor from any of its obligations under this Agreement : (i) renew, extend or otherwise modify the Merchant Agreement
or Merchant’s other obligations to FUNDER; (ii) release Merchant from its obligations to FUNDER; (iii) sell, release, impair, waive or otherwise fail to realize upon any
collateral securing the Guaranteed Obligations or any other guarantee of the Guaranteed Obligations; and (iv) foreclose on any collateral securing the Guaranteed
Obligations or any other guarantee of the Guaranteed Obligations in a manner that impairs or precludes the right of Guarantor to obtain reimbursement for payment under
this Agreement. Until the Merchant Amount plus any accrued but unpaid interest and Merchant’s other obligations to FUNDER under the Merchant Agreement and this
Agreement are paid in full, Guarantor shall not seek reimbursement from Merchant or any other guarantor for any amounts paid by it under this Agreement. Guarantor
permanently waives and shall not seek to exercise any of the following rights that it may have against Merchant, any other guarantor, or any collateral provided by Merchant
or any other guarantor, for any amounts paid by it, or acts performed by it, under this Agreement: (i) subrogation ; (ii) reimbursement; (iii) performance; (iv)
indemnification; or (v) contribution. In the event that FUNDER must return any amount paid by Merchant or any other guarantor of the Guaranteed Obligations because that
person has become subject to a proceeding under the United States Bankruptcy Code or any similar law, Guarantor’s obligations under this Agreement shall include that
amount.

Guarantor Acknowledgement. Guarantor acknowledges that: (i) He/She understands the seriousness of the provisions of this Agreement; (ii) He/She has had a full
opportunity to consult with counsel of his/her choice; and (iii) He/She has consulted with counsel of its choice or has decided not to avail himself/herself of that
opportunity.
                                                                                                                                                 INITIAL: _________

                                                                                                                                                     Kapitus_000400
02-02-15                                                         KAPITUS EX. 13 - 400
                                                                Colonia Funding Network as Servicing Agent
           Case 20-04009-elm Doc 68-6 Filed 09/21/21                                   Entered 09/21/21 23:36:41                        Page 401 of 540

Joint and Several Liability. The obligations hereunder of the persons or entities constituting Guarantor under this Agreement are joint and several.

THE TERMS, DEFINITIONS, CONDITIONS AND INFORMATION SET FORTH IN THE “MERCHANT AGREEMENT”, INCLUDING THE “TERMS AND
CONDITIONS”, ARE HEREBY INCORPORATED IN AND MADE A PART OF THIS SECURITY AGREEMENT AND GUARANTY. CAPITALIZED TERMS NOT
DEFINED IN THIS SECURITY AGREEMENT AND GUARANTY, SHALL HAVE THE MEANING SET FORTH IN THE MERCHANT AGREEMENT, INCLUDING
THE TERMS AND CONDITIONS.

MERCHANTS AND OWNERS/GUARANTORS ACKNOWLEDGE THAT THIS WRITING REPRESENTS THE ENTIRE AGREEMENT BETWEEN THE PARTIES
HERETO. IT IS UNDERSTOOD THAT ANY REPRESENTATIONS OR ALLEGED PROMISES BY INDEPENDENT BROKERS OR AGENTS OF ANY PARTY IF
NOT INCLUDED IN THIS WRITTEN AGREEMENT ARE CONSIDERED NULL AND VOID. ANY MODIFICATION OR OTHER ALTERATION TO THE
AGREEMENT MUST BE IN WRITING AND EXECUTED BY THE PARTIES TO THIS CONTRACT.


MERCHANT #1
By Dwayne Bridges                                                                                                                                  Sign Here
                      (Print Name and Title)                                                        (Signature)
SS#        -7894                                                        Drivers License Number:

MERCHANT #2
By                                                                                                                                                 Sign Here
                      (Print Name and Title)                                                        (Signature)
SS#                                                                     Drivers License Number:

OWNER/GUARANTOR #1
By Dwayne Bridges                                                                                                                                  Sign Here
                  (Print Name)                                                                      (Signature)
SS#      -7894                                                          Drivers License Number:

OWNER/GUARANTOR #2
By                                                                                                                                                 Sign Here
             (Print Name)                                                                           (Signature)
SS#                                                                     Drivers License Number:




AUTHORIZED SERVICING AGENT – Colonial Funding Network, Inc.

Colonial Funding Network, Inc. (Colonial) is the Authorized Servicing Agent of Warren Fellus TVT Capital for this contract providing administrative,
bookkeeping, reporting and support services for Warren Fellus TVT Capital and the Merchant. Colonial is not affiliated or owned by the Warren Fellus TVT
Capital and is acting as independent agent for services including but not limited to background checks, credit checks, general underwriting review, filing UCC-1
security interests, cash management, account reporting and remit capture. Colonial may at its sole discretion participate in this financing by providing a small
portion of the funds for this transaction directly to Warren Fellus TVT Capital. Colonial is not a credit card processor, or in the business of processing credit
cards. Merchant hereby acknowledges that in no event will Colonial be liable for any claims made against the Warren Fellus TVT Capital or the Processor under
any legal theory for lost profits, lost revenues, lost business opportunity, exemplary, punitive, special, incidental, indirect or consequential damages, each of which
is waived by the Merchant and Owner/Guarantor.

MERCHANT
By                                                                         Sign:                                                                   Sign Here
                      (Print Name and Title)                                                        (Signature)




                                                                                                                                                       Kapitus_000401
02-02-15                                                         KAPITUS EX. 13 - 401
                                                                Colonia Funding Network as Servicing Agent
           Case 20-04009-elm Doc 68-6 Filed 09/21/21                       Entered 09/21/21 23:36:41      Page 402 of 540




Origination Fee – to cover underwriting and related expenses
     Amount Funded                 Origination Fee
     Under $7,500.00                  $199.00
     $7,500.00-$25,000.00             $295.00
     $25,001.00-$50,000.00            $395.00
     $50,001.00-$100,000.00           $595.00
     $100,001.00-$250,000.00          $795.00
     Over $250,000.00                 $995.00
     *There may be an additional fee charged to cover the cost of conducting a site inspection.

     a) ACH Program Fee-                $ 395.00       ACH’s are labor intensive and are not an automated process
        requiring us to charge this fee to cover costs

     b) NSF Fee (Standard)-                $ 50.00ea              Up to FOUR TIMES ONLY before a default is declared

     c) Rejected ACH -                                            When the merchant directs the bank to Reject our Debit ACH
           Daily ACH Program               Amount Funded            Reject Fee
                                                 i. Up to $7,500.00          $ 25.00
                                                ii. $7,501.00-$50,000.00     $ 35.00
                                               iii. $50,001.00-$100,000.00 $ 50.00
                                               iv. $100,001.00-$250,000.00 $ 75.00
                                                v. Over $250,000.00          $100.00
           Weekly ACH Program              Amount Funded            Reject Fee
                                               vi. Up to $7,500.00           $ 75.00
                                              vii. $7,501.00-$50,000.00      $ 99.00
                                             viii. $50,001.00-$100,000.00 $175.00
                                               ix. $100,001.00-$250,000.00 $275.00
                                                x. Over $250,000.00          $395.00

     d) Bank Change Fee-                $75.00                    When Merchant requires a change of account to be Debited
        requiring us to adjust our system

     e) Blocked Account-               $2,500.00                  When Merchant BLOCKS account from our Debit ACH which
        places them in default (per contract)

     f) Default Fee-                 $5,000.00    When Merchant changes bank account cutting us off from our
        Collections
     g) UCC Termination Fee- $150.00        When Merchant request a UCC termination

Miscellaneous Service Fees. Merchant shall pay to Colonial certain fees Merchant funding is done electronically to their designated
bank account and charged a fee of $35.00 for a Fed Wire or $15.00 for an ACH. The fee for underwriting and origination is paid from
the funded amount in accordance with the schedule below. If Merchant is utilizing a Bridge / Control Account, there is an upfront fee
of $395.00 for the bank fees and administrative costs of maintaining such account for each cash advance agreement with Merchant.
Fund transfers from Bridge / Control Accounts to Merchant’s operating bank account will be charged $10.95 per month via ACH. This
fee will continue if the bridge account remains open after the RTR is paid. Merchant will be charged $50.00 for each change of its
operating bank account once active with Colonial. Any administrative adjustments associated with changes to the Specified Percentage
will incur a fee of $75.00 per occurrence. (All fees are subject to change)




Merchant Initials: ____________

                                                                                                                    Kapitus_000402
02-02-15                                             KAPITUS EX. 13 - 402
                                                     Colonia Funding Network as Servicing Agent
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 403 of 540




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                              KAPITUS EX. 13 - 403
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 404 of 540




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                              KAPITUS EX. 13 - 404
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 405 of 540
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 406 of 540




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                              KAPITUS EX. 13 - 406
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 407 of 540
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 408 of 540
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 409 of 540
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 410 of 540




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                              KAPITUS EX. 13 - 410
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 411 of 540
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 412 of 540
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 413 of 540




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                              KAPITUS EX. 13 - 413
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 414 of 540




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                              KAPITUS EX. 13 - 414
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 415 of 540
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 416 of 540




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                              KAPITUS EX. 13 - 416
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 417 of 540




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                              KAPITUS EX. 13 - 417
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 418 of 540




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                              KAPITUS EX. 13 - 418
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 419 of 540
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 420 of 540




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                              KAPITUS EX. 13 - 420
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 421 of 540
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 422 of 540




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                              KAPITUS EX. 13 - 422
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 423 of 540




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                              KAPITUS EX. 13 - 423
            Case 20-04009-elm Doc 68-6 Filed 09/21/21                                        Entered 09/21/21 23:36:41                         Page 424 of 540


                                                                      120 West 45th Street
                                                                      New York, NY 10036
                                                                      Phone (757) 903-4889



                                                                  Lease Verification Form


Date:                             June 10, 2016

Tenant's DBA Name:                Just Chillin Heating & Air (ACH) (LF)

Tenant's Legal Name:              LICENSE TO CHILL HEATING AND AIR INC

Physical Address:                 1150 Blue Mound Rd W Ste 201 & 202

                                  Haslet, TX 76052-3877

Attention:           Jim Eaton
Phone:               (817) 439-3224                                     Fax:

You have been listed as the landlord or managing agent for the above referenced tenant. Please complete the following
information and fax this form back to (646) 607-9026. If you have any questions, please feel free to contact Ying Yang at (212) 354-
1400 thanks.


                     Is the tenant current on their lease?                            yes

                     If not current, please state the number of months tenant is delinquent on:

                     Has the tenant been late on their payments in the past year? If yes, how many times?                                 No

                     Lease expiration date?                                                     05/31/2019

                     Is there a renewal option, if so, how many years?

                     Total monthly payment?                                      2775

                     Are there any disputes with the tenant? no

                     Is this space a storefront or an office?    office / warehouse

                     Who's the principal signer on the lease agreement?                                           Dwayne

                     Is this lease agreement a sublease or an assignment?

                     Is this lease agreement personally guaranteed by the tenant?

                     Comments:



Landlord Information

Leasing Company / property agent's name?

Legal entity / owner's name on the property?

What year was the business property purchased?


AGREED AND ACKNOWLEDGED:


X                                                                                       Business Address:
(Landlord's Signature)                                                                                           (Street Address)



(Print Name)                                                                                                     (City, State, Zip Code

                                                                                        Business Phone Number:
(Title)                                                      (Date)




                                                                                                                                                      Kapitus_000424
                                                                      KAPITUS EX. 13 - 424
            Case 20-04009-elm Doc 68-6 Filed 09/21/21                                        Entered 09/21/21 23:36:41                         Page 425 of 540


                                                                      120 West 45th Street
                                                                      New York, NY 10036
                                                                      Phone (757) 903-4889



                                                                  Lease Verification Form


Date:                             June 10, 2016

Tenant's DBA Name:                Just Chillin Heating & Air (ACH) (LF)

Tenant's Legal Name:              LICENSE TO CHILL HEATING AND AIR INC

Physical Address:                 1150 Blue Mound Rd W Ste 201 & 202

                                  Haslet, TX 76052-3877

Attention:           Jim Eaton
Phone:               (817) 439-3224                                     Fax:

You have been listed as the landlord or managing agent for the above referenced tenant. Please complete the following
information and fax this form back to (646) 607-9026. If you have any questions, please feel free to contact Ying Yang at (212) 354-
1400 thanks.


                     Is the tenant current on their lease?                            yes

                     If not current, please state the number of months tenant is delinquent on:

                     Has the tenant been late on their payments in the past year? If yes, how many times?                                 No

                     Lease expiration date?                                                     05/31/2019

                     Is there a renewal option, if so, how many years?

                     Total monthly payment?                                      2775

                     Are there any disputes with the tenant? no

                     Is this space a storefront or an office?    office / warehouse

                     Who's the principal signer on the lease agreement?                                           Dwayne

                     Is this lease agreement a sublease or an assignment?

                     Is this lease agreement personally guaranteed by the tenant?

                     Comments:



Landlord Information

Leasing Company / property agent's name?

Legal entity / owner's name on the property?

What year was the business property purchased?


AGREED AND ACKNOWLEDGED:


X                                                                                       Business Address:
(Landlord's Signature)                                                                                           (Street Address)



(Print Name)                                                                                                     (City, State, Zip Code

                                                                                        Business Phone Number:
(Title)                                                      (Date)




                                                                                                                                                      Kapitus_000425
                                                                      KAPITUS EX. 13 - 425
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 426 of 540




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                              KAPITUS EX. 13 - 426
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 427 of 540




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                              KAPITUS EX. 13 - 427
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 428 of 540




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                              KAPITUS EX. 13 - 428
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 429 of 540




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                              KAPITUS EX. 13 - 429
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 430 of 540




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                              KAPITUS EX. 13 - 430
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 431 of 540




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                              KAPITUS EX. 13 - 431
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 432 of 540
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 433 of 540




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                              KAPITUS EX. 13 - 433
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 434 of 540




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                              KAPITUS EX. 13 - 434
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 435 of 540
Merchant Statement
                                                   Case 20-04009-elm Doc 68-6 Filed 09/21/21              Entered 09/21/21 23:36:41
                                                                                       Just Chillin Heating Air (ACH) (LF)
                                                                                                                                                                                                    Page 436 of 540                                              Start Date: 2016-06-29
                                                                                                                                                                                                                                                                  End Date: 2019-10-10




Merchant Statement of Activity
Just Chillin Heating & Air (ACH) (LF)                                                                                      Merchant ID: 308731
1150 Blue Mound Rd W Ste 201 & 202                                                                                         From: 2016-06-29 - 2019-10-10
Haslet, TX 76052-3877


Date           Description                                                                                                 Deposits          Fees          Charge-backs   Disbursements     Holdback % Pending Pmts   Contract Pmts Contract Balance Lockbox Reserve
2016-06-29     Beginning contract balance                                                                                                                                                                                                 $130,412.00
2013-11-06     Just Chillin Heating & Air (ACH) New Cash Advance Other via ACH                                                                                                 $50,000.00
2015-12-21     Just Chillin Heating & Air (ACH) (LF) New Cash Advance Other via ACH                                                                                            $73,995.00
2016-06-10     Just Chillin Heating & Air (ACH) (LF) Renewal Cash Advance Other via ACH                                                                                        $52,264.00
2016-06-29     Contract [1159502] Payment from Daily ACH Debit initiated 2016-06-24                                                                                                               9.0%                      -$829.00     $129,583.00
2016-06-30     Contract [1159502] Payment from Daily ACH Debit initiated 2016-06-27                                                                                                               9.0%                      -$829.00     $128,754.00
2016-07-01     Contract [1159502] Payment from Daily ACH Debit initiated 2016-06-28                                                                                                               9.0%                      -$829.00     $127,925.00
2016-07-05     Contract [1159502] Payment from Daily ACH Debit initiated 2016-06-29                                                                                                               9.0%                      -$829.00     $127,096.00
2016-07-06     Contract [1159502] Payment from Daily ACH Debit initiated 2016-06-30                                                                                                               9.0%                      -$829.00     $126,267.00
2016-07-07     Contract [1159502] Payment from Daily ACH Debit initiated 2016-07-01                                                                                                               9.0%                      -$829.00     $125,438.00
2016-07-08     Contract [1159502] Payment from Daily ACH Debit initiated 2016-07-05                                                                                                               9.0%                      -$829.00     $124,609.00
2016-07-11     Contract [1159502] Payment from Daily ACH Debit initiated 2016-07-06                                                                                                               9.0%                      -$829.00     $123,780.00
2016-07-12     Contract [1159502] Payment from Daily ACH Debit initiated 2016-07-07                                                                                                               9.0%                      -$829.00     $122,951.00
2016-07-13     Contract [1159502] Payment from Daily ACH Debit initiated 2016-07-08                                                                                                               9.0%                      -$829.00     $122,122.00
2016-07-14     Contract [1159502] Payment from Daily ACH Debit initiated 2016-07-11                                                                                                               9.0%                      -$829.00     $121,293.00
2016-07-15     Contract [1159502] Payment from Daily ACH Debit initiated 2016-07-12                                                                                                               9.0%                      -$829.00     $120,464.00
2016-07-18     Contract [1159502] Payment from Daily ACH Debit initiated 2016-07-13                                                                                                               9.0%                      -$829.00     $119,635.00
2016-07-19     Contract [1159502] Payment from Daily ACH Debit initiated 2016-07-14                                                                                                               9.0%                      -$829.00     $118,806.00
2016-07-20     Contract [1159502] Payment from Daily ACH Debit initiated 2016-07-15                                                                                                               9.0%                      -$829.00     $117,977.00
2016-07-21     Contract [1159502] Payment from Daily ACH Debit initiated 2016-07-18                                                                                                               9.0%                      -$829.00     $117,148.00
2016-07-22     Contract [1159502] Payment from Daily ACH Debit initiated 2016-07-19                                                                                                               9.0%                      -$829.00     $116,319.00
2016-07-25     Contract [1159502] Payment from Daily ACH Debit initiated 2016-07-20                                                                                                               9.0%                      -$829.00     $115,490.00
2016-07-26     Contract [1159502] Payment from Daily ACH Debit initiated 2016-07-21                                                                                                               9.0%                      -$829.00     $114,661.00
2016-07-27     Contract [1159502] Payment from Daily ACH Debit initiated 2016-07-22                                                                                                               9.0%                      -$829.00     $113,832.00
2016-07-28     Contract [1159502] Payment from Daily ACH Debit initiated 2016-07-25                                                                                                               9.0%                      -$829.00     $113,003.00
2016-07-29     Contract [1159502] Payment from Daily ACH Debit initiated 2016-07-26                                                                                                               9.0%                      -$829.00     $112,174.00
2016-08-01     Contract [1159502] Payment from Daily ACH Debit initiated 2016-07-27                                                                                                               9.0%                      -$829.00     $111,345.00
2016-08-02     Contract [1159502] Payment from Daily ACH Debit initiated 2016-07-28                                                                                                               9.0%                      -$829.00     $110,516.00
2016-08-03     Contract [1159502] Payment from Daily ACH Debit initiated 2016-07-29                                                                                                               9.0%                      -$829.00     $109,687.00
2016-08-04     Contract [1159502] Payment from Daily ACH Debit initiated 2016-08-01                                                                                                               9.0%                      -$829.00     $108,858.00
2016-08-05     Contract [1159502] Payment from Daily ACH Debit initiated 2016-08-02                                                                                                               9.0%                      -$829.00     $108,029.00
2016-08-08     Contract [1159502] Payment from Daily ACH Debit initiated 2016-08-03                                                                                                               9.0%                      -$829.00     $107,200.00
2016-08-09     Contract [1159502] Payment from Daily ACH Debit initiated 2016-08-04                                                                                                               9.0%                      -$829.00     $106,371.00
2016-08-10     Contract [1159502] Payment from Daily ACH Debit initiated 2016-08-05                                                                                                               9.0%                      -$829.00     $105,542.00
2016-08-11     Contract [1159502] Payment from Daily ACH Debit initiated 2016-08-08                                                                                                               9.0%                      -$829.00     $104,713.00
2016-08-12     Contract [1159502] Payment from Daily ACH Debit initiated 2016-08-09                                                                                                               9.0%                      -$829.00     $103,884.00
2016-08-15     Contract [1159502] Payment from Daily ACH Debit initiated 2016-08-10                                                                                                               9.0%                      -$829.00     $103,055.00
2016-08-16     Contract [1159502] Payment from Daily ACH Debit initiated 2016-08-11                                                                                                               9.0%                      -$829.00     $102,226.00
2016-08-17     Contract [1159502] Payment from Daily ACH Debit initiated 2016-08-12                                                                                                               9.0%                      -$829.00     $101,397.00
2016-08-18     Contract [1159502] Payment from Daily ACH Debit initiated 2016-08-15                                                                                                               9.0%                      -$829.00     $100,568.00
2016-08-19     Contract [1159502] Payment from Daily ACH Debit initiated 2016-08-16                                                                                                               9.0%                      -$829.00      $99,739.00
2016-08-22     Contract [1159502] Payment from Daily ACH Debit initiated 2016-08-17                                                                                                               9.0%                      -$829.00      $98,910.00
2016-08-23     Contract [1159502] Payment from Daily ACH Debit initiated 2016-08-18                                                                                                               9.0%                      -$829.00      $98,081.00
2016-08-24     Contract [1159502] Payment from Daily ACH Debit initiated 2016-08-19                                                                                                               9.0%                      -$829.00      $97,252.00
2016-08-25     Contract [1159502] Payment from Daily ACH Debit initiated 2016-08-22                                                                                                               9.0%                      -$829.00      $96,423.00
2016-08-26     Contract [1159502] Payment from Daily ACH Debit initiated 2016-08-23                                                                                                               9.0%                      -$829.00      $95,594.00
2016-08-29     Contract [1159502] Payment from Daily ACH Debit initiated 2016-08-24                                                                                                               9.0%                      -$829.00      $94,765.00
2016-08-30     Contract [1159502] Payment from Daily ACH Debit initiated 2016-08-25                                                                                                               9.0%                      -$829.00      $93,936.00
2016-08-31     Contract [1159502] Payment from Daily ACH Debit initiated 2016-08-26                                                                                                               9.0%                      -$829.00      $93,107.00
2016-08-31     Contract [1159502] Payment from 8/31/2016 returned due to R08: Payment Stopped or Stop Payment on Item                                                                             9.0%                       $829.00      $93,936.00
2016-09-01     Contract [1159502] Payment from Daily ACH Debit initiated 2016-08-29                                                                                                               9.0%                      -$829.00      $93,107.00




                                                                                                                                                                                                                                                       Kapitus_000436
KAPITUS                                                                                                                                                                                                                                                                         Page 1

                                                                                                                        KAPITUS EX. 13 - 436
Merchant Statement
                                                  Case 20-04009-elm Doc 68-6 Filed 09/21/21              Entered 09/21/21 23:36:41
                                                                                      Just Chillin Heating Air (ACH) (LF)
                                                                                                                                                                                            Page 437 of 540                               Start Date: 2016-06-29
                                                                                                                                                                                                                                           End Date: 2019-10-10



2016-09-01    Contract [1159502] Payment from 9/1/2016 returned due to R08: Payment Stopped or Stop Payment on Item                                                                        9.0%              $829.00    $93,936.00
2016-09-02    Contract [1159502] Payment from Daily ACH Debit initiated 2016-08-30                                                                                                         9.0%             -$829.00    $93,107.00
2016-09-02    Contract [1159502] Payment from 9/2/2016 returned due to R08: Payment Stopped or Stop Payment on Item                                                                        9.0%              $829.00    $93,936.00
2019-10-10    Ending contract balance                                                                                                                                                                                   $93,936.00
Total                                                                                                                               $0.00             $0.00          $0.00   $176,259.00          $0.00   -$36,476.00


Contract Summary
Contract ID  Description                                                                                                 Funding Amount Beginning Balance Ending Balance
     1159502 Renewal Cash Advance                                                                                              $100,000.00      $130,412.00    $93,936.00
      750702 New Cash Advance                                                                                                        $0.00            $0.00          $0.00


Deposit Summary
Total Visa/MasterCard/Discover Deposit                                                                                              $0.00


Unpaid Fees
Date          Description                                                                                                Amount
08/31/2016    Returned ACH - Payment Stopped - Payment from 8/31/2016                                                              $50.00
09/01/2016    Returned ACH - Payment Stopped - Payment from 9/1/2016                                                               $50.00
09/02/2016    Returned ACH - Payment Stopped - Payment from 9/2/2016                                                               $50.00
              Total:                                                                                                              $150.00




                                                                                                                                                                                                                                     Kapitus_000437
KAPITUS                                                                                                                                                                                                                                                  Page 2

                                                                                                                      KAPITUS EX. 13 - 437
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 438 of 540
                                            S UCH ENTITY.Accounts,
Case 20-04009-elm Doc 68-6 Filed 09/21/21   accounts
                                             Entered   receivable,
                                                           09/21/21contracts,
                                                                          23:36:41   Page 439 of 540
                                            real property leases, not es,
                                            bills, acceptances, chooses in
                                            action, chattel paper,
                                            instruments, documents and
                                            other forms of obligations at
                                            any time owing to the Grantor
                                            arising out of goods sold or
                                            leased or for services rendered
                                            by Grantor, the proceeds
                                            thereof a nd all of Grantor's
                                            rights with respect to any goods
                                            represented thereby, whethe r
                                            or not delivered, goods
                                            returned by customers and all
                                            rights as an unpaid vend or or
                                            lienor, including rights of
                                            stoppage in transit and of
                                            recovering possessi on by
                                            proceedings including replevin
                                            and reclamation, together with
                                            all customer lists, books and
                                            records, ledger and account
                                            cards, computer tapes,
                                            software, d isks, printouts and
                                            records, whether now in
                                            existence or hereafter created,
                                            rela ting thereto (collectively
                                            referred to hereinafter as
                                            "Receivables");Inventory,
                                            including without limitation, all
                                            goods manufactured or
                                            acquired for sale or le ase, and
                                            any piece goods, raw materials,
                                            work in process and ﬁnished
                                            merchandis e, ﬁndings or
                                            component materials, and all
                                            supplies, goods, incidentals,
                                            ofﬁce supplies, packaging
                                            materials and any and all items
                                            used or consumed in the ope
                                            ration of the business of
                                            Grantor or which may
                                            contribute to the ﬁnished
                                            produc t or to the sale,
                                            promotion and shipment
                                            thereof, in which Grantor now or
                                            at any time hereafter may have
                                            an interest, whether or not the
                                            same is in transit or i n the
                                            constructive, actual or exclusive
                                            occupancy or possession of
                                            Grantor or is held by Grantor or
                                            by others for Grantor's account
                                            (collectively referred to he
                                            reinafter as "Inventory");Goods,
                                            including without limitation, all
                                            machinery, e quipment, parts,
                                            supplies, apparatus, appliances,
                                            tools, ﬁttings, furniture, fu
                                            rnishings, ﬁxtures and articles
                                            of tangible personal property of
                                            every descript ion now or
                                            hereafter owned by the Grantor
                                            or in which Grantor may have or
                                            may he reafter acquire any
                                            interest, at any location
                                            (collectively referred to hereinaf
                                            ter as "Equipment");General
                                            intangibles in which the Grantor                Kapitus_000439
                              KAPITUS EX. 13 - 439
                                            now has or hereaft er acquires
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 440 of 540
                                                            HASLET TX 76052   receivables (accounts), chattel
           Case 20-04009-elm Doc 68-6 Filed 09/21/21                          paper,
                                                                               Entereddeposit09/21/21
                                                                                              ac counts, 23:36:41   Page 441 of 540
                                                                              personal property, assets and
                                                                              ﬁxtures, general intangibles,
                                                                              instruments , equipment,
                                                                              inventory wherever located, and
                                                                              proceeds now or hereafter
                                                                              owned or acquired by License
                                                                              to Chill Heating and Air
                                                                              Inc.NOTICE PURSUANT TO AN
                                                                              AGREE MENT BETWEEN DEBTOR
                                                                              (SELLER) AND SECURED PARTY
                                                                              (BUYER), DEBTOR HAS AGREED
                                                                              TO NOT FURTHER SELL THE
                                                                              DEBTOR'S RECEIVABLES, THE
                                                                              FURTHER ENCUMBERING OF
                                                                              WHICH MAY CON STITUTE THE
                                                                              TORTIOUS INTERFERENCE WITH
                                                                              THE SECURED PARTY'S
                                                                              CONTRACTUAL RELATIONS HIP
                                                                              WITH DEBTOR. IN THE EVENT
                                                                              THAT ANY ENTITY PURCHASES
                                                                              DEBTOR'S RECEIVABLES CO
                                                                              NTRARY TO THE ABOVE, THE
                                                                              SECURED PARTY ASSERTS A
                                                                              CLAIM TO ANY PROCEEDS
                                                                              THEREOF R ECEIVED BY SUCH
                                                                              ENTITY.




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                                                                                                                           Kapitus_000441
                                                             KAPITUS EX. 13 - 441
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 442 of 540
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 443 of 540
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 444 of 540
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 445 of 540
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 446 of 540
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 447 of 540
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 448 of 540
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 449 of 540
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 450 of 540
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 451 of 540
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 452 of 540
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 453 of 540
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 454 of 540
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 455 of 540
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 456 of 540
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 457 of 540
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 458 of 540
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 459 of 540
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 460 of 540
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 461 of 540
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 462 of 540
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 463 of 540
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 464 of 540
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 465 of 540
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 466 of 540
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 467 of 540
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 468 of 540
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 469 of 540
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 470 of 540
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 471 of 540
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 472 of 540
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 473 of 540
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 474 of 540
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 475 of 540
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 476 of 540
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 477 of 540
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 478 of 540
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 479 of 540
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 480 of 540
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 481 of 540
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 482 of 540
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 483 of 540
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 484 of 540
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 485 of 540
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 486 of 540
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 487 of 540
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 488 of 540
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 489 of 540
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 490 of 540
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 491 of 540
Case 20-04009-elm Doc 68-6 Filed 09/21/21       Entered 09/21/21 23:36:41       Page 492 of 540




              Claimant/Creditor:     Kapitus Servicing, Inc. f/k/a Colonial Funding Network,
                                     Inc. as servicing provider for TVT Capital, LLC

              Debtor (s):            Dwayne Paul Bridges

              Case No.:              19-44181



              Claim Itemization

              Judgment Principal                                  $99,086.00

              Interest @ 9%
              (New York Legal Rate)
              From 8/30/16                                        $13,853.04

              Court Costs                                         $550.00

              Interest @ 9%
              (New York Legal Rate)
              From 8/30/16 to 10/10/19                            $31,817.31

              Total Claim                                         $145,306.35




                                                                                        Kapitus_000492
                                   KAPITUS EX. 13 - 492
Case 20-04009-elm Doc 68-6 Filed 09/21/21       Entered 09/21/21 23:36:41       Page 493 of 540




        Claimant/Creditor:   Kapitus Servicing, Inc. f/k/a Colonial Funding Network, Inc. as
                             servicing agent for TVT Capital, LLC

        Debtor (s):          Dwayne Paul Bridges
        Case No.             19-44181


        Claim Itemization


               Judgment Principal                         $99,086.00

               Pre-Judgment Interest Awarded @ 9%
               (New York Legal Rate)
               From 8/30/16 to 9/19/20                    $13,853.04

               Court Costs                                $550.00

               Post-Judgment Interest @ 9%
               (New York Legal Rate)
               From 3/20/18 to 10/10/19                   $15,950.63

               TOTAL                                      $129,439.67




                                                                                        Kapitus_000493
                                 KAPITUS EX. 13 - 493
Case 20-04009-elm Doc 68-6 Filed 09/21/21   Entered 09/21/21 23:36:41   Page 494 of 540
     Case 20-04009-elm
       Case            DocDoc
            19-44181-elm7  68-61 Filed
                                 Filed 09/21/21
                                       10/10/19 Entered
                                                Entered 09/21/21
                                                        10/10/19 23:36:41
                                                                 14:21:20 Page
                                                                          Page 495
                                                                               2 of of
                                                                                    166540


Debtor 1      Dwayne Paul Bridges
Debtor 2      Dana Michelle Bridges                                                         Case number (if known)

                                   About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):

4.    Any business names                   I have not used any business names or EINs.                 I have not used any business names or EINs.
      and Employer
      Identification Numbers
      (EIN) you have used in       Business name                                                Business name
      the last 8 years
                                   Business name                                                Business name
      Include trade names and
      doing business as names
                                   Business name                                                Business name

                                                –                                                           –
                                   EIN                                                          EIN
                                                –                                                           –
                                   EIN                                                          EIN
5.    Where you live                                                                            If Debtor 2 lives at a different address:

                                   920 Lynch Bend Rd.
                                   Number       Street                                          Number      Street




                                   Springtown                      TX       76082
                                   City                            State    ZIP Code            City                           State    ZIP Code

                                   Parker
                                   County                                                       County

                                   If your mailing address is different from                    If Debtor 2's mailing address is different
                                   the one above, fill it in here. Note that the                from yours, fill it in here. Note that the court
                                   court will send any notices to you at this                   will send any notices to you at this mailing
                                   mailing address.                                             address.



                                   Number       Street                                          Number      Street


                                   P.O. Box                                                     P.O. Box


                                   City                            State    ZIP Code            City                           State    ZIP Code


6.    Why you are choosing         Check one:                                                   Check one:
      this district to file for
      bankruptcy                           Over the last 180 days before filing this                   Over the last 180 days before filing this
                                           petition, I have lived in this district longer              petition, I have lived in this district longer
                                           than in any other district.                                 than in any other district.

                                           I have another reason. Explain.                             I have another reason. Explain.
                                           (See 28 U.S.C. § 1408.)                                     (See 28 U.S.C. § 1408.)


 Part 2:        Tell the Court About Your Bankruptcy Case

7.    The chapter of the          Check one: (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
      Bankruptcy Code you         for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
      are choosing to file
      under                               Chapter 7

                                          Chapter 11

                                          Chapter 12

                                          Chapter 13


Official Form 101                         Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 2
                                                                                                                                          Kapitus_000495
                                                      KAPITUS EX. 13 - 495
     Case 20-04009-elm
       Case            DocDoc
            19-44181-elm7  68-61 Filed
                                 Filed 09/21/21
                                       10/10/19 Entered
                                                Entered 09/21/21
                                                        10/10/19 23:36:41
                                                                 14:21:20 Page
                                                                          Page 496
                                                                               3 of of
                                                                                    166540


Debtor 1     Dwayne Paul Bridges
Debtor 2     Dana Michelle Bridges                                                  Case number (if known)

8.    How you will pay the fee        I will pay the entire fee when I file my petition. Please check with the clerk's office in your local
                                      court for more details about how you may pay. Typically, if you are paying the fee yourself, you may
                                      pay with cash, cashier's check, or money order. If your attorney is submitting your payment on your
                                      behalf, your attorney may pay with a credit card or check with a pre-printed address.

                                      I need to pay the fee in installments. If you choose this option, sign and attach the Application for
                                      Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                      I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                      By law, a judge may, but is not required to, waive your fee, and may do so only if your income is less
                                      than 150% of the official poverty line that applies to your family size and you are unable to pay the
                                      fee in installments). If you choose this option, you must fill out the Application to Have the Chapter 7
                                      Filing Fee Waived (Official Form 103B) and file it with your petition.


9.    Have you filed for              No
      bankruptcy within the
      last 8 years?                   Yes.

                                 District                                               When                    Case number
                                                                                               MM / DD / YYYY
                                 District                                               When                    Case number
                                                                                               MM / DD / YYYY
                                 District                                               When                    Case number
                                                                                               MM / DD / YYYY

10. Are any bankruptcy                No
    cases pending or being
    filed by a spouse who is          Yes.
    not filing this case with
                                 Debtor                                                             Relationship to you
    you, or by a business
    partner, or by an            District                                               When                    Case number,
    affiliate?                                                                                 MM / DD / YYYY   if known


                                 Debtor                                                             Relationship to you

                                 District                                               When                    Case number,
                                                                                               MM / DD / YYYY   if known

11. Do you rent your                  No.    Go to line 12.
    residence?                        Yes. Has your landlord obtained an eviction judgment against you?

                                                  No. Go to line 12.
                                                  Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A)
                                                  and file it as part of this bankruptcy petition.




Official Form 101                      Voluntary Petition for Individuals Filing for Bankruptcy                                          page 3
                                                                                                                               Kapitus_000496
                                                KAPITUS EX. 13 - 496
   Case 20-04009-elm
     Case            DocDoc
          19-44181-elm7  68-61 Filed
                               Filed 09/21/21
                                     10/10/19 Entered
                                              Entered 09/21/21
                                                      10/10/19 23:36:41
                                                               14:21:20 Page
                                                                        Page 497
                                                                             4 of of
                                                                                  166540


Debtor 1     Dwayne Paul Bridges
Debtor 2     Dana Michelle Bridges                                                     Case number (if known)


 Part 3:      Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor             No. Go to Part 4.
    of any full- or part-time             Yes. Name and location of business
    business?

    A sole proprietorship is a
                                                Name of business, if any
    business you operate as an
    individual, and is not a
    separate legal entity such as               Number     Street
    a corporation, partnership, or
    LLC.

    If you have more than one                   City                                                    State          ZIP Code
    sole proprietorship, use a
    separate sheet and attach it                Check the appropriate box to describe your business:
    to this petition.
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under             If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
    Chapter 11 of the                can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
    Bankruptcy Code and              most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return
    are you a small business         or if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    debtor?
                                          No.   I am not filing under Chapter 11.

                                          No.   I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
    For a definition of small
                                                the Bankruptcy Code.
    business debtor, see
    11 U.S.C. § 101(51D).                 Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                               Bankruptcy Code.


 Part 4:      Report If You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any                No
    property that poses or is             Yes. What is the hazard?
    alleged to pose a threat of
    imminent and identifiable
    hazard to public health or
    safety? Or do you own
    any property that needs                     If immediate attention is needed, why is it needed?
    immediate attention?

    For example, do you own
    perishable goods, or
    livestock that must be fed, or              Where is the property?
    a building that needs urgent                                           Number   Street
    repairs?



                                                                           City                                     State         ZIP Code




Official Form 101                          Voluntary Petition for Individuals Filing for Bankruptcy                                          page 4
                                                                                                                                   Kapitus_000497
                                                       KAPITUS EX. 13 - 497
   Case 20-04009-elm
     Case            DocDoc
          19-44181-elm7  68-61 Filed
                               Filed 09/21/21
                                     10/10/19 Entered
                                              Entered 09/21/21
                                                      10/10/19 23:36:41
                                                               14:21:20 Page
                                                                        Page 498
                                                                             5 of of
                                                                                  166540


Debtor 1     Dwayne Paul Bridges
Debtor 2     Dana Michelle Bridges                                                       Case number (if known)


 Part 5:       Explain Your Efforts to Receive a Briefing About Credit Counseling
15. Tell the court          About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
    whether you             You must check one:                                          You must check one:
    have received a           I received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about            counseling agency within the 180 days before I               counseling agency within the 180 days before I
    credit                    filed this bankruptcy petition, and I received a             filed this bankruptcy petition, and I received a
    counseling.               certificate of completion.                                   certificate of completion.
                               Attach a copy of the certificate and the payment             Attach a copy of the certificate and the payment
    The law requires           plan, if any, that you developed with the agency.            plan, if any, that you developed with the agency.
    that you receive a
                               I received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about credit
                               counseling agency within the 180 days before I               counseling agency within the 180 days before I
    counseling before
                               filed this bankruptcy petition, but I do not have            filed this bankruptcy petition, but I do not have
    you file for
                               a certificate of completion.                                 a certificate of completion.
    bankruptcy. You
    must truthfully            Within 14 days after you file this bankruptcy petition,      Within 14 days after you file this bankruptcy petition,
    check one of the           you MUST file a copy of the certificate and payment          you MUST file a copy of the certificate and payment
    following choices.         plan, if any.                                                plan, if any.
    If you cannot do so,       I certify that I asked for credit counseling                 I certify that I asked for credit counseling
    you are not eligible       services from an approved agency, but was                    services from an approved agency, but was
    to file.                   unable to obtain those services during the 7                 unable to obtain those services during the 7
                               days after I made my request, and exigent                    days after I made my request, and exigent
    If you file anyway,        circumstances merit a 30-day temporary                       circumstances merit a 30-day temporary
    the court can              waiver of the requirement.                                   waiver of the requirement.
    dismiss your case,
    you will lose              To ask for a 30-day temporary waiver of the                  To ask for a 30-day temporary waiver of the
    whatever filing fee        requirement, attach a separate sheet explaining what         requirement, attach a separate sheet explaining what
    you paid, and your         efforts you made to obtain the briefing, why you             efforts you made to obtain the briefing, why you
    creditors can begin        were unable to obtain it before you filed for                were unable to obtain it before you filed for
    collection activities      bankruptcy, and what exigent circumstances                   bankruptcy, and what exigent circumstances
    again.                     required you to file this case.                              required you to file this case.

                               Your case may be dismissed if the court is                   Your case may be dismissed if the court is
                               dissatisfied with your reasons for not receiving a           dissatisfied with your reasons for not receiving a
                               briefing before you filed for bankruptcy.                    briefing before you filed for bankruptcy.

                               If the court is satisfied with your reasons, you must        If the court is satisfied with your reasons, you must
                               still receive a briefing within 30 days after you file.      still receive a briefing within 30 days after you file.
                               You must file a certificate from the approved agency,        You must file a certificate from the approved agency,
                               along with a copy of the payment plan you                    along with a copy of the payment plan you
                               developed, if any. If you do not do so, your case            developed, if any. If you do not do so, your case
                               may be dismissed.                                            may be dismissed.

                               Any extension of the 30-day deadline is granted only         Any extension of the 30-day deadline is granted only
                               for cause and is limited to a maximum of 15 days.            for cause and is limited to a maximum of 15 days.

                               I am not required to receive a briefing about                I am not required to receive a briefing about
                               credit counseling because of:                                credit counseling because of:
                                   Incapacity.    I have a mental illness or a mental           Incapacity.    I have a mental illness or a mental
                                                  deficiency that makes me                                     deficiency that makes me
                                                  incapable of realizing or making                             incapable of realizing or making
                                                  rational decisions about finances.                           rational decisions about finances.
                                   Disability.    My physical disability causes me              Disability.    My physical disability causes me
                                                  to be unable to participate in a                             to be unable to participate in a
                                                  briefing in person, by phone, or                             briefing in person, by phone, or
                                                  through the internet, even after I                           through the internet, even after I
                                                  reasonably tried to do so.                                   reasonably tried to do so.
                                   Active duty. I am currently on active military               Active duty. I am currently on active military
                                                duty in a military combat zone.                              duty in a military combat zone.
                               If you believe you are not required to receive a             If you believe you are not required to receive a
                               briefing about credit counseling, you must file a            briefing about credit counseling, you must file a
                               motion for waiver of credit counseling with the court.       motion for waiver of credit counseling with the court.

Official Form 101                           Voluntary Petition for Individuals Filing for Bankruptcy                                          page 5
                                                                                                                                   Kapitus_000498
                                                     KAPITUS EX. 13 - 498
   Case 20-04009-elm
     Case            DocDoc
          19-44181-elm7  68-61 Filed
                               Filed 09/21/21
                                     10/10/19 Entered
                                              Entered 09/21/21
                                                      10/10/19 23:36:41
                                                               14:21:20 Page
                                                                        Page 499
                                                                             6 of of
                                                                                  166540


Debtor 1     Dwayne Paul Bridges
Debtor 2     Dana Michelle Bridges                                                     Case number (if known)


 Part 6:      Answer These Questions for Reporting Purposes
16. What kind of debts do you      16a.    Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
    have?                                  as "incurred by an individual primarily for a personal, family, or household purpose."
                                                 No. Go to line 16b.
                                                 Yes. Go to line 17.

                                   16b.    Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.
                                               Yes. Go to line 17.

                                   16c.    State the type of debts you owe that are not consumer or business debts.


17. Are you filing under
    Chapter 7?                            No.   I am not filing under Chapter 7. Go to line 18.

    Do you estimate that after            Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is                     administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and
    administrative expenses                          No
    are paid that funds will be
                                                     Yes
    available for distribution
    to unsecured creditors?

18. How many creditors do                 1-49                             1,000-5,000                        25,001-50,000
    you estimate that you                 50-99                            5,001-10,000                       50,001-100,000
    owe?                                  100-199                          10,001-25,000                      More than 100,000
                                          200-999

19. How much do you                       $0-$50,000                       $1,000,001-$10 million             $500,000,001-$1 billion
    estimate your assets to               $50,001-$100,000                 $10,000,001-$50 million            $1,000,000,001-$10 billion
    be worth?                             $100,001-$500,000                $50,000,001-$100 million           $10,000,000,001-$50 billion
                                          $500,001-$1 million              $100,000,001-$500 million          More than $50 billion

20. How much do you                       $0-$50,000                       $1,000,001-$10 million             $500,000,001-$1 billion
    estimate your liabilities to          $50,001-$100,000                 $10,000,001-$50 million            $1,000,000,001-$10 billion
    be?                                   $100,001-$500,000                $50,000,001-$100 million           $10,000,000,001-$50 billion
                                          $500,001-$1 million              $100,000,001-$500 million          More than $50 billion




Official Form 101                         Voluntary Petition for Individuals Filing for Bankruptcy                                        page 6
                                                                                                                                Kapitus_000499
                                                    KAPITUS EX. 13 - 499
   Case 20-04009-elm
     Case            DocDoc
          19-44181-elm7  68-61 Filed
                               Filed 09/21/21
                                     10/10/19 Entered
                                              Entered 09/21/21
                                                      10/10/19 23:36:41
                                                               14:21:20 Page
                                                                        Page 500
                                                                             7 of of
                                                                                  166540


Debtor 1     Dwayne Paul Bridges
Debtor 2     Dana Michelle Bridges                                                   Case number (if known)


 Part 7:      Sign Below
For you                         I have examined this petition, and I declare under penalty of perjury that the information provided is true
                                and correct.

                                If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11, 12,
                                or 13 of title 11, United States Code. I understand the relief available under each chapter, and I choose to
                                proceed under Chapter 7.

                                If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me
                                fill out this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                I understand making a false statement, concealing property, or obtaining money or property by fraud in
                                connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
                                or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                X /s/ Dwayne Paul Bridges                                   X /s/ Dana Michelle Bridges
                                     Dwayne Paul Bridges, Debtor 1                             Dana Michelle Bridges, Debtor 2

                                     Executed on 10/10/2019                                    Executed on 10/10/2019
                                                 MM / DD / YYYY                                            MM / DD / YYYY




Official Form 101                      Voluntary Petition for Individuals Filing for Bankruptcy                                            page 7
                                                                                                                                 Kapitus_000500
                                               KAPITUS EX. 13 - 500
   Case 20-04009-elm
     Case            DocDoc
          19-44181-elm7  68-61 Filed
                               Filed 09/21/21
                                     10/10/19 Entered
                                              Entered 09/21/21
                                                      10/10/19 23:36:41
                                                               14:21:20 Page
                                                                        Page 501
                                                                             8 of of
                                                                                  166540


Debtor 1     Dwayne Paul Bridges
Debtor 2     Dana Michelle Bridges                                                  Case number (if known)

For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about
represented by one              eligibility to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the
                                relief available under each chapter for which the person is eligible. I also certify that I have delivered to
If you are not represented by   the debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies,
an attorney, you do not need    certify that I have no knowledge after an inquiry that the information in the schedules filed with the petition
to file this page.              is incorrect.



                                X /s/ Carla R. Vida                                                   Date 10/10/2019
                                     Signature of Attorney for Debtor                                      MM / DD / YYYY


                                     Carla R. Vida
                                     Printed name
                                     The Vida Law Firm, PLLC
                                     Firm Name
                                     3000 Central Drive
                                     Number         Street




                                     Bedford                                                  TX              76021
                                     City                                                     State           ZIP Code


                                     Contact phone (817) 358-9977                   Email address


                                     16674445                                                 TX
                                     Bar number                                               State




Official Form 101                      Voluntary Petition for Individuals Filing for Bankruptcy                                           page 8
                                                                                                                               Kapitus_000501
                                                 KAPITUS EX. 13 - 501
       Case 20-04009-elm
         Case            DocDoc
              19-44181-elm7  68-61 Filed
                                   Filed 09/21/21
                                         10/10/19 Entered
                                                  Entered 09/21/21
                                                          10/10/19 23:36:41
                                                                   14:21:20 Page
                                                                            Page 502
                                                                                 9 of of
                                                                                      166540


  Fill in this information to identify your case and this filing:
  Debtor 1               Dwayne                      Paul                 Bridges
                         First Name                  Middle Name          Last Name

  Debtor 2            Dana                           Michelle             Bridges
  (Spouse, if filing) First Name                     Middle Name          Last Name


  United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

  Case number
                                                                                                                             Check if this is an
  (if known)
                                                                                                                             amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                               12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


  Part 1:          Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.      Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
            No. Go to Part 2.
            Yes. Where is the property?

1.1.                                                        What is the property?                         Do not deduct secured claims or exemptions. Put the
920 Lynch Bend Road                                         Check all that apply.                         amount of any secured claims on Schedule D:
Street address, if available, or other descrip ion              Single-family home                        Creditors Who Have Claims Secured by Property.
                                                                Duplex or multi-unit building             Current value of the       Current value of the
                                                                Condominium or cooperative                entire property?           portion you own?
Springtown                       TX       76082                 Manufactured or mobile home                         $154,160.00                $154,160.00
City                             State    ZIP Code              Land
                                                                Investment property                       Describe the nature of your ownership
                                                                Timeshare                                 interest (such as fee simple, tenancy by the
Parker                                                                                                    entireties, or a life estate), if known.
                                                                Other
County
                                                            Who has an interest in the property?
                                                                                                          Contract for Deed
mobile home w/ land                                         Check one.
1 acre of land: $40,000.00
                                                                Debtor 1 only                                Check if this is community property
2002 Palm Harbor mobile home
                                                                Debtor 2 only                                (see instructions)
42x76: $114,160.00
                                                                Debtor 1 and Debtor 2 only
                                                                At least one of the debtors and another

                                                            Other information you wish to add about this item, such as local
                                                            property identification number:




                                                                        Schedule A/B: Property
Official Form 106A/B
                                                                                                                                              Kapitus_000502
                                                                                                                                                    page 1
                                                                   KAPITUS EX. 13 - 502
     Case
      Case20-04009-elm DocDoc
           19-44181-elm7   68-6 Filed 10/10/19
                              1 Filed 09/21/21 Entered
                                               Entered 10/10/19
                                                       09/21/21 14:21:20
                                                                23:36:41 Page
                                                                         Page 10
                                                                              503ofof166
                                                                                      540


Debtor 1         Dwayne Paul Bridges
Debtor 2         Dana Michelle Bridges                                                                Case number (if known)


1.2.                                                    What is the property?                               Do not deduct secured claims or exemptions. Put the
1045 Green Ridge Terrace                                Check all that apply.                               amount of any secured claims on Schedule D:
Saginaw, Texas                                               Single-family home                             Creditors Who Have Claims Secured by Property.
                                                             Duplex or multi-unit building                  Current value of the         Current value of the
1045 Green Ridge Terrace, Saginaw                            Condominium or cooperative                     entire property?             portion you own?
value of property: $130,951.00;                              Manufactured or mobile home                                $130,951.00              $130,951.00
balance owed $92,000.00;                                     Land
                                                             Investment property                            Describe the nature of your ownership
                                                                                                            interest (such as fee simple, tenancy by the
Tarrant                                                      Timeshare
County                                                       Other                                          entireties, or a life estate), if known.

                                                        Who has an interest in the property?
                                                                                                            Fee Simple
                                                        Check one.
                                                             Debtor 1 only                                       Check if this is community property
                                                             Debtor 2 only                                       (see instructions)
                                                             Debtor 1 and Debtor 2 only
                                                             At least one of the debtors and another

                                                        Other information you wish to add about this item, such as local
                                                        property identification number:

2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any
       entries for pages you have attached for Part 1. Write that number here.........................................................           $285,111.00


 Part 2:          Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3.     Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           No
           Yes

3.1.                                                    Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                       Chevrolet                   Check one.                                          amount of any secured claims on Schedule D:
                                                                                                            Creditors Who Have Claims Secured by Property.
Model:                      Corvette                         Debtor 1 only
                                                             Debtor 2 only                           Current value of the                Current value of the
Year:                       2016                                                                     entire property?                    portion you own?
                                                             Debtor 1 and Debtor 2 only
Approximate mileage: 17,000                                  At least one of the debtors and another            $33,000.00                        $33,000.00
Other information:
2016 Chevrolet Corvette (approx.                             Check if this is community property
17000 miles)                                                 (see instructions)

3.2.                                                    Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                       Toyota                      Check one.                                          amount of any secured claims on Schedule D:
                                                                                                            Creditors Who Have Claims Secured by Property.
Model:                      Tundra                           Debtor 1 only
                                                             Debtor 2 only                           Current value of the                Current value of the
Year:                       2012                                                                     entire property?                    portion you own?
                                                             Debtor 1 and Debtor 2 only
Approximate mileage: 42,217                                  At least one of the debtors and another            $16,000.00                        $16,000.00
Other information:
2012 Toyota Tundra (approx. 42217                            Check if this is community property
miles) (Debtors' son drives)                                 (see instructions)




                                                                       Schedule A/B: Property
Official Form 106A/B
                                                                                                                                                Kapitus_000503
                                                                                                                                                      page 2
                                                              KAPITUS EX. 13 - 503
   Case
    Case20-04009-elm DocDoc
         19-44181-elm7   68-6 Filed 10/10/19
                            1 Filed 09/21/21 Entered
                                             Entered 10/10/19
                                                     09/21/21 14:21:20
                                                              23:36:41 Page
                                                                       Page 11
                                                                            504ofof166
                                                                                    540


Debtor 1     Dwayne Paul Bridges
Debtor 2     Dana Michelle Bridges                                          Case number (if known)


3.3.                                 Who has an interest in the property?       Do not deduct secured claims or exemptions. Put the
Make:                  Toyota        Check one.                                 amount of any secured claims on Schedule D:
                                                                                Creditors Who Have Claims Secured by Property.
Model:                 Tundra           Debtor 1 only
                                        Debtor 2 only                           Current value of the      Current value of the
Year:                  2016
                                        Debtor 1 and Debtor 2 only              entire property?          portion you own?
Approximate mileage: 42,217             At least one of the debtors and another            $29,000.00               $29,000.00
Other information:
2016 Toyota Tundra                      Check if this is community property
                                        (see instructions)
3.4.                                 Who has an interest in the property?       Do not deduct secured claims or exemptions. Put the
Make:                  Toyota        Check one.                                 amount of any secured claims on Schedule D:
                                                                                Creditors Who Have Claims Secured by Property.
Model:                 Tundra           Debtor 1 only
                                        Debtor 2 only                           Current value of the      Current value of the
Year:                  2007                                                     entire property?          portion you own?
                                        Debtor 1 and Debtor 2 only
Approximate mileage:                    At least one of the debtors and another                $200.00                  $200.00
Other information:
2007 Toyota Tundra (inoperable)         Check if this is community property
                                        (see instructions)
3.5.                                 Who has an interest in the property?       Do not deduct secured claims or exemptions. Put the
Make:                  Jeep          Check one.                                 amount of any secured claims on Schedule D:
                                                                                Creditors Who Have Claims Secured by Property.
Model:                 Wrangler         Debtor 1 only
                                        Debtor 2 only                           Current value of the      Current value of the
Year:                  2005                                                     entire property?          portion you own?
                                        Debtor 1 and Debtor 2 only
Approximate mileage:                    At least one of the debtors and another             $2,500.00                 $2,500.00
Other information:
2005 Jeep Wrangler                      Check if this is community property
                                        (see instructions)
3.6.                                 Who has an interest in the property?       Do not deduct secured claims or exemptions. Put the
Make:                  BMW           Check one.                                 amount of any secured claims on Schedule D:
                                        Debtor 1 only                           Creditors Who Have Claims Secured by Property.
Model:
                                        Debtor 2 only                           Current value of the      Current value of the
Year:                  2008                                                     entire property?          portion you own?
                                        Debtor 1 and Debtor 2 only
Approximate mileage:                    At least one of the debtors and another             $4,000.00                 $4,000.00
Other information:
2008 BMW                                Check if this is community property
                                        (see instructions)
3.7.                                 Who has an interest in the property?       Do not deduct secured claims or exemptions. Put the
Make:                                Check one.                                 amount of any secured claims on Schedule D:
                                                                                Creditors Who Have Claims Secured by Property.
Model:                 Colorado         Debtor 1 only
                                        Debtor 2 only                           Current value of the      Current value of the
Year:                  2006                                                     entire property?          portion you own?
                                        Debtor 1 and Debtor 2 only
Approximate mileage:                    At least one of the debtors and another                $200.00                  $200.00
Other information:
2006 Colorado                           Check if this is community property
                                        (see instructions)




                                                Schedule A/B: Property
Official Form 106A/B
                                                                                                                  Kapitus_000504
                                                                                                                        page 3
                                         KAPITUS EX. 13 - 504
     Case
      Case20-04009-elm DocDoc
           19-44181-elm7   68-6 Filed 10/10/19
                              1 Filed 09/21/21 Entered
                                               Entered 10/10/19
                                                       09/21/21 14:21:20
                                                                23:36:41 Page
                                                                         Page 12
                                                                              505ofof166
                                                                                      540


Debtor 1         Dwayne Paul Bridges
Debtor 2         Dana Michelle Bridges                                                               Case number (if known)

4.    Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
      Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
           No
           Yes

4.1.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                      Bass                        Check one.                                          amount of any secured claims on Schedule D:
                                                                                                           Creditors Who Have Claims Secured by Property.
Model:                     Tracker                          Debtor 1 only
                                                            Debtor 2 only                           Current value of the                Current value of the
Year:                      1987
                                                            Debtor 1 and Debtor 2 only              entire property?                    portion you own?
Other information:                                          At least one of the debtors and another                $800.00                           $800.00
1987 Bass Tracker
                                                            Check if this is community property
                                                            (see instructions)
4.2.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                      XMR 1000 Outlander Check one.                                                   amount of any secured claims on Schedule D:
                                                                                                           Creditors Who Have Claims Secured by Property.
Model:                     Can Am 4 wheeler                 Debtor 1 only
                                                            Debtor 2 only                           Current value of the                Current value of the
Year:                      2014                                                                     entire property?                    portion you own?
                                                            Debtor 1 and Debtor 2 only
Other information:                                          At least one of the debtors and another             $5,315.00                          $5,315.00
2014 XMR 650 CAM AM Outlander
                                                            Check if this is community property
                                                            (see instructions)
5.    Add the dollar value of the portion you own for all of your entries from Part 2, including any
      entries for pages you have attached for Part 2. Write that number here.........................................................            $91,015.00


 Part 3:          Describe Your Personal and Household Items
                                                                                                                                        Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                        portion you own?
                                                                                                                                        Do not deduct secured
                                                                                                                                        claims or exemptions.

6.    Household goods and furnishings
      Examples: Major appliances, furniture, linens, china, kitchenware
           No
           Yes. Describe..... See continuation page(s).                                                                                            $4,015.00


7.    Electronics
      Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
                 music collections; electronic devices including cell phones, cameras, media players, games
           No
           Yes. Describe..... televisions, computers, dvd/cd/vcr stereo component, camcorder, play                                                 $1,730.00
                                stations.

8.    Collectibles of value
      Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                 stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
           No
           Yes. Describe..... books, pictures & art objects, Marilyn Monroe picture collection                                                       $415.00

9.    Equipment for sports and hobbies
      Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
                canoes and kayaks; carpentry tools; musical instruments
           No
           Yes. Describe..... See continuation page(s).                                                                                            $1,195.00



                                                                      Schedule A/B: Property
Official Form 106A/B
                                                                                                                                               Kapitus_000505
                                                                                                                                                     page 4
                                                             KAPITUS EX. 13 - 505
    Case
     Case20-04009-elm DocDoc
          19-44181-elm7   68-6 Filed 10/10/19
                             1 Filed 09/21/21 Entered
                                              Entered 10/10/19
                                                      09/21/21 14:21:20
                                                               23:36:41 Page
                                                                        Page 13
                                                                             506ofof166
                                                                                     540


Debtor 1         Dwayne Paul Bridges
Debtor 2         Dana Michelle Bridges                                                                                            Case number (if known)

10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
           No
           Yes. Describe..... See continuation page(s).                                                                                                                                         $1,050.00


11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
           No
           Yes. Describe..... clothing and personal effects                                                                                                                                     $1,180.00

12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver
           No
           Yes. Describe..... rings, watches, earrings, wedding rings, costume jewelry, necklaces,                                                                                              $1,240.00
                                        bracelets

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
           No
           Yes. Describe..... household pets: 1 cat, 3 dogs                                                                                                                                          $0.00

14. Any other personal and household items you did not already list, including any health aids you
    did not list
           No
           Yes. Give specific
           information.............


15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
    attached for Part 3. Write the number here.........................................................................................................                                        $10,825.00


  Part 4:            Describe Your Financial Assets
                                                                                                                                                                                      Current value of the
Do you own or have any legal or equitable interest in any of the following?
                                                                                                                                                                                      portion you own?
                                                                                                                                                                                      Do not deduct secured
                                                                                                                                                                                      claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
              petition
           No
           Yes.................................................................................................................................... Cash: ..........................                  $0.00

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
              brokerage houses, and other similar institutions. If you have multiple accounts with the same
              institution, list each.

           No
           Yes...........................                     Institution name:

             17.1.      Checking account:                     Wells Fargo; checking account ending 947                                                                                            $571.14




                                                                                         Schedule A/B: Property
Official Form 106A/B
                                                                                                                                                                                             Kapitus_000506
                                                                                                                                                                                                   page 5
                                                                             KAPITUS EX. 13 - 506
   Case
    Case20-04009-elm DocDoc
         19-44181-elm7   68-6 Filed 10/10/19
                            1 Filed 09/21/21 Entered
                                             Entered 10/10/19
                                                     09/21/21 14:21:20
                                                              23:36:41 Page
                                                                       Page 14
                                                                            507ofof166
                                                                                    540


Debtor 1         Dwayne Paul Bridges
Debtor 2         Dana Michelle Bridges                                                                Case number (if known)

18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
           No
           Yes...........................    Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
    an interest in an LLC, partnership, and joint venture
           No
           Yes. Give specific
           information about
           them..........................     .... . .of .entity:
                                             Name                                                                 % of ownership:

                                             License to Chill Heating & Air, Inc. dba Just Chillin
                                             Heat & Air                                                                100%                       $0.00
20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
           No
           Yes. Give specific
           information about
           them..........................    Issuer
                                             . . . name:
                                                    .....
21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or
              profit-sharing plans
           No
           Yes. List each
           account separately.              Type of account:           Institution name:
22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

           No
           Yes...........................                           Institution name or individual:
23. Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
       No
       Yes........................... Issuer name and description:
24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No
           Yes...........................    Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c)
25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
    powers exercisable for your benefit
           No
           Yes. Give specific
           information about them

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property;
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
           No
           Yes. Give specific
           information about them

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
           No
           Yes. Give specific
           information about them


                                                                             Schedule A/B: Property
Official Form 106A/B
                                                                                                                                              Kapitus_000507
                                                                                                                                                    page 6
                                                                     KAPITUS EX. 13 - 507
   Case
    Case20-04009-elm DocDoc
         19-44181-elm7   68-6 Filed 10/10/19
                            1 Filed 09/21/21 Entered
                                             Entered 10/10/19
                                                     09/21/21 14:21:20
                                                              23:36:41 Page
                                                                       Page 15
                                                                            508ofof166
                                                                                    540


Debtor 1        Dwayne Paul Bridges
Debtor 2        Dana Michelle Bridges                                                        Case number (if known)

Money or property owed to you?                                                                                                   Current value of the
                                                                                                                                 portion you own?
                                                                                                                                 Do not deduct secured
                                                                                                                                 claims or exemptions.

28. Tax refunds owed to you

           No
           Yes. Give specific information                                                                             Federal:
           about them, including whether
           you already filed the returns                                                                              State:
           and the tax years......................
                                                                                                                      Local:

29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
           No
           Yes. Give specific information                                                                 Alimony:

                                                                                                          Maintenance:

                                                                                                          Support:

                                                                                                          Divorce settlement:

                                                                                                          Property settlement:

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers'
              compensation, Social Security benefits; unpaid loans you made to someone else
           No
           Yes. Give specific information


31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
           No
           Yes. Name the insurance
           company of each policy
           and list its value................   Company name:                            Beneficiary:                      Surrender or refund value:

                                                Metlife; term life policy insuring the
                                                life of Debtor Husband; face value
                                                $850,000.00; no cash value                                                                      $0.00
32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
    entitled to receive property because someone has died
           No
           Yes. Give specific information


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
           No
           Yes. Describe each claim........


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
    rights to set off claims
           No
           Yes. Describe each claim........




                                                                    Schedule A/B: Property
Official Form 106A/B
                                                                                                                                        Kapitus_000508
                                                                                                                                              page 7
                                                             KAPITUS EX. 13 - 508
    Case
     Case20-04009-elm DocDoc
          19-44181-elm7   68-6 Filed 10/10/19
                             1 Filed 09/21/21 Entered
                                              Entered 10/10/19
                                                      09/21/21 14:21:20
                                                               23:36:41 Page
                                                                        Page 16
                                                                             509ofof166
                                                                                     540


Debtor 1         Dwayne Paul Bridges
Debtor 2         Dana Michelle Bridges                                                                            Case number (if known)

35. Any financial assets you did not already list

           No
           Yes. Give specific information


36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
    attached for Part 4. Write that number here.......................................................................................................               $571.14


  Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

           No. Go to Part 6.
           Yes. Go to line 38.

                                                                                                                                                         Current value of the
                                                                                                                                                         portion you own?
                                                                                                                                                         Do not deduct secured
                                                                                                                                                         claims or exemptions.
38. Accounts receivable or commissions you already earned

           No
           Yes. Describe...


39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,
               desks, chairs, electronic devices
           No
           Yes. Describe...


40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

           No
           Yes. Describe... drills, volt meter, leak detector, vacuum pump, hand tools                                                                             $1,500.00

41. Inventory

           No
           Yes. Describe...


42. Interests in partnerships or joint ventures

           No
           Yes. Describe..... .Name
                                .... . of entity:                                                                                   % of ownership:

43. Customer lists, mailing lists, or other compilations

           No
           Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                   No
                   Yes. Describe....




                                                                               Schedule A/B: Property
Official Form 106A/B
                                                                                                                                                                Kapitus_000509
                                                                                                                                                                      page 8
                                                                     KAPITUS EX. 13 - 509
    Case
     Case20-04009-elm DocDoc
          19-44181-elm7   68-6 Filed 10/10/19
                             1 Filed 09/21/21 Entered
                                              Entered 10/10/19
                                                      09/21/21 14:21:20
                                                               23:36:41 Page
                                                                        Page 17
                                                                             510ofof166
                                                                                     540


Debtor 1         Dwayne Paul Bridges
Debtor 2         Dana Michelle Bridges                                                                            Case number (if known)

44. Any business-related property you did not already list

           No
           Yes. Give specific information.

             Zero Turn TRW w/60" MWR & ROPS                                                                                                                        $5,200.00
             Kubota 4WD HST Tractor, Kubota, Front Loader, 5'Rotay Cutter, 60: light duty box scrape,
             Kubota ROPS                                                                                                                                           $6,800.00
             Land Pride Claw Grapple 60                                                                                                                            $1,000.00
             Back Ho and Post Hole Digger                                                                                                                            $500.00
             grass catcher and line trimmer                                                                                                                          $400.00
45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
    attached for Part 5. Write that number here.......................................................................................................            $15,400.00


  Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

           No. Go to Part 7.
           Yes. Go to line 47.

                                                                                                                                                         Current value of the
                                                                                                                                                         portion you own?
                                                                                                                                                         Do not deduct secured
                                                                                                                                                         claims or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish
           No
           Yes....


48. Crops--either growing or harvested

           No
           Yes. Give specific
           information................

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

           No
           Yes....


50. Farm and fishing supplies, chemicals, and feed

           No
           Yes....


51. Any farm- and commercial fishing-related property you did not already list

           No
           Yes. Give specific
           information................

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have
    attached for Part 6. Write that number here.......................................................................................................                  $0.00




                                                                               Schedule A/B: Property
Official Form 106A/B
                                                                                                                                                                Kapitus_000510
                                                                                                                                                                      page 9
                                                                     KAPITUS EX. 13 - 510
    Case
     Case20-04009-elm DocDoc
          19-44181-elm7   68-6 Filed 10/10/19
                             1 Filed 09/21/21 Entered
                                              Entered 10/10/19
                                                      09/21/21 14:21:20
                                                               23:36:41 Page
                                                                        Page 18
                                                                             511ofof166
                                                                                     540


Debtor 1          Dwayne Paul Bridges
Debtor 2          Dana Michelle Bridges                                                                                      Case number (if known)


  Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

            No
            Yes. Give specific information.


54. Add the dollar value of all of your entries from Part 7. Write that number here..............................................                                                     $0.00


  Part 8: List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2.................................... .........................................................................................             $285,111.00

56. Part 2: Total vehicles, line 5                                                                                  $91,015.00

57. Part 3: Total personal and household items, line 15                                                             $10,825.00

58. Part 4: Total financial assets, line 36                                                                              $571.14

59. Part 5: Total business-related property, line 45                                                                $15,400.00

60. Part 6: Total farm- and fishing-related property, line 52                                                                $0.00

61. Part 7: Total other property not listed, line 54                                               +                         $0.00

                                                                                                                                           Copy personal
62. Total personal property.                   Add lines 56 through 61..................                          $117,811.14              property total                   +   $117,811.14



63. Total of all property on Schedule A/B.                          Add line 55 + line 62................................................................................       $402,922.14




                                                                                     Schedule A/B: Property
Official Form 106A/B
                                                                                                                                                                                Kapitus_000511
                                                                                                                                                                                     page 10
                                                                           KAPITUS EX. 13 - 511
     Case
      Case20-04009-elm DocDoc
           19-44181-elm7   68-6 Filed 10/10/19
                              1 Filed 09/21/21 Entered
                                               Entered 10/10/19
                                                       09/21/21 14:21:20
                                                                23:36:41 Page
                                                                         Page 19
                                                                              512ofof166
                                                                                      540


Debtor 1     Dwayne Paul Bridges
Debtor 2     Dana Michelle Bridges                                              Case number (if known)


6.    Household goods and furnishings (details):

      kitchen table, 2 arm chairs, 6 regular chairs                                                         $500.00

      dishwasher                                                                                            $500.00

      household goods & furnishings                                                                        $3,015.00

9.    Equipment for sports and hobbies (details):

      dirt bike                                                                                             $500.00

      board games, arcade game, pool tables, camera, exercise equipment                                     $695.00

10. Firearms (details):

      Smith & Wesson Body Armour handgun                                                                    $200.00

      Glock 30                                                                                              $350.00

      Glock 26                                                                                              $300.00

      Mossburg 12 ga.                                                                                       $100.00

      Double Tap 45                                                                                         $100.00




                                                       Schedule A/B: Property
Official Form 106A/B
                                                                                                         Kapitus_000512
                                                                                                              page 11
                                                    KAPITUS EX. 13 - 512
     Case
      Case20-04009-elm DocDoc
           19-44181-elm7   68-6 Filed 10/10/19
                              1 Filed 09/21/21 Entered
                                               Entered 10/10/19
                                                       09/21/21 14:21:20
                                                                23:36:41 Page
                                                                         Page 20
                                                                              513ofof166
                                                                                      540


 Fill in this information to identify your case:
 Debtor 1            Dwayne                Paul                   Bridges
                     First Name            Middle Name            Last Name
 Debtor 2            Dana                  Michelle               Bridges
 (Spouse, if filing) First Name            Middle Name            Last Name

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS
                                                                                                                      Check if this is an
 Case number                                                                                                          amended filing
 (if known)

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages,
write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so
is to state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory limit. Some exemptions--such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds--may be unlimited in dollar amount. However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1:        Identify the Property You Claim as Exempt

1.    Which set of exemptions are you claiming?             Check one only, even if your spouse is filing with you.
           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2.    For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on            Current value of     Amount of the                Specific laws that allow exemption
Schedule A/B that lists this property                    the portion you      exemption you claim
                                                         own
                                                         Copy the value from Check only one box for
                                                         Schedule A/B        each exemption


Brief description:                                         $154,160.00                     $0.00           11 U.S.C. § 522(d)(1) (Claimed:
mobile home w/ land                                                                100% of fair market     $0.00
1 acre of land: $40,000.00                                                         value, up to any        100% FMV without any restrictions)
2002 Palm Harbor mobile home 42x76:                                                applicable statutory
$114,160.00                                                                        limit
Line from Schedule A/B: 1.1

Brief description:                                         $130,951.00                                     11 U.S.C. § 522(d)(5) (Claimed:
1045 Green Ridge Terrace, Saginaw                                                  100% of fair market     $25,028.86
value of property: $130,951.00; balance                                            value, up to any        100% of fair market value, up to any
owed $92,000.00;                                                                   applicable statutory    applicable statutory limit)
Line from Schedule A/B: 1.2                                                        limit




3.    Are you claiming a homestead exemption of more than $170,350?
      (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

           No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
               No
               Yes

Official Form 106C                                Schedule C: The Property You Claim as Exempt                                              page 1

                                                                                                                                       Kapitus_000513
                                                         KAPITUS EX. 13 - 513
   Case
    Case20-04009-elm DocDoc
         19-44181-elm7   68-6 Filed 10/10/19
                            1 Filed 09/21/21 Entered
                                             Entered 10/10/19
                                                     09/21/21 14:21:20
                                                              23:36:41 Page
                                                                       Page 21
                                                                            514ofof166
                                                                                    540


Debtor 1      Dwayne Paul Bridges
Debtor 2      Dana Michelle Bridges                                                  Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                     $33,000.00                   $0.00           11 U.S.C. § 522(d)(2) (Claimed:
2016 Chevrolet Corvette (approx. 17000                                       100% of fair market    $0.00
miles)                                                                       value, up to any       100% FMV without any restrictions)
Line from Schedule A/B: 3.1                                                  applicable statutory
                                                                             limit

Brief description:                                     $16,000.00                   $0.00           11 U.S.C. § 522(d)(2) (Claimed:
2012 Toyota Tundra (approx. 42217 miles)                                     100% of fair market    $0.00
(Debtors' son drives)                                                        value, up to any       100% FMV without any restrictions)
Line from Schedule A/B: 3.2                                                  applicable statutory
                                                                             limit

Brief description:                                       $200.00                  $200.00           11 U.S.C. § 522(d)(5) (Claimed:
2007 Toyota Tundra (inoperable)                                              100% of fair market    $200.00
Line from Schedule A/B:    3.4
                                                                             value, up to any       100% FMV without any restrictions)
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $4,000.00                $4,000.00          11 U.S.C. § 522(d)(2) (Claimed:
2008 BMW                                                                     100% of fair market    $4,000.00
Line from Schedule A/B:    3.6
                                                                             value, up to any       100% FMV without any restrictions)
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $200.00                  $200.00           11 U.S.C. § 522(d)(5) (Claimed:
2006 Colorado                                                                100% of fair market    $200.00
2006 Colorado                                                                value, up to any       100% FMV without any restrictions)
Line from Schedule A/B:    3.7                                               applicable statutory
                                                                             limit

Brief description:                                       $800.00                  $800.00           11 U.S.C. § 522(d)(5) (Claimed:
1987 Bass Tracker                                                            100% of fair market    $800.00
Line from Schedule A/B:    4.1
                                                                             value, up to any       100% FMV without any restrictions)
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $5,315.00                   $0.00           11 U.S.C. § 522(d)(5) (Claimed:
2014 XMR 1000 Outlander Can Am 4                                             100% of fair market    $0.00
wheeler                                                                      value, up to any       100% FMV without any restrictions)
2014 XMR 650 CAM AM Outlander                                                applicable statutory
Line from Schedule A/B: 4.2                                                  limit

Brief description:                                       $500.00                    $0.00           11 U.S.C. § 522(d)(3) (Claimed:
kitchen table, 2 arm chairs, 6 regular                                       100% of fair market    $0.00
chairs                                                                       value, up to any       100% FMV without any restrictions)
Line from Schedule A/B:  6                                                   applicable statutory
                                                                             limit

Brief description:                                       $500.00                    $0.00           11 U.S.C. § 522(d)(3) (Claimed:
dishwasher                                                                   100% of fair market    $0.00
Line from Schedule A/B:     6
                                                                             value, up to any       100% FMV without any restrictions)
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 2

                                                                                                                            Kapitus_000514
                                                    KAPITUS EX. 13 - 514
   Case
    Case20-04009-elm DocDoc
         19-44181-elm7   68-6 Filed 10/10/19
                            1 Filed 09/21/21 Entered
                                             Entered 10/10/19
                                                     09/21/21 14:21:20
                                                              23:36:41 Page
                                                                       Page 22
                                                                            515ofof166
                                                                                    540


Debtor 1      Dwayne Paul Bridges
Debtor 2      Dana Michelle Bridges                                                  Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                      $3,015.00                $3,015.00          11 U.S.C. § 522(d)(3) (Claimed:
household goods & furnishings                                                100% of fair market    $3,015.00
Line from Schedule A/B:     6                                                value, up to any       100% FMV without any restrictions)
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $1,730.00                $1,730.00          11 U.S.C. § 522(d)(3) (Claimed:
televisions, computers, dvd/cd/vcr stereo                                    100% of fair market    $1,730.00
component, camcorder, play stations.                                         value, up to any       100% FMV without any restrictions)
Line from Schedule A/B:  7                                                   applicable statutory
                                                                             limit

Brief description:                                       $415.00                  $415.00           11 U.S.C. § 522(d)(3) (Claimed:
books, pictures & art objects, Marilyn                                       100% of fair market    $415.00
Monroe picture collection                                                    value, up to any       100% FMV without any restrictions)
Line from Schedule A/B:  8                                                   applicable statutory
                                                                             limit

Brief description:                                       $500.00                  $500.00           11 U.S.C. § 522(d)(3) (Claimed:
dirt bike                                                                    100% of fair market    $500.00
Line from Schedule A/B:     9
                                                                             value, up to any       100% FMV without any restrictions)
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $695.00                  $695.00           11 U.S.C. § 522(d)(3) (Claimed:
board games, arcade game, pool tables,                                       100% of fair market    $695.00
camera, exercise equipment                                                   value, up to any       100% FMV without any restrictions)
Line from Schedule A/B: 9                                                    applicable statutory
                                                                             limit

Brief description:                                       $200.00                  $200.00           11 U.S.C. § 522(d)(3) (Claimed:
Smith & Wesson Body Armour handgun                                           100% of fair market    $200.00
Line from Schedule A/B:    10
                                                                             value, up to any       100% FMV without any restrictions)
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $350.00                  $350.00           11 U.S.C. § 522(d)(3) (Claimed:
Glock 30                                                                     100% of fair market    $350.00
Line from Schedule A/B:    10
                                                                             value, up to any       100% FMV without any restrictions)
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $300.00                  $300.00           11 U.S.C. § 522(d)(3) (Claimed:
Glock 26                                                                     100% of fair market    $300.00
Line from Schedule A/B:    10
                                                                             value, up to any       100% FMV without any restrictions)
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $100.00                  $100.00           11 U.S.C. § 522(d)(3) (Claimed:
Mossburg 12 ga.                                                              100% of fair market    $100.00
Line from Schedule A/B:    10
                                                                             value, up to any       100% FMV without any restrictions)
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 3

                                                                                                                            Kapitus_000515
                                                    KAPITUS EX. 13 - 515
   Case
    Case20-04009-elm DocDoc
         19-44181-elm7   68-6 Filed 10/10/19
                            1 Filed 09/21/21 Entered
                                             Entered 10/10/19
                                                     09/21/21 14:21:20
                                                              23:36:41 Page
                                                                       Page 23
                                                                            516ofof166
                                                                                    540


Debtor 1      Dwayne Paul Bridges
Debtor 2      Dana Michelle Bridges                                                  Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                       $100.00                  $100.00           11 U.S.C. § 522(d)(3) (Claimed:
Double Tap 45                                                                100% of fair market    $100.00
Line from Schedule A/B:    10                                                value, up to any       100% FMV without any restrictions)
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $1,180.00                $1,180.00          11 U.S.C. § 522(d)(3) (Claimed:
clothing and personal effects                                                100% of fair market    $1,180.00
Line from Schedule A/B:    11
                                                                             value, up to any       100% FMV without any restrictions)
                                                                             applicable statutory
                                                                             limit

Brief description:                                      $1,240.00                $1,240.00          11 U.S.C. § 522(d)(4) (Claimed:
rings, watches, earrings, wedding rings,                                     100% of fair market    $1,240.00
costume jewelry, necklaces, bracelets                                        value, up to any       100% FMV without any restrictions)
Line from Schedule A/B: 12                                                   applicable statutory
                                                                             limit

Brief description:                                        $0.00                     $0.00           11 U.S.C. § 522(d)(3) (Claimed:
household pets: 1 cat, 3 dogs                                                100% of fair market    $0.00
Line from Schedule A/B:    13
                                                                             value, up to any       100% FMV without any restrictions)
                                                                             applicable statutory
                                                                             limit

Brief description:                                        $0.00                     $0.00           11 U.S.C. § 522(d)(5) (Claimed:
cash on hand                                                                 100% of fair market    $0.00
Line from Schedule A/B:    16
                                                                             value, up to any       100% FMV without any restrictions)
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $571.14                  $571.14           11 U.S.C. § 522(d)(5) (Claimed:
Wells Fargo; checking account ending 947                                     100% of fair market    $571.14
Line from Schedule A/B:   17.1
                                                                             value, up to any       100% FMV without any restrictions)
                                                                             applicable statutory
                                                                             limit

Brief description:                                        $0.00                     $0.00           11 U.S.C. § 522(d)(8) (Claimed:
Metlife; term life policy insuring the life of                               100% of fair market    $0.00
Debtor Husband; face value $850,000.00;                                      value, up to any       100% FMV without any restrictions)
no cash value                                                                applicable statutory
Line from Schedule A/B:    31                                                limit

Brief description:                                      $1,500.00                $1,500.00          11 U.S.C. § 522(d)(6) (Claimed:
drills, volt meter, leak detector, vacuum                                    100% of fair market    $1,500.00
pump, hand tools                                                             value, up to any       100% FMV without any restrictions)
Line from Schedule A/B:    40                                                applicable statutory
                                                                             limit

Brief description:                                      $5,200.00                   $0.00           11 U.S.C. § 522(d)(6) (Claimed:
Zero Turn TRW w/60" MWR & ROPS                                               100% of fair market    $0.00
Line from Schedule A/B:    44
                                                                             value, up to any       100% FMV without any restrictions)
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 4

                                                                                                                            Kapitus_000516
                                                    KAPITUS EX. 13 - 516
   Case
    Case20-04009-elm DocDoc
         19-44181-elm7   68-6 Filed 10/10/19
                            1 Filed 09/21/21 Entered
                                             Entered 10/10/19
                                                     09/21/21 14:21:20
                                                              23:36:41 Page
                                                                       Page 24
                                                                            517ofof166
                                                                                    540


Debtor 1      Dwayne Paul Bridges
Debtor 2      Dana Michelle Bridges                                                  Case number (if known)

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                      $6,800.00                   $0.00           11 U.S.C. § 522(d)(6) (Claimed:
Kubota 4WD HST Tractor, Kubota, Front                                        100% of fair market    $0.00
Loader, 5'Rotay Cutter, 60: light duty box                                   value, up to any       100% FMV without any restrictions)
scrape, Kubota ROPS                                                          applicable statutory
Line from Schedule A/B: 44                                                   limit

Brief description:                                      $1,000.00                $1,000.00          11 U.S.C. § 522(d)(5) (Claimed:
Land Pride Claw Grapple 60                                                   100% of fair market    $1,000.00
Line from Schedule A/B:    44
                                                                             value, up to any       100% FMV without any restrictions)
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $500.00                    $0.00           11 U.S.C. § 522(d)(6) (Claimed:
Back Ho and Post Hole Digger                                                 100% of fair market    $0.00
Line from Schedule A/B:    44
                                                                             value, up to any       100% FMV without any restrictions)
                                                                             applicable statutory
                                                                             limit

Brief description:                                       $400.00                    $0.00           11 U.S.C. § 522(d)(6) (Claimed:
grass catcher and line trimmer                                               100% of fair market    $0.00
Line from Schedule A/B:    44
                                                                             value, up to any       100% FMV without any restrictions)
                                                                             applicable statutory
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 5

                                                                                                                            Kapitus_000517
                                                    KAPITUS EX. 13 - 517
       Case
        Case20-04009-elm DocDoc
             19-44181-elm7   68-6 Filed 10/10/19
                                1 Filed 09/21/21 Entered
                                                 Entered 10/10/19
                                                         09/21/21 14:21:20
                                                                  23:36:41 Page
                                                                           Page 25
                                                                                518ofof166
                                                                                        540


  Fill in this information to identify your case:
  Debtor 1             Dwayne                Paul                   Bridges
                       First Name            Middle Name            Last Name

  Debtor 2            Dana                   Michelle               Bridges
  (Spouse, if filing) First Name             Middle Name            Last Name


  United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

  Case number
                                                                                                                       Check if this is an
  (if known)
                                                                                                                       amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                     12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form.
On the top of any additional pages, write your name and case number (if known).


1.      Do any creditors have claims secured by your property?
             No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below.


  Part 1:         List All Secured Claims

2.      List all secured claims. If a creditor has more than one secured
        claim, list the creditor separately for each claim. If more than one             Column A               Column B               Column C
        creditor has a particular claim, list the other creditors in Part 2. As          Amount of claim        Value of collateral    Unsecured
        much as possible, list the claims in alphabetical order according to the         Do not deduct the      that supports this     portion
        creditor's name.                                                                 value of collateral    claim                  If any

  2.1                                            Describe the property that
                                                 secures the claim:                            $33,513.27              $33,000.00            $513.27
Ally Financial                                   2016 Chevrolet Corvette
Creditor's name
PO Box 380902
Number       Street


                                                 As of the date you file, the claim is: Check all that apply.
                                                    Contingent
Bloomington              MN      58438              Unliquidated
City                     State   ZIP Code
                                                    Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates
   to a community debt
Date debt was incurred           7/19/16         Last 4 digits of account number        2     4    4    6




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                              $33,513.27

                                            Schedule D: Creditors Who Have Claims Secured by Property
Official Form 106D
                                                                                                                                        Kapitus_000518
                                                                                                                                              page 1
                                                           KAPITUS EX. 13 - 518
       Case
        Case20-04009-elm DocDoc
             19-44181-elm7   68-6 Filed 10/10/19
                                1 Filed 09/21/21 Entered
                                                 Entered 10/10/19
                                                         09/21/21 14:21:20
                                                                  23:36:41 Page
                                                                           Page 26
                                                                                519ofof166
                                                                                        540


Debtor 1      Dwayne Paul Bridges
Debtor 2      Dana Michelle Bridges                                                       Case number (if known)

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

  2.2                                         Describe the property that
                                              secures the claim:                           $107,482.73             $154,160.00
Champs Properties
Creditor's name
                                              920 Lynch Bend Road
Jason Creel                                   Springtown
Number     Street
5328 Rolling Meadows Dr.
                                              As of the date you file, the claim is: Check all that apply.
                                                 Contingent
Fort Worth              TX      76123            Unliquidated
City                    State   ZIP Code
                                                 Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates
   to a community debt
Date debt was incurred          7/6/17        Last 4 digits of account number
1 acre of land: $40,000.00
2002 Palm Harbor mobile home 42x76: $114,160.00



  2.3                                         Describe the property that
                                              secures the claim:                            $16,587.49              $16,000.00           $587.49
Chrysler Capital                              2012 Toyota Tundra
Creditor's name
PO Box 660335
Number     Street


                                              As of the date you file, the claim is: Check all that apply.
                                                 Contingent
Dallas                  TX      75266-0335       Unliquidated
City                    State   ZIP Code
                                                 Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates
   to a community debt
Date debt was incurred          2/7/2017      Last 4 digits of account number        2     9    5    7
third party pays direct




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                          $124,070.22

                                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property
Official Form 106D
                                                                                                                                   Kapitus_000519
                                                                                                                                         page 2
                                                      KAPITUS EX. 13 - 519
       Case
        Case20-04009-elm DocDoc
             19-44181-elm7   68-6 Filed 10/10/19
                                1 Filed 09/21/21 Entered
                                                 Entered 10/10/19
                                                         09/21/21 14:21:20
                                                                  23:36:41 Page
                                                                           Page 27
                                                                                520ofof166
                                                                                        540


Debtor 1      Dwayne Paul Bridges
Debtor 2      Dana Michelle Bridges                                                       Case number (if known)

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

  2.4                                         Describe the property that
                                              secures the claim:                               $1,287.76                $500.00          $787.76
Conns
Creditor's name
                                              kitchen table, 2 arm chairs, 6
PO Box 815867                                 regular chairs
Number     Street


                                              As of the date you file, the claim is: Check all that apply.
                                                 Contingent
Dallas                  TX      75234-5867       Unliquidated
City                    State   ZIP Code
                                                 Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates
   to a community debt
Date debt was incurred                        Last 4 digits of account number        5     8    7    0

  2.5                                         Describe the property that
                                              secures the claim:                               $5,703.45              $5,315.00          $388.45
DATCU                                         2014 XMR 650 CAM AM
Creditor's name
PO Bxo 927                                    Outlander Travis 4 wheeler
Number     Street


                                              As of the date you file, the claim is: Check all that apply.
                                                 Contingent
Denton                  TX      76202-0827       Unliquidated
City                    State   ZIP Code
                                                 Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates
   to a community debt
Date debt was incurred                        Last 4 digits of account number        1     1    1    7




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                              $6,991.21

                                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property
Official Form 106D
                                                                                                                                   Kapitus_000520
                                                                                                                                         page 3
                                                      KAPITUS EX. 13 - 520
       Case
        Case20-04009-elm DocDoc
             19-44181-elm7   68-6 Filed 10/10/19
                                1 Filed 09/21/21 Entered
                                                 Entered 10/10/19
                                                         09/21/21 14:21:20
                                                                  23:36:41 Page
                                                                           Page 28
                                                                                521ofof166
                                                                                        540


Debtor 1      Dwayne Paul Bridges
Debtor 2      Dana Michelle Bridges                                                       Case number (if known)

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

  2.6                                         Describe the property that
                                              secures the claim:                               $3,000.00              $2,500.00          $500.00
Direct Capital Corp
Creditor's name
                                              2005 Jeep Wrangler
155 Commerce Way
Number     Street


                                              As of the date you file, the claim is: Check all that apply.
                                                 Contingent
Portsmouth              NH      03801            Unliquidated
City                    State   ZIP Code
                                                 Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Corporate debt- personal guarantor
   to a community debt
Date debt was incurred                        Last 4 digits of account number        7     0    0    1
2005 Jeep Wrangler
  2.7                                         Describe the property that
                                              secures the claim:                               $2,021.43           $154,160.00
Internal Revenue Service                      920 Lynch Bend Road
Creditor's name
1100 Commerce Street                          Springtown
Number     Street
MC 5027 DAL
                                              As of the date you file, the claim is: Check all that apply.
                                                 Contingent
Dallas                  TX      75242            Unliquidated
City                    State   ZIP Code
                                                 Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                1040 Taxes Due for 2014
   to a community debt
Date debt was incurred                        Last 4 digits of account number




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                              $5,021.43

                                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property
Official Form 106D
                                                                                                                                   Kapitus_000521
                                                                                                                                         page 4
                                                      KAPITUS EX. 13 - 521
       Case
        Case20-04009-elm DocDoc
             19-44181-elm7   68-6 Filed 10/10/19
                                1 Filed 09/21/21 Entered
                                                 Entered 10/10/19
                                                         09/21/21 14:21:20
                                                                  23:36:41 Page
                                                                           Page 29
                                                                                522ofof166
                                                                                        540


Debtor 1      Dwayne Paul Bridges
Debtor 2      Dana Michelle Bridges                                                       Case number (if known)

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

  2.8                                         Describe the property that
                                              secures the claim:                            $87,222.00             $154,160.00        $42,566.16
Internal Revenue Service
Creditor's name
                                              920 Lynch Bend Road
1100 Commerce Street                          Springtown
Number     Street
Stop MC5026DAL
                                              As of the date you file, the claim is: Check all that apply.
                                                 Contingent
Dallas                  TX      75242            Unliquidated
City                    State   ZIP Code
                                                 Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                1040 Taxes Due for 2016
   to a community debt
Date debt was incurred          2016          Last 4 digits of account number

  2.9                                         Describe the property that
                                              secures the claim:                            $12,348.00             $154,160.00        $12,348.00
Internal Revenue Service                      920 Lynch Bend Road
Creditor's name
1100 Commerce Street                          Springtown
Number     Street
Stop MC5026DAL
                                              As of the date you file, the claim is: Check all that apply.
                                                 Contingent
Dallas                  TX      75242            Unliquidated
City                    State   ZIP Code
                                                 Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                1040 Taxes Due for 2015
   to a community debt
Date debt was incurred          2015          Last 4 digits of account number




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                           $99,570.00

                                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property
Official Form 106D
                                                                                                                                   Kapitus_000522
                                                                                                                                         page 5
                                                      KAPITUS EX. 13 - 522
       Case
        Case20-04009-elm DocDoc
             19-44181-elm7   68-6 Filed 10/10/19
                                1 Filed 09/21/21 Entered
                                                 Entered 10/10/19
                                                         09/21/21 14:21:20
                                                                  23:36:41 Page
                                                                           Page 30
                                                                                523ofof166
                                                                                        540


Debtor 1      Dwayne Paul Bridges
Debtor 2      Dana Michelle Bridges                                                       Case number (if known)

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

 2.10                                         Describe the property that
                                              secures the claim:                               $5,269.62              $5,200.00           $69.62
Kubota Credit corp
Creditor's name
                                              Zero Turn TRW w/60" MWR &
PO Box 2046                                   ROPS
Number     Street


                                              As of the date you file, the claim is: Check all that apply.
                                                 Contingent
Grapevine               TX      76099            Unliquidated
City                    State   ZIP Code
                                                 Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Corporate debt- personal guarantor
   to a community debt
Date debt was incurred                        Last 4 digits of account number        6     3    7    2

 2.11                                         Describe the property that
                                              secures the claim:                               $6,868.53              $6,800.00           $68.53
Kubota Credit Corp.                           see remarks below
Creditor's name
PO Box 2046
Number     Street


                                              As of the date you file, the claim is: Check all that apply.
                                                 Contingent
Grapevine               TX      76099            Unliquidated
City                    State   ZIP Code
                                                 Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Corporate debt- personal guarantor
   to a community debt
Date debt was incurred                        Last 4 digits of account number        4     2    5    1
Kubota 4WD HST Tractor, Kubota, Front Loader, 5'Rotay Cutter, 60: light duty box scrape, Kubota ROPS




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                           $12,138.15

                                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property
Official Form 106D
                                                                                                                                   Kapitus_000523
                                                                                                                                         page 6
                                                      KAPITUS EX. 13 - 523
       Case
        Case20-04009-elm DocDoc
             19-44181-elm7   68-6 Filed 10/10/19
                                1 Filed 09/21/21 Entered
                                                 Entered 10/10/19
                                                         09/21/21 14:21:20
                                                                  23:36:41 Page
                                                                           Page 31
                                                                                524ofof166
                                                                                        540


Debtor 1      Dwayne Paul Bridges
Debtor 2      Dana Michelle Bridges                                                       Case number (if known)

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

 2.12                                         Describe the property that
                                              secures the claim:                                $886.80                 $500.00          $386.80
Kubota Credit Corp.
Creditor's name
                                              Back Ho and Post Hole Digger
PO Box 2046
Number     Street


                                              As of the date you file, the claim is: Check all that apply.
                                                 Contingent
Grapevine               TX      76099            Unliquidated
City                    State   ZIP Code
                                                 Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates
   to a community debt
Date debt was incurred                        Last 4 digits of account number        3     8    8    3

 2.13                                         Describe the property that
                                              secures the claim:                                $919.38                 $400.00          $519.38
Kubota Credit Corp.                           grass catcher and line
Creditor's name
PO Box 2046                                   trimmer
Number     Street


                                              As of the date you file, the claim is: Check all that apply.
                                                 Contingent
Grapevine               TX      76099            Unliquidated
City                    State   ZIP Code
                                                 Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates
   to a community debt
Date debt was incurred                        Last 4 digits of account number        6     6    3    2




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                              $1,806.18

                                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property
Official Form 106D
                                                                                                                                   Kapitus_000524
                                                                                                                                         page 7
                                                      KAPITUS EX. 13 - 524
       Case
        Case20-04009-elm DocDoc
             19-44181-elm7   68-6 Filed 10/10/19
                                1 Filed 09/21/21 Entered
                                                 Entered 10/10/19
                                                         09/21/21 14:21:20
                                                                  23:36:41 Page
                                                                           Page 32
                                                                                525ofof166
                                                                                        540


Debtor 1      Dwayne Paul Bridges
Debtor 2      Dana Michelle Bridges                                                       Case number (if known)

                  Additional Page                                                     Column A               Column B              Column C
  Part 1:                                                                             Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                      Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                      value of collateral    claim                 If any

 2.14                                         Describe the property that
                                              secures the claim:                            $29,869.47              $29,000.00           $869.47
Suntrust
Creditor's name
                                              2016 Toyota Tundra
PO box 305053
Number     Street


                                              As of the date you file, the claim is: Check all that apply.
                                                 Contingent
Nashville               TN      37230-5063       Unliquidated
City                    State   ZIP Code
                                                 Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates
   to a community debt
Date debt was incurred          12/12/15      Last 4 digits of account number        2     1    1    2

 2.15                                         Describe the property that
                                              secures the claim:                            $92,000.00             $130,951.00
Tim Moore                                     1045 Green Ridge Terrace,
Creditor's name
302 Pine Tree Road                            Saginaw
Number     Street


                                              As of the date you file, the claim is: Check all that apply.
                                                 Contingent
Longview                TX      75604            Unliquidated
City                    State   ZIP Code
                                                 Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates
   to a community debt
Date debt was incurred                        Last 4 digits of account number




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                          $121,869.47

If this is the last page of your form, add the dollar value totals from
all pages. Write that number here:                                                         $404,979.93

                                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property
Official Form 106D
                                                                                                                                   Kapitus_000525
                                                                                                                                         page 8
                                                      KAPITUS EX. 13 - 525
       Case
        Case20-04009-elm DocDoc
             19-44181-elm7   68-6 Filed 10/10/19
                                1 Filed 09/21/21 Entered
                                                 Entered 10/10/19
                                                         09/21/21 14:21:20
                                                                  23:36:41 Page
                                                                           Page 33
                                                                                526ofof166
                                                                                        540


  Fill in this information to identify your case:
  Debtor 1             Dwayne                 Paul                   Bridges
                       First Name             Middle Name            Last Name

  Debtor 2            Dana                    Michelle               Bridges
  (Spouse, if filing) First Name              Middle Name            Last Name


  United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

  Case number
                                                                                                                         Check if this is an
  (if known)
                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                    12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property.
If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page
to this page. On the top of any additional pages, write your name and case number (if known).


  Part 1:         List All of Your PRIORITY Unsecured Claims
1.      Do any creditors have priority unsecured claims against you?
             No. Go to Part 2.
             Yes.

2.      List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each
        claim. For each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and
        show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If
        more space is needed for priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular
        claim, list the other creditors in Part 3.

        (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.
                                                                                                       Total claim       Priority              Nonpriority
                                                                                                                         amount                amount

     2.1


Priority Creditor's Name                                    Last 4 digits of account number
                                                            When was the debt incurred?
Number        Street
                                                            As of the date you file, the claim is: Check all that apply.
                                                               Contingent
                                                               Unliquidated
                                                               Disputed
City                             State   ZIP Code
Who incurred the debt? Check one.                           Type of PRIORITY unsecured claim:
     Debtor 1 only                                             Domestic support obligations
     Debtor 2 only                                             Taxes and certain other debts you owe the government
     Debtor 1 and Debtor 2 only                                Claims for death or personal injury while you were
     At least one of the debtors and another                   intoxicated
     Check if this claim is for a community debt               Other. Specify
Is the claim subject to offset?
     No
     Yes




                                                    Schedule E/F: Creditors Who Have Unsecured Claims
Official Form 106E/F
                                                                                                                                          Kapitus_000526
                                                                                                                                                page 1
                                                            KAPITUS EX. 13 - 526
       Case
        Case20-04009-elm DocDoc
             19-44181-elm7   68-6 Filed 10/10/19
                                1 Filed 09/21/21 Entered
                                                 Entered 10/10/19
                                                         09/21/21 14:21:20
                                                                  23:36:41 Page
                                                                           Page 34
                                                                                527ofof166
                                                                                        540


Debtor 1        Dwayne Paul Bridges
Debtor 2        Dana Michelle Bridges                                                            Case number (if known)

  Part 2:         List All of Your NONPRIORITY Unsecured Claims

3.      Do any creditors have nonpriority unsecured claims against you?
             No. You have nothing to report in this part. Submit this form to the court with your other schedules.
             Yes

4.      List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim.
        If a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what
        type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in
        Part 3. If more space is needed for nonpriority unsecured claims, fill out the Continuation Page of Part 2.

                                                                                                                                               Total claim

     4.1                                                                                                                                           $3,166.70
Absolute Resolutions Corporation                             Last 4 digits of account number         8     5    9     5
Nonpriority Creditor's Name
                                                             When was the debt incurred?
8000 Norman Center Dr. #860
Number         Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Bloomington                      MN      55437
City                             State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                                Student loans
   Debtor 1 only
                                                                Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                                that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                                Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                                Other. Specify
       Check if this claim is for a community debt                Personal Loan
Is the claim subject to offset?
     No
     Yes
Avant Web Bank

     4.2                                                                                                                                                $0.00
ADT                                                          Last 4 digits of account number         1     0    8     1
Nonpriority Creditor's Name
                                                             When was the debt incurred?
5400 Airport Freeway, Ste A
Number         Street                                        As of the date you file, the claim is: Check all that apply.
                                                                Contingent
                                                                Unliquidated
                                                                Disputed
Fort Worth                       TX      76117-5928
City                             State   ZIP Code            Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                                Student loans
   Debtor 1 only
                                                                Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                                that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                                Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                                Other. Specify
       Check if this claim is for a community debt                Services Rendered
Is the claim subject to offset?
     No
     Yes




                                                    Schedule E/F: Creditors Who Have Unsecured Claims
Official Form 106E/F
                                                                                                                                             Kapitus_000527
                                                                                                                                                   page 2
                                                           KAPITUS EX. 13 - 527
       Case
        Case20-04009-elm DocDoc
             19-44181-elm7   68-6 Filed 10/10/19
                                1 Filed 09/21/21 Entered
                                                 Entered 10/10/19
                                                         09/21/21 14:21:20
                                                                  23:36:41 Page
                                                                           Page 35
                                                                                528ofof166
                                                                                        540


Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                 Total claim
previous page.

   4.3                                                                                                                                $229.26
Allstate Indeminty Company                               Last 4 digits of account number       0    0    4    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o CCS
Number        Street                                     As of the date you file, the claim is: Check all that apply.
Payment Processing Center                                   Contingent
PO Box 55126                                                Unliquidated
                                                            Disputed
Boston                        MA      02205-5126
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Insurance premiums
Is the claim subject to offset?
     No
     Yes

   4.4                                                                                                                              Unknown
Ally Financial                                           Last 4 digits of account number      2 0        3    7
Nonpriority Creditor's Name
                                                         When was the debt incurred?        11/8/17
PO Box 78234
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed
Phoenix                       AZ      85062-8234
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Corporate debt- personal guarantor
Is the claim subject to offset?
     No
     Yes
deficiency balance: 2017 Dodge Ram VIN 034




                                                 Schedule E/F: Creditors Who Have Unsecured Claims
Official Form 106E/F
                                                                                                                                Kapitus_000528
                                                                                                                                      page 3
                                                        KAPITUS EX. 13 - 528
       Case
        Case20-04009-elm DocDoc
             19-44181-elm7   68-6 Filed 10/10/19
                                1 Filed 09/21/21 Entered
                                                 Entered 10/10/19
                                                         09/21/21 14:21:20
                                                                  23:36:41 Page
                                                                           Page 36
                                                                                529ofof166
                                                                                        540


Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                 Total claim
previous page.

   4.5                                                                                                                              $1,056.00
Amcol Systems, Inc.                                      Last 4 digits of account number       7    5    1    8
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 21625
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed
Columbia                      SC      29221
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense
Is the claim subject to offset?
     No
     Yes

   4.6                                                                                                                              $2,225.00
Barclay Card                                             Last 4 digits of account number       3    3    4    5
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 60517
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed
City of Industry              CA      91716-0517
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes




                                                 Schedule E/F: Creditors Who Have Unsecured Claims
Official Form 106E/F
                                                                                                                                Kapitus_000529
                                                                                                                                      page 4
                                                        KAPITUS EX. 13 - 529
       Case
        Case20-04009-elm DocDoc
             19-44181-elm7   68-6 Filed 10/10/19
                                1 Filed 09/21/21 Entered
                                                 Entered 10/10/19
                                                         09/21/21 14:21:20
                                                                  23:36:41 Page
                                                                           Page 37
                                                                                530ofof166
                                                                                        540


Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                 Total claim
previous page.

   4.7                                                                                                                              Unknown
Baylor Surgicare @ Mansfield                             Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
280 Regency Parkway
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed
Mansfield                     TX      76063
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Medical Expense: Letter of Protection
Is the claim subject to offset?
     No
     Yes

   4.8                                                                                                                              $4,718.84
Bill Me Later, Inc.                                      Last 4 digits of account number       8    7    9    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o PayPal Credit
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 5138                                                 Contingent
                                                            Unliquidated
                                                            Disputed
Timonium                      MD      21094
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes




                                                 Schedule E/F: Creditors Who Have Unsecured Claims
Official Form 106E/F
                                                                                                                                Kapitus_000530
                                                                                                                                      page 5
                                                        KAPITUS EX. 13 - 530
       Case
        Case20-04009-elm DocDoc
             19-44181-elm7   68-6 Filed 10/10/19
                                1 Filed 09/21/21 Entered
                                                 Entered 10/10/19
                                                         09/21/21 14:21:20
                                                                  23:36:41 Page
                                                                           Page 38
                                                                                531ofof166
                                                                                        540


Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                 Total claim
previous page.

   4.9                                                                                                                              $1,391.97
Blaze Mastercard                                         Last 4 digits of account number       0    1    4    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 2534
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed
Omaha                         NE      68103-2534
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes

  4.10                                                                                                                              $3,670.20
Blue Mound Business Park                                 Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
1150 Blue Mound Road
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed
Haslet                        TX      76052
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Judgment
Is the claim subject to offset?
     No
     Yes
Blue Mound Business Park vs. Dwayne Bridges; Case No. JP04-17-E00051532
judgment lien on 1045 Green Ridge Terrace, Saginaw property




                                                 Schedule E/F: Creditors Who Have Unsecured Claims
Official Form 106E/F
                                                                                                                                Kapitus_000531
                                                                                                                                      page 6
                                                        KAPITUS EX. 13 - 531
       Case
        Case20-04009-elm DocDoc
             19-44181-elm7   68-6 Filed 10/10/19
                                1 Filed 09/21/21 Entered
                                                 Entered 10/10/19
                                                         09/21/21 14:21:20
                                                                  23:36:41 Page
                                                                           Page 39
                                                                                532ofof166
                                                                                        540


Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                 Total claim
previous page.

  4.11                                                                                                                              $9,360.00
Blue Mound Business Park, LLC                            Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
1150 Blue Mound Road
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed
Haslet                        TX      76052
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Judgment
Is the claim subject to offset?
     No
     Yes
 Blue Mound Business Park, LLC vs. Dwayne Bridges; Case No. JP04-17-SC00009149
judgment lien on 1045 Green Ridge Terrace, Saginaw property

  4.12                                                                                                                              $9,379.98
Cabellas Visa                                            Last 4 digits of account number       8    8    1    2
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 82519
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed
Lincoln                       NE      68501-2519
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes




                                                 Schedule E/F: Creditors Who Have Unsecured Claims
Official Form 106E/F
                                                                                                                                Kapitus_000532
                                                                                                                                      page 7
                                                        KAPITUS EX. 13 - 532
       Case
        Case20-04009-elm DocDoc
             19-44181-elm7   68-6 Filed 10/10/19
                                1 Filed 09/21/21 Entered
                                                 Entered 10/10/19
                                                         09/21/21 14:21:20
                                                                  23:36:41 Page
                                                                           Page 40
                                                                                533ofof166
                                                                                        540


Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                 Total claim
previous page.

  4.13                                                                                                                              $2,312.11
Capital One                                              Last 4 digits of account number       5    6    5    5
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 60599
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed
City of Industry              CA      91716-0599
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes

  4.14                                                                                                                              $2,068.54
Capital One Bank USA                                     Last 4 digits of account number       2    5    7    0
Nonpriority Creditor's Name
                                                         When was the debt incurred?
c/o Scott & Associates, PC
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 113297                                               Contingent
                                                            Unliquidated
                                                            Disputed
Carrollton                    TX      75011-3297
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes
Capital One vs. Dwayne P. Bridges; Case No. DC2-19-1764




                                                 Schedule E/F: Creditors Who Have Unsecured Claims
Official Form 106E/F
                                                                                                                                Kapitus_000533
                                                                                                                                      page 8
                                                        KAPITUS EX. 13 - 533
       Case
        Case20-04009-elm DocDoc
             19-44181-elm7   68-6 Filed 10/10/19
                                1 Filed 09/21/21 Entered
                                                 Entered 10/10/19
                                                         09/21/21 14:21:20
                                                                  23:36:41 Page
                                                                           Page 41
                                                                                534ofof166
                                                                                        540


Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                 Total claim
previous page.

  4.15                                                                                                                                $665.27
Capital One Platinum Mastercard                          Last 4 digits of account number       9    2    1    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 60599
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed
City of Industry              CA      91716-0599
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes

  4.16                                                                                                                              $2,081.03
Capital One Quicksilver Mastercard                       Last 4 digits of account number       9    4    7    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 60599
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed
City of Industry              CA      91716-0599
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes
Capital One vs. Dwayne P. Bridges; Case No. DC2-19-1782




                                                 Schedule E/F: Creditors Who Have Unsecured Claims
Official Form 106E/F
                                                                                                                                Kapitus_000534
                                                                                                                                      page 9
                                                        KAPITUS EX. 13 - 534
       Case
        Case20-04009-elm DocDoc
             19-44181-elm7   68-6 Filed 10/10/19
                                1 Filed 09/21/21 Entered
                                                 Entered 10/10/19
                                                         09/21/21 14:21:20
                                                                  23:36:41 Page
                                                                           Page 42
                                                                                535ofof166
                                                                                        540


Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                 Total claim
previous page.

  4.17                                                                                                                                $740.22
Cardmember Service                                       Last 4 digits of account number       6    6    1    1
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Amazon
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 6294                                                 Contingent
                                                            Unliquidated
                                                            Disputed
Carol Stream                  IL      60197-5294
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes

  4.18                                                                                                                              $5,780.99
Cardmember Service                                       Last 4 digits of account number       4    1    7    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?
Marriott Rewards Visa
Number        Street                                     As of the date you file, the claim is: Check all that apply.
PO Box 6294                                                 Contingent
                                                            Unliquidated
                                                            Disputed
Carol Stream                  IL      60197-6294
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Credit Account
Is the claim subject to offset?
     No
     Yes




                                                 Schedule E/F: Creditors Who Have Unsecured Claims
Official Form 106E/F
                                                                                                                                Kapitus_000535
                                                                                                                                     page 10
                                                        KAPITUS EX. 13 - 535
       Case
        Case20-04009-elm DocDoc
             19-44181-elm7   68-6 Filed 10/10/19
                                1 Filed 09/21/21 Entered
                                                 Entered 10/10/19
                                                         09/21/21 14:21:20
                                                                  23:36:41 Page
                                                                           Page 43
                                                                                536ofof166
                                                                                        540


Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                 Total claim
previous page.

  4.19                                                                                                                              $2,114.49
Chase                                                    Last 4 digits of account number       5    0    0    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 6026
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed
Chicago                       IL      60680-6026
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Corporate debt- personal guarantor
Is the claim subject to offset?
     No
     Yes
business installment loan

  4.20                                                                                                                              $6,105.00
Chase Bank                                               Last 4 digits of account number       6    5    2    8
Nonpriority Creditor's Name
                                                         When was the debt incurred?
6543 Lake Worth Blvd,
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed
Lake Worth                    TX      76135
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Corporate debt- overdraft account
Is the claim subject to offset?
     No
     Yes




                                                 Schedule E/F: Creditors Who Have Unsecured Claims
Official Form 106E/F
                                                                                                                                Kapitus_000536
                                                                                                                                     page 11
                                                        KAPITUS EX. 13 - 536
       Case
        Case20-04009-elm DocDoc
             19-44181-elm7   68-6 Filed 10/10/19
                                1 Filed 09/21/21 Entered
                                                 Entered 10/10/19
                                                         09/21/21 14:21:20
                                                                  23:36:41 Page
                                                                           Page 44
                                                                                537ofof166
                                                                                        540


Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                 Total claim
previous page.

  4.21                                                                                                                                $151.00
Chase Bank                                               Last 4 digits of account number
Nonpriority Creditor's Name
                                                         When was the debt incurred?
6543 Lake Worth Blvd,
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed
Lake Worth                    TX      76135
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Overdrafted Account
Is the claim subject to offset?
     No
     Yes
checking account ending 598

  4.22                                                                                                                            $21,039.79
Chrysler Capital                                         Last 4 digits of account number      1 1        0    9
Nonpriority Creditor's Name
                                                         When was the debt incurred?        5/16/17
PO Box 660335
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed
Dallas                        TX      75266-0335
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Corporate debt- personal guarantor
Is the claim subject to offset?
     No
     Yes
deficiency balance; 2017 Dodge Ram 1500 VIN 064




                                                 Schedule E/F: Creditors Who Have Unsecured Claims
Official Form 106E/F
                                                                                                                                Kapitus_000537
                                                                                                                                     page 12
                                                        KAPITUS EX. 13 - 537
       Case
        Case20-04009-elm DocDoc
             19-44181-elm7   68-6 Filed 10/10/19
                                1 Filed 09/21/21 Entered
                                                 Entered 10/10/19
                                                         09/21/21 14:21:20
                                                                  23:36:41 Page
                                                                           Page 45
                                                                                538ofof166
                                                                                        540


Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                 Total claim
previous page.

  4.23                                                                                                                            $18,758.96
Chrysler Capital                                         Last 4 digits of account number       8    4    6    8
Nonpriority Creditor's Name
PO Box 660335
                                                         When was the debt incurred?        11/18/17
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed
Dallas                        TX      75266-0335
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Corporate debt- personal guarantor
Is the claim subject to offset?
     No
     Yes
deficiency balance; 2017 Dodge Promaster VIN 884

  4.24                                                                                                                            $17,277.95
Chrysler Capital                                         Last 4 digits of account number      2 4        7    4
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2/22/17
PO Box 660335
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed
Dallas                        TX      75266-0335
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Corporate debt- personal guarantor
Is the claim subject to offset?
     No
     Yes
deficiency balance; 2017 Dodge TR Promaster C1 VIN 680




                                                 Schedule E/F: Creditors Who Have Unsecured Claims
Official Form 106E/F
                                                                                                                                Kapitus_000538
                                                                                                                                     page 13
                                                        KAPITUS EX. 13 - 538
       Case
        Case20-04009-elm DocDoc
             19-44181-elm7   68-6 Filed 10/10/19
                                1 Filed 09/21/21 Entered
                                                 Entered 10/10/19
                                                         09/21/21 14:21:20
                                                                  23:36:41 Page
                                                                           Page 46
                                                                                539ofof166
                                                                                        540


Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                 Total claim
previous page.

  4.25                                                                                                                              Unknown
Chrysler Capital                                         Last 4 digits of account number       7    5    6    5
Nonpriority Creditor's Name
PO Box 660335
                                                         When was the debt incurred?        2/22/17
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed
Dallas                        TX      75266-0335
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Corporate debt- personal guarantor
Is the claim subject to offset?
     No
     Yes
deficiency balance; 2017 Dodge TR Promaster VIN406

  4.26                                                                                                                            $19,962.83
Chrysler Capital                                         Last 4 digits of account number      9 5        1    6
Nonpriority Creditor's Name
                                                         When was the debt incurred?        2/22/17
PO Box 961275
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed
Fort Worth                    TX      76161-1275
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Corporate debt- personal guarantor
Is the claim subject to offset?
     No
     Yes
deficiency balance: 2017 Dodge TR Promaster VIN 269




                                                 Schedule E/F: Creditors Who Have Unsecured Claims
Official Form 106E/F
                                                                                                                                Kapitus_000539
                                                                                                                                     page 14
                                                        KAPITUS EX. 13 - 539
       Case
        Case20-04009-elm DocDoc
             19-44181-elm7   68-6 Filed 10/10/19
                                1 Filed 09/21/21 Entered
                                                 Entered 10/10/19
                                                         09/21/21 14:21:20
                                                                  23:36:41 Page
                                                                           Page 47
                                                                                540ofof166
                                                                                        540


Debtor 1       Dwayne Paul Bridges
Debtor 2       Dana Michelle Bridges                                                       Case number (if known)

  Part 2:        Your NONPRIORITY Unsecured Claims -- Continuation Page
After listing any entries on this page, number them sequentially from the
                                                                                                                                 Total claim
previous page.

  4.27                                                                                                                              Unknown
Chrysler Capital                                         Last 4 digits of account number       1    5    0    5
Nonpriority Creditor's Name
PO Box 660335
                                                         When was the debt incurred?        2/25/17
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed
Dallas                        TX      75266-0335
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Corporate debt- personal guarantor
Is the claim subject to offset?
     No
     Yes
deficiency balance: 2017 Dodge TR Promaster VIN 357

  4.28                                                                                                                              Unknown
Cintas                                                   Last 4 digits of account number       6    3    4    7
Nonpriority Creditor's Name
                                                         When was the debt incurred?
PO Box 6650838
Number        Street                                     As of the date you file, the claim is: Check all that apply.
                                                            Contingent
                                                            Unliquidated
                                                            Disputed
Dallas                        TX      75265-0838
City                          State   ZIP Code           Type of NONPRIORITY unsecured claim:
Who incurred the debt? Check one.
                                                            Student loans
   Debtor 1 only
                                                            Obligations arising out of a separation agreement or divorce
   Debtor 2 only
                                                            that you did not report as priority claims
   Debtor 1 and Debtor 2 only
                                                            Debts to pension or profit-sharing plans, and other similar debts
   At least one of the debtors and another
                                                            Other. Specify
       Check if this claim is for a community debt           Corporate debt- personal guarantor
Is the claim subject to offset?
     No
     Yes




                                                 Schedule E/F: Creditors Who Have Unsecured Claims
Official Form 106E/F
                                                                                                                                Kapitus_000540
                                                                                                                                     page 15
                                                        KAPITUS EX. 13 - 540
